         Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 1 of 424



Board of Aldermen Meeting, Wednesday September 12, 2018

https://www.youtube.com/watch?v=ohFdpx90Vm4

42:00

Laurie Ortolano “41 Berkeley Street. Thank you for having community input. I wanted to talk a little bit
to you about concerns I have with practices in the assessing office. I came to Nashua about 5 years ago
and I became concerned after a few things with my tax bill about permits not being captured in the City.
I came from a town that I served on as an elected official for about 8 years and where permits were
always captured when work was done. I started to recognize that wasn’t happening here, and started
calling into the Assessor’s Office and could not really get anywhere. I elevated my concerns to other
offices and was unable to make a connection. When the appraisal data came out from KRT a few weeks
ago, my husband and I are both engineers and I worked as an analysist for Westinghouse as an engineer
for many years. We are both data driven people so we grabbed that KRT data base and we punched for
about 30 hours on that data base and converted it from a PDF file into an excel file and captured a lot of
records. We cross-checked a lot of data and started looking at some neighborhoods. I became very
concerned and then came into City Hall a couple of weeks ago to the permitting department and did
some investigating, went upstairs to the Assessor’s Office, had a discussion with two of the assessors
there, raised many red flags and started a bit of a stir. I know Counsel Steve Bolton has been very helpful
since Monday, I have spoken to him and he has been wonderfully receptive and I am very appreciative
and you should all be thankful you have such strong legal counsel and I am too that helps with the
management of our City. Patricia Klee has been a wonderful Alderman for me because she is a smart
lady who understands data and that has been super for me. But I think some people within your office
are not as data oriented and I think your Assessor’s Office, it’s just critical that the integrity of that office
be solid. They create the equalization within which we all pay and contribute to the budget or the
money for this City. It has to be done fairly and equitably. So the permitting is a huge issue for me. I
have certainly have uncovered I’m going to say 40 permits cases of significant amounts of money not
captured that I questioned and the City is looking into it, the Mayor’s Office and now the counsel are
looking into this. The second thing and I am opposed to this is the use of MLS verifications on properties
that change property assessments. I came from a town that did not do this practice, we do here in the
City, the problem that I have is that these MLS verifications are being done randomly and not to all
homes sold. So when you target certain homes and you don’t do it to others, you create big
discrepancies and this is where your disproportionate assessments occur. And I have had, I must tell you
as Aldermen, some difficulty in communicating with City Hall- that we shouldn’t be talking about our tax
rate oh Mrs. Ortolano your taxes are going down. That is immaterial. What is so important to all of us is
the assessment because it is that assessment data that sets the equity and determines what we all
should fairly pay. The reason we have an appeal process in this City on appraisals and assessment data
is because of that equity. I do not get to come over and complain once you set the tax rate. That’s the
end. You have good questions about KRT, I think it is a difficult process. My husband and I have talked
to them, awesome, there were many people from my neighborhood that came in, but I don’t think the
City has done a good job or the letter is particularly helpful in knowing how to present data and I think
Mr. Mayor has over-simplified what you need to do to go in there. We were certainly confused and we
are two educated people and I don’t know, I’m not even certain we presented ourselves correctly.
That’s that.


                                                                                                                1

                                                                                               NPD-LO-3699
         Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 2 of 424



“My concerns with this Assessor’s Office run deep and it has been four years of significant frustration
from me of trying to get through to people and I am really thankful that this assessment data came out. I
am completely opposed to accepting KRT’s assessment in the City or appraisals, because you are
creating significant disproportionate assessments because of the poor practices in your assessor’s office.
I have run a lot of data to get to try to get to this. So I am just sharing that with you and I want to put it
on the record. It has been very challenging working with my City element and some people like I said
Patricia Klee was wonderful, Steve Bolton understood the questions to ask. And I am appreciative of
that but I think we have a ways to go. Thank you.”



Regular Board of Aldermen Meeting, Tuesday, October 23, 2018

https://www.youtube.com/watch?v=GWSl9VIA_PA

19:26

Laurie Ortolano “41 Berkeley Street, Nashua, NH. Thank you for the input. I was here six weeks ago
talking about the assessing office and some concerns I had. My concerns continue to grow a bit, I had an
opportunity to look more deeply into sales verifications that we do in the City and it was Trish Klee who
pointed out that I wasn’t using a code correctly in the first round of data I generated. I did not go after
100 records on sales verification, but I just recently finished my 100 record gathering. The information is
just very concerning, what I see. I’d like to think that the Assessing Office is working to create equity in
these assessments for everybody. But what I am seeing and what I found most disturbing is that
valuations or sales data that comes in at a sales price, if the assessment is higher than the price that the
home sold for, I believe that in 100% of those cases, the Assessing Office will not reduce the assessment.
It just stays high. If it is 25% out, it stays $50, $60, $70 grand above it; no adjustment. I printed every
property card; I have all 100 trying to look at the notes to see what is the justification. I can’t find it. On
the flip side, if an evaluation is low and let’s say it is at 60% of the sale value, the assessment or 70%,
they are willing to move those up and many of them they only move up to 80/85. That seemed to be
the general number. But if you are at 95, 100, 105, 110, 125, 130, those are staying. So what it tells me is
that they are not looking to create equity in the data base for all of the tax payers. I don’t understand
why, because changing valuations that are simply too high, it is the same pot. You are just redistributing
to get neighborhoods equitable. So that stood out glaring to me and that was really a disturbing piece of
information on sales verifying. And also, I could not track a pattern like if you… 2013 was an assessment
year, if you bought your house in 2013/2014 and everything had been equalized to 94% and did they
take the home value if it sold that year and bring it to 94%, because that was the equalized ratio? No
they didn’t; they did some, they did us at 97 but they left other homes at 85, 82, you know, $100,000.00
differences. In neighborhoods that you know down in Tanglewood, nice neighborhoods, big variations.
So I could not understand what was going on. I want you to know that I wrote a letter, I sent an e-mail
into the Assessing Office more than a month ago, maybe 5 weeks ago, asking for what the MLS policy
was and how are they using this sales information to adjust the data base. I was never able to get a
response. I also asked them if they had policies in general that they could provide me in an e-mail; I was
never able to get a response. Last week your CFO gave a response to a Union Leader article that we have
policies in place for the capturing of permits and updating the cards using our mass appraisal system.
That prompted a number of us in my neighborhood to go to the Assessor’s Office and to call in and say,
“We’d like copies of your policies”. As it turned out, there are no policies. I was flat out told, we really

                                                                                                             2

                                                                                             NPD-LO-3700
         Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 3 of 424



don’t have them. What they have is a task list in everyone’s computer that tells them what to do. I called
the Chief Assessor out and asked if he was available and he came out. I said “Hey, I want your policies,
your boss has said you have got policies, this is what I have been looking for, I want the policies”. He
really didn’t know what I wanted, he said, “We really don’t have policies”. I think it was on a Saturday,
this was a Friday I was in there, I got an e-mail back from him and he sent me two punch lists basically
out of two of the ladies in the front office’s computers that tell them what to do when they get a permit;
go into WebPro, push this button, enter this data, look to see if it has value. If it has value, send it over
to Gary. So it is a task list, that’s not a policy. When I look at your Board of Assessor’s web site, it says
“The Board of Assessor’s responsibilities include reviewing the Assessment Department’s policies for
compliance with statutes”. I agree with that, I’d love to find the policies, because I really believe a big
part of your problem in that office is not having any policies. It has made my life very difficult. I’ve had
some people in City Hall be very critical of the data I produced telling me it wasn’t truthful and, in fact, I
have been very open with my data and if I have a mistake in my data, Trish called me up and said, “Oh
you have got to look at the 8 in the verify column, that means MLS verified”. I had to go to Alderman to
figure that out. Nobody in the Assessing Department could tell me that for the time I’m there, when I
send an e-mail so I could understand it? I care about my data, you really all have to stay to yourself,
what would this lady’s purpose be in producing a whole bunch of lies and throwing it out there, why
would she do that? I wouldn’t. I wouldn’t do that to myself and I wouldn’t waste your time either. One
thing that really bothered me when I moved in here and my assessment got raised, I received a letter in
January from the City letting me know it happened and it was going up $229,000.00 and I had until July
to pay the bill. I discovered looking through all your cards that I was the only one that I can find given a
letter. And, in fact, in the Assessing Office, they said “We don’t tell people when we do this, we just send
them their tax bill and if it goes up five grand, they get it and they’ve got a month to pay, come up with
the money or else”. I was shocked and I kind of resent living on Berkeley Street and being picked to be
given a letter, if it was because I was special or in a high priced neighborhood, I deserved it. I’d like to be
treated like everyone in this City and I think every person in this City deserves to receive a letter if their
assessments are changing by massive valuations that really cause hardship when you get that
information and you’ve got four weeks to come up with the money. I find that it has been very much an
obstructionist process for me and City Hall. The ladies in the front office of the Assessor’s Office are
great. They really are, they are really great, but when you get to the Assessing point it really falls apart
with finding anything that makes sense. We had a house on Berkeley Street that was kind of an
interesting situation that had a fire and the assessment was very, very low. I knew that wouldn’t be the
only property I found; I managed to find several others that fit in that profile that speak to practices that
I just feel have no place in an Assessing Office. So that deeply disturbs me and it is pretty disappointing. I
have to tell you that there were days I came into City Hall and went down to permits and I was sick to
my stomach, I was nauseous. And I’ve had nights where I got out of bed at 2:00 in the morning, put on
coffee, looked at my data and said, “Is this even possible, am I even seeing it right”. It was so mind-
blowing to me. And the whole permit thing, I understand that permits have different values, I really do.
I don’t want you to trivialize that I don’t understand that if $100,000.00 permit is pulled your
assessment doesn’t go up 100K. But let me tell you that when I see $100,000.00 permit and I see no
change in the assessment, that’s a red flag to me. I’ve been down in permits and I have pulled a lot of
the records. I have photographed them all in my phone and I am telling you, I am seeing valuations that
are so ridiculously big on permits, that don’t show up in the assessment. I see one permit was for
$100,000.00 in 2013, 2011/2012/13 assessed that shows no valuation and my neighbor next door gets


                                                                                                             3

                                                                                            NPD-LO-3701
         Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 4 of 424



hit for a bathroom, kitchen and basement reno and his assessment goes up $200,000.00. I have never
seen anything like that anywhere, ok? And the same $100,000.00 permit for bathrooms, kitchen, you
know, cabinetry, extensive remodel generates nothing. I don’t know what to say to that. I don’t know
how to make heads or tails out of that. It has just been really disappointing and I feel like we are not
doing what we should be doing for the citizens in this City. I don’t think we treat the young people who
come in here well. I took two simple files for garages and pools. Let’s look at 4 garages, let’s look at 4
swimming pools, it is crazy. A double garage with an upstairs, huge build on attached to a house that
had no garage, changed the assessment $7K. That’s so ridiculously low it is mind-boggling. The young
couple with a baby that moves in from Georgia tears down an existing garage, puts up a new one and
pays $10K, but the garage was already there and it was detached, it is not an attached. So the
assessment for the garage was in there, they had to pay for a grade change because it was new. That
raised their assessment $10K. Then I go over to a wealthy neighborhood with 1,000 square foot garage
put on that I can only see assessed for $3,000 bucks. I mean pools, in general pools run about $20 to
$24K. Then you go to a wealthy neighborhood and a $95,000.00 pool isn’t taxed. I don’t know what to
say to that except it is disturbing. I don’t know what you can do about this though I don’t know if a
Board of Aldermen can participate in policy development. But for me, from what I’ve seen, for what is in
my head, I would shut down all Assessing in that office, no assessing until we have policies. Keep them
running, but there will be no assessing done until we have policies in place. Because I don’t see how you
work, I just can’t for the life of me understand how you are establishing equity here in the City. And I
wish I could. I am meeting with John Griffin on Thursday and I will have a chance to talk to him. I am
really disappointed with the Mayor, I feel you have been extremely harsh with me about my data and
not being truthful. I think what disappoints me most about the City is there has been such an effort to
discredit the individual rather than address the issue and it is not a political issue. This has been going
on for 10 years. I am looking at 10 years of data, this has been going on a long time. So it transcends any
one Mayor, any group of Aldermen; it’s just the way it has been. I think we should address it as an issue
and not a political issue. It has been a little tiring to be discredited as an individual rather than be
treated with somebody that you want to address the issue. Thank you.



Regular Board of Aldermen Meeting, Tuesday, November 13, 2018

https://www.youtube.com/watch?v=t5Tv3PK-C78

53:00

Lori Ortolano “41 Berkeley Street. Nice to see you all. I wanted to speak to the comments that the Mayor
made regarding the report that John Griffin put together and I appreciate him providing this to all of us. I
had the chance to talk to Chuck Reese up at DRA and the document here provided does show out of the
properties looked at, all of the properties 3 were permitted. The one thing that Chuck made clear to me
is their sample is not very statistically significant. They pool together a lot of qualities that they are
looking at into a single pull on permits. When I asked “why” he said, “because are so short staffed, we
just don’t have the manpower to send around town to town to do samples that are more significant”.
So we can pat ourselves on the back because we have a great score, but when we are looking at
permitted data like I am looking at, I see 3 permits here in the data pulled and that isn’t very statistically
significant for permit issues. I think if I had come to you and said I found 3 permits looking at 100 that
weren’t correct and I was concluding that we had a problem, you would all tell me to take a hike

                                                                                                            4

                                                                                            NPD-LO-3702
         Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 5 of 424



because it just wasn’t enough data. I looked at 100 and found many more issues and to let you know
last week I pulled another 100 and I spent part of the weekend reviewing those and the data is equally
concerning. So I am trying to make certain that I have a sample that is statistically significant and that is
why in fact I went back and looked at sales data to the tune of 100 points. That is just a little food for
thought there. When it comes to these assessments and the tax bills that just went out and the concerns
that we have, one of the concerns that I carry is that the reaction of management within City Hall isn’t
what I expect for what we see with these new assessments. I think from the beginning when I saw KRT’s
data and I saw so many properties that went up 40%, 50%, 60% or 100%, I felt outraged. I mean my gut
reaction was this is just not right. I’ve heard people speak, administrators, leaders with “you know the
people who experienced these hikes they are just not going to be happy”. I think we should all be
unhappy with that data because that is part of the problem. Why has there been growth over the last 5
years on the order of 25%, we assessed in 2013 and now we have properties that are 100% out. What is
creating these gaps and why do we have such wide variability and what are we going to do to try to
prevent this from happening in the future. I know that part of the gap is caused by how we handle new
sales, how we handle sales when we do an assessment, how we handle the capture of MLS data when
we use those pictures to try and prove the property cards and bring them up to better valuation and
how we are capturing these permits; where this data is coming from as far as the calculation of the
permits to determine valuation when we change those cards. They all play a factor. What you find is
that the sales data seems to be the strongest data to work with, it makes total sense, it is what our
assessor KRT uses, it is what we try to use. The sales data is the hard data. But what happens is if you
are one of those homes that has pulled permits, even had the permits captured, the valuation or not had
permits captured, the valuation on the permits is so low that you end up sliding down and staying in the
low level valuations for long periods of time and a house that sells gets corrected usually pretty well,
certainly when it is used in the sales cycle, it is up there nice and high with the sales data where it sold at
and all of these other homes tend to be sleepers. We are not closing the gap, we are not catching up on
these homes that are under permit work and using the MLS verification data. They are just staying too
low. We have had some exchanges, I have had with Steve and I know the City Counsel put a quote in the
paper about the complexities of all this stuff. I think it is not as complicated for what is going on in the
City as we may want to think it is. My observations in the Assessing Office is you have an attendance
issue. You have to have a manager who is at work, it just has to happen. And that is a big issue, I’m
aware of it and I am pretty certain that management is aware of it. Somebody has got to be at the helm.
The other issue is not all assessors are experienced equally. We have some seasoned assessors and we
have some assessors that are very new at this, I’m talking just a couple of years. My observation when I
look at these property cards is a younger assessor is struggling to make the right decisions and there
doesn’t appear to be any oversight to assist in that. One case of that I can share with you happens to be
a house in my neighborhood that has been under probably 6 or 7 permits in the last 8 years. The owner
is very wise to never let the assessor in, to deny entry all the time. The house has slid under value
tremendously. It is probably $150,000.00 under value; when the less experienced assessor goes to the
home to try and get in and is denied, the homeowner simply says, “Just to let you know my kitchen now
is average, no longer good and the bathroom I did 4 years ago is no longer good it is average, and
everything should be changed to average”. And the assessor changes all the data to average. Why are
we doing that? The property owner should not be standing at the door telling the assessor what grade
to put on their stuff, otherwise, we can all just send our card in with a mark up and say, “here is how we
view it, here’s what it is going to be”. That is a problem and that is just an experience problem. The same


                                                                                                             5

                                                                                            NPD-LO-3703
         Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 6 of 424



assessor visited an expensive property and the owner said, “I’m valued too high I just think I need to
come down” and the assessor said, “Sure I agree” wrote in the notes, “I took him down”, took him down
pretty good. KRT rolls in the next year, this was 2017, takes them up a couple hundred thousand, I don’t
think down was the way it needed to go at all. But nobody is reviewing that either, that is a problem.
That assessor is visiting homes where if they don’t get in or get a response at all, they are closing the
permit, walking away and assigning no value at all. That is what creates these issues with permits when
it comes to equalizing out their valuations. We clearly are struggling with that. The other thing I did this
weekend and what I hadn’t thought about, all this MLS data that is on-line, I started realizing I can go
and pull up pictures of houses and I can actually see what the kitchens and the bathrooms look like. I
can lay out pictures and look at the property cards and say, “what did the assessor rate that as”. And I
can tell you I pulled up 3 kitchens in my neighborhood, one a 1970 linoleum Formica kitchen, pretty
disastrous, really needed a lot of work, got an average rating. The house next to it was a 2005 kitchen,
very open, nice countertop, white cabinetry, pretty nice-looking kitchen got an average rating. The third
kitchen is a flipping, drop-dead gorgeous granite counter top, custom cabinet, double sink, double oven,
it got an average rating too. It is all the same assessor. So I am now looking at pictures going, “What
does it take, what are the guidelines in there”. I did the same with bathrooms. I’d find a beautiful tiled
bathroom, double sink, very lovely, gets an average rating. I find a bathroom that almost looks identical
gets an excellent. Ok, that all goes on the card and it is supposed to make a difference in valuation but
I’m finding in general that bathrooms and kitchens and basements can raise valuations when you are
looking at permits by $3,000.00. Well on a $400,000.00 why are we even bothering to waste our time at
that, you are talking about raising the assessment $60.00. Really when you got out and sell that house,
you are finding the valuations are much higher. That is where the people who are actually involved in a
sale are paying so much more and we are just missing it. My husband and I spent a lot of time two and a
half weeks ago looking at property cards. There is something not right in the software in our opinion. It
just, the yard items will be on the back of the card and when you flip it over many cards, the yard items
are not getting into the assessment at the value that is on the back of the card by a lot. I don’t know
why. Some of them go on, a lot of them don’t. I just don’t understand it. Then the parameters within
the database, I don’t know if it is because we haven’t calibrated that software in a long time. I don’t
know if it is because we haven’t changed tables out in a long time. I still don’t have answers and I don’t
understand how permits are captured. There is just no documentation on it and I’m learning today that it
is something that I might have to access under Right to Know. I have to use an attorney to do that
because I don’t know how to ask the questions. But also it is quite possible that how permits are used,
is not available for the public to know. It seems silly and it seems like we should be able to know that but
it is possible it isn’t. So all I can tell you is what we see and I printed $400.00 of permit cards, I’ve got 400
cards now. I’m looking at a good sample size and they just don’t make a lot of sense. It is just you know
disturbing and I think somehow we have to figure out what are the ways that we can do things better to
treat these properties more equally. The lack of policy and procedure, in my opinion, is a huge problem.
Not having a readable card for the public to understand their property card is very difficult. And not
having anyone in the assessor’s office who can explain it, they don’t know what all those variables are.
And somehow I think when you punch in the buttons those variables are playing part of the role. The
rating of fixtures, you know I’d love to see the abating process in this city include not just sales data but
comparable in your neighborhood. Because you are going to find when you use comparable in your
neighborhood – my husband and I looked at comparable in our neighborhood that fly under the radar,
very comparable to our house. But they have just never been brought up; well when we compare


                                                                                                               6

                                                                                              NPD-LO-3704
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 7 of 424



ourselves we are, the price of our home would be around $500,000.00 to $510,000.00 on the rating with
equal houses in our neighborhood. And I mean really good comparisons, if I use sales data I’m going to
come in closer to $570 or $580. And probably with a dispute in abating trying to make it higher, that’s a
big difference, $70,000.00 at $21.00 is $1,400.00 a year plus the increase you get in your taxes over 5
years, I’m talking $8,000.00, $9,000.00 difference potentially that I’m going to be paying because I
bought the house 5 years ago and was sales adjusted. And the house that is sitting there for 15 years
our 20 years has pulled permits, stayed low, not captured, is down in the mud. They can’t catch up to
me and I can’t down to them, I can’t get there, that’s the problem. And that is what frustrates the public,
I think. We just really need to do a better job and I think there has been a real lack of transparency. It
has been a really grueling process. The other thing I want to let you know, you shouldn’t have to come
forward with an issue and have your reputation suffer so much as much as my husband’s and my
reputation suffered. When we addressed these issues and put our package together for KRT we always
took the position that we wanted our valuation lowered to meet the expectations of our neighbors. We
used comparable in our neighborhood. We never requested that you raise people’s assessments; we
requested that we just be brought in line with our neighborhood. Unknown to me when KRT decided to
do a second and a third view of Berkeley Street, Berkley Street got reviewed 3 times. We were not
aware of that and it was only Berkeley Street that took this second and third view. A handful of homes,
I’m going to say 10 properties were changed, 6 were raised again, some of them pretty high. Steve had
mentioned to me when I spoke to him that he had fully expected people to be calling him pretty upset.
One of the homes went up an additional $200,000.00. When the letter came out to the homeowners the
second round, who none of them knew this was happening, there wasn’t much of an explanation on
why this happened. What do you mean. And they, of course, were no longer to meet with KRT the
process was done. You are in abating now. Some of them never went forward because they didn’t have
a problem and then all of a sudden the second round, their assessments went up 15%. So that had no
avenue and people were upset and I really believe that the City would hang that on me. I said to two of
my friends, call into the assessor’s office ask them what happened and they were going to call anyway. I
said, “please find out what happened, ask them what happened”. And the message that was given was
someone on your street complained, and these assessments were raised. And I was in the house of one
of the people when the call was made and I just think that it is really unacceptable for your assessing
office to have that script for any of their staff to use. It shows me how unwilling they are to accept
responsibility for what is going on in there. You hang it on the public instead of saying “Hey, we’ve got
some issues over here, we’ve had some valuations get of whack, we’ve made some mistakes and we are
trying to correct them”. My husband and I took a blasting call at 10:00 at night from a neighbor over that
phone call. And I just feel that that wasn’t handled correct and I’ve seen that happen to us before. So I
think we can work on how we treat people who come forward with a concern. It just shouldn’t torch
your reputation. Thank you.



Board of Assessors November 15, 2018

8:30 – Ms. Laurie Ortolano – regarding procedures in Assessing – No VIDEO LINK

Mr. Dominic D’Antoni began by introducing the board members to Ms. Ortolano and advised that each
member of the board has received the material she submitted for their review. Ms. Ortolano began by
saying that she and her husband have concerns there is a real lack of policy and procedure and that

                                                                                                         7

                                                                                         NPD-LO-3705
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 8 of 424



really reflects what information the public is allowed to know on how this office operates. There was an
article that ran in the Union Leader (October 10, 2018) which stated that Mr. John Griffin, the City of
Nashua’s Chief Financial Officer, made a statement that the City of Nashua has written policies in place
for using the mass appraisal system. Since that article ran, she said she has been requesting Mr. Jon
Duhamel, the Chief Assessor, give her a copy of these and has gotten no response to her request. She
came into the office and asked staff for a copy and they looked at her like she has two heads and said
we have no policies here. On a Friday evening Mr. Duhamel sent her two procedures that were the
office ladies’ procedures on entering permits into the system. She said her question is what is going on
behind the front office when you get to management and assessors? How are they valuing these
permits? She is seeing huge variations. She said she also has a big issue also with the printing costs of $1
per property card. She has spent over $500 and it tells a story of a not so controlled office. She advised
she is now working with a lawyer. She received an email from (City Counsel) Steve Bolton that says they
are not required to give me anything that is not in writing. She said she thought well, how convenient
when you do not have anything in writing. She said she is ‘coming out swinging’ and will keep on going.
It is not fair to the public. Taxpayers do not stand a chance going in there with an abatement. She said
she read a set of minutes where a representative from KRT Appraisal said we have not been in some
houses since 1991. She does not think there is an assessor in city hall who knows how to value the
properties on Berkeley Street. She told the board she gave them a spreadsheet of forty properties out of
55 that have not been measured or data verified since 1991 and when someone new moves in like they
did, you use MLS and take them to the moon. She said they had their assessment go up $230,000 and all
of these other properties are not even looked at. She talked with a representative from KRT Appraisal
and he said they were doing drive-bys only and he also said this is a case of sales chasing. We have a
problem here. She asked the representative from KRT how he knows that and he said he has been a
victim of this by his assessing department. He said his assessment was changed when he purchased his
home and he felt it was sales chasing and brought this to their attention and his assessment was
adjusted back to what it should have been. Ms. Ortolano said she did bring it to her assessing
department’s attention and they told her the assessment is correct and this is where you should be. She
came in and printed the property record card and asked if they capture permits and they said ‘oh yeah’
we updated this year so she thought she was covered. She got a letter on 1/17/14 notifying her that her
assessment again went up. She found out the assessing department does this to other people and no
letter is sent to some. After receiving the letter she called the office and an assessor came out. While he
was still in the house he just took his pen and crossed out $707,300 and hand wrote in $699,400. How
did he know it was $699,400 to right there make the change. I thought there would be $80,000 in
changes or maybe even $100,000 but $6,000? So KRT comes in and says some of these properties have
not been inspected by the assessing department since 1991. They say is it because we are not getting
permitted work. She says she does not think so because there have been so many permits pulled and
they are getting closed without visits. They stay in the office and look at the drawings and do not visit
the property. Ms. Ortolano then went through some permits comparing the amounts added to those
assessments and said they are absurd. (As an attachment to these minutes is a chart provided by Ms.
Ortolano entitled ‘Berkeley Street Permit Capture 2010 forward’). Ms. Ortolano continued and
mentioned a property where the owner let the assessor in and they still do not assess. The assessor
went out in 2017 and $0 was added to the value. She talked to the owner and was told he came in and
looked and said everything is already excellent on the card but after she looked at the property record
card saw everything on the card actually says average. Everything that was built in 2000 or earlier has an


                                                                                                          8

                                                                                          NPD-LO-3706
         Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 9 of 424



effective year built (EYB) of 1969! Her EYB got jacked up to 1995! Regarding Mr. Duhamel, she said she is
‘gunning for his job’. His attendance is horrible! He is not at work enough to justify his position. She said
another thing is the city does not value land like other communities do. She has a third of an acre and
the difference in the land assessment between her lot and her neighbor with an acre of land is maybe
$10,000. They cranked up the valuation of land in the Tanglewood area but land is undervalued in her
area. It is almost a waste of time to have them type it in. She told the board that she and her husband
have owned properties for 30 years and have always pulled a permit for all work done. They own a
house up at the lake and the assessor was at their house within a month to six weeks after they pulled a
permit. Her assumption here was that is what Nashua does too. She never expected they do not value.
She said she does not understand why a house sells and it is $100,000 difference in the assessed value.
How did it happen that the Ortolanos’ property went up so much? They do not have any standard
procedure on how to determine ‘average’ or ‘fair’, etc. This same assessor uses MLS verification tool to
update data. This is a good tool if used correctly but in this case it is like giving a 14 year old the keys to
the car. They are not looking for equity and she does not see why. It is the same pot of money when the
tax rate is set. Ms. Ortolano mentioned a lot of examples where the disparity in how these are rated is
obvious and said there have been times that the assessor has not even officially visited houses to make
these changes.

Two assessors spoke to her and she asked how they got her at $699,400 when other properties are so
low. Regarding the owner of one of these low properties, he said I am very good friends with that guy
and he goes there all the time. She asked him ‘so that is your friend’s deal’? That property has had 6
office visits from the assessor’s office. The most visits of any home on Berkeley St. Every time they
went out there they did not make any change to the property.

The assessor knocks $100K off and sets the assessment at $243,000 because it is being rebuilt and the
EYB is 1955. None of that was changed and the assessment is set at $434,000 in 2013. A month later
they shave $103,000 off the property. What kills me is the assessor sets his friend’s house low and then
comes to her and says that her assessment is reasonable. Mr. Robert Earley asked why KRT went go out
a second time to one property and Ms. Ortolano advised the city told them that someone on your street
complained. She said ‘what is that?’

Mr. D’Antoni asked what she paid for her house and Ms. Ortolano answered $725,000 and said they
really overpaid. The assessing department took it to 98% but they paid cash. The assessment was
$699,400 and then reduced $6K originally and again took it down another $18K. She told the board that
the very experienced assessor should have seen that they had overpaid for that house. Properties in the
Tanglewood area sold for $650,000 and they were not adjusted for sale price during a city-wide
assessment update. She told the board that the State of New Hampshire Assessing Standards Board
(ASB) manual for 2014 has a section on sales-chasing. Ms. Ortolano read the section from the ASB
equalization manual adopted by ASB in 2013.

Mr. D’Antoni asked if she feels to some extent her concerns have been addressed because her
assessment was reduced and she answered no and said she doesn’t feel the city has been receptive to
recognizing there are a lot of problems going on in there. She does not think the software is working
correctly. Mr. D’Antoni said he thinks they can agree that a building permit doesn’t reflect market value.
Ms. Ortolano said she agrees but the assessment should reflect market value. The assessor should



                                                                                                             9

                                                                                            NPD-LO-3707
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 10 of 424



figure out what the market value is with regard to that permit. The people who purchase a house are
constantly being assessed higher than people that have been here a long time.

Mr. D’Antoni told Ms. Ortolano she has done a fantastic job. He asked her if she has thought of filing an
abatement. She answered yes, we are going to file one now. He explained that by doing that she will
have a concrete foundation. Ms. Ortolano told the board that her appraiser said it does look like she got
sale chased. The appraiser told her this would be a silly case to take to court. She asked if the board of
assessors has to see abatements. Mr. D’Antoni advised the process starts there with the assessor and his
recommendation is presented to the board and after they give their decision then it is up to the home
owner to go to the BTLA or Superior Court. Mr. D’Antoni said sales are concrete and anything short of
that is just an opinion. She said that’s the problem. If an abatement was filed four years ago she would
have lost because the data is corrupt.

Mr. D’Antoni asked did she see any positive things in her discoveries and she answered yes, they keep
pools high pretty effectively. They missed a $90,000 pool on Indian Rock Road.

They have pools so high and the garages are valued so low. When someone pulls a $25,000 permit for a
garage and that adds only $3K to the assessment there is something wrong. She is finding some are
assessed at $20K. How is that happening? What factors are being taken into consideration in the
software.

Mr. Earley asked Ms. Ortolano what price was her property originally listed at and she replied $825,000.
It sat for 6 months at $825,000 and it had no offers. In this north end of the city you have robberies,
crime, homeless people and things that areas like Tanglewood do not have. She said she woke up one
morning to a person sleeping under the bush. She said she has a lawyer and will also hire an appraiser if
she has to. She and her husband asked for an appointment to speak to Mr. Duhamel and they did not
get one. Her neighbor got one in three days. She told the board she would like them to do whatever
they can do regarding policy. She has read this board is in charge of policy. Mr. D’Antoni told her that
since 1986 all assessors in the State of NH are under the Commissioner of the Department of Revenue of
the State of NH. It is that department who approves the tax rate, so they are pretty much in control of
the assessments

Ms. Ortolano left the meeting at 10 AM.

Regular Board of Aldermen Meeting, Tuesday, November 27, 2018

https://www.youtube.com/watch?v=k6GhyQM47bY

29:46

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Good evening, I wanted to share a little more
information with you looking at some of the assessment data. We had the opportunity over the Holiday
weekend to get ahold of KRT’s data base in a form that we could actually look at and manipulate. It
would be my request to the Aldermen that in the future if we do and when we do another assessment
that we could look at the possibility of having that type of data that KRT provided in PDF form which was
basic and did not include a lot of the fields, be provided to the public to in Excel or a readable form so
that we can, as the public, work with that data to kind of see what went on in our neighborhoods and
get what we need to get. It would be so easy to put it out that way and it does not have the level of data


                                                                                                        10

                                                                                         NPD-LO-3708
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 11 of 424



that the Nashua system would have in case we are concerned about manipulations or privacy; but it
would make it so much easier for us to look at our neighborhoods and to make comparisons to streets
and properties around Nashua.

“In the process of really looking at the data we started wondering why we didn’t get a report from KRT,
we paid them what seemed to be almost half a million dollars to do an assessment for us. Next week I
will be going into City Hall under the RSA request that my attorney wrote to look into some of the
documents that the City is putting together and one of them was KRT correspondence. I don’t know if
there is a report from KRT that summarized what they saw when they did their assessment or what the
distribution was. We hear the Mayor tell us tonight that the average increase was 23% or 24%, we came
up with 26% in our data base, so you know, you always worry when you transfer data base that you
didn’t get it all as clean as you want or you know, it is a lot of work to bring one in. We had other
residents in Nashua that worked on it and put it together, so it wasn’t us doing it alone. It certainly would
be nice if the professionals through KRT would give us that data clean and we would be able to know for
certain if we are correct, but we are in the right ballpark. It just seems that we missed a great
opportunity hiring a company and paying as much as we did if we did not get a report to look at what
happened in our community when it came to assessing, where we hit these pitfalls and take this data
and have our assessing office use it to make improvements in the process by which they are assessing.
There clearly is room for improvements.

“I think when you look at the history of the last ten years, we came out of 2008 which was a nightmare,
had to be a nightmare for all assessing offices. The crash of the real estate market was tremendously
difficult; and in 2010 they did a reassessment that was not an easy task; 2013 they did a reassessment.
My observation of that, because it is on the data cards is that we over-corrected, heavily. I know in my
neighborhood, they cut houses $100,000.00 which was in some instances 25%, it was just so steep,
when the equalized ratio in 2010 was 1.1.

“So I noticed we went up streets and gave $30,000.00 discounts to every home, whether it was worth
$200,000.00 or it was worth $300,000.00, it wasn’t percentage based. It was just a single swoop cut and
I think that led to part of the problem in this assessment cycle. We found condo units that had been
dropped from $120,000.00 to $70,000.00 in 2013 that are now up to $130,000.00 from KRT coming in
2018. So it was a total boomerang process for the people in those communities. I am disappointed that
the assessing office and our chair or our manager didn’t say, “Hey we need to get a report. Give us the
distributions.” That KRT data base is listed by Ward, every Alderman could have had a Ward report,
really simple to run, to know what happened in my Ward? What was the increase, where are the
problem areas? Who might I be hearing from? How simple would that be?

“And then we would get to work in the communities and neighborhoods that are messed up and we
would be putting some extra focus time into those areas to correct it, because there is a lot corrective
work that needs to be done. I was out in my neighborhood today walking a dog and got stopped from
two people from the other end that had gotten their tax bills and one guy put the spread sheet together.
He knew I was the person being public and he was like, “Oh my god, what happened to my house, how
did this happen, how did I go from the 300’s to the upper 500’s, what happened in a week when all this
changed over”. It is hard for people to understand. And then they say, “Well I looked down the street
and there are a whole bunch of houses in the 300’s, we are all over the map over here, what happened”.
I know, yes I understand that, it is a problem. It all has to do, I did meet with the Board of Assessors, it

                                                                                                          11

                                                                                           NPD-LO-3709
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 12 of 424



was a good meeting. It has to do with how we capture our permits and how we handle our MLS data in-
between assessing cycles.

“It is abundantly clear to me that we do not value renovations and home improvements the way that the
sales market tells you we should value it. We are undervaluing grossly, I mean it is ridiculous. All
assessors, all good assessors will tell you, it is all about the sales data. This business is about the sales
data and that is why when we abate, we only allow people to come in, working off of sales data. We
don’t allow them to use comps that are not sales based because the sales data is the hard data. It
makes perfect sense, I understand that. But the assessors should be operating on that sales data too.
Every time they look at a property they need to be asking themselves, what will this property bring in a
market sale? What would it bring when they look at these improvements. I am finding lots of permits
for home renovations, major home renovations, that bring $10, $15, $20, $30K to the property when
they assess it.

“Then when I look at the sales data and I looked at substantial homes that sold – when you look at a
house that undergoes a home renovation, you are getting between, in neighborhoods all over Nashua,
especially for the homes in the high 200’s or 300 range, when they completely renovate that house I
could show you 10 sales that the house popped $180,000.00 to $200,000 to $225,000.00. They are hot
and they go and there’s a lot of data to support that. It is right in our neighborhood and that is one the
reasons when I looked at your permit that I was concerned, Mr. Mayor, because it was so under- valued
for the work done and any other house, there are three or four houses right around your neighborhood
that when they did that level of work, their homes sold for $150, $200,000.00 more. They really get
that pop.

“I feel that we are just not principled in the office down there, that we just don’t have practices in place.
I was very clear with the Board of Assessors that I felt policy needed to be created. I told them that it
says in the mission statement that their role is to review and make certain that the Assessing Office is
compliant with their policies. Well there appear to be none, so I encourage them to perhaps encourage
the Assessing Office to create some. It just seems like there should be something down there. I know
that legal counsel and members of City Hall, the Mayor, are very concerned about the time that I am
wasting with staff, that I have overstayed my welcome. I have to tell you it is enormously difficult for me
to access this data.

“The property cards you cannot get on your computer at home, the data base that is available in the
house at your home is not a clean data base and it says right on the web site that there are errors in this
data and basically you can’t trust it. So I can’t do it from home and when I go into the Assessing Office, I
can use the computer but it will not bring up the format of a property card. I can’t get the data that I
need, unless I print the card out. So I have to use some staff time, and I do it all myself but then it goes
to the printer and they have to charge me and I pay and sort them and count them and send me on my
merry way. You know, I had asked the Assessing Office for help months ago in comping our house and it
was Steve Hamilton up at the DRA I had three good conversations with him. And he gave me some
questions that I would be able to ask my Assessing Office for help. They were not willing to answer
those questions. Their immediate was no, they are not going to help me. He said one of the things you
could ask about was comps. If you are looking at your property and you are confused about, he knew
the effect of your build was an issue for me we talked about this. He said, “Ask for comps”. I did, so did



                                                                                                           12

                                                                                           NPD-LO-3710
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 13 of 424



my assessing chief at the Lakes Region, she said, “just ask for comps, ask for help and ask them to give
you comps”.

“I asked John Duhamel for comps, “Could you provide me with any comps or any policies to help me
understand where my house EYB fell in my neighborhood”. He never responded to the e-mail. So the
only way for me to understand that was to go to City Hall and print the 55 cards and pay for it. And
what I learned is we were the only property that was changed aggressively when we were assessed and
that was great data for me to have. We were right at the top of the list. And I wouldn’t have been
looking so much and so deeply into the data, I look back at the way all of this has transpired, if
somebody had shown me some professional courtesy in that office, and just helped me out, had a single
meeting with me, got me some data, I wouldn’t have been in there digging for every property card. If
the guy had come back and said, “Oh you were the only house that was hit at this level, yes, ok, that
may be a question, that’s the data”, I would have been at least happy to know that. And I wouldn’t have
had to spend time down there digging like I have dug. That’s the level we are at.

“I cannot emphasize enough how strongly I feel about professional courtesy in an office. You have one
assessor down there who is so professional, any time I am in that office and anyone walks in and he is
around and he happens to have good visibility, he will say to anyone, “Is there anything I can help you
with, do you need anything”?. The women in the office are A1 professional, the Chief, not cutting it. I
have never seen a more unprofessional person in my life. I have had two conversations with him and in
the second conversation a couple weeks ago, only twice, I’ve never had a meeting with this gentleman,
the second conversation I had a couple weeks ago he actually had his head facing a wall while I was
talking to him. Right in front of his staff I asked him if he could turn his head and look at me while I am
speaking to him, to have to ask for that is absurd. It is absurd. And the issue of not really being at work
really disturbs me. You have to take that job on full-time.

“It would take very little for this management team or the Mayor’s Office or the CFO to go in there and
do a quick audit on what is happening with attendance and get that information pretty quickly,
somebody has to care and look into it. I think a lot of our problems occurred when I called him a year
ago, he wasn’t willing to meet, it was a very hostile conversation, I was wrong about everything, permits
are captured, sales data is done, you are wrong, you are wrong, you are wrong. And that is what got me
hopping because I didn’t feel I was wrong.

“’It is just really disappointing and with regard to our property card, I had another neighbor go in last
week, I’ve had two now, they go to the professional assessor, the one I would recommend to anyone,
and there’s only one that I will recommend that somebody go to in that office, only one. And they had a
question on the land issue on the cards, there is a bunch of neighbors who are really concerned with land
valuation and the factors on the property card and I think there is a legitimate issue there. One of my
neighbors has been hot on it. He went in, he got the assessor to meet with him, the assessor could not
answer his questions, the assessor said, “I’ll get back to you”, the assessor called back three days later,
he gave him an answer on the phone, my neighbor wasn’t really satisfied with it, but was super
appreciative that at least he got a response. That is more than we ever got in four years and we
happened to be with the assessor that doesn’t do that, that didn’t do it from the beginning.

“I think that difference in the assessors should not exist. Even three years that should not have existed,
I shouldn’t have felt like I needed to get a lawyer to get RSA information. I didn’t know how to word my
questions to this administration without having a lawyer do it for me. I didn’t know how to ask for a

                                                                                                           13

                                                                                           NPD-LO-3711
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 14 of 424



document, because I have asked, I’ve asked for the qualifications of our assessors because the CFO has
said they are all certified. I don’t know if they are, we all here have stuff on … people walking into a
doctor who isn’t a doctor, we all here are being duped because we are told what the right answer is but
we don’t really know. I said, “Well when were they certified and what are they certified in, who are
they”? No answer nobody knows, but they are, just trust them, they are.

“I want to point out one thing when it comes to assessing and assessing fairly and I told this to the Board
of Assessors, when I looked at our street, on Berkeley Street, there were a lot of permits that were
missed. But when I finally laid out all the permit data and I looked at what it showed, KRT came in and
met with the Board of Assessors and the Board said to him, Rob Tozier, “are all these problems caused
by people not pulling permits and they are doing work to their homes and we don’t know about it” and
Rob said, “I don’t know, I’m not certain it could be the problem”, right? How would he actually know and
in reality when I went into the Board of Assessors, I said “Let me tell you what I see. I see lots of permits
being pulled but I see the assessing people not going out to check on the permits or to close them with a
visit”. Tons, they are assessing at the desk off a picture.

“On Berkeley Street there were 16 out of 35 permits pulled that were never visited or looked at. And I
am talking significant valuations, they didn’t go and in the process of not going they missed full home
renovations, major changes, because we know we cannot just trust what is written on a piece of paper
on what is happening with the permit. So 16 out of 35 were just never visited or seen and about 10 of
them of those permits were simply not valued, forgotten to be valued for new kitchens and stuff. That is
a lot, that is a lot of missed data that creates disproportionate assessments, it is very significant. You
know, I was culling through the extra hundred permit cards I printed a week ago. I am going to tell you, I
just scroll through them, scroll through them, I create a spread sheet and I take a look and I hit a
property card where there were 1, 2, 3, 4, 5, 6, 7, 8 permits pulled, a lot done. Three big ones and the
rest were mechanical, electrical and plumbing and I said, “Oh this is a house that has a lot of work it is in
my neighborhood” and then I look at the activity section and there hasn’t been a measuring list since
1994 and they hadn’t done a data verification since 1998. There are absolutely no visits on this card, all
of that work and there isn’t a visit out there. The valuations are so flipping low it is crazy, a brand new
kitchen in an old home, yielded $1,500.00 on the assessment.

“When I see a card like this and this is a card that they don’t go back to all the time, three big permits, no
visits, no visits, no visits, you know what I do? I look at the name, who is this? It is a Board of Assessor’s
member, you know, do they understand how hard it is for us? That to me is a conflict and I don’t like
seeing that. They don’t understand on the outside what is like for us if you are not having anyone come
to your property or that assessing office isn’t going to these properties’ to capture this stuff. They are
missing it on a big level so it is really disappointing. I am going to continue to work at it. I don’t really
care if you stonewall and I am sure that the City is going to provide nothing and I am not going to get
any answers and I am going to go back to the questions I’ve asked and I know I won’t get answers. Over
time I am going to try and verify the data by going back down there and obtaining information but the
only reason that I am doing that is because the City won’t give you any answers and I am not going to sit
back and just accept that it got taken care of or somebody looked at it. I am going to verify it. And I am
going to continue to verify it. And I do everything I can, I haven’t spent much time in the assessing office
this week, they have been mobbed with people coming in with issues, it is a zoo in there.



                                                                                                           14

                                                                                            NPD-LO-3712
          Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 15 of 424



“I have stayed out of there because I know what is going on with the tax bills. But when things calm
down a little bit, I will go back and do what I need to do. I hope that you folks as Aldermen can really get
onboard, I would love to see you take a vote of no confidence in that office. At least as a minimum send
a message that you’ve to clean it up. And you’ve got to care, it is really tough for us on the outside and I
just don’t see anyone on the inside doing and making the right decisions. And when you talk about
exemptions, let’s talk about Concord Street, let’s talk about all the communities that give exemptions to
historic homes. We never talk about that and they do and there is a street that is all over the map with
properties that we largely know have so much trouble selling. And I feel very badly, I don’t benefit with
this tax, I don’t live in the historic district, I am not pushing this for me, but these folks who try to
maintain those little mini-museums down there have a brutal time trying to sell those houses and
maintain them. When I see assessing done on those houses that jacks it $100 or $150 or $200,000.00
above sales prices, I cringe. We should be very careful in that neighborhood on how we assess those
homes. Thank you.”



Regular Board of Aldermen Meeting, Tuesday, December 11, 2018

https://www.youtube.com/watch?v=nNOLxgC-6nw

3:23:15

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Mike just gave you a nice summary of some of the
details of what happened with our property. I have kind of avoided the personal nature of it but the
Mayor has pushed it in that direction, so I am offering a little bit more. Mike is correct that the data has
been super helpful in giving us a perspective on what happened 5 years ago. I didn’t have a way of
looking at properties in the range of $675 to $725 where we fell out at $700; what those properties were
because I don’t have that access with the data base in the City. But with the KRT data base, we were
able to pull that out and there were 15 homes including ours that fell in that price range.

“When you looked at the quality of those homes and where they were and the details of them, if left us
scratching our head on how did this happen to us, how did such a gross error happen to us? I am
looking at properties that first of all are built between 1988 and 2005, that’s the quality of the other 14
homes. Ours was a 1925 home; our acreage was .34, I’m looking at homes that are sitting on lots 1.12,
1.34, 1 acre, .08, 1 acre, 1.6, 1.2, 1.0, 1.3, 2.3, 1.8. Big lots, and I am looking at homes with square
footages 5,700, 4,086, 4,045, 4,200 4,200, 4,800, 4,300, 3,700, 4,800, we are 3,342. I am looking at
bathroom fixtures, 24 fixtures, 23 fixtures, 16 fixtures, we came in at 15 which was the lower end of all
the bathroom fixtures. And all of these properties 1988 and above, attached garages, air conditioning
all the modern features. We don’t have an attached garage, we don’t have air conditioning and unlike
the Mayor’s property, our renovations done in 2008, no wall has ever been moved, we still have all the
plaster, we have all the cast iron plumbing and lead, we still have part of the old wiring. So the level of
renovation that was done on our property was far less than the level of renovation done on his property.
And I don’t understand how it happened to us, that this happened.

“One of the things that deeply concerns me when the Mayor brought up his card, he feels that he was
slandered by me, and I don’t feel that was done or that I am somehow implying that as a Mayor or
elected official he affected this valuation. I am not implying that. I am going to tell you that every


                                                                                                         15

                                                                                          NPD-LO-3713
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 16 of 424



property owner that is being assessed by that Assessor’s Office, whatever that number is generated by
those assessors, it is on those assessors, it is never on the property owner. It is on the assessors and
what they are doing in the office. I am deeply concerned about ethics and conflict of interest issues and I
think it has to be addressed.

“I am deeply concerned about people who are connected people who are well known in the City getting
these sweetheart deals and we look at ourselves coming in as out of towners, outside people, new to
the City, and we definitely got the shaft. The neighbor next to us that moved in 2010 because of our
assessment being changed, they received a letter their assessment was jacked up $200,000. Outside of
the Citywide assessment period. The reason? Because the renovated the old part of their home, they
renovated 2.5 bathrooms, no new bathroom was put in, they dug out and did half of the basement, they
knocked down walls and they put up new drywall like the Mayor did, they put in new plumbing, new
wiring and part of the kitchen was redone in the old section of the house. When the Assessing Office
calculated those improvements, it was a $200,000.00 increase on their tax bill; the same level of
improvement on your home resulted in a $32,000.00 increase.

“When we go down the street on Berkeley Street we have another family that moved in from the mid
West, they came in, a renovation $85,000.00 done by a prior home owner resulted in a $55,000.00
increase but then the Assessing Office wasn’t happy with that and they kept running the numbers and
they moved that house from $400,000.00 to $615,000.00 until the homeowners screamed uncle in
2011, filed for an abatement got a reduction in 2013 and the house came down $200,000.00. We are in
that situation that the other house on Berkeley Street is in. We’ve been 5 years with it jammed down
our throat way too high and this, we are trying to get to the other side of this. I wish the Mayor had
given us a chance to talk to him about this, I expect my Mayor to understand the difference between a
tax bill and an assessment.

“I was very concerned at the last meeting when you were positioning yourself to say that people with
young families, or we don’t want to charge more than $1,000.00 for a new kitchen or $1,500.00 because
of their family situation. Our property cards don’t come with family photos, we have to make
assessment a fair issue for everyone. What the Mayor is talking about is a progressive form of tax, we
feel that we paid with the progressive tax, somebody looked at our house, our income level, the fact
that we bought the house for cash and decided these people can pay out the nose. We don’t want that
to happen. I want to make certain that the new people coming in are treated the same as the
established people. And I agree the influence of a Mayor or Alderman although the billing cycle fell
when you got elected for some reason in 2011, they were supposed to come back to your property in
2012, they never came back, I don’t even know if they had finished their assessment cycle. We don’t
know. The notes are a little messy on that card. It’s not that clean. But what is interesting too with your
card, your permit was opened in 2007, nobody followed up until 2011. The property card is updated on
a 2010 page, but it wasn’t paid for in 2010, and in 2009 was a reassessment year and your assessment
was dropped $45,000.00 despite the fact that you were into all these renovations. The property at
Berkeley Street that I am referring to in 2009 was raised about

“$50,000.00, they didn’t get a drop because they were doing, they had done renovations and the
assessing office was looking to raise it more. You got the benefit of a reduction while doing
improvements because nobody knocked on the door and came out and followed up on what has
happened in 2 years. You didn’t even get a knock on the door. That is the difference. And we just want

                                                                                                        16

                                                                                          NPD-LO-3714
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 17 of 424



it to be fair Mr. Mayor. I am not accusing you of anything, I am not accusing the card I held up with the
City, the appointed position to the Board of Assessors that hadn’t had anyone come to it since 1994
despite 8 permits being pulled, 3 of monetary value. It is a connected person it is a well-known person.
Nobody comes, that’s not what happened to us. That’s not what happened to the house on our street
that is a connected well-known person that got a half value assessment for reasons I understand now, a
lot of bad mistakes were made on that property. That was the most heavily visited property on Berkeley
Street in 5 years with 6 official visits from the Assessing Office and in 6 official visits nobody did the
property card correctly. And a house equivalent to mine was assessed at $343 and we were assessed at
$700,000.00. So our tax bill was $18,000.00 and our equivalent home was $8 so please understand we
are just trying to get where we want to feel like we are being treated equal, we want to pay our fair
share, but we want a system that recognizes that new people need to be treated like the old guard and
the system has to be equitable. Thank you.”



Regular Board of Aldermen Meeting, Tuesday, January 22, 2019

https://www.youtube.com/watch?v=LmVITX64xSM

12:35

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Happy New Year and thank you to the person who is
doing the right on red at Costco. I’ll feel good when that is in place.

“I wanted to share a couple thoughts with you on what is going on in the Assessing Office. I have
continued to do some work looking at property cards and sales data. I attended in December a Board of
Assessor’s meeting where Kim Kleiner and John Griffin came in and presented to the Board their
approach to what was going to happen with this audit and review of the Assessing Office. I am
concerned about an internal review. I don’t feel that it was the best way to go with the problems that are
going on in there. If you are really going to look at what is happening in the Assessing Office it is not just
limited to that office; there is a chain of command. It goes to the CFO, I think there has been a big
breakdown in communication between whatever connection the Assessing Office has to the next level.
I think there was a pretty non-existent amount of communication and that is part of the problem.

“I think that the problem goes up to the Mayor’s Office in that when the public has a concern and you
don’t know where to go and you call them; they don’t respond. That is what happened to me last year –
in 2017 when my tax bill was super high and I still consider it super high and I was paying $18,000.00 and
I am still trying to resolve that. I was calling the Mayor’s office saying – I’ve had a blowout fight with your
Assessor, they are not handling permits and sales data correctly, there is something wrong in that office
and my assessment is out of control and I need to speak to somebody. And I get no response and I call a
second time, a week later, and I get no response and it is just a dead end.

“This year, the KRT data comes out, that opens up a lot of avenues to understand what is going on. I call
back to the Mayor’s Office and I said – Look, I called twice last year and I’m calling again to say there is a
definite problem in that office. Something is not right down there; no response. When I went in and
met with Kim Kleiner, her comment to me was – I’m so sorry we never got your calls. You know, it just
wasn’t credible to me; that’s just not credible that nobody received my calls. And, in fact, all of City Hall
is just so non- responsive I feel to issues involving the Assessing Office. You have to work with the chief,

                                                                                                            17

                                                                                             NPD-LO-3715
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 18 of 424



he’s not there much, his attendance just isn’t there much. There really is no oversight going on in the
office so that’s a problem for people. If the Mayor is saying – Oh you know the chief is so reliable and
well-trained and great, go talk to him; that’s not how it works down there. He’s not a people person
and he’s not happy to come out of his office and speak with anyone. That was certainly the case for me.

“When I started calling the State, the first call I made to the State, I have to tell you, I was very cynical
about calling the State. I called up there and I thought – I can’t even get to anyone in City Hall, what is
the State going to do for me, they are even bigger, nobody in City Hall can answer, I’m going to call up
there and just be left hanging. I called, I ferreted around on who I had to talk to, it was Steve Hamilton,
he called me back in a day. I’ve had 7 or 8 calls up there, I’ve never had anyone leave me hanging for
more than 24 hours. Before Christmas I called the Commissioner Lindsey Stepp who heads the DRA to
talk to her about what I could do. Actually to find out what I can do down here, I’m stuck, I don’t have
any avenue for communication within the City. She took my information, she ran it through her counsel
group and her Deputy and she called me back and said – give me 2 days. She called me back in 15 hours
– give me 2 days, I will call you back, I will get a response, we will have a conversation. She called me
back promptly; had a full conversation with her, probably 20 minutes on the phone. She gave me so
much information it was a lot and when the conversation ended she said – would you like me to type
this up as an e-mail for you so you have something in writing. I said – Yeah that would be super. I got
everything laid out, bullet by bullet, on how I could proceed with a PA75 formal complaint to the BLTA
for a Hearing; everything else that I could fall in line with to try and deal with the problem.

“The reason that I ended up with the Commissioner is because it was going to be Board of Assessor’s
Meeting and meeting with them which was a couple months into this process that the Chair said to me –
we don’t handle issues with the Chief Assessor, that’s handled by the Commissioner at the DRA. He
works for her; I didn’t know that, nobody down here told me that or passed me off or said – get up to
the State, you’re going to have to take this at a higher level. So I feel that there is a whole
communication here that goes right to the Mayor’s Office and Kim Kleiner explained when she talked to
the Board of Assessors about this process they are going through. They are applying Lien 6 Sigma Study
to the Assessing Office which is a TQM process used by a lot of industries. That whole TQM process, Lien
6 Sigma people, they are people who have black belts in that. They are trained for 30 years to do that; I
really wonder how deep our training is to do a Lien 6 Sigma process here in City Hall. But she made it
clear when she spoke to the Board of Assessors that we are looking at this with clear eyes, we are not
going to consider any public concerns or questions raised after the assessment was finished. We are not
addressing any of that. We are going to go through the process and if some of those things fall out, well
great then they fall out; but if they don’t, they don’t.

“Well that begs the question, what does somebody do when they have a question? Okay, you are off
doing your thing for 3 months, whatever it takes; what do you do when somebody has a question? It’s
great that you are not going to consider the public questions because you don’t to be bothered with
those, you don’t want to be jaded. But what do you do when you have one? Nobody seems to have an
answer to that. I really feel that you got the fox guarding the hen house here and that is not a really
open audit the way it needs to be done. So I am kind of disappointed that that’s the way it fell out, but
that’s the way it fell out so there we go.

“Regarding abating, you know, I’ve been looking a lot at the abating process because we have go through
it and I didn’t really know anything about filing an abatement or what it’s like. Because the City has

                                                                                                          18

                                                                                           NPD-LO-3716
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 19 of 424



been pretty deeply rooted against us, we were never really able to have a conversation with anyone in
Assessing about what happened to our assessment. So we have no agreement that there was a
problem and so for my husband and I, we felt that we were up against a wall and it is going to be one
huge fight. So that is ultimately why we went and talked to a lawyer. Because we never had the luxury
of sitting with anyone in Assessing and having anyone go – yeah this out of whack, abate it. I’m down in
the Assessing Office a good bit and I hear people come in and they show stuff to the assessors and they
go – Oh take this abating form and go abate it. We never had that.

“As a matter of fact, after one person left, I ran over to the assessor, one that I hadn’t dealt with to try to
pick his brain to get a little information on what I needed to do because I really wasn’t certain what we
were doing when we started off; because no one ever talked to us about that. That was just not going
to be covered by them. So when you feel like it is them against you and you are battling something that
they do not want to accept, you start dotting you I’s and crossing your T’s. One of the things I was going
to do is start really looking in detail at these abating files. I want to see how they are done, I want to see
how these assessors are appraising, I want to see how fair they are being, I want to see what they write
up. Because what are they going to come after me with?

“One of the things that I discovered that I found really disturbing, every year the equalization ratio comes
out by the State; it is a ratio that is supposed to take your municipality to 100%, equalize your
municipality. When the median and the ratio letter comes down from the State, it is signed by a lady
named Linda Kennedy and she writes that this ratio is to be applied and should be applied to all
abatements for the purpose of equalizing within your municipality. What I discovered looking at some
of these files is that the Assessor or Assessors, they have a form spread sheet where they negotiate with
anyone who comes in; their opinion, the property owner’s opinion, the agreed upon opinion and it is a
spread sheet. Everything is negotiated on market value, sale price, because that is how it is done, sales
is the hard data so you have got to go with sales. So they do that.

“But when they go to apply the equalization ratio they are only apply it, the ones that I’ve looked at right
now, it has been commercial level and it is only because that was the vast majority of them, there
weren’t many.

“They are giving the equalization ratio to people who have a tax lawyer or are represented by a tax
management company. They have representation, so they multiply through by the ratio and they do it all
the way it is supposed to be done. But if you are a “Joe Schmoe” that has a little shop that is a house and
you run a one-man business and you are doing it yourself like a resident is, they delete that line off the
spread sheet and they don’t apply the ratio. So what is being put in the data base is the sale price data
and not an assessment level data. I really struggle with that because I feel it is deceptive. I mean it is
willfully negligent to take a factor that is supposed to really go to everyone and delete it. And when I
see the only cases I found are the people who don’t have representation; they don’t get the factor.

“So like last year it was 20% less, so if you were abating a house and you came to an agreement that it
was a $400,000.00 property, the assessment should have been put into the system as $320,000.00 and
your abatement should be based on the difference between what you paid in $320 but they are not
doing that.

“They are calculating the return check for people at a much higher level and they are not returning the
money that they should get back, in my opinion. And it concerns me for residents, because as a resident

                                                                                                            19

                                                                                             NPD-LO-3717
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 20 of 424



I did not understand the equalization ratio and the form that you produce as a City which is similar to
the State’s but you do your own form here. And I believe your form has to have all the information that
the State form has, it doesn’t have a line for the equalization ratio. It just has the market value line so it
has a resident working on the sales level which is fine. We are depending on the expertise and the
professionalism of the office to apply the ratio. To not do it, the 4 I looked at, people were short-
changed $1,500.00, $1,800.00, $1,600.00. Well you know what? If you could have gotten $1,600.00
more back you would have liked it, I’m sure; anyone would have.

“I feel that there should be a directive here given by the City, I am going to talk to the Board of Assessors
about it, put down on the Assessing Office to say – the ratio will be applied to everybody; not just those
with lawyers or tax management companies. Everyone gets the ratio because it is what keeps the data
balanced. I called the State on that, I talked to Tom Hughes up there and I said – Am I thinking about this
wrong, am I too Pollyanna, what’s the deal? And his pitch was – no, the ratio is supposed to be applied
for everyone abated, you don’t pick and choose who gets the ratio. And yes, it is about equalizing the
data base.

“When I went to John Duhamel with my concern, his pitch to me was – I’m here to save the City money
and this is the way it’s done all over the State. I was aghast. I said – that is so unethical and you are not
here to save the City money, your mission is completely different. He turned around and walked away.
I said that to the State; the first thing the guy said to me is – his job is to equalize the data base, his job is
to create fair and equal assessments, number one priority, fair and equal assessments. The saving
people money by ripping off little individuals, you know when they don’t realize it is not fair. And I am
really concerned for residents because if I wasn’t deep into this like I am, I would never know. I would
have no idea, I didn’t understand that ratio the first person who told me about it was Steve and I
remember when he said something to me on the phone I had no idea what he was talking about. I had no
clue.

“So either take your form and put the equalization ratio below the market value price that is on that form
so people know that it is going to be multiplied by a value. It is either like this year going to come in at 1,
hopefully or a little bit lower, we don’t have it yet, it comes out in February. Right now the abatements
they are doing, a lot of them that I noticed are property card changes, there are small things – people go
in and – oh I don’t have that bathroom, that’s not a closed porch. They are little changes that are being
tweaked that are very easy for them to do that aren’t sales data driven stuff. But you are about to get
deep into the sales data driven stuff and ratios should be applied. I contacted the four property owners
that didn’t get the ratio to find out did they know. One of them said when I talked on the phone the guy
told me – I got the ratio. I showed him the form, I said – you didn’t. Another guy said – Wow I didn’t get
the ratio? I said – no. He knew about it and his property was dropped last June; he was concerned
because he had deferred maintenance, there was a City-wide revaluation. The assessor told him – don’t
worry this information is going to be passed to KRT and your assessment is going to stay fixed as it is
based on the deferred maintenance. Never got passed – guess what? He went up like $150,000.00 he’s
got to abate again, this year because the abatement information never got put into the file.

“So it just deeply concerns me that I see these things and there is nobody to have a discussion with about
it to say – you know – let’s try to fix this stuff and make it work. And I want to address one other thing,
the Mayor has brought it up a good bit about the inaccuracies in my information that I gave out at the
beginning when I came to you that the spreadsheet had errors. He was right about that; but obviously

                                                                                                               20

                                                                                               NPD-LO-3718
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 21 of 424



there were more correct things or things going on that opened up the need to do an audit and deal with
stuff than there were probably errors. But a lot of those errors came from the fact that I had nobody to
talk to; I’ve never had a meeting with anyone in assessing, somebody who is making the decisions. For
that matter anyone through City Hall that has said to me – let’s sit down, let me show you how this data
is put together, let me show you how these cards are marked. Let me show you, ok if you are upset and
you are going to do a little review, here’s the stuff you are going to look at. It has been running high the
whole time. I go the permit department and I ask for help on how to read the permit files and
gentleman comes out, shows me how the papers are all put together, shows me how the codes can be
tracked, gives me a little primer, go at it. No problem. You think anyone does that in Assessing? The
women in the front are phenomenal but I am talking the people that are making the real decisions on
these numbers and how stuff is put together and how it recorded. Do you think they are coming out to
show you anything? Nothing.

“And I really resent that Kim Kleiner had my data and there were problems with it and she didn’t even
reach out to say to me – you have a mistake in these 3 areas and I want to tell you why. This is why I
don’t trust her to do a review. Because somebody, perhaps the Mayor said – don’t talk to that lady. You
know? We’ll just leave her alone and she’ll go away because she’s a little bit nutty and she’s wrong. It
didn’t work. So nobody gave the time of day to try and fix the problems, that wasn’t so good.

“The other issue that I talked to the State about a lot is sales chasing. I think you have a real significant
sales chasing issue going on in here and it is not legal. I have been able to grab more data because I
joined a real estate web site that allows you to print sales data from 1880 to current. So I was able to
pull really relevant sales data over the last 5 years and I really wanted to focus on older properties that
sold because I wanted to see what they were doing with the EYBs how they are changing Effective Year
Build. I came to you in September and I said – Stop using MLS data to adjust property cards, you are not
doing it right, don’t do it.

“And I am coming back to you now and saying – Stop doing it. I explained to Tom Hughes at the State
what was happening he said to me – they adjust the cards off the pictures but I said – they adjust the
other factors really hard and they are changing these assessments dramatically. Well that is okay as
long as they are changing every other property in that category, tell me they are doing all the other
properties in that category; I said – no, they are only doing one. Then he made me repeat it again – Tell
me again what they are doing and his response to me was – that is sales chasing. When they are hitting
those factors, you’ve got to be careful.

“When our property EYB was changed in 1994 effective year build, I hadn’t looked at this until just 2
weeks ago, that changed our assessment $160,000.00. The permitted work changed it $40. So when
you mess around with that factor, you are adding huge valuation to property based on pictures you are
seeing. The problem is you are not doing it to other older homes. What I have found is a group of older
homes are being attacked, another group of older homes that are equally renovated are not being
touched and then they are not even falling in line with the permitted work because the permits in
general they are not applying the EYB factor, they forget to use it. And they just address the permit and
then all of these permitted works – kitchens, baths and renovations stay at 1969 level. When you go
down Berkeley Street and take a ride down there, 55 homes, I’m going to tell you 45 are 1969 or lower
by build. You drive down that street and they don’t look like 1969 houses, they really don’t. You are
way out of whack and then you sting specific properties with 1995.

                                                                                                           21

                                                                                            NPD-LO-3719
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 22 of 424



“And then we are stuck in a neighborhood where we don’t even fit. And there is nobody to have a
discussion in this entire City about these issues. I am just so disappointed that we can’t do better and
we haven’t done better. Thank you.”



Board of Aldermen Tuesday, February 26, 2019

https://www.youtube.com/watch?v=LmVITX64xSM

13:21

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I wanted to get back to you a little bit on some of
the work that I’ve been doing and continue to do with the assessing issues; looking forward to seeing the
report coming out on the first. I wasn’t expecting it out so soon so that’s great. I did file my PA71 with
the State and I got my abatement in. I went to the Board of Assessors and they said – Well you know it
would have been nice if you had waited until the City had filed their report. But I had a deadline both at
the State level and with my abatement. So I had to have my report in to the State by the first of March
and I had to have the abatement in by the 1st of March so I can’t wait for a City report to come out. I
want you all to know that, that wasn’t an option at the State level for me either. So that is why I moved
forward.

“I am looking forward to seeing the information with the changes to potentially the technology and how
we can access information because I see that as obstacles. But I am not going to tell you that I don’t see
some really significant personnel issues as well and those aren’t up for discussion; I understand that. But
the technology isn’t going to fix the issues alone because it is the people behind it that make all the
difference in the world and I cannot overlook that given what we have gone through and given what I see
in there.

“Regarding the technology and having finished out abatement process I really came to an understanding
a lot about this abating process and I think it is so flawed for the homeowner or taxpayer to carry the
burden of proof, you know? It’s up to us to prove that our assessments are too high and to do that we
need access to the data and for us, you know, a benchmark point was the effect of your build issue on
our property card and that data isn’t available publicly at all on the website, on the computers down
inside the office, on your home computer. It required the printing of the property cards and I went after
like 100 because I was trying to look at my neighborhood, first of all, all of Berkley Street to look at
where I fell out, that is 55 cards right there. Then I didn’t want to just say I am only looking at Berkley
because people would think – I was afraid they would say – you are being too narrow. So I grabbed
Chester, I grabbed Raymond, I grabbed a few on Concord and all of a sudden you are up to $200.00. I
don’t think that’s right. I mean that information should be readily available and you can’t tie the EYB to
the grade either. The grade is not available on the web site down in the office for you to look at the
cards as well.

“When I started this process, I did send an e-mail to Mr. Duhamel and I asked him if he would be willing
to help me or give me the grade information for Berkeley Street and I did not receive a response back. It
was really the State that said to me – Ask him to give you that data, that’s a reasonable request so that
you have access to it. And I never got it; so I ended up going in and printing it all. So I hope that we are
able to create, you know, a system where the accessibility is better. I’d love to be able to print out a

                                                                                                           22

                                                                                           NPD-LO-3720
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 23 of 424



property card without paying a dollar and really have the information on the property card. I really
learned to read those and understand them much better than I did four months ago. You’ve got to have
the card to really look at the houses and make the comparable.

“Also I think the search data base for abaters who go in and use the sales data is not very good because
you can’t narrow the search fields to the year the house was built or pick a range. So we live in an old
neighborhood, I went in and helped a neighbor who had a colonial house, I wanted to grab colonial
houses sold over the last two years; it came up with like 221. I can’t narrow the field because there is no
date range that you can put in. So that’s a lot of data to cull through and it is pretty easy now to add a
couple fields that narrow a search and give us a little more flexibility mostly so that when we are picking
houses and people are that they are picking houses that are the age that their home is and a good
comparable; that they are not looking at something that is 1995 when they are 1925. So it is just better
for the assessors to get an abatement done to that level of quality and it is better for the property
owner to be able to access data like that. So that’s that.

“The last time I was here I talked to you about equalization ratios and I had done a little research down
in the office and I had only looked at some commercial properties and I found a commercial property
that or any of the commercial properties that had representation, namely CPTM up in Manchester or tax
consultant. The equalization ratio was being applied but when the property owner did not have
representation and was on their own, the assessors were not applying the ration. I actually spoke to
somebody about that in the office and they had questioned it as well and the answer was, from the
assessor was – the people don’t know the difference so it doesn’t matter. Well I beg to differ on that.
That is a ratio produced by the State and I have had extensive conversations with the State and their
position is the ratio is applied to everybody. It sets the equalization for the data base. The last couple of
days I went in and started looking at residential properties and how we handle the equalization ratio for
2015 and 2016. I hadn’t had time to do it before because I was so busy with my abatement and my
paperwork for the State, I had to push that aside and I said – Ok when I get that done I am going to back
and take a look at that.

“I pulled 10 abatements for 2015 from one assessor, 4 of them were fire issues, so there was a different
proration form that is used for a fire, it is not the same as a typical abatement form so that knocked 4
data points out. The other 6 I grabbed, 3 of them received the ration, 3 of them did not. But the
paperwork is all done, the math is all there where the assessor takes the homeowner’s value, gives it the
88.5%, they put down their value of what they believe the property should be, they give it the 88.5%
and then they do the abatement on 100%, they give that property owner 100%, they don’t give the
abatement amount, the don’t give the equalization ratio and their refund is minimized. When I looked at
these properties, you know, one homeowner is shortchanged $860.00. Another homeowner is
shortchanged $1,994.00. Another homeowner is shortchanged $1,293.00. Another homeowner is
shortchanged $1,969.00. I don’t consider that token; I consider that significant. And if that’s what the
ratio said it should be then that is what we should be refunding.

“I have started to reach out to more industry people around the State because I’ve had time. When I
started this some Alderwomen said to me – Have you looked at what other towns do. I don’t have time
for that, but now I do and I connected with an industry expert 27 years who served on the ASB up in
Concord. I had a good 30 minute talk with him and I shared my concerns about this. He was so outraged



                                                                                                          23

                                                                                           NPD-LO-3721
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 24 of 424



he said – I don’t know why your lawyer hasn’t filed a criminal lawsuit and I don’t know why those people
haven’t been stripped of their certifications. He said – It is outrageous to me. It is not even an option.

“Now here is what I am going to tell you. This ratio is a relatively unknown entity to the homeowner or
even a lot of small business people because it is not on the abatement form. The only thing you ask for
on the abatement form is the market value. So everyone of us out there, us lay people who aren’t
wrapped in the law of property are being told – Give me the sales the data, tell us what you think the
sales number is. That’s fine, we depend on the expertise of those in the office who are certified by the
State to apply the law the way the law is supposed to be applied. And when they are not doing it
because we are too stupid to catch it, it just burns me. It just seems so wrong and it just – yeah. That’s
what I found in the last couple of days. I am going to go back in and look some more, but I don’t like
what I am seeing. I asked you the last time I came here to stop this practice and let these assessors know
that the ratio should be applied to everyone. Right now we just went through equalization; we don’t
have a ratio produced by the State yet, the number isn’t out. It is kind of late this year and I called them
and it may not be out until the end of April. They haven’t even started Nashua’s data; normally we
would have it in February.

“Because we just did equalization and we just did a full City-Wide reassessment they can use one. And
that is going in as one, but in any other year, like last year, if the ratio wasn’t out, then the law says you
just apply the ratio from the year before. So you don’t not apply anything; there is always a ratio to
apply and until the new data comes out you use the old data. Right now we are allowed to use one
because we did equalize and we don’t know what the number is, we will know soon. But anyone who is
putting in an abatement they have the right to say – Don’t use my multipliers one, let’s see what the
number comes out as. If it comes out at 95% then they get on a $400,000.00 market value, they would
be assessed at $380,000.00 – 20% less, 5% off every $100,000.00. They have the right to have that
because that is the equalized number and I almost feel that some of the assessors feel like – I don’t want
to give them that number, I don’t want them to be that low, I don’t want to refund them that money.
Last year it was 79.1%, you don’t have a choice. It’s not something you get to pick and choose that you
don’t want people to get that money. And Mr. Duhamel’s position with me when I pointed it out was –
Hey I’m here to save the City money, that’s my job. I beg to differ; I’ve read your mission many times
and those assessors aren’t there to save the City money. They are there to create equity for all of those,
horizontal equity for all of us.

“So that just really disappoints me that that is the case and we haven’t fixed that – or that I had to go to
the State to even have these discussions. I am going to continue to reach out. I stopped at several small
towns around here, met with Chief Assessors and technicians today and I asked them – Do you use the
ratio for everyone. They were like blown away – of course it is not an option, everyone gets a ration. It is
not an option we do it. I talked about sales chasing, I talked about how they handle sales chasing, how
they protect against it, how do they correct data with MLS information. That is another issue I have
raised was the sales chasing issue, that is a complex issue. The State has been very helpful. KRT was
helpful too, and they wrote some interesting e-mails to John Griffin about this issue. Several of the e-
mails they wrote to John was – You should reach out to Chuck Reese up at the DRA and get his input on
this issue.

“I called Chuck and he never had a reach out from John. Never had a conversation with him about this
issue and I wonder who is the City talking to about this? They seem to be hunkered in going – we don’t

                                                                                                           24

                                                                                            NPD-LO-3722
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 25 of 424



“do it. But it is an interesting discussion point, there is a lot there to look at. And the basis of that issue
for me was this whole EYB. I started looking at properties that for some reason the Assessing Office
corrects them very hard on sales data. They take a property, they view it as renovated or restored and
they drive the EYB up to 1995 or 2000. They pull all the depreciation out of the home or a vast amount
of it and they can move an assessment $100,000.00 or $150,000.00. On our house it moved it
$160,000.00, that’s a lot of money. So out went the depreciation, in went that new EYB and our
assessment went Poof – right through the roof.

“But then I started, I pulled all those property cards and I found 27 homes, I pulled 100. I found 25 that
were corrected hard and graph out with EYB here and then a big gap in the EYB here after they sales
adjust. Then I found 27 that I pulled up all the MLS pictures and they weren’t corrected, but they were
very well done homes, meaning they got to stay at 1965, 1969 and not adjusted. One of the homes I
found, you will know Madam Chair, is 19 Monadnock. That was an interesting property because I pass it
every day going to and from Amherst Street. That was a property that sold for $260,000.00. At the time
it sold it was assessed for $147,000.00. The assessors look at the MLS data, they raise it $10K, they bring
it to $157,000.00 a year and a half, two years ago. They don’t touch the EYB, but the property was very
nice, had leaded doors, side lights, newer windows, granite posts, granite steps; inside nicely done. It
was not a 1965 or it might have even been 1959, it wasn’t that old a house, it wasn’t touched.

“So KRT comes around and does the reassessment, this house sold for $260,000.00. In their model it
came out to $208,000.00 is the new value. It’s quite a bit lower than what it sold for because none of
that – all that interior work was grabbed by the assessors and raised in an EYB assessment. They got to
go without any adjustment at all. What I took is I looked at all those 27 homes that didn’t get adjusted,
well KRT ends up rating them like 7% lower on overall pricing because the City doesn’t use the data to
correct those properties. That is where I question – are some of us being chased? Really I have said to
you, don’t use that EYB anymore, make your MLS adjustments on the quantitative data number of
bathrooms, basement finished, the attic is finished; but when you go after the qualitative factors like
grade and EYB you are really messing with assessments. You have to make certain you are doing it to
everyone and they are not.

“That is my issue. One of the assessors was asked to present to the Board of Assessors, they were very
smart about saying – Explain to us MLS. And I didn’t go to that meeting I was traveling but I read the
minutes after and I wrote a letter to the Board because I said – You were not given accurate
information; your assessor is telling you we are changing the number of bathrooms or basements that
are finished. They never mention that qualitative data and they are changing that too and that is what is
driving a lot of these disproportion assessments when it is not done fairly.

“I have held steadfast that we should not do that and I am talking to other towns about that. And the
State has been very open in addressing the fact that that is an issue. I don’t know what to tell you except
I, you know, regrettably there is no one here to talk to in the City. There is absolutely no one for a
person like me to engage in a conversation with in this City; 5 months and I have never been invited into
a meeting to sit with anyone to really come forward. I remember Brendan when Rob Tosier came in and
some of you Aldermen got to sit in on that and you said to me – I really wished you had been there, I
think you could have asked a lot of good questions and gotten answers. That option wasn’t available to
me. No one invited me there; it’s never been an option. And that is a very big regret of mine and I hope
someday the City figures out how to handle people like me and find a place for us to bring our questions

                                                                                                              25

                                                                                              NPD-LO-3723
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 26 of 424



so that we can get some answers. I think I deserve that; I think anyone with the kind of questions I’ve
had deserves that kind of information.

“I want to end this by talking about property card at 4 Rockland Street and I want to bring it up again
because I really think – you came out with the papers and said there’s no merit to favoritism and you
know it is all unfounded. I didn’t even know how you could make that statement and maybe the papers
misquoted you, they don’t do a – they don’t always get it right. Because my issues of favoritism I wrote a
pretty extensive letter to the Board of Assessors. They have not reviewed the letter. I didn’t really take it
anywhere else, I sent it to the Board. I’m sure it has made its way around City Hall. The Board of
Assessors has not addressed it so when I went to the meeting on Thursday I was surprised in the paper
earlier in the week that the Mayor had come out with the comments that Mrs. Ortolano’s findings are
unfounded or don’t have merit. Because then I sit there and say – 1) Did my Board of Assessors meet in
a non-public session to address this issue? Did they conclude it was unfounded and go to the Mayor and
say – She’s all wet none of this makes sense? Where are the conversations taking place and no one said
anything to me.

“I approached the Board after the meeting, I said – Have you reviewed this? No. Have you spoken to the
Mayor about this? No. They were adamant that they had had no conversations. I’m not certain if your
role is really to not be involved in these assessing issues or to be involved, you certainly seemed very
involved in ours publicly. And when you make statements to the paper that these issues I raise are
baseless, I am trying to use a chain of command to take these issues to Board of Assessors because they
are the group that, the State says they are the ones who are supposed to address it. I am trying to work
through that avenue and you know it just seems like you are not making the right statements to the
press that maybe - Hey we’ve got an internal report that is going to be released soon, Mrs. Ortolano is
working through the proper channels with the Board of Assessors and they will make a determination
on her issues; whatever. But it seems like it comes from you and as a citizen or a resident I never get the
courtesy of somebody coming to me and telling me. I guess the newspaper has been a great avenue for
me because I seem to get my questions answered through the newspaper when you speak. But I don’t
think that’s the one we should count on.

“So regarding your property card and I know it brought a nice big smirk on your face but here is an issue
when I look at that when it comes to favoritism, it is not about you personally, let it be known I don’t
think Jim Donchess had anything to do with the assessment of his property. This is all on the assessors
and how they are looking at any individual; not on the property owner. Jim, Vicky, they weren’t
responsible for this. It is all on the assessors, they are certified, they are trained and they are supposed
to be fair. But when I looked at your card, I went today and I printed two of them because the notes on
the card said the EYB was 1970 but the card, when I printed it out, the EYB said 1979. And I didn’t have
time to research it weeks ago and I said – What did they type 0 and they meant a 9 I don’t even
understand this. But I noticed your depreciation just didn’t change much, you didn’t pay much for the
change in the house because the depreciation didn’t change, hardly at all.

“And so I went today and I said – Well print me the 2012 and the 2014 cards. Those were the cards,
2012 was when the file was officially closed, the EYB was done. And when I printed those cards, the EYB
was 1970. And in 2014 it was 1970. Somehow in 2018 when I raised the question somebody changed it
to 1979. And I am really curious who manipulated that data. And I am telling you that because there is
no note in the comment section that an EYB change as made. How did that happen? There should be

                                                                                                          26

                                                                                           NPD-LO-3724
          Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 27 of 424



documentation. That file should have a marked up card that says their rules are their rules, pencil
marked up EYB was changed in 1979, the old card and the new card stapled and it is in the file. It’s not
there. There is nothing in the file. Who manipulated that card to change the EYB to 1979? And why was
that done? It is so curious to me. And really why I believe there is favoritism is because I’ve compiled all
this data and when I look at properties like yours, that went through a heavy demolition and renno, Jim
up in the north end I can’t find one that they kept at EYB at 1970 that was all done, where the walls
were opened up and plaster was taken out and sheetrock was put up. I mean I can think of Hall Street
went to 2000; Webster Street went to 1995 or 2000; Courtland went to 1999; Chester went to 1995; I
went to 1994; neighbor went to 1994. You went to 1970. That’s where it stands out. I think it is
reasonable to point it out. It’s not you, it’s them. So think about that. Thank you.”



Board of Aldermen Thursday, March 7, 2019

https://www.youtube.com/watch?v=SSOz8P6FEtE

1:51:37

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Before I start, and maybe we can’t do this, but there
is a lady here and it is her first time at the meeting and she just whispered to me she’d like to talk but she
didn’t sign up on the sheet. So I don’t know if you can accommodate her, but I just wanted to say that
before I ended.

“I’d like to address the Mayor’s comments first. I know you believe very strongly that the KRT numbers and
this revaluation that we just did produced equitable assessments. I really am pretty opposite you on this
issue. I feel that we have a lot of inequity in the City and that KRT’s work fell very short, really because
the data that they used was not that good. I can tell you from my perspective living in an old
neighborhood, I think the old neighborhoods are particularly bad. And we have a lot of old
neighborhoods around Nashua. And I think there is a lot of disparity in equity. I think there are a lot of
people living in some of those homes that don’t even understand the disparity that is there.

“So I don’t like the idea of waiting 5 years, I think it is too long. I’m not even certain how well your ratio,
your median ratio is going to hold over that time to give you the 5 years to take that time, especially if the
real estate market keeps cruising along with some forward motion. So that is one thing.

“Secondly, I’ve been at the last two Board of Assessor’s meetings and I have to be honest, they look pretty
darn disappointing. It is really tough for me sitting there. The meeting I went to two weeks ago had a
little bit of a show going on for me because at that point the number of abatements filed had been just
over 100 so the Chair and the Ex-Chief were commenting on how satisfied the public is – we’ve only got
about 100 abatements in and wow, you know, Lori that is a real good indicator that everyone is very
happy, everything is good. You know people are not upset at all, what are you talking about? And I
wasn’t on the agenda so I couldn’t speak to that, but I walked out really disappointed. I talked to some
industry experts who said to me – that’s not an indication of satisfaction at all and should not be used. A
low number of abatements can actually mean that you are pretty undervalued in your City which I agreed
with that.




                                                                                                            27

                                                                                             NPD-LO-3725
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 28 of 424



“But now a week goes by and the abatements jump almost to 400. So this week we go into the Board of
Assessors and they are no longer saying – Oh wow we hardly have any abatements everything is fine. But
what they are saying – Well let’s conduct a poll and the Chair is saying you know what? Kim and John
asked about the community and has there been many complaints in their survey and their survey came
up and people seem pretty happy overall people seem pretty happy with the office. I agree with that. I’ve
been down there a lot. Your front end interface is outstanding. The three women at the front are
outstanding, they do a wonderful job. Every one of them is professional, courteous, makes you feel
welcome. But that is not an indication that the assessments are good and what is going on behind the
wall. And so for the Chair to sit there today and say – Well you know what, we are not hearing any
complaints, everyone is pretty happy, that’s a pretty good indication we don’t have a problem. You know,
I have to sort of endure that for Round Two. And I think we are missing the point. So I know Mr. Bolton
highlighted the experience of our Board of Assessors, I have some serious reservations about what is going
on in there. I really do. I am so glad you brought up the Charter, the Board of Assessors does not seem to
know where they fit in that Charter. One of their Mission Responsibilities in the web site it to review all
policy and make certain all policy is implemented. When I saw them 3 months ago, I came with their
Mission Statement and I read to them – your job is to implement policy, review policy, make certain it is
happening. And at that point they looked at the Chief and said – Do we have any policies? And he kind of
shrugged and went – I don’t know we are looking into that. And then we started talking about the need
for a policy on how to judge and grade fixtures. That was in November.

“I have been very patient, I have sat back very quietly for 4 months and said nothing about this because I
have been watching, where is that policy. And that’s a pretty simple policy to outline just to establish
some standards among all the assessors. So November goes by and here we are March and I know our
Chief left, but through this entire timeframe, no policy ever came forward, no first read to the Board of
Assessors, no second read to the Board of Assessors, no asking by the Board of Assessors – Hey where is
the policy on this? They don’t seem to even understand that they need to be calling out for that. So I
have some serious reservations and when I go to those meetings I usually come out of it with a pretty
good headache. And there is a lot of work to do because I don’t think they understand what their role is
and the Chair, you know, he’s the one who pushed me to the State to the Commissioner Lindsey Stepp.

“When I called the Commissioner and got her on the phone, she was like – Well wait a minute, you know,
you have a problem with the Chief coming to work, that really doesn’t fall on my plate, that’s on your
plate, you pay the guy. You know there is some stuff you are supposed to be doing. My Board of
Assessor is like no, no, no, that is not on us. We are not covering that, go up to the State. So right now
even between the State and the Board of Assessors, I am not certain what our role is. But I can tell you
that our Board doesn’t feel like they are tied to this position at all and I think they are missing something
here.

“With regard to the position and the elimination of the Chief, I have a major concern. Mayor Donchess
you mentioned that we have somebody within now in a supervisory capacity, I was more or less assured
by you today Kim that we were not promoting anyone from within, nothing was being established that
way. I hope that is true because I have serious reservations given the report about taking staff within and
promoting anyone because there is a total lack of training. One of your commercial assessors has only
been doing commercial for 2 years; one of your residential has only being doing residential for 2 years.
For those people you’ve had a massive lack of oversight for the 3 ½ years that the Chief has been there,
so they are not well-trained in my book at all with oversight and work. And then you’ve got the whole

                                                                                                           28

                                                                                            NPD-LO-3726
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 29 of 424



communication problem internally and then you’ve got massive standards issues among the assessors
that have experience in general.

“So I get pretty distraught to think that we have somebody capable within of promoting. I also share the
same concerns Mr. O’Connor expressed. You know we haven’t had the time, the CFO, even you Kim,
have pretty busy jobs, all-encompassing jobs to now be down in that Assessing Office defining the
direction and what needs to be done concerns me. I feel we need an Assessing Expert. Not for nothing
but they are not assessing experts. And the fact that we are eliminating the Chief, Angelo Marino was a
Chief, was a GIS Director and I think at one point a part-time IT guy and he sat in the Assessing Office and
he wore all three hats. And when the IT piece kind of disappeared he wore two hats. So I don’t know
where this person is going to sit but I think and Angelo was here from 1996 until he left in 2016 and then
you brought in John so you had the better of 23 years, you’ve had a Chief. It’s a recognized position in
the State.

“So the concept that Donnalee got rid of the Director position, we still had a Chief, we’ve had a Chief for a
long time. So I really question, and the City has grown and the parcels of land have grown and the
number of properties have grown. Can we really run without one, do we really not need one? So I hope
you think a little bit about that because that is a reservation I have and I think you need to bring in help
now to figure out how you are going to define how that group operates in a true assessing form.

“Now I don’t think we are talking enough about some of the issues, the software stuff is great, you are
nailing that, you are on the right page. I think we can’t forget that all of this software stuff has to generate
an interface for the public to be able to access what we would like to access. Please don’t forget about
us, property cards, MLS stuff, sales searches so we can do better abatements. But your assessors, when
we talk about permits, you know the bottom line, I think we are missing a good number of permits, we
are just missing them, we don’t go. Ok? So that’s a problem. MLS adjusting, you know, we are missing
a bunch of homes on MLS adjusting, I don’t care if you put a little 8 in the column the 8 is there and you
flip the card over and nothing is written. And it may be that there was nothing to change, but there
should be something there. I can tell you when I look at the MLS pictures, I go – Oh we should’ve
changed stuff. It just looks like we threw an 8 in a column and never really looked at the pictures. And
how we use those pictures, you know that I have a serious reservation about the sales chasing issue. And
I think we have been doing that type of assessing strongly on sold properties that we have quantitative
and we have qualitative data we can look at and we are being way too hard on the qualitative data. And
we are changing those sold properties more aggressively than we are on permitted work and we are not
even doing it to all sold properties, we are doing to select. That’s not acceptable to me.

“Now right now my observation is they are not MLS correcting houses at all, there is quite a slew of them
that have been sold since November that all have needs review in the column and they are not using the
pictures they are not doing anything. I don’t know if they gun-shy, I don’t know if they are holding back
but some of them; I’ll give you an example are homes that in the past they would correct that, but I think
they got to sit there and not correct. They have a home that is totally rebuilt, remodeled, permits pulled,
addition put on, gutted, they go in in April and they go in with a clean card and they re-assess the whole
property, it’s all re-done which is what they had to do, it’s like a new build. They reassess it, they do it
just fine, they do their work the way they are supposed to, I go down, I can see it, it’s perfect, it is stapled.
They come up with an assessment for this property, $470,000.00. Then six weeks later it goes on the
market, it has stayed one the market and it sold in December, ok? What does it sell for? $560. Alright?

                                                                                                              29

                                                                                              NPD-LO-3727
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 30 of 424



The assessment and the price are off. Now it has a “needs review” stamp on it. It has a “needs review”
for 3 months. In my opinion, you don’t touch that. You’re done. You looked at the property, you ran
your model, your model produced evaluation, that’s how your model works. What it tells me is that your
model isn’t very good because your permit tables haven’t been updated, because your square footage
build for new construction isn’t that good or additions. But that’s what your model is.

“So if you go to that house now based on the sale price and you say – Oh the year 2000 build I put on that
old house, I’m going to make it 2010 now and I’m going to change the 3 bathrooms to excellent from
good; and I’m going to change kitchen to excellent. And I can drive up another $40,000.00 or $50,000.00
grand out of that.

“You are only doing that because of the sales price. Stop. To me you did the best you could because
that’s what your model showed. Because if that house hadn’t sold, and that house had somebody living
in it and they had walked in and done that card, that would be the assessment, that would really be the
assessment for the person living there. So you have to be careful how you use the sales data. And we
need a lot of retraining on that. I think that is very, very important.

“I know there is more in my head and I am tired and I think you are too so I am going to stop here. I
appreciate the work that’s been done, I really do. But I don’t want to lose sight of some of the important
stuff going on there when we are creating valuation. Thank you.



Board of Assessors March 7, 2019 – No VIDEO or AUDIO LINK

Ms. Laurie Ortolano said she would like to comment about the benign neglect issue brought up by Mr.
Hansberry previously in this meeting. She thinks they need to put that aside. The fact that people own a
property which gets into disrepair she thinks is a very small % and he is basing his decision on financial
and frankly mental health issues. She said there are other important issues happening here in this City
that are the bigger fish to fry…sales chasing, MLS review, these are big. Mr. Hansberry said it is
something he wants to have explored. He wants to see what other communities are doing because it
detracts from other property values. A member of the public said there are some people positively
impacted and some negatively impacted. I have dealt with data analysis and I can tell you, you can have
that sort of effect just being arbitrary so the fact that you would use that can be insensitive.

A member of the public asked with this current change in the Chief Assessor being eliminated, if a
private citizen has a company, to whom they would go in the Assessing Department if they wanted help
to understand their assessment or how things are done. She was told she can begin with an
administrative staff member and then, if necessary, the administrative staff member will direct the
person to a commercial or residential assessor depending on the property.

Ms. Ortolano said she is not comfortable, based on this report and the lack of training, promoting from
within. As a matter of fact one of the commercial assessors and one of the residential assessors are new
to their job. Management has been lacking and everyone knows the issues have been going on for a
long time, so to think our poorly trained assessing staff is now going to be promoted from within and
not have a Chief Assessor, she does not think the office can operate like that on a daily basis. She asked
‘Does anyone see that as an issue and how are we addressing that?’ Ms.


                                                                                                        30

                                                                                         NPD-LO-3728
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 31 of 424



Kleiner said she understands the concerns. The Assessing Department currently reports to the CFO, Mr.
John Griffin. He has been down there much more than she has and the Mayor has asked she put some
time in there also. In fact she is moving some of her duties so she can assist Mr. Griffin. She said she
can tell Ms. Ortolano that there is no immediate desire or idea to promote from within. There is so
much more that needs to be done and revisited that she totally agrees that would not be appropriate at
this moment.

Ms. Laurie Ortolano regarding her communications to Board of

Assessors dated 1/9/2019 and 1/29/2019

Ms. Ortolano began by stating a lot has changed since she got on the agenda for this meeting two weeks
ago. She had sent letters concerning the equalization ratio and a lot has to do with the practices within
the office. To start off she is not certain the Assessing Office understands their mission and she is not
sure the Mayor’s Office understands equitable and fair. She did not think things were right when the
Mayor’s Office said there is no issue if your taxes have gone down. There is an issue. It is about the
assessments. That is the fact that the public does not understand.

Regarding the last measure and list in 1991 she asked what percentage of homes the company that was
hired got in. Mr. D’Antoni said he was project manager for that update and we got in 95% of homes.
Ms. Ortolano said times have changed. Today we have a lot of households with two working people.
Mr. D’Antoni said usually the wife was home back with the last reval. Ms. Ortolano said that has
changed now. Mr. Hansberry noted since 9/11 there has been a dramatic shift and frequently the wife
will say her husband is not home and she does not want to let the assessor onto her property. Ms.
Ortolano agreed that is an issue.

She mentioned assessing models which put more weight on land valuation maybe should be looked at
because it takes away problems involved with entering the properties and assessing permits or sales
data. She said Henry George Institute in Maine is doing a lot of work on land valuation and a UNH
professor is doing a lot of work on land valuation and she thinks we should look at that. I think the land
is significantly undervalued in Nashua. She gave an example of her land being valued at $159,100 and
her neighbor’s $163,000 for a double lot. She says there are lots four times the size of her lot with a
value difference of only $6,000. That is not right. So she doesn’t know why this has not been looked at in
a long time. Another problem she sees is that sales data is the only data allowed for abatements. You
sort of flush away the measure and list and the State has flushed it away as well. At some point you have
got to allow neighborhoods to look at other neighbor’s assessments. ‘So here’s my neighbor’s house - I
am off $100,000 someone tell me why.’ She said she has helped seven people do abatements and
wishes she could have helped 200. Everyone she has helped with their abatement she has used sales
data but also has used neighborhood data. She said she does not see why it is fair to say we met our
mission.

She would like to build some public awareness in this to look at the neighborhood data. The concept of
qualifying sales has to be looked at because sometimes you don’t have the typical buyer. When you
have one buyer in 2 ½ years of the property being on the market, that is not a flood of people. She
continued saying at the time they bought that property, sales were so light for this type of property her
appraiser had to go into Manchester for a comparable sale and she came back and told me we overpaid
and she is a very good and very well-known appraiser. Mr. Hansberry noted the further away you go the

                                                                                                       31

                                                                                        NPD-LO-3729
          Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 32 of 424



less reliable the sale data. Ms. Ortolano replied that the model would have never produced the
assessment they gave me. The assessors worked very hard to take it right up to the sale price. There are
a lot of instances where the assessment seems to be driven by the sale. Mr. Earley said the reasons for
the issues were discussed in the audit, including lack of training and lack of policies. He said he read Ms.
Ortolano’s documents and his thought is we let the results of the audit take place.

Ms. Ortolano told Mr. Earley this is a policy board. When she came in December, Mr. Duhamel said
there is no policy about grading, condition, etc. and there is no peer review. In December there was no
policy and there still is no policy, 4 ½ months later. She said she is patient but there is a point where we
should get working on this and get this done. She said she thinks this is just poor management. She
asked if they received an email she had sent and the members said they did not. She said she wished
this board had a real time way of getting emails but you do not. The Mayor said accountability and
transparency that is what we are doing but there is not much we can do. The City should have planned,
this being an update year, for the 376 number of abatements so that we could handle that many. She
said she would like to make YouTube videos on how to abate. A big issue is the properties that the
public is picking to use in their abatements are not the ones that should be used. They need the
property record card to look at more details and be able to more fully understand. She said she would
like people to understand how to abate and we do not help them. If the abate process is up to the
taxpayers and they have all the data she can get 200-300 properties, lay it out for the assessor and do
the work to get these properties fairly assessed. She said she looked at 19 Monadnock Street. It sold
the end of 2016 for $260,000. It is assessed for $147,000 and the assessors go in and give it $155,000
but they don’t adjust the EYB when the property has been changed a lot. It is a pretty heavily upgraded
property that sold for $260,000 and the assessors put it at $155. KRT’s assessment is $212,000 so that is
81% of value. So KRT model is saying that house was over bought. 9 Monadnock sold in 11/2017 for
$355,000 and KRT puts it at $269.700 so that is at 76%. 17 Monadnock sold for $232,000 3/23/2018
and it is low balled at $200,900 and 15 Monadnock sells for $230,000 on 8/29/2018 and its assessment
is $182,300. Attorney Bolton pointed out to Ms. Ortolano if these came out at 100% you would be
using these as sales chasing examples. Ms. Ortolano replied KRT is used this sales data to create their
model and that is legal during a citywide re- assessment but once the update is completed and closed
we can no longer use sales to drive assessments. There are 5 houses on a street that are very
undervalued. I just want you to think about that. Mr. D’Antoni said we are in the process of looking into
this. Hopefully with the Administrative Services Director coming aboard those questions will be
answered.



Board of Aldermen Tuesday, March 12, 2019

https://www.youtube.com/watch?v=E7JZodx5ssU

1:40:20

Laurie Ortolano “Good evening, Laurie Ortolano, 41 Berkeley Street. Just wanted to share my concerns
again about this new director position. I hope that there is more discussion about the Assessing Office
itself and getting some outside leadership in that office. I just cannot fathom or imagine promoting from
within or not having a Chief down in that office given the amount of work that’s there. I think that the
Mayor’s comment on the position, replacing the Chief with this Director position, I really believe there

                                                                                                          32

                                                                                           NPD-LO-3730
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 33 of 424



are other positions down there you are missing. I’m not certain why in the 3 months they haven’t been
identified, but you are definitely short in a few areas and it doesn’t seem like we would want to stay in
that mode for another entire year but maybe we missed our window.

“Regarding the comments at the last week’s meeting I really want to offer this challenge out to you and
the Mayor. I become concerned when I hear the Mayor say that we are going to reevaluate in 5 years. 5
years is too long, and that what KRT did was sound, everything is equalized, it was a job well done. You
know we need to recognize that KRT did the best they could but it was a garbage in, garbage out
scenario. And if we can’t get down to understanding that the data that they used wasn’t necessarily
good and resulted in not necessarily equalized evaluations, you know, I certainly won’t be on any
common ground with this Mayor any time soon. And the case in point for that is what happened on
Berkeley Street. And I brought pictures to show you. Berkeley Street is the case street on why the KRT
model really didn’t work. So our street gets modeled, they come out with all the new assessments in
August and then all of a sudden my husband and I go in and meet with KRT and we ask for our valuation
to be lowered to $517,000.00 based on what was on our street; we didn’t use sales data then because
we didn’t understand that. We just looked at all these very comparable homes and we went in and we
had the meeting with Ken Rogers, the President. He offered to come to the house, he recognized the
problem with our card, he was the one who identified the sales chasing issue, thought it was that case
and off we went.

“The next thing you know we don’t get Ken or anyone from KRT coming to our home, it is in October that
I reach out to KRT and ask why they didn’t come and I found out then that KRT was asked by the City to
go down the street and reevaluate it again. And they picked 5 homes, so in this revaluation no one on
the street knew this was happening. So they pick 5 properties, well they went down the whole street,
what I was told after by CFO Griffin was that Rob Tozier came to my office, I gave him 55 property cards,
told him drive down your street again, this time really look and fix some stuff.

“Now when the Mayor told us that KRT came in and looked at every property in this City because they
gave a visual evaluation to everything and built the model, I don’t really agree with that. It was a drive-
by, it was really a feel of the neighborhood, the concept that they looked at every house was really not
the case. And really when you think about it over maybe a four month period, I don’t think they really
had the time to look at every property, 28,000 parcels. It was really about creating a model and using
the sales data to create a model. So they got a feel of neighborhoods I think by driving through, I saw
them come through my street and they were going 10, 15 miles an hour, that’s slow, but still not enough
to really be looking at every house. So I take exception with that. I don’t think they had a good visual on
every home. But when they came down a second time, the goal of that, unknown to any of us on
Berkeley Street was to get a good visual because things weren’t right.

“And so they came down and they adjusted 5 properties. And in the process of doing that, they found
another $300,000.00 of valuation that they could raise. And they gave a reason for it, they said, “The first
property we are going to change it from a Grade C to a Grade B because most of the homes on Berkeley
Street are Grade B”. The problem was that there were another 7 homes that were still Grade C and they
didn’t touch those. So out of 55 homes, 48 are Grade B, 7 were Grade C, they change one to up the
assessment $60,000.00 and they don’t look at the others that are Grade C and clearly some of them are
beautiful homes that the Grade had been done 40 years ago and no one changed. So why did they do
that? Why did those homes stay Grade C.

                                                                                                         33

                                                                                          NPD-LO-3731
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 34 of 424



“So I looked at that and I said “Well that’s kind of crazy” and then on the other homes they went down 13
Berkeley, 17 Berkeley, 46 Berkeley, 50 Berkeley and they raised them anywhere from $46,000.00 to
$90,000.00 a pretty good hit. And the reasons they noted on those was we’ve got to justify it, they are
being depreciated for unknown renovations. I saw that and I said, “unknown renovations”? How do you
create a valuation for something unknown. And these houses that they raised, these 5 houses, they
never went to the door, they never knocked on the door and said, “Could we come in” or “We want to
evaluate your house”. Well none of these had unknown renovations, they had all had permits pulled
that were improperly or not captured by the Assessing Department. So in my opinion they weren’t
unknown at all, you just go look at the permits, they were done.

“So here’s a model that KRT made and they ran this model and they created valuation and then they
come back and they take a really good look and they go, “Hmm, there’s another $300,000.00 over here”
and they change it. And that, to me, I was actually shocked that KRT did that because it put them, in my
opinion, in a very bad position. They should have said to the City of Nashua, “Hey this is your dirty
laundry, you didn’t collect this stuff right, you go back in and knock on the door and get in the house and
evaluate this stuff and fix it, because now we’ve got to throw our model to the wind and go back and do
your work”. And the thing that killed me about their evaluation, the very first home on Berkeley Street, I
brought some pictures, it was where they started, is a very old colonial, that has fallen into disrepair,
serious disrepair. So KRT starts there and sees a house like this, when you see a house that you know
you think there are parts of it you could put your arm through, you say “well there’s some deferred
maintenance there”. I wouldn’t call that a B Grade anymore. KRT looked at this house and said, “Well
that’s a B”. No. And that’s worth $400,000.00. Ok, cool that’s fine. But then you come right up from it,
three houses up and you’ve got a beautiful, painted lady Victorian, a little bit larger, attached two car
garage, beautifully done, 8 permits and very well rated and this is $13,000.00 grand more, with a B
Grading? How can that be, how could you look at that house there and basically give it 3% more for this
house here? Next to it is a beautifully restored conventional home wrapped in vinyl trim, new windows,
very lovely done, this has a Grade C. Now what is it assessed at? $329,000.00. That’s a really nice
valuation. How can this be so low and this house that has fallen into such disrepair be so high graded
above?

“All these homes are down in the block between Courtland and Laton. So land valuation is maybe 20%
lower down there. And then you come up to the block where land valuation is higher and these two
homes sit next to each other, this is a painted lady Victorian, very nicely done, a lot of exterior work, new
kitchen put in, but older, older windows, you know certainly not all restored by any means, but very
nicely maintained property and this is sitting at $410,000.00 virtually the same price as the house at 1
Berkeley Street. The building value on this house is $250,000.00 and the building value on the first
house is $280,000.00. How can that be? This house next to it just sold. This house the exterior is
definitely better than the first one I showed you but if you walk into this house you are in 1945 and it is
really 1945. And it just sold to a young couple for $400,000.00 which was a high price and needs a lot of
work but it’s hard to believe that KRT would put this house above this house and they are right next to
each other, they are right next to each other, they are neighbors.

“So I look at what KRT did on our street and I say, “that wasn’t well done”. And people have abated on
some of these changes and I think very legitimately so, I think the second go-around on some of those
houses was absolutely uncalled for. And people were irate, because once they put the change on, there
was no hearing process anymore, because it was the second go-around. And all they had left was to

                                                                                                          34

                                                                                           NPD-LO-3732
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 35 of 424



abate. And you know the Assessing Office is like, “Well what is the problem their taxes went down”. The
problem is that one of these houses took an $80,000.00 hit for honestly I even don’t know why. You
know? So the model shows you right there, there is a problem with the KRT model. Go over to
Monadnock because I talked about Monadnock at the last meeting and if you just – that was an
interesting street too. That’s a street where the model fails and it’s right in the old neighborhood
because they had 1, 2, 3, 4, 5 sales and three of them were in the KRT window, where KRT took the data
and used it to make their model, they captured the sales data and built their model. Cool. So a house
sells for $355,000.00, it is used to build the model and KRT spits out a price on that of $269,000.00. That
is pretty off from the sale price and that house ends up with a 76% valuation, that’s what the model did.
Another house sold within the window of their model for $232,000.00, it comes in at $200,000.00, it is at
86% valuation. Now their goal was to be between 90 and 110. They have another one that sells for
$230,000.00; it comes in at $182,000.00 with their model, 79%. They have another one that sells outside
of the window, it sells for $522,000.00; it comes in at $489,000.00, that one hit at 94%. Everything else
hit at 81, 76, 86, 79.

“So what does that tell you? Well I don’t know. I guess when I bought my house and I said, “Well we kind
of overpaid for it” and they said, “No there’s no such thing”. KRT’s model shows me all over the City
there is overbought houses. They just, they are not worth what they paid for them and the model will
show you, relative to other homes, that’s not the valuation they should have. That’s fine, I’ll accept that,
let’s apply that to everyone now when we are abating and following our rules, let’s apply it to everyone.
So that is kind of an interesting thing and so I think we have to recognize that there are limitations in the
KRT model and there are plenty of people who don’t see equity in that model. And Berkeley Street is a
picture street, Monadnock Street is another street that really puts it out there. I think we can say that
they did the best they could, it was an inherently flawed system, we don’t just want to focus on IT
improvements, we want to focus on the actual development of the card and the modeling that we are
using for that card and we want to get rid of practices that weren’t good practices to be doing like the
way we apply the median ratio and the possibility that we were chasing some of these sales. That is
important stuff. And nobody wants to recognize it in the City but boy it is important to me.

“So I get worried that every time we talk about bringing in a consultant it is KRT, you know we are
bedfellows now with them. Is there anyone else we can use? Should we look at somebody else when we
do this big, multi – you know, $1.5 million dollar contract would we even bid it? Do they now a precedent
and they are the ones that come all the time? You know I think we should expand our thinking and I
think we should look at other experts too, I think that’s a good idea. KRT, to my disappointment, when
this happened and they went down the street the second time and I called them in October and I said,
“Well you haven’t come to my house” and they said, “Well Mr. Duhamel told us you wouldn’t let us in so
we never showed up”. Of course I wanted them to come in I went to the meeting for that. So Mr.
Duhamel had a bitterness to him and made certain that KRT didn’t come to our house. So that’s when
KRT said to me, “Hey we went down your street, we took another drive by, the City asked us to do it, we
drove down, we raised 5 homes”. I said, “Well who did you lower?”. “Nobody”. How does that work, I
said, “What other streets did you go down”. “Only yours”. I said, “They didn’t ask you to go down any
other streets I gave a package, I looked at my street behind me, I looked at Concord Street, you didn’t
look at any other street”? “Nope, just yours the City said just do yours again”. That was very targeting;
that was really very targeting, that was not a great model approach. And then when I wrote a letter to
CFO Griffin and I said, “Who really authorized this? Why did we do this and who authorized KRT to do

                                                                                                          35

                                                                                           NPD-LO-3733
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 36 of 424



this drive by and make these changes” and this appears outside the scope of work well KRT writes back,
John Griffin sends them to KRT and KRT writes back to that request that the street was reviewed along
with the rest of the City during the evaluation process, the initial process. It was reviewed a second time
at the homeowner’s request during the peering process, both reviews were part of our contract. So all of
a sudden the second review was put on me. And that’s why when people on my street called the
Assessing Office and said, “Why were we evaluated again”. They were told, “Your neighbor complained
and she caused the houses to go up”. That was not right. I never had a dialogue with KRT. I was never
the one in charge of KRT. I didn’t order a second go down on the street, it is absurd. And why would I do
that and not have them come to my own home that I was trying to reduce? It was really disappointing
for me to read that. And it made me think a lot differently about KRT when I did the Right To Know Law
and pulled those minutes and saw that was how it was documented.

“I’ve been spending a lot of time reading the IAAO manual and there is a nice one on Standards on Mass
Appraisal for Real Estate Property” and it talks about how important it is to value defend your numbers.
And this is the guide that everyone here throws at me constantly, the Mayor, CFO Griffin, we follow the
IAAO manual. Great; it says that the staff should also be prepared to support individual valuations as
required preferably through comparable sales. At a minimum the staff should be able to produce a
property record and explain the basic approach used to estimate the value of the property. The
property owners should never be told simply that the computer or the system produced the appraisal. In
general, the staff should tailor the explanation to the tax payer’s knowledge and expertise, equations
converted to tabular form can be used to explain the basis for valuation. We could never get anyone to
explain our card or have any information brought to us on how it was built. We never got there, we are
in abatement without an explanation. And as I read these things and these are the standards we use, I
feel that we’ve got a lot of work to do on these standards.

“One last item, I didn’t realize Mr. Teeboom was going to talk about the Board of Assessor’s seat, the
alternate. And I discovered that seat had expired essentially very oddly, I just happened to be going to
Board of Assessor’s Meetings and they kept cancelling meetings. And I finally went to the Assessing
woman, clerk lady, and said, “Why are we canceling, why aren’t we calling our alternate in to keep the
meetings going” and she said “We don’t have an alternate, her seat expired a year ago”. I said, “are you
kidding me, we are not running meetings because we don’t have an alternate”. You know, ok, I could do
that job, I said “That is one I’d be interested in, I’d only have a few meetings a year, probably 2 or 3, it is
an entry level position that would give me a voice and I already go to the meetings”.

“So I typed an e-mail to the Mayor and I said, “This seat is open, no one is on it, I’d be interested in it”. I
ended up reaching out to Patricia, I was traveling she called me back on a Monday and she said, “Oh just
to let you know, the person who had it prior wants to do it again, the seat is not available, she’s going to
receive the seat”. I said, “Ok that’s the way it is”. And then I decided to go meet the individual who was
supposed to have the seat and talk to her and I asked her if she knew what was going on in the Assessing
Office and the answer was no, had she kept up, does she receive the packets, no, did she ever receive the
packets, no. And she said to me, you know, “I made it clear that if the Mayor could find somebody else
to do this job, I really am very busy with my downtown work and I really don’t want to do it, I will only do
it if he can’t find somebody else”. Well that was a little different from what I had heard.

“So I typed an e-mail and I went back to the Mayor and I said “Hey, I really would be interested in the
seat, and just to let you know, to my disappointment, I am not upset that I didn’t get the seat, it’s

                                                                                                             36

                                                                                              NPD-LO-3734
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 37 of 424



obviously not the place for me, that’s fine, this is not my hill to die on, maybe my best work is done on
the outside”. It was just an entry level you know foot in the door, maybe go to three meetings, I’m there
anyways, maybe have a voice on some things, but he gets to pick it, it’s his to pick.

“I am disappointed that he did not have the courtesy to respond to my e-mail at all, nothing. It just went
into vapor space. And I am disappointed that he doesn’t take these seats seriously, these seats that he
has to fill. We have a little bit of a crisis in that department and we have some weaknesses in that Board
and we could really use a Mayor who is using his expertise and reaching out to try and fill these seats
with the best people possible and that may not be me. He may have a better person in mind, that’s fine,
but at least show me you are working at it, you know? Not that it’s just let’s hurry up and quickly get
someone in there and make this person take it if they really didn’t want it because they are the best
person. So that’s a little disappointing, it just shows me how far we have to go to really you know fix
things over there. And I would love to see some public positions available, maybe it doesn’t have to be
anything permanent, but some short term openings where the public could participate maybe in policy
creation, a one year seat or panel, discussion group, work with consultants, try and look at better ways
of doing what we do down there. I think there’s an opportunity for that, that’s not a long term position,
it would just be a short term thing and that might be helpful, but not my hill to die on, it’s ok that I didn’t
get it. Thank you.”



Board of Aldermen Tuesday, March 26, 2019

https://www.youtube.com/watch?v=9CSTXVyae_Q

22:52

Laurie Ortolano, “41 Berkeley Street. I wanted to start off by extending an apology to the Board of
Assessors. I went out to their meeting on Thursday and at the end of the meeting one of the members
was pretty deeply offended by my comments at this meeting where I stated that meetings had been
cancelled because there wasn’t a quorum. And I believe I said that three meetings were canceled and it
turns out that the two meetings that were cancelled in February were canceled, a meeting was
cancelled on February 7th because they didn’t have a quorum and I got an e-mail. Then a week later a
meeting was cancelled on February 14th because they didn’t have a quorum and I got an e-mail. But it
wasn’t a separate meeting, so that wasn’t two meetings cancelled in their mind, it was one meeting
cancelled twice. I was not really aware of that because I wasn’t paying attention to the date; I was busy.
And the meeting prior to that that was cancelled was cancelled due to a lack of work to do in their minds
so they didn’t hold the meeting.

“I told the Assessor member that I would come forward and clarify that; I think there is still some other
issues with our Board that we can work on and deal with. I want to extend that to you, any
misinformation I gave you. It was only the two meetings that were cancelled for a quorum and I don’t
know if we are still looking for somebody for that Board or not. So that is taken care of.

“I would like to talk to you about your nepotism policy. I was unaware and as you know my husband and
I had our issues in the Assessing Department and one of our concerns is the fact that relatives work in
the Assessing Department, we have two brothers. It really didn’t work for us, the whole situation ended
up being, I think, handled in a complete conflict of interest by the two brothers being involved in our

                                                                                                            37

                                                                                             NPD-LO-3735
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 38 of 424



case. It has bothered me a lot when I came out to the meeting and the Mayor spoke about the changes
at the management audit meeting and he mentioned that we have an assessor in the office who is a
Certified Supervisor who could take over working for the office. I was really upset by that because it is
one of the brothers and I just could not stand the thought of a relative taking over as an assessor, as a
leader over a sibling, a relative. It just upset me enough that the next day I went to Kim Kleiner’s office
and said – You just can’t do this. Then last Friday, out of the blue, I don’t even know why, I never
checked. I e-mailed your HR Director and I said – Do you have a nepotism policy. Well it came to me
Friday afternoon. The policy very clearly states that “no relatives will work in the same office if it creates
the appearance of a conflict of interest” that was number one. The second part of the policy was “no
relative will work in a supervisory or managerial position above any other relative”. No questions asked,
it is just not happening; well in my opinion we violate that in both cases. We have brothers in there, not
only were they working in the same office, they actually had the same role, they were both the
residential assessors. You have four assessors, the two that served as the residential assessors were the
relatives for 10 years.

“For our situation, you know, we had a dispute with how an assessment was created on a property by
one individual. When we asked for a review of the property the individual that came to the door was the
other brother. My husband was really upset about that, he came to the door, my husband took his
business card, read it and said – Oh any relationship to the gentleman who created our assessment? And
he chuckled and he went – Well yes, I know it doesn’t look good but … Personally I don’t think anyone
should be at your door telling you it doesn’t look good “but” if it doesn’t look good it’s not good and you
shouldn’t have been there. But he came in, I said to my husband – and my husband’s next comment to
him was – By chance is the supervisor or management, do they carry the last name as well. And he
chuckled and said – Well no. We had him come in, he spent about 40 minutes there, I said to my
husband privately – We are going to throw his brother under the bus, because we ain’t holding back. It’s
not our fault he sent the brother. We’ve got a problem and we are going to put it all on the table. So we
did; we went through everything. We showed him the property card at 17 Berkeley Street that his
brother discounted deeply on a half-price home, how that happened. He kept circling our dining room
table and flipping to that property card and pursing his lips and just looking at the data.

“We peppered him with a lot of questions, we walked him outside, down the street. We asked him to
explain effective year build to us and he couldn’t. He said – I just can’t really explain that to you right
now. And we said – OK but we are really trying to understand what happened to our property. He came
back in the house and he said – You’ve asked a lot of good questions, you have a bigger issue here I can
see. He said – Give me a week and I’ll get back to you. He left and we never heard from him again. Now I
held out, I know I am more naive than my husband, my husband said – This is over, you know, this
brother ain’t going to do anything for us. I held out hope and I said – Well give him a chance, give him a
chance, give him a week. One week went by, two weeks went by, three weeks went by. I’m in and out of
City Hall, the third week I saw him in the hallway, I said “Greg I am waiting for your response, have you
looked into our situation and what did you determine? Oh, Oh, I’m talking to my boss, I’ll follow up, I’ll
get back to you tomorrow. The next comes, nothing; the next day I send an e-mail. Oh, Oh, I still haven’t
followed up, sorry. And we just never heard and that was the issue with our abatement that set us off so
much is that our issue was a fight that needed a legal entity we felt because we couldn’t even get the
City to agree that there was a legitimate dispute here.



                                                                                                           38

                                                                                            NPD-LO-3736
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 39 of 424



“So we knew we were going to be locking horns. And when they Mayor was talking about our tax rate
going down publicly we were so concerned that he was sending a message with his authority and his
influence to the assessing office saying – these people really don’t have a legitimate complaint. What
are they talking about? Their tax bill is going down. So I have a Mayor who is making those public
statements, I have a brother at my door who is backing his brother. And I am just going to tell you it was
an awful experience. And this should not be happening, it is too small an office to have family in there.
Now to extend it further, sometimes when family is in an office together things can get a little chatty
about family stuff. Do we have that situation going on? Well maybe I won’t answer that for you tonight.
But I think and I spoke to Steve Bolton about it and he said he has heard that is an issue. Now that
doesn’t mean that Steve agrees it is or has looked into it; but he’s heard that, ok? I’ve spent enough
time down there where I have an opinion. But that happens because you put relatives together.

“I met with Kim Kleiner today and I said – Imagine what it is like for the other two assessors down there
and imagine what it is like for the rest of the staff when you’re working. I think that’s a problem. I spoke
to Larry the head of Human Resources yesterday after I got the policy on Friday and I said to him – Now
that one of them is gone off and done a supervisor certification, was that individual told that you cannot
serve in a management capacity in City Hall because you cannot manage your brother? You cannot serve
in that capacity? Because I don’t think that was told and it should be explained. It’s great you’re moving
up, it’s great you want a promotion but you are going to have to seek that outside of Nashua, or one of
you has to go because we are not going to allow a supervisory role in our City Hall. And he couldn’t
answer me that was explained to the employee but it sure as heck should have been. The policy was last
updated in 2014, I really think those policies should be given to every employee. And I asked Larry –
What other relatives do we have in City Hall that are working together in the same Department? Are
others working under managerial roles, because we should know that, just from a conflict of interest
standpoint. I cannot tell you, I took this to Commissioner Stepp, how much and strongly I feel that in an
Assessing Office, where they follow Code of Conduct and Ethics Rules from the IAAO, from the NHAAO,
from the DRA itself there are 3 different conflict of interest in ethics policy from every organization that
our folks belong to because assessing and the money are important issues. When you have that kind of
regulation there at that level, I really believe that you should not set up that type of conflict.

“I was in Kim Kleiner’s office today and I showed her a property card that was worked by the relatives
and everything on it that was wrong and not owned by those individuals for what they did wrong, until a
property owner in your neighborhood behind you bought it in 2017 and got completely screwed
because permits weren’t handled correctly. The MLS correction wasn’t handled correctly and when they
moved in, they didn’t realize that a permit that was opened in 2010 and closed, was never valued. It
didn’t get closed until 2016, you’ve heard me argue that you can’t leave permits open that long. When it
got closed in 2016 the relative assessor, one of them, didn’t value it. The house sells in the fall of 2017,
the couple comes in, they think – OK. Then all of a sudden in December they get a call from the bank
that their escrow account is empty and they owe $2,500.00. They were stunned and they didn’t get a
letter from the City, they didn’t get the Assessors calling saying we are so sorry, we screwed this up, we
own this. They got a hard EYB adjustment like I did so their assessment went up $100,000.00 more and
you know with the tax rate at $25.00, they owed $2,500.00 bucks more, it wasn’t in escrow.

“Of course as property owners they called the Assessing Office and said – What happened? And they got
a story – Well you know you did pay more for the house and this was the type of adjustment we make
and this is what we do. I went over to that property this weekend. I brought that card, I brought all the

                                                                                                         39

                                                                                          NPD-LO-3737
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 40 of 424



information and I showed them what happened to them. It wasn’t right and it’s manipulated by two
relatives I don’t like it. It’s not good business. So you know, I’m a little hell-bent about changing that,
there’s no question I am not going to put up with that right up to the State level. That is going to be
something we work on and try to fix.

“The other thing I want to talk to you about, I think I could safely say Steve Bolton and I have pretty
much locked horns on the issue regarding the equalization ratio. We had a good battle at the end of the
Board of Assessor’s meeting. So I think my job is to push and his job is to resist and so that’s the way it is
but I want to explain something to you. I’m really sensitive about the use of this ratio on these
abatements. The use of a ratio is a complex issue and maybe most of you here don’t know about it, I
certainly didn’t. I feel that our Assessing Office is not using this ratio uniformly the way the State has set
it up to be used. I see assessors, namely the relatives, applying the ratio randomly. I started digging into
this two or three months ago. The abatements for 2015, 2016 and 2017 were the ones that I looked at.
It seemed like for every cluster of 6 that I would look at, 3 got the ratio, 3 did not. When I filled out my
state complaint, I sent this data to the State on my PA71 saying –Why is this happening? Why do some
get the ratio and some don’t?

“When I talked to Steve about it back a little while ago, his position well abating is a negotiation and you
find that in the negotiation process, the ratio, some people if they’ve negotiated, the ratio is just kind of
taken away, it’s all part of the negotiation. I agree with him on that for commercial properties.
Commercial properties and the bigger properties where it is lawyer to lawyer, those are, they are
negotiated. You’ve got two well-educated attorneys that are battling out what I see the big accounts;
Pheasant Lane Mall, the utility companies, the big boys. They are working on striking an agreement and I
agree that the ratio gets mixed in to that type of negotiation. But I will tell you for residential properties,
really100%, I don’t see negotiating going on. It is not happening. The residents don’t know how to
negotiate, they are pretty ignorant and they are not even doing a good job picking properties because
the tools they have are pretty terrible. And the assessors are high school diploma people, certified. They
are not appraisers, they are not lawyers and they are not negotiators. So you’ve got these certified
assessors talking to the ignorant ratio people/property owner about what value their home should be. I
see no evidence of negotiation. What I see over and over again is all the properties that the resident
lists, the assessor says – Yeah your choices stink, I threw them all away; ok here’s my 3 choices, here’s
the number I came up, here’s your value. And they call the guy up on the phone or the lady and they say
– This is the number I got. And I don’t see any negotiation going on where the numbers are changed or
are different, that’s the number. And the people have to go – Yeah OK that’s what you say. Because they
don’t really know how to argue. So now once you pick the market value then you multiply by the ratio.

“In the last 3 years the ratio has been below 1 so what it means to an assessor is that they are going to
pick a market value like $300,000.00 and then they agree on it. The ratio is 80% so that means that the
house is going to be actually assessed for at $300,000.00 it is going to be assessed for $240,000.00. It is
going to be 20% lower of $300,000.00. So the assessment is going to be $240,000.00. So they look at
what the people paid last year is what they are supposed to do, look at what the new assessment is and
refund them the money. That is an equalized assessment; that’s done to maintain equity within the data
base of the assessing data Ok, now people don’t know they are supposed to get that ratio. One of the
reasons they don’t know is that form that we give out to file an abatement that I used, doesn’t have the
ratio information on it. I kept saying to Commissioner Stepp up at the DRA, she said to me – The form
has the ratio information on it. I said – We don’t know about the ratio, we don’t understand the ratio

                                                                                                              40

                                                                                             NPD-LO-3738
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 41 of 424



down here. Well the abatement form has the ratio on it. There’s a section that explains the ratio; so I
kept going back to my form going – there’s no section.

“Today she e-mailed me and she said – Here’s the link, here’s the RSA link in the form for abating
printed out. Well sure enough the State form has a whole section that explains how you multiply out the
ratio to calculate your new assessment to weigh it off against sales data, but we delete that on our form
that we give to the public. So that’s why I didn’t know about it. That’s why to me, it wasn’t there. Now I
personally don’t think it should be deleted, I think the public should see this write up on our form. But I
don’t care if you delete it, I want you to apply it because it is still a confusing thing. I just want it to go
with everyone. So to prove Steve wrong, I said – OK Steve is saying – Oh Laurie, half of those houses are
in negotiation so they didn’t get the ratio and the other half got it. For three years that’s what you’ve
seen in all that data. So I said – Alright, I’m going to go to 2012; the ratio in 2012 was 1.09 it was above 1
right? So I am going to pull out 50 abatements from this two people in the Assessing Office that are
irritating me. I am going to take 50 abatements and I’m going to look 25 on each one and I am going to
see how the ratio is applied when it is above 1 because that means that they are going to give, no
matter if they multiply by it every time they are always going to give the property owner less money
back.

“So what did I find? 100% of the time, except one abatement, they applied the ratio. The multiplied on
all those abatements 1.09, 1.09, 1.09; so if what Steve is saying to me is true, that in some cases it is a
negotiation so the value is just 1 then I would expect to see half of those negotiations happening and
the value be just 1. But I don’t; it is multiplied every dang time. The one that wasn’t correct which I
found very interesting, the assessor changed the ratio from 1.109 to 1.15. He multiplied by a different
ratio. Why? Because he wanted the assessment price to be higher than what he had calculated, he
wanted to make it even higher, by $4,000.00 grand even though his math showed that it should be
$4,000.00 grand lower, in his mind, he said – Yeah I feel like adding $4,000.00 grand on this guy. I am
going to multiply by 1.15 and he upped it $4,000.00 grand. That ratio should never change it is a
constant calculated by the State.

“But if that was a negotiation, maybe the person called and said – I don’t want your number of
$216,000.00 I want you to make me $220,000.00, which I can’t even imagine, but then the negotiation
should have been on the price, the sale price; but there is no indication that a negotiation took place.
That assessor, for some reason in his mind, decided to throw a little more value on that property. So
that is a question I had to the State, you know, why should anyone change that ratio. I saw that with
some of the ones in 2015, 2016, and 2017 that if the ratio was 88.5 they used 90.2 because they just felt
like changing it a little bit. I don’t know why. And to me, and it’s not because it was last year’s and it was
the new ratio hadn’t come out so they were using the old up until that time, nope it’s not that. It’s just
that the ratio is being tweaked.

“We need to figure out how to use this ratio and treat people fairly. I am so staunchly opposed to letting
people who aren’t educated, like I have become, not receive what I am going to receive because I am
going to fight for my ratio because I know how. And all my neighbors on Berkeley Street are going to get
it because they are going to know how. And the people in the Assessing Office that have filed
abatements they are going to get it, because they know how. But the rest of the public isn’t going to get
it because they don’t know how. And that I don’t like, I think everyone gets it or no one gets it. Ok? Tell
the State and tell Lindsey Stepp, screw that equalization ratio, dump it and give it to no one, because I’d

                                                                                                            41

                                                                                             NPD-LO-3739
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 42 of 424



rather see no one get it, than me get it and no one else because I know how to argue. It’s not right for
residential properties; everyone should be treated the same.

“So what happened is that the State came out with our ratio, it was .95. So that means if you are doing
abatement you get 5% off your sale price. Steve informed the Board of Assessors that he thinks KRT
feels that’s wrong, it’s too low KRT thinks it should be 97%. So Legal is considering filing an appeal; they
have a month to decide. And they can file an appeal to see if they get it down to 97%. Why are they
doing that? Well as I looked at the exposure report that I think you’ve got a copy of, we have some big
accounts, big commercial properties that are going to abate, like Pheasant Lane Mall and some big dollar
properties. So maybe saving the 2% is a good bit of money. So for those big commercial properties it
makes sense and I get that. But what he told all the assessors in the meeting is – Don’t give the ratio,
keep the ratio 1 and basically don’t give the ratio that the State has set to any of the residential
properties. Anything you do from this point forward, just use 1.

“Well the meeting ended and my pitch was, why are you doing that? The ratio is set. Now I know you
want to potentially appeal it, but I’m going to be smart enough to say – I’m not going to settle mine until
I know what the number is. Because even if he announces in the meeting – I think it is going to be 97%,
why should this City pocket my 3% in your pocket? Why don’t I get the 3%? Why don’t I have the option
of having the 3% applied before I sign off on my paperwork? I don’t want you taking the 3% from me. I
want my 3%. What does 3% mean or 5%, if it ends up being 95% like the State said, on a $300,000.00
home, your assessment is now $285,000.00, you save $320 this year on your tax bill. Multiply that over 5
years with a rate increase; you are going to save $1,700.00. If you asked a residential property owner –
Do you want to save the $1,700.00 and use the ratio or do you want to let us keep that? How many are
going to say – Just keep it? I’m not going to let you keep it because quite frankly, I’ve overpaid you like
$20,000.00 grand and I feel pretty damn screwed. I want all my money back and I want my ratio and I
am going to fight for my ratio. I don’t want to give it to you.

“So we locked horns at the end of the meeting and didn’t come to an agreement. I immediately left that
meeting and e-mailed Lindsey Stepp up in Concord, the Commissioner. Then I went up there yesterday
and I had a talk with her assistant and I asked today if they could set up a meeting so I could go back up
and talk to Chuck Reese or some of the people up there. I’m in the throes of drafting up another letter
on what my position is just like I’ve kind of explained to you. I wish people in City Hall understood what
equity means and that the appearance of fairness is really important to some of us. That’s all I want to
feel like we are being treated fairly. And I want us all to have a fair shot at that ratio. And I want these
assessors to know that you just apply it. Negotiate on market value, I don’t care but everything you do is
on market value. When you are done with that, multiply by the number that the State says to multiply
by.

“For some reason there is a power trip going on in there, there is a power trip with certain assessors
who feel like they can put the screws to somebody by not giving it to them. I don’t like that. It’s random,
it’s targeting, it has all the elements in it of something not good. And part of that is happening because
we put relatives in the same office.

President Wilshire “Ms. Ortolano if you have something new to add? We’ve given you a lot of latitude
tonight.”

Ms. Ortolano “Ok thank you.”

                                                                                                           42

                                                                                          NPD-LO-3740
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 43 of 424



PERSONNEL/ADMINISTRATIVE AFFAIRS COMMITTEE APRIL 1, 2019

https://www.youtube.com/watch?v=s1NeI2eBV7g

17:25

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I don’t know if you are going to take up the
position for the Director for the Assessing Office. I don’t have an agenda so I don’t even know if that’s on
there.”

Chairman Caron “Yes it is.”

Ms. Ortolano “It is on there, ok. So I just wanted to convey a few concerns I might have in that area. It is
very difficult for me to think that we can run the Assessing Office without management down in the
office and that is not the first area we are focusing on to stabilize what has been a difficult situation
down there. I am a little bit concerned after the meeting a month ago that the Mayor talked to some of
us and mentioned that hiring a Chief is very difficult, they are positions that are very hard to fill and get.
If that’s the case, it makes me wonder whether the whole focus of the technical part of assessing should
be an outsource job for the City. I know most cities don’t do that, I know many towns in New Hampshire
do do that and I don’t know if you will spend any time discussing the differences of the possibility of
outsourcing the technical part; the running of the model, the creation of the cards, the inputting of the
permits, the MLS verification. If that could be handled as an outsource piece, with the clerical work
supported internally by staff in Nashua, but I’ve focused and moved towards that opinion in the last
month because I see so many obstacles down there in staffing and getting the right resources to do the
quality of work that we want to have with our cards and our data system. I don’t know if the Mayor
brought the directorship forward with possibly in mind the idea of outsourcing the work down in the
Assessing Office and that just hasn’t been shared publicly; maybe that is his intention, I don’t know. But
it just seems to me like that might be a direction we should look at. I just wanted to share that with you
as a concern. Thank you.”



Board of Assessors April 4, 2019 – No VIDEO LINK

Ms. Laurie Ortolano regarding assessing-related matters

Ms. Ortolano stated that as the members are aware her communication is regarding applying an EYB
(effective year built) with a permitted property versus a sold property. She advised with their
(Ortolano’s) property the EYB got shifted heavily after they purchased it and the EYB on the current
mayor’s property after completing permitted work, did not. The use of EYB is important and it effects
assessments a great deal. I talked with KRT and how they approach the modeling. EYB is what they look
at to affect the model. If we are not treating these EYB’s uniformly it is affecting equity when it is more
randomly applied. She told the board that she hopes new policy is made that requires the EYB be
applied more uniformly. Ms. Ortolano noted they have a brick home. Brick is porous and at some point
it needs repointing. She is now fixed with a $75,000 job for this repointing and also with the cost of
replacing an old roof, costs which she would not have if she had a 1994 home. She said she hopes policy
in the future and guidelines, when established, will correct some of these differences.



                                                                                                           43

                                                                                            NPD-LO-3741
          Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 44 of 424



Mr. Hansberry noted that Mr. Rob Tozier of KRT Appraisal has recommended we move away from EYB
and administration has agreed. Ms. Ortolano said yes that is true but this will not be done for another
five years. Mr. Hansberry noted it is something they were going to try to phase in but it may take some
time. Ms. Ortolono pointed out EYB is driving the condition factor in the assessment data and that is
what you are going to be using when you correct properties. Mr. Robert Earley asked if any other towns
use EYB and Laurie replied she checked with the Town of Hudson’s Chief Assessor and they also use
Patriot Properties for their assessing software but use condition as the driving factor and not EYB, as the
City of Nashua does. She said the Town of Hudson’s

Chief Assessor told her that when they look at older homes they rarely change the EYB to anything over
1979. So the restored, nice older homes EYB are not being put over 1979. She thinks he is more correct
than wrong and the EYB on an older home should never go above 1979. She said at the last meeting the
board may recall she interrupted the meeting. This was because Ms. Kleiner had said she had a
discussion with the DRA and Mr. Chuck Reese regarding what they consider best practice according to
New Hampshire law. Ms. Ortolano was hoping a member of the board would ask Ms. Kleiner what the
DRA believes is best practice. Ms. Ortolano said she was interested in that because she is a resident and
would like to know this. Because that is super interesting to her, that is what generated the interruption
but said she certainly will not ever do that again. Regarding the abatement on 1 Farmington Road that
came before this board, Mr. Magovsky was told he was ‘cherry picking’ his sales and should have gotten
comparable sales in the same neighborhood. She said she does understand about neighborhoods but
when someone has a cape and a ranch in the same neighborhood as comparable sales, they will say go
find a ranch. She asked if the board looked at what Residential Assessor Gary Turgiss produced for
comparable sales and where they were. She said he was ‘cherry picking’. She said our guys are assessors
and they are not appraisers.

She told the board she had a meeting with Ms. Kleiner and discussed the software made available for
taxpayers to use to pick comparable sales for their abatement and said it is very coarse. The assessors
have a license for Co-Star which is a program allowing them to pick sales using other filters. She
suggested this be put out on the city’s website to make it an even playing field. She said she does not
know what the cost is but if our residents can make better picks and create their abatements with
greater data, it is her opinion the process improves. Mr. Hansberry said we have an expert software
consultant looking at this and the goal is to make it more user-friendly. Ms. Ortolano said she would like
to make one more comment regarding the concern Mr. Magovsky had on the 5% discount applied to his
land due to the easement. She said Mr. Early was concerned that this board does not have the authority
to apply a higher discounted rate on the assessment for this easement. She asked if this board does not
have that authority then who does. KRT had a range on how the easements affect the value of the
home. Ms. Ortolano told the board she wishes the board had not agreed to the proposed assessment
until you had a chance to look at the easement issue. She said that is just a thought and since she knows
the board has a lot to do in a nonpublic session, she will stop here.



Board of Aldermen Tuesday, April 9, 2019

https://www.youtube.com/watch?v=dGpkYZfYGDo

2:02:42

                                                                                                         44

                                                                                          NPD-LO-3742
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 45 of 424



Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I was kind of glad tonight I was last and there
were people before me, but here I am. So I wanted to share with you after the last meeting, I went
home and did a Google search knowing very well that what has happened in our Assessing Office has
happened in other communities, surely we are not the first one to go through a struggle where we are
trying to rebuild. I came up with an interesting article and a transition that happened in Chicago with
their Assessing Office. Chicago some has some areas that are notorious for their crime so they’ve had an
assessing structure that has had a tough element to it because they Chief Assessor is an elected position.
In the office over there, they were willing to accept gifts brought right to the office and donations
brought right to the office which had just become a major issue among folks. So in comes February 21st
or February 19th, a gentleman, highly educated, had never run for elected office, he had an MBA out of
Stanford and worked 5 years in Russia as a financial analyst in a large mutual fund firm. He wins the
election and he comes in and he has three principals that are going to guide his tenure as Assessor;
ethics, fairness and transparency.

“He starts writing Executive Orders immediately and generates a 100 day plan which is moving along
nicely, I get an e-mail every day from them and he sets up a visitor’s log, which we have done, so the
public so would be aware of any meetings with direct level employees or higher people in the office. He
wanted to end so-called access to preferential outcomes. He described his work as complex and difficult
and the referendum and reform of the Assessor’s Office would be objective of taking a complicated
system and making it better. Another policy he implemented on his first day in office was terminating
any employee who had been hired or who had any form of nepotism, he implemented a strict anti-
nepotism policy. He looked to eliminate many appeals and he introduced a number of new staff
members, including outside experts he hired from the IAAO, data scientists and assessing officials from
other states.

“He summarized it by saying the work isn’t sexy but it is very important. And I thought it was interesting
because I raised that issue regarding anti-nepotism in our policy and I know it struck a few notes but I
think it’s very important especially in an Assessing Office, because they operate with standards, ethic
standards that are additional guidelines beyo nd an anti-nepotism policy that I think create a problem
when there are relatives in an office at that level. I just want to let you know that I did reach out to Larry
Budreau and he was the one who sent me the policy and I wanted to meet with him to talk about what
was going on. I received a response back that he did not feel a meeting would be productive and he was
respectfully declining any meeting. I do feel that you have some issues with your Human Resources
Department that you should address and the one issue or the one item I raised with him is “do we know
what other departments we have relatives working in or related people”. The response that I got back is
that we have documentation on that type of information and because there is documentation there is
no right under RSA 91:A to answer the question because nothing is in writing. Really when you create
an anti-nepotism policy or any policy and you are going to violate a policy, you should do a manual over-
ride. I have a friend whose been a Human Resource Director at a company with 30,000 employees for
30 years. And they were the ones who said to me “you’ve got have an over-ride, you can’t break a
policy without an over-ride and the over-ride should be signed off by the management chain and it
should be fully documented.

“I believe in that; I think that’s good business and is good for the City and I am not certain we do have an
over-ride policy. I am not sure all hires are going through Human Resources so that the screening for

                                                                                                           45

                                                                                            NPD-LO-3743
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 46 of 424



these issues can take place. You know if I had the chance to meet with him I would have said that I think
it is important to send a letter to all Department heads to understand who might be in your departments
that are related or have a relationship and identify them, identify what their titles are and do we have a
conflict here? And hiring that is handled that’s handled in non-public session that’s very typical for
hiring to be handled in non-public session, I understand that if you are discussing personnel matters.
But I know when I was on a Board once we discussed those matters and we knew the individual was
going to accept the job, we came into public session and put the nomination into public session and did
our vote in public session so that the public would know who we are hiring.

“My opinion is that if you are going to break an anti-nepotism policy in public session you should identify
that and you should say “there is an issue here, we’ve over-ridden our policies, we have the proper sign-
offs on this and we are moving forward this is our decision”. My feeling is if you’re not comfortable
doing that, then you probably shouldn’t be doing the hire because if you want to keep it a secret and not
say it, then maybe it’s not the right thing to do. And I bring it up because I happen to have some
information come my way that other departments have had hires that are relatives or have relations
that have made it into the system without an apparently screening process at all. So I don’t think we are
living up to our policy and I think it affects the quality of the work and the process and the product that
we deliver here out of City Hall.

“So that’s one thing. The other thing is I know that Ben wanted details, I needed to be more detail-
oriented on what I saw was wrong and all I can tell you is when I filed my PA71 with the State this is the
binder that I delivered. It contained many, many property cards, probably 300 pages. I put together a
lot of detail because I was disturbed by what I saw here in the City. I can’t come to a meeting like this
and address that kind of detail here. It just won’t work. Anyone can reach out to me and ask me if you
want to be more educated about the things I am concerned about, that’s fine.

“The other thing is the Board of Assessors, I would like to be able to take most of my issues to the Board
of Assessors and have them addressed there. I don’t think they belong here. But I can’t make that
avenue work and it’s very frustrating. I delivered a letter on effective year build and concerns with an
example on a property card to them three weeks ago. It was completely ignored, not even
acknowledged for the record. They brought it back last week; they acknowledged it on the record but
with no discussion. So if you can’t get to a substantive discussion on issues that affect the quality of the
assessing data base and a lot of home, then what good are they? I tried to track your meetings and one
gentleman is very combative, so it is very difficult for me because I see an individual who I believe has a
personal agenda. They are not willing to look at the big picture stuff that affects – you know – sales
chasing, effective year build, these are all letters I kind of had sent to you, MLS Correcting, Permit
Captures. We are dealing with valuations; favoritism and unethical conduct when it comes to assessing
properties of potentially influential people. Those are important issues and if you can’t have
substantive discussions about those, I really don’t know how you improve the quality of the data. All the
software stuff you are doing is great but the software does not create the assessment on its own; the
judgements are coming from the people and ultimately the management within the office.

“When I look at the Board of Assessors, last year they had 20 meetings, one cancelled, the average for
those 20 meetings was under 30 minutes with almost half of them being under 20. They have meetings
that are 6 minutes, 10 minutes, 10 minutes, 12 minutes, 13 minutes, 18 minutes, there are a lot of short
meetings over there. I think there is room to up their meetings, take yours down by pushing these issues

                                                                                                         46

                                                                                          NPD-LO-3744
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 47 of 424



to them and getting them to respond. So it is super frustrating because they just won’t recognize
anything.

“They won’t sink their teeth into anything or even acknowledge the need for potentially creating policy.
So I think policy is so important on a lot of these issues and they just won’t address it. I felt like we took
a huge step backwards last week with the use of the equalization ratio. One member doesn’t really
believe in it; I didn’t even know that was the case So that was difficult. There was a resident that came
in to represent an abatement and I thought it went really poorly for that individual and you really get
this “us against them” adversarial feel. It’s horrible, it’s uncomfortable; it was so stressful for the
gentleman who came; he was exhausted for two days after that whole event.

“So I hope that there is some way that someone can give some assistance to what is happening in those
meetings so that they can become more substantive to work on what I think are the bigger issues. I
know that the City’s position, certainly with me, is “we’ve given you tons of time, you’ve talked to
everyone, you’re not happy, we’re never making you happy”. The reasons that I’m not happy is because
the substantive issues aren’t addressed. They are waived off and told they’re nothing which is
ultimately why I created a 3 inch binder that went to the State, because I couldn’t get any of that really
looked at here. And I’m really concerned about what is going on in that office. Management I think is
very important; I’m super happy that a few of you spoke about potentially a Chief Assessor or some
management in that office. I cannot tell you how important I think that is. I don’t want to hear from
anyone here how hard the staff is working; some work hard, some do not. We have some issues that
have to be resolved; all is not equal. And that’s just the way it is.

“When it comes to HR and our Chief Position, we don’t even have a policy where upper management the
higher level people check in. The biggest issues is he wasn’t at work, he was at work 20, 25 hours a week,
this went on for years. So we don’t have a way that our people check in and get recorded to be paid, our
top level people. I just find that odd. I asked myself what other departments do people not come to work
and we don’t know. To me if you’re not going to come to work you should call Human Resources; say I
have a sick or have a reason but not just your boss. This just totally feel through I don’t know where and
it went on for a long time. We really flushed half a million dollars down the drain in that position in 3 ½
years with benefits and everything else. That is expensive and it was very damaging. When I look back
at – I’ll end it with this comment and I thought about it last night. When I had my first interface with our
ex-chief and I tried to address the valuation of my property which at the time was $700,000.00 a year
and a half ago. I had a brutal conversation on the phone where he was unrelenting and punishing that it
was fair, it was right, there were no issues in his office. I look back at that now and think “how screwed
were we”. Because this was a chief who knew what the equalization ratio was and I didn’t, none of you
probably did either. So when I’m on the phone going “$700,000.00 is outrageous for the value of my
home”, that was really the assessment, at the time the ratio was about 80%. So the sales value of my
home was actually $840,000.00; I was upset at $700,000.00 but this guy knew, talking to me, and I’ve got
a lady here who is upset whose home is, I know what the ratio is, her home is really got a value of
$840,000.00 and I’m telling her, “you’re fine, don’t bother coming in, I’m not looking into, don’t bother
me, you bought it, you own, pay it, that’s it”. If that doesn’t tell you how much it is us against them
when that’s going on, and we were totally taken because we didn’t understand the ratio and I’ve done a
lot to understand what that means when you are looking at your value. So thank you.



                                                                                                            47

                                                                                             NPD-LO-3745
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 48 of 424



Board of Assessors April 18, 2019 – No VIDEO LINK

Ms. Laurie Ortolano regarding assessing-related matters: Ms. Ortolano told the board there are a couple
of things she would like to mention. Firstly, she received the packet for this meeting but she did not
receive any of the exemption material. She said she let that go at the last meeting and did not say
anything but the last time this came up was when Mr. Hardy appeared before the board regarding his
exemption. There was a memo included in the meeting material sent to the board regarding this. She
had asked former Chief Assessor, Jon Duhamel and Ms. Brown for a copy of that memo and they told
her she could not get it. She subsequently received the letter because it is a public issue. Ms. Ortolano
asked Attorney Bolton if he had advised this material not be provided and Attorney Bolton said he does
not talk about the advice he gives to his client. Ms. Ortolano said if it is a public meeting and the
discussion is in a public meeting, if requested the material should be provided. She said she understands
why the income and asset information of an elderly exemption applicant would be protected but she
does not understand why the material being discussed in public session is not sent to her. She said she
knows that Mr. Hardy’s denial is heading to the BTLA on appeal. Ms. Ortolano asked that someone
please follow up with her regarding this being public or nonpublic. Ms. Ortolano said Mr. Magovsky
raised the question about having his property discounted further due to the land issues and he and I
have since discussed this and she told the board she has encouraged him to accept the assessment that
was approved by the board and not go to the BTLA because it will be 18 months to two years before
that is handled. Speaking to Mr. Hansberry, Ms. Ortolano said you made an interesting comment about
that street (Farmington Road) being thought of as a nice neighborhood. I did not know that because I
have only been here five years. My first impression with the poles is it was not a nice neighborhood and
then I saw pictures of what the neighborhood looked like before the trees were cut down. I am almost
surprised there was not a push by the city to not allow that to happen. Ms. Ortolano pointed out that
Ms. Kleiner said earlier in the meeting that she is speaking to people interested in the open board seat.
She said she is going to challenge that. Ms. Ortolano said she does not know if there is an alternate
member. Ms. Ortolano said her next matter is a private matter and she would like to request a
nonpublic session because it effects the reputation of a worker. She said she is trying to be sensitive to
matters which if discussed publicly would affect the reputation of an employee, but she is happy to
speak in a public session, if not allowed to speak in non-public. Mr. Earley suggested we discuss this at
the next meeting in a non-public session because the members do not have any information on the
topic. Ms. Ortolano said she will not be submitting any information prior to the meeting. She will not be
asking the board members to take any action. Ms. Ortolano said she just wants to give the members
information and let the board members do the research. Mr. Hansberry said he would feel more
comfortable scheduling this at the next meeting. He told her she would not have to share the material
with the board secretary as it could just be submitted in an envelope marked ‘confidential’. Ms.
Ortolano said she would not know how to do it confidentially and she really worries about giving
information on this topic ahead of time, so she asked that she be scheduled at the next meeting for a
non-public session and we will have a discussion then. The board agreed.



Board of Aldermen April 23, 2019

https://www.youtube.com/watch?v=jm9E_1hQH-A

48:54

                                                                                                       48

                                                                                         NPD-LO-3746
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 49 of 424



Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just a couple of things. Laura spoke a little bit
about the difficulty in getting answers. At that meeting that she went to with Kim and John Griffin, I
attended with her back at the end of March. She asked a lot of good questions. A lot of questions I
didn’t know the answers to. The administration was pretty responsive to not knowing the answers
either. But, I do think there’s something to be said in getting a response or a timely response. If it
doesn’t come that somebody even lets us know that it’s being worked on and it will be coming. I don’t
know what you consider reasonable, but I think a couple of weeks is reasonable. If it is going to be a
month or two months, I think that people ought to know that because it’s a long time. I can tell you right
now there’s been a change in practice down in the office set up by Ms. Kleiner to restrict information to
the public. I’m not in favor of it. She isn’t allowing people to speak directly to the assessors. You have to
put it in writing, and it has to go to the assessor for an answer. That really is, I think, too restrictive and
not appropriate. I know I raised a question about three weeks ago to an assessor. I went in to ask a
question; I don’t ask many. I really don’t engage the assessors often, but I was asked to be a
representative for somebody on an abatement, an individual, and I had a question about basement
valuations. I was stopped at the counter and said: “Oh no, no. You have to put it in writing.” So I put it
in writing and sent the email to the assessor. It was two and a half week’s ago. I haven’t received a
response. Honest to God, it’s a question that would take 60 seconds to answer. I know it’s that quick,
and it is not responded to. I think the reason is she’s trying to insulate the assessors from the public
because they are concerned or nervous. I just don’t think that’s the right way to go. I don’t think it’s how
an assessing office should work.

“Secondly, you can no longer access the data records, the public records in the Assessing Office directly.
You have to fill out a form and submit it and wait for them to comply with those. I know Laura has been
waiting for data. She may have started to get some, but it took a while. I feel I’ve never abused it, and I
am always willing to work with them if they are busy and need a couple of days to do what. I’ve always
done that in the past.

“When this rule came about, about three weeks ago, I didn’t put any cards in because I’d been working
on a huge swath of data – 800 data points that I’d be able to bring to the Board of Assessors to make a
pretty compelling argument to look at outsourcing the technical aspects of the department. I need to
prove my data a little bit by looking at files. I went in yesterday and dropped off a list of files I would like,
and it was 50 which is a lot for me. But, I said I will take them in groups of ten, however you can do them.
But it’s different. I’m not certain restricting is really the way to go and that’s what we were hoping to
do. Remember, you folks in your management audit report set up the department this way. Kim will
say: “Well, we are short staffed.” Well that’s because you chose not to hire a chief because you said you
didn’t need one. Any other staffing issues that were going on in that office, I don’t think were
addressed. If the administration had brought you the five-year staffing versus the current staffing you’d,
I think, realize your short other positions. But that wasn’t presented in the report. The short staffing
can’t be put on the public to say: “Hey, you know, enough. Back off. We’re not going to give you
information. We’re busy. We’re short” because it was your choice. There’s nothing we can do about it.
I think that’s important.

“After the last meeting, I attended the coffee at JajaBelle’s. I asked the Mayor a question about
outsourcing; how he felt about it because several aldermen here spoke favorably about looking at that. I
really do want to look at that for a number of reasons, but I didn’t know what the Mayor’s position was.
He was kind enough to speak to it a bit. He did mention that when you do outsource, you lose control of

                                                                                                              49

                                                                                              NPD-LO-3747
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 50 of 424



the situation. It was an interesting choice of words to me. It peaked my interest as to what he was
thinking about, what control we had. I did send him an email to ask specifically what he was thinking
about, and I wasn’t able to get a response. I’d ask the aldermen or Trish, as my ward rep, find that out
for me. That’s really important to me. If you’re going to have a discussion about this, I hope it’s in the
public eye so whatever your concerns are and anyone else’s, I can hear so if I’m too short-sighted I
understand because it’s not something that I’m beating myself over saying this is what you’ve got to do.
I don’t know the right answer either. I just think it’s something we seriously have to look at for a number
of reasons.

“The Administrative Services Director position when that was created as a high level position, you all
know I was concerned because the management in the office wasn’t addressed. I was also concerned at
the time when I took the microphone that it was such an elaborate position it would be hard to hire in
from the outside. Who do you hire? Who do you pick? Listening to the Mayor describe that position
tonight, it’s very apparent that when you brought this report forward, you knew that this was going to be
an internal position. Just based on the way you spoke tonight that you really can’t go outside. The
others were internal. It will take six months to look at applicants and another six months to screen. I
feel like all along you were of the mindset that this was an internal position. I feel we should be more
forthright with that information because that’s not how I was looking at it. I have some real concerns
with promoting from within. There was a dialogue on a Facebook page recently where people spoke.
One of your aldermen, Jan, had posted the letter that the Mayor wrote and it got a number of different
responses from people expressing concerns, myself included. I know Jan’s position was: Ms. Kleiner,
could we find anyone better? She’s so qualified, outstanding. Well, my position was the only reason
you say that is because you haven’t looked at anyone else and you haven’t screened any applicants.
How do you know? You haven’t looked anywhere. Now I realize we’re really not going to look anywhere
probably.

“I’m disappointed in that because I feel like it was a report done by the person doing the report who
carves a position for themselves in this management chain, which I don’t think that was what it was
supposed to be. To tell you the truth, I think the Alderman’s, Jan’s position was well, Laurie, you’ve
spoken favorably of Ms. Kleiner. I have. Just because I speak favorably and recognize that somebody
works hard, doesn’t mean that I would pick them for the management position to wear six hats. I’ve had
some negative concerns too. Some I keep to myself, some I don’t. But just because I didn’t come to the
microphone to share the negatives doesn’t mean that I am all on board with the title that you are lining
up. I get concerned when people want to put words in my mouth because I certainly think I’m a person
who put my own words out there and don’t need that help. The same was true at the coffee when the
Mayor spoke about what was happening in the Assessing Office.

“He really felt that the software issues were going to take care of the problems in the office and that I
would agree with that. I would not. Your budget in your Assessing Office is probably $600,000 in
salaries. I’m very concerned about people issues, and the people are the ones who create the cards.
We don’t have magical buttons in the software that do it. But the integration of the software is very
important. I recognize that, and there’s value in that in and there’s cost savings. The work that Ms.
Kleiner is doing in there is great, but I think the personnel issues are missed. I think we have nobody
down there who can answer the technical questions on assessing for when the public comes in. Nobody,
because Kim doesn’t know that information and the assessors are being isolated. Just a few concerns.
Thank you.

                                                                                                         50

                                                                                          NPD-LO-3748
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 51 of 424




Board of Assessors May 2, 2019 – NO AUDIO OR VIDEO LINK AVAILABLE

Mrs. Ortolano “I have an item that would be public so people don’t have to leave. It’s just based on what
we have discussed here.”

Mr. Hansberry “But you had said two weeks ago you wanted to address us in non-public. Do you still
want to do that?”

Mrs. Ortolano “I do, I am just saying though I don’t think every item I have is non-public so I didn’t want
to be in non-public if.. .you know I come and I get on the agenda so that if you talk about a bunch of
stuff and I hear something I can ask a question so, you know, everyone doesn’t have to leave because I
just had a question on this piece of paper we just did. You know what I am saying? So this isn’t
necessarily non-public.”

Mr. Hansberry “Alright, it’s public.”

Attorney Leonard “Well but the board does not have to entertain and answer questions should you not
want to.”

Mr. Hansberry “But she signed up, I mean she’s on the agenda.”

Attorney Leonard “Right but I’m just saying, that’s....”

Mrs. Ortolano “You don’t have to answer.”

Attorney Leonard “You are correct, when you go into nonpublic it needs to be limited to the reason you
went into nonpublic.”

Mrs. Ortolano “Right. I don’t want to use it the wrong way. That’s all.”

Attorney Leonard “Right. Well, more importantly the board, it’s the board’s prerogative to go into
nonpublic.”

Mrs. Ortolano “Yes.”

Attorney Leonard “I just want to remind you there is still some advice of counsel we still need to address
at some point.”

Mr. Hansberrv “Right.”

Attorney Leonard “I just wanted to make sure. I know you guys have gone through quite a bit.”

Mrs. Ortolano “This religious exemption on Chandler Street that was just done, the only thing I noticed
was the property at 43 Chandler was not viewed because they could not get in. So as a matter of
procedure that we are all trying to follow, I wondered was a card left at the door and why didn’t we not
try to go back or why did we process this one so quickly because we did not gain entry. My reason to say
that is because when I Looked at the property card we haven’t been to that house since 2002 so we are
almost 20 years since without looking at that property or having an opportunity to get in. And there
were some permits pulled, that we don’t know what in ‘18 and ‘19 what those permits were used for,
because you know people can do stuff, that they only pull a mechanical or plumbing but there might be

                                                                                                         51

                                                                                          NPD-LO-3749
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 52 of 424



something more happening inside. So I see permits, I see we haven’t been in, I 500 n~ one was at the
door, but the church was covered because somebody was there. I don’t know if somebody at the church
could have let him in the house but, you know, did we leave a tag and why did we not try to go back on
this one before we just granted the exemption. You do not have to answer these questions but these
are the questions I have on process.”

Mr. Hansberry “I think historically it has been used as a rectory. It was a rectory for St. Francis Xavier,
which was a Catholic church from back to the 1887 and then the Coptic church took it over and
continued to use it as a rectory and then it is being transferred from one Coptic church to another Coptic
church where it’s continuing to be used as a rectory.”

Mrs. Ortolano “That is fine. My issue is though you had the opportunity to see a place where permits
were pulled and we do not know if the baseline value is correct to give the exemption. I don’t know, is
the exemption a full exemption? Is it 100% no taxes they pay?”

Mr. Hansberry “For the rectory, yeah.”

Mr. Earley “Usually yes.”

Mrs. Ortolano “OK, I just wanted to... ok that’s fine. The other thing I just wanted to make clear, it came
to my attention from the City that people are of the impression that I have always pushed to have all the
assessors removed. I wanted them all fired and that was one of the reasons why being a part of this
board was not a good idea because nobody wants somebody on the board who wants to fire all the
assessors. I have never I believe pushed that position forward and I hope that’s not the position that you
have or the mindset you have, or the opinion. Yes, I have had issues with some specific work of some
assessors but I have also recognized that we have some that are working very hard. I have never been of
the opinion that a clean sweep is what I was going for. I didn’t file my State complaint based on
everyone; I filed charges that were very specific and this was my complaint and it took a lot of work and
it was very databased. I didn’t do this in haste. I tried very hard to work with the City presenting papers
and technical data that I was never able to get anyone to respond to. And all Of my writings originally
until I got to this were really based on data and not targeting an individual or naming individuals but just
leaving it to the City or the board to look at the data and say why is this happening. But I was never able
to get to that type of discussion or response or answer to any of the letters I put in. You as a board were
willing to at least acknowledge that you received one, The Board of Aldermen wasn’t even willing to
acknowledge that. So and I want you to know something that I found very interesting, when I started all
this and I called the State, specifically Chuck Reese, I was going to come to the Board of Assessors and
Chuck said don’t go there. You’re going to find it very difficult. He said they are not going to help you. He
said go to your Board of Aldermen and I did that for two months. I don’t know why his opinion was that
way. It might have been because we had some very senior members that were not, in his opinion, doing
the job the way it needed to be done. All I know is I went to the State and that was the direction I was
given. I went to the Board of Aldermen for a couple of months and then realized... I called him up and I
said Chuck, I’m getting nowhere with the Board of Aldermen. They don’t even recognize my letters and
when I send them an email, I don’t even get a response back that says thank you for your email. I get
nothing. I mean you just don’t even know where it went. As a protocol, the aldermen do not respond to
anything in writing even to acknowledge receipt of it. So, and then no individual alderman, including my
ward alderman would respond to anything. So I said to Chuck I got to go back to the Board of Assessors.
I have no choice because the charter says they are the ones in charge and if they are not doing their job

                                                                                                          52

                                                                                           NPD-LO-3750
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 53 of 424



then I have to push and push and push at this level because what else am I going to do. I did come back
to you and I haven’t found it to be great from a response standpoint with any specific letters I have
given. None of them have been addressed but that’s what ultimately led to this with the State, because I
am hoping I can get more specific answers to the concerns because I could not get any in Nashua. I am
actually going up there now and going to the ASB (State’s Assessing Standards Board) meetings and I am
starting to peel away at some of the answers I want, so that has been helpful. I just wanted to put that
on the record publicly that my agenda wasn’t to fire every assessor in Nashua. I do have specific
concerns. So I asked for nonpublic because I was going to address some issues I see specifically with an
abatement that was brought last meeting at 7 Auburn Street. I don’t care. If you want to do it in public
session, everyone’s out of the room, I’ll do it in public session. If you want to make a motion to go into
nonpublic because it is assessor-specific, you can do that. I don’t care how you want to do it.”

Mr. Hansberry “Are you going to say something that could be potentially damaging to that person’s
reputation?”

Mrs. Ortolano “Well, if you want I think I can try to just not have that kind of dialogue and if you feel it
is, stop me.”

Attorney Leonard “So if I may, I have another question. So an abatement was granted or denied by this
board two weeks ago?”

Mr. Hansberry “There was an abatement that was granted to 7 Auburn Street several months ago.”

Attorney Leonard “OK.”

Mr Hansberrv “And then with the equalization rate...”

Mrs. Ortolano “It was actually granted ten months ago.”

Mr. Hansberry: “Ten months ago, yeah, so with the equalization rate the adjustment had to be made
and brought up to date. So it was actually an abatement that was granted ten months ago.”

Attorney Leonard “For which tax year?”

Ms. Walley “2017.”

Attorney Leonard “OK so there was an abatement request for tax year 2017. It was processed? So either
granted or denied.”

Ms. Walley “Back in June and then another one for 2018.”

Attorney Leonard “Ok so back in June 2018 and there was an appeal period where the abatement either
granted or denied, if there had been some disagreement with the board’s action, it could have been
appealed.”

Mrs. Ortolano “It wasn’t.”

Attorney Leonard “Ok, so is your intent to bring up a prior year?”

Mrs. Ortolano “My intent is to bring up that they filed another abatement for 2018.”

Attorney Leonard “Has that been addressed by the board?”

                                                                                                               53

                                                                                            NPD-LO-3751
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 54 of 424



Mrs. Ortolano “That was just addressed two weeks ago.”

Attorney Leonard “OK, so a decision has come down as to being granted or denied right.”

Mrs. Ortolano and Mr. Hansberry “Yes.”

Attorney Leonard “OK, now these are properties you do not own?”

Mr. Hansberry “Correct.”

Attorney Leonard “Are you the tax rep?”

Mrs. Ortolano “No. I have a process question. So how these are being processed.”

Attorney Leonard “The abatements are being processed?”

Mrs. Ortolano “Yeah, how we’re looking at the data. You know how I just brought up publicly that did
we go to the property, did we leave a property card? These are my questions on these, on the process
by which we generated this abatement. I want to address process issues because I think there’s a
problem with this and I went to the State with it when I had my meeting a month ago and I learned
something from them that I think we should know.”

Attorney Leonard “I think the State can talk for themselves. I just want to be a little careful that I know it
can be very hard sometimes. Full meaning or detail is lost in translation. So where we don’t have a
representative from the State here I would just caution that I would like to just focus on your thoughts
and not so much what was said to you by other people.”

Mrs. Ortolano “OK.”

Attorney Leonard “I am also just trying to get to the heart of what the board process-wise and
statutorily...”

Mrs. Ortolano “I think you’re just going to have to listen.”

Attorney Leonard “I think I would ask the same respect. I was still speaking. So we have got in a case
where there has been an abatement granted. There is an appeal process still open for 2018, it seems to
me that if the taxpayer, and of course the board is free to do that, I think though that where, if you’re
certain that it wouldn’t effect reputation… so it sounds like what you’re saying is you want to ask specific
questions.”

Mrs. Ortolano “Yeah.”

Attorney Leonard “This board as you know can’t necessarily answer those. Certainly not right now.”

Mrs. Ortolano “Well I realize that.”

Attorney Leonard “OK, but I think the board can move forward how they feel. They can always stop and
go into nonpublic.”

Mrs. Ortolano “Yeah. You can if you think that you need to.”

Attorney Leonard “Or we can go right there now.”


                                                                                                           54

                                                                                            NPD-LO-3752
          Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 55 of 424



Mrs. Ortolano “If you want I can work right around nonpublic and try to just present it as neutral as
possible and if you feel you want to go into nonpublic, do that.”

Mr. Hansberry “I always feel nonpublic should be used as limited as possible.”

Mrs. Ortolano “I agree.”

Attorney Leonard “I agree and I think there has already been some indication. It is my understanding
that complaints to the State are confidential in nature and there has already been mention of those in
public session so I do think there is basis for moving into nonpublic session.”

Mr. Hansberry “You want us to go into nonpublic session? OK.”



PERSONNEL/ADMINISTRATIVE AFFAIRS COMMITTEE MAY 6, 2019

https://www.youtube.com/watch?v=cHBz7AO8Cjg

10:06

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’m doing a little topic change. I wanted to talk
about the Administrative Services Director position. I’m not in favor of that position for two reasons.
I’m not in favor because of the way it is being elected, nominated by or at the discretion of the Mayor
to appoint. I feel a high level position like this should be a vetted position, should go out to candidates
to screen and that we should be looking at a multitude of people that might be able to do that job.
The second reason I am not in favor of it is all of this new management really spawned off of the issues
in the Assessing Office and I think the position that we really need is a Chief Assessor down there. I can
tell you as a member of the public, the public has nobody to go to down there with a technical issue.
And that was the problem before when the prior chief was there because he wasn’t really there. And
we never, as a public, got an answer from the Administration on why he was allowed to not be present
for 15 or 20 hours a week. We never got an answer to that. But we now have nobody down there to
go to and this Administrative Services Director position is not going to cover it for the technical issues
with regard to Assessing. If I have data questions, I cannot bring them to the Administrative Services
Director. I can’t have data appreciated by that person. And so it’s to me the wrong position to fill. So I
think you filled something that met the requirements for the Mayor but it didn’t work for the public
and so that I am disappointed in. Thank you.”

2:47:55

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’ll be quick. I just wanted to point out a couple
things when the Mayor spoke about the position for the Administrative Service Director. He talked
about a learning curve that it could take a year to bring somebody up to speed. I just object with that
viewpoint that it would take that long. All the other departments that this position is working with
have a Director or a manager, with the exception of Assessing. And I got going looking at Assessing as
a full-time mother with an engineering degree from years ago and I pretty much got ahold of it after
the first month and understood what was going on at a pretty high level of detail. So I think somebody
who is a lot smarter than me with a lot more education and more current work would be able to lock in
and do something beneficial for the City pretty quickly.

                                                                                                         55

                                                                                         NPD-LO-3753
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 56 of 424



“With regard to the Director making a recommendation for a Chief should there be a need that is
something that I raised with the acting Director. And the reason the Chief isn’t supported right now is
because the Department is such a state of turmoil and it’s such a mess that they want to fix it all before
a Chief comes in. My feeling is a Chief should be an integral part of that rebuild. And there’s a lot of
benefit to having somebody in management who sees it for the big mess that it is and is part of the
process to re-create it to a level that they want to work in it at because each Chief has a different style
and would have a different perspective on how to set up an office. The State will tell you they have no
standard guideline for how a Chief has to set up an office. So I see that position as something we
should have right now so they are on the ground floor doing the re-build.

“And with regard to our past administrators, Russ Marcoux came to us with a Bachelors in
Administration in Finance and an MBA in Public Administration and Finance and was the Chair of the
NHMA. There was a lot of financing and public administration, education right up to a Masters. And
Maureen Lemieux, she is now the CFO in Newton, MA through two different mayors. She had a BA in
Financing and an MBA in Finance out of RPI. There was a high level of education there. And when
they Mayor points out that our acting director has a finance background, they have an accounting
background and that is substantially different than a finance background and they don’t have an MBA.

“And I am just going to say at some level education does matter and it is something we can look at.
Anyway, thank you for asking your question because I appreciate that and thank you for listening to
me.”



Board of Aldermen Tuesday, May 14, 2019

https://www.youtube.com/watch?v=1XhBB-6LG4c

55:11

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street, I’m here to speak to the Administrative Services
Position. I think I’d like to ask you to just put it on hold and consider bringing back the Chief position. I
want you all to think about whether there is enough money in the budget right now to fund both
positions. I would hope that as Aldermen and Alderwomen, you all recognize at this point the need for a
Chief. And I am so compelled to tell you from the bottom of my heart I think we need that Chief.
Assessing is a complex function and Ms. Kleiner just doesn’t have that background. And when the
Mayor points out that she’s going to be a Director or a Manager, she’s managing all other departments
that have directors except for Assessing. And Paula Johnson was correct when she said the other
Administrative Services Directors, we had a manager down there, we had a Chief. We don’t anymore.
And the day-to-day functions and the issues that Alderwoman Kelly asked are a serious issue.

“If you are going to just vote this position in tonight and say she is going to take over Assessing, as a bare
minimum, please move her office down into Assessing, into John Duhamel’s office. Let her work on the
culture and the environment down there day-to-day right now. That’s a 40 hour a week job.

“She’s got the other 25 to do the other 5 or 6 functions and that’s going to make up the 65 hours. But I
really believe you need that. I’ve been taking the State’s Statutes class this week with Ms. Kleiner up in
Concord. It has been super interesting. But you meet people up there and speakers who are Chiefs and


                                                                                                            56

                                                                                            NPD-LO-3754
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 57 of 424



Managers from other Towns that are so intelligent and passionate about their work. And it leaves me
feeling a little broken that we can’t find anyone like that for Nashua. Why can’t we find anyone who is a
numbers person who is passionate about equity. Why does that allude Nashua? You know what it is
about the culture here that doesn’t allow that to happen. And if what the Mayor keeps telling you, that
we can’t find candidates, then I beg you to please look at outsourcing, because it isn’t fair to us as
residents to have such a weak department where the bar is so low that you can’t get answers to
questions. Raising that bar is going to be enormously difficult; I think it will be more than 40 hours a
week.

“And the last gentleman who spoke has had a wonderful experience getting questions answered. It is
far more difficult for us with Assessing questions because we are dealing with somebody who has no
background for something so technical. Those questions require her to call the State every time and she
can’t even rely on her people internally to go down there and get the answers and she told me she
doesn’t, which I am thankful for. We should not be taking any information from within at this point, not
a good idea. So you know I think it is vitally important that we bring back that Chief position. And I
don’t want to wait until Ms. Kleiner says its important, we will just wait until she decides we need it. Or
we wait until you decide we need it. How does that happen. What does it take to decide you need it?
You know what do we have to do? I for myself can tell you there’s no amount of data that I can put on
the table that would convince there’s a problem that hasn’t worked.

“I will tell you Friday I had a meeting and Steve Bolton acknowledged that some of the numbers I was
pointing out were too low. I honestly believe that in 8 ½ months that is the first time an administrator or
somebody in City Hall said “yeah those numbers are too low”. I’ve never had anyone confirm anything. I
mean it has taken 8 1/ 2 months to get the confirmation on a number. And I think I’ve gone way too
long waiting for answers, just way too long. You know the problems are deep and what you have
happening now, I am sensing the complaints that you are getting hit with a lot of RTK letters, property
files, you are. I’m generating a good bit of it. I’m going to dump another 1,000 pages on you pretty
quickly here for RTK. You know why? Because I am conducting your external audit because none of you
did it. It was your job to do an external audit and the internal one really didn’t work. I prefer not to do
that, I have to pay a lot of money for those copies – Ben I am hoping you write that letter and waive
those for me. But that’s what needs to be done.

“And I object to an Alderman like Ben Clemons sending out an e-mail telling me this weekend that I need
to prove myself more, get all the reimbursements, get all the travel cards, get all of the information out
of City Hall to prove that we have mismanagement. When do you step up and look at the data? When
do you go get it? Because I have to RTK all that. I have to put staff through a lot of work to get that. I’d
rather let you do your investigation and really get the information. Do it, get it, look at the reports, just
let me know you’re doing it. I won’t ask for it. But I don’t know how anyone thinks here that they can
really run this place without having a Chief down there.

“You know I sat in a class yesterday and the Chief Assessor who taught for the afternoon ran a Tri-Town
up by Lake Sunapee, Sunapee, New London and Newbury I think. He was so impressive. He was a man
of numbers and you could tell he really loved his job. And the one comment he said is “I love a really
intelligent property owner who comes in and challenges me with questions; it makes me a better
assessor”. We haven’t had any one like that in our assessing office in a long time. You can’t go in there
with a question, there’s nobody to answer. So please, I don’t mind that you want to bring the position

                                                                                                          57

                                                                                           NPD-LO-3755
          Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 58 of 424



back but boat them together and bring back your Chief Assessor. If you really don’t think you can get
one, get serious about out-sourcing that Department so we can get some equity in this town. Thank
you.”

3:18:50

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street I followed all of this discussion on smoking and I
think I’ve watched all of you debate it for probably 7, 8 hours. I wish you would spend a little more time
all of you in debate on assessing. I think I’ve watched you really have discussions on it for just over an
hour and 15 minutes. The presentation on the 30th generated about 25 minutes of comments but it
was all compliments with the exception of Mr. Jette and I think Alderwoman Kelly asking some good
questions and hard questions which were very appreciated. Everyone was just lock step in agreement
and thought it was all wonderful.

“It was an extraordinarily difficult meeting for me to sit and watch and listen to an individual up here
presenting about all the hard work when I knew what that individual was doing. And it was anything but
hard work. So I’d love to see you spend more time as a group, all of you, engaged in the topic of
assessing and give it a good 90 minutes in a Board Meeting for me. I’d love to hear that.

“Secondly when it comes to Mr. Lopez’s comments about attaching e-mails to the minutes; every e-mail
that I have sent to this Board is not attached. And I don’t know that you have to request it but for me, e-
mails that came to this Board were not acknowledged either, largely, fully. So you know I feel like
anything I send to you just goes in the can. So I’d love to see these e-mails put with the record. And last
week when I wrote an e-mail to the whole Board and I requested through Trish who was on the hiring
committee, she said “Well it’s not separate it’s all the Board Members that you sent your letter to
regarding your concerns about the Administrative Services Director”. I went to that meeting and I
watched whoever was chairing it acknowledge that several letters had been received and put them on
the record, but mine was never acknowledge, because I probably didn’t, I guess I had to ask for it. But it
seems to me there are e-mails you are given and you should acknowledge them or they should go on the
record somewhere. It wasn’t as if I didn’t give thoughtful attention to that.

“Thirdly Right to Know Law. I think we’ve done a really poor job in this City of addressing Right To Know.
You know when I look back October/November and I wrote a request to John Griffin trying to access
information, one of the things I asked for were the expense logs, the travel logs. I knew that there was a
log system down there that was supposed to tie to the expense report. I didn’t know the specific name
but I asked for the log. What I received back is no such information existed; but in fact that wasn’t true.
Logs do exist and they tie. And Kim had pointed it out when at the last month she asked all of the
assessors to start stapling the log to the expense report. Cool, good idea. And then I had the name of it,
the full name, you know, expense mileage reimbursement log. But just because as a resident or a
citizen on the outside you don’t know the formal name and you are asking without saying RTK but
asking. It should have been given to me and what came back was a letter that went to all of you at an
Aldermen Meeting with the answer that “no such logs exist”. They existed and I could have had that
information a lot sooner and I could’ve been looking at this travel information because I went to Mr.
Griffin and I said to him after collecting 3 years of data, “your travel logs look fraudulent, you’ve got a
fraud issue in here”.



                                                                                                        58

                                                                                         NPD-LO-3756
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 59 of 424



“There’s a problem especially with one that is grossly out of line. I was told they would get back to me,
he would get back to me in a week and he did not. And then I asked for those logs and was told none
exist.

“I am going to be RTK’ing for them again. Let’s see what we come up with. But I feel like you are not
fully honest about that type of information. And I am now going to also try and find out what is the
name of every report you print in assessing. There are a lot of reports you can print. Just because I
don’t know the names shouldn’t mean that I can’t get them. I don’t know how to request them because
I don’t know their titles. I sat in a meeting with Ms. Kleiner on Friday, she had a whole sales sheet done
up of a bunch of data. I am going to RTK that but I don’t know what it’s called. What is that sales data? I
know I’ve generated my own, but I have no idea what that report is. So somehow we’ve got to get a list
of all the reports that are being generated so that the public can see all these reports as well. So
somebody help me figure that out. Thanks.”



Board of Assessors May 16, 2019 – NO VIDIO OR AUDIO LINK

Mr Earley “Next one is 10 Briarcliff Dr.”

Mr. Turgiss “10 Briarcliff Dr. Staff recommendation is approval. Any questions on 10 Briarcliff Dr?”

Mr. Earley “No questions.”

Mr Hansberry “I don’t have any.”

Ms. Ortolano “I’m the Tax Rep. I was supposed to be invited to the meeting.”

Mr. Earley “Go ahead.”

Ms. Ortolano “I just wanted to, just because I signed the paperwork. The parties here, the property
owner is pleased with this reduction. The only thing they wanted noted on the record was that they had
done an abatement in 2005, the fireplace had been removed and the condition of the pool was very
poor and they were told it was going to be changed on the card and when they abated again and
received the property card the fireplace had been left on. You saw the data. So, they asked me to
represent that publicly that they had wanted a refund for that. I explained to them that counsel was not
going to accept that because it sets a precedence to go back and ultimately it is their responsibility to
make certain that their card is correct. I made a recommendation to the administration that I think the
settlement pages should be emailed to people. Anyone that does an abatement and people I have
talked to, I have said to them ask for your settlement papers and come get, when they mail out the
approval or denial send out the property card, because you’re mailing it and they can say check the card
to make certain it’s right. The people I have said get your settlement papers, I’ve received calls back
saying I’ve asked for them, they don’t know what I’m talking about because it’s not a language we use so
what I’m telling them is to ask for, the assessors are not used to being asked for that so I asked Kim to
come up with a term. Now, it’s funny as I go through this, we use the word settlement in here.
Settlement values, settlement. So we do call it settlement I just picked settlement papers and maybe it’s
not the right word. You guys make up the word you want to call it and when people call in they’ll know
what their papers look like and you could email them to them. I think this is all part, and I represent the
owner and this is all part of a public campaign to educate the public. I think it’s really important that you

                                                                                                          59

                                                                                           NPD-LO-3757
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 60 of 424



have the papers and have the property card. Just for clarification, this property did not receive the ratio
and my assumption is because the changes made were based on changes to the property card and
physical characteristics and not the sales data. Is that correct? When it is sales compared, we apply the
ratio. When it is just physical changes to the card, we don’t. Is that correct?”

Mr. Turgiss “That’s correct.”

Ms. Ortolano “Good, ok so that is why is wasn’t, I just wasn’t positive of that and I just wanted to make
certain. Those are my only comments is let’s see if we can get those settlement papers out to people
and mail them their property card. I’m going to say to this couple check your card to make certain its
right, because it’s on them. I do want to agree this was well done by Mike. I thought this is another
example to me of a card that was really looked at, fixed worked with and corrected at a full level. I
thought the other one you pointed out was, I agree with you, was an excellent example of an abatement
well done, thank you.”



Board of Aldermen Tuesday, May 28, 2019

https://www.youtube.com/watch?v=704J7-t9rOg

51:13

Lori Ortolano “Laurie Ortolano, 41 Berkeley Street. I wanted to address some of the comments raised at
the Ward Meetings, at the Town Meetings, last week. The big issue that stuck on my mind was the
Mayor spoke with some passion about the demoralizing nature of the investigative report that was done.
He had heard from departments outside of assessing and received a number of comments from I think
probably management that said it was very demoralizing and it was a real morale killer to the offices. I
have a pretty different view of that and what is demoralizing really when you have a situation like what
has happened in the assessing office. I will relate it to my very early career when I became an engineer
35 years ago in a field that was pretty much male dominated. I got a job in a company down south and I
was very motivated, I had graduated from WPI and had done really well in my field and enjoyed it. I got
assigned to a job with a project engineer that was 5 years older than me. Busy job, big deadlines and
required some overtime and very early on it was very apparent that the older engineer was not a worker.

“He was a 20 hour a week guy and I was pretty motivated to do my job and he had a girlfriend in another
state so Friday at lunch he split and took on a road trip to the other state and rolled in Monday after
lunch when he left from that place and came back to work. Every week I would have to listen to the
details of what was happening in the shower between him and his girlfriend before he left and when he
came back. And then I had to carry the load, Thursday was 18 holes of golf in the afternoon and Tuesday
and Wednesdays were work outs at the gym.

“I put up with it for about 8 months and then I was all set and I went in to management I said “I’m all set
with this, here’s what’s going on”. You know that was a very demoralizing situation for me in my career
because I worked and I had to deal with somebody who didn’t work. The gentleman left after a couple
months and moved closer to his girlfriend which was a good thing. Fast forward 5 years and I moved my
career into a new area, in a new department that had never had a woman in the department. I got put
on a very busy, classified project that was over budget and behind schedule. Management made it very


                                                                                                         60

                                                                                          NPD-LO-3758
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 61 of 424



clear that there was no money for overtime and we all had to work overtime. I again get assigned with
an engineer who is probably 7 years or 8 years older than me and again wasn’t an overly motivated
person. Certainly not as bad as the first one, half-time work was pretty bad but could easily shave off 10
hours a week and never came in on a Saturday. Part-way into the project, the Project Manager, an older
gentleman ready to retire, wanted me to learn Project Management and said, “I’m going to start sending
you the budgets; I want you to look at the budgets and get familiar with them so you can step into Project
Management someday”.

“When I got my first budget and I looked at it, the engineer that I was working with was being paid 60
hours of overtime a month. I was shocked, I was told there was no overtime, I was working overtime, I
never saw my constituents come in once on a Saturday and he was getting paid on a military contract. I
was floored, marched into the manager’s office and said “what’s this” you know “how is this happening”.
And the answer I got was his wife was having a baby and he was under a lot of stress and he was trying
to help him out by giving him a little extra pay. Needless to say, you know my personality now, it really
wasn’t different back then and it didn’t fly with me at all. I went two layers up and I shut down that
overtime. That was very demoralizing for me. That’s what a demoralizing work circumstance sounds
like to me and feels like to me.

“When I look in the Assessing Office and I look at the front end of the office with the four clerical staff
women you have there; they work endlessly. They are tied to their computer screens pretty much all
day. And I think if you look at any one of their desks you are going to see just piles of paper around
them, they are just wrapped in paper. They have very set breaks; I’ve never seen an abuse of any break
time with them. I think it is pretty demoralizing when you have a Senior Assessor who leaves like this
Senior Assessor does and tells everyone “I’m heading out to the field” and signs out on the board, “I’m
going to check properties” and then you find out he’s in the park for 2 ½ hours or let me include that,
driving and in the park or in the Holiday Inn lot for 2, 2 ½ or 3 hours at a time.

President Wilshire “Ms. Ortolano, this Board does not have anything to do with personnel matters, so I
would respectfully ask that you keep your comments to what the Board has purview of. We don’t have
purview of personnel matters.”

Ms. Ortolano “Well that’s ok because what you do have purview of is performance issues? How do we
address performance? And that to me is reasonable. And I am addressing something that was
addressed by the Mayor at both Ward meeting; the demoralizing nature of this report. I am going to
submit to you tonight for the record, which you all received e-mails, the four reports that I gave you. I’d
like them to go in the minutes. They will be available for the public to see and read for themselves. I am
also concerned by the minimizing I think of the issue by the Mayor. And what I mean by that is I listen to
the comments at the Ward 7 Meeting where he mentioned that the investigation was only 2 weeks, that
there were only 2 data points above an hour that he was out. I don’t know the content of what he was
referring to, but it was a month-long investigation and you know I don’t want to debate what it was, I
want the report to speak to itself. All I have done with this report is give 50 copies out to business
leaders and members of the community and shared it through e-mail, without a cover letter. There is
nothing to discuss on it. Read it for what it is and that’s it. Let it stand on its own.

“Regarding your issue Ms. Wilshire on personnel, I received an e-mail from Ben Clemons that was very
pointed that what I provided was very incomplete for the accusations I made. Please get the expense
reports, please get the logs, please bring forward the data, show us that what you are talking about is

                                                                                                          61

                                                                                           NPD-LO-3759
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 62 of 424



real. Ok? I didn’t know what to make of that. I mean is that something I am supposed to prove? Because
that’s what I brought tonight; I brought the data that Ben Clemons said “show us, substantiate what you
are doing”. And I think if an Alderman is telling me I need to substantiate, I came here to substantiate.
So I am not certain if you are telling me I can’t, I shouldn’t or I am out of line?

President Wilshire “What I am telling you Ms. Ortolano is this Board does not deal with personnel
matters for City employees.”

Ms. Ortolano Well I’m not asking you to deal with it and I am not asking you to reprimand, but I am
asking you to listen.

President Wilshire “We have been listening week after week and we just keep hearing the same thing
from you about this employee. We don’t deal with employee issues in the City, we are not the employer
board.”

Ms. Ortolano “I don’t think you’ve dealt with this week after week with me, the report came out 2 weeks
ago. Really, I didn’t say much about this particular employee. And I addressed any concerns I had with
your administration and Ms. Kleiner. I didn’t come here specifically, the only time I addressed this
individual was on the anti-nepotism policy. Right? I challenge you to find the minutes where I’ve been
in here talking endlessly about this individual. I don’t believe I have.

“Ben, you raised the issue regarding Expense Reports. And the interesting issue on Expense Reports is
back in October, I went to Finance and I pulled Expense Reports from 2014 up on Assessors. This is
Assessor became a Commercial Assessor 3 years ago so he took on a different role. So the assessor he
replaced, Commercial Assessor, I pulled his Expense Reports, and looked as his travel mileage which
Commercial Assessors typically travel very low mileage relative to residential because permits, and
properties …

Alderman Dowd “Can I have a ruling from the Corporation Counsel as to whether this is something the
purview over or should it go to the HR Department and City Hall.”

Attorney Bolton “This is General Public Comment, you’ve opened it up to speak on any topic.”

Ms. Ortolano “I share all this information today, I had an hour long meeting with the Union Leader and an
hour long meeting with the Telegraph. They were both interested in writing reports. And issuing a story
on these issues. So I am sharing it with you because I shared it externally as well. And because I was
asked by an Alderman about this. And I do think it’s relevant and you’d want to hear. I want you to know
I did do my homework. I went and gathered these reports that were commercial assessors. And when I
looked at the Commercial Assessor who left, the mileage travel is very low, 20, 40, 50 miles a month.
When I look at the Commercial Assessor who is in our Assessing Department his mileage is very low, 80,
20, 40, 30, low mileage. The Residential Assessors have much higher mileage going to individual
properties, 175, 150, the month of April our Residential Assessors covered 226 miles because April was a
busy month to gather data. So that’s fine. When I look at this individual who moved into Commercial
Assessing, his mileage is higher than anyone’s, 220, 200, 210, 180. That’s very unusual and when I saw
that in October it was red flag for me. I went and called John Griffin and I said, “I think you have a fraud
problem over here, there’s an issue”. OK? It’s hard to prove, OK, other than giving it to him and I got
the response, “I’ll get back to you in a week”. I never heard back from him again. But then I pushed that


                                                                                                         62

                                                                                          NPD-LO-3760
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 63 of 424



aside, because I said, “that’s too big an issue, it’s too hard for me”. Then I started looking at the property
cards more and I started seeing property cards that were so off.

“For example, property cards that had visits to homes written in the activity section that were not visited.
So those were potentially mileage charged for properties that were not visited and they could be easily
sat down in a round table with anyone who would want to see them to know, to see how I know that and
how I am able to ascertain that. But I am; there is a method. So that mileage was very concerning and it
is very interesting to me that in April when Kim Kleiner asked for the field logs to be attached, the
Residential Assessors attach a field log, they go out to 78 homes, they attach 226 miles. The Commercial
Assessor now, who has been charging last month 220 miles, suddenly charges 45, 43; way down. Guess
how many properties they visited in April? The very month that we are the busiest we could possibly be
in Assessing, because we have so many permits to capture, A9’s, exemptions, all this property work, it
went to 7. Seven, that is startling. So the expense and the mileage logs from March would tell me that
this individual had to be out at 100, 150 homes.

“But the data, the records don’t support it. And I want you to understand that, that’s the big red flag for
me. How do you go from 200, 220, 280 down to 43? And a busy, busy month? The second thing is we
could look at that and say you know what, there’s a lot of work going on in assessing, this assessor didn’t
go to properties, what is the big thing happening in assessing? Abatements; abatements are huge right
now. Everyone got those abatements divvied up, each assessor got about 90 files they had to work on.
When you look at your Junior Assessor, your Junior Assessor in Assessing, who is not certified yet I don’t
believe, who is in training, since January he has done about 225 pages of abatements. And they are
complete abatements, these are heavy duty sales intensive abatements where he had to do comps, go
out to the homes, take measurements. So there is a lot of work here. I am going to venture to guess
that this Assessor is going to get through 70, 75 abatements, challenging ones. When I look at our Senior
Assessor who is supervisory level, look at the packet, 25 pages. And what are these abatements? Most
of them, well there were 14, actually there are 8 abatements and 6 of them are fire probations or
dilapidated mobile homes that had to be re-evaluated.”

President Wilshire “Ms. Ortolano, there is one minute left to our public comment period so if you could
start wrapping it up, I’d appreciate it. Thank you.”

Ms. Ortolano “Sure, so there’s a big issue and a disparity between why is a Senior Official, a Senior
Supervisor unable to really put a bite into the abatements and take on the ones that are challenging and
get any work done. There are actually no abatements here that required any work at all. Six of the
abatements in here are people who filed after the March 1st deadline. So we had to tear the front sheet
off, stamp a “D” on it and put it in the file and you get credit for work done. That is three minutes of
work, 6 of them out of the 8; that leaves 2 in 5 months. That’s pretty startling, so it is not abatements he
is doing, it is not traveling to properties he is doing and it is not MLS adjusting because I checked that
too. This is where the concern comes in. And as far as morality and demoralizing, I know what that’s
about. And it is demoralizing when you are a hard worker and you are doing your job and you see
somebody who gets breaks like this who doesn’t appear to be. Thank you.”



Board of Assessors June 6, 2019


                                                                                                           63

                                                                                            NPD-LO-3761
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 64 of 424



https://www.youtube.com/watch?v=jcmtmn25apY

32:30

Mr. Hansberry “We have appointments regarding the abatements that are being presented. The first
one is Mr. and Mrs. Michael Ortolano regarding KRT’s recommendation for their 2018 abatement. If you
could just state your name and address for the record please?”

Ms. Ortolano “Laurie Ortolano, 41 Berkeley Street.”

Mr. Ortolano “Michael Ortolano, 41 Berkeley Street.”

Mr. Hansberry “Good Morning.”

Ms. Ortolano “I think we’d just to just kind of cut to the chase and present what we think is reasonable
and then give some back up and some communication on why we think it is reasonable. The abatement
when we saw it last week was not in the format we were expecting the abatement to be in. We thought
that the format would be a similar format used by the city and it was not. So Mr. Tozier did a sales grid
but disqualified it because he had come to the property and made some data adjustments, and we
would like to use the median in the sales grid which I believe was $622,000, apply the ratio, which is
what you’re doing for all the properties you are reviewing here. You’re taking the median that are
brought in by your assessors and applying the ratio to them. We would like the ratio applied to the
median off the sales grid that he presented and have the abatement taken down to $590,000. That we
consider more reasonable. What we know and what we have discussed with the board is that this
process is not an exact science. The CAMA model is an average. It looks to mass everything together and
create, you know, some average numbers for the city. I have pointed out to you folks some of the
streets where the model seemed to fall apart. One of them was Monadnock right around the corner
from me. Three data points were used by KRT in their model. One was a home sold in April of 2018,
March of 2018 for $232,000 and the KRT model put it at $200,000. So there’s a 14% difference on that
home. In 11 of 2017 data used in the model, sales data, a house on that street sold for $355,000, the
KRT model put it at $269,700. That’s a 24% difference in the sale price and the assessed value and these
are data points used by the model. I am pointing this out because it shows that the model isn’t always
right and when I took the States Statutes class with Kim, one of the chief assessors, I believe it was a
gentleman from Durham, noted that all of this CAMA work is the work of averages. The work of creating
a model. And that’s where you can have some problems. That’s why we allow the property owner as an
individual to abate and to have an individual assessment done based on sales data and that didn’t
happen here. I think KRT is truly a mass modeler. That’s their business and that’s their business model
and they’re sticking to it for the abatement process but I don’t think it’s the right process to use for an
abatement. It certainly is going to take the 25 or 30 abatements they have and produce very different
results from what you’re doing as a city. The other thing, you folks have looked at a lot of abatements up
here and they’re all over. I just listened to them. They treat deferred maintenance or a maintenance
issue with a home as a reduction in an assessment. I have seen it over and over again. I have watched it
for the last 30 minutes here. When Rob came to our house we have a leaky roof in two of the rooms. I
didn’t point it out to him because I turn around and count that as my maintenance issue. I have actually
had a leak repaired twice on that slate roof that has not been corrected and because the ceilings are
plaster, it blistered the plaster in our bedroom. Had it all re-plastered and the leak’s back again, so we
have got to work on that. We do have a slate roof and out of the three comps that he used we are the

                                                                                                        64

                                                                                         NPD-LO-3762
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 65 of 424



only slate roof property. When he came we pointed out that we have water infiltration through the
brick that was not seen by Greg when he came to the property in October. It’s blistered the whole inside
wall in the living room which is the plaster in lathing. The old wall. We had it sprayed with a water
sealant but we have the water issue also upstairs in the main hallway of the home. Really the entire
house needs repointing. That’s a multi-year job and it is also a very expensive job. Somewhere in the
order of $70,000 for a re-pointing. That’s the maintenance associated with age. Now, I am not
complaining that our assessment needs to be reduced on that but you are reducing everyone else’s
assessment for these types of issues. It seems to me that that plays into the age of the home and what
we have to do because we live in an older home. While Rob was willing to take the EYB from 1994 and
reduce it to 1989 which he said was relative to other homes in the neighborhood, it really isn't and I am
going to show you some cards that show you why it isn’t. The home that I asked about, my neighbor’s
home at 46 Berkeley Street, on my block across the street, had an EYB when I looked at it in the fall, of
1974 and that was a well-done property that I emailed him and said well that’s 1974. I didn’t realize in
his or KRT’s move to raise that property up a good bit they changed it to 1989. So that became the
benchmark to say our house can come down to 1989 and be equivalent. You know I have a very big
concern with having KRT do these abatements. I don’t think they’re the right outfit to do them, that this
is not what they do. When I met with Kim in April the one thing I asked is that we be treated as everyone
else on an abatement in the city and that they be given an example of how abatements are done so they
know the model that’s being used and that that was really important to us that we just have an
opportunity to be treated the same as everyone else here and it just didn’t happen. The other thing is
KRT came down the street after the re-evaluation and did two more drive-downs. John Griffin gave, I
believe Rob, 55 property cards and he said he gave him the whole stack of the street and had him come
down and look at the street again in more detail and correct homes that were not correct. What they
really did was corrected the homes that were called out in our package that we gave to KRT and the city
saying that we wanted our assessment lowered because these other properties are very low. So they
went to those other properties I called out and they raised them all up. It was almost as if they targeted
the specific properties I listed which I didn’t understand exactly why they did that, why they didn’t do
others that were on the street that were so far off, and they didn’t. I didn’t understand why they only
did Berkeley Street because the package we gave to the city contained Concord Street and Chester. Our
block behind us is Chester. We looked at our block. We had some nice comps right behind us, in our
backyard. So we used those because we felt it was relative to our neighborhood. When I asked Rob why
didn’t you go look at Chester. Why didn’t you look at Concord. The reason given was because the city
hadn’t instructed him to do that. So they said go in and do a bird’s-eye view and target the homes that
she looked at on Berkeley Street and the email will show from Rob that the properties were in fact
changed…5A, 13, 17, 46 and 50 were all changed and they were changed based on a grade that wasn’t
correct on 5A right down by Laton St. It went from a C to a B. And then all the others were changed for
unknown renovations or renovations due to a fire, which was 17 Berkeley Street and if you recall that
was the “bee in our bonnet”. The problem I have with 17 Berkeley Street which went to an assessment
of $575,000. That’s a hip roof brick home, very similar to ours, only all new construction built by the vice
president of a construction company. It’s a very nicely done home. So is ours. I accept that but the value
of $575,000 was very generous for a new-construction home. The concern I have is when KRT took that
property card and drove down the street, that card was completely wrong. The conditions of the kitchen
and bathroom were average, the EYB was 1959. While they say it was due to a fire, that home had 6
visits by our assessors. Both Turgiss brothers between the two of them made six visits to that property.


                                                                                                         65

                                                                                          NPD-LO-3763
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 66 of 424



So KRT is seeing a home that our guys went into six times. Did they recognize that the card was never
fixed? That it was wrong and the condition of the home was completely wrong? I don’t know but let’s
assume they did. They looked at a property like that 3400 square feet, hip roof, brick, added a third
garage and a mud room, all brand new at $575,000 and somehow a brick hip roof home that’s 1925
that’s restored with all the old stuff in it on our end is $682,000. Actually the property was not reviewed
correctly when Greg came to it and he missed the patio and the gas insert so the property really was
around $687,000 when you looked at the addition of the patio and the gas-insert fireplace, which we
knew it was going to go up a little. So I’m sitting at $687,000 and 17 Berkeley is at $575,000 with KRT’s
value. That was difficult. Now I just told you that KRT went down and did this review. The problem I have
is when they started at 1 Berkeley Street, this is a 1901 colonial that has absolutely fallen apart. It is in
serious dilapidation. There are squirrels going in and out of the home. You could probably stick your
hand in it through the wall, it’s bad. It has an EYB of 1959 which I agree but the grade on this property
was left as a B and the valuation was $400,000. This is not a B property. This is a D property that
probably should have been dropped down around $250,000. But this is what they looked at and they
said it’s a B. Meanwhile they took 5B, three homes up from it, and changed it to a B property as well
because it was a C and that’s a lovely property. So how can this be a B? If you go up the road to 32 you
got this beautiful, very nicely maintained restored home. It’s been in great shape since we moved in.
This is an 1890 conventional home, 3,000 square feet. The EYB right now on this property is 1959. It’s
assessed at $406,000. It has a grade of a C. How can this be a C and this be a B and they’re virtually the
same price? When he drove up and looked at these homes how do these end up the same?”

Mr. Earley “Mrs. Ortolano was that second one upgraded to a B did you say?”

Ms. Ortolano No, this is a C. It never got changed. He only changed one property that was a C to a B but
there were four properties that were C’s that should have been changed. All of them and the EYB’s don’t
make sense. I want to show you another. This is a lovely home. I am picking from very nice homes
because we have a lovely home and we deserve to pay our fair share. This lovely home is in the same
block where the neighborhood influence is 1.25. So we are all on the same land value here. 26 & 41
have the same land value. The land value changes at Courtland. When you go from Courtland down to
Laton they drop the influence factor to 1.05 and the lands drop about $25-30,000 on land value from
that point down. The buildings are all rated similar but that’s where you lose some land value as you go
towards Laton. This is in the block that’s considered the upscale block. This is a really lovely property,
3800 square feet. It’s 500 sf bigger than us. It’s got an EYB of 1959 and the grade is a B-. We are a B+. It’s
assessed at $450,000. That’s a really big nice home. OK and think we are at $587,000. The building value
on this house is $282,000. Our building value is $500,000.”

Mr. Earley “I think you said $687,000 correct?”

Ms. Ortolano “Yeah, but I’m talking building when I subtract the land. When I take the $169,000 off the
land and we’re at $582,000 we are about $512,000 on our building value. I say $500,000 but close
enough. Just to give you an idea this property is a pretty run down property. It needs a lot of
maintenance. It really does. The windows are very old, they’re broken. It’s a tired home. It’s got an EYB
of 1959. I think that’s great but that’s a grade B home too. I don’t think that’s a B grade. It’s at $385,000.
I don’t mind the $385,000 but I’ll tell you what when you go back and you look at this, these two are the
same, that’s pretty tough. This is in a better neighborhood. This has the lower neighborhood rating so
the land on this one is $30,000 lower. The building here is just slightly more than the building here. That

                                                                                                           66

                                                                                            NPD-LO-3764
          Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 67 of 424



just strikes me as odd, very odd. Just want to show you one other. This property is right down the street
from us. This is a beautiful property really lovely maintained. Pristine. It’s a 1920 colonial, like us 1925,
similar. It is on 1.26 acres. This is a big lot over past Bellavance’s property. It has an EYB of 1964. It’s
actually a slightly lower grade than that. It’s just a B and not a B+. It’s 3900 sf. It’s almost 600 sf bigger
than us. It’s assessed at $532,000 and we are at $687,000, so when we ask you to consider accepting the
$622,000 that KRT did, applying the ratio that would take it to $589,900, $589,500, do it $590,000 and
accept that I don’t feel we are being unreasonable. It kills me to be identical to 17 Berkeley Street or
above it when that is a hip roof, brick home so similar to ours, neither has a pool, exact same lot, I know
it’s pushed down a little but it’s all new construction. As a new construction home with a three-car
garage and a mud room, we are above that. So when I show you these homes, there’s no equity for us.
There’s a lot of us on Berkeley St that can’t find equity. This process doesn’t get me to equity. We are
not being treated fairly right now when you put me at $590,000 it’s not fair but I can’t do anything
about it. I have to take all these homes to the BTLA and fight to have them all raised. That’s the only
thing I can do. A lot of these homes ended up low because the city did not capture permits that were
pulled. They left them. They left them. Our sister home that is used in the data at 45 Berkeley Street was
bought for $550,000. Pulled a permit immediately, gutted the home, rebuilt the kitchen, rebuilt the
bath. Did not occupy the home for 6 months. It was a dumpster out there that was filled and filled and
filled. Your guy came by and saw it. Did not go into it. He might have been denied entry. Then when it
came time to value the permit, he put $0 on it and the property was never valued for any of the
renovations.”

Mr. Hansberry “Mrs. Ortolano I am going to ask you to take a couple of minutes to summarize because it
is supposed to be 15 minutes per party.”

Ms. Ortolano “OK so our summary is we ask you to accept the sales grid that KRT provided at $622,000,
apply the ratio to that and give us that as our assessment. We also ask that you consider not using KRT
from this point forward because we were the only ones who had that grid put in. 47 didn’t get a grid,
nobody else did. I think you have got the wrong people doing the individual appraisals here. I’m going to
tell you both, you need a chief because for us we had nobody to go to. We don’t have a chief to call up
on the phone and say look at this data-look at this process, it doesn’t seem right, help us out. There is
nobody to go to. It is very difficult for the homeowner in this city. Thank you.”



Board of Aldermen Tuesday, June 11, 2019

https://www.youtube.com/watch?v=ptwF_Dayu1g

1:52:10

Laurie Ortolano “Laurie Ortolano, 41 Berkley Street. I wanted to address the issue of uniformity and how
important it is in the Assessing Office to have data capture be uniform. The office has some procedures in
place. They are working on policies, but they have had some long-standing procedures that allow them
to capture their data with uniformity. If a property card is being changed, an Assessor prints a card in its
current form, takes it to the property, pencil marks or makes the appropriate changes on the card. It
comes back to the office, is either changed in the data system, the Patriot System/Assess Pro by the
Assessor or by a clerical staff member. The new card is printed, stapled to the old card, it is reviewed by


                                                                                                           67

                                                                                            NPD-LO-3765
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 68 of 424



the Assessor to make certain all the data is correct and it is filed. It is a system that actually works well.
And if it used by everyone, it is a great system. But what you find is there a lack of uniformity in there
and not everyone is following the rules. If you don’t have uniformity, you don’t have equity and fairness
in your assessments, it is that simple and it is that important. You received a letter that was read into the
record by Ms. Kleiner regarding a clarification to a Memo I sent to the Board. I would like to make note
of misinformation that she has provided you. She stated in this letter that AsessPro does not capture all
of the work for all of the properties visited by an Assessor. It only indicates that during a certain time
period the Assessor used AssessPro to make corrections with respect to the listed property. An Assessor
typically performs a great deal more work and makes a great deal more property visits than are
captured on this report. She gives the example that they might be investigating a charitable exemption
where the Assessor needs to evaluate if the building is being used for a qualified charitable purpose.
This would not warrant a change to the property card and is not captured in the report. In fact, that’s
not true. There are in this report that was given to me, three exemptions that were noted in April that
this Assessor went to. All exemptions, whether they are religious or charitable exemptions come in in a
form yearly, they have to be submitted to the Assessor’s Office. And it is the clerical staff that handles
those forms. They take those forms and they look at every charity or tax exempt business and they
review them. A lot of them are repeats, they are just coming back and filling out their paperwork every
year asking for their exemption, putting it on the record. There is no need for an Assessor to go visit. So
it’s the clerical staff that actually assigns the Assessor the responsibility to go check these properties.

“Many of them are not checked. But when the clerical person received an A9 or an Exemption Form for
a new exemption that hasn’t existed before, maybe an exemption that has had a Building Permit, they’ve
got to get out there and check the permit for the exemption. Maybe a property that is no longer to be
an exemption. They are going to go out to it and look at the property card and make certain that it’s all
up-to- date for tax purposes. Those get assigned, and, in fact, our assessor that we are looking at here
under a little bit of scrutiny, was assigned three exemption properties to go to. The Y was one, that’s an
exemption property, he went out there because the new building opened, was asked by the clerical staff
“Please go to the Y on Northeastern Boulevard and check out that new property”. 25 Cornell Road,
which is right up by me is a facility that was going to be used as a parsonage for Tabernacle Church over
in Litchfield. It had not been a parsonage before so the clerical staff said to the assessor, “go out and
check on that ranch-style home as a parsonage”. The third one was 41 and 43 Chandler Street which
had been bought out, that’s the big beautiful church up on Chandler Street that was closed for a while;
Catholic Church, transferred a couple times. It is now under new ownership, it has a big building permit.
It has got a building next to it, a ranch that’s used as a parsonage.

“Those properties needed to be checked because there are permits out on them. And, in fact, the
clerical staff wrote a letter, religious exemptions that went to the Board of Assessors on the 29th of April
explaining in this letter very clearly the property at 43 Chandler Street has been used on the A9 Form
submitted as a rectory and is a ranch-style house assessed at 234. This has been exempt and an
exemption is being requested for 2019, according to Commercial Assessor Greg Turgiss at the time of his
inspection of the property last Friday, no one answered the door but he said that it appeared as if it was
occupied. Then we went to the property at 41 Chandler Street, two structures; Mr. Turgiss inspected
this property. He reported it. OK, these are exemption properties and they are, in fact, in the AssessPro
report. She is not recognizing that these exemption properties are captured. And you have to ask
yourselves when she makes note in her letter that there’s a lot of other work that assessors do that may

                                                                                                           68

                                                                                            NPD-LO-3766
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 69 of 424



be is not documented in AssessPro, we need to be very, very concerned. Because I will tell you, there is
never a reason for an assessor to be out at someone’s property, either on it, looking at it, inspecting
externally or internally and not be documenting it on the property card. First of all, you shouldn’t want
your people on somebody’s property where it’s not documented.

“But that uniformity and documentation is what is so important on tracking where we are. Now if the
assessor is going to go out to do drive-by, which really shouldn’t happen at all and doesn’t typically, the
assessor is going to do drive-by’s. That should be noted. KRT noted on almost all of the 1401 account,
residential accounts, there’s a note on almost everyone’s property card that says field review. That was
their drive-by. They didn’t really come into your property and do an external inspection or list and
measure. But AssessPro has a lot of codes, a lot of code names for you to go in and document exactly
what you are doing when you look at a property. It is always documented. Now when I saw this letter
which was just in the last day, I said, “Hmmm, am I wrong, did I really give the wrong information”. Well
let me look at the residential assessors that went out to 79 properties in April. Well when I look at that
AssessPro report she gave me; excuse me it was 89 properties they went to. When I added up the
properties, it came out to 92. That’s pretty accurate, OK? They missed 3 that they should have
expensed, but they didn’t overcharge and pretty much it’s a pretty accurate report.

“When I look at the other commercial assessor and the properties that he went to versus the expense
report, it is off by a couple properties, pretty accurate. Some of them, because he was at a building that
had 6 units that he was inspecting in the same building, it’s not 6 trips, it appears 6 times because it’s
unit 12, unit 14, unit 16, unit 18. But you are literally going door-to-door looking at new properties. And
that’s how it is done; it is pretty darn accurate. But when I look at another assessor report and I am still
trying to find 500 or 600 miles, that’s when I see a red flag. And if Ms. Kleiner is saying that this assessor
is driven around, he’s just driving around, and you don’t realize he’s doing a lot of work but none of it is
documented. Then I want to ask you to ask your administration, how do we monitor fraud, waste and
mismanagement if we allow this to go on? How do you know you don’t have a fraud, waste, and
mismanagement process? If you are allowing this to happen and there’s no documentation? That’s
never supposed to happen. And so the other thing she notes in here is that they are only doing a peer
review process in there. Mr. Turgiss isn’t operating as a supervisor at all; I disagree with that for a
number of reasons. She’s not down there daily; but they operate on peer review.

“Now the two residential assessors are doing peer review work. That is very apparent to me looking at
the logs and the data and everything. But the commercial assessors are not. And I want to know why.
The most experienced assessor in there is a Certified Appraiser and has done probably 20 years of
Commercial Assessing, which is a different beast from residential. You have different income statements
and different approaches to take to value commercial properties. They are trickier and more difficult to
do because you don’t have a lot of data in a single category sometimes to assess these properties. So
they are unique creatures. So we have one commercial assessor that has 20 years of experience and is a
licensed appraiser. Our other commercial assessor, in question here, has only been at it 3 years and
does not have a lot of experience. Why is there no peer review going on here? Why isn’t the
experienced one doing the peer review, what is happening here? I think I have an answer to that, but
I’m not going to share that right now. Let’s see what the administration says. But that is not happening
and that is a very good question why we don’t do that monitoring.



                                                                                                            69

                                                                                            NPD-LO-3767
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 70 of 424



“When I looked at again Ms. Kleiner’s letter I thought to myself “well maybe I don’t understand, maybe I
missed what these assessors are doing”. So I went back to the presentation that was given to you on the
30th. And there is what? Three pages in here on “What does an Assessor do”. What is their primary
work, what are they doing? And I went back and read this. And the primary work is permits,
abatements, data capture from permits not collected and exemptions. The very things I am talking
about right here that I am finding tracked in the data. So I am trying to say well did I miss something am I
not seeing this clearly? But that report seems pretty detailed. Now I just received today from a Right to
Know, the permit log, so I will be able to cross check all the open permits and who has gone to visit them
and what has been closed. But to give you an idea on these exemptions that she’s talking about that
maybe they are going out to exemptions; remember exemption properties don’t pay taxes so they are
out of the tax base. It is important to keep up on your exemptions but from a priority standpoint, if you
have a permit outstanding for a million dollars, that you need to go check or you have an exemption
property that has been exempt for 10 years, the priority would be for them to go check the million
dollar permit. Because that is the taxpaying property; you would worry a little bit less about the one that
is consistently is not paying and hasn’t made any changes. And that is to be expected. And that is what
we should see going on. We don’t see that all the time.

“Now I referenced in my report you know, big property variations. The data that I received from
AssessPro from Ms. Kleiner showed that our assessor really hadn’t gone to very many properties. I
pulled all the property cards on; I said I want to see what the documentation is. Well lo and behold I
found out, you know, the one at 41 Chandler Street, the exemption property that the letter was written
to the Board of Assessors, there is no documentation on that property card that the assessor was there.
Why? That should be an updated documented card. There were two mobile home properties visited,
OK? And it was written up in the report that they had exterior inspections only. The assessor went there
for exterior inspections only. Well when I looked at the property cards, they are blank, there’s no
building there because they are cleared lots and there was nothing on them. I drove out last week and
there were mobile homes on each lot, on the trailer beds. When I called the mobile home company and
I said, “Hey how long have these properties, have these mobile homes been here?” Well the lady said,
“They are on the beds, they just got pulled in a week ago”. I believe that.

“So when I read on the report that I did an exterior inspection, how do you do that? I don’t think there
was anything there. And you did it while it was up on the bed? And the one property that is going to be
taken off the bed is actually having a garage added that hasn’t been done yet. So I look at that
documentation and I say that assessor is telling me they went and inspected a property that was
physically there. And when I look at a property card, I should see a drawing of a building there. There is
no drawing, just a blank piece of paper. What that tells me is that it is a new property that’s being
established that nothing is on it yet. And in fact that is what it was. So as I am cross-checking these
cards, I’m seeing a fair number of errors. And that concerns me because I don’t see that with other
assessors.”

President Wilshire “Mrs. Ortolano, we have one minute left for our Public Comment period, can you
wrap it up?”

Ms. Ortolano “Sure.”

President Wilshire “Thank you.”


                                                                                                         70

                                                                                          NPD-LO-3768
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 71 of 424



Ms. Ortolano “I gave you an example of a property card up in Kessler Farms that is an example of
everything done wrong. The permit was left open for 6 years, this is current, the assessor goes out, he
says, he writes on the form “Went to the property in April, captured the permit”. This was a year ago.
The property owner ends up very upset, calling saying “you never came out and you raised my taxed
$900.00 for a basement refinish that I only finished a media room”. So the assessor, after leaving a
permit open for 6 years, never went and checked the permit file to see that the full basement wasn’t
finished. If they had checked the permit file they would have seen 1,500 feet wasn’t finished, only 600
was. So they went and taxed them for the whole basement. The homeowner calls, fixed income retired
people, outraged because their bill went up like $900.00. Nobody came to the house. The assessor says
“Oh I’ll come out, I’ll come out”. Comes out then he looks at the property, then he writes on the card
“Went to visit”. Then he changes the whole drawing on the basement, but guess what? It’s too late and
they have to file an abatement. That took, you know, 16 months to clear up and meanwhile they had to
pay the full amount. When you are on fixed income, I can tell you, these people were not happy at all.
And I look at a property card like that and I scratch my head and I say why does it say you went and
visited? There is no indication that you ever went to that property and if you did, how could the drawing
be so wrong, how could you not know if walked down the stairs that only a little portion of the
basement was done.”

President Wilshire “Ms. Ortolano, our Public Comment Period is over.”

Ms. Ortolano “Thank you I waited very patiently to get here and I appreciate you giving me the time.”



Special Board of Public Works Meeting, June 27, 2019

https://www.youtube.com/watch?v=2BZAPX2wvpQ

6:16

Laurie Ortolano “Ms. Laurie Ortolano, 41 Berkley Street I’ll be brief. I attended the last meeting and I
listened to some discussion about a new development going in on Temple Street and the development
of that whole area and the Henry Hanger building which has been around forever. Just a couple of
thoughts when it comes to roads and traffic. I don’t know if there is a traffic study being done but
Temple Street, when you go out onto Hollis Street is super busy to get out there and make a left or a
right. It’s really difficult and I avoid that area because of the traffic and I don’t know what impact the
new apartments have that are over by where the skatepark was in Hudson. I don’t know if we have done
traffic studies since that opened and I’m not certain if you are going to do traffic studies for when the
units go in where the Corriveau-Routhier is and the Henry Hanger building but that’s just a concern I
have. When you spoke about those buildings at the last meeting, we talked about the revenue
generated, the tax dollars you generate from adding new residential apartments or condo units and
that’s all well and good but I think there is a cost associated with it as well and I’d like to try and
understand what those costs are, be it on the roads, emergency vehicles, public service or schools.
There is some associated cost with taking in that revenue and I think it’s nice to understand both sides
of it because it all sounds sweet when you say we might get an extra “X” millions of dollars in tax dollars
but it is at a cost.



                                                                                                        71

                                                                                         NPD-LO-3769
          Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 72 of 424



“Alderman Jette brought up an interesting issue with the road being cut into before the five-year period
and I had not even known about this issue but it was interesting to me because he brought up the fact
that these Commissioners are in conflict with that ordinance or resolution, I’m not certain what it is and
that we need to try and figure out what to do so they are not voting to support development and
tearing up the roads. I don’t know if any thought is given for a new construction or development even if
they are going to cut in a side if it’s before three years then they repave the whole road and if it’s after
three to five years then there’s extra money put into a fund that’s paid for by the developer to maintain
the road. I just happen to feel that the cost of roads is a real issue on the taxpayers in the city and we
are putting really good money into it and there’s a lot of need. I think it’s a really legitimate need but I
don’t think it’s fair to shift any of the burden of the degradation onto the taxpayer and the only way you
can do that is to set a point where if you’ve got a newly paved road and a developer is cutting into it
then it’s not just a patch that they are going to do but a section and restore it to full value so none of
that risk comes back to the taxpayer. Those are my thoughts.”



Board of Assessors June 27, 2019

https://www.youtube.com/watch?v=do0DYyD-j6U

3:11:27

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street, thank you. Couple things, Mrs. Colquhoun
came up and spoke to you about a concern she had with the property at 1 Bishop. I just wanted to
add a little bit of information to that. I was not involved with her research but I do communicate with
her and, you know she points out and to me represents an issue that I have brought forth repeatedly
with the capture of permits and our struggle to do that. And you know it's very frustrating when you
are a resident and you find something and I think you can see from her email she put a good bit of
research into that work and looking at it and sent a nice you know paragraph of information to the
director and the response that came back with was two sentences. And, I actually received a call at
7:30 in the morning from Mrs. Colquhoun frustrated because the email response wasn't correct, she
didn't feel it was correct and I said well wait a minute, you know, her big concern was that the staff
had a meeting on it, they had a lengthy discussion and in two sentences, one of them was, changes
have been, hang on a second, changes were made to this account. This is what was written. 1 Bishop
is being updated for the December tax bill; changes were made to the account, period. She says to me
changes aren't made. I said well how do you know? She said I printed the card last week and it
wasn't updated. I said well obviously when they met they must have updated it, they must have
looked at it. So she got her computer, I got mine and we went on the OIS, because that's updated
nightly, and it wasn't updated. I said well I'm going to the Assessing Office let me print a card and let
me talk to staff. I'll figure out what is going on. I went to assessing, I printed a card, one of the staff
members brought it up on GJS for me, reviewed the card with me and said well none of this is right,
all of this is wrong, the data is wrong and I said I know. I didn't explain the email we had gotten from
administration I just said it's not right. She said well let me get the assessor out here so you can talk
to him. The assessor came out, in 90 seconds I had a full understanding of what had gone down and
it was completely different from, to me, this response. This response was just a dismissal, in my
opinion, of what somebody brought forward. I wrote about this letter to the state, I sent a letter up
to the state just a few days ago, and this response i s exactly where I feel we fall short on

                                                                                                          72

                                                                                          NPD-LO-3770
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 73 of 424



transparency down here. I think it should have been written completely differently and with regard,
and now you have a response that came to you today which maybe is more elaborate, I haven't
even read it, but please understand what we're getting out there. I would have just written
something completely different and the director just didn't seem to know that the card was not
updated. What Mrs. Colquhoun pointed out is that there was a new picture on the card and a new
drawing but none of the values were really correct. So when the director says, changes have been
made to the card, you feel like is she twisting words or are we being misled. Yeah, there's a new
picture and a new footprint but the data hasn't changed. That's the concern and when the value is
$132,000, clearly it's an assessing office, for those of us on the outside we look at the numbers. But
anyway, to point out the permit issue, cause you know this has been significant with me, I did a right
to know for the permit report and what I got was a PDF file of 24 pages of permits. What I always
been told is that the permit department and the assessing department work together and a report is
run each year so that the permit information for the assessors to go value is transferred. I didn't
know the exact mechanism of that, nor do I need to but I think it comes through a CityView process.
So I did a right to know to get the permit data because I was concerned that we don't really look at
it the way we should, or we're not really capturing it all. I've said this for 8 months. The report I got
back from the administration was just a PDF file, 24 pages long, with all of the non-value permits in
there, the electrical, the plumbing, the mechanical. Of course, I'm interested in the value permits
and how we track those. And it was alarming to me because if that's the format the administration,
I have to assume that what the administration sent me was the format they get. If they had an excel
spreadsheet or a workable form, I would assume they would give me something workable.
Obviously, I work with the data, but what they get is a PDF file that is totally nor-workable. That is
concerning to me because I can't separate out the data to see what's going on so how are you
separating out the data. So I'm not certain the whole permit issue is really being understood. We'll
put that aside, there was a bunch of abatements here that were addressed. Preserve Drive piqued
my interest and it shows you, I think, the errors that can be made in the KRT process. Preserve Drive
was valued initially in the fall, in the reevaluation. Then when there was the hearing in my ward a
gentleman came out who lives there, an attorney, and represented the street with a concern that it
was just too high. And he was able to get KRT to come back and reevaluate that neighborhood and I
think they took about $30,000 off of each home. They did a second look. So, I'm actually now in a
right to know to try and get letters that were sent out to figure out what KRT did a second or third
time because that data isn't trackable. We have a website that allows us to look at the initial data
put up for commercial and residential but any secondary changes, which my understanding were
they aren't many. I don't know how to track but in talking to the attorney and in looking at the data
that I tracked on Preserve there was about a $30,000 reduction given to each home because KRT
went down and reevaluated those properties and yet we gave an abatement to 6 Preserve, 22
Preserve, and 28 Preserve, significant abatements between 10 and 20% on properties that weren't
right. Despite the fact that they had gone by and gone back on a second closer look. And I just think
that's interesting. And with regard to Mrs. Corazzini's house selling in 2016, we get very hung up that
the sale price is a hard value, a house can't be over bought. There's no such thing. I would say if can
be under bought it can be over bought and when I met with Ken Rogers he said to me that he was in
a situation like us that he over bought his house. And when he first got it, he was assessed too high
and he called in the assessor and said take me down. You know you're chasing me he felt he was
being chased, he's the one who identified sales chasing on our property card when we met with him


                                                                                                      73

                                                                                        NPD-LO-3771
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 74 of 424



at the Amherst Street School. It was Mr. Rogers who said flip the card over and kept looking and said
I think you were chased. He was the one who identified it. But he explained his own personal story.
Now I know KRT is in Haverhill and I just happen to go on the Haverhill website searching for Ken
Rogers to see if I could find a residence, to see if I could see, did he purchase the property was there
an abatement, was there a reduction, what went on. Sure enough I find somebody, I don't know for
sure if it was him but the whole story reads like what was told to me. It was a house purchased for
$515,000 and yet the assessment, in 2016, like Mrs. Corazzini, and yet the assessment is $480,000
and when it was bought, I don't know when they reevaluated but when it was bought it was, you
know, the assessment stayed down at like $430,000. And I look now and that house is quote, under
assessed and just won and abatement in 2018. So I want you to understand that if that in fact
represents the owner's house and it is what he kinda told me, just because you paid $515,000
doesn't mean it's the value. You know, there are circumstances and like Ken Rogers said to me, I
over bought my house. I over bought it and if that's the case, and if it's just by luck I looked up a
house and it happens to be the story and this is a lovely story to share because it fits the profile too.
Whether it's his or not. House just pinged in my computer I just sat here in the back looking it up.
So that's something important to bear in mind. I was truly disappointed to hear your analogy of my
difficult request of the city and lack of cooperation to use assessors in the city and KRT. First of all, I was
told by Steve Bolton that sometimes in these residential assessments negotiations take place.
Sometimes you have a difficult situation and we negotiate with the homeowner. I tried to reach out to
KRT to do that process and what I have found is that I feel what Steve had said to me is not accurate.
You really can't negotiate with the city and you know your comments of what you put out here is
something I couldn't comment to because you're not at' a table to negotiate and I feel you strongly
misrepresented my concerns. First of all, I want to clear the record and say when I refer to one of our
assessors as a junior assessor, it's not to be rude. You're right I've complimented his work many times
and you're right I recognize how hard he works. It's because he is the younger one and I'm just using
it as a term not as a rude term. So my apologizes if you interpret it that way but I wished you would
had asked me. Secondly, the two brothers, and the issues with the two brothers on my property
were a concern. My bigger concern is when the second one came out to look at my property, he did
not answer our questions and did not get back to us with answers. That's an issue. I think we were
worthy of a response and we were told I will get back to you in a week with answers. We did not get
answers and I RTK'd the emails, I just got them from the city. I can see mine in there in the
responses have you looked into this, have you followed up, no I haven't, no I haven't. So they're on
the record and I requested the right to know emails from this assessor to be sure that these emails
were there. That was my bigger concern. Thirdly, when it came to KRT doing our abatement it
wasn't my suggestion. I was called into the office, I have the email by Ms. Kleiner to speak with her.
Our abatement was given to Gary. The original individual who made the original valuation. I wasn't
concerned, I did not raise an issue with that until a staff member had identified when the
abatement was given to him, that he was not happy at all to have it and he didn't want it, that he
had said that Jon Duhamel told him it would be outsourced. When the staff member told me that
and I will send the letters to you from legal on this, I asked the staff member to speak to Steve
Bolton because I was concerned that the staff member wasn't appropriate, they didn't want it. So,
the staff member went to Steve Bolton, my lawyer wrote to Steve Bolton and said hey, if this isn't
going to work don't put it there. Steve Bolton wrote a letter back saying nope, it's going to be fine,
she is going to be treated just the way everyone else is. Her abatement won't be put at the bottom


                                                                                                            74

                                                                                             NPD-LO-3772
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 75 of 424



of the pile. It's going to work its way up just like everyone else's don't worry it's going to be treated
fine. We accepted that, there's no more communication. Ms. Kleiner then called me in, had a staff
meeting, I believe one of her first staff meetings with the Mayor. Explained to me that her assessor
was extremely emotional and distraught over taking our assessment and it was then she asked
would I mind if it went out to KRT. How would I feel about that and I agreed with her. I said I'm not
thrilled about KRT and I'm not thrilled about the response we got from KRT for our house but she
explained that they had two days of service left on the contract for them to do abatements so there
was money there and would I agree with it and then wanted me to agree that all the Berkeley Street
properties would be given out there. I you know was interesting that I was the one who was giving
approval for all of Berkeley Street to go out. I said yes in the spirit of moving things forward, in the
spirit of compromise. What I did tell Ms. Kleiner in the meeting is I just wanted to be certain that we
would be treated the same, with the same process that the city uses. That was of the utmost
importance to me. My neighbors were never contacted that KRT was doing their abatement. They
ended up asking me, one gentleman six weeks later said, where's my abatement? Do you know
what happened? I said yeah, it went to KRT. They were not happy about that because of the original
assessment but I said look we're giving it a shot and the city, you know, I don't feel like we had to
give the other houses out to KRT. I don't know what the grudge was but it was Ms. Kleiner's position
that this assessor couldn't handle any property on Berkeley Street, they really couldn't do it. It was
her decision and I went along with it and I'm ok with that but I want you to have that information.
I'm going to send you the letters from legal and I'm going to let you take a look at that. I wished you
had talked to me before you spoke but you are entitled to your opinion. I love the fact that you went
back to 2007 or 6 and used data. I am going to give you data Dan that is going to show you how many
properties from that timeframe we have undervalued are completely undervalued. Ms. Colquhoun
has been looking at that endlessly and is distraught by that data. We are so low and I showed you the
property at 67 Berkeley Street that's a 4,000 square foot home on 1.2 acres that really did not go up
at all. Stayed at $532,000 and 20 years ago that property, 20 almost 30 years ago that property was
bought for around $450,000. That property has moved $80,000 in 30 years. That's low and you know
what's happening right now when people tell me land isn't an issue. That property is being
subdivided by the owner, because it's big, it's got a buildable lot and they are building their
retirement home on it and selling the front end. Tell me there isn't value there. There is. They are
going to make out well because they don't have to buy a parcel of land for $150,000 bucks and then
sell the property. That's real, that's happening right now. Okay, I am truly disappointed because I
came here with data to put up on the screen, I didn't know that the screen isn't going to be here for
us to see. When you set up a room with this format, and I have data I'm no longer at a table to show
data, I'm sitting here. So it makes it more difficult for me to communicate with you and I didn't know
that the format of the meeting was going to change. I'm going to address just a brief concern. I think
you do not know that I asked for an audit log from the city to look at property changes made in the
calculative data on properties from, from October to the end of or the beginning of April. I want
October 1st to the beginning of April and I got an audit log and it looks something like this. And what
I noticed is on this log is that my house at 41 Berkeley Street is here on the 9th with a correction of
                                                                            th
$12,000 and that makes sense because the assessor came out on the 8 and did type us an email
saying I'm making these brief corrections, simple corrections I'll get back to you on the big stuff and
he did. He changed the yard items and he made a building changed for the basement having some
water issues and made a change on the garage because it was falling down. What I was told at that

                                                                                                      75

                                                                                       NPD-LO-3773
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 76 of 424



time, repeatedly, is and when we asked, do we have to file an abatement the answer was yes. At this
point in time abatements have to be filed, I can't do any big changes to deal with something from
2018 it has to go into an abatement. The MS-1 was coming out that week, the MS- 1 was actually
submitted to the state on October 1 so they were at the end of the road here to get the data
secure but when I pulled this report I notice that 285 West Hollis was dropped $131,000. 713 West
Hollis was dropped $121,000 and 69-79, 75 Main Street was dropped $92,000 and corrected. These
were big corrections so it piqued my interest. How did these properties get an assessor to reduce
them so aggressively without an abatement and I'm sitting before you trying to fight for an $80,000
correction. So, I pulled U1e records. What I found is 285 West Hollis Street was an abatement that
you approved for 2017 and what is so interesting about this to me, for me is that it, it was approved
by you for $175,000. The sales data used for that was 2017 sales data, property data. That's great.
The email trail that I got from the city shows that the owner of the property is emailing the assessor
saying do I really have to up for 2018, we just did an abatement and we did and appraisal and I think
I should stay at $175,000. The $175,000 value that they were awarded for the 2017 abatement
somehow did not get put into the computer and the computer had the house valued at $255,000.
KRT moved this property to $306,000. So KRT put 20% on the property. The abated houses that were
used on that 285 West Hollis Street, for sale data, went up between 20 and 30% in the KRT
adjustment. So my question is why would an assessor agree to set it to $175,000, shave off
$131,000 and not put it through an abatement? So now this property sits at the 2017 price, you're
telling her her 2016 price needed to go up and all the other properties around them went up. I don't
understand how that arrangement was made and in my opinion that should have been a secondary
abatement but that property deserved an increase. That's what happened at 7 Auburn Street. The
deal that that gentleman thought he had was I won an abatement was $240,000 in a 2017 review.
I'm coming back in 2018, KRT's here no, I'm not going to be part of that, I'm saying at $240,000 and
the assessor says, okay, you can stay at $240,000 and I'll give you the ratio and takes it down to
$229,000. So that property got changed. If we did that to every assessor who brought you 2017
data, none of the 27 properties would increase. And there is no sales data to support dropping 285
West Hollis Street to $175,000. A matter of fact it switched from a business property to single family
and the base rate for single family is higher than what it was when it was a business. You get a base
rate increase on a single family so the next property at 713 West Hollis Street is a property that has
three buildings on it. Our junior assessor had done a good amount of permit capture. The final
building put up was a two car garage with a loft, bathroom, room upstairs, set of stairs to go up, it
looks like it could be an apartment, whatever, it's a functional room but that garage got assessed in
20·17 and the property moved from $290,000 to $317,000. KRT comes along and sets it to $523,000
because it's three separate properties, three buildings and they are all a cape house, and older cape
house a newer cape house and a new garage with a loft. So, I look at that valuation and yeah that's
a big increase but there is a lot going on, on this property, square footage and buildings. Seems
reasonable. Somehow, somehow they manage to come down $120,000, $21,000 and they get set to
$406,000 by the assessor with no abatement. What's more interesting to me is I pulled every
property file and there's no documentation. The old card stapled to the new card to say here's how
we went from here to here. It's not there. That concerns me because I don't have an audit trail. I
don't have a paper trail. The third property is 69-79, 75 Main Street. I see our assessor Doug in here
looking at the shoe shop there on the corner with an abatement. This property is right next to it.
Why last year were they able to shave off $92,000 without coming in here? I really feel that what


                                                                                                   76

                                                                                     NPD-LO-3774
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 77 of 424



was, and there's a write up, the property owner came; you know when you're in the middle of a
reevaluation and all that data is being captured, I don't know what your rule is but it would seem to
me your assessors would be careful about going out making $90,000 adjustment when KRT is doing
their data in 2018. You would be telling them to abate. The individual did write up a reason but you
would say abate so I am deeply concerned because I spent a lot of time in the assessing office in
September and October and I listened to the staff tell literally every resident coming in, honestly,
you have to abate, you have to abate. I had the assessor at my home saying you have to abate and
then I see $300,000 shaved off three properties without real specific documentation and no
abatement process. I feel I'm being treated so unfairly and I'd like you to look into these properties,
69-75 Main Street, 713 West Hollis Street and 285 West Hollis Street and help me understand what
happened here because this is data that is going right to the state. I don't understand it and I'm
frustrated, I'm frustrated. Now for the record please I could not, the email I sent you regarding KRT's
statement in the last set of minutes that said that I had formally written and email to them
requesting they inspect the five other homes, I have no record. I wrote to Rob Tozier, I asked him to
send me that email if he had it, I received nothing. I feel that was a misrepresentation by KRT,
additionally in the record that I gave you from right to know minutes I received from John Griffin,
Jon Duhamel and KRT. There was a second record in writing that says that we went to the KRT
hearing on September 5th and requested through Ken Rogers that those properties be changed,
there's two different stories out there, neither are true. We did not request any property be change,
we focused on our property with a package and requested that it be lowered. You folks are really
disappointing me. Thank you for your time.”



Board of Aldermen Tuesday, July 9, 2019

https://www.youtube.com/watch?v=X-uau-6eXt0

30:54

Laurie Ortolano “ Laurie Ortolano, 41 Berkeley Street. I wanted to talk to you a little bit tonight about the
Right to Know Reports that I have been requesting. It is apparent that some of you in the Aldermen level
are pretty upset that I have made the requests that I’ve made to the administration based on e-mails
and text messages. And these reports really served a purpose. I have gleaned some pretty amazing stuff
from the reports that I’ve been able to get from the administration. They were fairly extensive, I asked
for an audit log, which I know the Director didn’t really know that they could run it, but they did and that
was enormously helpful. It is an accounting measure, an audit measure to look at how each individual is
changing property valuations or working or going into the calculated data to make property evaluation
changes; very interesting piece of information.

“I have requested the permit reports and the permit reports were a big disappointment and you know
back from September I was all about permits not being captured and being concerned that we weren’t
getting permits captured and valuing them appropriately. Well the permit report really shows me that
problem is still going on and is a problem. The report was wholly disappointing because I received 22
pages of 6.




                                                                                                          77

                                                                                           NPD-LO-3775
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 78 of 424



“Print in a PDF file of every permit pulled that had to do with non-value items, including non-value items
like mechanical, electrical and plumbing, which don’t count in the assessments. It was a totally useless
report for me, and I was frustrated by that. But then it made me realize that the Director must’ve sent
me the data the way she gets it. If the data is in this form to her, it is as useless to her as it is to me. It
would be very difficult to account for how your permits are being captured.

“Subsequent to getting this report another lady in the neighborhood has been active in this and went to
the Building Permit area, Building Department and asked the gentleman there if they could create a
permit report that would be more useful. He was super helpful, went to IT, knew exactly what we were
looking for and is trying now to help us get a report that we can actually work with and get in a readable
form. Just so we can understand what is happening with permits, but I also went down and spoke to a
staff person in

“Assessing. I asked what do you run for permits reports that they said monthly we run a report that is
given to the assessors each month. And yearly we run a single report; and one of them I can’t remember
which one is excel format. So then I scratch my head learning that last week and saying why don’t I get
an XL formatted report. I’ve sort of complained to you guys that these PDF files are brutal to work with
and you can’t do anything with the data. So if the administration has data in Excel form, send it to us
that way. Don’t lock us down with data that is useless.

“I received an AssessPro Activity report that was able to show me what was happening with visits to
property, permits, abatements, all that kind of stuff, super helpful. I was able to get work logs and
mileage reimbursement reports. Last week I had been trying to figure out what happened when KRT
had the meeting and all these people came out in their Wards to say we want you to come see our
house again. So we all got our letters at the end of August with the initial re-evaluation data. Then KRT
set up these little meetings to allow people to come up to express concerns and you could ask for them
to send somebody else out. I wanted to know how values were changed the second time around but
with our contract with KRT we never asked for that data and we never captured what happened the
second time around. I was interested in that and I was led to believe that there were really not many
changes that there were you know 300 people who came to those meetings in total. There weren’t that
many changes. So I wrote a Right to Know to ask, what I figured is they must’ve sent a second letter out
after the first letter when they did a final change, because I got one. I was one of those people who went
and said look at my house again. In October I got a letter, so I said OH anyone who went out got a new
letter in October. Well sure enough they did so I did a Right to Know request and I said send me all the
letters you sent out in October for the second look. It was 1,252; that was a lot more than I thought,
that’s a lot of data in the second review.

“Now granted for all the parcels we have maybe that’s only about 5% but it was a lot of data. I will tell
you what concerns me about this data having gone through it is that KRT used 2017 values that must’ve
been given to them by the City. When I take these 1,252 letters and put them into a spread sheet that is
workable and I combined it with a data disc, data spread sheet data in City Hall, the 2017 values that we
have on our records do not match the data that we gave KRT. And it really concerns me; something went
awry for some of these properties. I don’t know why. And out of the 1,252, 12% of the data was not
correct, that’s a lot. So now I am sitting here looking at data where the baseline given to KRT does not
match our records. What I did observe for sure was that properties that were MLS corrected, let’s say a
property sold in 2017 and it was corrected by MLS data for the December tax bill of 2017. That was

                                                                                                             78

                                                                                              NPD-LO-3776
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 79 of 424



never put into the KRT Assessment, re-evaluation, it didn’t get in there. So properties that may have
had, some of them had changes they had sold, they had been valued at $150 and they sold for $275. So
when the Assessor corrected it, they made a more aggressive correction because the property had had a
lot of upgrades. That’s great; but that never got put into the KRT data and to me that is a significant issue.
I have typed a question into assessing, the General Help Line to ask you know how did this happen and
why is this so confusing where is the mix up? But to me there is a question there. That’s pretty
important. So the reports have all served a purpose and they served a purpose because some of you
here really felt that this whole issue with a certain assessor was my responsibility to find the data, to
establish proof, to look at work performance and to grab it all. I don’t feel that was ever correct; I feel
the City had a responsibility and I don’t think the City followed its responsibility the way it should have. I
think the investigation going on right now is far too narrow. But these requests gleaned a lot. And I
came to you a few meetings ago and I spoke pretty directly about abatements not getting done; certain
people not carrying their load. I can tell you after that meeting that individual did 20 abatements in a
month. Imagine if they had done that for the five other months what we would have had. Hey that is
impressive, light a fire, get a response. You shouldn’t have to light a fire, but it got a response. The work
logs, the reason I pulled work logs and I pulled the e-mails of this assessor, because the work logs which
were not well documented relative to other assessors. The work logs were really incomplete; but the
one thing noted in the work logs repeatedly was that they respond to taxpayer e-mails often. I thought
how many taxpayer e-mails come in. I checked with the Assess Help E-mail and I was told hardly any.
But then each assessor has their own personal business e-mail address that they can give out so they
could have their own business e-mails. So what did I do? I did a Right to Know for the e-mails. Do you
know what I found in 3 months? That assessor had to respond to 13 e-mails in 90 days. That is not that
many. When I see it on a work log over and over again for half a day’s work? That’s not that many. I
chuckled, I have to tell you, when I saw those e-mails. One of the e-mails was sent by a former chief and
the question in the topic was “Ortolano” and the question was, “Does anyone know what she really
wants, can anyone figure out what is going on”. This was the beginning of November. This has gone on
way too long. Can anyone figure out? And one of our assessors, the one I was looking at, these e-mails
responded, “I think she’s got an ax to grind and I can tell you even if she wins her abatement, she’s not
going away”. I have to chuckle at that, what makes me chuckle at that is here is our chief sending an e-
mail to his four assessors to say “Does anyone know what this lady wants? She’s been done here for 2
months”. But he never invited me into his office to speak to me nor would he even come out of his
office to speak to me when I had a question, very hard to get him. Imagine how different this might have
been had he tried to figure out himself, what does this lady want? What is the problem here and what is
she looking at? Things might have been quite a lot different.

“So I asked for this data and I look at these reports very carefully and I do a lot with it and I work very
hard with it because it tells a story. And I’m learning a lot about our permits, I’m learning a lot about
missed data, you know? I’m learning a lot about these values that we gave KRT that are not correct.
Something is wrong in our data capture and that’s happening through the IT Department and those are
big flags to me. I’m concerned, I am really concerned that there is an over-reach going on in the Board of
Assessors that through the City, through our City Government and our leadership that does not allow
our Board to operate independently. There are two things that bother me, back two or three months
ago the Mayor had announced at this meeting that all Board of Assessors meetings would be verbatim
minutes and televised.


                                                                                                           79

                                                                                            NPD-LO-3777
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 80 of 424



“The Board of Assessors had no idea that was happening. They did not want verbatim minutes. When I
looked at the Charter and I called a few other city officials, former people, I said, “Can the Mayor just
vote and make a mandate that the minutes have to be changed or done a certain way” and the answer
was “no”. They said, “look in the Charter”. I did look in the Charter and from my understanding it is up to
each Board to determine how they are going to keep their public record; they have to keep a public
record per the RSA no question. But it doesn’t have to be verbatim. The reason that they didn’t want it
verbatim is that they don’t have the staff. They have got 4 clerical people, one is a supervisor, you know,
everyone has said they are up to their eyeballs in work and now you put verbatim minutes on top of
them.

“So when the order was given, at that point, in the meeting on a Tuesday night the clerical person had
already done the minutes not verbatim, had to go back and do them verbatim, they were 47 pages long.
And they are not used to doing that. I couldn’t understand when it was voted here why we weren’t
using another resource to outsource or have somebody else do them not within the office like we do
with other city minutes. Why were we pushing this in on the staff? We pay $800.00 to $1,000.00 to have
those minutes typed up verbatim down there. It’s really not a good use of money or resources. I just
came out of a meeting last Tuesday, it is 107 pages of minutes because it was the final go on the
abatements, it was a 3-hour meeting, over 3 hours. That’s ridiculous. And when I went after the first
meeting, after the vote here, or after the Mayor said this is going to happen. I went to the Board of
Assessors meeting and I talked to one of them before the meeting began, we don’t want these. And
another clerical staff said the Board Members don’t want this, they don’t want these verbatim minutes.
It is an awful lot of work for them to have to read it and make certain 100 pages are correct as well. But
that got forced into there without any vote of the Board.

“Recently in the last maybe I don’t know 2 or 3 weeks we set up an e-mail address for our Board of
Assessors, so we now have a way for the public to reach the Board. That has never happened before and
it was something I complained about because other cities like Keene, Manchester, the Board of
Assessors has addresses that you can e-mail them directly.

“We don’t have phone numbers and we don’t have addresses for ours. So all of a sudden on the web
site an address appears, BOASSESS@NASHUANH.GOV. They got a web site, that’s great. I send an e-mail
in to address an issue and address a concern I have with what is going on in management in there and
within 3 minutes I get an e-mail fired back at me, very angry, from the Director; she is bull at my e-mail. I
wrote back “Well Hello, I didn’t know you were on this address”. The address is actually screened by the
Director, the Board of Assessors is her boss. So then I called all the other cities and towns that have
these addresses and I said, “Is your chief or your manager on those addresses or is solely your Board of
Assessors”. Every one of them it is solely their Board, not Nashua. It was inappropriate, it was
inappropriate for me to have to take a blasting e-mail from somebody that I didn’t even know was on
the e-mail chain that was blindly copied or hidden, and the public doesn’t know they are sending it to
this individual.”

President Wilshire “Ms. Ortolano time is running out. Wrap it up.”

Ms. Ortolano “OK I’ll just end it with this, it came to my attention just yesterday that there was a
Facebook post put up by our new director that absolutely flabbergasted me on Facebook. It said by Kim
Smith Kleiner “It is not my normal process to respond to Facebook posts, but I feel residents have the
right to hear both sides and then I respect the conclusions they come to. The Assessing Department has

                                                                                                          80

                                                                                           NPD-LO-3778
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 81 of 424



received multiple detailed requests and I am being continually insulted for not responding to two
residents’ numerous questions. When we did investigate, and I respond I am attacked that they were
blindsided. Here’s the truth, we had 90 remaining abatements to respond to.

“Residents who deserved to have their abatements heard from the deadline of July 1st I asked our
assessors to work as hard as possible to process all these abatements. Everything else was secondary
priority. If a resident feels my decision was wrong, I am happy to sit down and discuss it with you. My
priority has always been to serve the people of the City always”. This was a reply to an April 27th post
that popped up over the weekend from 3 months ago. I am just flabbergasted we don’t have a policy in
here whereby our directors or to management don’t respond on Facebook. You know if you folks all sit
here and think it is a one way street, that I am the problem and you are all the right people it’s more
than that, so I would ask you to consider a policy to stop this. And there was one Alderman that gave a
thumbs up to this. I didn’t respond because I think it is inappropriate to use Facebook to air the dirty
laundry like this.”



Board of Aldermen Monday, July 22, 2019

https://www.youtube.com/watch?v=lC7-adhuIXs

16:25

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple of things. I have some concerns about the
four-year time frame on this revaluation with a list and measure. I would love to see it done in 3 years
and certainly not 5 so I was glad to hear tonight it was 4. A couple of my concerns are that the market is
running high. We lost 5 points on the equalization ratio last year in a year that we were equalizing to
one. We came down to 94.9%. It is very possible that this year we could lose 10 points on that ratio and
we will be equalizing property at 85%, maybe 87 after that first year.

“You know you’d like to think that the market will correct itself, I hope it does. But if it doesn’t and it
runs hot, you are going to have properties that are pretty far off. When you couple it with the miscue
and data that hasn’t been captured over 30 years, I think you could have some pretty devastating
increases. That concerns me a great deal. I would love to know if this State has any way to phase in high
increases on properties.

“I know that other States do when they have done revaluations and they have seen somebody’s
property taxes go up a lot, they will phase it in over 2 or 3 years. I don’t know if New Hampshire has ever
done anything like that. But I am not a proponent of seeing property values increase 50 or 100%
because of an adjustment. It sort of happened to us and it is a pretty unpleasant situation and I wouldn’t
wish it on anyone else. So that concerns me.

“Doing it sooner would help take the edge of the market run that we are seeing happening. And I also
think that the Management Audit Report didn’t do much at all to tell us about the need for a list and
measure. What tells you the need for a list and measure would have been a technical audit report. It is
the technical data that kind of speaks to that.




                                                                                                         81

                                                                                          NPD-LO-3779
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 82 of 424



Alderman Dowd “Ms. Ortolano, could you address just the bond in front of us if you are in favor, stating
that you are in favor and not what might come out of it or anything else, because we have no control
over that at the public hearing.”

Ms. Ortolano “OK I was only speaking to what was spoken to here, and I didn’t know I couldn’t speak to
what was spoken to here. So I would like to see the bond carried sooner than 4 years. I would like to see
the work done in 3 years. For myself it makes a big difference because I moved into a neighborhood
where we have no equity and waiting 9 years to find it is just a long time to have to wait to get
properties in line. You know it just doesn’t seem reasonable for the properties that are completely out
of line. So handling the list and measure quicker, I would be a big proponent of it.”



Board of Assessors August 1, 2019

https://www.youtube.com/watch?v=k9LqP68NxKs

36:45

Mr. Hansberry “So now we move onto public comment. We have one person who has requested to
speak. Mrs. Ortolano would you come forward?”

Ms. Ortolano “Good morning.”

Mr. Hansberry “State your name and address for the record please?”

Ms. Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple of things I wanted to address this morning
and I thought I would need the screen. I was going to print out some stuff but I ran out of time. I am
working on the hearing for next Tuesday and I got way late on my paper for the State and I didn’t print
out papers but there is information here I could go over. The welcome statement that you folks read at
the start of the meeting says please direct testimony to this board and not to anyone in the audience if
you have any questions they are to be directed to the board and we will get them answered. I have been
coming here for quite some time now, probably 7 or 8 months and it is my observation that you don’t
answer any questions and I am not talking just mine or submissions of letters, it is anyone else who has
come here as well. I am not certain that I can think of an instance where you’ve provided answers or
gone back and got answers for the public and it is for this reason that I look at this board as politically
motivated and a rubber stamp. Because if you’re not going to genuinely get us answers, take that out. I
don’t want to hear it every meeting I come to. It just isn’t right. I sent you maybe 5 technical papers. I
print, I copy, I make my 5 copies or whatever was required and they seem to go in the trash. Never get
responded, in some instances never get acknowledged that they were received. I have stopped doing
that because I have spent a lot of money printing to provide information to this city only to have it
thrown away and not responded to. It’s expensive for me, and it’s ultimately why I have pursued other
avenues through the state, so please consider getting rid of that line or acting on it honestly.

“I wrote you an email regarding policy and the creation of policy. We have a lot of policy questions here
in our Assessing Office and we have basically a policy manual that is minimal and hasn’t been looked at
in a long time. I’d like to understand what the public’s role is in policy development and that’s
something I’ll take to the BTLA because I know you won’t address it. I was on a school board and in an
elected committee for 8 years. Policy was considered public business. It was the one place where the

                                                                                                        82

                                                                                         NPD-LO-3780
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 83 of 424



public could come forward in a hearing and express their opinion on how operations were going to be
run. The aldermen do it with their resolutions. They have hearings that allow people to step forward and
give comment and even at a hearing ask questions and receive answers. I know that you are not a
legislative board you are a governmental board. I haven’t been able to explore yet within the charter
whether that means policy creation is not the public’s business but I am also concerned that it is not the
board’s business, because these policies are not coming to you and your mission says our role is to make
certain that the policies are in line with the state’s statutes with the office operations. How are you
doing that if policy doesn’t come to you for an open discussion in a public meeting? I am only aware of
one policy that’s been created and that was sending letters home when property assessments increase. I
read it in a manual when I went a month ago. It was in there and I was surprised that it was actually
being used. It is put together with a fixed number. For a $20,000 increase they are going to send a letter
home. Every individual in the community that I showed that policy to commented that it shouldn’t be a
number, it should be a percent. Some of the people immediately said, some of the business leaders
immediately said, it should be a percent. I agree with that. If you take a $150,000 home and you
increase it $20,000 it is a 15% increase and that’s your margin to notify the property owner. That’s a
hefty increase for somebody with an escrow that they have to pay. If you put a $20,000 increase on a
$600,000 home that property owner is experiencing a 3% increase, that substantially different and may
not be as significant to that owner. I would like to see a percentage picked whereby it triggers a letter
based on percent increase. Decide what you want to use and send it, but I think to fix the number at
$20,000 really isn’t correct. I thought this policy was going to come forward so I’d be able to speak to it. I
sort of hung back, waited 3 or 4 months and then I saw it in a book a month ago and it was acted on but
I never saw it approved by you and I never saw it discussed in a public meeting by you. Secondly, there is
an additional policy I would like you to consider because I have done a lot of work looking at property
files. Unqualified sales, you know no market, family sales, tenant/lease sale, any of these things,
foreclosures. I have not found good evidence that our assessors are qualifying these properties. A
question would be how do you qualify an unqualified sale? My opinion would be it would be almost like
doing an abatement. You’d take the house, you’d look at comps, you would see what comps look like
and you would set the value for the home. I have never seen anything in a property file that tells me
how an unqualified sale is qualified or any paperwork that does it. More often I see them ignored. Or
the assessment level that they’re at, let’s say it was at $320,000 and the house sold for $280,000 and it
was unqualified. The assessors are more apt to leave it at $320,000, which is not necessarily typical what
they do with other qualified sales with MLS data. They tend to raise them or adjust them or look at the
pictures. I mean there is a fair amount of data they miss but that’s for all of the non-qualified sales, I am
not seeing evidence of that. I would like any unqualified sale property to receive a letter from the
assessing office saying we have qualified your property and this is your assessment level. Because it puts
ownership on the assessors that this job is being done and they are seriously looking at this data. It is
not a great deal of data. It is not a lot of extra letters, so I don’t think it’s a big cost issue but I think it
would have a substantial benefit because a gentleman came in here last meeting, Mr. Durant, and his
sale was looked at as unqualified. Looking at his property and speaking with him it was definitely more
qualified than unqualified. Ours was a qualified sale in 2013 even though it was cash. Ours should have
been looked at a little bit too, you know what was the arrangement with that when there was no bank
financing. So you know I don’t think anyone really qualified his sale. They just turned around you folks
and said well it was $321,000 and now it’s $398,000, that’s good enough. That’s good. In a year it
increased $60 or $70,000. That’s good. So that’s the second issue with policy.


                                                                                                              83

                                                                                              NPD-LO-3781
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 84 of 424



“I re-read the minutes from the last meeting and it was just a depressing sad experience for me. I was so
disappointed Dan in how you spoke about me. I feel I am a better person and deserve better treatment.
I feel that this board under the mission represents taxpayers and once again this political, rubber-
stamping board represents the city and not the taxpayer. I feel you should have reached out to me to
ask what my story was rather than script something that was inaccurate and wasn’t my story. I have
asked repeatedly for KRT to provide the emails where we asked that the neighborhood be changed and
we have received no data. I know if I sat at this microphone and misrepresented you the way I have
been misrepresented you would be furious. You would speak out strongly because you speak in a seat of
leadership. I don’t have that opportunity and I have to take it and it disheartened me so much to read
those minutes. The justification of my abatement was based on sale data from 2007 by this board and I
feel strongly that as a taxpayer I have to follow a strict set of rules to abate as anyone else does. I have
to use sales data within the year window period of the tax year I am abating. I followed the rules and I
did that. All of KRT’s abatements, the 50 or so, they did not use that sales data. They said we don’t need
it, we got a CAMA model with 673 points. It was fair. I sat in a course with two of these people here and
the chief from Durham and the chief from Goffstown both talked about how inaccurate the Marshall &
Swift model is, which is what KRT used, and that when you do these general average uniform CAMA
models, there is often some errors and you have to go back and correct them looking at sales data. They
spoke to this and we used KRT and I didn’t think they would be so married to their model but they are. I
didn’t. You know I spent 10 years modeling in engineering down in Westinghouse in Baltimore and I had
to model telemetry data for space craft, and creating predictive models is very difficult, and very often
you create the model, watch the space craft and find your data was good in some instances, your data
was good in some environments. Your data was terrible in some other instances. That’s the nature of a
predictive model and I was never overly- married to my model. I understood that. I see a company who
is overly-married to their model and didn’t recognize the short-comings of their model. So when you
pulled out 2007 data and said 41 Berkeley Street sold for $600,000 in 2007, so to move it to $651,000 in
2017, 8.5%, seems reasonable. Yup you guys, two of you agreed and said that’s reasonable. You are on
to something Dan when you sit here and you start questioning these assessors about these 2007 or 6 or
8 values before the crash and where we are now. I believe our 2013 re-evaluation, we went the wrong
way on that in many instances. Berkeley Street was cut $100,000 in 2013 and four months later, when
they complete their model, I buy high. I’m completely on the other side of what they modeled and the
BTLA will see this information. This is the unsold versus sold homes issue. It’s very apparent and you are
on to something. Other communities might have corrected their data better. For some reason we didn’t.
So 11 Chester Street is a house very similar to mine that sold in 2007 as well and it was refurbished. It
sold for $615,000. Mine sold for $600,000. It’s on the lower part of Berkeley which is considered not as
nice because it’s between Laton and Courtland. It does receive more of a land discount. Back then it was
only about $10,000, but that sold for $615,000 and didn’t have another sales point after that. The
market crashed in 2008. The assessment was cut $160,000 and cut in 2009 and then 2013 and in 2019 it
sits at $434,000, fully renovated. That was my property under those renovations. Fully done by 2008 but
I bought again in 2013 high and you had a point. So you used that point to slam me up to $700,000 and
you recognized or the model recognized we were too high and they were willing to take it down
minimally 2%. KRT was willing to come in and make another adjustment though very reluctantly. It was
very clear that he didn’t want to drop the EYB on that house. So I guess I should feel very special and I
got a gift. 14 Chester Street sold in 2006 for $562,000 prior to peaking up in 2008. That was a rising
home. They pulled $70,000 of permits since then and have done some really nice renovations that our


                                                                                                         84

                                                                                          NPD-LO-3782
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 85 of 424



assessors have recognized as very good grade bathrooms and kitchens, closed in open porch. That house
sits at $413,000. 38 Chester Street across from me to the left, sold in 2008 for $530,000. It had another
sales point in 2017 for $570,000 but KRT assessed it at $508,000 and then there’s us and we’re at
$651,000. 14 Chester and 30, I mean 14 Berkley and 38 Berkeley, these are Berkeley Street properties if I
said Chester I am wrong. 11 Berkeley, 14 Berkeley, 38 Berkeley. All of these properties with the
exception of 11, the two are larger than mine by 300 square feet and 11 is smaller by 200. Pretty
comparable. We’re talking differences of a couple hundred grand and I have to live with that kind of
equity. There’s a lot of data. I cut and sliced data from Berkeley Street to Raymond Street to Chester
Street to up on Monadnock and you’re going to see this kind of problem and the BTLA is going to see it I
hope pretty darn clearly. We missed the broad side of our barn with this and there’s an explanation for
it. So…”

Mr. Hansberry “Mrs. Ortolano I’m going to ask you to wrap it up, a couple of more minutes please.”

Ms. Ortolano “Sure, deferred maintenance that was addressed here, 2 Cardinal Circle. I am very
concerned at how we are using deferred maintenance here. 21 Maurice Street was a property that got
corrected when I was corrected in October by an assessor who went to the property noticed that there
was deferred maintenance and dropped the assessment 7% Yet this house is owned by the same
property owner for 20 years because they’re not keeping up on it. This deferred maintenance issue
you’re bringing up should have been directed as a very specific discussion to be had inside the assessing
office on how we are going to treat it because you’re talking about an assessor who came here, KRT is
an outside organization. What KRT does is very different and what they did to 50 abatements was very
different than what this city did. You know, what we can all recognize is assessing is not a standard,
calculated business. It’s subjective. What’s critically important is we have uniformity. I don’t care if they
gave 7% deferred maintenance to the property at 21 Maurice Street. You just got to do it to everyone
uniformly and you’re not. KRT looked at all the homes and said any deferred maintenance we don’t
count at all. You’re counting it like crazy along with condition in Nashua and you’re not treating
everyone uniformly. Pools, last topic. Pools are a massive issue and that’s going up to the BTLA. I owned
a pool in my prior town, right here, 20’ by 40’ right now it’s assessed for $10,000. All the pools around
this, all the community pools are $8-10,000. We’re $30-40,000 now.

“What happened in Nashua that drove yard items so high. This is why I wanted to have a meeting with
KRT. One of the questions I had is why did all the yard items double or go up so substantially so if I go to
put a pool into my property on Berkeley Street where I already feel I am high, I am going to be slammed
with a new rate of $40,000 for a pool. Yet you put a garage on your home and it’s $10,000. You put air
conditioning in your home which is a pretty nice feature - $3,000. No matter what size house, $3,000.
pool which is a liability, which absolutely shows, because I’ve studied the sales data that it hurts in the
sale of a home. It’s extremely seasonal, roughly 3 months of use time, and we’re putting $30-40,000 on
swimming pools. This shouldn’t be corrected in the next re-evaluation it should be corrected now. I
don’t know if there’s a law that says you can’t fix that. I don’t know. If you do it to all of them, I don’t
know how many pools you have in Nashua, probably 5, 6, 700. I don’t know why you can’t fix it for those
people because something’s not right here and it’s not consistent with how appraisers look at pools.
Anyway, thank you.”



Board of Aldermen Tuesday, August 13, 2019

                                                                                                           85

                                                                                            NPD-LO-3783
           Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 86 of 424



https://www.youtube.com/watch?v=jAuBZGRhAb8

36:41

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I want to provide some clarification to a few of the
Mayor’s comments. He mentioned that there is no validity for the 15% or 10% entry rate. The Board of
Assessor’s meeting on March 7th of 2019, I would ask you to refer to those meeting minutes where the
Chairman, Dave Hansberry, spoke that he had spoken to Rob Tozier who felt that we wouldn’t get any
more than 1/5th entry into our homes. Based on that, Dan did not, questioned whether a 20% entry
and an 80% miss was worth us doing this List & Measure. So that is on the record. There is another set
of minutes, that I think it is documented that KRT spoke of a 15% entry rate, I couldn’t find them
because I was short on time and I was scrolling through. But March 7th, 2019 is a good set for you to
look at.

“Also, the documentation that the Mayor referred to from the BTLA and the DRA strongly suggesting that
we move forward on a List & Measure, I’d like to see it. I hope that’s not just verbal and I hope you all
want to see it. I want to see what the DRA wrote, and I want to see what the BTLA has written; not
implied but written because I have not seen that and I have been watching these correspondence
closely. I have been in communication regularly.

“Regarding the Bob Gagne, I had a chance to talk to Bob Gagne, Bob Gagne used to be a Deputy in our
Assessing Office. He is now the Chairman of the Board of Assessors up in Manchester; he’s their head
guy. I spoke to him last Tuesday. I asked Bob, “what do you think we will get for entry in Nashua”. He
said “10% no more”. The Mayor pointed out in 2006 that they had gotten high level. That was before
the laws were changed and it was after 2011; he also pointed out 2011 the law was changed after that.
One, you don’t have to allow entry and two, even without the allowing of entry, you can still appeal if
you are contesting the valuation you have. It used to be that if you didn’t allow entry, back about 6 years
ago, you didn’t allow entry, you lost your right to appeal to abate. You had to accept the number given;
the Courts threw that out. So the data you are seeing that was higher in 2006 and 11 has changed
dramatically. We should be checking these facts Mr. Mayor.

“Also, when you point out communities from Maine or Massachusetts, I do not know the laws in those
States and you should cite those lows. Because if they are different from New Hampshire it will make a
big impact on how doors are opened. So let’s get our facts straight and let’s all get on the same page.
The validity of the $1.3 million dollars is in question and the Mayor seemed to indicate that KRT gave us
that number. I am very concerned with that number. Let’s investigate that. We had a quote years ago,
Patriot was in here, it was over $2 million dollars OK? How is it only $1.3 now? Also, why haven’t we
checked with other cities that have done more of this work, bigger cities, to find out what their numbers
are? So the $1.3 million, I am not comfortable with a KRT estimate. Entry rate we heard what I just said,
Steve Bolton told the BTLA he hopes to get into 50% of the homes. Our own Board, Rob Tozier, Bob
Gagne and today I called Scott Bartlett who is the head of the Goffstown Assessing Office and also the
President of the NHAAO. I had a talk with him, they do a cyclical review. I said to him, “Scott, how many
homes do you really get into”; “next to none” he said, “I’m looking at 800 homes this year and we will
get entry into very, very few”. And he said, “I’ll tell you what, I’ll never see a house with a new kitchen,
or a basement finished, I’ll never be invited into that kind of home, the only homes I ever get invited into


                                                                                                         86

                                                                                          NPD-LO-3784
          Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 87 of 424



are the very old ones that are dated that the people are willing to show you hoping their assessment
goes down”. I just spoke to him this afternoon.

“I think these numbers that you are being sold on or told to vote on are not accurate, we are just not
going to get that data. The law says we don’t have to allow entry. I wrote a statement in here that List &
Measure Initiatives are obsolete and should not be funded in Nashua any longer. Jan wanted to know
why, because one – you are not required to give entry. And two – what we know right now definitively
is that 100% of the people can say “no”. That’s for sure, we know they can.”

President Wilshire “Ms. Ortolano, we have 6 other speakers and we have 6 minutes left to our Public
Comment.”

Ms. Ortolano “It is an important topic Chairwoman and it is really important so I’ll be quick. The
technical data capture is a big issue in the office. We are getting a review done, we don’t have any of the
information back. We have ongoing investigations, Drummond & Woodsum was hired to review
mileage logs of Greg Turgiss. We don’t have any data on that. The Board filed a motion, Steve Bolton
filed a motion up at the BTLA expanding it appears the scope of work has been expanded into a
management investigation. We don’t have any information on that yet. The DRA is conducting an
investigation based on the PA71’s. We don’t have information on that. The City is investigating the $24
million dollar assessment reduction made by an assessor on October 10th. We don’t have any
information on why $24 million was cut off the assessment records and we should. The BTLA just
concluded a Hearing and will make a ruling in the near future.

“The final point is the breach of contract with KRT. There is and somebody else is going to speak to this,
there is serious evidence that this contract was not followed and the data used to generate the model
was not verified. That was a very big cost for our contract, six figures. This City should be going after
KRT to get that money back. The entry into homes, there was no addendum signed by the Mayor or
anyone else that authorized them not to gather the data. So that’s a huge issue. Thank you.”

1:37:20

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. There were some things Ms. Kleiner said that were
disappointing to hear. For me as a taxpayer, the quality of the Assessing staff is an issue and I don’t
understand why we haven’t been able to conclude an investigation with an Assessor who did not do his
job for the month of April, did not go out and inspect properties, is a confessed sex addict, has a number
of issues and we accept that. And that’s a problem for me.”

President Wilshire “The problem here is I don’t think we need to be saying that about people in the
City.”

Ms. Ortolano “I’m only saying what he said. Ok?”

President Wilshire “It is not acceptable in our Chamber, thank you.”

Ms. Ortolano “Ok fine, that’s fine for you but you’re sitting up there and I am the taxpayer and this is the
person you have working in the office. And I notice that he came out tonight to sit with the crew. I notice
Ms. Walley isn’t here. She wasn’t invited. I’d like to know why somebody so valued isn’t here? I’d like to
understand that. But that’s a disappointment. I’d like to share something with you that I shared up at


                                                                                                         87

                                                                                          NPD-LO-3785
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 88 of 424



the BTLA and as you know I had a big concern with permit data and also EYB. Let’s talk about EYB,
Effective Year Build. This was a big issue from the very first day you came out in September and talked
about the KRT meetings that were being set up. I think it was Mary Ann who talked about her District,
having concerns with EYB, The Mayor spoke about it. I started focusing on Effective Year Build as a
concern and I couldn’t get anyone in the Assessing Office to validate it. They wouldn’t speak with me,
they wouldn’t meet with me, they wouldn’t talk to us, they rejected any attempt we had for a meeting
even though we met with neighbors and we couldn’t get any confirmation.

“Over the last couple of months investigating and digging deep and looking into records, I found a set of
notes that was a meeting with KRT on 10/11/18. It was about five days after I had a phone call with Rob
Tozier about my property and EYB and I was trying to figure out why they never came back and did an
inspection. We went to the Hearing on September 6th and no one showed up. On August 5th I called
KRT in Haverhill and I said, “Why didn’t you come” and that’s when I learned that they were told by John
Duhamel we wouldn’t let them in which was not true. But after that, he went and had a meeting with
the Board of Assessors where only one Board Member was there and Ms. Walley was asked to take
notes. At that meeting it said, in the record, KRT discovered that the Effective Year Build was being used
to increase depreciation. This is an ineffective measure for anything that has maintenance issues or
anything that is old. This issue really affects older homes. KRT found a lot of stuff that was old, 69, 84,
89, 94 inconsistent and they started to use the condition in conjunction with EYB.

“For example, a restored home is not in average condition; it is in better condition that average. About
half the properties need to be reset. If one property has an Effective Year Build adjusted and the other
property next door is identical and doesn’t have that adjustment it will result in assessments that are
not fair and equitable. EYB is a very subjective field. If an EYB was last updated in 1991 with the last full
List & Measure, that would be skewing that assessments. Rob said there are really only 3 fields that are
subjective: grade, condition and EYB, everything else is black and white. The neighborhood codes are
somewhat objective but not tremendously. That is an interesting statement in set of minutes because I
was struggling so much to understand why this EYB was throwing me off in my neighborhood to the
point where I paid the $55.00 to get all the cards and put the data together to realize that most of the
homes were 1955, 1960 and we were slammed up to 1995. No one, including Dan Hansberry, who is
now the Chair of the Board who was sitting in this meeting would tell me that this discussion took place;
that this was a legitimate issue, that I was seeing a problem. It affects about half the older homes, that’s
a big issue and I feel like the City withheld information from me.

“Also in the same meeting, Rob said that there was a serious problem with implementing the income
approach. The income approach was all set up and then John recalculated wiping out all the income
information, we lost it all. Rob said this happened “late in the game”. So he called Patriot and they said
it is probably because we were in the analysis database and that was not stable. Rob believes that
explanation was just a cop out. Patriot was surprised that we did the entire update in the analysis data
base but Rob said it should have been able to handle it. He was asked if there was going to be a problem
when an abatement is filed and we need to defend the income approach. He said it would have to be set
up again on that account. He said that Ken is really the person to explain how it was set up. At the
meeting by the Board of Assessors on October 18th it was Dan Hansberry who said “I’m really concerned,
we have to reinvent the wheel and create all this data all over again”. And they never discussed it again.
And the BTLA brought up the issue of this data. To me it is really questionable whether all this data got

                                                                                                          88

                                                                                           NPD-LO-3786
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 89 of 424



recreated. Nobody ever really looked at that except to say “John said it was done”. He lost it all and then
it’s all done. We should be looking at that. I really think Cornell, David Cornell should be looking at that
income data to find out if the commercial properties were re-established correctly.

“But this is some of the public issues with perceptions and clarity and truthfulness and trust with this
department, you know? I have opened my house for 35 years, we have always let assessors in. I will
never open my door again in Nashua. That ship has sailed and I will tell anyone, don’t open your door.
Because I have looked at a lot of data and it pays not to open your door. And I hope all of you Aldermen
here and the Mayor and the people sitting in this Chamber set the example and are the first ones to open
your door and let these assessors in to re-evaluate your property and set the data straight. Thank you.”



Board of Assessors August 29, 2019

https://www.youtube.com/watch?v=ZK3joH1zEFk

20:18

Ms. Ortolano “Laurie Ortolano, 41 Berkeley Street, thank you. I want to start off by thanking Ms. Kleiner
for making the new manual available at the assessing desk. Hearing that it’s going to be a fluid
document will afford those of us in the public interest in following along with the process and the
opportunity to do so, that’s appreciated. I’d like to briefly speak to the abatement we just listened to
that was approved. I think it was very well done. I think it really speaks to some of the issues with the
KRT abatement. I’m very happy, Bob, that you asked what were the changes made that you identified
and what value did it bring it to. It brought it to the $375,000 and yet they proceeded to use the sales
grid which took it lower it with equalization and KRT was not willing to do that for us. They took it down
through way of sales grid that took it to $622,000, questionably had a home on the sales grid at 4 Elliott
because it wasn’t a good comp. I asked them to use a better comp and they wouldn’t. Then they
proceeded to say that we weren’t worthy of the equalized value of the $50,000 difference really didn’t
make a difference because it fell within the 10%. I think it was a really poor job and I wished we had the
opportunity to negotiate with the city the way Mr. Duran had. I think he had that opportunity because
he’s a lawyer and it was easy to get it done but our garage was also in very poor shape. That’s why Greg
came out. He reduced our garage and that was a $5,000 change, as well as water in the basement was
$7,000. That was an amazing discussion on what they found in that home and I don’t know if any of you
looked at 1 Massasoit that sold on that street at the same time that property sold. Had you looked at
that the difference in the properties were startling and yet the assessments were too close and 1
Massasoit after purchase pulled a $90,000 permit for a significant increase in the square footage and
home improvements. One house was virtually 400, the other was 500 and the difference was night and
day. It concerns me that KRT didn’t recognize that with a sales point right on the street.”

Mr. Earley “Excuse me Laurie, do you know how much land 1 Massasoit has?”

Ms. Ortolano “I think it’s a little bigger. That street up there is off Indian Rock all the parcels are all large.
I think the one that was Mr. Duran’s property was 1.1 or 1.2 acres and I believe the other one on
Massasoit is almost identical.”

Mr. Earley “This one is almost 2 acres.”


                                                                                                               89

                                                                                               NPD-LO-3787
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 90 of 424



Ms. Ortolano “Ok, then his was 1.6 but on the value, Bob, when you look at the land curve value, the
difference in pricing makes no difference on that land curve value that KRT used in this statistical model.
There’s that original size difference that peaks a value and it takes off the curve in an expediential
format and you don’t see much difference. It levels off actually and you don’t see much difference. The
land value is not the issue. I did look at that. I want to talk to you just briefly about the contract we had
with KRT on the statistical analysis because that issue came up at the State. I have looked very closely at
that contract now. What came up at the state, it was questioned by, I believe by Ms. Walker was on the
capturing of sold properties. Who did the inspections of the sold properties? I don’t have the verbatim
words, I don’t know if there is a record being converted and I haven’t listened to the tape again. It was
indicated by KRT that the city primarily did that function, that they were instructed that they didn’t have
to do that. I don’t know if KRT indicated that they did any, I’m not positive of that but I feel pretty
strongly looking at this report that we did not get contract compliance here and we paid a lot for it.
Specifically, their duties were to conduct sales surveys and establish base rates for buildings and land. I
don’t know if the sales surveys were done but that we could figure out when I get the KRT data. Prepare
sales surveys so preparation of the sales surveys to bring out to homes commercial and residential was
their job. If they are saying it was turned over to the city. I want you to know I went into the city to get
the letters that were sent out to buyers, sellers and brokers and in the end there were none. We did not
do that part. Laura and I have pulled up 500 of the roughly 1,200 homes to review each one individually.
Cross reference them with MLS and look for letters. I know in the 150 I’m done with I believe I found
one property that was given a letter by Mike Mandile. Letters in that process of trying to gather data on
what went on with these sales properties was just not done. I’ll check the property file on that one to
see if a letter is in there and if letters make their way into the files. I think out of 500 properties, right
now we are looking at maybe 5 that got letters. Assist the municipality to ensure that compliance with
the contract is adhered to and submit assigned and date statement to the DRA attesting to the
qualifications of all the levels all the certifications to be true accurate and correct. I don’t see how they
assisted us with compliance because a lot of parts of this are missed. For contract submittal they were
supposed to give a list of the qualified DRA personnel to the State and to the City who are working on
the job. One name that was appearing on the sales review listing on the property cards was the name K.
Leen. That person is not on the list to be used by DRA to do the job. They are not on KRT’s website as a
staff member. I have an email up with the state to ask who they are, where they came from and what
their certification is. I don’t know who that is, we can’t verify that. Then it says assessments of all
properties the company shall list and verify all sales. We’ve already discussed that they have said that
somebody told them they didn’t have to do that but when you’re in a contract and you’re doing a half a
million dollar contract, there should have been an addendum or sign off this was not being done by KRT.
No doubt this was built into the cost of the project and there’s no question in my mind that sales
verification was a significant part of the cost because it takes a lot of time to go to 1,200 homes and
verify the data. That’s pretty significant. The completion of the work according to the contract says
                                                                                           st
everything will be turned over to the city including the CAMA model on October 1 . There’s been a
                                                                              th
question regarding the $24,000,000 that was adjusted on October 10 and who made these
                                                                                                   th
adjustments and was KRT involved. I’ll discuss in a moment what was said at the August 13 meeting.
It appears to me, unless it’s written somewhere that the system was turned over and the city took
                                     st
control of the data by October 1 and changes made after that were city changes. My observation are


                                                                                                           90

                                                                                            NPD-LO-3788
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 91 of 424



                                                                    th     th
those properties that have identified as questions on the 8th, 9 & 10 were solely done by the city.
That’s all I know because that’s all the documentation shows on some of the cards and once again the
documentation was never complete. It makes it very hard to have an audit trail. It does say that KRT will
provide the municipality, delivered at the end of the project with property cards and a hard copy of
electronic or both, the data collection manual and all other products deemed necessary by the municipal
assessing officials. This was the information I requested for, around the middle of August to look at that
data that was returned. I might find some interesting information regarding properties of interest. I did
not know until the Telegraph was called in to run an article, that, that request resulted in 31,000 pages
of documentation. It’s regrettable that the city did not let me know that before doing a photo op.
Because I’m willing to meet with Celia, I have not had a response to being willing to meet with her and
talk about what to take from there, what’s in there. I’ve called the state and asked them for help on it. It
looks to me like, if they returned a property card, if there was a property card printed for every property
then roughly 29,000 pages of that are property cards that are returned. That gives you a little
perspective of what I was asking for. I’m figuring it out by talking to KRT again personnel is highlighted
again and that it’s approved officials, certified DRA and we have somebody we don’t know. I’m not
certain they met the obligation to keep somebody on site in Nashua for 75% of the time. Again, it
highlights the details that the company shall visit each commercial industrial and residential property
sold between April 1, 2017 to March 31st to verify existing data and conditions of the sale. The
company shall make an attempt to inspect the property. If unsuccessful, leave notification requesting
that they call or deliver a letter. They are to arrange interior inspections to estimate the value of
improvements using the best evidence available. It looks to me like the evidence, the best evidence that
was used by the city was the MLS listings but I’m going to tell you when I complete that spreadsheet of
500, there was a lot of missed information when you cross reference. There’s a lot of missed
information. The other thing is that the company shall provide the city a complete copy of the field data
collection cards worksheets and documents. This is noted repeatedly in the contract. The other thing is
the city was, KRT was responsible for photographing all the principal buildings and photographing all the
sales properties if they were significant changes in them. I can tell you looking at the 500 property cards,
that probably 475 have no photo on the property card at all. I know the 150 I just completed, I think, only
3 had photographs. I can’t speak for Laura’s exactly but I know it’s very low. They never took pictures.
They never put them on the card and this was a question of mine. I kept looking at files, I’ve looked at a
lot of them. Why don’t we update photos when we go out, why don’t we get the photos and update
them? I can tell you has a resident who looks at them, it’s really helpful to have the photo because you
may have the idea in your mind of what the property is but not know the address. When you bring
something up, you can say oh yeah, that’s the property I’m looking for. They did not do that. It said the
city will provide all the company a copy of all property transfers for a minimum of two years preceding
the effective reevaluation date of April 1, 2018. That’s really interesting to me because I wondered how
they look at sales and transfers of properties that happened before the one year time frame that they
used to create their model. I can tell you the sale of our home in 2013, in December, after reevaluation
was done, it didn’t have any impact on the neighborhood. It was never used in a model, it was never
considered and it didn’t affect the sale price because we bought it pretty substantially inflated value.
What happens to these sold homes like the Corzini’s in 2016. Their data should have been in here to say
ok, they went up, and they went up again and we took them to the very top. What about the other
properties next to them. They were never adjusted. I don’t believe, I want to see the data that we
provided for these property transfers and most likely that would be in the box.”

                                                                                                         91

                                                                                          NPD-LO-3789
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 92 of 424



Mr. Hansberry “Just a couple more minutes, okay.”

Ms. Ortolano “Yes. A compilation of unqualified property transfers with the appropriate notation. I don’t
know if KRT produced that data. The market analysis used to indicate unit values with the
documentation of the methods employed and any special adjustment factors, that was to be provided
under the analysis section. The field review, the 100% property field review parcel by parcel we believe
was the drive by. The company was supposed to ensure that all properties are valued at their highest
and best use values. Any supporting documents provided or utilized by the company in the process,
rental expense statements, questionnaires, company cost estimates, sales listing sheets, finally view
notes, shall be relinquished to and become part of the municipality, that would be in the data. Here’s
where the company shall update the existing digital image files by taking new photos of each improved
property. They should be at least 6 mega pixels and shot from the street. We didn’t get that. The
building cost tables were supposed to be adjusted by KRT and there’s a long section on that but justified.
So we have a building cost issue with building code. We have a base rate table issue with building code
72. That box should tell us the justification was for that data. Okay, this is a big one for me.”

Mr. Hansberry “I’m going to ask you to wrap up Ms. Orotlano.”

Ms. Ortolano “Sure, could I ask you if you would consider holding a workshop for the public so we could
speak to you about some of these issues without having our 15-minute timeframe? You sat up at the
DRA, or Bob did. There’s a lot of issues on the table. I brought forth a lot of documentation that I wasn’t
able to get answered down here. We’re putting together the whole sales report for the state because I
can’t give it to you. It would be helpful if you would consider having a hearing with the public and I know
I could get about 10 or 12 people out here that would speak to you about some of these specific issues. I
think it would be worthwhile. This is really important and I would like to request, this one I’ll just speak
to. The final values for the assessments for the reevaluation numbers were supposed to be posted on
the company website. They never produced final values. That has bothered me tremendously. I am
shocked that a appraisal company wouldn’t want to control or know what their valuations were. The
website posted the numbers at the beginning of September, on the first cut but then they held all those
meetings where people could have second reviews and values were changed. I kept going back to that
website to look at what changes were made and they weren’t. I spoke to Kim Kleiner repeatedly about
how can I figure out what the final numbers are because I was trying to understand what happened in
May when I discovered the $24,000,000 reduction. What were KRT’s final numbers and the only way
that I could figure out how to do that was to put in a right-to-know for 1,252 mailings that went out after
the second review and make an excel spreadsheet of all of those files, which Laura and I did, and
marked put in all the data to see what the changes were. We had now, we feel we have a complete
database. Those changes to the thirteen cards were not in there. That is a very big issue to me. The
other one is the informal reviews.”

Mr. Hansberry “Ms. Ortolano. Thank you very much.”

Ms. Ortolano “Yes, I hope you will consider my request to set up a hearing for us. Thank you.”



Board of Assessors September 19, 2019

https://www.youtube.com/watch?v=EZzC4jyL9gU

                                                                                                         92

                                                                                          NPD-LO-3790
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 93 of 424



8:27

Mrs. Ortolano “Laurie Ortolano, 41 Berkeley St. I’m just going to read a write up I have on the procedure
manual and I put it in writing to give it to you so you can have it verbatim for the minutes and I’ll send
you the file to copy and paste. This is written to Ms. Kleiner because she worked on this manual with her
staff. I would like to read into the record my first thoughts regarding the Revised Manual presented to
the Board at the prior meeting. I what to thank you and the staff and I appreciate all the hard work done
by the staff and you to bring this manual to the Board and public. No doubt it involved much effort.

“In the article in the Telegraph, August 20, 2019 “City Completes New Assessing Manuals”, you
mentioned that input from the public had been incorporated into the policy manual. “Kleiner contends
the public has already had a chance to give input into the manual, citing the manual addresses many of
the concerns brought forth by Ortolano and others.” That was encouraging.

“Unfortunately, when I reviewed the manual, it would appear my input was neither addressed and/or
was disregarded, so it has left me a little confused. Here is what transparency means to me, in very
simply terms; “Sharing” suggestions is great but only if your certain they are heard and acted upon
(accepted or not). I want to know my suggestions are heard; however, I am equally interested in a dialog
and listening to the Board and/or Administration discuss the recommendations brought forth by the
public so we understand what the Departments rationale is in the adoption of these procedures and
policies. A one way street with no communication fall short for transparency. When I ask questions, I
may or may not receive acknowledge that the issues will be looked at but I will rarely get any
information when that will take place and if it happened. If I check up 3 or 6 months later, I am scolded
for “not letting you do your job.” How does one follow up and why is it unreasonable to expect a
response?

“Your Policy manual section, “Public Relations in the Assessor’s Office”, reads “Nothing is more
frustrating to the taxpayer with a question than to be unable to reach the assessor. Good intentions,
assessment knowledge and public relations techniques will be of little use if the public cannot reach the
assessor. Substitute assessing manager for the assessor and the same can be said. As you all know, Ms.
Kleiner, your shut down of communication from myself to the Assessors was quite frustrating for me, as
you are well aware.

“The Disclaimer on the front of the Manual doesn’t need to be there and is confusing to members of the
public. Is it public information or is it not? I don’t know understand what the commercial purpose of the
disclaimer is. What would a violation of this disclaimer? How does restricting copying (or allowing all
public members to copy) ensure that the manual is not misrepresented? I was hoping to see the new
agenda for the Board of Assessors meeting would contain a line item for policy/procedure manual
review. Given the mission statement of the Board, this document should be a regular topic of discussion
over a period of time to work through the information in it. It would seem to me that at each meeting,
the Chair would define the section to be review for discussion at the next meeting and take a systematic
approach to the manual review. This manual is great learning tool for the Board. I communicated with
you the need to put headers on these documents that would have titles, dates, revisions, signatures and
page numbers. This is standard procedure for creating documents that will serve as policy, procedure, or
regulations. It appears that was not done. Why? Additionally, I sent an email after the last Board
meeting, August 29, asking if you would be willing to put any revisions to the manual in the Board
packets. I did not receive an answer. Why? The public would otherwise have no idea when changes are

                                                                                                       93

                                                                                        NPD-LO-3791
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 94 of 424



being made. Without headers, dates, revisions, signatures and page numbers, there is no way to track
how modifications are being done and when. Is this an intentional decision? I asked about documenting
abatements on property cards, in April, so residents would understand “larger” changes that can appear
on some cards. I asked this because I was going into property card data on the computer and when I
would see this big undocumented change, I would take staff time to have them pull the file. I would then
realize that it was just an abatement. The response I received initially was – I’ll look into this right away.
This is not documented in the manual I’m not sure why. I followed up in June and received a poor
response with the recommendation that “I let you do your jobs.” It’s been 6 months, and I am
wondering if and how you plan on documenting abatements. I noticed in Haverhill MA where Patriot is
used, they document abatements in the Notes section of the Previous Assessment area. I like this
location a lot because it is right next to the assessment value and you don’t have to search for it. It
makes perfect sense. Abatements were documented in the past on property cards, but for some
reasons, the Assessor’s got away from it. I discussed with you the new policy written for notifying
property owners if their assessment has increased due to a sale. The Department based the increase for
notifying the property owner on a fixed number ($20,000 or higher). I was concerned that this was hard
on the lower income people with lower property values and they would experience more hardship in
making the increased tax payments. It would be more difficult on seniors on fixed income. Why did the
department not change to a percent increase rather than a dollar amount? Where is the procedure for
rating the condition of baths and kitchens? This has been a big issue that has been addressed repeatedly
for months now. There is no consistency or understanding on how these ratings are being applied. I
addressed this issue at a Board meeting in November of 2018. I would like to see the procedure so that
when I am reviewing property cards, I understand the ratings given to kitchens & baths and other
fixtures. If it is not part of this manual, why wouldn’t you communicate with me a provide me with a
separate copy? Additionally, the Telegraph article stated, “there are policies for updating a property
card, how you look at grade and condition, what constitutes fair or poor, and that’s very important that
we get all our assessors looking at the properties the same way.” None of that’s in the manual. I
addressed my concerns about the Nashua abatement form not containing the same information as the
state form over the winter. I took this complaint to the state, the DRA and the BTLA. In the section on
abatements, the abatement form in the book still does not have the information regarding the use of
the ratio that is found on the State form. I feel strongly, that the Nashua form should have the same
information on the state form. Why did we delete it and why does the City not support this? Section 2,
Understanding Your Property Record Card – I have observed that the Residential Grid section of the
property card does not appear to show the total bathroom count. I have noticed this on many property
cards. It is labelled as section 41 on the sample property card in the manual. Why is this? Section 11 –
Bathroom/Total Room/Kitchens is not on page 32 of the manual as indicated in the table of contents. I
was interested in this section because I was looking for the rating system that you put on kitchens and
baths for quality. Also, Appendix A-D listed in the table of contents are not in this section. Additionally,
pages 27-28 appear to be missing for EYB, grade and condition and the depreciation section, page 33 is
missing. Why? Section 15 – Procedure for MLS. There should be an explanation of how an MLS review is
documented on the property card. I have found many cards that have inconsistent documentation for
sales reviews. In my opinion, it should always be documented in the Activity Information section of the
card. Assessors are not documenting it here consistently. So, when you check a card for MLS review, you
must check the Comments section and see if there is an MLS write-up. If there isn’t then you have to
check if there is an “8” in the verify column of the Sales Information section on the card. Is there a table


                                                                                                           94

                                                                                            NPD-LO-3792
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 95 of 424



that explains the numbers in the verify column and their meaning? Additionally, the comment section
should contain a note that says “no changes made based on MLS review.” Why? So we are certain that
the Assessor didn’t just skip it or not capture the information. The MLS review section should also have a
tie to the notification to building permits for possible code violations. Section 17 – Review of Sales. In
the Sales Qualification letter, questions 16 and 17 concern me because they are subjective. What is the
purpose of these questions? Section 19 – Possible work done without Permits. This procedure was
generated August 12, 2010 to formalize this issue. It states that there is an Assessing and Community
Development folder on the S drive that contains a spreadsheet of potential permit violations. Have you
looked at this? Could you provide me with a copy of this spreadsheet? I am concerned we are not
communicating concerns with the other departments. In the next section, in the Administrative Staff
Procedure Manual. This section of the manual concerns me. The Management Audit Report addresses
significant deficiencies in the management of the Assessing office. Yet, this section of the manual, does
not include any job functions and oversight descriptions for the Manager or Chief of Assessing. These
procedures and regulation should be written. What are the oversight reports to be generated? What is
the process for checking work product and quality? Do we have a job description for the Manager of
Assessing? What role do they play in data management? There should be procedures that show what
the manager is doing to ensure the required state forms and the paperwork are meeting regulations. I
don’t see anything in the manual that would quality check the sales and permit data. Who is overseeing
the data and checking and verifying the changes? Do you recognize that the Assessing department is
falling short in capturing sales and permit data and has struggled for years? If you believe that the
capture of this data is problematic, why wasn’t a procedure written to audit the capture rate of this
data? I don’t see any procedures whereby the Administration would be running audit reports to check
the work product of each assessor. What reports will be run to ensure updating of the property cards is
happening with quality and consistency? Who is checking the work of the Assessor’s and what is the
procedure for these checks? The department now schedules their field appointments. Who is ensuring
that the data is being captured correctly on the cards?

“The Data Entry section of the Manual has Gary as the entry person for the data. I think it should be
both Gary and Mike. Mike’s name is on a lot of the work. For New Accounts being added to the system,
is there a yearly report being produced for new accounts? Chapter 16, Printing Sales Reports. There is a
sales report you can print that has year built. Would this be useful for the Assessor’s to check EYB and
Condition? Is there an incident reporting system for Patriot software problems when they arise? This
incident report, hopefully would be become a discussion point at staff meetings. Technical software
issues are real and are occurring with regularity. A documentation system for this technical problem is
important especially since there is no Chief in the Department and a Manager is not located down there
permanently. Do we maintain a support contract with Patriot so when technical problem arise the staff
they can contact Patriot directly? Who is authorized to call Patriot with technical questions? Assessors
send out letters to homeowner when their property values are changed that states, based on our
ongoing continued analysis. What does a sales analysis involve? This is a question I’ve raised repeatedly
and I was hoping that the manual would address the process for this analysis.

“I noticed a procedure in place for the Assessing office to work with Building permit office for
notification when permits are not pulled. This is based on the Assessors performing MLS reviews. My
observation is this is not happening. I think of the Corazzini property and the building department did
not contact them when they moved in. I think of my property that might of fallen under this issue with

                                                                                                       95

                                                                                        NPD-LO-3793
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 96 of 424



the kitchen renovations and the upstairs bath. No one contacted me from the building department. We
both attended the NH State Statues I class. The instructors told us that a great deal of property
corrections come from neighbors telling on other neighbors. What does Nashua do when a taxpayer
identifies an issue with their property based on their neighbor’s property? I know that when I reviewed
Berkeley Street properties with an Assessor and saw that a permit was not captured for A/C, the
assessor was willing to recognize that they missed it, but they never corrected it. Is there a procedure
whereby a customer complaint regarding an inequitable neighborhood assessment is documented and
responded to? How is EYB being addressed now and what is the standard for making corrections. As we
all know, this is a huge issue. KRT wrote a document on how to handle data corrections going forward
after the 2012 reevaluation. It was in the old manual. I have a copy of it from several months ago. It is
not in this manual. Why was it removed and are we using this document? I absolutely expected a
document in that manual addressing EYB, condition and grade. The Assessors were working on a view
factor procedure. Did this take place and how is view factor rated for consistency on property cards?

“It is my hope that you are sincere in your statements to the Telegraph to accept public input and
incorporate those suggestions into the document. If you require any clarification or need more
information, please feel free to contact me.

“A Disclaimer I would like to read: I am well aware that questions raised in this review do not fall under a
document request, and therefore the legal interpretation of RSA 91-A would leave all of these questions
unanswered. If the Board and Administration are unable or unwilling to respond, a simple response
informing me of that will do. Thank you.”

Mr. Hansberry “Mrs. Ortolano?”

Ms. Ortolano “Yeah.”

Mr. Hansberry “I have a question for you. So you’re saying, if I heard you correctly, that there are
references made in the manual and then when you look for certain items they’re not there, is that
correct?”

Ms. Ortolano “I gave Bob the pages, pages 27 & 28 are missing and I showed Amanda this morning. I’ve
been in there 4 days Dan, and I was racking my brain out thinking this is the most important stuff to me,
am I just losing it? So I scanned the entire document yesterday with my phone scanner and then last
night I went through it and the pages aren’t there and then I said ok did I just make a mistake, so I came
in early and I went down; 27 & 28 on whatever I gave Bob. What was it?”

Mr. Earley “Pages 27 & 28 missing from the manual chapter 11; page 32 is missing kitchens and baths
section.”

Ms. Ortolano “It’s in there but the topic isn’t in there and page 33, 34 on depreciation so EYB is 27 to 28,
EYB condition grade are missing, 33, 34 topic of depreciation missing, ratings for bathrooms and
kitchens missing. Those are all really big things for me, and the telegraph was told it’s all there. So I’m
looking for that, so yes I’m telling you it’s not in there. And I didn’t ask the question down there because
every time I ask a question, it becomes a right to know request so I kept my mouth shut. But if you can
figure out how to get me that information, I’d love to see it.”

Mr. Hansberry “Alright. Thank you very much.”


                                                                                                         96

                                                                                          NPD-LO-3794
          Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 97 of 424



Ms. Ortolano “And I’m just going to submit this so you have the write up because I read off of this and
I’m going send you the file so you don’t have to type it all.”



Board of Aldermen Tuesday, September 24, 2019

https://www.youtube.com/watch?v=6dgFjzHJR4Y

1:39:43

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just wanted to address a couple of things. The new
Assessing Manual and procedures was released at the Board of Assessor’s meeting on the 29th of
August. That was of pretty big interest to me and a few other people based on a lot of the concerns that
we had and what we were looking for. I was excited, the newspaper was there, they covered an article,
they asked for comments and you know Ms. Kleiner had said that the concerns of the public were
addressed. Any concerns brought forth citing the manual addresses many of the concerns brought forth
by Ortolano and others. They are all addressing concerns that the public brought to us so it’s not like
they haven’t had any input because they have. We listened to those concerns and we constructed the
procedures. These are policies on updating a property record card, how you look at grade and condition,
what constitutes fair and poor and that’s very important that we get all our assessors looking at
properties the same way.

“When she presented the Board with the book she said that they welcomed any questions and I want to
make certain I have the words correct, that she was presenting them with the new procedural manual.
And inside you would find it divided into two sections. I took the time, a week after it was released, it
was put down in the Assessing Office to view and I took the time to go down there, I spent about 2, 2 ½
hours down there reviewing the manual and I typed up a paper on it, on what I thought was missing and
what areas thought might have some weaknesses. But what shocked me is that any of the concerns I
raised, and I mean I know I am not liked, but there was nothing in there, absolutely nothing for the
concerns that I addressed. I mean I really think there was nothing.

“Policy hearings, one of the things I had asked about months ago, was well if you are going to write
these policies the old manual had no headings, no revisions, no dates, no page numbers. If you are doing
Policies & Procedures you want to have revisions and some way of tracking when they were activated
and what their standing is. So this new manual comes out, there’s none of that. The Condition and the
Grade Issues were not in the book, I started getting very confused. The EYB was not in the book. The
other one was the Ratings on Kitchens & Baths; when we had talked last November, how do we look at
fixtures, how do we look at something that is good, average, fair, excellent. What are the qualities of a
bathroom and kitchen that would give those ratings and that is independent of an upgrade for
AssessPro5. That’s just how the Assessor is looking at this stuff; that wasn’t in there.

“Documenting abatements and how we would document abatements on property files; that wasn’t in
there. The percentage increase concern I had, the increase on properties when we would send a letter
home, I did address that I was concerned about using a fixed number because lower income people are
hit harder. A $200,000.00 home is experiencing a 10% increase to have a letter delivered and a
$600,000.00 home is only experiencing a 3% increase and they get a letter. And for people at lower
income notifying them earlier or based on a percentage might be better financially for them. And EYB

                                                                                                          97

                                                                                        NPD-LO-3795
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 98 of 424



and Grade; so I was shocked and I was struggling down there. I was struggling with the manual because I
couldn’t find these things. I kept thinking I was missing them, so I went Friday, I went Tuesday,
Wednesday, Thursday morning before the Board of Assessor’s meeting I went in for 2 minutes and I
asked for the manual. And I stood at the counter and I looked and I realized pages were missing, were
missing little segments of pages are not in the book and they are not in the index; the EYB, the Grade &
Condition, the Bathroom, Total Rooms & Kitchens. Those sections were all missing. I said to the woman
at the counter, I said, “All these pages are missing”. “What?” I said, “There are no pages so all the
information I’ve been looking for isn’t here”. She was shocked and she looked at me and said, “I don’t
know why”. She walked back to an assessor and she said, “All these pages aren’t in the book” and the
Assessor went “Hmmm”.

“I come out tonight and I hear Ms. Kleiner mention you know EYB and Condition and stuff are going to
be addressed with AssessPro5. I don’t understand why the Board wasn’t told that and the Board was
presented with this manual as if it was a complete manual. I don’t have any way as a citizen to go and
ask them, “where’s the stuff” because for me it becomes a Right To Know Request. It goes up to Legal, it
could spend 4 weeks up there, it can get denied because it’s not a document request. This one would be
provide me with the documents. As a matter of fact I wrote 2 Right to Know’s before coming out here;
one to the Board of Assessors and one to Kim Kleiner for all of this missing documentation, because I
have no way of getting it. I can’t ask a question at the desk because they wouldn’t tell me the answer
anyway.

“But it is just disappointing that you do all of this work and you wait so long and somebody who in
charge of the office goes to the press and says, “All of this is in there, we’ve looked at grade and
condition and what constitutes fair and poor, it’s all in there”. And I’m digging around and I can’t find
any of it. I feel that’s not transparency, that just isn’t transparency for me; that’s shutting the public out,
making us run through hoops, making me work extra hard to try and figure it out. I know that she really
dislikes the public, because in her thanks in the end, there was no recognition of the work that the
public has done to try to help with what’s gone on in Assessing.

“And that happened every presentation she has given. She has thanked the City but never the public
and that just shows a very strong dislike and I’m not the only one. She mentioned she took input from
other people, I don’t know if she incorporated theirs, but she’s not overly appreciative of any input.

“On a second note, at the prior meeting on August 13th, Ms. Kleiner got up and spoke about
investigations that have been going on. She mentioned, because I submitted a letter, that there was
concern on my part studying what happened in an audit report to $24 million dollars that was reduced
from 12 properties. She said during the 2018 update it was determined that the base rate for school
colleges, what we call Assessing Code 72 was incorrect. Correcting the table for Code 72 resulted in the
bulk of a $24 million dollar adjustment that you keep hearing about. This has been verified by KRT. I am
not certain how much you’ve all heard about the $24 million dollar adjustment. What happened, and
this was the launching of Right to Know requests. I requested an audit report and in that audit report I
discovered that one assessor, two days before the MS1 was going out, made a $24 million dollar
adjustment to 12 properties. It was unprecedented; it was strange. I was really concerned because when
I tried to look on the property cards to understand what happened there wasn’t full documentation. I
did find that a Code 72 change was done on a few of them. All of those properties that were changed



                                                                                                            98

                                                                                             NPD-LO-3796
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 99 of 424



are not all tax paying properties, some were exempt, but some were tax paying properties and they got
massive reductions, massive.

“When she said that this has been verified by KRT, I don’t, now first of all, when this happened and was
discovered in I’m trying to think when, May – I wrote a letter to her. I said, “Have you looked at that
audit report you sent me, are you concerned by these reductions, do you understand why they are
done, would it be helpful to meet, could you offer any explanation”. I heard nothing. After 2 weeks I
wrote back again. I got a letter from Legal saying this didn’t meet the requirements of a document and
therefore your concerns wouldn’t be addressed. At that point I went to the Attorney General’s office
and several other citizens did and said, “We want to understand what happened with $24 million
dollars”. And we camped out with our concerns at the AG’s office and they pushed it down to Nashua
and they came to us and said, “You’ve got to bring it to your Nashua PD”. So the Nashua PD opened an
investigation into this $24 million dollars. When you hear that there is no investigation going on, there is
no further investigation of the $24 million you keep hearing about, to my knowledge there is an open
investigation about this. And it frustrates me that it had to go to that extreme, that we had to involve
the Nashua Police and the AG’s office.

“When I went and met with Mike Carignan, his comment to me was “Why didn’t they just answer your
questions, why didn’t they just answer you”. And I said, “Because they don’t, they don’t tell you why”. It
is even up at the DRA. You know, we as citizens should be able to question what happened to $24
million dollars and you know why did the reduction happen. This Code 72 change that she says was
verified by KRT what does that mean? You’re a lawyer, you’re a lawyer, we’ve got some lawyers in here?
Did they verify that the change was correct? Did they verify, yes a change was made? Did they verify yes
it was done by that Assessor? It doesn’t mean they approved it. I don’t know what that means.

“So you know it is enormously disappointing because I hear a lot of concerns from this Chamber on the
money I am wasting in this City looking at things like this. But I would waste so much less had there been
some communication. Our PD wouldn’t be involved with this; the AG wouldn’t have been involved, the
DRA wouldn’t be looking at this. The Right To Know’s wouldn’t be happening.”

President Wilshire “Ms. Ortolano, you have one minute left for our Public Comment Period, please.”

Ms. Ortolano “Yes I just wanted to make you all aware of this because I think it’s important. Thank you.”



Board of Assessors October 3, 2019

https://www.youtube.com/watch?v=YJHHiNo8TAU

4:25

Mrs. Ortolano “Good morning, thank you for the opportunity to speak with you. Just in this newsletter
that was just covered. It’s honestly a little disappointing to see that the manuals are being turned back
in so updated information can be provided. It would be helpful for the public to know what that
information is. I had made that request in writing to the administration and I spoke to you about it. I
don’t know why they just don’t give you the pages and say insert these in the book and replace these.
But also that’s the information I would like. I don’t want to have to go down there and take a scanned


                                                                                                         99

                                                                                          NPD-LO-3797
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 100 of 424



copy and match page for page to see what changed. It’s not transparent. So, I guess under right to know,
I’d like copies of all the changed documents, so that I’m aware of those.

“Secondly, we submitted a report, Laura Colquhoun and I, to the state regarding the verification of the
sales data used by KRT. And this is an issue that came up, I think you are aware Bob, at the BTLA hearing,
on what type of verification was done. Attorney Bolton explained to the BTLA that our staff handled the
sales verification. But I’ve been doing a lot of consolidating of my paper work and organizing some
things and I found an interesting set of minutes from January 3, 2019 where Mr. Hansberry is
questioning Greg Turgiss on the sales data. And he says, Mr. Hansberry asked if KRT got out and looked
at the properties and Mr. Turgiss stated that they may have gone out on some. Mr. Hansberry noted
that KRT reviewed sales going back one year for residential properties and two years for industrial
properties and asked how detailed was KRT’s review of these sales and to what depth was the analysis
done. Mr. Turgiss answered he was not directly involved with the analysis and he suggested that
question be directed to KRT. What I find interesting about this is if in fact we were the ones that did all
the detailed verification I would have expected Mr. Turgiss as the supervisor learning off this process to
have said, heck I’ve verified 50% of them myself, of those commercial properties, we did the detailed
analysis, that was on the city. But he was not aware of that and he was not aware of that because it was
not done by the city. And I’m surprised up at the hearing that Attorney Bolton hadn’t check with the
assessors to say what type of detailed analysis did you do? We were questioning a great deal. The public
was raising a lot of questions on the detail and the data. And what I keep finding in the city is no one is
willing to verify. So when we came back we took that sales data out of the USPAP and we took 800 and
roughly 40 properties and looked at those, there were about 1200. Ms. Colquhoun has just finished the
remainder of the batch for the DRA. But what we found in here is verification simply, any detailed
verification inspections of properties was not done. I’m going to say out of the 840 we looked at, I don’t
know, maybe 20, probably not even, there was an attempt to go out to the property or leave a card. The
rest of them they worked off MLS data and very inconsistently. And I’m going to tell you a year ago I
came to the Board of Aldermen and I said stop using MLS data to change properties and correct them,
because you’re not doing it equitably. You’re making some pay so much more than others. And what I
discovered in looking at 840 points is that’s very true. The properties that are being hit the hardest with
MLS corrections are the 1401, the single family homes. What you find is multi-unit properties 1402, 3, 4
and up, they don’t even look at those. Those properties, duplexes, 3 family, 4 unit, flats, those
properties are by in large not touched. If they are assessed at 240 and sell at 500, nobody does anything
with them, until you do a statistical update. And that is grossly unfair to the residential properties. And
so what we found is…here are our observations in a nut shell. The commercial properties were really not
MLS reviewed. And even though we have the Co-Star program, it doesn’t really look when we have a
commercial property sale that we are using that or that there’s evidence of that. The EYB and
depreciation issue described in the October 11, 2018 workshop, shows that out of 230…so what I did out
of those 840 properties is I took 230 of them and I went on the computer and I pulled up all the MLS
data on them. And I printed the colored pictures of what they looked like and I wanted to see how much
did those pictures match the property card. And there were a lot of errors; missed bathrooms, missed
basements but EYB adjustments just were not done. And it really seems like as they were verifying data
for 2017 and now I’m rolling into 2016, they almost didn’t want to make EYB changes. They didn’t mind
doing it in 2014 when they could take a home and try to bring it up to 1. But they’re really not using it.
And so that came out very clearly. Multi-family units 2 to 10 were largely not MLS reviewed. I’m not
going to say every one wasn’t because all is very definitive, but I going to say maybe I found 2 out of, you

                                                                                                        100

                                                                                          NPD-LO-3798
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 101 of 424



know, 50. Assessors are not sending letters and are ignoring this whole property group. They’re only
adjusted in the statistical review. Condos, detached, detached land, no land are not being reviewed and
upgraded when significant improvements are made. So that’s another whole segment of properties,
condos; they just don’t really look at them. They treat them as an insignificant group and they’re
ignored. Single family properties bore the brunt of the corrections and only a fraction of those were
adjusted for depreciation. Adjustments made for kitchen and bath improvements are totally inaccurate
and all over the map. The rating system remains a problem and was back then. Flooring improvements,
this is widely seen, they’ll write in the comment section that hardwood, you know first floor changed to
hardwood, 100% hardwood, 100% laminate, but when you look at the property card it still shows the
primary floor as carpet and when they will say we changed it to 50%, the percentage will be 5, 2, 5 is
very common. I don’t see on the property card where the date is getting changed. They’re not putting it
in and it’s not reflecting in the section of the card where it should be. The bulk of the field reviews are
done by Rob Tozier. One would expect that KRT would have been able to recognize the city did not do a
complete sales inspection, as they reviewed the data from the field and sales reviews; but they didn’t
comment on that. They didn’t push properties that were grossly off back to the city and say hey, you
missed something significant here. They didn’t leave, there was another very significant thing, KRT said,
you know, we saw something that looked unusual; we got out of the car and put a tag. We did not find a
single property that had a notation that KRT left a card at a door. Not one. Some sales didn’t appear to
be qualified; they snuck in there and shouldn’t have been in the data. Overall contract compliance
remains an issue. And then we gave a breakdown of what we saw. So our conclusion was how do you
trust a model that didn’t do a full analysis on the sales and what does that mean? That’s the question we
raised to the state. I know that they looked closely at this. I got a lot of communications with the DRA
last week, diving into this data, but I’d like to show you a few cards up here to show you what I looked
at. And this took a lot of time. I think I pulled 40 or 50 properties.

Ms. Cameron “Laurie, can you use the mic that’s right on the podium there? There should be a mic…
Thank you.”

Ms. Ortolano “Ok. You can hear me better? Ok. I pulled 40 or 50 properties and printed the pictures and
I stopped there because 1 it takes an enormous amount of time and 2 it’s really expensive to do these.
So if I look at a property like this, 101 Farley Rd. This was a very mismanaged property. They had a
permit pulled for 75,000 in 11 of 15, right after the house sold for 287,000 but they never caught that
permit. And then the house sold for 480,000, that’s because that permit was a total redo. And when you
look at the pictures, it was. So the house sold for 480 and KRT put it at 409. That’s a pretty big
discrepancy. For 2017 they left the EYB at 1983, which is way too low. KRT adjusted this one to 99 and I
would love to see the EYB changes that KRT made if that could be obtained in RTK. I’d like to know what
they switched for EYB’s. I’m finding cards they changed but not a lot. And they had to do it. And it’s
interesting, that even doing a change like this, they could not make this house come anywhere near the
sales value because the permit was never captured. New kitchen, granite, stainless steel appliances, LED
lighting, hardwood flooring, reno’d bathrooms, 2 car garage, new roofing, Harvey windows, bulkhead, all
new outside stairs, Trex decks, new landscaping and a redone barn. And the property looked like this
with a write up and it gave a very, this comes right off the write up. And when you start looking at the
pictures, you’re going to see, is this the right way? Yup, you going to see this is a very renovated house.
This kitchen is all brand new, marble or granite striped counter tops, redone bathrooms, hardwood
flooring throughout the whole house. I mean this is a very renovated property, not caught.

                                                                                                       101

                                                                                         NPD-LO-3799
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 102 of 424



“We go to the next card and I’ll show you. This is 101 Celeste St, no 10 excuse me, 10 Celeste St. The EYB
was supposed to change in 2006 to 1980 but the assessor marked it in the notes and never changed the
EYB. So this property never got adjusted 15 years ago. The house just sold in 19 for 290 it has no new
upgrades, it sits at 248. Because we never made the right correction in 2006.

“This is 5 Denton St. This is a fully renovated apartment building that they made a change to the EYB to
2010. That was a very aggressive change for a very old building. This building is a 1875. I actually look at
2010 as being very aggressive. And then you look at 17 Berkeley St that burnt to a shell in a fire and KRT
puts that EYB at 1994. How do you make those determinations? And what’s going on there?

“Look at this one. I tried to flag some cause I knew I wouldn’t have time to go through them all. 47 Robin
Hood Rd. This is a raised ranch and it’s marked with a basement and not a lower level. Here’s something
I was seeing a good bit. There’s a lot of basements on raised ranches that are marked basement and not
LLV. What I discovered, talking to people around the state, is that the 2005 update of the software,
AssessPro, of this city, 15 years ago, LLV was a newly added feature. And they never went back to all the
raised ranches, splits or the moderns, and changed basements to LLVs. So what you have is, I see
properties, right next to each other, 2 raised ranches that sold, I have them in here actually that I gave
to the state. One of them is marked with an LLV and has a per square footage rate of about 68 bucks,
one of them is paying for a basement with a per square footage rate of about 52. They’re not paying the
same rate because a basement is marked lower than an LLV. I don’t know if it’s because lower level
living for a split, they actually have windows that can serve as a fire egress, they’re more full windows
that are in the lower level so the value of the square footage is higher. It makes sense to me. But we’ve
never fixed out data in 15 years on these and that should be corrected before the new update comes in.

“This property 14 Dowd St. This is listed as a 1954 home. It’s got vinyl sided, newer windows MLS says
major upgrades over 15 years; roof, water heater, furnace, siding, electrical and updated baths. 1954 is
ridiculous and in 2014 when it sold for 177, they did not pick up anything in the assessment. It was
already above value but they never corrected the card. And that says it was qualified. And there’s
pictures on this one 14 Dowd St.

“7 Shingle Mill Dr. This one is an EYB of 1983. Has a new kitchen, granite, partially finished basement,
that’s not on the card, hardwood throughout the 1st floor, updated furnace, air conditioner, hot water
heater, whole house fan. That sold for 295, it sits at 263.

“This one is 25 Mindy Place. I find a lot of the condos are not captured correctly. It’s a detached condo,
EYB 85 way to low. Fully upgraded, new kitchen, stainless steel, new bath, 1st floor all hardwood.
September reviewed, 9/15, 9/5/18 with no change. So these… this is the data I sent up and in my
opinion we are missing way too much.

“I just want to go back to the beginning for a quick second. Ok. When I looked at 11 Stark St, EYB 1964.
Kitchen is newer than 1964, 2 baths were upgraded and should be marked very good. A very nice ¾ bath
in the finished basement is not on the card.

“10 Fowl Ave. EYB 1959 completely remodeled ranch; newer kitchen, refinished hardwood, upgraded
1st floor bathroom, ¾ bath in the basement, average, vinyl sided. This was the ranch. This is a brand new
looking, totally modernized ranch. And the card is just…what I did was put the cards into PDF and then
was able to use a marker to kind of show the DRA where I was concerned. So, you know, and I will tell


                                                                                                         102

                                                                                           NPD-LO-3800
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 103 of 424



you what I’ve done. So this was the 2nd report to the state, there’s 2 more coming. I was so happy to
see that the DRA wanted 2 years of sales data when they wrote the contract. That the city would
provide property transfers for 2 years. But then I got a letter from Celia Leonard that said the city did
not provide it that KRT had access to the database. Ok, I don’t know if contractually if we don’t provide
it, they’re supposed to use it. That’s for lawyers. I don’t know what that really means. But we did not
provide it, but KRT would have that data, which was awesome. But I looked at the 2016 sales; that really
intrigued me and I’m looking at all of them. I’m 600 data points into that. That sales data just wasn’t
even looked at, and there is some glaring interesting issues in that data and that really concerns me.
That just to me is not an equalized assessment.

“So the other thing I want to address with you. Ms. Kleiner the policy manual is disappointing in how the
communication is handled. I go to a board meeting of Aldermen and it appears that like some of the
questions I’ve raised are being answered to the Aldermen in a way that we didn’t put information in the
manual because we’re working on it. I’m tired of the misinformation and the games. It’s not
appropriate. We want clear communication, and when you go to the press and you tell the newspapers
all of Laurie’s concerns are in here. We’ve covered grade condition, when you are willing to tell the
newspaper that and then I go in and I can’t find what I’m looking for, it’s misrepresentation. It does not
represent transparency and we desperately need a chief who’s qualified and competent because I’m
tired of this political hacking I see going on in here. The other thing is Ms. Kleiner raised in the Aldermen
meeting, that since Mr. Bergeron has come on, you folks are doing a review of your bylaws. I’m going to
cite you for a right to know violation, because I have not heard any discussion at this table about your
bylaws; and to me that’s public business. So the whole board is working on rewriting the bylaws; where
are you doing this? Did you discuss it in a non-public meeting? Are you exchanging emails? That’s
something I care about deeply. I’d like to see the old antiquated bylaws you have because I know they
exist. But I was totally unaware that this was happening, because despite the fact that I come to every
meeting, it’s never been publicly discussed and that to me is a gross violation of right to know. Thank
you.”



Board of Aldermen Tuesday, October 8, 2019

https://www.youtube.com/watch?v=J_N6nyXXhWw

18:15

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I wanted to talk to you for a few minutes about
data management and you know, we all know I’ve put in a lot of Right To Know Requests and the City
has made some pretty big claims and had a lot of words to state about these requests and what they are
doing to the City. But I believe a lot of this is the result of the way we maintain out data and how we are
maintaining our records. We are simply not doing it progressively at all. You know down in Assessing we
have a vault that is full of property files. They are the equivalent of books on a shelf and there are
29,000 of them and growing. It doesn’t make any sense to me that we are not looking at ways to scan
these files.

“Why are we not taking an initiative to pay a single fee for a year and pay the $50,000.00 or $70,000.00
and create scanned records of all of these files? So that when the public, like me, wants to access a file,


                                                                                                         103

                                                                                           NPD-LO-3801
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 104 of 424



we are not hearing that, “OH it is going to take us 5 days” and they’ve get to check it and inspect it and it
is too much work and you are creating a big burden. Why aren’t we looking at ways to create records
that are accessible, that are open access the way they should be? It is almost 2020.

“Right now I attended a class and the gentleman who is the Chief up in Goffstown, Scott Bartlett who
heads the NHAAO, he was talking about his records. Up there they keep their property files and their
income data separate. So if somebody wants to come in and get a property file, you can just get it, it
doesn’t have to be checked. Down in Nashua, we combine the income data in the property file, which
doesn’t affect all files, it only affects files, mostly commercial that have income data. But the staff has to
quickly go through them to remove income data if that’s the type of file you have. Now it is not an
overly, timely job; certainly for the files I’ve requested, they’ve really all been thinner files because I
haven’t done a lot of work in commercial file access. Those files get very thick and take more time. But if
you scanned and had a person come in and scan your records you would have, you could separate out
the income data, you would have them all scanned. The public could come in like me, and go to the
computer in the office and just pull up the files I’m interested in looking at. And if I wanted them from
home, maybe you can’t make that accessible outside to the home, but then the office could easily send
you the e-mail within 2 minutes with the files attached. It would be no work at all. And then as data gets
added to files, they are not photocopying and running to a vault and stuffing pages into the files; they
are just scanning and throwing the electronic record it which is frankly a lot easier.

“So when we hear from management that Assessing is a paper intensive job; it doesn’t have to be. I
think if this City talks about wanting to have the best Assessing Office in the State, then make it so we
can access the records, because we can’t really do it. Now I put in a request through Legal to access
Buyer/Seller and Real Estate Agent letters, Broker letters that were sent out to verify the sales data from
KRT. We were told by the Administration that our Assessors verified all the sales data for KRT, which
turned out not to be true, we never did that job to the level we were supposed to. But that these letters
were sent out to verify the sales; I wanted to see the letters to know if we did it. So I put in a Right To
Know. The response back form Legal is, “Ok that’s over 1,000 files, really 1,200, it is going to take 4 years
for us to get that to you”. Is that reasonable to tell the public you have to wait 4 years; that it is a 4-year
process to access that data? Why aren’t they just scanned in a file. And that wasn’t a big request; that
was just for a letter that would on the top of the file; that wasn’t for them to go through the whole file,
take out income data or do something intensive. Four years to access a single letter. That is absurd that
that was the type of response I got. I don’t think this Chamber in this horseshoe is doing enough to look
at how we access data and how we want that office set up to access data.

“At the last meeting we heard management talk about, you know, putting together the binders. We do 7
binders now that we give out to the Board of Assessors and other people who come. And we heard
management say, “It really doesn’t take much time, it’s not that intensive it doesn’t, it is very simple”. I
disagree wholeheartedly and I’d wished you spoke to the person who did it for months. The time it takes
is a function of what time of year it is. If it is March, April, May, June, July we are dealing with heavy
abatement stuff, the paperwork for the Board of Assessor’s meeting is enormous, an enormous amount
of paperwork. The binders going out were 200 to 250 pages a book. So you are doing 7 books, you are
putting out 1,400 to 1,700 pages that you are photocopying downstairs to put these books together.
That’s time intensive, I don’t know why management is telling you “that’s easy”. It isn’t, that took a lot
of staff time. And you know what disturbs me more? They worked their butt off for a week to put the
binder together, the meeting is on Thursday, all the books come back to Assessing Thursday after a

                                                                                                           104

                                                                                             NPD-LO-3802
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 105 of 424



meeting and they throw it all in the trash and they start printing for the next meeting. You throw away
1,400 to 1,700 pages every other week. All that printing cost, that’s enormous; you are the green
people. You know, be green, don’t allow us to do that kind of copying and create that kind of waste. Go
electronic, have them bring in a notebook computer. I don’t print mine, I bring my notebook in and I
scroll through, you know, on my screen, download it because I don’t want to carry 250 pages and flip
through it. And I just put it there so I can have it to access. We are doing so much wrong with paperwork
in my mind and we are doing it to prevent the public from having access. And I think we can do a much
better job. And all these complaints that “Oh you know we have to spend $50,000.00 on a consultant
because we are behind on permits”. That permit stuff is malarkey. You are behind on permits because
you are not staffed correctly and you are not looking at your permit data the way you should. But all of
that is how you are managing your records. I just did a Right To Know to get the Mayor’s letter that he
sent out to the Board for this audit, I never had the letter. And I’m sure that cost me $500.00 to get that
from the City; to go to Legal, to have a meeting, pull the document, look at it and send it to me. That’s
unfortunately but I don’t know how else to get it. If it was in the record it would be awesome. If it had
been part of the minutes it would be great, I could get it. But the letters aren’t part of the record. So I
get it and when I looked at that one of the things, the Mayor wrote a number of things that this report
was going to do and one of them was cover staffing. They were going to address the staffing and the
management of the Assessing Office. I have been a big critic that that audit report never addressed
staffing. Why didn’t we look at staffing in the office? That was so fundamentally important in my mind.
We have a tremendous lack of staffing in there and qualified staffing; we are missing qualified people.
And we never did that, we skipped that.

“And so you know, I think instead of shooting the messenger over and over and over again, I’d like to
see the City take some responsibility to get on board to making access real for us. Don’t make us have to
jump through hoops, I’m with Celia Leonard, I’m writing 5, 6, 7 Right To Knows for the same data. And
what I’m finding is Legal is sending me the wrong answers and I’m having to go back and pinpoint them
to the e-mail I’m looking for in a server that I know is there that they are saying isn’t. I’m doing 4, 5 and
6 requests for a single piece of information and I don’t understand why it is so complicated. When I
asked for the Buyer/Seller and Broker letters and I heard it was going to take 4 years I said, “Well let’s
make certain they are there”. And I went back and forth with Legal and said, you know, “I don’t think
you have to look in the files, it should be recorded on the property cards, if they sent a letter, it should
be documented”. Legal says, “No, no, no it is never documented”. I said, “It’s always documented”. I
start looking at property cards with Laura Calhoun. There is no documentation in the cards that letters
were sent. So I go back to Legal, the Clerk in there argues with me, “No we’ve got to look at every file,
it’s going to take 4 years to get through this, we’ve got to do this”. I march down to Assessing and I
happen to catch an Assessor at the printer and I said, “Excuse me, did you send any letters out to
Buyers, Sellers and Real Estate Brokers when you reviewed the sales data”. And his answer was “no”.

President Wilshire “Ms. Ortolano, one minutes to wrap up, please?”

Ms. Ortolano “Sure. And I asked him to go ask the other three assessors and he literally marched
through the office, I heard him, he asked every assessor, “Did you send them, did you send them, did
you send them” every one of them said “No, we didn’t do it”. I marched up in Legal and I said, “Cancel
the request, nobody sent any letters which is what I thought”. They were going to embark on a four year
event and I said, “I don’t understand why you in Legal didn’t march down to Assessing and say, did you
guys do this”. That was four or five e-mails that went back and forth on that and it never existed. So

                                                                                                         105

                                                                                           NPD-LO-3803
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 106 of 424



please come on board and help make data something that is really accessible to the public. And please
do not start this reevaluation until you hire a Chief. Don’t vote to begin it until you bring in a Chief on
who is going to follow this through for a couple of years. It doesn’t have to be a three-year process, I
talked to Bob Gagne, he wondered why we didn’t do it as a 1-year. Just bid it out as a 1-year. So please,
hold off until you bring somebody in who can run it the way it should be run. Thank you.”



Board of Assessors October 17, 2019

https://www.youtube.com/watch?v=nx1TsvIbJ8I

14:50

Mr. Hansberry “There is no unfinished business. Ms. Ortolano. If you could state your name and address
for the record please.”

Ms. Ortolano “There is usually a little microphone there but I don’t see it.”

Ms Cameron “They didn’t give us one today.”

Ms. Ortolano “Oh they didn’t, ok. Laurie Ortolano 41 Berkeley Street. I wanted to put up some of these
cards. I just wanted you to take a look at 39 Stark Street. This was a property I emailed you about 6
months ago. There’s another property on Amherst Street, it’s 7 Amherst Street but the address has been
changed to. Is that readable? No, why? It was originally, right? I don’t know why it’s not readable. Well,
there is nothing I can do about it. I don’t know how to focus it. Do I go out a little, maybe. Nope, it shut it
off. Is that better? I think you’re getting there Lynn. Is that better? That’s as good as it gets so we’ll just
talk to the data. This is a property card I asked you to look at on valuation. It’s one I asked Jon Duhamel
to send his assessors out to create a valuation on a fully rebuilt property. There’s another property over
on Amherst Street, 7, which is renamed Abbott Street, that falls into this category as well. This property
was fully rebuilt and the assessors valued it prior to the, no, yes, prior to the KRT evaluation. No, KRT
valued it first. KRT took this property from, it was dropped in-between here and 2017 it was dropped to
around 200,000 or 175,000 because it was being demoed and rebuilt, which I question the move to do
that because it affects building up the value. KRT came along and set it at 284, because the property
hadn’t been completed. Once it was completed, very shortly after KRT did their review, the assessors
went out and valued it at 509. They actually valued it twice. They valued it around, I believe, 560. Which,
I looked at it and said I hope it would come in around 600. They put it at 560 then went back and they
dropped it to 509 for reason I don’t know because I can’t find the paper trail. I have a card that shows it
higher and I have a card that shows it lower. Then the house sold, the house sold for 732. They can’t do
anything with this house. They can’t raise it, they had already maxed it out. They maxed out the
condition, they maxed out the EYB, they put things in as excellent, very good, it had new construction.
That card is done. And that valuation will never get to 737, even in the next evaluation and I could tell
you more about that. This is happening with other properties as well, and it’s because, I believe, how
we’re starting at the baseline to build our model and I think it’s something you should look at. Because
they’re able to take other houses like ours that are sitting at 469 and put it to 707. But they can’t move
this house. Now, an assessment like this tells you, well the properties’ overbought, it’s 200,000
overbought. I’m ok with that, if that’s what you say and I do think that went for a rich price. That went
for a very rich price. But it’s a half acer lot with a large barn attached to it that is pretty nice space if you

                                                                                                            106

                                                                                              NPD-LO-3804
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 107 of 424



have a hobby or a craft business you want to run out of that barn. Who knows what the circumstances
were for the buyer. But you have properties like this that you’re not able to use sales pictures and adjust
them to get them anywhere close to sales data and KRT couldn’t do it either and I just want you to be
aware of that. These would be good properties to get an answer to why this is happening. Next I wanted
to talk to you a little bit about the adjustments that were made on properties during the second view by
KRT. You know I raise certain properties, I brought you the information on the 24 million dollar
adjustment to reduce property values on October 10th. I addressed three other properties that were
changed when our property was changed on October 8th. We received a $12,000 reduction, a 2%
reduction, and the houses that the assessor went out the same assessor went out that day and the next
day received 30% reductions without filing abatements. What I didn’t realize, when I went back to look
at the audit report, that assessor made some other very large cuts on properties that didn’t come in for
an abatement, but they were recorded under Mike Mandile’s account. So, when those audit reports are
run, there should be a field that shows who did the correction. Who went and did the inspection and
made the determination the value is coming down because they got credited to another assessor’s
account who didn’t do the work. But there were some big adjustments and a lot of the reasons were
deferred maintenance. What’s interesting to me, there were another 8 or 10 properties, one of them
was actually done by Mike and it applied the same technique the supervisory assessor used. Went out
looked at a property, said oops there is a crack in the foundation and the brick veneer is peeling away.
So this is a property at 38 Farmington Road, nice street. KRT put it at 493,100. They asked for a second
review, it was inspected on 9/24, during the second review process by Mike and it was dropped 37,200
which is a big reduction. That was an 8% reduction to the property without an abatement and why was
it dropped, because there was an observed crack in the foundation and the brick veneer was falling
away. And because of that the property received a 10% depreciation discount on the total value of the
property. I have a concern with this because, you know, this is very inconsistent practicing and just
because you have a crack in the foundation, there’s no noted water coming in. When we bought our
house in Litchfield we had a crack in the foundation and water would flood in every rain storm. We
never went to the assessing office and said give us a discount. We dug the foundation out about 5 feet,
we bow-tied chiseled a grove out of that foundation by hand, we filled it with cement, we filled the
inside with cement, we tarred it, we filled it in and we never had water in the basement again and that
to me was called maintenance. And we took care of it. This is a 2000, 1998 home, newer home, a nice
home 2,600 square feet, on Farmington Ave, and it received a very substantial reduction for
maintenance issues. You know, I don’t mind you telling the Ortolano’s that any issues with your brick
don’t count but then issues with this brick don’t count either. And that’s not what’s happening here.
Also, this gentleman came in from 29 Monica and this one was adjusted by Gary, the rest of them were
by Greg. This property received an 11% discount. It was valued by KRT at 387,600 and it was reduced
43,000. That’s a big reduction, an 11% reduction. And the reasoning is, you know we change the
influence factor from 5% to 50 and from, to -50. From 5% to - 50 to 25% and then we depreciated
another 8% to 20% and we added the fact that the heat, the house is only heated by solar and wood.
Which has been the case, the assessors been out there repeatedly. That’s been the case on the
property, this is a very unique property, for years. This property didn’t have to abate. Came in got all of
these depreciation factors, which weigh heavily in dropping the assessment. It’s not just the
characteristics issue, it’s a depreciation factor. This one on Autumn Leaf was a condo, I believe. It was
assessed by KRT at 115,800 and it was dropped 15% by Greg. Almost 17,000 with, it says observed
deferred maintenance, and they gave a 15% discount in the depreciation column. Well that gave them


                                                                                                       107

                                                                                         NPD-LO-3805
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 108 of 424



on 100 grand, the, on 115 grand that gave them the 16,900 with a few other factors. No abatement filed
there. 1080 West Hollis Street received a 7% reduction. Went from 205,400 and was dropped 14,000,
again by the same assessor and it was observed 60% due to overall poor condition ongoing repairs. They
had ongoing repairs so they dropped and put a depreciation factor of 60% on this property. That’s huge,
that’s absolutely huge. This one on Donna Street, same assessor again, dropped 4% and it’s 12.2. It was
326,500 and it went down 12,200 and again the reasoning is they gave a noise correction because it’s
close to a highway. I could pick out a lot of homes that I’ve pointed out that have Daniel Webster
Highway right behind them. We’re not giving any noise correction to those properties. And maybe that
needs to be discussed. What roads do you want to put 5% or 10% on. Because you’re not doing it on
some of the roads. Actually, if you’re going to give it to this house the ones next to it ought to get it to. If
that’s what you’re going to do. 6 Woodward was assessed for 297 by KRT, it received a 5.7% reduction,
17,000 again by the same assessor based on condition changes. Everything went from very good down
to good. So they looked at the house and said we’re going to drop the grading on everything. Very
questionable to me, that’s very questionable. This one is 70-72 Blossom, I believe it’s a duplex, a two
unit. It was assessed for 339, it received an 11% reduction of 36,000. And the reasoning on this one was
observed deferred maintenance and they put a 20% factor into depreciation to drop the value. That’s
huge, at 20% on that generated 36,000 of valuation drop. That’s awesome if it’s being done for
everyone. 22 Burnett Street had a KRT value of 267,200 it got a 16% reduction and was dropped 42,000.
That’s a big reduction without abating. What did they get if for, grade changes and physical condition,
they dropped it on the property across the board. You look at 1 Berkeley Street, that I walked in here
and showed you that you could stick your arm through the header board in that house. You got small
animals running in the roofline. You have a house whose envelope was completely breached and KRT
came down the street and said that’s good, good condition. Assessed at 400,000. On the corner of Laton
and Berkeley, the first one, didn’t touch that. Wouldn’t give any discount for the condition of that
property. So those are concerns I have because…”

Mr. Hansberry “Ms. Ortolano can I ask you a question? Who’s the owner on Farmington Road? It was
back towards the very beginning.”

Ms. Ortolano “I never put that out, because I’m not singling out just people. Just looking at properties
but here is, Autumn Leaf, West Hollis, sorry getting there, here it is, Curran, Curran.”

Mr. Hansberry “Okay, thank you.”

Ms. Ortolano “C-u-r-r-a-n. The other thing I’ve noticed and I put in a right to know, I have a few
responses, I don’t know if the city denied it. This EYB issue is pretty huge and what I’m seeing in the data
I’m looking at is there are properties that the EYB was changed, I believe by KRT. I’m starting to print the
cards from 17 & 18, where, when our assessors change the EYB, I have found, it seems to be
documented. Okay, in the comments section, EYB changed. Now what I’ve seen happen with our
assessors is they write in the comments section I’m going to move the EYB from 70 to 80 or 92 and they
don’t change it. That I’ve seen. But I’ve seen it documented. What I’m seeing for 2018 are cards where
the EYB is changed and there is no documentation, and it got me thinking about who made those
changes. On sales data, used for the KRT model I had Louise print a 2017 card for Glasgow Road or
Street that showed that in 17 the EYB was 74 and in 18, after KRT did the review on the sales data, it was
changed to 1990. There’s no documentation, the assessor who did the MLS sales review on the property
and looked at the pictures to make changes to the property, appropriate. Never noted that he was

                                                                                                            108

                                                                                              NPD-LO-3806
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 109 of 424



making a depreciation change or an EYB change. Wasn’t on there. I don’t think it was done, that was
Mike that noted it and I do have to say that when I see his documentation, it’s usually pretty thorough. I
won’t say that for everyone, but his is. So when I see the card in 2018 changed to 1990 somebody made
the change. Now it concerns me if KRT made data changes and EYB and didn’t tell us. I’ve got to call the
state today and have a talk about this because I’m not certain they documented that is the USPAP. But
the other thing is if they changed data, they didn’t document it on our cards, which I have a huge
problem with if they were making data changes other than to put in the activity section, we did a field
review. If you’re changing our sales data because you saw a problem, then why aren’t you in the
comments section writing what you saw and documenting our cards the way they should be. The only
way I can tell what KRT did to these EYB’s is to get a printout of the EYB, we save our database every
night, get the printout before they ran the numbers and list the EYB before that date and list the EYB
after. I will have a list generated of EYB changes. My guess is that it’s not going to be extensive; it’s not
going to be a big list. And I could at least crosscheck it with the property cards to see who documented
it. But actually, if the change, if they did 17 and 18 before KRT adjusted data and 18 after KRT adjusted
the data, the data. I would very quickly be able to see if KRT made these changes. But I’m concerned
because the paper trail is messy and these EYB changes have such a dramatic effect on the property
values. Remember our property went up 160,000 when they adjusted the EYB. That was a major factor
and it is, even in these changes that are being made. They’re able to take 40, 30, 50 off when they
change the EYB. So when they change depreciation or they put these influence factors on, those are the
big movers. Changing the grade from fair to good and good to excellent, 1,000 bucks. This is where the
movement is.”

Mr. Hansberry “I’m going to give you a couple of minutes to finish up Mrs. Ortolano.”

Ms. Ortolano “Okay, so that’s really important to me. The other thing is I really hope, as the city is
moving forward to do the measure and list, that you will not vote to support that until we have a Chief
hired and we have competent staff brought in here. We have serious staffing issues that have not been
addressed and I don’t know if you listened at the last board meeting, but I received the Mayor’s letter
when asked for the audit to be done by Ms. Kleiner and Mr. Griffin. One of the parts of that audit was to
do a staffing review, well that was never really done. I didn’t understand why we never looked at
staffing or addressed workload. So, the staffing review was never done and we haven’t addressed
staffing in a way I think it should be addressed, based on the workload. And just for the record I want to
let you know when I listened to the Mayor and Ms. Kleiner at the budget review hearing on or about the
end of September, commenting on the fact that they have to bring in consultants because of right to
know requests, that’s bologna. You know, to deal with permits, this permit data was known by the city
for months and months. They had 400 abatements and this continuation of laying blame on citizens who
are trying to understand what is going on with valuation and not taking responsibility for managing the
office appropriately with these permits does not fall on the citizens. I pulled a mileage expense report
and I wanted to see all of our assessors, where they were going and what they were doing. One of our
assessors isn’t even leaving the office to grab permits. So you got one assessor who is being warehoused
in the basement, not going out to do any of the work the mayor says would create thousands, tens,
millions of dollars of value. That’s not a priority and my right to know requests that are taking two to
four hours a week are knocking out the 36 hours to go grab permits. This is ridiculous; it’s totally out of
control. You have built a wall that is very tall between the public and yourselves and the continuation of
laying blame of the people who come forward is the wrong solution to create trust. You know I will

                                                                                                         109

                                                                                           NPD-LO-3807
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 110 of 424



actively campaign against any kind of measure and list in this city until you bring in the right people and
the right management to do this. And the list and measure or measure and list, whatever you want to
call it, is not going to fix our problems because our problem is how we’re managing the data and the
people in the office doing that. And we seem to not want to address that. I don’t want to give the Mayor
an out, which he is already using actively, to say a measure and list will solve all our problems. No it
won’t. Thank you.”



Board of Aldermen Tuesday, November 12, 2019

https://www.youtube.com/watch?v=AeL13uUhb40

34:47

Laurie Ortolano “Good evening, Laurie Ortolano, 41 Berkeley Street, congratulations to those who got
through their races and are back in the Chamber. I want to thank the Board for bringing forth the
Resolution to look at funding a Chief for 2020. That makes me immensely happy and I am pleased that
you are considering doing that. I will come out to the Budget Meeting and listen up when that takes
place.

“I want to share a little bit of information with the Board. We know that the BTLA came down with a
ruling at the end of the month, the 29th or something that they are going to keep the docket open and
ask for quarterly reports from the Assessing Office to follow-up on what is going on with the List &
Measure until we complete the update in 2022. I am very happy with that and I’m glad that’s
happening. That all came about because of the Hearing on August 6th where I presented data in a
report that was fairly comprehensive with some members of the community. The City took the position
to ask for a continuation to counter the data that was given by members of the public. I had a chance a
couple weeks ago to get ahold of that rebuttal of sorts that Celia Leonard provided to the Board up at
the BTLA.

“I have to tell you I was pretty underwhelmed and pretty disappointed in it because it just showed me
that this Administration does not recognize any of its errors; does not recognize the things that the
public has been addressing – permit capture, timeliness of permit valuation. You know the document
harped on the fact that I’m not an Assessor, I’m not trained, I’m not certified, I can’t make judgements
on proprieties.

“What I want you all to know is while that is true it is funny to me that when I brought my assessment
issue to KRT a year ago and had the chance to go through a Hearing and I brought comparable
properties in my neighborhood that I used as examples, the City then told KRT, “Oh go down that street
again and take a look at these properties that she’s called out. I think there’s some problems”. They
didn’t tell me they were doing it, they didn’t tell my neighbors they were doing it.

“They didn’t knock on the door, they didn’t ask to go in, they didn’t ask to look at the properties. They
took 5 properties that they said I identified and they raised them $350,000.00. They credit me with that
maneuver, they said “Wow Laurie, you’re so good at this, you nailed it, these houses aren’t right”. And
while I may not be an assessor and I may not be qualified, it is amazing to me how they put that on me
and said “you did the job that we needed to do, thank you”. That has proceeded to happen.

                                                                                                       110

                                                                                         NPD-LO-3808
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 111 of 424



“I think Ms. Leonard should be very careful about dissing the public and our qualifications because we
have an acting manager right now that is no more qualified than I am. And that has been a great source
of problem. Now one of the items that she highlighted to the BTLA was the fact that we were cherry
picking. We were cherry picking data and making it look bad when really it just represents a little bit of
data. Well I really didn’t cherry pick, I lived in a north end neighborhood and I looked at every street up
there and then branched out into other neighborhoods. What I find interesting is our past Chief two
ago, Angelo Marino, is that this name, I can’t remember, Angelo Marino. He was very much into
neighborhood assessing. That was his technique was, I guess to cherry pick throughout the City. So I
started off doing that myself because I was familiar with my neighborhood, but I looked at all the
properties, I looked at 300 or 400 properties. I didn’t look at just 5 or 6 on my street, I looked at the
whole north end, that’s how I ended up discovering the Mayor’s property card.

“In this Hearing Document that went to the BTLA, my issue with the Mayor’s property card had always
been that the permit was never captured in a timely manner. It was opened in 2007, it was taxed in
2012. There was one visit in 2008 that didn’t gain entry and the assessor put no value on the permit.
And the assessor did not go to the property during the Annual List Timeframe, by April 1st. The assessor
shows up a year later in September and misses the April 1st deadline to assess the permit; doesn’t get
in, doesn’t go back, doesn’t call, goes back 3 years later, again after the annual list of April 1st when we
should be capturing permits, goes again in September. Then he captures the permit but it is too late to
assess it in 2011 because the tax bill is closing within a month. He taxes that property in 2012. It took 5
years to put value on that property and that is a text book example of a property mismanaged. And
when the assessor goes in he makes a determination on the card that he is going to change the EYB to
1985. But he gets back to the office and he only changes it to 1970, 15 years less. It was 1959, so he
raises it 11 years. Ms. Leonard points out that EYB is subjective, it is. We have a huge problem with how
subjective we have been using that.

“What makes one assessor determine that a house that has had the walls ripped down, the wiring and
plumbing done, new sheetrock put up, new kitchens, baths, built-in cabinetry and basically a total
remodel moved 11 years. Other houses that didn’t even do that moved 30; what is the difference on
your tax bill? On the Mayor’s tax bill it would have been $50,000.00. On my tax bill it was $160,000.00.
She blows all of that off and uses his property card in here to site as a job well done. That’s when I lose
faith. I lose faith that we don’t take ownership for our mistakes; that we don’t recognize that we have
done some things wrong and we need to change the way we do those things. So reading that document
that she sent to the BTLA was wholeheartedly disappointing a week ago.

“But a month ago, I started a data dig and it was interesting to me when she said I cherry pick; I don’t
look at enough data. I hadn’t read this document. I decided that I am going to take all of the sales data
from October of 2015 until KRT took the sales data of April 1st, 2017. I am taking 19 months of sales
data, and I am running a sales report and I am going to make a spread sheet. I am going to go in and I
am going to pull every property card up and I am going to pull every MLS up and I am going to look at all
the qualified sales and I am going to look at every picture and I am going to see what our assessors saw.

“I created a spreadsheet of 10,000 data points, this was hand scraping, and this is why I tell you that I
want data on-line. So I scraped this data, I put it together, and I find out exactly what is going on when
they sales adjust property. Over that 19 month period, 27 homes were adjusted with their EYB. The

                                                                                                         111

                                                                                           NPD-LO-3809
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 112 of 424



sales guys, the assessors looked at the data and they were very nicely done, they deserved to be
adjusted. They had a total value of $8.7 million of property sales; 27 homes. The assessors increased
the assessment value by $1.12 million. Those 27 homes saw, on average, a $2,000.00 increase in their
tax bill for 2016 and 2017 until KRT came in and equalized.

“But I put together this book that I sent up to the DRA and I sent the report to the assessors today. This
is all the data that they didn’t capture, 272 qualified homes, that were very nicely done, pictures that are
beautiful, updates, granite kitchens, new baths, tiled, stainless steel appliances, lovely, lovely homes.
They didn’t get touched. What was their value? So it was 272 properties that valued $80 million. 27
properties valued $8.7; a tenfold difference. These 272 homes saw a tax increase of $180.00 a year
compared to the 27 that were totally screwed by the City and had to incur $2,000.00 a year. That’s
what happened to us; I can’t help but tell you how strongly I feel that we don’t have competent people
down there.

“Now I am pulling all of the 2014 data for the year. I sent this all up to the State. I said, “This is all the
data, this is everything, this is all the sales data on 1,023 properties; 821 were qualified sales”. That’s a
good take of data. They are running an accuracy rate of about 60%; the Assessing Standard Board
requires that their property data capture be at 90% or better. On this 19 month piece of data, it was
about 60%; that is horrendous. It is so unfair, I’ve asked you at this Board 2 or 3 times, I’ve said to the
Board of Assessors, “Shut down that MLS correcting, don’t do it, because you are really screwing people
and you are not doing it fairly”. That is what has happened here. I am mortified by this, I really am. I
think that we haven’t addressed manpower, nice to see a Chief, but you have not addressed manpower
issues. I am very disappointed in the Budget Hearing I watched in September where the Ms. Kleiner and
the Mayor came out and asked for $50,000.00 because of Right to Know requests. Clemons, Tencza,
Schmidt, who else is in there, a couple others, nobody asked meaningful questions. What is your
manpower to cover 2,000 permits? I pulled the work log and data for the one assessor who has been in
question because I wanted to see what is that assessor doing with permits? Not going out at all to
capture permits. Why didn’t somebody ask is everyone doing permit work? That answer would have
been “no”. Instead of blaming the public for putting forward Right to Know requests, why don’t you
address your manpower and look at what they are able to do; because you don’t have the manpower to
grab these permits. Once again, people are getting taxed on them and then there’s a whole slew that
don’t get caught and they get a pass.

“All of this update that goes on, is dependent on the quality of the data and how you maintain it.
Outside of an update, there’s very few things you can do. You can use sales data to correct a property
card, you can use permit data to adjust and abatements. You can occasionally go after a segment of
properties that you want to adjust but that is almost never done and I don’t know of a case where it has
been done here. You have very limited means to make changes, but you have means and you are using
them so ineffectively, inaccurately and non-uniformly that you have created a mess in your data. It is
just unbelievable to me that it took 10,000 data points and data scraping at this level to be able to prove
that Celia Leonard’s position that we are cherry picking is really not the case at all. I do not know if the
RSA’s apply to the public, I need a lawyer to answer that, but the RSA through the ASB that puts 90%
accuracy on the data. When I measure all of the sales data and I see 60%, can we do anything about
that? Can the public complain and say we are not meeting our standards? I don’t know, I don’t know if
I have any grounds. But I can tell you it is not good enough. In 2014 you only had 400 property sales.
You are asking two assessors to each correct 1 home a day four times a week, not even all week. You’re

                                                                                                          112

                                                                                            NPD-LO-3810
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 113 of 424



not capturing that data, what is the excuse? It’s not like they’re bombed, it’s not like they are busy with
thousands of property sales; it was a slow economy and we didn’t capture the data. I had to pay
$5,000.00 more but a lot of houses didn’t.”

President Wilshire “Ms. Ortolano, one minute for public comment, thank you.”

Ms. Ortolano I’m all set, thank you.



Board of Assessors November 21, 2019

https://www.youtube.com/watch?v=MUld9L-6bV8

17:28

Ms. Ortolano “Laurie Ortolano, 41 Berkeley St. Good morning.

“A couple things, let’s see, I appreciate some of the responses I see in the update that’s given to you on
the questions I’ve asked of the board. That’s sort of a first for me; I consider that a positive step forward
but I am also going to offer some criticism to what I see here and some concerns.

“The letters that Ms. Kleiner produces tend not to be date driven or give both sides; for example: we’re
working on AssessPro 5, we’ll keep you updated on what we are doing. I would like to know when is your
anticipated date that AssessPro 5 will be up and running? Because, that will tell me on the outside when
we might have different reporting capabilities. Now I’ve contacted Patriot and they’ve told me that
there’s a December date to have that up and running. But I shouldn’t have to contact them and I’m
trying to get my information from other areas and other states to figure out what we’re doing because
we don’t use dates. And the other thing is the contract that’s about to be signed or is being worked on
with Vision Solutions, I put in a request for a signed copy, a right-to-know. I received a response from
legal that it was…and I said if it’s not available now I would like a copy of the signed contract, cause I
didn’t know a month ago. I knew they were hired. I didn’t know where the contract was. I asked for a
signed copy and I said if it’s not available could you just send me a copy when it is available? I got a
response back from legal that there is no signed contract and they couldn’t hold my request open. I
would just have to keep resubmitting it until it’s available. So two weeks later I put it in again, and I
received a response back from legal: this is your second request and it’s not available. Okay so give me a
clue when it is so I’m not sending a third request in that their writing. I did call the state and I said the
City isn’t being cooperative. I don’t know when it’s gonna come out and they’re not telling me and they
won’t hold it open. So would you tell me when it comes up there and would you be willing to give me a
copy? And they said absolutely, we will let you know. Why can I have a better relationship with the State
than I can with my own City? That’s just not right and I’ve been forced into a legal process where they’re
counting tickets on me and then writing changes to right-to-know because I’m running up the bills in
City. That’s just not right.

“The last report Ms. Kleiner put out she covered permits; permits that were reviewed, permits that were
captured. What she’s not telling you is what’s not captured. I want to see both sides, because you know
that’s been a concern of mine. My husband kept putting in the paper, as letters to the editor, last abating
season, the progress of what’s going on; letter one: we’ve done 50, we have 350 left, we’ve done 120,
we’ve got 150 left, we’ve got this many boom. And he kept giving a monthly update as letter to the

                                                                                                          113

                                                                                            NPD-LO-3811
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 114 of 424



editor. I want to see the scale. I want to see where we are. Now these permits…the permit data on the
end gives you a little more information on that, but it starts tell you and speaks to man power issue
potentially. Do we have enough people to capture these permits? I also find it very interesting that out
of 542 properties visited, they gained access to 38. I haven’t done the math but that tells you what entry
is like when you go and do a list and measure. And these are current sales with people who moved in
new that might be the most receptive to allow entry. That tells me a lot. But I appreciate that. I
appreciate the fact that the City assessors reviewed the report and I’m going to put up some information
on that. It’s interesting that my sales data is off by such a large number because when I met with Ms.
Kleiner to review sales data last May, the sales data I had and the sales data she had were pretty
accurate. They matched. I ended up doing a right-to-know to get her data and I had a good pull so I felt
pretty good about it. The difficulty for me is, with the City, I can’t get your sales data. I’ve asked for runs
and to produce reports but I’ve been told they don’t regularly produce them so I can’t have them. Now as
I look at this I think I realize that I can do a right-to-know for the information you send to the DRA to
produce the ratio. But you know what’s difficult for me? I don’t know the name of it. I don’t know the
exactly what it’s called. And when I write that right-to-know to legal, they bounce me back and say you
didn’t ask for specifically enough so you’re denied. So, I have asked and one of the things I put in the
letter to you, is create a part of the policy, a list of all the reports that are available. Stuff you submit to
the State, stuff you can run through AssessPro. So, that when I ask, I’m not dipped around with in the
legal office because I don’t know enough of what the title is. I have written some pretty generic right-to-
know’s up to the State, ask for information on how I can look at what RSA’s or assessing board standards
exist to hold accountability for property card accuracy. And I didn’t really know what I was asking for.
But what I get is my statement quoted with okay we have a good idea of what you are interested in give
us a chance to pull some records together and we’ll send it to you. I don’t get slapped in the face with
Mrs. Ortolano you weren’t specific enough, we have no idea what you were talking about and we’re
going to send you nothing. That’s how I’m treated here in Nashua. So that has to change. And the other
thing is, I have to send my data out publicly. I can’t call and meet with an assessor. I’ve read the agenda’s
from Ms. Kleiner where no one is allowed to talk to me. I’ve never been able to go in, since she took
over, and talk to an assessor. I’ve met up with you Dan and ask to speak to you and you said legal
informed me not to communicate with you. I can’t communicate with you. I tried to ask Mr. Bergeron if
he would meet as one member to go over some information; he wasn’t comfortable. That’s not good. I
don’t have an avenue for personal communication that I can share information that I have concerns with
so I have to put it out publicly. But I feel like you slap me in the face when you don’t respond to me
privately to give me a chance to correct my information. You have every avenue to reach me and
address me privately, but you don’t do it. I have no way to get to you and you pass nothing back directly
to me.

“So I also feel this paragraph is weak, because while she says there are many inconsistencies in the sales, I
only looked at residential. I don’t know if her sales numbers are commercial too. I really don’t know. So
that’s one difference. But more importantly, the details were…let’s say I’m missing 500 sales, I still
looked at homes that were corrected and found 27 in that sales group. That would then tell you that
Mrs. Ortolano took a lot of sales. She took 1,023 sales points and hand cranked through them. If it’s not
complete data, it sure is a heck of a lot and it’s way more than the State does. And then she gave you the
pages to click on just to look at pictures that are available to correct cards. I can’t tell if you’re
contending that the websites that I click on to look at conditions of the cards are not correct, but if that’s
my data sample and I can show you 27 homes were corrected hard and 272 weren’t, then that’s the big

                                                                                                            114

                                                                                             NPD-LO-3812
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 115 of 424



area to address not that the number of the sales were incorrect, because that ratio is horrendous and it’s
poor. Even if I missed 500, it’s way more than the State does. So that’s one issue.

“The other area that I’m concerned about is I got a hold of the report that Celia Leonard and the
Assessors sent up to the Board of Tax and Land Appeal to counter public data. You know, I feel it shows
such a dark side of where we are at in our assessing office. I have a huge issue when you’re using the
assessors who created the problems to come in and sit with Ms. Leonard and justify why I’m wrong.
We’ve got the fox guarding the hen house and we’ve been doing it for way too long. You need qualified
assessors who are competent, ethical and want to work. That’s not what we have entirely and that is a
big problem. So one thing that was pointed out was, I’m sure you watched the Board of Aldermen
meeting, the Mayor’s property card as a justification by Celia, of a job well done. That’s ridiculous. The
permit wasn’t taxed for 5 years. That doesn’t meet the requirements of the annual list.

“And when I looked through all of the minutes or all of the emails that I asked for Jon Duhamel, I
discovered one where Jon Duhamel asked Gary to produce a Donchess timeline on this assessing. I said
well, that’s interesting he had to produce something in writing that went to John Griffin and was looked
at regarding the Mayor’s property. I put in a right-to-know for that; exactly in language Jon Duhamel
used, the time and date when the email was sent. It was denied for not being specific enough. I then
emailed Gary Turgiss directly and re-emailed Celia and I said this is specific and I have to believe that
when an assessor is asked to do work on the Mayor’s property file or card it’s a memorable experience.
That would be something you’d remember. I’m verifying what we did and sure enough 2 days later I had
the information. This is the runaround I keep getting that I have to push for. But when I got a response
from Celia, the person who produced the report for Jon Duhamel was Greg. Well he was the one who
handled the whole property to begin with that I didn’t feel was handled well. Why are we using the
person who made the mistakes, potentially, to verify that it was done correctly? I don’t understand that.
I don’t feel confident in our process when that’s what we do. Jon Duhamel himself or John Griffin should
have been looking at that file to verify that it was handled correctly. And the last note on that file was
that we need to go back in 2012, close the permit, and finish up, you know assess what was done. We
closed the permit, but we never went back and we never got the assessment. So I have always said did
we assess it fairly? I don’t know. I can assure you that wasn’t put in the report up to the State. Celia
acknowledges that the permit was closed in 2012 but the note to say go back and visit and to make visit
check on the property was never done.

“Now Celia Leonard pointed out a Berkeley Street property, and she went down Berkeley Street just
frankly tearing me apart on my Berkeley Street data. The 5 homes that KRT came down and re-
evaluated and raised 350,000, because of unpermitted…because of permitted work that the assessors
didn’t catch, which was documented by KRT. She sites all of those as assessing jobs well done. That
Laurie Ortolano’s complaints about these are invalid, invalid, invalid. If they were jobs well done, why did
KRT go down and add 350,000 to 5 homes. And sight, never notified people, never knocked on the door,
never tried to go in; stand at the road and go you, you, you, you, you. For me, I know the answer to that,
it was retaliation. I’ve now been given very direct information that the assessors were looking to create a
strained relationship on my street with some of my neighbors that were identified in my original data I
took to KRT. You know, I have to present evidence of disproportionate assessment by using other
properties. When you do that it can kinda screw you over by going after the other properties. I don’t like
that. That’s been a technique used in here. I think it needs to be stopped and nipped right away. It’s not a
good practice and it happened to me and it’s had its consequences. She cited...”

                                                                                                        115

                                                                                          NPD-LO-3813
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 116 of 424



Mr. Hansberry “Ms. Ortolano you have a couple more minutes.”

Ms. Ortolano

“Okay. 13 Berkeley Street was an example of a property that was not MLS reviewed and it sold for
510,000 in 2016. It was assessed for 321,500 at the time. The assessors never looked at the pictures.
And there was a permit for $70,000 that was not valued. The house was sold. It was fully renovated and
then the person who renovated it, who I happen to know, planned on living there. Actually, got a new
girlfriend, they wanted to move and ended up selling the house and leaving. So it was beautifully done
for them and then they decided to move out. So it sells for 510, very quick sale. But it’s a fiduciary sale
and Ms. Leonard points out to the BTLA that it’s not qualified. The reason it wasn’t looked at is it’s not
qualified. That’s not true, that’s not accurate information she’s telling them. First of all, if you don’t sales
chase and if you’re going to use argument, we don’t sales chase, we don’t use data, MLS data to look
pictures with just homes that are qualified. There were pictures online of this property. Lots of MLS
pictures. It wasn’t a private sale that there were no pictures. Why aren’t the assessors taking all the
homes, all the pictures that are online, for every home whether it’s qualified or not qualified and using it
to check the property card for accuracy? They’re there. You don’t sales chase. You use it indiscriminately
on everyone. So her argument to the BTLA that we didn’t bother looking at this one because it’s
fiduciary. What does fiduciary mean? It means it’s represented by somebody; the sale is represented by
somebody else on your behalf. Trusts are often like this. Are all trust sales fiduciary? I don’t know I have
to ask my lawyer. But I will tell you when you look pull the deed on this there is nothing in this fiduciary
sale that tells me it wasn’t arm’s length. I don’t know if there’s a means, I don’t know what the means is
to take some of these sales that are not listed as qualified and qualify them; that they’re reasonable.
That it was an arm’s length transaction or the sales price was reasonable. But she’s no because it was
fiduciary, maybe she’s saying because it was fiduciary for the State, just listed, we can’t change it. But
you had data to use and you never used the data. So if you are not sales chasing, tell me that every MLS,
online posted photograph file is being used by the assessors to verify property cards, because what I’m
finding is in a lot of the unqualified sales, they’re not even looking at the pictures, they’re not even
looking it when there’s pictures online.

Is this on?”

Ms. Cameron “Yes.”

Mrs. Ortolano “Okay so this is the file for 13 Berkeley Street.”

Mr. Hansberry “Mrs. Ortolano, this is going to be it though.”

Mrs. Ortolano “Yes this is it. I just want you to see that 13 Berkeley Street. It is fiduciary, it did sell for
510, there’s no MLS verification, and at the time it was assessed at 321,500 and there was no movement
in it. And right now it’s at 460. And Celia’s saying fiduciary we don’t do anything. Okay, so Celia Leonard is
saying for fiduciary it’s not qualified so we don’t do anything. Here’s a property at 17 Middle Dunstable
Road. It’s fiduciary. It sold for 540. Guess what it was at 375 and the assessors moved it to 503, because
they MLS verified it. They used the data that was online and they said that value is way too l ow and
we’re taking it up. And when you flip it over, you’re going to see they did an EYB change. They moved
that house a lot because it was a big discrepancy. They moved it from 95 to 2000, and changed the
grade, they went to excellent in the kitchen, they went to excellent on other fixtures. They pushed this


                                                                                                            116

                                                                                             NPD-LO-3814
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 117 of 424



because they had room in the sales data to push this. And don’t tell me they’re not looking at the sales
price because I’m going to tell you they are. But they used it and it was fiduciary. So the argument that
she sent up to the BTLA is not valid. And that’s a problem for me and I’m going to go after all that data
that she put up there with you over the next 6 months because I found so obnoxious. I found it so
disrespectful to myself and others that have been trying to find equity in our property assessments and
this City isn’t willing to say we made some mistakes you have some valid points and we are going to try
and fix it. Thank you.”



Board of Aldermen Meeting, Tuesday, December 10, 2019

https://www.youtube.com/watch?v=pWuy5yzO5-E

23:38

Laurie Ortolano “Good evening, Laurie Ortolano, 41 Berkeley Street. There’s a couple things I wanted to
address with the Board regarding some things that are happening in Assessing. The capturing of permits
and sales data has been a really big issue that has been discussed for certainly more than a year within
the Assessing Office. We don’t have any mechanism to track open and closed permits and captured
sales data. I don’t understand why after all this time, that’s not available in a reporting system. It
absolutely floors me. We have Lynn Cameron down there, produces an open permit report every
month. Building Department permits get captured, sent down, they load on to the property cards, she
does the report to hand to the Assessors on all the open permits that can be captured by Assessing and
the value permits.

“We have no way of tracking what the Assessors have done to close the permits which has been a huge
issue for me. This Administration, you folks, the Mayor, the Board of Assessors, all say to me, “It is not a
problem Lori” – Steve Bolton “We only miss a few, we’ve got 2,900 cards, sometimes we miss some”.
How do you know? You have no tracking system. Last year my husband wrote a letter to the editor
every month on abatements and it really kind of ended up being a hit. He would say, “This many got
done this month”, he had like a meter going, 475 OK we are done to 400, OK we are down to 350, OK we
are done to 275.

“People were waiting for it and watching, how are they going? And then they started calling their Wards
and saying, “OH are they going to get to mine, we are running out of time and the abatements aren’t
done”. People watched. I want to track these permits. Now the Mayor went to a Budget Meeting and he
said at the Budget Meeting, when he said these right-to-knows were killing us and Mrs. Ortolano is
causing a lot of problems and causing us to run up our bills and we have to hire outside people. We have
several thousand building permits we have to capture in a month. So they open up $50,000.00 to hire
outside people; they couldn’t get anyone to come. So they had to hire KRT. The report that I saw that
went to the Board of Assessors, I believe said, and don’t hold me to it, KRT took care of 250 or 300
residential permits to close, ran around and took care of those. But there were, I thought, a couple
thousand. So what happened to the others? Did they end up getting closed, how were they handled?
Did we close out the tax bills, the property record cards without being able to capture those? How many
were left open that weren’t captured from last year? We don’t know and nobody will speak to that.



                                                                                                        117

                                                                                          NPD-LO-3815
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 118 of 424



“I’ve asked the Board of Assessors, “can you find that out”. Ask that question; no interest. Sales Data for
MLS correcting, great we have those tools, I am thrilled we have that technique to do that. But when
they take the sales data and they are supposed to capture it, how do we know what they do? There’s no
report. We had an audit come out that showed that we had tremendous management weaknesses. We
produced a new Policy Manual and the entire Manual is completely deficient on any management
objectives. How could we be so critical of management and then create a new manual with no
management objectives? You got rid of the Chief, you are bringing him back, that’s fine. But the whole
intention at the time was the Directorship was going to the management oversight, that’s fine. Then
write a manual that says what the reports are going to be that are going to be run quarterly, half-year,
yearly that are going to show the accountability that we are expecting in an Assessing Office; no data.

“I have asked the Board of Assessors to please produce something in the Policy Manual that gives a list
of the reports that are available to the public. They are not willing to do that. That leaves me in a bind
because when I am looking for data and I write to Legal, I get bounced out of the City because I don’t
know the name of the reports, I am not specific enough and I don’t know what they are called. I end up
working with the State, the State is much more compliant. The Board of Assessors is a nightmare. They
may all be nice men but the sum of the parts does not make a whole and their underperformance is
overwhelming me. I learned that they take their model from the Zoning Board. I went to a Zoning Board
meeting maybe a month ago. I realized that they are reading the script of the Zoning Board when they
run the meeting now in Board of Assessors; and it changed since I’ve been going.

“My observation is the Zoning Board is a pretty together Board like the Assessing Board they have a
Policy Manual or a Regulations Manual that I am sure is several thousand pages thick. A lot of
regulations in Zoning, a lot of regulations in Assessing OK? They read the same words at the beginning of
the meeting, “If you have questions direct them to us, we will answer your questions” you know “here’s
our format”. They are very open. I go in I spend two hours in a meeting over there, they start it off
introducing themselves, they ask the public “does anyone have any questions before we start”. They
bring each member up that is presenting a variance or a request. Those people dialogue with the Board,
they answer their questions, the end the discussion. They have an open meeting where they dialogue
very effectively on why they approve it or do not approve it. They allow more discussion, they ask the
public for input and then the next person comes up, very efficient, very well done.

“Now I am not going to tell you that Board is perfect, because the mark of a really good Board for me is
how they handle a problem. How do they handle dissention? How do they handle somebody who thinks
something isn’t done right? That to me is a real mark. I didn’t see any of that that night but I did see a
Board that worked very effectively with the public. That does not happen and has not happened once in
a year at a Board of Assessor’s meeting. They read every meeting “We will answer your questions,
should you have them” and then they proceed to answer nothing. The last Board of Assessor’s meeting I
wrote them an e-mail; couple of basic questions. When is the List & Measure Starting? Has the contract
been signed? Will the company vision have a form for people who do not allow them to enter their
home? I noticed on line that some appraisal companies, knowing they can’t get entry, have a pretty nice
form that allows you to give details to the Assessors on your home should you not allow entry.

“I received no response. I am hoping they will discuss it when I go to the meeting, no response. Why is
that a secret? Why is it a secret to know when the List & Measure is starting? Why is it a secret to know
whether the contract has been signed? The City had said to me when I asked for the contract through

                                                                                                       118

                                                                                          NPD-LO-3816
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 119 of 424



Legal, of course, it got forced up there, when I asked for it six weeks ago it wasn’t signed. And they
wouldn’t leave it open for me, I think I told you this. They said, “Lori, you just have to keep submitting
Right-To-Knows every couple of weeks until it is done”. Well that seems like a waste of time, I’m using
Legal’s time, they are tallying up the numbers, I’m writing the same thing, because they won’t tell me.
So I called the State, and I said, “Will you tell me when it comes up there for your approval” and they
said, “Definitely”. Hasn’t been sent up yet, I talked to them today, good. But I don’t have to keep writing
Right-To-Knows to the State to figure it out. I have to do that to my City. It is ridiculous and basic
questions like this should be answered by the Board. I am so underwhelmed by this Board. And I don’t
see where there has been any development by the City, the NH Municipal Association, the State, to
come in, do training and get this Board up to speed. We are spinning ourselves to nowhere.

“Accessing the property record cards; the 2018 cards are on-line and we all know that by June or so of
this year we put property cards on-line. That was awesome, I’m super appreciative of that. I’ve been
waiting for the 2019 property cards to come on-line. They were due on-line mid-November. And I asked
the end of October when they were coming out, mid-November. Well it is December 10th and they are
not out. I asked a couple days ago, e-mailed down to Assessing, “when are the 2019 property record
cards going to be on-line”. I got a response back, “We don’t know”. It is an unacceptable answer to me,
OK. Somebody find out when or why, are we talking a month, are we talking three months. Here’s the
problem, abatements are coming in for 2019, I always follow that schedule, I go to all the meetings, I
want the property record cards to track them but they are not on-line OK? Now I have got to go to City
Hall and I start printing, I also want the permit and sales data for 2019. We are going into 2020 in two
weeks. I have to get the data, you are behind, I’m OK with that but I want to be able to look at it. It is not
available. So I either have to go into City Hall and the sales, the permit and the abatement data will cost
me probably $2,500.00 by record card or try to get it on a thumb drive which they say in the manual
they can do. But Kim Kleiner e-mailed me tonight and said she’s not certain they can. It’s unacceptable.

“And the e-mail really points out that they are busy, the property record cards are created through
Archive Pro, a software purchased this past summer. Our IT Department is working with a vendor, we
apologize for any inconvenience, with the AP5 upgrade sales inspection and the issuing of December tax
bills, both Departments are working effectively and as efficiently as possible. I will inquire IT into the
possibility of the 28,000 property record cards on a thumb drive. Your manpower and staffing issues are
your issue and I have asked you to look into these. Nobody will do that. The property tax bills went out a
month ago, I don’t see how property tax bills are affecting the department to put on the new software
or to put on the new property cards. We already purchased the software, I really don’t know what the
hang-up is, but what you are telling me is, the data is no longer available, go into City Hall and start
printing again and pay out-of-pocket, because that’s the best we can do. And it is not acceptable. You
are very understaffed in Assessing, you lost your clerical coordinator, there’s no sign or evidence that
you are going to hire a new one, there is no job posting. What are we doing to fill that position? You
don’t have a Chief. You have one Commercial Assessor that seems to be ware housed in the basement,
not going out. We lost a data collector years ago that we never put in there. We don’t have a lot of
manpower. And the Mayor’s audit ordered that a manpower and staffing review be done and it was
never done. Why aren’t we looking at this? Because to me we have a staffing problem and you dangle
these carrots to the public saying, “OH we have got this stuff on line, you can use it” “Oh sorry we are
really busy, it’s not there for you, you can’t really have it, figure something else out”. OK?



                                                                                                          119

                                                                                            NPD-LO-3817
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 120 of 424



“Right-To-Know requests, this is hot topic, Ms. Schmidt has done some clever work to try to fix all the
City’s problems; awesome. I put in a Right-to-Know request to get John Duhamel’s e-mails for
September and October of last year. I was really interested in the two months when I was first entering
the office and nobody would talk or work with me. Were they following me, were they tracking me,
what was going on, what did they know about me? Well it turned out to be very interesting, there were
well over 100 e-mails about me. They were very interesting, but when I asked for these e-mails 5
months ago I got a response back from IT that there were over 1,000 and it was going to take them a
long time to go through them.

“It took 5 months OK? And they have to be redacted, but when I received the e-mails, they are all
jumbled, so I don’t understand when you ask for e-mails through IT and you ask for a consecutive time
frame, they send them to you in all scrambled dates, no order to them. And the batches came out in six
batches, ok, all scrambled. And there were a lot of August time frames in there, I didn’t ask for August, I
hadn’t even been in Assessing in August, I started in Assessing in September.

“Out of those 5 batches a lot of duplicates, so they are redacting the same e-mails over and over again,
in some cases four, four of the same e-mails batched out. The long and short when I compiled and put
through a program that the “1,000 emails” it was really 1,200, it was really 700, there were 500 too
many in there that were repeats or not in the timeframe.

President Wilshire “Ms. Ortolano, there is one minute left of public comment.”

Ms. Ortolano “So my concern is this: Legislation like Jan Schmidt’s that charges me for the hour to
obtain data that I don’t want, that I didn’t ask for, the last batch, batch #6, that they sent me November
15th was 3,000 pages of August e-mails and data. I wrote to Celia Leonard and said, “I didn’t ask for
these dates, I didn’t even ask for anything in August, you just spent a month redacting all of this stuff
that I didn’t even ask for”. And I got a very curt response back, “We have satisfied your Right-to-Know
Mrs. Ortolano”. OK, I don’t want to pay for that. And I wish Jan would write some legislation that would
maybe have cities produce e-mails in sequential order that would help not only the citizen who is
looking at the data but the Legal Office that has to go through it and is paying for redacting.”

President Wilshire “Our public comment period is over.”

Ms. Ortolano Thank you.



SPECIAL BOARD OF ALDERMEN PUBLIC HEARINGS DECEMBER 16, 2019

https://www.youtube.com/watch?v=iJfXw4hxo0A

56:48

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I picked up this information pack on the back with
these questions and like some of the questions raised here, the first question I had is what is the cost of
this, where is the bond analysis. I built a school when I was over in Litchfield on the School Board and
one of the things we looked at very closely was the bond and the cost. I think it is really unacceptable
that you are asking us to get behind a $118 million dollars without being able to tell us what the impact
on the tax rate is on some estimated level. I can’t shop that way in my budget and I don’t want my City

                                                                                                        120

                                                                                          NPD-LO-3818
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 121 of 424



spending that way with my money, it’s just not acceptable. I’m shocked. There are a lot of nice
questions in here but I expected to see a bond estimate in here. I am also concerned about the
enrollment study and whether we are overbuilding our space, you know? We have enrollments that
have gone down and we need to be careful about how much additional space we are taking on.

“It is expensive, we have got to maintain it and there’s a lot of parents that look for alternate options for
education. We know some of that grant money got flushed away to take for charter schools but that’s
going to remain an issue. You are going to have parents looking for alternatives and that is going to
move students out of the middle and high school and I think that matters.

“So the lack of a schedule and the enrollment study is that this City tends to shortcut on the studies that
need to be done and the impact studies that need to be done when you are doing projects. And you
and I all know that I have been very involved in assessing. I saw a lot of short cuts go on down there.
One of my concerns is I really don’t want to have to pay for something like this when I know I have an
assessing department that doesn’t know how to establish equity for our assessments. If you are an
over-assessed property you are stuck and you are going to pay a bigger impact and a bigger cost tax rate
for this type of bond than others. We haven’t figured out how to equitably assess this City and we are
going to have to eat this $118 million dollar bond. When would the first payment kick in for this bond,
that was another thing I was curious about, there’s a question – one.”

Chairman Dowd “We don’t know when the first payment would kick in because we don’t know when we
will be selling the bonds, when the first payments will be due. That’s downstream.”

Ms. Ortolano “So my vote is fix your assessing department, learn how to create equity for everyone and
then sell your bonds, because I don’t want to pay for them before that. Thank you.”

1:19:15

Ms. Ortolano “The gentleman who came up and spoke about the system who worked at the school and
the state of the schools for repair. I appreciate what he is saying, I’m not of the belief that you necessarily
have to continue to put money into those schools. But I am just very concerned that we don’t have a
study that speaks to the bond cost and an analysis of what those bonds will look like for this building. I
am also very concerned about the lack of an enrollment study and that we are potentially overbuilding.

“Also, it’s almost a couple hours into this hearing and I know that putting these three bonds on the table
for one single hearing I think was too much and I want to thank Mr. Teeboom for the analysis he
provided and the detail that he brings to these meetings because as a tax payer and a resident I do
appreciate that kind of discussion. I think in this horseshoe there is not enough of this going on. So
when he overuses his one question, the one question is far too limiting when you are asking us to
approve $118 million, for us to get behind that in a night. So I think you all get a little cranky with him
but he’s raising a lot of very good points. I want to tell you I really appreciate it. Thank you.”



Board of Aldermen Monday, December 23, 2019

https://www.youtube.com/watch?v=b6FLPFpEm6s

1:30:43

                                                                                                           121

                                                                                             NPD-LO-3819
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 122 of 424



Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just wanted to talk to you for a couple minutes
about some Right to Know issues. I had put in, and I am concerned about this because of the legislation
that is being proposed to charge residents for time being used by administrators when you exceed a
certain amount each month. You all know I put in plenty of Right to Know requests. One of the Right to
Know requests I put in was on August 13th and I took this specific contract language from the KRT
Contract and requested their returned documentation. The City took the position that all of that
language, all of those requests were going to be denied with the exception of one piece on the basis
that anything that KRT returned was considered “draft material”. And as “draft material” it wasn’t
available for public viewing. That’s going to be something we challenge in Court soon here I think.
Because the way the City works right now an assessor will take a property card and go out to a home
and mark it up “draft form” but that is stapled to the changed card and it is in the file and the public can
review that. Basically KRT took all these forms and returned them. We didn’t ask them to staple them to
all of our property cards because it probably would have taken too much time.

“Anyway the City said what they said but they said that there was one thing they would deliver and it
was the Hearing sheets. It kept getting stalled and the reason I found out about Hearing Sheets, I didn’t
know these Hearing Sheets existed and we met with the president of KRT; was because as I was
gathering property files, record files over at City Hall I was finding Hearing Sheets in the files from
people who went to the second hearing. So I requested my file and my sheet wasn’t in there. It was
interesting because through a series of Right to Knows, in those e-mail exchanges by the administration,
they were talking about my Hearing Sheet. So I wanted to see it. So when I put that Right to Know out
there and the City said, “We will let you see the Hearing Sheets, those we will make pubic”. Great. I
specifically asked, and they said, “It’s going to take a little while, we need like 6 weeks”. And I said, “Well
could I see my own Hearing Sheet”. And they said, “No we are not going to be able to find it, you’re
going to have to wait”. Well it kept getting stalled and finally in the middle of December they delivered
on the first batch. What was interesting was there was a resident who went and got their property file
and found their Hearing Sheet and called me and said, “I found the Hearing Sheet”. And I said, “Well
send me a copy” and this was their Hearing Sheet when they went to talk to KRT and it said, the
taxpayer is requesting a second review, blah, blah, blah. Well this individual, I said, “Well I put in a Right
To Know for my Hearing Sheet because it wasn’t in my file” and they said before they went and found
theirs, they said, well can I put in a Right to Know for mine and I said, “yes, put one in and see what you
get”.

“Well the day they got the response back from the City they had gone to City Hall to check if there was a
note in their file that they requested be in there. That’s when they called me up and said, “Hey my
Hearing Sheet is right in my file and here it is”. And I said, “well that’s cool yours happens to be there”.
But the City responded that day and delivered their Hearing Sheet and this is what they gave them, fully
redacted, completely black claiming that all of this is confidential information and you can’t see it. And
the person was irate, like I already got a copy. So the next day I get the response from the City on the
first batch. They send me 62 pages like this. So obviously the City after four months, decided that they
weren’t going to allow these Hearing Sheets to be Public Documents. Hey that’s alright, the City gets to
change their mind. But why would you have your staff and the Legal people in the Department go
through and cull through pulling all of these sheets? They pulled them all and now they are just going to
black out, I don’t know how many there are, there could be 600, there could be 800, there could be



                                                                                                           122

                                                                                             NPD-LO-3820
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 123 of 424



1,000, nobody knows. The whole interesting part of it is I received notification that they lost mine. So I
don’t even get mine.

“But this is what concerns me, why didn’t the Legal Department say to me, “Mrs. Ortolano, we’ve
changed our position and we are treating this as confidential information”. I have about 10 of these that
I happened to find in people’s files that I printed to see how they were recorded and what was on them.
They are public in the files down in Assessing that are there. Then somehow Legal said, “Nope it is not
going to be information you can see”. And instead of letting me know and saying, “Mrs. Ortolano we
changed our position, if we give this to you it is going to be all black”. I ended up after the first 62
sending an e-mail saying, “Please stop, you don’t have to send me a whole bunch of black pages, you’ve
obviously changed your mind”. But I clarified and said, “Is my sheet available” and then I received a
letter back that seems to indicate, couldn’t fully understand it that there was not sheet for me. You
know? This is what concerns me. I don’t want to pay for this. I just feel like it’s not right. And had there
been open communication it wouldn’t have happened.

“I didn’t go to the last Board of Assessor’s Meeting but I did read that the City has hired back David
Cornell to work on a dashboard to do some development for reporting systems for the City. I think it is
awesome, I think that’s great. The one thing I would put out there is that there is still a huge resistance
on the part of the City to allow any public input or any public discussion about what’s going on. We saw
what happened with KRT; Kim Kleiner and the Administration that you know we are going to let KRT
come in and you folks in the public can talk to them and meet with them and it got cancelled and it got
cancelled and the City decided they weren’t going to allow that, never really telling us it didn’t happen.
Then there was the policy manual. I tried to give input to the policy manual and the manual comes out
and everything that I had suggested was just thrown into the trash.”

President Wilshire “Mrs. Ortolano there are other speakers signed up.”

Ms. Ortolano “So this David Cornell coming is great, but I would like the City to think about letting the
public have some input as to what this dashboard is going to look like and more importantly what the
reports are going to look like because I can tell you that the compatibility of what I want to see in a
report so it is useful to me as a member of the public may not be what the administration is looking for. I
don’t care if you say no I’ll wait until it is all done and I’ll give my whole list. It just seems inefficient to do
it that way. I know you don’t owe that to me, but I think there’s a lot of lack of transparency that
continues in this City and this experience was just dreadful. Thank you.”



Board of Assessors January 2, 2020

https://www.youtube.com/watch?v=CVx8PUfT2iE

21:55

Laurie Ortolano, “Laurie Ortolano, 41 Berkeley Street. Will the reports that are being delivered to the
DRA for status of what’s happening in the Assessing office, these progress reports, be available to the
public without having to request a right-to-know? And will the Board be receiving these reports to read
and will they be included in your package? I’d like to get an answer to that question so I know whether
or not right-to-knows are going to be needed for that information and if any reports have been


                                                                                                               123

                                                                                                 NPD-LO-3821
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 124 of 424



submitted yet to the, I think I said the DRA but it’s the BTLA, with the order to reassess that was put out
             th
on October 29 of 2019.

“I’d like to just address quickly, Ms. Kleiner made a statement to thank her staff because it’s been a very
challenging year for members of the staff in the Assessing office. But I’d like to thank the public because
it’s been equally a challenging year for members of the public in dealing with this Assessing office and
the changes that have been made in here. And I think as typical of Ms. Kleiner’s actions, she constantly
thanks her staff but she fails to recognize what we in the public have to endure as well.

“With regard to restricting access to data, I could not disagree with Ms. Kleiner anymore on what she
said and the way she said it. When Jon Duhamel was here, you could go into the assessing office and
access property record files as you walked in, as you can in any department in the state of NH. As soon
as Ms. Kleiner took over, she became a paperwork flurry. She wanted everything in paper, lots of paper.
She got her staff as busy bees doing a lot of paper. Then all of a sudden nobody is available to give you
property record files anymore and you have to fill out a form. It was called a multi-request form because
if you wanted more than one, you could use the form. But there’s reasonableness in one going into the
office and requesting a single file and being told to fill out the multi-form request when you only want
one and being told to leave and come back 1-5 days later. In August, when that was in full swing,
because Ms. Kleiner came back from a BTLA meeting with a bee in her bonnet, okay, requests for one
were taking 3-5 days, that was irritating, unnecessary. I couldn’t even get my own property record file, I
was told to leave and come back and I put my foot down on that. I think access to data is immensely
restricted. And also, for her to tell you that it’s open for everyone and she’s not restricting, you’ve
reduce your staff in that office tremendously. She fired out the clerical coordinator reducing the staff
load tremendously. That person has not been replaced. As uncomfortable as that is for you Mr.
Hansberry, it’s a public expression and it’s my public input. You don’t have somebody who’s been in that
position in what? 4 months? That person handled a lot of these requests. So for Ms. Kleiner to say that
we haven’t done anything to restrict access to information. By not staffing your office adequately you
are in fact doing that.

“Now, with regard to the report that I submitted: 9/1/15 3/31/17 review a citizen’s report of the sales
data for residential 1 to 4 family units reviewed for MLS property corrections, changes in depreciation
                                     st
and KRT updates. On November 21 , Ms. Kleiner read a statement into the minutes which personally
was attacking to my reputation and continues to be the mode of operation this City operates under.
When you put out City Assessors and Members of the Board recently received a report via email
analyzing a selection of residential sales from a member of the community. We were asked to review the
material. We completed a review. The use of we, made me believe that you, because she said City
Assessors and Members of the Board, I assumed that was you. We completed the review and found
many inconsistencies, mistaken conclusions, and discrepancies. And then she targets the sales numbers
off of use of the equalization ratio. I’m sitting here today to listen to Ms. Kleiner tell you that the review
was very superficial, we checked a few. When you come out and read statements like this into the
record, what you are doing is destroying my reputation by saying I produced a piece of crap.

“This was 35 pages of hard work that I put a lot of time into. And what I’m learning today is that the City
really doesn’t have the time or the man power to do the review. I gave you an opportunity to do the
review because I didn’t just want to send it to the State. I wanted to work with the City and see if they


                                                                                                          124

                                                                                            NPD-LO-3822
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 125 of 424



would do due-diligence for efforts made. It’s apparent in what Ms. Kleiner has read to you today that
that will not happen and my avenue to send reports is in fact the State and not the City. It was a nice
effort on my part. It was a failure. Now Ms. Kleiner sent me, through the legal office, the 2018
spreadsheet for sales data that is being worked on right now, the 2019, by the office. That spreadsheet
was amazing to me; 25 columns of data and all the sales data. That was a great gold to me; to get real
data in a format that was Excel that was workable. Okay, so but what I asked for, and Ms. Kleiner didn’t
know, I asked for only the 2018. My report was 15 through 17. I didn’t ask for more data because I didn’t
know the format of it and I didn’t want the City go through pulling out data and reports that wouldn’t be
useful to me. So I asked for 1. They sent me 2 reports; the spreadsheet is what I wanted, it was great, I
go back on a right-to-know through Ms. Kleiner and say give me the 15, 16, and 17 spreadsheets and
they don’t send them. They send me this hacked up hard data that’s revised. This spreadsheet has got a
tone of columns on it, 25. This has got 3. And it’s their effort to combine 15, 16 and 17 sales data into 1
sheet to say Laurie’s numbers are wrong. How do I know their numbers aren’t wrong? How do I know
they didn’t combine the data incorrect? Give me the raw data, so I can see it. They wouldn’t provide it.
Okay, I’m in a hold on that until January 22. The legal office says it’s going to take that long. Supposedly
                                              st
you used it when she came here on the 21 to make her comments to say my data was wrong. She
references the study. So what did they look at? But what I can tell you is; the State sent me the summary
sheets. The State sent me everything I needed, but I still want it form the City for a very good reason and
I’m waiting for that right-to-know to be filled. But you want to know something interesting, the City said
                       rd
no, wait 5 weeks. 23 of December, I mailed a request up to the DRA to Linda Kennedy, who does the
ratio, asked for the very same thing I asked from the City, and I asked for an electronic copy. All I wanted
                                                                                th
was it emailed. They mailed a CD to my home that arrived on December 26 , with Christmas being on
       th
the 25 . It took them a day and half to put the information into my hands. And it was enormously
useful. This City is hiding data and screwing with everyone in the public and this Board in enabling it and
I’m frustrated. So when I took the State data I can’t come up with the 1652 that Kim references for sales,
I’m going to be coming up with around 1200, I referenced 1223, their telling me it’s 1652, that’s why I
wanted to all the data. My data appears more right than theirs. It’s frustrating to see this be the case.

“You know what frustrated me the most about getting this data? I had been after the City for more than
a year on all this EYB stuff. You know the first article ran in the Union Leader on October 10th, 2018 with
                                                      th
EYB and me saying something’s really wrong. On the 11 , you meet with KRT, you Dan do, and they
spill the beans that we have EYB problems. You know it’s not equalized, data’s wrong and in older
neighborhoods it’s going to skew the assessments. Nobody gives me those notes, even in a right-to-know
on November 14th from an attorney; those notes were hidden from me. Those notes became available
in the summer, June, and got rolled up to the BTLA to show them; look at what I found; here’s the
problem. The City hid that. And in my request to get EYB data the City came back and said we do not
have to construct reports for you that do not already exist; therefore all the depreciation changes,
changes to effective year built or grade we don’t have to tell you, which means 14,000 property record
cards I have to search by hand. But when I got this spreadsheet from the City for 2018 and then the
State, you put all the EYB changes in there, in a column. It’s sortable. I could have this data for my
abatement. I could have had this data for my arguments to you that something was wrong. You let me
flounder without providing me with the information that was available and for that I am really frustrated.

                                                                                                        125

                                                                                          NPD-LO-3823
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 126 of 424



I feel the City is holding back. When I sorted that data in 2014, the sales data, to look at how many
properties had EYB changes? How actively are the assessors changing depreciation? And when do the
change depreciation and grade? Because we got a double whammy, that raised our assessment 160,000.
Do you know for 2014, when my card was corrected, only 2 properties were corrected for EYB and
grade. I’m just going to tell you that is not, out of 1300 plus sold homes, that is not a great indicator to
me of equity. EYB alone changes were 14 properties, okay. And I will tell you as I roll that data up
through 15, 16, 17 and 18 it’s pathetic, with 18 virtually no changes being made. No condition in EYB, in
a market that’s ripping hot, people selling homes and permits being pulled like mad. I’m so disappointed
that I’m learning this now in December of 2019 and January of 2020. When I’ve been at this for 16
months and you were sitting on this goldmine that you kept from me. The battle continues.

“And as far as hiding data, here’s a hearing sheet that a resident found in their property record file. KRT
put together these hearing sheets, if you came in for second reviews. They filled them out and they were
supposed to. I have requested mine for 4 months. I just learned that the City lost my hearing sheet and
the package I gave to KRT when I asked for a second review, how convenient. But this resident said to
me, I’m going to put in a right-to-know for my hearing sheet, I’d love to see it. I said go for it. She puts in
a right-to-know and then goes to City Hall to check her property record file for another reason. She finds
this hearing sheet, filled out by someone with the initials FR, 2013 it was 215K, had bought the house
with many, many issues, gas leaks, plumbing issues, water leaks, wants an inspector, phone number on
it, name, any money put in since 2013 was only to fix what was broken in the house. Okay, a sheet, it’s
in her file, public, anyone can see it. Here’s the sheet the law office sends…”

Mr. Hansberry “Mrs. Ortolano, 2 more minutes okay?”

Ms. Ortolano “Yeah. Here’s what legal sends. That day she gets that sheet, her right-to-know gets filled
by the City. They take her sheet and blacken it out and inform her it’s not public information; that this
sheet has to be kept secret. She already picked it up that afternoon. I’ve got a handful of these that I’ve
managed to find in property files that existed, but I couldn’t find one in mine. Which is why I started
asking where is mine? Where is my sheet? This is when Ken Rodgers told us were sales chased. What’s
written on my sheet? Conveniently lost…this to me looks like we have a lot to hide. And, oh by the way,
                                                        th
with my right-to-know that was put in in August 13 , 2019, the City said we will give you those cheat
sheets. That was one thing out of the KRT contract compliance that the City agreed to provide to me. I
wait 4 months, they delay, they delay, they delay, they pull out, you know, 800 sheets, they send me the
  st
1 batch, 62 pages of blacked out crap. Why did they send it? They obviously reconsidered and decided
that all of this needed to be private. Why did they tell me they were going to send it and have me wait 4
months for this? I got 62 pages of this. I didn’t need that. That’s screwing around with residents and I’m
tired of it. I’m tired of it. I’m disappointed. So 2019 was challenging for your staff, let me tell you it was
challenging for your residents as well and I’ll guarantee you 2020 will be equally challenging.”



Board of Aldermen Tuesday, January 28, 2020

https://www.youtube.com/watch?v=Ua5nl8EiJpM

20:29


                                                                                                           126

                                                                                             NPD-LO-3824
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 127 of 424



Lori Ortolano “Laurie Ortolano, 41 Berkeley Street. I just wanted to share a couple of comments with
you. We saw the report had come out in the paper regarding the Police Investigation getting released.
Part of that investigation had to do with this change that made on property record cards that amounted
to a $24 million dollar reduction on a group of cards. That raised a number of issues because of how
that communication was handled on those cards. The difficulty was the administration, Ms. Kleiner
wasn’t forthright on why those changes were made, which is what pushed it out into an outside
investigation.

“But my concern is this, that change was done because we changed table data in the AssesPro System.
Tabled data is what changes a group of properties that are coded as a group in that table. So essentially
what you are doing is a mini-reassessment on a group of properties. That is allowed outside of a big
update year, like KRT Appraisal coming in; we are allowed to do these mini-re-assessments. However, I
am very concerned that these mini-reassessments are being done outside of the knowledge of the Board
of Assessors. They don’t approve these changes which is actually shocking to me because they are the
oversight Board for approving changes in large scale assessments and the other area is in abatements,
when abatements come forward.

“When we do a KRT or an update, we get all this data that pours out to the public. The public
understands what went on and we can access a lot of information. When a property owner files an
abatement, it is a very public document. Every property owner or every resident of this City can go
down to Assessing, pull the abatement file, see who filed, see what sales comp they used or what data
corrections they wanted, see what appraisal was put in. They can follow the whole process. The
assessor who did the analysis, the analysis done by the assessor and then the action of the Board of
Assessors on that property. So we have this huge public trail that is available that explains to us how a
new assessment was arrived at; or perhaps it was denied and it stayed the same.

“When assessors in the office make a table data change and they change a large group of properties and
there’s no documentation done as was the case with this property, that becomes a major concern to me.
And that was what raised the red flag. So you know, I would love to see a policy change in our Board of
Assessors, where they are receiving this information when table data is changed in the model. And it
comes down to the Board so that they are reviewing the group of properties that are receiving this
reduction; in this case it was a $24 million dollar reduction. I think that’s worthy of going to the Board.

“Just in the last few weeks, I stumbled on some properties by my house, because as all of you know I’m in
an abatement issue and there was a change made to a group of properties. Each property was cut
$100,000.00. One of them has already been abated by July 1st, it was abated. In October, an assessor
down there, cut it another $100,000.00. I happened to catch it, just by luck. I wrote my questions, said
“how did this happen”. I’m in the same situation I was 16 months ago. I don’t know, there’s no
documentation, I have to do research. Now the new director had said to us months ago, everything is
going to be documented, we are going to document from now on. There’s really no document trail.

“Also, there should be some policy in place whereby data changes being made to cards, data changes
that are significant that are going to move a property 25%, $100,000.00, should be going before the
Board. We are not talking about a ¾ bath is really a ½ and the assessment changed $2,000.00. We are
talking about a $400,000.00 home coming down to $300,000.00; that’s a massive adjustment. There
should be a paper trail that’s clear as can be to describe what went on with those properties and there

                                                                                                       127

                                                                                          NPD-LO-3825
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 128 of 424



isn’t. I am frustrated that I am back in the situation I was 16 months ago with an assessor who keeps
saying, “I don’t know, I will have to do research, I’ll get back to you”. It was the same assessor that
treated my property that way and I never got answers and I know I am never going to get answers again
on this one. The DRA asked me to put in a PA71, I have just completed it, I am filing it up there because I
am frustrated. I really think we need to get some policies in place with our Board of Assessors, where
they are doing more oversight than what I see going on down there.

“We have some gaps in our Assessing Office right now. And I am absolutely not in agreement with some
of the assessors down there and the skill level they are showing for the work they do. Very concerned.
And when I stumble on this and I see this again, my concerns remained heightened. So I hope that
some of you will join me in encouraging the Board of Assessors to get on board with some policy to
create better oversights for all of us. It upsets me when I hear the Mayor talking about the budget issues
and the pending tax implications for what we have going on because I feel that this administration
doesn’t give a darn about the equity of these assessments.

“We have some assessors in there that are slashing numbers that make absolutely no sense and we let
that happen. We burden those that are over-taxed with carrying the burden and then we complain that
the tax rate is going to go up. You know I’ve not been an advocate of opening your door for this list and
measure. It is for reasons like this, I will not tell anyone they should open their door for a list and
measure. The only people who should open their door are people who have blighted properties or who
haven’t done upgrades in 25 years. If you do not have that property situation, keep your door closed
and force the assessment from the street because it is the only way there is going to be equity. Because
with a small pool that opened their door, the 15%, I was the person who opened my door and I got
royally screwed and I am trying to get out of it now. I could not possibly tell anyone else in this City to
open your door and do what I did. Close your door, let them work from the street for all of us. Thank
you.”



Board of Assessors February 6, 2020

https://www.youtube.com/watch?v=gNXINGhIo-o

16:18

Ms. Ortolano “Good morning, Laurie Ortolano 41 Berkeley Street. First off I’d like to thank you for
having those changes to the policy manual, those pages as part of the packet cause it certainly makes it
easier for me to follow what’s going on with the board manual, the assessors manual, so I appreciate
that.

“I wanted to talk to a little bit today about policy. I think there’s an opportunity to do more in policy
development to get a higher level of oversite from this Board on approvals on what is actually
happening in the assessing office. We all know the police finished their investigation on that reduction
for 24 million and they found no wrong-doing. That’s all fine but the whole investigation came about
because there was no open access to information and because a group of properties, a table was
changed, the schools and college’s table, building code 72, was changed in the software, in the table
change rippled through and affected 13 properties at that point in time. There were some that were
actually missed. Some of the code 72 properties were not caught but the ones that were caught, 13 of

                                                                                                        128

                                                                                          NPD-LO-3826
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 129 of 424



them, were changed. What happened, as I digested it over time, is that the assessors did a mini-
reevaluation on a group of properties. We couldn’t figure out, the public, who had made that table
change and right to knows and requests for emails we found out it was Jon Duhamel at the request of
Greg, who changed the table, who did it for him. Because he thought there was a need. But the concern
was, there was a real lack of documentation in those 13 files as to why it was done, or how it was
justified to move this base rate from $174 per square foot down to 110, there simply was no paper trail.

“My feeling, and I’ll do some more research on it, is when the assessors are going to conduct a mini-
reevaluation on a group of properties, that should come before you. So that you and the public
understand what is happening on that group. Their within their rights to make that type of correction,
it’s very rarely done outside of an update period. I don’t have, I asked a couple staff people how often a
table change is made, I asked a gentleman in another town how often you make a table change outside
of a update period. Very rarely, so our changes that we make outside of update years are to capture
permits and to adjust properties according to improvements based on permit work and to assess
changes due to sales, MLS changes. I think in this instance, had there been a policy where those changes
were brought forth to the Board, there would have been a public discussion and the justification for the
base rate would have been out in the open, and who did it. I don’t really understand why it was such a
big secret.

“I also think there’s an opportunity to handle a policy change on MLS correcting homes. We always do
an MLS correction when a home has sold, why do we wait for it to sell?

“You know there’s this issue of sales chasing that has been addressed where some properties seem to
get adjusted off the pictures and they move very close to the sale price. If you did your MLS adjustment
when the house lists, rather than sells, the issue of the sale price would never be an issue and I don’t
understand why we don’t have the assessors contact the real estate agent. When a house is listed, make
connections to the real estate agent. We’re calling them out now on buyers and sellers to address the
sales of properties. Have the assessor meet with the real estate agent and go through the house. At that
point it’s being sold by the owner, the new people buying it will know what the assessed value is based
on this inspection. I think you have a higher probability of getting in and having it corrected right then
and there and you know it’s not going to be driven off a sale because they won’t have the data.

“I actually think you’re going to see substantially different values when you don’t have a sale point.
Because as you know, I produced some information and the assessing office does not have time look at
it or consider it or review it, but my observation is sold homes are being treated much more harshly
when it comes to corrections than permitted work done on homes. I think a policy where you go out
when the house lists, get the data on the listing, get out there and correct the card before the sale
occurs. You will be truly using those pictures for what they are to correct those properties.

“I also think we need to look at a policy that limits how long we allow deferred maintenance or
problems with you know, discounts for painting or a brick problem to stay on a property card. I think it
does affect value. I don’t agree with KRT and their position they took last year with the 50 abatements
that any deferred maintenance is deferred maintenance and we don’t count it because our assessors
did. I think if you bring an appraiser to a house and they see some of these things they’re going to count
it. It will affect the sale value, it’s real. However, when you allow a property to get a 5 or 10% discount,
because it’s not painted, and the next year they paint. These discounts stay on those property cards for


                                                                                                        129

                                                                                           NPD-LO-3827
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 130 of 424



10 years, or more. Laura and I have found them going back a long time or obsolescence that doesn’t go
away.

“I think its ok for our assessors to give the discount, but note on those cards, somehow flag them that
after a year their going to be reevaluated. There was a property last year that came up here for an
abatement that was discounted for painting issues, I can tell you that property has been completely
redone and that 10% discount is going to stay on that property for a long, long time. It’s not going to
come off because we don’t take it off and we have no way of going back and getting it. I think there is
some good opportunity to work policy that come from the, that comes and starts at the Board. I would
encourage you to look at that because I think it will make equity better and allow more transparency
here in the city.

“Can you tell me if you finished your By-Laws, are your new By-laws completed?”

Mr. Earley “They’re not.”

Ms. Ortolano “Okay, that’s ok, just curious, just following up. I wanted to show you a couple of things,
just two things. This is a property that had sent an email in to the, to AssessHelp stating that the city was
being sold, the property was being sold, on the backside. This is a property that the father had passed
away on, and an assessment was done in 2018 but they understand if somebody is passed away the
property needs to be reassessed. This family contacted the assessing office because the father passed
away, that’s good.

“The assessing office reviewed the property by doing just an Aerial V NC, I think that’s and aerial view no
correction in the activity information section. And so the property record card shows, so what I’ve
noticed lately is that we’re doing some of these aerial views, we are using GIS to confirm what the
property looks like. We are not necessarily going into it and we didn’t. We didn’t go and take a look at
the property, which I think would have been a good idea because the last time somebody was in it was
1991 and somebody was, here was an owner inviting you to come look at it again, and we didn’t go. We
just did the aerial view and when you look at the footprint on this property, here’s a footprint. When we
used the aerial view, when we used the GIS, which I believe is the GIS view, when you bring up the initial
picture this is what you get. You get a heavy foliaged photograph that doesn’t really allow you to see the
footprint of the house. Unless you scroll through the layers, you cannot see what’s around this house
but when I scrolled through the layers and I got into no foliage on this property, there’s a deck off the
back, that’s not picked up. When you go to the MLS, because they sold the home because the father
passed away, there’s a deck off the back and a landing.

“This would be something the DRA would flag. This is a process where using and I don’t, I have found
others like this, I pulled this one as an example where we are using aerial, but when you bring up the
aerial you can’t see because you can’t see because of tree foliage is too heavy. I think you have to go
through layers in order to get to a view that you can see to really look at the property or you’re missing
stuff and that might be a training issue. I think we should note that as a potential training issue and use
it but I also think that maybe the person using it isn’t working the layers correctly. I also think on
properties like this, if you get a chance to go in you should go in.

“I came across some properties in my neighborhood that had an adjustment due to a jurisdiction code
change. Totally by luck, I stumbled in to this property group. Again, this is an example of a property


                                                                                                         130

                                                                                           NPD-LO-3828
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 131 of 424



group that I think would be a group of properties that should come to the Board as a matter of policy
and procedure. This is a group of Concord Street properties and there were four properties, 67, 68, 72
and 74, that for some reason had a jurisdiction code, which is a land use factor that was not correct.

“When I first discovered it, and I discovered it on property 74, I didn’t know what a jurisdiction code
was. I started researching more, I found the J code. It’s listed as a code in the land section. I got a past
property record card and was able to realize that the land valuation on these properties somehow got
skewed in the KRT update. Somehow the distribution between the land and the building got skewed.
The total assessment seemed ok but the breakdown between the building and land was not.

“What concerned me about 74 is that property was abated last year by you, you approved an
abatement. The owner of that property used CPTM, filed an abatement for 2018 based on the fact that
they thought the assessment was too high and CPTM was coming in around 400. Our assessor did the
abatement, came up with a market value of around 440 and when you applied the ratio the new
assessment was 416 and change. Fine, they won the abatement. Now, this property is a highly redone
property and I’ll show you some photographs of it. This is a two-unit, it’s a duplex, a two unit and it’s
fully redone. I walk my dog by this property, like every day for years, and I watched this undergo a
transformation starting like three years ago. Matter of fact I stopped and talked to the contractors to
potentially use them if I needed work because I liked what I saw going on. You can see the kitchen is a
full granite kitchen, the floors and ceiling, this tin ceiling is actually new. It’s not an old ceiling restored,
it’s actually a new ceiling.

“You can see the bathroom is a very nice high-end bathroom for this unit. Also, the appraisal that was
submitted last year by CPTM could justify the reduction had a 2017 appraisal in it and when you look at
the pictures of this appraisal it is remodeled. It shows you expanded bathroom number 2 is remodeled,
they put in landscape with irrigation, it was professionally landscaped, professionally painted, it has a
new bathroom, the bedroom up above the family room is refinished. It shows the bedrooms, the one-
unit kitchen is a total remodel and well done and the second kitchen is, let me see if I can find it for you.
Well, it’s the one I showed you in the picture, the granite one, one is a wood cabinet and one is a white
cabinet, it’s also redone. This is a completely redone unit, house. Old home, 1890-1900, old home, but
fully remodeled, four bathrooms in this property, air conditioned, new forced hot water heating system.
This is a house that is done at a much higher level than my house on Berkeley Street. The thing that
concerns me and this is where I look at permit work being captured. There was a permit pulled to do this
work, it was listed primarily as electrical, and it was a $50,000 permit but when you look at it, it was
removed bath tubs, toilet, entryway floor and the zoning was interior renovations. It also had electrical
in there so they had done an electrical upgrade on the home but they had done renovations as well. And
evident in this report of the appraisal renovations were done by 2017. This permit was pulled in 2012
and I think it was closed in 2017 so this one that was, had a long run, open. But, when the assessor
closes this permit, he never goes to the property, he assesses from the desk, he says no changes. The
assessment was 336,400 when it started and the assessment at the end was 336,400 as well. There’s no
change to this property, no value increase for all of that work done. That concerns me because I see a
lack of equity there.

“The permit never gets captured. Okay, so now the house files for an abatement, it wins the abatement
with CPTM. We give it a new value but then an assessor discovers that this land distribution isn’t right
and the land is off by a hundred-grand. We approve basically July 1st the new value for the property.

                                                                                                              131

                                                                                                NPD-LO-3829
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 132 of 424



October, beginning of October the assessor makes the change on the jurisdiction code and drops that
property 100,000. Now this property has a value, instead of 416 and change it’s down to 320,100. At the
click of a button it lost a hundred-grand. Because it happened to four properties, all four properties
were adjusted about 100,000. What’s amazing to me is if you look at these duplexes, these duplexes are
pretty old. The only one that’s really updated is 74 and it’s a 3,100 square foot four bathroom, four
bedroom, asphalt roof, the others have slate. These are asphalt so it’s lower maintenance, forced hot
water, the only one air conditioned and it sits at an assessment of 320 and the other assessments, the
next lowest one is 352, 391 and 493. It is unbelievable to me that that house could lose 100,000 in three
months on a push of a button and it upsets me because it is so grossly off. And when I went to the
assessor to ask questions I got my typical answers that I got 16 months ago. I don’t know, I’ll have to
look into it, I have to research, I’ll get back to you and nobody ever gets back to you. This is where my
trust is gone; I don’t have trust or faith in an office that operates this way. It’s just not equitable and you
should be able to justify, and I don’t think properties should be smashed down a hundred grand. When
you’re changing assessments 20 or 25%, I think those should come before you and a justification should
be put on the table because I see this as a huge inequity. The house next to 74 is 72. If you look at that
house on Concord Street, it’s pretty run down its got a grade of a B+ and 74 is a B- good. I don’t even
understand how he could grade that other house that way when you look at it. I actually think 72 was
the trigger that caught this. 72 called the owner, called the assessing office and said my assessment is
too high and the assessor went out and did a full list and measure on the property, and that might be, I
don’t know because nobody will answer these types of questions. This is where the public is left in the
dark. I think the assessor caught the error on that home and then made an adjustment and took it down
a hundred grand. I don’t agree with that because I think sales data should be used to set the assessment
level. The individual was not required to abate. The rest of us are. If they call you out, and it’s October
and they have a concern with their value I don’t know why they’re not told, you need to file an
abatement and we need to do a sales review. It didn’t happen. I just want to make you aware of this
because it’s an issue that really leaves me befuddled on why this happens and why you can’t get
answers, it’s disappointing. Thank you.”



Board of Aldermen Thursday, February 6, 2020

https://www.youtube.com/watch?v=mCs90x7Cy9E

1:39:25

Laurie Ortolano “41 Berkeley Street. I think my issue here is similar to the gentleman who just spoke. I
think it is about public trust and transparency. Mr. Clemons brought up the issue which is appreciated
but he put it in terms of “people are curious”. I can tell you my questions were not because I was
curious, they were because I wanted to do a reality check and that’s different. And I do respect that you
want to maintain confidentiality, but I think that there’s got to be a better balance between
confidentiality and transparency and public trust. I wrote my initial question to Mr. Cummings just out
of curiosity because I knew this was happening, where can I find out the money raised? I got the
shortest answer, contact you, but by name, the Capital Campaign Person, I’m no longer involved. I didn’t
get a name of a phone number. I didn’t even know who that was. Then there were other postings on
social media on this page where another woman went out and she got a better response.


                                                                                                           132

                                                                                             NPD-LO-3830
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 133 of 424



“I think you should have had a better response, the City knowing this was happening. People were going
to ask, I asked. I sent an e-mail out to all of you because I figured you’re coming in here, you guys must
know. And I only got one response from an Alderwoman. So you know, I yeah, I think it is important
that we have a different level of transparency and my concern here is just with the total package, not
just this extension. But I happen to think the New Market Tax Credit, I studied that extensively, that’s a
longshot. And I am concerned that we can’t pull the whole thing off. And I don’t know that I believe
that the total cost of $23.8 is fixed, the more time we take, the higher the costs go. I think when you get
into dirt costs and you start digging, you can see some really big run ups and that’s concerning to me.

“I believe your campaign is going well and you believe your campaign is going well, let’s face it the
market last year was hot, the investment market. Last year was a great year for people to come out
and donate money. So you don’t get a lot of years like we had last year; I’d love another one this year. I
hope it is that was for us again, because it would be wonderful from a donating standpoint. But last
year was the year to really rip down some private donations because the market was so good. I’m
concerned that we still don’t have enough. The $294,000.00 that come from the State Credit Program,
do we know how many people bought into that $294,000.00? You know that was a fixed program that
went out and people could buy into that, and it was all done; do we know how many bought into it?”

Chairman Dowd “Your time is up, but if you have a question?”

Ms. Ortolano “I just asked it.”

Chairman Dowd “Mr. Cummings, do you have an answer.”

Mr. Cummings “No.”

Ms. Ortolano “Alright, thank you for my three minutes.”

2:21:25

Laurie Ortolano “Laurie Ortolano, Berkeley Street, I’ll be quick as well. A lot of interesting information
came out here tonight, a lot of timelines and frames. I would request that in the future, you have a spec
sheet or a document that’s on the table for the public to show where we started and where we are now
with a breakdown of the finances that have gone into this project. I mentioned that before when we
did the school project and I think we are missing a lot of information as the public to be able to track
what is going on. Some of us can’t dig it all up ourselves, and we are busy and it would be super helpful
if you would provide that tracking mechanism.”



Board of Assessors February 20, 2020

https://www.youtube.com/watch?v=_BbrTjTe-rY

11:10

Ms. Ortolano “Good morning, Laurie Ortolano 41 Berkeley Street. A couple of items here; I was going to
address the contract, I had some concerns but I’m going to wait till the meeting in March when you hold
your special meeting which will be perfect to address some of those concerns.



                                                                                                       133

                                                                                         NPD-LO-3831
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 134 of 424



“I talked a little bit at the last meeting about policy and the opportunity to develop policy, and I’d like to
address another policy issue which is the handling of our records down in Assessing. It used to be, the
practice in the office used to be that any assessing record, property record files were not allowed to
leave the office. Angelo had a strict rule that all records stayed in the assessing office, and anyone who
wanted a record in City Hall could obtain a copy but the original was always maintained in the office.

“When I started looking at records more than a year ago, I know I could not take anything out of the
office, even if I wanted to go outside and sit at the table where there was a chair and a table to work on
it, you couldn’t do it. I was told no, the records have to stay here. My property file has been completely
mishandled by the City because they do not protect the records here any longer.

“Jon Duhamel did not enforce the policy that records couldn’t be removed and more than a year ago
when my property was being reviewed by KRT, in October, I went to assessing to get my property record
file and it had been taken by John Griffin up to the CFO’s office. It stayed up there for quite a while. It’s
referenced in emails, and information in my report is, in my property record file, is referenced in some
emails and I believe information that was in there, it’s now lost. I’ve been told that information is now
lost from my file. That they can’t locate a hearing sheet, and they can’t locate the packet that we
provided to KRT and the City; we provided 2 that had comparables to address the concerns we had with
our property assessment. So it ends up in John Griffins office for upwards of a month. I objected to that
with Jon Duhamel. I said I didn’t think it was right that a CFO should have my file, he’s not an assessor. It
makes its way back down to assessing. When Ms. Kleiner comes in, my abatement goes missing. It’s not
available, it’s not downstairs. I then, interestingly enough during that time in December, the Mayor, had
been concerned about his property record file being looked at by me, and he went and took his property
record file and he carried it for 6 weeks. He announced at the Board of Aldermen meeting, I’ve been
keeping my file on me for the last 6 weeks anticipating that a member of the public would address it.
And I did address it, end of November, or beginning of December. When I went down to Assessing, a
couple of days later to get his file, it wasn’t available, it wasn’t there. Okay, so nobody should have their
file on them. I can’t walk around and leave City Hall with my file.

“Then I went to Assessing in August to look at the KRT abatements and they were all on Cheryl Walley’s
desk and when I walked in I didn’t expect to get them but they were all sitting there. I obtained all the
KRT abatements. A few days later I came back because all the information that was there I hand wrote
notes for tables I was trying to produce, to look at how abatements were handled, and one of my hand
written notes I couldn’t read, so I went back to get the KRT abatement file and I had been told by staff
that Kim had taken them all up to her office and they were no longer in the assessing office, or available.
That should not happen. And they weren’t available. I couldn’t get them.

“Now, and actually, I went to Assessing, within the last month, to get my abatement file for my attorney;
he wanted a copy of everything in it. I went down to Assessing, I was told by Lynn, it’s up in legal. And
sure enough, Legal had the original file up in their office; not a copy but the original file. And when I
when up there to look at it I was pretty directly scolded by Attorney Bolton for being up there. It’s
inappropriate for me to be up there, because I have counsel. But I was only up there to get the record,
that’s a public record that not just my public record, it’s owned by everyone in the City. So we are no
longer safe guarding records. We did a photo op where I think Greg took all these property files stored
in Jon Duhamel’s office, not even in the fire proof vault that were being collected, wheeled them up to
the Mayor’s conference area and took a picture. Did my stuff fall out when you took them out of

                                                                                                          134

                                                                                            NPD-LO-3832
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 135 of 424



downstairs? Did we lose the papers there? We don’t know. All I know is information is now missing from
my file and my file has been out of the Assessing office repeatedly. I have called other assessing offices
and talked with other chiefs. They treat those records sacred. They don’t leave the office. I don’t know if
the DRA has regulations, I’m going to look in to that and the ASB on how property record files or data
should be maintained in an office. Maybe they don’t may be they do, I’ll figure it out. But we should
have a policy whereby nobody gets to walk around with the record files or take them; take a copy, copy
is fine; but the originals? What you’re doing is removing information that belongs to the public. Anyone
can come in and look at my property record file. It’s not just mine, it belongs to everyone in the City, and
they have a right to access it; and when individuals remove it, that right is gone. So I would like you to
consider some type of policy or practice where this does not happen any longer. The experience people
in Assessing, who I look at, Louise and Greg, they’re not speaking up to say, we don’t take the records
out of the Assessing office. Nobody’s speaking up to stop it. Everyone’s going along with it, and it’s not a
good practice. I’m not happy my information is missing and I will never know what happened to it.

“I want to address with you a property, a concern I have with the property. Okay let’s see, it was on
now it’s not. Okay it’s coming back on, can we make it larger? I don’t know if that shows.”

Ms. Cameron “It self-adjusts.”

Ms. Ortolano “Okay it’s losing its signal on and off so we’ll just have to go with it... Okay it self-adjusts.
Okay. This is a property at 500 Main Street and this property is particularly interesting to me because I
went and pulled the permits on this. It had a permit in 2004. And the permit in 2004 was to replace a
boiler. That’s what’s on the permit down in the office. The permit has remained open with a check back
for 2018, so that’s 14 years. Another permit was pulled down in the permit office in 2010, which was to
rebuild, replace the garage and rebuild to a bigger foot print and add a half story with storage up above.
That never even made it to the property record card. So I don’t know what that’s about. But this house
is noted in the comments section, now you can see 11, 13, 14, 15, 16, 17 & 18 this property has been
reviewed and in 15, 16, 17 & 18 it’s only been an exterior review. When you look at GIS on the exterior
in 17 a large deck was put off the back. It’s not on the card. So I’m questioning if anyone really went and
did an exterior review, because that deck and that landing should have been caught, it’s big. I only
suspected because it’s a ranch house that on a fairly large lot, 1.3 acres, probably had a patio or a deck
on the back, and it did. Brought up GIS, had a big deck, maybe 250-300 SF. I don’t know how you miss
that. But GIS pictures going back to 2017 show the footings going in, the sauno tubes. If you went in 17,
you would expect it to be taxed in 18. It’s not on the card. But the other interesting thing is there’s a
check back in 18, they went in 18 but in the notes section the last note says: added air conditioning,
check back in 2018 under construction. This property has been listed as under construction for years
with internal work going on but nobody is getting in. And there’s no note in the comments section that
they’re actually talking to the owner. They seem to be getting information that it’s 25% done, 50% done,
whatever, but there’s no indication that that’s happening. This is a great property to ask your legal office
when do you take action? They have liked to say, Attorney Bolten we’ll do something about this. If you
have a property owner that has a permit open for 14 years on construction and you’re not getting in for
5-6 years, when do you stop believing that it’s still under construction and assess it? The other thing is,
it’s getting, it was supposed to be check back in 18, it’s check back with no note, it’s 19 goes by they
never go back, 20 is here now and it still got an under construction depreciation of 25%. This is really
high; I don’t understand why we keep that on the property record card. There’s a story here, and I think
we should understand what the story is, but I view this as a mishandled property.

                                                                                                          135

                                                                                            NPD-LO-3833
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 136 of 424



“The other one is owned, is a property that is a duplex owned by the same family and it was a totally
rebuilt duplex. They purchased the property, tore it down put in a new foundation, put up a brand new
duplex. That’s fine.”

Mr. Earley “What’s the address on that?”

Ms. Ortolano “2 Markar, M-A-R-K-A-R, 2 Markar Street. And a matter of fact, here’s a picture of it, you
can see. It’s a newly built, newly constructed. This is 2017 GIS picture as of 4/15/2017, the month of
annual inventory. Okay and when you go back and you look at 16 you see the foundation poured, a
brand new foundation and then in 17 you got the whole house up. Okay it doesn’t mean the interior is
finished but the house is up. If you see, it says in the notes section, we removed under construction and
we completed the project for 2019. But when you look in the depreciation section the under
construction code is never removed. And it’s still getting a 15% discount. That takes 30,000 off the value
of the property. It concerns me when I see this because you’re in AssessPro, you’re putting a note in,
why are we not taking the depreciation off and rerunning it? You know these are 2 examples and I could
give you 20 more, but I’m not going to do that. And I’m going to continue to post things out on the web
like this and bring these up as attention items, because they’re concerning to me. I’m fighting for equity
and this is what I’m seeing in my City, it’s unacceptable.

“The other item I wanted to definitely talk to you about is swimming pools. I put a post up on pools. I
asked Jon Duhamel a year ago in January, why the yard items, by KRT, were doubled; pools, tennis
courts and other yard items were doubled. And Jon said to me you’re going to have to wait for the
USPAP comes out. I addressed yard items at this meeting and I met with Kim Kleiner and I talked to her
about these yard items; why did they double? What was happening…there’s minutes and notes that
show KRT was going to be invited in to talk to the public. You folks were going to let the public talk to
KRT, you cancelled that and we never had an opportunity to talk to KRT, so we could never figure out
why this was done. So I believe somebody up here knows the answer to that question and I think you
oughta answer it for the public.

“But what’s happened with the pools, is you had a member of the community that filed an abatement
on a pool. I didn’t even know this member of the community had a pool, okay. When I talked to Jon
Duhamel in January of 2019, I was just digging through data looking at these yard items saying wow
these are so weird, these don’t even make sense. I owned a pool in Litchfield and I went back over there
and looked at my 1995 pool on my card and it’s assessed for like 10 grand. Pools in Nashua have gone up
25 to 45,000 for assessments. It’s absurd. This individual went to the 2nd informal hearing and had her
informal hearing sheet, which I got a copy of, and they wrote pool’s too high need to be changed. Cool,
okay. My understanding and based on the emails I received from the City, the assessors thought the
pools were too high. Gary and Mike thought these residential pools were ridiculous. And in fact, Gary
had Mike change this property owner’s pool, take it down. Okay. Then there was a series of emails
where Louise Brown is saying, hey this assessor could get fired for doing that; we’ve fired people for
that, taking down a single pool, and we can’t do that. Then there’s some redacted emails from Jon
Duhamel to the assessor, and then all of a sudden the pool value is put back on the property card. The
issue there…and the community member was called into Jon Duhamel’s office and he said, hey, you
can’t change a single pool, you gotta change the pool tables and treat all the pools the same. Well that
kinda makes sense, and he said I can’t do that. I can’t change the pool tables. At the time of that
meeting I really questioned what was going on because he is the one who changed the building code 72

                                                                                                       136

                                                                                         NPD-LO-3834
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 137 of 424



tables, right at that time. Greg is contacting Jon Duhamel saying I’ve run a back of the envelope kind of
analysis, quick analysis; these building code 72’s are too high can you take it down to 110? Jon says sure.
He goes into the tables, he asks KRT do you mind if I drop these? KRT says go ahead; he drops them to
110. That’s fine but then he tells the homeowner, a residential homeowner, I can’t help you. I’m sorry.
This can’t be fixed. It’s as if you’re putting the screws to all the residential property owners. KRT has said
pools are for rich people and the rich people with pools in Nashua are going to be slammed and that’s
what you did. Now when KRT came in and did abatements they used one pool property as an example.
The pool is on the property record card for 40 grand, it’s a gunite pool. When they applied it to a sales
grid and looked at it they put at 15. That’s the max they would give it. I happen to agree that that’s the
proper assessment number. I just had an appraisal done and I talked to a professional appraising
company and they said to me we will never place a pool above 16 and the conditions have to be right for
that; like what’s the size of the lot? We have heard our assessors say, our residential assessors say, that
pools affect the sale of a home in a negative manor. When the assessors said that I did some research, I
found the assessor’s statements were true. The time on the market extends when you have a swimming
pool, because a lot of people don’t want them. And if you have a pool in a yard with a very small foot
print where you take out your green space or there’s safety issues with children, they’re even harder to
sell. So this concept that pools add value between, you know 10 to 15 makes sense to me and it’s what I
see over in the town I left, 10 grand. Okay. Your pools now are in neighborhoods that are all ranch
neighborhoods that have in-ground pools, and they’re putting 30, 40, 42,000 on these pools. That’s a
massive adjustment on the assessment that’s going on swimming pools. I’m upset because I feel like this
City lied to the public. First of all they should have addressed it. The assessors should have stood up and
said this absurd and they did in a way, but they backed off. And this individual who wanted the pool
fixed is in an appeal process. I think the BTLA will grant it. I really do cause it’s so ridiculous. But you
should do the right thing and fix the pool tables for everyone. I gotta list of pools in the City but it
involves businesses as well, residential I’m going to say, I don’t know, maybe 6-7-800 swimming pools. If
you could change building code 72 and knock assessed values down 24 million, you oughta be able to
change swimming pools, which isn’t going to be much more than that, and help the residential property
owners that got slammed. They shouldn’t have to wait 5 years. This was just handled wrong and makes
me very distrustful of the office when I see what was done and no assessor stood up to take a corrective
action. Thank you.”



Board of Aldermen Tuesday, February 25, 2020

https://www.youtube.com/watch?v=8StGSD29EV0

49:51

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I came out tonight because I knew you were going
to approve the contract for Vision to start their Measure & List. I wasn’t certain if they were going to be
here because KRT had presented to you in 2018 before they started, and I actually thought Vision was
going to be here tonight to talk to you. I know the Board of Assessors is holding a special meeting on
Monday at 4:00 with the DRA to present the process and hopefully allow some public input.

“But I wanted to speak to you a little bit about a couple things with the contract. I know you are all
aware that my belief was that the contract we had last time was not complied with well. There wasn’t a

                                                                                                          137

                                                                                            NPD-LO-3835
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 138 of 424



lot of oversight and I do believe this time around there will be more. But what I notice about the
contracts when they are written, and I think they are largely developed by the DRA is they are very
boiler plate contracts. The one that is presented now is very similar to the one that KRT used. That’s fine
but we still have to make certain that there’s compliance within that contract. One of the specific areas I
am concerned about and interested in is the informal second hearings that were held by KRT that are
also going to be held by Vision, not only when they do the update but I believe as they go through and
make changes to these properties each year at the third of the City. I would imagine there will be some
process where people could question the changes they are making to the segmented properties they
are looking at.

“When KRT came to the Board and talked to you about that, there were a couple Aldermen, Alderman
O’Brien and Mary Ann asked good questions about that informal hearing process. Alderman O’Brien
wanted to know specifically what that was and to go over so the public could know what the process is,
what the hearing type is about and they can understand what is going to happen there.

“The President of the Company told the Board, “sure they come in, we go through their property record
card to make sure that there is no discrepancy with the data. We can explain how the value is arrived. If
they have comparable sales or what they feel are comparable, they can bring in and show them to us or
comparable assessments. If there are neighbors that have very similar houses and their values are very
different, it is those things that we can look at. So we do put together, for the tax payer, a little mini-
manual and we explain the whole process on how we develop the values, how the neighborhoods were
delineated”. It gets into pretty good detail.

“Now anyone of you, if you went out and attended that informal Hearing, none of that happened. And
that was a bone of contention with me. First of all, we didn’t even know we were supposed to bring our
property record cards. The letter that was mailed to the home owners about these hearings never said,
“get your property record card”. Property record cards weren’t on-line so unless you called City Hall and
said, and there were 2,050 people that went to these second hearings, most of them represented
residential property owners in each Ward. So that was roughly 5% of the residential property owners
that came out. So if each one of them didn’t call the Assessing Office and say, “Print my card and leave it
over at the meeting for me when I come out”, you were really lead to believe, or you would have been
led to believe as an Alderman seating here, that there would have been a computer there or the
appraisers at the meeting would have had access to a computer screen to pull up your property record
card to go over it with you.

“In fact, none of that was available. And this concept that they provided a little mini-manual or
delineated how these assessments were done was absolutely false and that was a big issue for us. What
they did is sit there and tells you, “we created a very sophisticated model, our model is very powerful”.
That’s exactly what they told residents during the abatement process who came in to talk about the
abatements last summer, June. We have a powerful model. That’s not compliant with the State rules on
addressing assessments and level of assessment.

“As a matter of fact, IAAO and the State calls it out specifically says, “Never say we have a powerful
model”, because the taxpayer doesn’t understand that and they don’t have access to the model. You
have to go to a fee appraisal basis and you have to present properties within the neighborhood and
show them that this really is in line with what they think it should be. That’s what we know and that
never happened. And no one called them on that. So I appreciated the Alderman who addressed it, but I

                                                                                                        138

                                                                                          NPD-LO-3836
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 139 of 424



think this time around we have to hold them, Vision when they come in, accountable in these informal
hearings to value, defend and justify the information that they are giving to us. And if they say they are
going to provide us with mini-manuals and explain the assessments in our neighborhoods to justify our
values, then by God do it. Because we walked away with nothing and we walked away from an abating
process with nothing; two rounds of it. They proved nothing. “We have a powerful model”.

“There was something else I wanted to raise and I didn’t write it down. I can’t recall. So we will end it on
that. But I hope, I don’t know if Vision is going to come to this Board; I hope when they do, you ask a lot
of questions. Because of each one of you represents a Ward and I think that the property owners within
that Ward will all be stepping through this process. Oh I know what I wanted to raise, I am concerned
and I have written this in e-mails before to the City that in the next go-around, because our property
cards have a lot of questionable data on them, especially with the depreciation code. You are going to
see properties that get adjusted and changed significantly and I am really concerned and have been
since the beginning of this process that we are going to slam property owners with very high increases,
because their properties just weren’t valued correctly, basically since the recession. We never quite got
the right correction in after 2008 and we have moved this market up really heavily.

“I even have a girlfriend who lives in New Jersey and they did an assessment down in her town and the
values came in very high; the City went nuts. They re-set everything back to the old value, they re-did it
again and then they decided to do a Phase-In over 3 years. People who saw increases above a certain
amount were given the increase incrementally placed in their property tax bill over a 3-year period to
phase it in to get this correction made.

“I am very supportive of something like that and I have written this to the Administration; I have never
received a response. I know that it would require some DRA effort, but I think it’s worth talking about
now before this happens in 2 or 3 years, to see if there’s any way to reduce the burden of what might be
coming down the road on some of these properties and especially where the market is so high. Our
equalization ratio dropped to 88.8%, we are in the second year outside of a revaluation and we are
already 12+% under market value, you know? We need a correction badly, actually. And if there were to
continue to five years, the market itself will be pretty hard on these assessments and then you couple
that with potential errors on the property record cards. It could be a real slam to a lot of people and I
just don’t want to see people hit like that. So I hope there’s some creative thinking that happens in this
horseshoe and in City Hall to address it. Thank you.”



Personnel/Administrative Affairs Committee Meeting, March 2, 2020

https://www.youtube.com/watch?v=Vy50Brwoz30

07:43

Laurie Ortolano “Laurie Ortolano 41 Berkeley Street. I am here to speak to the change in the ordinance
for community comment. I am concerned a little bit about it. What is written in here, first four items
that are Part C, I fully understand. I raised a question in the e-mail about Item 5, the first five minutes
and then the three minutes in the end on what that meant and I am hoping tonight I don’t have to go
over it again, but you could explain what the 5 minutes and the 3 minutes how they apply. And what
happens at a Hearing when you have two comment sections for “for and against” just so that there is

                                                                                                         139

                                                                                           NPD-LO-3837
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 140 of 424



clarification. I am concerned with Item 6, the presiding officer may allow questions at the presiding
officer’s discretion.

“I feel that I have been a controversial individual who has come to the microphone and if you are not
liked, you are not treated as well as individuals that share complimentary comments to the Board. I just
want to make certain that I am not treated differently from anyone else because my comments are
dissatisfactory to you or anyone here as an entire Board. So I think that you need to institute a time
clock procedure to treat us all fairly, so that’s the way it is done. Because I notice when I go to the
microphone I am warned before I am even out of my seat and I chuckle a little bit because I see other
people go up and they are not warned at all.

“I also think that the e-mails are great and providing copies is great. I’ve had a lot of trouble getting
responses from the Aldermanic Body to e-mails, that’s where all this assessing stuff kicked off. I will say
that the e-mail that I sent regarding this Ordinance, I got three responses back from the Aldermen on
and I am very, very pleased and appreciative of that. It says, “excess repetition and irrelevant remarks
are discouraged” – that is a little subjective. Item 10 says, “the speakers remarks have to adhere to this
Ordinance or other applicable law”. I don’t know what other applicable laws are and that needs to be
defined for me.

“One example I’d like to give you is that I spoke at the May 28th meeting last year. And I addressed a
sore topic with the Aldermen which was about our senior assessor who goes out and writes on the
board, “I’m heading out to the field and going to check properties” to find out that he was actually in
parking lots for 2 ½ hours and driving around and going to the Holiday Inn. When I brought that topic up,
the President Wilshire said to me, this Board has nothing to do with personnel matters so I respectfully
ask that you keep your comments to the Board to what the Board has purview of; we don’t have
purview of personnel matters. And I said, “Well I think it’s OK and who has purview of performance
issues”. “How do we address performance” and that’s reasonable, I am addressing something that the
Mayor addressed at the meetings, the public meetings that he holds.

“He brought up this demoralizing nature of the report. I was at your meeting addressing it. Then I was
interrupted again, “what I am telling you Ms. Ortolano is the Board does not deal with personnel
matters for City Employees”. I said, “Well I am not asking you to deal with it or reprimand, but I am
asking you to listen”. Then I was interrupted again, “we’ve been listening for weeks of the same thing,
over and over again about this employee”. I said, “No you haven’t, the report just came out, I have
never addressed this employee at the microphone”. And then Alderman Dowd said, asked for a ruling
from Corporate Counsel.

“My concern is, would this be an example of what the President could turn around and just shut me
down on right from her seat with this change of the Ordinance? Because if it is, I am not in favor of this
at all, and I am really concerned by that. So I have something else I want to address with you but I will do
it – oh the other thing is on this list, I think you should put that if there are more than 5 people at the
end speaking they would obviously be using the 15 minutes and the Board should make every
reasonable effort to hear the input of all those who sign up at the end. Let’s say you have to go 20
because there’s 2 more people, I would hope that you’d do that. And if there is only one person in, like I
was there last week for community input and no one was there, would you extend it more than 3
minutes or is that not going to be allowed? Those are questions I have, thank you.”


                                                                                                        140

                                                                                          NPD-LO-3838
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 141 of 424



2:32:20

Laurie Ortolano “Laurie Ortolano 41 Berkeley Street. Quickly, I wish there has been copies of your
amendments here for us that came along to follow this so that we’d have …”

Alderman Dowd “I had my own machine, so I only restrict them to the Committee and they change
anyway.”

Ms. Ortolano “OK but it’s hard to follow along and you’re here for a long night and it’s nice to be able to
follow along because these were extensive changes. Also, I’d like to ask the Committee to consider
putting the public input, all of it, at the beginning. I lived in Litchfield, we moved all of our input to the
beginning for the public. It’s grueling to come out and sit for 2 ½ and 3 hours for your three minutes of
speech, it really is. It is miserable, I think people don’t come because they are too busy working and it is
too late. Also I think that e-mail communications are like a flush down the toilet for me. I am writing e-
mails to the Board and expecting a comment is really a dead end. I got into a heap of issues when I came
to the Board of Aldermen with my concerns about Assessing; couldn’t get anywhere. I switched over to
the Board of Assessors, couldn’t get anywhere; and after five months, I ended up at the State which
opened up a whole can of worms because nobody would give you an answer. So when I hear that I can
write an e-mail and send it in, to me, it’s a flush down the toilet and I might as well talk to a door. So it is
really discouraging to me. But I would like to address issue and I don’t even know if I am at the right
Committee. Personnel, there was an article in the paper about this whole Police investigation. One of
the things that it said on a salary/personnel issue, is that a salaried employee, meaning he’s entitled to a
salary regardless of the actual hours he works, as long as he works at some point during a pay period.
That’s what our definition of a salaried personnel is.”

Chairman Caron “I’m sorry, I hate to stop you, but that doesn’t come under our jurisdiction.”

Ms. Ortolano “Who does it come under?”

Chairman Caron “That should come under HR.”

Ms. Ortolano “I called HR; it doesn’t come under them. I got an e-mail from Larry Budreau and here’s
what I asked. I looked up the Union Contract for these salaried employees and the Union Contract
defines a work day or the work week as five, 8-hour days. That’s what they are supposed to work. But
then the article in the paper in the paper comes out and says they don’t actually have to follow any
hours; that they work – a salaried works regardless of the actual hours he works, as long as he works at
some point during a pay period. Who defined that. How do I figure that out.”

Alderman Tencza “If I may just comment. I think that may be definition under State Law and not the
City’s definition of it. I don’t know if Attorney Jette has any other …?”

Ms. Ortolano “Well then why do we have a Union Contract that calls out what a work week is?”

Chairman Caron “I’m just checking with the Budget Chair, would that come under Budget because that’s
finances, that’s money? So I don’t know if that would come under the Budget because they deal with
contracts.”




                                                                                                            141

                                                                                              NPD-LO-3839
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 142 of 424



Alderman Dowd “Only when we deal through the Budget with certain positions. A union contract, it’s
one thing. If you are under the City Employee, like Sarah Marchant is the Director or Lisa Fauteux, who
by the way work a lot more than 40 hours I can tell you that.”

Ms. Ortolano “That’s exactly what I thought, when you have a top manager, this really is what it falls
under for salaried employees.”

Chairman Caron “Ok it really doesn’t come under us because we don’t handle us, it is either the Finance
Committee or the Budget Committee.”

Ms. Ortolano “So if it is a Union question I have where do I take it, because this individual operates
under a Union Contract and a Union Contract does not call for this language. So where’s the
enforcement?”

Alderman Dowd “The enforcement would be in the Union Contract, which is available to anybody it’s
on-line.”

Ms. Ortolano “Well I know, I read it, and that was the language.”

Chairman Caron “OK so if this is a Police Department person?”

Ms. Ortolano “No.”

Chairman Caron “I thought that’s what you said.”

Ms. Ortolano “No, oh, no, no, no. This came out of the Police Investigation, this is our employee in
Assessing, this is how Assessing works.”

Chairman Caron “The Director of, or the person who oversees that Department, that’s the way I would
perceive it. If it were the Police Department I would send you to the Police Commission because they
would give you that direction. But Alderman Tencza may be right too because of the wording and I know
Alderman Clemons you had a ….”

Ms. Ortolano “I mean I will check the State Law and see if this State Law if this is General State Law
language. But I just don’t understand how low level employees get to, if they work 2 hours a day and
they did their job, whatever was defined by them, they are done. I don’t even understand that.”

Chairman Caron “I don’t know but Alderman Clemons has a comment.”

Alderman Clemons “Each individual Union Contract is unique to the Union. But in some areas of the City
even the top employees are in the Union. Like for example we have a principal’s union. So all of the
principals of the school or most of them are in a union, they are in a collective bargaining unit. So just
because a person is at the top of their Department if you will, doesn’t necessarily mean they won’t be
covered under a Union Contract. So that’s the only point I wanted to make. As far as your concern goes,
are you getting that information from the Telegraph article.”

Ms. Ortolano “The Police Department Inter-communication document cited this as the City’s rule, not
the State Law. And then I read the Union Contract and there’s no parallel. And I went to Budreau and
said, “how can this be, how can this be, who speaks to this because it is our money, we are paying
employees if they work two hours and the boss says you’re done, they’re done”.


                                                                                                         142

                                                                                          NPD-LO-3840
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 143 of 424



Alderwoman Kelly “May I address, ok thank you. Can you read it again because I have a different
interpretation of what you said?”

Ms. Ortolano “The employee, it says his name, Turgiss is a salaried employee, meaning he is entitled to a
salary, regardless of the actual hours he works as long as he works at some point during the pay period.
And what it says is investigators said that speaking with him they learned he often uses his lunch break
to relax. In speaking with Turgiss’ supervisors, the Human Resource Department, it appears that Turgiss
was completing the work that was required and expected of him states the inter-departmental
communication. So if he were given a task and it took two hours and he was done, sort of like mailmen,
his day is over, it’s over.”

Alderwoman Kelly “Could I re-address please?”

Chairman Caron “OK alright, we don’t want to get into a debate here, I understand your question.”

Alderwoman Kelly “And that was from the investigation. So my only point was that it says “during the
pay period” so I am interpreting that, if that is the language, of they have a week to get 40 hours done
whether they do two hours one day and ten the next, they are still doing the hours.”

Ms. Ortolano “No my clarification was 40 hours is immaterial. That’s what bothers me because the
Union Contract says, five 8-hour days, 40 hours. Like a postman doesn’t have to work 40 hours, a
postman has to deliver their route and when they fill their cart and deliver their route, if they get it done
in 6 hours, postal workers are done. But it’s a Saturday and they come in and they have a lot of mail to
sort, they have to do a 10 hour day. And that’s how it’s done. They are not committed to a 40 hour work
week.”

Alderman Tencza “Ms. Ortolano, check RSA 275:43B on salaried employees.”

Ms. Ortolano “Ok for the State?”

Alderman Tencza “Yes, for the State Law.”

Ms. Ortolano “So I don’t know if I just don’t understand what a Union Contract does if that is a salaried
employee contract, what’s the difference. Why do we have one? Why do we call out what their hours
are? I don’t know, that’s just an interesting thing.”

Chairman Caron “Well I think a salaried employee has to work a minimum of 40 hours, most of them
work more. But I think they are defining the other employees who are not salaried, that they work a five
day week, eight hour day to make their 40 hours.”

Ms. Ortolano “No because the contract is the professional contract is the salaried contract. They have
different UAW Contracts, so I am looking at the professional one.”

Chairman Caron “But that doesn’t necessarily mean they are all salaried, that’s what I am saying to you.”

Ms. Ortolano “Well there’s only one set of language in there. I was trying to figure it out myself.”

Chairman Caron “OK but I apologize, we tried to help you but really this isn’t the Committee.”

Ms. Ortolano “Hard to know what Board, where to be. But I would appreciate considering moving public
input to the front. It’s grueling to have to sit here. Or call in, be progressive, I don’t care what

                                                                                                         143

                                                                                           NPD-LO-3841
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 144 of 424



Manchester does. We are talking about being progressive for bars and everything else, let us call in and
we can give you our input from home.”



Board of Assessors Special Meeting of March 2, 2020

https://www.youtube.com/watch?v=VNPTKJbsQno

48:08

Ms. Ortolano “I’m going to slide over here so I can see and not just behind everyone. Laurie Ortolano, 41
Berkeley Street. Couple things; when will the GIS update be done with the new pictures 16 of 22 without
the foliage cause will you use GIS pictures to help confirm what you’re looking at for properties?”

Mr. Hansberry “Mrs. Kleiner”

Ms. Kleiner “We will have a flight this coming spring that will replace the pictures that were done that
had foliage.”

Ms. Ortolano “Okay, and will Vision use GIS data, will you be using that for exterior work? I’m just
curious.”

Mr. Tarello “We’ll be going right to the properties and taking photos, doing inspections there. But we do
use GIS and Pictometry and so forth, when we do valuations.”

Ms. Ortolano “Okay. The map you gave us is Ward 1 and I presume you’re sort of marching through the
City ward by ward to try to get through each one, whatever you get done is that correct?”

Ms. Perry “Yes.”

Ms. Ortolano “You mentioned that you’re going be doing the input as after the annual inventory, after
the April 1st date or you’re going to pick it up at that point. Let’s say our inventory isn’t finished by April
1st because in a big City it’s very hard to do that so are you going to be picking up permits and sales data
that is in this year 2020, that’s occurring after April 1st or are our assessors going to be handling the
input to the computer on that data?”

Ms. Perry “As of 4/1 this year, the assessors will be handling it. We’ll be doing it after that.”

Ms. Ortolano “So, from now to 4/1 the assessors are on, after 4/1 whatever’s not picked up, you’re on?”

Ms. Perry “Right, after this year has been closed out.”

Ms. Ortolano “Okay perfect. Are you going to be resetting, I noticed that you mentioned that
supervisors are the ones that determine the subjective criteria, the depreciation, the grade, the
condition. Are you going to be making determinations on properties on those factors when you’re out in
the field for each group you look at now to try and address the depreciation issue we have in the City?”

Mr. Tarello “What we’re going to do is, we’ll make determinations on it but the team that’s out there
will gather information for us and put notes and comments and so forth, because they’re there at the
time. Statute we are required as supervisors to make the decisions and so forth in the value but we’re
doing it based on the information they provide.”

                                                                                                           144

                                                                                             NPD-LO-3842
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 145 of 424



Ms. Ortolano “So, what I’m wondering is will property owners…let me back track. What I understood is
that as you go out and you look sample properties or you do Ward 1 and you get into homes and you
see there’s an extra bathroom or a finished basement, my understanding was that’s going to be taxed as
you find it. The card will be updated and the property owner will be assessed for those improvements.
Will they be assessed for this subjective data as well or you going to handle that all at the end?”

Mr. Tarello “That’ll be handled at the end; so this is just the physical data corrections.”

Ms. Ortolano “You’re going to do physical.”

Mr. Tarello “Yeah.”

Ms. Ortolano “Okay that’s good. Cause I think it could be a real deterrent if some of that gets set.”

Mr. Tarello “We’ve discussed that and talked it, it’d be better doing it at the end it’ll be more
consistent.”

Ms. Ortolano “Yes, okay that’s great. Will property owners be given letters if their assessments are
changing? We have a policy within the district that if it’s not more, if it’s not more than $20,000 we
don’t send a letter out but if it’s less than that and it’s a change that’s being captured by you will they be
notified or are they going to not be notified?”

Ms. Kleiner “It has been our policy if our assessors are out and they pick up something and it’s over
$20,000 that we issue a letter. We haven’t discussed this part of it and we may want to handle that
differently, but I think that is something that we need to discuss.”

Ms. Ortolano “Okay, that’s fine.”

Mr. Tarello “I’ll note that and look into it.”

Ms. Ortolano “Okay that’s perfect. The data that you’re going to be… changes to property record cards.
Are you going to be going to the field with a physical property record cards or do you use a tablet?”

Mr. Tarello “We’ll have physical property record cards.”

Ms. Ortolano “Okay, so those will all be marked up and that data will all be returned back to the City?”

Mr. Tarello “Oh yeah.”

Ms. Ortolano “Perfect. Great. My other questions have to do with modelling but I think that can wait a
couple years because that’s all going to come down the pike. Thank you very much.”



Board of Assessors March 5, 2020

https://www.youtube.com/watch?v=5kD4Xbs1_Lw

12:04

Mr. Hansberry “Thank you Attorney Leonard. Ms. Ortolano?”

Ms. Ortolano “Do I have to push this to speak?”


                                                                                                          145

                                                                                              NPD-LO-3843
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 146 of 424



Mr. Hansberry “Does she need to push…”

Ms. Ortolano “No, I don’t think so, okay. Hopefully everyone can hear me. Laurie Ortolano, 41 Berkeley
St. Just with what was said and Lynn presented, on the signed settlements, or coming into public and
voting. I would encourage you to do that. I think she’s absolutely right. It is much more transparent. And
for myself, I have to go and request to get copies under right to knows to look at those settlements,
correct? Where are they? Where are those settlements available to me Dan?”

Mr. Hansberry “It’s a comment period, Mrs. Ortolano. Not a question or comment period. It’s a
comment period.”

Ms. Ortolano “Actually, you do say you answer questions and you’ll get answers so, and you have done
it before so that’s why I’m asking. But okay, so here’s a question how do I get those settlement
agreements and where are they available to me? Does it force me to have to go through a right to know
to see how issues are settled? I would much rather be able to see it in the minutes and not have to put
the administration through right to know requests. So please consider doing what Lynn said and making
them transparent. Now I addressed at the last meeting pool tables; the data on swimming pools. Did
you as a Board think about that or discuss whether you would be willing to make changes in the pools
tables? I’m assuming you didn’t because nobody’s willing answer me. That’s okay, but I just wanted to
give you an opportunity to do it before I went public on some issues regarding this and I was hoping that
you would do something so I wouldn’t go public with issues like this; but you’ve answered my question
with no answer, thank you.

“Another question is do we have anyone in the Assessing Department who can reevaluate a subset of
properties? Angelo Marino was capable of looking at subsets of properties to do revaluations because
assessors, in-between updates or revaluations, can re-assess groups of properties that have fallen far
out from the ratio determined by the DRA. That’s legal and it’s allowed. And my understanding, in the
past, is Angelo would do that. He would look at a property group that had fallen below the ratio and try
to pull it back up. So that when you went that 5-year period that group of properties wasn’t killed in the
update by seeing assessments go up 50% or more or doubling. Now I happened to talk to a few ASB
members up at the State, and they in fact, they do that. I had a detailed discussion. And when you do
that re-evaluation of the subset it is turned into the DRA as part of your update material. They keep
tract of it. What subsets are you looking at? So, when the DRA came in on Monday, they spoke about
the fact that mobile homes have dropped to a ratio of 77% but the ratio is 88.8. That’s a perfect set to
go in and do a re-evaluation on. I’d take that subset of homes and reset them because they’re really
sliding. And if you wait 5 years, they’re potentially going to be people to see the biggest impact, and
they also tend to be the people who have the lowest incomes. So, one of the concerns I have is we have
lost the ability to do these subset rests when the ratio is dropping. So, another question I have: has
there been any discussion on outsourcing commercial appraisals and assessments in the City? I think
that the commercial aspect of our assessing office is really hurting when it comes to manpower and
work. And it’s also a very difficult subset of properties to assess. And it seems to me we discussed
outsourcing, the Board of Aldermen discussed it briefly too, Aldermen had asked the Mayor to come
forward with a plan to look at outsourcing, and then it got dropped. Nobody followed up on it. I’m
bringing it back because I see enough issues in this office that I’m concerned, but one area that I think is
incredibly difficult for the City to manage is the commercial properties. They are a tricky set. I think
that’s a really tricky group of properties even to get through abating with those properties. My question

                                                                                                        146

                                                                                           NPD-LO-3844
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 147 of 424



is, has there been any conversation about outsourcing that part of our assessing function? I know you
don’t answer right now.

“A few meetings ago, a month ago, I addressed policy and the potential to develop some policy on some
issues that I thought could use some policy development. Has there been any movement or interest on
the part of the Board to develop policy? Again, a non-answer is an answer. I’m disappointed that you
don’t value policy the way that policy should be valued as a board. I think policy serves a purpose; it’s
powerful. It gives the public an avenue to understand what’s really happening; it gives us something we
can voice on, and you’re not doing it. That’s really disappointing. So thanks, keep up the rubber stamp
work. You’re doing an awesome job.”



Budget Review Committee Meeting, April 29, 2020

Public comment submitted after the agenda was prepared.

Formal letter from L. Ortolano postdated April 29, 2020 (next page)

See pages 25 & 26 of the meeting minutes:
https://nashuanh.gov/AgendaCenter/ViewFile/Minutes/_04292020-4917

The communication was accepted by the Board of Aldermen and placed on file on Tuesday, April 28,
2020.




                                                                                                     147

                                                                                        NPD-LO-3845
Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 148 of 424




                                                                     148

                                                          NPD-LO-3846
Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 149 of 424




                                                                     149

                                                          NPD-LO-3847
         Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 150 of 424



Public Hearing for FY21 Budget Review Held by the Board of Aldermen, Wednesday, May 20, 2020

https://www.youtube.com/watch?v=_dkoZP5eiNs

52:05,

Chairman Dowd: “We are going to start with the Mayor’s Office and if you want to be recognized please
go video or state your name and I will call on you. Give your name and address for the record, please.”

Laurie Ortolano “Hello?”

Chairman Dowd “Yes? Laurie Ortolano?”

Ms. Ortolano “41 Berkeley Street.”

Chairman Dowd “You have 5 minutes.”

Ms. Ortolano “The Mayor spoke about essential and non-essential positions and that we were holding
off on non-essential positions in the Budget. Did I understand correctly that they are in the Budget and is
there a list available of the essential and non-essential positions so that a resident can know how many
positions are there and essentially what kind of growth that put (audio cuts out) into the budget?”

Chairman Dowd Mayor, do you want to address that?”

Mayor Donchess “Yes, let me unmute myself, I’m sorry. So I think I used essential and non-essential in
two different ways. Certainly in terms of who is working remotely, we have developed a list of non-
essential and essential positions that have been done by Emergency Management and a team of people,
Justin Kates, and a team of people. And what we mean there is that non-essential positions don’t have
to be on the job, they can work remotely. For example, some IT functions can be performed, even
though we need those functions, they can be performed remotely and therefore don’t encounter any
COVID-19 risk. On the other hand, we have First Responders, we have Public Works, other people who
have to be on the job that cannot work remotely. Those are the essential positions that cannot work
remotely. So that’s the way those terms, at least I have used them and the City has used them in the
context of redesigning City operations to (audio cuts out) safely with COVID-19.

“In terms of the open positions, open positions, the hiring freezes, there are some positions open and
we really look at those on a case-by-case basis to ask the question, OK there’s an open position, do we
need to fill that right now? At some point we might need to but do we need to do it right now. If the
answer is No, we can defer it, the hiring freeze would defer those positions, we save some money while
we are waiting and in the delay that results from the hiring freeze. That does not mean that someday we
won’t fill those positions but right now we don’t think they are necessary to today to fill the job.”

Ms. Ortolano “So can a citizen get a list of what those positions are within the Budget that you looked
at? I mean you explained essential and non-essential from Emergency Management and I understand
that but I am really talking about the Budget. Is that something that is available or not, I just don’t
know.”

Mayor Donchess “The ones we are looking at are the open positions, meaning people have resigned or
retired or whatever. There would be a list of the open positions that currently exist, yes. That is
somewhere.”

                                                                                                       150

                                                                                         NPD-LO-3848
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 151 of 424



Ms. Ortolano “OK.”

Chairman Dowd “You have a couple minutes left.”

Ms. Ortolano “Just one other quick one then. Healthcare – I was curious, I am glad you addressed the
high deductible plan that you brought forward. It was my understanding and I might be wrong, that the
sign-up period for that might have happened. And if it did, can you tell us how was the response for
switching into that plan and what is the cost savings associated with that?”

Mayor Donchess “I think that we should turn the question over to the Administrative Services Director,
Kim Kleiner, who can give more detail. But in general, the high deductible plan because it encourages, it
incentives shopping and the determination – Well if I can get a service for $500.00 over here and it’s the
same qualify for $200.00 over here, I’ll take the $200.00. They are incentives, but I’ll let Director Kleiner,
who I assume is on the call, talk about the details of how that plays out with respect to individual
employees.”

1:01:40

Chairman Dowd “…Hearing and seeing none we will move on to the City Clerk’s Office.”

Ms. Ortolano “Hello?”

Chairman Dowd “Yes?”

Ms. Ortolano “Can we just jump back to the Legal Department really quick.”

Chairman Dowd “Ok can you say who you are?”

Laurie Ortolano “I’m sorry I hadn’t turned my video on, I’m getting the buttons going. Laurie Ortolano,
41 Berkley Street.”

Chairman Dowd “OK.”

Ms. Ortolano “Does the Legal Department include all of the consultants that are used on various
projects or litigation? For example, if they bring in a consultant to address abatements, is that in the
Legal Budget or is that put somewhere else?”

Chairman Dowd “Attorney Bolton, you are on mute.”

Steve Bolton, Corporation Counsel “It is not in the Legal Department’s Budget.”

Ms. Ortolano “Can you tell me where it is?”

Attorney Bolton “In the example that you offered, that would be in what we call the “overlay”.”

Ms. Ortolano “OK I am familiar with that. And what about for consultants we hire, to do like Attorney
Broth who came in and did his investigation. Where does he come out of?”

Attorney Bolton “I don’t necessarily know, it would be whatever Department was using Attorney Broth
or some other attorney, it would either be their budget or some appropriation from contingency or
elsewhere to pay those expenses. But that would not be in my budget.”



                                                                                                           151

                                                                                            NPD-LO-3849
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 152 of 424



Ms. Ortolano “Ok, and then one last quick question. Are there are other legal services, I mean I’ll just
speak candidly, I was certainly somebody who the City viewed as having a big impact on the legal costs
and raising the Budget $100,000.00. Where does that get logged?”

Attorney Bolton “I would say that’s a complete exaggeration; we got an additional appropriation to
provide for some overtime in order to respond to some of the Right to Know requests that you
generated; others as well but yours were included. But that was much, much less than $100,000.00 in
the Legal Department.”

Ms. Ortolano “OK I think I am going off an article that possibly the Mayor had given a quote to the paper
that I had run up the cost about $100,000.00 grand and I am only going off of that because that was a
number thrown out. Now I don’t care – I think, I recall at some point $50,000.00 was added but is that in
your Budget or was that in somebody else’s?”

Attorney Bolton “There was no $50,000.00 added to the Legal Department’s Budget.”

Ms. Ortolano “So it’s just overtime that I would see in the Budget that would account for whatever Right
to Know Requests were taken up.”

Attorney Bolton “In the 2020 year, this doesn’t even talk about the projected budget of 2021, but last
year, in the Fiscal Year that we are currently in there was an addition made of $10,000.00 to pay for
some overtime and that was mainly the increase of Right to Know Requests (inaudible).”

Ms. Ortolano “Thank you, I did not mean to misrepresent that, I was just going off what had been in the
paper but thank you.”

1:08:00

Chairman Dowd “…Any questions on Administrative Services.”

Ms. Ortolano “Yes, I have a question.”

Chairman Dowd “OK?”

Ms. Ortolano “Hang on I am turning on my video, so when you read a title, just so I know, I thought you
were going to go through each one. When there’s a big subtitle that’s all lumped together and all of
those topics can be addressed, is that correct?”

Chairman Dowd “No I go through every single Department within those major titles. So Administrative
Services Division is the Division, then I go through each one of the Departments. So if you have a
question on a particular Department, you should bring it up when I read that Department. If you have a
general question on Administrative Services in general, you can ask it now.”

Ms. Ortolano “Ok so I am just going to make a comment on this one and then I have one down in
Assessing I will wait for, OK I understand. OK I am just going to say that from a position standpoint, I am
a big believer that the position that was needed in the City was a Chief of Assessing and that I find this to
be a nonessential position that got added to the Budget that we are paying a lot for when what we
really needed was a Chief. And that’s all I am going to say to that, I object to this position and the
Department being funded and the way it was done last year and I think it put an awful lot of expense on
the back of the taxpayer when what we needed was something else. But that’s all I am going to say.”

                                                                                                         152

                                                                                           NPD-LO-3850
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 153 of 424



Chairman Dowd “Alright, thank you.”

Ms. Ortolano “Yeah.”

1:11:38

Chairman Dowd “Any questions on the IT Budget?”

Ms. Ortolano “Yes just a quick question. I had spoken to the Board about working and putting more
information out digitally and I was pushed off on that months ago but was told it was something you
were going to look into. And I want to know if anything has been put into the Budget to look at digitally
scanning records and reducing the amount of people, we have in going to uploaded records that the
public has access to?”

Ms. Kleiner “Alderman Dowd, so Director Codagnone and I, in fact, did meet with a firm today. We are
gathering quotes for that very project. I am not going to say at this time that it would result in any
reduction of personnel. I would think that it’s too – it’s not wise to say that at this point, we need to
explore that more. But we are gathering quotes for digital records.”

Chairman Dowd “Ok, follow up?”

Ms. Ortolano “Just a follow up quickly. You know I was a proponent for allowing citizens or members of
the community to be involved with this and that was shot down and I want to voice my objection to
that. I think that citizens should be a part of sharing information about what we are looking for, for
digital records. And I think the City operates in a closed capacity and continues to look for ways to shut
people out. And I am disappointed in them. It’s nice to hear that they looked at it today but I’ve been
waiting what? Three or four months? So terrific, but I don’t know if they really know what I’m looking
for Rick. And I have a funny feeling that Assessing Office doesn’t. Thank you.”

Director Kleiner “So Alderman Dowd, that building was moved to the City Buildings portion of the
Budget for us to cover the utilities and the upkeep costs until the building is sold. So it is common that it
would stay in the Budget until the building is taken off of the City book.”

Chairman Dowd “OK.”

Ms. Ortolano “Thank you.”

1:16:19

Chairman Dowd “All set? Thank you. Alright, Purchasing, any questions or comments relative to the
Purchasing Budget? Seeing and Hearing none – Assessing?”

Ms. Ortolano “Yes. Laurie Ortolano, 41 Berkeley Street.”

Chairman Dowd “Mm-hmm?”

Ms. Ortolano “This is an area that I obviously have looked at closely and I believe that there are
positions in here that unlike what the Mayor said that everyone is working 70 hours a week, that’s not
the case in this Department. I would challenge anyone who says it is also being handled at 40 hours a
week. So number one, I don’t understand why we didn’t reduce hours or furlough in this Department.
Number two, when we hired Vision Appraisal and I went to the March 2nd meeting with the DRA and

                                                                                                         153

                                                                                           NPD-LO-3851
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 154 of 424



Vision, they explained that by April 1st, after the annual inventory date, that Vision would be taking over
the MLS Sales Verification, the Sales Data and also capturing permits. A major part of our Assessors’ job
description is sales verification and permit capture. And when I heard this, I have wondered what are
our Assessors going to do because their job descriptions involve a good bit of this work and why were
we turning all of this over to Vision and then keeping our staff at the level we were? Frankly, I honestly
thought that the City was making a move to outsource the Department and phase out the assessors, but
they are not actually phasing them out. And I thought that because when you assign the work like they
say they are assigning to an outside contractor that we are paying $1.3 million, then I wonder why we
are paying all these assessors’ salaries and their job descriptions don’t match what they are doing any
longer. I think the job description should match. And it’s not something that I say to put a smile on your
face Ms. Kleiner, I really say it because I don’t understand it and I have wondered and nobody will
answer this kind of question.”

Chairman Dowd “Director Kleiner?”

Director Kleiner “Yes, so I’ll start with the first. The staff who are in the Assessing Department they are
all working 40 plus hours since we closed City Hall Building March 15. So that the public knows, they are
working, we hold staff meetings virtually, they have worked extremely hard to pick up building permit
information to look at new construction, to process exemptions and credits and to get everything ready
for the July tax bills. That staff has continued to work very hard remotely. So I will start with that.”

“The other, going into the full measure and list revaluation, it is very common when any municipality
enters into a full measure and list, you would not lay off your staff. City Assessors will continue to work
hard, they will evaluate property, they will inspect property and they will work with the staff from Vision
day in and day out. They continue to do that now. So it is not when you enter into a full measure and list
common to lay off all of your City Staff even though, yes, Ms. Ortolano is correct, the contract with
Vision states Vision is required to inspect building permits after April 1st.”

Chairman Dowd “OK thank you.”

Ms. Ortolano “Chairman Dowd?”

Chairman Dowd “Yes.”

Ms. Ortolano “Just one quick follow up. You know, I do take exception to the you know “how hard they
work with exemptions and credits”. That is a position that is assigned to one of the clerical members
who primarily handles that. And this is a busy season because this is the exemption credit season. But I
read the last Director’s Report that was given at the Board of Assessor’s Meeting and I talked about how
the Assessors or the Assessing Staff had been very busy, they had 90 e-mails that month and responded
to around 170 calls. I mean I do the math; 90 e-mails among 8 people for a month is an e-mail every
other day. I don’t consider that a heavy load.”

Chairman Dowd “Ok less than one minute.”

Ms. Ortolano “The phone calls I also – 170 among 8 people. I don’t consider that a heavy load and I am
just going to tell you I find some of this discussion simply not credible. And that’s all I am going to say.
Thank you.”

1:24:38

                                                                                                          154

                                                                                            NPD-LO-3852
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 155 of 424



Chairman Dowd “…Public Works Administration and Engineering, any questions or concerns about that
portion of the budget?”

Ms. Ortolano “Yeah just a quick question and I don’t know if it is in this line item or not. The work that is
being done which will continue into this 2021 Budget for the building of the new facility. Is that part of
Administration & Engineering, am I in the right line item area?”

Chairman Dowd “Director Fauteux, do you want to answer that question?”

Director Fauteux “No, that would not be in Administration & Engineering.”

Ms. Ortolano “Ok where would that be?”

Director Fauteux “In fact you would not find that anywhere in our Operating Budget. That would be
separate, that would be a bond that would eventually be sold, which it has not been at this point.”

Ms. Ortolano “Ok so yes, the bond hasn’t been sold yet, it’s appropriated, you are working on it, but it
just doesn’t get carried any more is that correct, it’s not carried any more at this point?”

Director Fauteux “You know I would let I think John Griffin speak to that. He’s more of an expert on
bonding than I am. I just know it is not in our Operating Budget.”

Ms. Ortolano “Ok.”

Chairman Dowd “Mr. Griffin?”

Mr. Griffin “Yes, the question, can you hear me?”

Chairman Dowd “Yes, I can hear you.”

Mr. Griffin “The question was is any part of the construction of the DPW Building appear in the
Operating Budget and the answer is “no”. What we do is when Budgets are approved, we set up a
project fund, so all the costs associated with the project fund would be captured in that area.”

Ms. Ortolano “Ok thank you.”

Mr. Griffin “You are welcome.”



Board of Aldermen Tuesday, July 14, 2020

https://www.youtube.com/watch?v=ZjP-76B8Rm8

2:04:19

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I want to thank the Board for allowing public
comment to be available to us through the Zoom Meeting. It is very much appreciated. A couple of
items. I listened to the communication or the meeting on the Assessing Update. Tomorrow night in the
Finance Committee a consulting contract is going to be brought forth for Rex Norman to serve as a
supervisor/consultant to the Assessing Department. I would like questions asked because this gentleman
is the full-time Community Development Director for Windham and I would like to understand what that
consulting contract is for; how much influence he will have on the work of the Assessors or doing

                                                                                                         155

                                                                                           NPD-LO-3853
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 156 of 424



oversight during the day. If he, in fact, is still the full-time Community Director in Windham. And I just
want to make you appraised of that, that is something I’m interested in understanding.

“With regard to transparency in the office and customer service, I’m really concerned about that. And I
feel that there’s a disconnect between the City Leadership and management and public perception and
reality on what transparency is and what customer service is. First of all, the Board of Assessors has not
allowed public input, either through e-mail or through any kind of verbal communication. And that has
been a real concern of mine. There has been no communication submitted to the Board of Assessors as
public comment. I tried to and they didn’t accept them and I don’t do that any longer. And when the
day comes that they are willing to bring it back that would be great. But that’s a transparency issue for
me.

“I also find that access to records has just been so shut down to the public it is ridiculous. The redacting
policy or the redacting practices that are happening for Assessing records make no sense to me. You
know everything is shuttled up to Legal so that phone numbers and e-mails can be taken off because
they are considered confidential information. But, in fact, when I go down to Building Permits or I ask for
a file to be scanned out of Building Permits, they can the file, they send it to me, it has got e-mails, it has
got private phone numbers and nothing is redacted. You know, your Board of Aldermen Meetings have
only been accepting public comment when people e-mail them in. But none of the people’s e-mail
addresses are being redacted to preserve their confidentiality. They are all out for the public to have.
And yet an application that’s part of a public document in Assessing with an e-mail address is running up
to Legal to be redacted. And the City is complaining and Ms. Leonard is writing letters on the
extraordinary cost associated with them doing that. Why are we doing it then? If the Building
Department doesn’t do it, if the Board of Aldermen don’t do it, and I can’t find other Departments are
doing it, my belief is it is happening in Legal because somebody said, “Slow the public down that’s
looking at information and we do not want them to get that information as quickly so let’s ram
everything up to Legal”. And it’s not just happening because I have litigation going. It is happening to
other people that have no litigation going. I really don’t understand that. And so that’s not transparency.
I should be able to get property record files when I walk into Assessing. And today when I called to get
an appointment, I was told that it could only be 15 minutes and I asked if anyone had signed up on
Thursday and the answer was “no”. I said, “I’d like to do some research, I haven’t been in the office in
four months, could I have two slots?”. “No”. So you get one 15 minute slot and if you can’t get it done
oh well. And then I said, “Well can you schedule me an hour later, so I can come back”? “No, No, we do
15 minutes”. You know, why? If nobody is coming into Assessing on Thursday and there were only three
people who came in and somebody came in for half an hour, is that really a problem? I don’t really
understand that.

“Also these new property record cards that Ms. Kleiner identified that are being put together in a format
that would be easier for the public to access. I’d love to know what that looks like from a transparency
standpoint. They claim they are going to take off data that isn’t used by the Assessors and are
unnecessary for the public to see. I agree that some of that data exists on the card, but I can tell you I
am also concerned that they are going to take off data that is valuable for the public to see.”

President Wilshire “Mrs. Ortolano, you have one minute.”

Ms. Ortolano “Why? What’s the time limit?”


                                                                                                           156

                                                                                             NPD-LO-3854
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 157 of 424



President Wilshire “Five minutes.”

Ms. Ortolano “Ok it is supposed to be a period of 15 minutes for public comment and you haven’t done
it in a while. Are there other people in line?”

President Wilshire “I don’t know.”

Ms. Ortolano “Oh ok. So anyways this format for the property record card would be nice for the public
to be able to see that and not just have it come out and if you don’t’ like it too bad. Your Public
Comment Ordinance that you are working on and the one that the Board of Assessors is working on with
the bylaws I believe is illegal. And I think you should be very careful about adopting that. I got a legal
briefing that was generated by Steve Bennett where he was addressing the Board about a dozen years
ago regarding closing the public down on speaking about personnel matters and about trying to define
the tone of what they can say, repetition, redundancy and he wrote up a very detailed briefing with case
studies on why that’s illegal and should not be done.

“And I know your Board and the Board of Assessors have both come after me for addressing personnel
matters and telling me I can’t do it or I shouldn’t do it or its offensive when, in fact, it is perfectly legally
for the public to do that. And I think niceness Ordinances aren’t good in public input. I think telling
somebody not to repeat themselves is not right in public input and could be challenged. I think writing a
public input policy that is as long as yours is, is ridiculous. You should look at the Assessing Standards
Board Public Input Policy, it is basically one sentence and I think it would be good for you to do that. I
want to thank Alderman Jette for making the motion to push an issue into the Finance Committee so
that you’re not just serving as a rubber stamp.

“I want to thank Alderman Lu for asking the question on complaints are being tracked and hearing that
there is no system in line. That basically there are no complaints, I find that absurd and I find that just to
be another example of where the voice, of even if it’s a few, don’t really matter when we have a
complaint. Thank you very much.”



Board of Public Works Meeting, July 23, 2020

Audio Only: https://nashuanh.gov/DocumentCenter/View/19031/2020723-Board-of-Public-
Works?bidId=

Ms. Laurie Ortolano, 41 Berkeley Street “I just want to make you aware of something on this call
because I am using my phone as I usually do. When I did the Alderman call it mutes you automatically
and tells you to press *6 when you want to speak, when you are going to be recognized. So, I didn’t even
really know that I could be…that I was being heard. I rustled some dog food and some papers and you
probably heard that. I just wanted to let you know that it is different and it’s a little confusing. I didn’t
have to press *6 to get access to community input here.

“I wanted to address the new administrative facility that is being constructed. I’ve been following that
and I am concerned that there isn’t really any public information available on what’s happening with
that project. Commissioner Moriarty asked two or two and a half months ago for an update and I didn’t
see anything given on that. I feel as though when we bond a large project and the community gives us
money that there isn’t much public information that’s available to see how that money is being spent

                                                                                                             157

                                                                                               NPD-LO-3855
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 158 of 424



and I think it’s too closed off. When I was on the School Board 25 years ago and we bonded $10 million
for a facility we have a committee, it was public, we took notes, and we were very upfront about what
we were doing, how the design was going, and we took input. Now, I’m not suggesting that you have to
do that but, I don’t even know if there are minutes available for the meetings you had. I spoke with the
Commissioner and I was told that they don’t even know when the meetings are being held and I am
surprised that every Commissioner isn’t aware of when the building committee or the construction
committee is meeting on this. It makes me feel like the building itself, the construction, the planning, or
the design and architect work that is being done by a few inside people in public works who are just
creating the facility they want. I just feel like we should know about it and we have the right to know. I
don’t even know what happened to Burke Street, if it sold, if we have the $10 million or we only have
the $6 million. I am going to put in a very detailed Right-to-Know request next week to get as much
information as I can on the facility and not just the administrative facility but the facility needs for public
works in general. I would like to request that there be more public information on these bonds and not
just in the Division of Public Works but anywhere in the city when the public entrusts its government to
take large sums of money and do projects with it.”



Board of Aldermen Tuesday, August 11, 2020

https://www.youtube.com/watch?v=LxSay0vUo5w

1:35:09

Laurie Ortolano “41 Berkeley Street I’d like to address some of the comments made at the July 15th
Finance Committee meeting. I was really disappointed in the conversation with the Mayor – the talk that
the Mayor gave to the Committee and Ms. Kleiner regarding the cost of the assessing issues. I saw it as
very heavy blame laid on me for costing the city so much. The Mayor made a comment that we couldn’t
find a Chief because of all the allegations – I believe he felt many unfounded – that were pointed at
assessors in Nashua for failure to do their job. He said the assessment community consists of a very
small group of people that all know each other and talk and they all believe that these actions by this
individual are unfounded and they don’t want to come here to work because they’re going to be
accused of the same thing Nashua assessors have been accused of.

“I want to share a little bit more truth on that issue and a story that I want you to understand. We had a
Deputy Assessor named Andrew Lemay who worked in Nashua for a number of years. He left around
2012 and he has since retired and he’s retired into a community up in Concord. He was talking to an
individual that I happen to have an acquaintance with and they met up there because they had moved
into the retirement community. Andrew had explained that he had been an assessor down in Nashua.
The individual knew the issues going on in Nashua and they struck up a conversation. Andrew Lemay’s
statement to this man, which can be verified, was that you know the Mayor appointed a woman who is
completely unqualified for the job and now it’s all political and that there was a Coordinator in there, a
woman, who had the best interest of the taxpayers at heart. She really watched out for the people and
she was removed. He was referring to Cheryl Walley. That’s a story with somebody who worked down
here and he still has close relationships with Greg Turgiss, Louise Brown.




                                                                                                           158

                                                                                             NPD-LO-3856
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 159 of 424



“Where does he get his information from? He’s not the first one I have heard stories like that from. So
when the Mayor tells you that it’s a small community and they all talk and they don’t want to come
down here because Laurie Ortolano has just level charged – you know – and done things by going to the
State that make it undesirable for them to work here. I think some of them didn’t want to come here to
work with somebody as unqualified as the Mayor picked. It was his choice to do that.

“I also felt Alderman Lu was not told the truth in that meeting when she raised some good questions.
She asked how long the situation with not having somebody qualified in the office had gone on. The
Administration or Ms. Kleiner and the Mayor explained the decertification of Greg Turgiss. That’s not the
case. This problem has existed for 15 months when the Mayor chose to put him as a Supervisor because
he was automatically in there supervising his brother’s work – Gary Turgiss. So Greg Turgiss was
supervising Gary Turgiss’s work because under the State Statutes, abatements cannot be brought to the
Board of Assessors unless a certified supervisor is reviewing the work and verifying the work done. His
brother Gary was bringing abatements forward last year in 2019 and again in 2020. So I have a huge
issue with that.

“Also Mike Mandile who was not a certified supervisor until March of this year. He was a property
assistant not a certified property assessor. He was a property assistant in training. The State law says he
is not allowed to present abatements or opinions of value to a Board of Assessors. He’s not qualified.
Greg Turgiss assigned 65 abatements to him last year to present to the Board. Completely unqualified.
That should have never happened. It happened again in March before he even had his certification. The
story goes on.

“In my opinion, the Mayor is very excited about taking this gentleman back when his supervisory
certification is restored. Ah you know, he has the right to do that and he hasn’t recognized any of the
problems that really have existed with the work of this individual and the work product. He can come
back but rest assured Mr. Mayor, we have the right as the public to watchdog the work product of this
individual especially given the history. I just stumbled on to something this weekend that is another eye
opener on paperwork with this gentleman that is going up to the State. Tired of finding it and it never
seems to end.

“I am so disappointed that our Mayor could not shoulder any of the responsibility for what went on here
and that he put it all on me.

“That I created this burden. His closing line was just beautiful, “Have the taxpayers been forced to pay a
lot of money because of what this woman has done? Yes they have.” You know I expect more out of my
leadership and not just from a Mayor but my Board of Aldermen as well. Too many of you went lockstep
with him. There are a few of you who didn’t. When you put that position in place, when you decided Ms.
Kleiner would take over in April of 2019, Ernie Jette was the only one who spoke against it. Strongly
concerned that we didn’t have somebody qualified. Ms. Kleiner made it clear that she would let the
Board know. She said, “I can promise you that if I feel if I ever feel that my effectiveness or that I’m
hurting the city or the value to our residents in any way, I will let you know. I will let the Mayor know
immediately.” That never happened.”

President Wilshire “Ms. Ortolano you’re going to have to wrap up now please. “




                                                                                                        159

                                                                                          NPD-LO-3857
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 160 of 424



Laurie Ortolano “Okay. Well all I’m going to tell you is she never did that. She brought forth in the
September 24, 2019 meeting a one liner saying, “we’re going to look at a Chief again” out of nowhere.
No reason for it. Brought it forth in the November 12, 2019 meeting of the Board of Aldermen and no
discussion on why she felt we needed it. Everyone just stamps the stamp and rubber stamps the money
to get this position in without her ever explaining what the deficits were of not having the position.”

President Wilshire “Okay you’re going to have to wrap up now.”

Laurie Ortolano “I am wrapping up. Thank you.”



Board of Public Works, August 27, 2020

https://www.youtube.com/watch?v=m0yrOopYjVw

11:05

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street “I know tonight there is an update regarding the
new facility and I appreciate that. I would like to express that I had started off writing a Right-to-Know
request to the Director to try to get documents and public information on this project and I was very
unsuccessful. One of the things I did was try to reach out to the Board appointed members that sit on
the Committee to get help on which documents were in fact, public documents. It’s very hard for a
citizen to know what to call out for and I went through the minutes extensively but there is not a lot of
documentation in the record about the reports that had been produced or what was available. I’m
disappointed that it’s such a struggle because when I write a Right-to-Know request to a Director and it
gets sent up to the Legal Department it becomes a total roadblock for me. One, it’s written too
generally, the Legal Department is backlogged and they have to sit on it for weeks, and I know when I
wrote something generally there is a very high probability that the Legal Department is going to deny it
based on unclear or unreasonably described which is very discouraging for me. I am not happy with the
make-up of your Committee because some of the people that I reached out to help to find out just what
I could request, I got no response from. I am a big fan of replacing those people who sit on the
Committee with other people who are going to respond to the public.

“Also, I really like the idea of taking as much of this information that is public and putting it on the
website. When my response came back from the Legal Department that they were backlogged and it
would take three weeks just to read it, I canceled it and I decided to take a second approach which was
just to call the Director to find out what reports were available. I was shut down on that phone call and
received a call from the office woman named Diane saying that the Director wouldn’t take my call and
the Legal Department would call me and I shut that down because I felt that would be a confrontation
communication with me and they didn’t say that they wanted to work with me to help me understand
what documents I wanted. I felt it was going to be more punitive and more destructive and I didn’t want
to take a call from the Legal Department. It disappoints me a lot that I go through this. I would like to be
able to pick up the phone and go to the closest level where the work is being done where somebody can
help me to find out what’s available. I would ask you to put stuff on the website and I am most
interested in the finances. Given the COVID situation, I am actually wondering if we should even be
building an office facility now. I am sure that the whole project is a much larger budget than I even
recognize, I don’t know what the total cost is but I know that buildings that were unhealthy or sick…I am

                                                                                                        160

                                                                                          NPD-LO-3858
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 161 of 424



not certain you are really getting at those right now and I don’t know where this pandemic and the
fallout from it; whether these projects are going to take form the way you had hoped they would. If that
becomes an issue I hope you reconsider what you are going to do and what you are going to do with the
possible shortfall on the $10 million project with the sale of Burke Street and the bond that was
approved possibly not being quite enough money. Those are my concerns and that is my input.”



Board of Assessors August 27, 2020

https://www.youtube.com/watch?v=iiiELSAXP8s

28:32

Ms. Ortolano “Can you hear me?”

Mr. Hansberry “Yes.”

Ms. Ortolano “Okay, so I didn’t sign up. I’m not certain how you sign up but I’m just here. My name is
Laurie Ortolano, 41 Berkeley Street. I just want you to know I could not dial in on the phone. It would
allow me to dial in and then it would put me on hold and say I have to wait until you allow me to enter.
So, I just want to let you know that was a problem and I use my phone more than my computer. I’m on
the computer now but there’s a big internet problem over here with xfinity on Berkeley and Concord
Street, and I’ve had a lot of trouble. Unfortunately I haven’t been able to get in. I tried to send a text to
Ms. Kleiner but her number wasn’t valid anymore that I had either. Just a couple of things. The permit
and sales data that was discussed in the report by the Director, I thought that Vision was handling
permit and sales but it sounds like our assessors are doing some things as well with the questionnaires
certainly going out, which is fine. I see the percentage of returns is fairly low. Sales, though we still have
the advantage of still being able to use MLS data. I’m just wondering, are we still on the schedule where
we’re not, or are we following the plan where we’re not doing any depreciation, condition or grade
changes on these properties using MLS data, and we’re only correcting based on physical items? That’s a
question I have because there’s quite a lot of 2019 data that the adjustments to depreciation were not
made, and I knew when Vision came on for the 2020 work, we were told they weren’t going to make
those adjustments until 2023, but that leaves some really big disparities on homes that have been
completely redone. And that’s going to create a very low ratio if there’s no correcting going on in that.
That’s just a concern I have. Also, I would ask that the board revisit the policy on how we handle
documenting property record cards in the file. There’s a policy I have from Angleo Marino that was
dated in 2012 that detailed out the process, and now the existing policy, I feel, is missing elements of
what we do, which is, you know, when we update a property record card for a permit, we pencil-mark
the old, we take it back to the office, a clerk or assessor inputs the changes, we check it, we staple the
old to the new, it becomes a record in the file that’s a public record. That process is not really outlined in
policy, and I think it should be. And I’m concerned, you know, it seems to be we’re still doing that, but it
leaves the door open to say, did somebody change it and we’re not? So I want to be very clear on what
our practice is, and I think documenting our practice in very clear terms is important. And also, I feel
strongly that the board of assessors should be reviewing the abatement applications. You know, the RSA
states that abatements applications are to be reviewed by the board, and I feel that I have been told
that way we process abatements is a first-come first-serve basis, but you have no idea that’s happening


                                                                                                          161

                                                                                            NPD-LO-3859
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 162 of 424



because you never see the applications of who came first, and what is first come first serve? I don’t feel I
was handled first come first serve in 2018; certainly wasn’t handled at all in 2019. But when I went and
looked at all the abatement applications, I don’t really believe people whose applications stamped with
dates are necessarily getting first come first serve. And I also think that if you’re going to be an impartial
board, you need to see both sides of the story, and that means people who’ve done appraisals, who’ve
submitted sales data, take a look at what they put in. I understand that you fully trust our assessors to
be the voice on what the value should be, but since the law states that it’s incumbent on the property
owner to present the… the burden of proof is on us, then I think our information should be reviewed by
the board. And like I said, I’m particularly concerned that the first come first serve nature of what’s
supposed to be happening in there isn’t really happening. Thank you.”



PERSONNEL/ADMINISTRATIVE AFFAIRS COMMITTEE SEPTEMBER 10, 2020

Audio Only: https://www.nashuanh.gov/DocumentCenter/View/20146/2020910-Personnel-Admin-
Affairs

36:35

Laurie Ortolano “Sure Laurie Ortolano, 41 Berkeley Street. I just wanted to speak very briefly that I
support the use of masks, but I don’t feel like we need to change the Ordinance to put more restrictions
on business owners to do more regulations. I think our numbers and our data have been very good and
our compliance has been good and I just don’t support more regulations to solve problems that
potentially don’t exist. I don’t know if there’s information out there now that shows an issue. I know
some of the public has asked Bobbie Bagley to get information on where the cluster outbreaks were at
restaurants, but the City isn’t willing to disclose that. And since we don’t have – as the public – first-hand
information on this, I just don’t feel that there’s enough cases and problems to constitute a more
stringent restriction placed on the masks. So that’s all I had to say. Thank you.”

3:13:11

Laurie Ortolano “Laurie Ortolano, 41 Berkley Street. I just wanted to speak briefly and quickly to the new
position being created to address Right To Know issues, that’s going to be addressed up at the Legal
Office. I have a couple concerns about this and I have been no stranger to the Right To Know issue. I
really feel strongly that you have to do a great deal of training within your Department about Right To
Know through the New Hampshire Municipal Association. I get the people who are closest to the
information knowledgeable about what information is public and what information isn’t. I am really
leery and not happy about a position up in Legal to cover this because it has been a nightmare for me
going through Legal, stepping two and three layers away from the Department that has the information,
trying to get information requests satisfied. It’s not working. Now in Assessing, you had one individual
who’s PDF Performance Description, Job Description basically put them in charge of handling
information requests to the public and that woman was removed. And nobody else held that job. Then
another individual came in and took the job and that woman has quit. Right now you have nobody in
Assessing who is covering Job Description Forms by PDF who is knowledgeable on fulfilling Right To
Know Requests or that I am aware who is trained through the NHMA.



                                                                                                          162

                                                                                            NPD-LO-3860
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 163 of 424



“And that leaves a huge hole and that job isn’t even posted. So that really concerns me, and I can tell
you with my Right To Know, I had the ability at one point in time from when I started in September of
2018 until June 1st of 2019, I was getting information strictly working through the Assessing Office
without incident. If you look through all the minutes and records there were no complaints from anyone
publicly on record of all this chaos I was causing because the individual down there who was in charge of
handling Right To Know Requests was doing her job and handling it. And if I had questions, she
answered them, and if she didn’t understand something I had, she called and asked for clarification and
it worked really easy.

“But then once you changed and got rid of the Chief and put somebody in charge who wasn’t as
qualified, it became a nightmare. And the person who was able to handle the information was told they
could no longer do that. They were not allowed to address Right To Know Issues with the public and
there was nobody left down there. The other area for me, I was able to go over to the Finance Area,
Rosemary Evans over there, there were probably only four times I interfaced with her. But if I went into
Finance and asked Rosemary a quick question about an invoice paid, that woman could give me answer
in five minutes. I was trying to get information through Legal on whether tablets had been purchased
and paid for. I wrote 3 Right To Knows, they were all numbered different Right To Know to go in my pile
of 300, they were not responded to. I was frustrated as heck, I wrote to Steve Bolton and said, “Why is
this happening”. Well it was because when I saw Rosemary in the hallway when City Hall was open, she
said to me, “I can’t talk to you anymore you have to go to Legal”.

“And what happened is that any avenue that I had available to me to get the information from the
source that had the information was slammed shut and it was thrown up in to Legal. I am really
concerned that it is going to be a total roadblock for the public. I really feel strongly that you want your
Departments to be able to handle Right To Know Requests and be trained. DPW, Lisa Fauteux, I viewed
her as a very competent person, but the City doesn’t believe she can handle a Right To Know Request
and it got thrown to Legal and they are in charge.

“And I don’t understand that. I just don’t understand it, it’s been a nightmare. I have to write Right To
Knows three, four, five times. And I send Right To Knows to Legal that I get responses back from Celia
Leonard that the information doesn’t exist. I backdoor and have a number of them down to Assessing
where I basically demand the information and I get it.

“But that shouldn’t be happening. And there are e-mail chains for these Right To Knows that I can go 14,
15 letters deep between Legal and myself before I finally get the information; not because I wrote them
in appropriately but because they kept saying it didn’t exist when I knew it did. So I am really concerned
about a legal position. And just to end it, I was offended by Ben’s comment that when he said that I
hope $99,000.00 is enough money for all the grief or what they are going to have to put up with. We
have to change the culture in City Hall. You have to treat the public who comes out to get information
not like we are barbarians at the gate and enemies of the City. It’s public information, my Right to Know
to access finance information is one of the most basic fundamental Right To Know that a citizen would
request. And I had to work my butt off to get it. I mean I am so deeply offended by that comment. I
appreciate what Attorney Bolton said, I think he understood that the public is asking for more
information and you have an obligation to provide it. It’s 2020 in a digital age and I feel strongly about
open access.



                                                                                                         163

                                                                                           NPD-LO-3861
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 164 of 424



“And I know most of you do not care for the work I did or the type of research I did or what my quest
was or what I was believe in was wrong in the Assessing Office. I know I don’t have the backing of this
Board, but I fundamentally believe things were wrong. And the information I got gave me the
information I needed. I know you don’t recognize it, I know you feel there really was no problem. But it
was what I requested. And regarding cost, I want to speak to Ben Clemons on this, he made a big deal
about the $8,000.00 I spent hiring a PI to follow an Assessor; how horrible it is that a citizen would lay
down money like that and attack an innocent City Worker and smear their reputation. I’ve had to work
my tail off on these Right To Know Issues, I’m $100,000.00 into it and I know it’s a $200,000.00
experience for me to legally challenge these Right To Knows. And I am so strongly opposed that the only
people who can challenge their City for information are people who have some wealth and means. I
have had more people come to me show me Right To Knows are not fulfilled and want help or wish they
could so something legally and they don’t have the means. Any information should not be for the
wealthy.”

Chairman Caron “Mrs. Ortolano, you’ve had 5 minutes.”

Laurie Ortolano “I’m done.”

Chairman Caron “Thank you.”

Laurie Ortolano “Thank you.”



FINANCE COMMITTEE SEPTEMBER 16, 2020

https://www.youtube.com/watch?v=gSvRnu8W-7U

52:30

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street, Hello? Hello? Can you hear me?

Alderman Harriott-Gathright “Yes.”

Mayor Donchess “Is this Public Comment?”

Laurie Ortolano “Yes, you move too quickly”

Mayor Donchess “Alright, I didn’t know that there was anyone even on. Go ahead.”

Laurie Ortolano “That’s because I’m going through my phone. Lori Ortolano, 41 Berkeley Street and I am
aware that it is a 5-minute public comment. Just quickly I tuned in a few minutes late, so I don’t know if
this was discussed. But, I am concerned at the amount of money being spent for the COVID renovations
is really more about a City Hall renovation. I don’t know if you talked about it, but I would be interested
in knowing how many other City Halls are closing down for such an extended period of time to deal with
COVID renovations, like Manchester. Some of these towns that have older City Halls. One of the
concerns I have is I know and you all know that I have been actively involved in gathering information
out of the Assessing Office, but also other offices as well. And I know that the Director told the Board of
Assessors a couple of meetings ago that City Hall would be closing around September, I mean excuse
me, the Assessing Office would be closing for renovations around September 10th. And that was the end
of the discussion.

                                                                                                       164

                                                                                         NPD-LO-3862
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 165 of 424



“You know, for people like me and other members of the public, we want to know when City Hall is
going to be open and not just a little open, actually open like other towns around us. And I want to know
when the Assessing Office is going to be open and more importantly, while it’s closed, does that mean
we don’t have access to any records anymore at all? What is available to the Public while City Hall is
closed? Are property record files available? I would like your Administrators to think about us when they
speak about these issues. Because for somebody like me to have to write letters in and send e-mails
asking what information is available now and when it will be open. For me, it is particularly painful
because it becomes a numbered correspondence that goes up to the Legal Office, it’s addressed by the
Legal Office. It is put in a file and used in litigation against me. And I don’t want to be in that situation. I
want my City Officials to just give complete information when you are out there talking.

“Now for the last three weeks, I’ve had to drive to Hudson to get documents notarized because City Hall
is so closed up in Nashua that we don’t have a Notary or a place that I can walk in and use a Notary in
City Hall. And I don’t know why I can go to Londonderry, Litchfield and Hudson and walk in with a mask
on and get my documents notarized but I can’t do it in Nashua.

“I just went up north to north country and walked into a Town Hall to get a document addressed. I mean
I really want to know when City Hall is going to be open and mostly I want to know that our ability to
obtain information isn’t shut down for the next three months because we are doing such an extensive
renovation. Thank you.”



Board of Aldermen Tuesday, September 22, 2020

https://www.youtube.com/watch?v=kqlx6uRiMX8

35:42

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street President Wilshire, can you hear me?”

President Wilshire “Alderman Caron?”

Ms. Ortolano “Hello?”

President Wilshire “Alderman Caron, I can hear you.”

Ms. Ortolano “This is actually Laurie Ortolano, you skipped Public Comment for items to be acted on, is
that intentional?”

President Wilshire “Oh no I am sorry; I did not intentionally skip that.”

Ms. Ortolano “Ok thank you.”

President Wilshire “My apologies.”

President Wilshire “Period for public comment relative to items expected to be acted upon this evening.
Is there anyone that wishes to address the Board?”

Ms. Ortolano “I do, I thought somebody else might dive in but this is Laurie Ortolano at 41 Berkeley
Street. I just want to speak briefly to the comments by the Mayor, pretty disappointing to hear his tone


                                                                                                            165

                                                                                             NPD-LO-3863
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 166 of 424



and what he said to you folks. He said that, he used the word “deluge” of Right to Knows began about 2
years ago. Actually I believe there was a ramp up that started in June 2019 and that’s when the Legal
Office started tracking these things. I know the other individual who was involved I believe put their first
Right to Know in, in June or July. So I disagree with the 2-year time frame. I also think he said by that
summer of last year, there were 34,000 document requests, or documents provided. That’s a gross
misrepresentation. He’s talking about the request where I wanted to see the KRT Property Record Cards.
Turns out those were 31,000 records which I didn’t know when I put the request in and the City denied
them and didn’t produce them at all. So that’s a misrepresentation.

“Also, I am going to send to all of you the letter from Attorney Lehmann where he made the request for
the audio/video files. We did not request the transcripts. We were fine with just getting the audio/video
files and didn’t ask the City to do that. The City is the one that said without giving a reason, we will
transcribe these and we will redact them. And we did not ask for that. And to give you a perspective on
the amount of work, its 13 hours a tape. Now I’ve been involved in the Assessing Department and I’ve
gone to many meetings during abatements, those meetings are 4 hours long. And they transcribe those
down there in a matter of you know two days. So 13 hours which is working not full time, 13 hours of
minutes for somebody who is skilled at that is not asking for a lot but we didn’t even ask for it. And I’m
going to produce the letter from Attorney Lehmann that verifies. Because really when I see a Mayor put
out wild accusations and really appear frightened by what’s happening here. I think his fear has gotten
the best of him. I think he misrepresented what the position is about.”

President Wilshire “Mrs. Ortolano can you stick to the Legislation and not the Mayor please?”

Ms. Ortolano “Well the Mayor is the one who pitched it and he said he was going to provide some
answers to good questions raised by the public. So I hope he’s able to do that and put his fear aside and
get us to the answers. I would have liked to have heard that at the beginning instead of his frantic
dialogue. I don’t like listening to people who I don’t think have integrity. I wish he had stuck to the issue
and answered some of the questions the public brought forward so that when I gave my first input I
would have something to say for you. So step it up Mr. Mayor. Thank you.”

4:06:40

Laurie Ortolano “Hi, I wanted to just provide a little clarification to some comments made regarding the
Right to Know position. I think the City and the Legal Office in particular have created a very expensive
process for what’s happened here. Any general request, certainly from me, that isn’t even a Right to
Know was sent to Legal and for quite some time they were responding to general inquiries with denials
because they didn’t constitute Right to Know questions, which I was aware of. I wrote a number of
Memos, really frustrated to stop the lunacy, and asked them to stop doing that because I didn’t know. If
I asked for a phone number and I gave you that example, it went up to Legal to be responded to. I just
found that ludicrous. I can tell you I e-mailed the newspapers and I asked them what their process is. I
got a response back from a reporter who told me in 10 years they’ve only had to file like 5 Right to
Knows. They go right to the City Division and ask for anything they want and they use Carrie Miller if
they need direction through the Mayor’s Office on where to go. And that is works beautifully, requires
no written communications or instructions. And if the press can get information that easily, so should
the public.



                                                                                                          166

                                                                                            NPD-LO-3864
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 167 of 424



“I also think the City has practiced very aggressively, the Legal Office, malicious compliance. Unlike any
other Government Group I’ve seen, they will not communicate with the public to clarify a request. So
Ms. Colquhoun and got on and told you how she asked for open permits. Apparently, they couldn’t
search for just open that would have been like compiling but they didn’t communicate that to her and
they sent her 31,000 records, which she would not have taken. But there was no option to say no and
somebody worked on that. Just to let you know, I’ve sent you all the letters from Attorney Lehmann
regarding the transcript. We never asked for the transcript, he asked for the audio/video recordings,
period. We got a response back within 6 days from Celia Leonard saying that they were going to
transcribe them. And that was fine, that was on June 8th. We really believed that within a month we’d
have those. It’s almost four months now and we still don’t have that information. If I knew it was going
to take them that long or be too expensive, I would have paid for it and found the transcriber. It has
taken the City almost 3 months to find a transcriber. I am not certain why it took so long. But I can tell
you my husband through his business, accesses these people like nothing. And they are not expensive
services anymore. So I would have moved that along to help but the option wasn’t there for us.

“Also, I think the biggest problem happened when you promoted somebody into the Assessing Office as
the Manager who had no understanding of Right to Know or what public information was down there.
That is probably your biggest issue here and what caused all the problems.

“As far as all of the pages requested, I can tell you that the City produced for discovery, 15,000
documents that I have requested since they have been collecting them and they sent to my attorney
and I. And I went through and cataloged them. At least 12,000 were not requested by me. So when I put
in a Right to Know and ask for e-mails they sent me an extra 500 e-mails that weren’t within the date
range I wanted and redacted them. I didn’t want them, I didn’t ask for that range. They sent me 3,500
pages of the KRT new assessment data. I didn’t ask for that, I just asked that it be put on-line and the
City put it on-line, but they sent me the 3,500 pages. They sent me manuals I didn’t want. You know it
comes out to three-quarters of the information I didn’t ask them for, they gave it to me. And when I
Manuela say that she has spent 1,100 hours working or 1,000 hours, or two weeks a month, well you
know, that’s a lot of scanning and working and potentially redacting that I didn’t ask for. So you know, I
can go to the DRA put a request in have the attorney call me, have a worker call me and ask for
clarification, handle it and be done. It’s really simple. That process doesn’t exist for some of us in the
City. And if you start redacting documents like you are doing in Assessing, you’re going to need more
than one person because your Permit Department has a lot of data on it; phone numbers and e-mails.
And everyone is down there accessing it publicly and they are not being slowed down from doing it. It’s
the assessing data that’s being raced up to Legal.”

President Wilshire “Ms. Ortolano, can you wrap it up please?”

Ms. Ortolano “Yes, I am extraordinarily disappointed in the Mayor. He does not take responsibility and
he shifts the blame totally on the public. I’ve been wronged by this City, I think Attorney Bolton runs a
pretty unethical office and I have certainly seen my costs run up legally because of what’s gone on in
there. Thank you.”




                                                                                                        167

                                                                                          NPD-LO-3865
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 168 of 424



Board of Assessors October 1, 2020

https://www.youtube.com/watch?v=aHLzvN4tYrw

32:19

Mr. Hansberry “Who’s next, Director Kleiner? Do you—”

Ms. Ortolano “Laurie Ortolano, 41 Berkeley St.”

Mr. Hansberry “Good morning. Go right ahead.”

Ms. Ortolano “Good morning. You know, I do-- I’m glad we understand we can search those on the
dashboard. I spent a little time working on the dashboard and I wasn’t exactly certain of the layout. It
would be nice to have a little tutorial on that, but I’m going to pursue some communication with the
gentleman who set it up and see if I can get a handle on how it’s used. I’m glad the sales are there
because I’m starting to help some folks with abatements for next year and I’m going to need to access
that sales data. Tax bills are going to be frozen. I sent you a letter, a correspondence regarding your
handling of my 2019 abatement. So some concerns I had. I highlighted to you that in a March 2016
Board of Assessors meeting, Corporate Counsel Steve Bolton introduced himself and, you know, let you
know that he works for you. And you know, I’ve had an impression since I’ve been involved with
assessing and board meetings that you work for him, and that he acts more like the chair and the chief
assessor. That’s a little bit concerning to me. RSA 76:16 “by a selectman or assessor” states that
selectmen or assessors for good cause shown may abate any tax, including prior year’s tax, assessed by
them or by their predecessor. And then it says number 2, upon receipt of an application under
paragraph 1B, the selectmen or assessors shall review the application and shall grant for good cause
shown or deny the application in writing by July 1after notice of the tax date of RSA 76:1-a. The failure
to respond shall constitute denial. I’d like to know if the board is willing, for 2020 tax abatements that
are coming in, to actually review applications. Can anyone answer that question? Because it’s part of the
RSA. I know your failure to review my application last year had an impact on fairness in how that was
addressed. And I know you told Ms. Colquhoun that it’s a comment period, but nothing excludes you
from answering questions. And you open your meeting with “questions will be answered”. I was at a
board of alderman meeting last week online, and the board engaged extensively with a community
member who had questions, so I would like an answer as to whether you are going to review abatement
applications and follow the law under 76:l6. I understand the law allows you to fail to respond, but I’m
trying to understand if you even knew about my abatement to fail to respond to it. I understand that the
assessing supervisor is responsible for distributing the abatements to the assessors; at some point the
assessing supervisor decided that he was going to pull mine out and not act on it. How does the board
find out this is happening? Can the supervisor just hold it off on the side without the board’s
knowledge? How can the public find out what abatement the board chose to fail to respond on? I want
to know if I was the only residential abatement that received this treatment. I’ve asked Louise Brown for
help on this, but I would think the board would be interested in the answer. It doesn’t seem correct that
the legal office can just order it to be pulled out and ignore it without the board knowing, because the
RSA puts the failure to respond on the shoulders of the selectmen or the assessors. When did the board
decide not to act on my abatement, and why wasn’t it part of the public record? I think the decision to
let it expire because you accept the advice of legal to do so should have been on public record. I think
the failure to act should be noted in the minutes. I called three well-respected chiefs last week, and one

                                                                                                      168

                                                                                        NPD-LO-3866
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 169 of 424



member of the assessing standards board. I spoke to Dan Langille out of Keene, I spoke to Dave Michaud
out of Hudson, and I spoke to Bob Gagne out of Manchester, who is also the vice chair of the Assessing
Standards Board. Frankly, they were surprised that the board would not have acted on it. One chief
stated that he never failed to respond to an abatement—he always acts on them. That was Keene.
Another chief said he generally responds to all of them as well, but stated in that a few instances,
commercial properties with tax representatives may not have received a letter, but he was in
communication directly with them and it wasn’t a problem. The other chief stated he acts on all
abatements that do not have a tax representative. That was Bob Gagne. He knows that all residential
properties get a response and some commercial properties with tax representatives don’t get letters as
well, but his office is generally in communication with them. He refers specifically to CTPM. Two of the
chiefs stated the BTLA frowns upon bad-faith efforts to work with taxpayers to resolve the issue. I’m
disappointed that Rex Norman didn’t even look at my 2019 abatement when he approved a massive
correction to 39 Berkeley St and 78 Concord St. I paid good money to put an appraisal in with my 2019
abatement, and it still wasn’t worthy of a decision. When I spoke to one of the chiefs today—or last
week—he stated that if the city tells you prior to July 1 that they’re not going to act on your abatement,
then you’re free to file with the BTLA immediately. This would give me an opportunity to get into the
system earlier. In speaking with the chief, he made it clear that the BTLA treats every abatement as a
new entity.

“When I explained that Attorney Bolton believed that an appeal and subsequent abatement are
inextricably linked, he said that was not the case. He assured me that the BTLA would act on it as a
separate entity, and that is what I saw on BTLA online ruling. I think there’s an opportunity here to
create some guidelines that will better service the public and recognize that the courts are
overburdened and want municipalities to engage in good faith efforts to resolve the matter. I think that
the board should agree from this point forward to act on all abatements filed without tax
representatives, and act on all residential abatements. I believe the board should also review all
abatement applications to be sure they’re being treated fairly. Be sure that property owners receive a
letter from the city with approval or denial explaining each step. Make sure that abatements are
expiring-- that are expiring without board action are clearly identified in an abatement report. Never
deny a citizen placement on an agenda regarding their abatement. I looked back over my e-mails, and
didn’t realize that I tried four times to get on the agenda to replace—to address my 2019 abatement
and did not get placement.”

Mr. Hansberry “Ms. Ortolano—”

Ms. Ortolano “I’m almost done. I just realized that those requests were being sent right up to legal and
being logged by Manuela and legal wasn’t even responding. So they knew I was trying to address this
abatement. I truly got the runaround by Attorney Bolton and Ms. Kleiner, and I just don’t think it’s
equitable. And I’m waiting still to figure out—the abatement report that Ms. Kleiner sent me showed
that my abatement was—was with a consultant labeled Q, and on the side it had a note “assessor
reviewing”.”

Mr. Hansberry “Ms. Ortolano, we’ve let you go way, way over. One thing I would say is—”

Ms. Ortolano “Well, don’t you think this is an important issue, Dan? Don’t you think making certain
peoples’ properties are treated fairly is important?”


                                                                                                      169

                                                                                        NPD-LO-3867
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 170 of 424



Mr. Hansberry “Well, I think that Attorney—”

Ms. Ortolano “I know the answer to this; you don’t. And the reason there’s a police investigation into
your actions as a board is because you don’t take it seriously, and I do.”

Mr. Hansberry “I think that Ms. Ortolano’s question was answered by Attorney Bolton explaining how
the subsequent abatement applications linked to the prior abatement application.”

Ms. Ortolano “It was not.”



Board of Assessors October 6, 2020

https://www.youtube.com/watch?v=jwzoMoF8nuE

6:15

Mr. Hansberry “Would you please identify yourself and state your address for the record?”

Ms. Ortolano “Laurie Ortolano.”

Mr. Hansberry “And your address, please, Ms. Ortolano?”

Ms. Ortolano “41 Berkeley St.”

Mr. Hansberry “Thank you. Go right ahead.

Ms. Ortolano “I think somebody else was waiting as well, because my phone was acting funny; so there
might be somebody else there, Chairman Hansberry. Ah, yes, a couple questions on this exemption. Is
there any documentation that the public can see that will show why it’s getting the exemption at the
hospital? I did put in a Right to Know for settlement agreements on this, there was I think back in 2009,
and I believe it expired, the agreement on this property in 2018. It was extended last year, so and I think
the buildings were probably getting exemptions, but now it’s just the hospital. But I’d like to understand
why it is receiving—I think this is an A9, a charitable exemption. And also does—I’ve put in a Right to
Know, but I’d like to understand, does Saint Joseph’s Hospital, as a Catholic hospital, receive the same
exemption? And is there a way for the public to understand this, or was all of this done in non-public, as
the reason for the exemption can’t be understood by the public? I’m just trying to figure it out.”

Mr. Hansberry “To answer that question, Saint Joseph’s does receive the same exemption.”

Ms. Ortolano “Okay, that’s good to know. Great, so I’ve put my Right to Knows in, so I’ll see what the
City response is. Thank you.”



Board of Aldermen Tuesday, October 13, 2020

https://www.youtube.com/watch?v=drgbU2Oa9t8

1:19:26




                                                                                                         170

                                                                                          NPD-LO-3868
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 171 of 424



Laurie Ortolano “41 Berkeley Street. I’ll move through it quickly. Resolution 20-077 Indigenous People
Day I really believe that belongs on the ballot, that that should go out to the folks of the City to vote on.
Parking I am in support of the reduction of the ticketing for parking. I think it’s a great idea. I am
sensitive to the Mayor’s comments regarding the loss of revenue and the budget issues. It you are going
to support this, I think you have to make the cuts in the positions, people, personnel to justify the
reduction in the revenue. And I think that’s fine but make certain you do both of those things if that’s
going to be the case and we just don’t keep ourselves heavy on people when we don’t have the work for
them.

“I’d like to jump over to Ordinance O-20-009, Public Comment. I have some real concerns with the
language of this and what the Legal Office brought forth. I agree with Ms. Pappas that I think the first
Public Input should be open for anything on the Agenda. I really think there’s a benefit to that to the
community to allow those comments to be made on any item being discussed; not just final approval
because it will make people more receptive to what is going to be voted on. And it will give more input
to the Committee that’s taking it off to review it.

“I also think these comments that were made in the Personnel meeting regarding public comments;
they are not speeches, all discussion should be relevant to items that fall under the purview of the Board
of Aldermen or the Committee conducting the Hearing. You know, that’s very restrictive and it’s not
easy for a person coming in as a member of the public to even know that. So Alderman Dowd, I think
you are way off base when you make a statement like that. There are people tonight who dialed in who
had pre-written statements who essentially made speeches. And they were fine, you know, that should
be ok and we shouldn’t be putting restrictions on that.

“The other thing I am really concerned about is the use of a light is great I think that’s awesome. I think
Alderwoman Kelly raised the issue of what we think is civil and what rude or profane remarks would be
prohibited. I have found President Wilshire very condemning on remarks that I have made that I feel
were unworthy. And just at the last meeting on the 22nd, I addressed comments directly made by the
Mayor in his opening statement and she shut me off, she said, please stop directing your comments to
the Mayor. Well the Mayor opened up the discussion by speaking about two residents, one in particular,
who had placed all this hardship on the City with Right to Know Requests and opened up a discussion on
the law suit as a plaintiff that she had filed on the City. He made a lot of statements about these Right to
Know Requests that I happen to think weren’t right.

“I feel the door is open for the public to come back and comment on that. And to have Ms. Wilshire
jump in and say, don’t comment on the Mayor. That’s democracy and that’s a healthy debate that is
happening there. And it has happened to me repeatedly with this Board. You know, also this concept
that language on civil, rude, profane remarks was all put in by the Legal Office. I think that’s a big
mistake. The Legal Office is making Public Comment very restrictive in the City and this Ordinance is
really tightening the screws down over a period of four or five years that Mayor Donchess has been in
office and I think it’s going completely in the wrong way. And this latitude that you give to the President
of the Board to shut people down if she doesn’t like the comments. God knows it is happening to me. I
have to fight for my time. I don’t want to have to challenge this in Court, really, I’ve got enough on my
plate. I’d like you to just let these comments be opened up.

“The concept that we don’t like – Alderman Lopez’s comments were disturbing to me. He wants
everything tucked in nice and neat and all pretty and everyone using good words and everything, you

                                                                                                         171

                                                                                           NPD-LO-3869
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 172 of 424



know, a niceness policy works well for him. I think he’s out of touch. This concept that you can’t criticize
individuals is unconstitutional. And this concept that we should only be the public coming to the Board
to discuss matters that the Board covers, I don’t know what you cover. I had personnel issues. I went to
the Personnel Committee Meeting, they said, hey we don’t cover that. I went to the Human Resource
guy, he says, hey I don’t cover that. I come to the Aldermen you are upset because you don’t want it
covered there. I don’t know where you cover this stuff and I really don’t give a crap. If I want to discuss it
and I have something to say about a personnel matter, I am going to come most likely to the Board to
say it. Because I am concerned; look at the stuff that I dug up. You’ve got 12 more sanctions that were
brought down by the DRA last week. At some point you should stop saying, it’s her; maybe there was
something legitimate I was talking about.

“I also think Fred Teeboom made a very valid point. Start taking that light that’s going to be on the wall
and start using that on yourselves some of the time. Because there’s a lot of extraneous communication
going on at that table that could make these meetings a lot shorter. So I think you should bring this
Ordinance back into the Committee and think long and hard about Legal’s recommendation for some of
the language in here. They are not doing this City a favor when it comes to transparency and openness
of Government. Thank you.”



Board of Assessors November 5, 2020

https://www.youtube.com/watch?v=mledAKW76jA

31:49

Ms. Ortolano “Yes, can you hear me?”

Mr. Hansberry “Yes.”

Ms. Ortolano “It’s Laurie Ortolano, 41 Berkeley St.”

Mr. Hansberry “Alright, thank you, go right ahead.”

Ms. Ortolano “I appreciate hearing that we’re working on updating policies and procedures for running
AP5 software; I think that’s terrific. Of course you know I’m all about transparency, and I hope these
new policies and procedures strongly consider the transparency issues and making records open access
to the public and information easier to access. I’ve had some concerns that changes made in the
department have actually closed down some of that transparency; I don’t like our e-mail storage system
at all that’s been put in place, and I don’t know when it happened, so that’s a concern to me. I would
like to ask that all reports—Ms. Kleiner mentioned that some new reporting might be available—that
the reports that are available as public reports, that that sheet that I was sent privately through a Right
to Know of all accessible public reports be put into the manual. You know, in the front section--here’s
what’s available and here’s what we produce, period. And anything in there that’s being added, you
update it. I think that’s terrific. Ms. Colquhoun’s issue with sales data was also mine. You know, Ms.
Kleiner has mentioned that she’s had some people who have been very successful with the dashboard; if
they’re members of the public, connect them to people like myself and Laura, because we’re interested,
and the city doesn’t have time to provide a tutorial through its assessors to us. But if there are people
who are wildly successful, give our name out and have them call us. I’m going to work with a former

                                                                                                          172

                                                                                            NPD-LO-3870
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 173 of 424



clerk who’s no longer—who’s retired from the city, and sit down with her and go over this dashboard
and see if she can help me figure it out, because I’ve struggled with it. And I don’t mind confessing that
I’m not a technology whiz; I’m an older woman, and I don’t, you know, wrap myself in this stuff all the
time. But I think I’m smart enough to work with it, and I’d like the respect that I think I deserve to be
able to use the tool that we’ve spent so much money on with taxpayer dollars to create better quality
control, and I’m not certain how to use it. I’m not certain how to read it. So I think that’s terrific. You
know I’m very concerned about RSA 76:16; you folks and myself got a letter from the BTLA. They failed
to rule on my fundamental concern about RSA 76:16 stating that the Board of Assessors should review--
shall, the word is shall— review all abatement applications. Obviously this board has chosen, probably
through the advice of legal, to delegate that. I’m going to—Attorney Lehman’s going to appeal to, you
know, the BTLA. We’re going to pursue some communication; I am, with the DRA about this, because
somebody should be responsible for this. I this year am going to get a copy of every abatement
application submitted. I’ll be going into the Assessing office weekly and collecting every application
submitted. I’m going to encourage people who file to request that their application be put into the
board packet and sent to the Board of Assessors. I think it’s only fair-- we’ve lost a lot of applications
that don’t get recorded or handled correctly. Last year was the year that was really concerning to me. I
put a letter out to all the chiefs in the state, and I got a terrific response within a matter of hours. And I
was sent copies of abatement reports from two municipalities—large, like ours-- that were phenomenal,
done by their software. I hope our software, for the money we’ve spent, can produce reports that are as
phenomenal as those, because that’s the kind of report this board should be seeing. It tracks everything.
I had to put in 5 Right-to-Knows to get what they produce in a report and send to me in 15 minutes. That
shouldn’t be happening in Nashua. So I feel very strongly about the reporting, and I feel very strongly
about the Board’s responsibilities. Also, I really wondered what happened to 28-30 Berkeley Street’s
abatement for 2019 and ’18. It was never on the list; I had to submit a Right-to-Know. I wanted to know,
I submitted an appeal. I couldn’t find it. I get a snarky response from Attorney Leonard that causes me to
have to submit another Right-to-Know to try to find the exact records. And you should understand that
I’m interested in a property like that because it’s down the street from me and it affects my property
value. I’m in an appeal process for two years, and I’m interested on what the City gave them. I’m
interested on what you did. Of course I am. I know they wanted a ratio; I wanted it too. They got it, I
didn’t. Obviously I’m tracking that. When you don’t make that a public record, or that abatement isn’t
put on the list, I’m concerned. I don’t know what happened, except it looks like you’re hiding
information from me and the public, so that doesn’t sit well with me. I’m going to try another
abatement for 2020. I’m going to test the system out and see if it works. We have a new contractor
who’s a consultant. I want to see how this works, and this time, I’m going to track it like a dog. The other
thing I wanted was the numbers the assessors use to deal with differentials in square footage and
features when they do abatements on their sales grid sheets; You know, they were willing to give me
that at the counter a year and a half ago; when I wrote the Right-to-Know, I got another snarky response
from Attorney Leonard that they didn’t have to answer the question and they wouldn’t and I couldn’t
submit an abatement until the tax bills are mailed. Well, that’s next week, so that’s about ten days
away. The tax bills are going out on the fifteenth; I contacted Dave Frechette—Fredette. So that’s
happening. So you know, if you can submit on the fifteenth, you’re kind of working on it now. That’s why
I wanted to know. But what I didn’t think about--and I contacted the old clerk who we had, the
wonderful woman--and that is an Excel spreadsheet with the formulas in it. So I’m going to put in a
Right-to-Know for the sheet with the formulas in a readable, writeable format so I can just follow it


                                                                                                          173

                                                                                            NPD-LO-3871
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 174 of 424



myself. But I shouldn’t have to do that. Celia Leonard and the legal office and the Assessing office should
be willing to hand that to me without writing snarky letters back and drawing out a process. It’s just
become just so untenably hostile and difficult for no reason at all. I’m helping other people with
abatements, and I can’t even get the sales data they need to do it. And even though Ms. Kleiner says you
have plenty of time, you don’t really. It’s a first- come first-serve basis, and let me tell you, I will be there
first this year. I’ve never been first-come, first-serve. And if you don’t want to service me, this year I’m
going to say, then throw me out right away and let me go up to the state. I’m fine to do that. But I want
that first-come, first-serve basis, and I’m also very concerned by what Ms. Colquhoun found in the
records I looked at. EYBs being changed and undocumented are a stickler issue for me. It’s deeply
affected my assessment in my neighborhood. So please pay attention to documentation, and obviously
there was some private discussion when a property is off by 50%, you are fixing some of those because
they’re so outrageously low you don’t want to leave them that low. I understand that, but we should
know what the threshold is and the cutoff for making these changes, because they’re happening.”

Mr. Hansberry Ms. “Ortolano—"

Ms. Ortolano

“…very low ratio. I’m all done. Thank you.”



Board of Assessors November 19, 2020

https://www.youtube.com/watch?v=7YdlfckOuxk

27:14

Ms. Ortolano “Yes, Laurie Ortolano. Can you hear me?”

Mr. Hansberry “Yes. Yes. If you could state your address, please?”

Ms. Ortolano “Sure. 41 Berkeley Street, Nashua. Just quickly—Yes, did you say something?”

Mr. Hansberry “I just said go right ahead.”

Ms. Ortolano “Okay. So on the abatement application, Ms. Kleiner made the statement that we
ordinarily do not give a date stamped copy back. She’s very wrong on that, and I think it might be
written down somewhere, but as a matter of procedure, I know I saw many, many people come into the
Assessing office and drop off their applications. Without even asking, the clerical staff makes a copy,
date stamps it, makes a copy of the front page, and gives it to you. And they tell you it’s very important
to have that for your records, which I happen to believe it is. We’ve had a history of tracking these
abatements that’s been a little problematic, and that is basically their receipt, that it has been received
and accepted. I put mine in last Friday, heard nothing back. I specifically asked about time stamping it, I
heard nothing. Then I was worried that maybe I submitted it too early, that the tax bill didn’t go out on
the fifteenth, I found out today it went out on the twelfth. I resent it yesterday, saying “I want to make
certain someone got this”, so, you know, I think she is very wrong on that. We give out that front page,
and the clerical staff does that as a matter of business without even being requested to, so that property
owners have that for their records. And I think it’s important with the assessing office closed that we
continue somehow to do that—e-mail them a copy, or e-mail them and say it was date stamped this day

                                                                                                            174

                                                                                              NPD-LO-3872
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 175 of 424



and this is your receipt so we know. The other thing is, I’m really concerned about is how we process
applications this year because you know we lost our clerical coordinator and our board clerk who had a
lot of experience; Ms. Cameron came in to fill it, take over the job, did it for about eight months, and
then she left. Louise Brown is now on deck to do that position, the clerk to the board, and the
supervisory position. And there’s been no replacement for Ms. Cameron, and that’s a lot of work. That’s
a lot of work for Louise. And, you know, that office is already short staffed, and that means there’s
potential for mistakes to be made with these applications. And the board doesn’t receive them or
review them. So, you know, I’m aware of that. I’m going to be putting in a request to get all of them
submitted on a regular basis every two weeks. I’m going to work with legal on how to structure that. But
I would like to track them. I understand how easy it is for information to get lost, and I’d like to
understand what role Rex Norman will play in this abatement process. I CC’d it to him; I didn’t hear
anything back. I actually sent my abatement last night to his work address in Windham. It is so
important for me to know that there is a certified supervisor who’s going to look at these things,
because for me, that process just hasn’t worked. And I don’t want this ball dropped on me again. It’s just
not right. And I’m going to do everything I can to make certain my abatement has eyes on it from
certified, qualified people that are supposed to be looking at it based on state regulations. One other
quick thing is…um… Rex Norman…. Oh, when we pay an appraisal, Attorney Bolton informed me on a
Facebook post that we typically—that the legal office typically pays appraisals, for appraisers to perform
appraisals on properties without going to them. I didn’t know that. So the taxpayer pays for these
appraisals not knowing that the appraisal’s been done on their property. When they settle on a
property, will that appraisal go back into the property owner’s file as a public record? How do we see
this work we paid for? Or is it still a legal document that is not public and stays in the legal office? I’m
really curious because I think those appraisals should be part of the record once the settlement is done
and whatever is public is public. The settlement is public; I don’t know why the appraisal wouldn’t be.
Because I got ahold of the appraisal for 12 Beasom Street which was done without ever going to the
property, and it piqued my interest because the appraisal value that their expert put on it would have
given the Corazzini’s an abatement level that I thought they deserved. It was right in line with what the
Corazzini’s wanted, but the legal office negotiated a pretty—significantly higher assessment level
because the Corazzini’s never knew that this assessment was done, because no one had ever come to
the house. So the city gets to hold these cards, have this data, and then it gets released after, and you
can see in their case, they were right on their assessment level. But they would never know. And I would
never have known if I hadn’t put a Right-to-Know in to get it. I think this documentation, for paid
appraisals by taxpayer dollars should be part of the citizens’ or the—the property file for all of us to be
able to look at. And also, one last thing—EYB changes, Ms. Kleiner talked about property record cards
with EYB changes, she doesn’t say when they were done. We all know there’s been an issue with that—a
property that was changed from ’59 to ’79, I don’t know when that change was made. When she looks
at permits and she says we closed that permit, we all know that many permits have been closed without
EYB changes made that should have been done, and that’s been in inconsistent factor. And I recognize
we’re all trying to clean it up, but that’s where the error in data occurs. Thank you.”




                                                                                                        175

                                                                                          NPD-LO-3873
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 176 of 424



Board of Aldermen Tuesday, December 8, 2020

https://www.youtube.com/watch?v=2pIoqSLjWls

35:14

Laurie Ortolano “Yes. 41 Berkeley Street. I just wanted to make a comment about the wastewater
increase. I am just concerned that that type of increase really represents crisis management and not
planning. And I don’t know if there’s any type of regulation or ordinance that governs the review of
those fees with any regularity, I haven’t researched it at all, but it would seem to me that there should
be if they’re not because anytime somebody steps in with a 35% increase across two years, I just feel
like we missed the mark on planning for this. And in 2022 we have the reevaluation taking place, which I
think is going to have a major impact on some of these property owners because there is a decent
amount of disproportion that I certainly see and there’s going to be a segment of owners that really get
punched in the face. These fees and everything else that comes down is going to play a role, so I am just
concerned that there’s no review process of this on a more regular basis. Thank you.”



Budget Review Committee, December 17, 2020

Audio Only: https://nashuanh.gov/DocumentCenter/View/20666/20201217-Board-of-Public-
Works?bidId=

Laurie Ortolano “Laurie Ortolano - 41 Berkeley Street I just want to speak about the sewer potential fee
increases, a couple of questions. I would like to try and understand the differences between usage and
demand and whether a property owner can really do anything to try and minimize the cost impact of
these increases that are being proposed by practicing a better means of conservation? And I don’t really
know or fully understand the differences between those fees, but I would like to try and understand
that. And also, I know some municipalities allow a meter to be put in for sprinkler systems, so when you
water I think the water usage that is just lawn watering counts as your sewer usage or into your bill. But
it’s really not used the same way as in house equipment or even gray water that is being generated, so
the processing or treatment of it is completely different. Do we allow separate metering for sprinkler
systems and charge a reduced rate for those? I don’t even know what a meter costs so I am not certain
how prohibitive it is, but I just happen to know that some municipalities, I believe, allow that. Thank
you.”



Board of Assessors December 17, 2020

https://www.youtube.com/watch?v=WhBLnR1Zxas

53:20

Ms. Ortolano “Laurie Ortolano.”

Mr. Hansberry “Ms. Ortolano, if you could state your address please.”

Ms. Ortolano “41 Berkeley Street. Chairman Hansberry I find your comments offensive and I read them
in the last set of records and sent them to my attorney. I mean, here’s a very specific issue I have. You

                                                                                                       176

                                                                                         NPD-LO-3874
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 177 of 424



said the scope of our responsibilities are clearly defined under state law, the city charter and city
ordinances. The state law says that the Board of Assessors will review all abatement applications. From
what I can tell, you don’t do that. And I put a right-to-know into the BTLA, paid $8 and got documents
sent back to me and asked if they had any evidenced that the Board of Assessor’s is reviewing
abatement applications. They sent me back letters that were sent to commercial properties by our
assessors that these properties were deemed denied, with a letter but it said the Board has reviewed
your application and it has been deemed denied and they received the letter. However, you didn’t
review the application and when I’ve been in the meetings, the assessors come in with a long list of
names. They read them all and say all of these are deemed denied. That doesn’t mean you’re reviewing
the applications. So to me, you’re not following the law and it would be super helpful if you explained
how you are. We have a city charter that says our records will be open for inspection, immediate
inspection when you go into the Assessing Department. That’s not true. I couldn’t walk in and get a
property record file. Ms. Kleiner implemented a new rule that if you had multiple file requests, you had
to fill out a form. But if I wanted one file, two files or three files and I was in there for an hour, I couldn’t
get them. They said no. They’re not available for inspection and you cannot have them. Never defining
what multiple requests meant. I couldn’t even get my own property record file. That’s the rule of the
charter. So the charter has something in it that’s written as an affirmation that’s a nicety that’s not
legally binding and not followed. So how do I work with that. And as far as City Ordinances, it would be
wonderful if you put out a list of ordinances that are there on the website because, God knows, I can’t
really find them, that you follow. You know, I have a major concern. I found, in the assessing manual, a
document on the protocol that will be followed for tax abatement appeals out of the assessing office.
This is assessing work. And what it says is, I came to you as a Board and complained that records are
being removed from the assessing office and marched around City Hall and data is being lost out of
these files. It happened to me. My file ended up in John Griffin’s office for a month. My file ended up in
the legal office for God knows how long. I got yelled at for going up there trying to get it. And here’s the
protocol. Assessing will provide legal with a PDF copy of the entire abatement file with our office
including the denial letter sent property record card for the tax year filed and copy of the warrant screen
to show the tax bill assessment issued for the abatement year filed. File will be put in the Assessing Legal
folder in the S drive. No original record will leave the office. That’s not being followed. Your mission
statement says you’re there to make sure they adhere to policy. What are you doing to adhere to
policy? I never even got a response to these record issues and I just discovered this rereading the
manual and going over the abatement section. I hadn’t read it before carefully. And I told you when I
spoke to you that I had, had a conversation with Cheryl Walley about this and she said it was never done
that way when Angelo was there and she thought there was a policy and her name’s in this policy. No
wonder she was right. And where are our assessors, Greg Turgiss as a Supervisor, Louise Brown as a
Supervisor of the clerical staff to put their foot down and not allow our records to disappear. That
should be your oversight and if you view that as a criticism of a department that you have nothing to do
with, none of you should be sitting at that table. Our records should be protected. You know, I also want
you to know the data disk that was recently released. I sent an email to Ms. Kleiner a year ago and asked
her if she would consider including the depreciation, condition and grade. The subjective factors
because we all know in this update depreciation is what’s being looked at. And you can’t get a list of
that. I was never able to get anyone in the assessing office to help me understand how my depreciation
factor compared to other older homes. They would provide no information so if they would add that
field to the data disk. Particularly when Vision is going to update these properties in 2022, we would


                                                                                                            177

                                                                                              NPD-LO-3875
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 178 of 424



have a complete list of how these adjustments were made. I waited a year. I never bugged anyone. I
know how to wait a long time. The data disc comes out and the information is never put on with no
explanation. The property sales search, I’m disappointed in that because you can’t, you can’t click, you
can’t get a list of any properties. And I believe I wrote to the Board. The dashboard I like a lot. I figured
out how to download but I asked Ms. Kleiner a very specific question a couple days ago. That there
appear to be sales on the dashboard that are not qualified but they’re listed under qualified. I did a
qualified list of sales that came up with 657. I put it in the spreadsheet for the public to have but some
of the sales have an N in the column not a Q. There’s no list of abbreviations to explain what in the NLA
field, that series of abbreviation means and Ms. Kleiner only said to me that the information on the
dashboard as well as the property search is coming from the CAMA system. Fine. Well why, why are
unqualified sales going into the qualified column? This makes it brutally hard for property owners to pick
sales. I picked two and submitted mine that technically aren’t qualified. I qualified them. I called the
agent, I did the MLS review, I looked at them. I think they’re pretty good. You can go and figure it out.
But they’re listed for me to use. And the biggest factor for the public has and the biggest criticism of all
your assessors when they come in, and the work and the evidence that the public submits is that their
selection of sold properties is poor. They don’t pick the correct properties, and in particular, they bomb
on grabbing on qualified sales because we’ve never had that…”

Mr. Hansberry “Ms. Ortolano. Ms. Ortolano, I’m going to ask you to take a minute and wrap things up.
I’ve let you go well beyond the allotted time but I’ll give you one more minute to wrap things up.”

Ms. Ortolano “These are pretty serious issues Dan and I’m disgusted. I’m disgusted with the response I
get from Ms. Kleiner. I’m disgusted with what’s happened with my records. I’m disgusted that I can’t
understand the charter. That I don’t understand how state law’s followed and you do nothing to address
that. Except slap our hands and pull the plug if you don’t like what’s being said. I am disgusted, every
one of you should resign and I hope when Rick Vincent gets down here, he’s got the stones to push back
on the city. He better have a lot of energy, he’s going to need it. I am thoroughly disgusted. I will send a
blog out and you can read that.”



Board of Aldermen was held Tuesday, December 22, 2020

https://www.youtube.com/watch?v=Rpt3N9U2wF8

2:34:59

President Wilshire “Again I am going to have to ask you to limit your comments to three minutes and
raise your hand in your app or on your screen to let me know you want to speak. Ms. Ortolano, name
and address for the record please?”

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street.”

President Wilshire “Thank you.”

Ms. Ortolano “Just quickly, I am just wondering why the Board didn’t put the AFSME contract on for
Public Works to vote on that. They changed the language in there to eliminate the additional pay that
goes in with snowplowing and contracting and we’ve had a lot of plow days and we are piling a lot of


                                                                                                         178

                                                                                           NPD-LO-3876
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 179 of 424



money out that we wouldn’t have to if you did contract approval. So I think that’s something to vote on
or get a vote on that soon because we are in the winter.

“Another thing, I wanted to ask the Board to consider developing some Ordinances to help with the
governance of the Board of Assessors. The Board voted for a public input policy like you folks did, but
the policy included the language for uncivil and rude remarks that Shoshanna Kelly felt didn’t belong in
the policy because it would present a liability issue for the City. And Attorney Bolton agreed and the
Board of Aldermen struck the language. But Attorney Leonard recommended that the Board of
Assessors leave the language in. And when they rewrote their bylaws, they didn’t cover policy. So the
Board of Assessors on their web site had a mission statement that they did policy oversight and
enforcement. And I did not realize until last week that they had removed their mission statement and
they no longer do policy oversight and enforcement. And this is a big issue to me because bylaws and
adopting new bylaws which they worked on in a workshop format but they brought it to a public
meeting and approved it in a public meeting. They didn’t tell the public that they eliminated their
mission statement and policy oversight.

“They have very stricter rules over there, much stricter than the Board of Aldermen on what you can say
and not say because they are enforcing this unconstitutional language. And I am no longer to address
policy issues with the Board because it’s not their responsibility anymore. And I really think policy has to
be brought on the table and the Board of Aldermen have to be the ones to do that. You know you have
Ordinances and Resolutions that define your work and allow the public to understand what you do. And
I really thing policy and policy development should be what the next level down works on so the public
understands what is going on. And yeah I am just really disturbed that this was taken off the table. I
asked Chairman Hansberry today if in fact the mission statement had been removed and they are no
longer doing policy oversight and he referred me and sent me an email ccing Celia Leonard and noted
that Attorney Leonard is handling policy reviews. Well again this is confusing because Attorney Bolton
will tell us that the Legal Office doesn’t do anything without the permission of the Board. And when I
asked the Board if you removed this stuff, they point to Celia Leonard who is responsible for the removal
or the action. And I really think it’s the Board’s responsibility. But you have to develop Ordinances for
that Board, because that’s your job not theirs. They state that they are governed by State laws, they
don’t follow the State Laws. They state that they are governed by the Charter, the Charter actually has
all the language that’s been repealed and stricken for the Board of Assessors.”

President Wilshire “Ms. Ortolano, time please?”

Ms. Ortolano “The only thing standing in there is the open records clause and that’s not being followed
and now I can’t find any ordinances so I am hoping that the Board of Aldermen will help me with
Ordinance development for the Board of Assessors. Thank you.”



Board of Aldermen Tuesday, January 12, 2021

https://www.youtube.com/watch?v=OLdOy0AOCsE

58:55




                                                                                                        179

                                                                                          NPD-LO-3877
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 180 of 424



Laurie Ortolano “41 Berkeley Street. Hi, I’d like to just speak briefly about the transparency chart. The
Mayor’s is correct, there are 19 boxes checked off in Nashua and the next community with the highest
number of boxes is 8 and I think that’s Hudson. But I can tell you, I would much rather work with
Hudson, Manchester and Keene than I would with Manchester. Because what is on a website doesn’t
necessarily indicate the true transparency of a Department. And the Mayor underestimates what the
people factor, the human factor of transparency and that’s what we are missing in our Assessing
Department as well as some serious staffing issues. You know and to be fair, 13 of those boxes were
checked off when John Duhamel was there and probably when Angelo – John didn’t add anything Angelo
Marino was there. Angelo Marino was pretty progressive about open records getting GIS up and having
those property search tools and those extra buttons on our website.

“So we still led the way with those two past chiefs and yet we got into all this trouble. So you know I can
tell you Manchester only has 6 boxes, but I call up to the Chief there and I ask for an excel copy of their
sales analysis spread sheet and I get it in like 30 minutes. In the City of Nashua, it took me 30 days and
the Legal Office said they had to review trying to find an exemption to prevent me from having it. I mean
that’s what they were doing, were looking a way to keep it from me. I do the same thing in Keene, the
same thing in minute talk with somebody and I can tell you what I learn in 30 minutes is probably
equivalent to 25 Right-to-Knows that I have to do in this City.

“So it’s really been unpleasant. And that’s not transparency to me, those boxes. And Ms. Colquhoun is
right, the 2020 cards aren’t on-line and it’s unprecedented that that data isn’t available to the public now.
It’s never been this late, ever. And I actually asked Ms. Walley about that and she said she couldn’t think
of a time that that had happened. We are halfway through abatement season and we don’t have access
to the cards for your abatement. And I would have never done a software update. I think it was one of
the biggest mistakes the Board of Aldermen made to approve that with no Chief on board, with a high
turnover IT Department and we are short-staffed in the office. You took on one heck of a project that
quite frankly whether you ran AP5 or AP4 I wouldn’t have known the difference and I still don’t know the
difference except that I feel that some of the reporting in the new software is less transparent than the
old software and I am kind of disappointed with that.

“So you know whatever the software problems are, Ms. Colquhoun is correct, 15 months has just been a
long time. And these property record cards aren’t correct as they stand printed and the proper data isn’t
even up yet. So let’s not forget what people mean to transparency please and let’s try to get City Hall
opened.”



FINANCE COMMITTEE JANUARY 20, 2021

https://www.youtube.com/watch?v=4yGYJUhxztM

4:43

Laurie Ortolano “Mayor Donchess?”

Mayor Donchess “Yes?”

Ms. Ortolano “Will there be another public input at the end? Is this the public input to speak to items
that are being acted upon?”

                                                                                                         180

                                                                                           NPD-LO-3878
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 181 of 424



Mayor Donchess “There is public comment at the end, yes.”

Ms. Ortolano “Ok that’s fine, I just wanted to make sure.”

19:08

Laurie Ortolano “Mayor Donchess?”

Mayor Donchess “Yes.”

Ms. Ortolano “This is Laurie Ortolano, 41 Berkeley Street.”

Mayor Donchess “Alright please proceed.”

Ms. Ortolano “Yes, I just wanted to make an appeal to the group to maybe try to gather some
information about what is happening with property assessments and potentially the assessable tax base
as we go through this year and into next year so that we are paying attention to what is going to happen
to the tax rate. And I would like to appeal to the group to see if they would organize getting the new
chief or the contracted chief to come in and do a talk about what they see potentially happening
between commercial and residential properties and if we expect to see the shift that other communities
are potentially looking at.

“I don’t know what the answer is to that and there hasn’t been kind of indication of what is going on
through the Assessing Board, but I think it is important. I read an article in New Hampshire Business
Review where a group of attorneys were encouraging the businesses to file under hardship due to act of
nature, citing the pandemic would fall under there to get tax reductions on businesses for what
happened 2020. So I would be interested in trying to understand it and I am hoping the Finance
Committee, the Budget Committee and the Aldermen as a body would be interested in it, because that’s
where the money talk happens. Thank you.”



Board of Assessors March 4, 2021 – No VIDEO LINK

Audio: https://nashuanh.gov/DocumentCenter/View/21462/20210304-Board-of-Assessors

Ms. Ortolano “Mr. Hansberry, this is Laurie Ortolano.”

Mr. Hansberry “Okay. There’s a couple things I just want to point out as far as the rules go; I’m reading
right from the policies and procedures for the Board of Assessors. Each speaker is limited to speaking
once per public comment period, and is limited to five minutes. And—sorry—and then remarks shall be
civil; rude or profane remarks are prohibited. So at this time I will recognize Mrs. Ortolano. And if you
could state your address, Mrs. Ortolano, please, for the record, we’d appreciate that.”

Ms. Ortolano “Laurie Ortolano, 41 Berkeley St. A couple of items. Has the Board received any updated
changes for your policy manual? I know Ms. Kleiner said that the manuals were being updated, and I’m
trying to find out if you have had updated pages come your way.”

Mr. Hansberry “Director Kleiner, do you want to address that?”




                                                                                                      181

                                                                                         NPD-LO-3879
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 182 of 424



Ms. Ortolano “Actually, let me have my five minutes and then if she wants to address that after--I
thought it would be just a yes/ no answer. And I have asked about this, and nobody followed up. Just for
the sake of transparency, I think a quick answer could have been provided. I –you know, it’s the only
thing the public has access to to understand these policies. And following up on policy is important to
me and it’s important to several other people, I think, as well. Number two, when you redid your
bylaws, someone—and I think it was Attorney Leonard—encouraged you to eliminate your mission
statement and to remove policy oversight from the Board. I would like to request that Mr. Vincent, Chief
Vincent, bring back a mission statement for the Assessing office. I think a mission is super important. I
mean, I served on a school board, and we all know what a mission means to a school district. But an
assessing office is also pretty important, and you should have a mission. And I think the removal of
policy oversight was a mistake. And the Board should have policy oversight. You have very few functions
you serve as a board; really, you have an inventory, annual inventory, you have to sign off on, review of
abatement applications, and approval and denial of those applications. It’s pretty minimal, and I think
policy oversight is a very simple thing to have. I’d like to talk for a quick minute about the abatements. I
think the abatement process this year was atrocious. I, you know—what was put out on the website…
Ms. Kleiner did not write on the website that they would accept e-mail applications. And I did not
understand this. And I learned that Attorney Bolton was attending her staff meetings in 2019, and they
had a discussion about e-mail applications. And they sparred. Ms. Kleiner did not want to accept e-mail
applications and e-mail information, and Attorney Bolton said, “I don’t think we can deny them that.” It
turns out, I have an e-mail from a property owner who submitted a 2020 application through e-mail and
he said to the clerical staff, “Will you accept an e-mail application?”, and response back from Lynn
Cameron was yes, we accept e-mail applications. I don’t know why, on our website, during the
pandemic, when it said how applications could be received, that you only gave a dropbox or US mail to
get them in. I just thought it was very underhanded. And as I looked at other sites, and in particular
where Chief Vincent came from—they accepted, their site accepted e-mail applications. They were very
clear. The stamping of applications—I was super concerned when Ms. Kleiner stated that we don’t date
stamp applications ordinarily or give those receipts to property owners in December, I think—November
or December minutes. I was shocked. That’s a legal document, essentially, and we do stamp them. It
happens all the time. So in this round of applications, you took the position to stall people, and I got
quite a few e-mails from residents who were concerned that they weren’t getting a response from the
clerical staff. And I have an e-mail from a clerical staff—a text message from a clerical staff member
where the citizen says, you know, I’m really frustrated you’re not responding to my request for the date
and time stamp, and the position of the staff member was, well, you think it’s difficult for you, it’s tough
on us, too. That’s not the appropriate response. So, you know, I’ve gotta thank Ms. Kleiner because she
inspired me to go out there and do this work, because I thought that we were screwing over so many
property owners who have legitimate issues. And I think it’s essential. And I’m glad to see the number of
abatements submitted, it is high. But I will tell you something, next year? I would hope you see 500 of
them, because I already know the properties I really think should be filing. And these discrepancies
really exist. And it’s high time we clean it up and we create an assessing office that’s strong, because we
have an educated public that understands how to defend their assessment and present their
information in a professional manner. Thank you.”

Mr. Hansberry “Mrs. Ortolano, so – the update, are you asking if there were additional updates to the
policies that were adopted last year?”


                                                                                                        182

                                                                                          NPD-LO-3880
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 183 of 424



Ms. Ortolano “Ms. Kleiner told us, and Laura Calquhoun received e-mails from Jesse Neumann stating
that the policy manual was being updated, which was months ago. And we wanted information and we
were told it wasn’t available because the manual was being updated. And I’m just curious after months
if Ms. Kleiner typically says to you guys, turn in your book, or we’ll give you the pages. I had a standing
request that when you change the pages that you just e-mail me the pages changed because I have no
way of knowing what’s being changed because the Board never discusses it. And we’ve been waiting
months, and I just want to know what changes have been made to the manual, and if it fact you had
those pages changed out like Ms. Kleiner had requested before.”

Mr. Hansberry “Are you talking about an employee policy manual, or are you talking about—"

Ms. Ortolano “No, I’m talking about the data collection manual. The city data collection manual that you
all Board members got. That big, you know, 300 page, 350 page book that was put together in the fall of
2019.”

Mr. Hansberry “Okay. Director Kleiner—she’s going to respond, Mrs. Ortolano.”

Ms. Ortolano “Thank you.”

Mr. Hansberry “Go ahead, Director Kleiner.”

Ms. Kleiner “Good morning, Chair and Board. So in fact, you have not. You have not received any
updates to the manual. The process is--when the city and the Assessing Department switched to the AP5
system, we realized that there are changes that need to be made to the manual in regards to the switch
of the software. Right? There are important pages, there are tables, there is detailed information that is
listed within that manual. Some of that will remain the same; some of that will have slight changes. With
the onboarding of the new Chief, we wanted to respect—give him time to onboard and then have him
address these issues going forward. So my apologies if we haven’t communicated that effectively, but
there have been no changes and we have not updated any pages to the manual. We will certainly bring
those to the Board once they are completed. In regards to the abatement process. So there were a
number of pages of information about how to access the assessing department during the pandemic.
Pages and pages of information on our city website. I have not heard from any resident, other that Ms.
Ortolano, about concerns accessing the department or accessing the abatements.”

Mr. Hansberry “Thank you. Attorney Leonard, are you willing to respond to the removal of the mission
statement from the Board’s policy? Are you willing to address that?”

Attorney Leonard “Good morning, Chairman Hansberry. I can address it only in the sense that I actually
have no memory of that. We were looking at the rules of procedure; I don’t recall anything about
policies being discussed. The Board of Assessors has its mission outlined in the City charter, but also
follows RSAs. That’s something we can look at, but I have no memory of even looking at that.”

Mr. Hansberry “And Mrs. Ortolano, there was a third point you brought up earlier. It was the updates,
the mission statement, and—"

Ms. Ortolano “Let’s see. There was the updates, the mission statements, and abatements. And just to
clarify something—the mission statement I was talking about was actually on the assessing department
website. It is gone. I know you have a charter, but I had a picture of that, and I have quoted it in letters
years ago. I used it in documents, and it said that you were responsible for reviewing and overseeing

                                                                                                         183

                                                                                           NPD-LO-3881
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 184 of 424



policy, and it’s gone. I don’t know who took it off. I assume you took it off. That’s what I’m talking about.
Ms. Leonard’s correct, there is a charter, but I don’t know what happened to that mission statement
that was on the website. That’s my question. And I don’t recall the third item—there was abatements, it
was policy, and it was mission, that’s what I remember.”



Board of Aldermen was held Tuesday, March 9, 2021

https://www.youtube.com/watch?v=noB_2v6sevQ

2:35:10

Laurie Ortolano “Hi, yes, 41 Berkeley Street. I wanted to just share a couple of thoughts with the Board,
comments. I don’t understand why the City did not make any effort to have a mechanism for the public
to have their abatement applications stamped this year. I understand the Assessing Office was under
renovations and closed. But no one anticipated that it would be closed for 95% of the time. All other
cities seemed to have a mechanism available for the public to get assistance and get those applications
stamped, and we did not. And that ultimately resulted in my arrest. I just recently got the Police Reports
on that arrest. And I wrote a letter to the Board several weeks ago and told you I felt Attorney Leonard
should be fired. I am on the phone tonight to tell you how strongly I feel that she should be fired
because this was taken way out of line. When you go out publicly and you go to the press and you
challenge someone’s mental capabilities and you use language like “unstable” and “erratic”, you really
cross a line. And when you equate somebody to a DC rioter which I don’t think I was anything like that. I
watched the video yesterday of me going into City Hall and I looked as nonchalant and casual as you
could come.

“I certainly didn’t go there to go to Legal, I wanted to get my application stamped in the Assessing
Office, not the office but the temporary office moved into Ms. Kleiner’s office. But that just wasn’t
possible. I didn’t need an appointment, I had gone in twice without an appointment; no issue. And it was
just totally taken out of line. The berating Jessie Neumann described to the Police 11 days later that my
actions in there was that I berated the people. The phone call by Mindy Lloyd to the Police is anything
but a hostile scene. And to have Jessie Neumann and Cecilia Leonard describe the situation and their
concerns as if it was a DC rioting situation. And then to listen to Mindy Lloyd on the phone with them
there and the dispatcher saying, “are you concerned, is she threatening”, “no”, “do you want to stay on
the phone until the Police get there?”, “No, I’ll hang up”. And she just hangs up. It just doesn’t match. It
just doesn’t match. And the bullies and the threatening and the erratic and the unstable people are right
in that Legal office. When the Mayor has to call business leaders to apologize for the conduct of
Attorney Bolton because he’s so out of control on the phone screaming, that it requires the Mayor to
make an apology, maybe he’s the unstable one. Maybe we can talk about that in court.”

President Wilshire “Ok you need to wrap up Ms. Ortolano, please.”

Ms. Ortolano “I will.”

President Wilshire “Thank you.”




                                                                                                         184

                                                                                           NPD-LO-3882
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 185 of 424



Ms. Ortolano “And I am going to play a tape of Celia Leonard’s conduct; that’s going to go out on the
Internet. And we can evaluate that and decide whether she is stable too, I think what the City did was
horrendous, just horrendous and I don’t think it needed to go to that level.”



Board of Assessors March 18, 2021

https://www.youtube.com/watch?v=sJJ38M0sp3w

18:07

Ms. Ortolano “Yes, I’m present. Laurie Ortolano.”

Mr. Hansberry “Okay, and just to remind members of the public, it is a five-minute comment period. So
if you could also state your address for the record, please, Ms. Ortolano.”

Ms. Ortolano “Yes, it’s 41 Berkeley Street, Nashua. Couple of things. I’m wondering if, when you open
your meeting up, Chairman Hansberry, if you would be willing to announce who’s present in your
meeting from the city. I know the Mayor does that, and some of the other boards do that—they just run
down who’s in the meeting from the city, and it’s just helpful for me to know that when I’m listening.
Secondly—let’s see. I would like to get an update on what’s happening with the scanning of the property
record files. I haven’t asked for any file information, or very little, because I don’t know the status, and
when I did request information at one point, I was told those files weren’t available because they were
out being scanned.

“This was maybe four or five months ago, and I held back on asking for anything because I don’t know
the status, but I would like an update on the scanning of these files and what’s happening with those.
Also, I was—Ms. Perry gave a nice report today, and I would like to know if we’re updating the property
record cards with changes Vision is making when they go out and do an exterior visit. There are changes
being made to the property record cards—I know for 2021, there’s a lot of data. Ms. Calquhoun just got
an audit report that I think showed Vision had made a lot of changes on a lot of cards, but from what I
could tell it wasn’t being documented on the card, and that’s just an issue for me. Because property
owners don’t know what they did—you know, if it was a structure change, a shed, something on or off
the property, and you can’t tell. So initially, I was confused looking at these cards and seeing a difference
between the GIS system and the actual card online being changed by 3, 4, 10 grand and not knowing
why. So I really think we went into this update of the opinion that we were going to document, and we
were going to document well, and cards weren’t going to be changed unless there was documentation
on it. And I’m not certain we’re doing that, and I think we deserve that. I think we’ve paid for that. And
we’re not doing interior inspections, and probably won’t be doing many at all; I think the least you can
do is get these cards documented. Also, Mr. Vincent stated that he’s going to be providing a permit
report to Vision for them. I would like a copy of that. I have an issue with transparency on these reports
now. I am not happy with how we have changed our software and what we’ve produced. And so when a
report goes to June, I would like that report to go to me as well so I can see the formatting of that
report. Also, qualifying sales.

“I would really appreciate it—and I’m going to go to the state on this to try and get a little more
information on it. Qualified sales, there’s some guidelines we use for market exposure. The market right


                                                                                                         185

                                                                                           NPD-LO-3883
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 186 of 424



now is so hot that properties are selling before they’re listed. Properties are selling in 48 hours. Do we
qualify these sales, and what do you do in a circumstance when you have this runaway real estate
market and you need to gather the sales data to qualify it? I just want to understand if there’s a
benchmark or a guideline that’s being used within the assessing department to determine market
exposure, because it’s really a unique market. And I’m a little worried when it comes to gathering sales
data. So those are all my questions for today, or comments, and thank you for the time.”

Mr. Hansberry “Mrs. Ortolano, I have a question for you; I want to make sure I understand this right. Are
you saying that there should be something more done for the public? Just for example, a number of
years ago, I bought a gazebo, placed that on my property, and the value of my property was adjusted
upward. Are you saying there should be something more than that being reflected on the property
record card?”

Ms. Ortolano “So here’s what I’m saying. The comments section of the property record card is the little
comment block where, when the assessor comes out to your house and adds a gazebo, they put a note
there. You will see that they made a visit or used GIS—they’re noting to know whether Lindsay or
Amanda did a GIS review. That’s in the little verification section. But on the back on the comments
section, it’ll say “shed added” and it’ll give the initials of the assessor like MM 2021. That’s how they do
it; everything they add or subtract is documented in the notes section of the card. The problem, for the
public now--when I would get a card I was seeing, you know, $5000 differences or $3000 differences, or
in some instances a $10,000 difference from what I could see on the computer, what was in GIS. And I
can’t tell-- when I collected some of the cards, when I actually printed the most current card, had the
assessing office send me the 2021 card, there were no notes on it. So I couldn’t tell why the assessment
changed 10 grand. There’s no documentation that said—maybe the house was vinyl sided, maybe…?
You know what I would have to do, I’d have to get the old card, one year back, the one I can get on the
computer, compare it to the 2021, and try to figure out among all the data fields what did change. But it
becomes a hunt and peck--you know, there’s 400 different fields on a card. There used to be 800. So the
reason we document it in that section is so one, the property owner knows it changed; they may not
know. And number two, they may not know they’re being given an upcharge because their siding was
changed to vinyl. I just found out one house was given an upcharge because the roof was slate. The
property owner may not know that they’re now being charged for their slate roof more. I wouldn’t have
known that. But we documented that ordinarily in the comments section. It just appears to me we’re
not doing that anymore.

“And I was not happy about when KRT did it, they changed a bunch of assessments and didn’t document
it on the card. I had to go back and cross reference two years of cards to figure it out. And you know, it
ends up being a lot of digging, a lot of work, and the field is there to do exactly that. So if a property
owner comes to a Nashua assessor and says, “Why did this change?”, I don’t know that the Nashua
assessor is going to know. That was Vision’s field. So what did they find? I don’t know if they’re going to
know. And I think you should know. So that’s been our more consistent process and I thought it was
something we were trying to improve upon.”



Board of Aldermen Tuesday, March 23, 2021

https://www.youtube.com/watch?v=ql63S90Bq3Q

                                                                                                        186

                                                                                          NPD-LO-3884
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 187 of 424



1:56:41

Laurie Ortolano “Yes, Laurie Ortolano.”

President Wilshire “OK, you have 3 minutes, name and address please for the record.”

Ms. Ortolano “Sure, Laurie Ortolano, 41 Berkeley Street. I wanted to follow up and find out if the
Purchase & Sales was signed or if we have closed on the property of Burke Street and that’s gone and
taken care of at this point. And I was wondering if the Aldermen, I can’t recall if you have control of the
building projects for DPW or DPW maintains control. But the quote on that project when we bonded it
back in 2019 is almost 2 years old. And there’s been a lot of changes in construction costs. And I am
wondering if the Board, both your Board and DPW have made any movement to go back and re-cost
that job because I am not certain it is going to be a $10 million job anymore. And if we have to cut it by a
couple million dollars or we have to add to it, I think it is worth a review in looking at what you are
actually buying for the money.

“Also, I raised an issue back a while ago, maybe at a Budget Committee Meeting about having an update
on the impact and the shift in the tax rate that potentially could be caused by this pandemic and a shift
of assessment values with residential versus commercial properties. And I know there’s a fair number of
commercial abatements this year, some big numbers and you would expect that. But I was wondering if
there is any attempt to have Vision come in and talk to you, give us an idea of what they are seeing for
vacancy rates and what that shift is going to be. I did an abatement for somebody up in Concord and
helped them out and they had a condo that was worth $260. The tax bill in 2019 was $7500 and in 2020
it was $10.4 and their gross rate in their condos was like 14%, their houses were like 8 and commercial
was down 2. I was stunned by the shift in the tax bill up in Concord. I am just curious if we are going to
be faced with the same thing.

“And also, I was wondering if you could give us a rundown on the opening of City Hall. What is delaying
that? Is it COVID? Is it construction? What is your estimated time frame to get Building Safety and the
Clerk’s Office open? Thank you.”



Board of Public Works Meeting, 03/25/2021

https://www.youtube.com/watch?v=hvUj3EbGQMo

11:35

Mayor Donchess “We are now at Public Comment, is there any member of the public who would like to
speak to the Committee?”

Laurie Ortolano “Yes, Laurie Ortolano.”

Mayor Donchess “Could you please go ahead, just give your name and address.”

Ms. Ortolano “Sure, Laurie Ortolano, 41 Berkeley Street. Two things – one I was just want to weigh in on
the barriers and I know Director Cummings is going to give an update so I am going to pay attention and
listen to that. I am just not certain that we should be (inaudible) into making those barriers a permanent
thing in Nashua without maybe studying it a little more closely and looking at potential traffic impacts

                                                                                                        187

                                                                                          NPD-LO-3885
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 188 of 424



particularly as we develop downtown with the Art Center and additional housing units. And there is a
cost associated with putting them in and taking them down and I just think we should maybe do a little
more investigating on that and studying to make certain it is the right decision.

“Secondly, I know that the Burke Street property sale is going to be discussed today. But I did bring up
an issue at the Board of Aldermen meeting and I don’t know who was control of the building project
anymore. The bond was approved by the Board about 18 months ago but it is not the same project it
was back then. And I think the quote for the project is now pretty dated. Construction costs have
changed a lot, lumber costs, everything. And I don’t know what Burke Street is going to sell for. And I
think that project should be voted – pulled back and reviewed again. We should get a new cost estimate
on building the DPW Office facility because it is a different time and place now and we shouldn’t be
purchasing something that we approved – by the time we get going on this, you know, a year and a half
or two years ago, that isn’t the same project any longer. So I think it would be good to take a second
look at it again. Thank you.”



Board of Aldermen was held Tuesday, April 13, 2021

https://www.youtube.com/watch?v=7Uf6tNLsq8s

1:06:45

Laurie Ortolano “My hand is up.”

President Wilshire “I’m sorry I didn’t see you, go ahead Ms. Ortolano.”

Ms. Ortolano “Laurie Ortolano, 41 Berkeley Street. Just commenting on the Communications for the
Assessing Office update. I am a proponent of allowing people access to the office with appointments the
same day if information is available. It was a walk-in office and I think that’s pretty helpful and I am also
supportive of appointments longer than 15 minutes if that time is available and these slots aren’t
booked, there is openings for people to have more than 15 minutes. I am disappointed in the Customer
Service area because you took away all the counter space for people to come in there to set up their
notebooks or do some research. If they collected some property record files and they wanted to go
through them there’s so much less counters pace than there was in the old office that it is pretty
disappointing that that’s been eliminated. Other Assessing Offices I have been in maintain a lot of
counter space for people to be able to spread out a little bit and do some research. So I wish we hadn’t
lost all that space. I am not certain where we are supposed to go if we did get a manual or files to look
at, you know? What are we supposed to do? Can you not go in and do that anymore. Do you have to be
booked into a conference room? It just seems really unfortunate that that was the layout and I really
had no idea that was the way it was going to work. Thank you.”

1:06:43

Laurie Ortolano “Yeah, Laurie Ortolano, 41 Berkeley Street. A couple of things quickly. A little while ago I
talked to this Board and I think the Finance Committee about getting an update from Vision on the
Commercial / Residential property assessment rate that we are potentially looking at for 2022 and the
vacancy rate for these commercial properties, mostly to understand if there is going to be a burden shift
from commercial properties onto residential. And I think there’s been some recovery here but Vision has

                                                                                                         188

                                                                                           NPD-LO-3886
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 189 of 424



collected one year of commercial sales data and would have some vacancy information. And I would like
to have them talk to us and give us some input because I’ve received a number of calls from seniors who
have asked me to ask this board to consider and take a look at the elderly tax exemption. You did this is
2018 and you ended up having to phase it in when there was an increase in the assessments because of
the market. There was a pretty big outcry from seniors to get more assistance and I suspect in 2022 you
are going to see the same thing. And I am not weighing in one way or another about what the right thing
to do is here. But it would be good now to look at what other communities have done with these
increases in the real estate market and how they are addressing their exemptions. We have a generous
exemption but I think seniors have a good point who are saying, “address it now” so that we don’t get
stuck in this phase in plan that happened in 2022 and be a little proactive. But let’s understand where
we are going with this situation with the new update.

“I also would like and I think wrote a letter to the Board I can’t recall if I did. I would really like to
encourage the Mayor to set up a class with Vision to do a little camera review with us. It was something
that was supposed to be done with KRT and it was cancelled, but some workshop where the public
could learn more about modeling, how it is done, what data they use off your property record card and
allows them questions or put out a video before the update is done.

“The last thing is I am not a proponent of maintaining that Right To Know position that was recently
hired in the budget. I don’t feel it has done what it should do to meet the needs of the public. I
understand there is no legal obligation to be civil or polite or work with the public. But I do think that
municipal government has an obligation to try to do that and I think that hasn’t happened. I was very
leery of having that position be part of the Legal Office because it intertwines with other legal issues and
that’s exactly what happened. And I don’t think that that position should be maintained. I think it is
really has been very poorly handled and I am really disappointed with it. Thank you.”



Board of Assessors April 15, 2021

https://www.youtube.com/watch?v=evab4GHvQfQ

16:40

Ms. Ortolano “Yes. This is Laurie Ortolano”

Mr. Hansberry “And could you state your address, please?”

Ms. Ortolano “It’s 41 Berkeley St. I’m looking at the clock; it’s about 9:17. Just a couple of things I want
to go through. At the meeting on March 18, Ms. Colquhoun read a statement into the record, and she
made the comment that if the legal office was advising the Board not to comply with the law, as a
matter of transparency please provide the public with information on this. She was referring to some
issues regarding compliance with RSAs, and I wanted to say that Attorney Bolton was pretty set off by
this and became pretty aggressive in commenting to this. And his response—his response to this was,
“What you just heard in regards to my office and my personal activities—not a word of it was true. I’ve
never advised this Board or the Assessing Department not to follow the law.” First of all, attorney- client
privilege doesn’t even require him to say that. But he took this so personal—all she said was if the legal
office. She didn’t accuse anyone. And Attorney Bolton in my opinion embodies the absolute worst


                                                                                                        189

                                                                                           NPD-LO-3887
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 190 of 424



character a citizen would want to see in a municipal lawyer. And most likely he would take this to be a
compliment, but it shouldn’t be about destroying the character of our citizens. Rather he should simply
just address the misunderstanding and the issues itself. It’s so personal for him; he’s like a rabid dog,
and all he wants to do is fight all the time. And I’d like to see that change. And Ms. Colquhoun deserves
the same respect I do when it comes to getting answers. Everyone does. The other issue is nonpublic
minutes. I can’t find where you are releasing, when you do release non-public minutes, that they’re put
in the record. So I can’t track hiring, I can’t track settlements. I’ve brought this up before, I’ve asked
Attorney Leonard to help me find settlement agreements, to direct me to the minutes. She refuses to do
so. I’m going to make a suggestion and I’m going to talk to Rick Vincent about posting non-public
minutes. But I don’t think we’re in compliance with the law, and it’s too hard for the public to dig them
out and find them. I just want to be able to track settlement issues and hiring, and I’m unable to do that.
So the other thing is, at the March 18 meeting, I did ask the city to provide me with the permit data that
was being given to Vision, a permit report. Mr. Vincent said that was going to Vision appraisal, I would
imagine for the April 1 inventory date. I would like to see that report. That’s something I’ve always been
interested in, and I didn’t want to make you run a separate one—you’re already running it for them, so
just provide it to me. The other thing is qualified sales. I had an issue come up at my abatement appeal,
and it was regarding the qualification of the sale at 45 Berkeley Street. And my abatement and my
appeal was- the appraiser didn’t use 45 Berkeley St. because it was, in his opinion, not an arm’s length
transaction and not a qualified sale. And this concerned me a great deal, because Nashua has used it as
a qualified sale through like six different levels of review. The DRA included it in the ratio study as
qualified. The city submitted the data to the DRA as qualified. KRT used it in a sales grid—the only one
they did—as qualified. Gary Turgiss used it as qualified on the abatement for my neighbor at 39 Berkeley
St. And Rex Norman approved it, so. And I know the issue with that house and the sale, and I have talked
to the selling agent, who said that she told the city-hired appraiser it was in fact an arms-length
transaction. So, you know it affects my property assessment, the qualification of these sales and how
they’re used. If one appraiser hired on one side by the city says it’s not qualified, and everyone else in
the city calls it qualified to reduce the level of assessment of my neighbor’s property, it affects me. And I
want that addressed. I mean, I really want to understand what’s happening here with qualified sales.
And I did ask Gary Turgiss for a response on that, and I feel I’m entitled to that. I’ve asked twice about
the abatement at 39 Berkeley St, particularly when I only had a 2019 appeal. It affects my level of
assessment, and you know, it’s important to me. I should be able to look at other assessments in
comparison to mine and make the argument. The other thing is, Mr. Vincent in his town, Lebanon,
allows a citizen to comment on any abatement that’s being approved, sort of like what the Zoning Board
does in the meetings. And I would like to ask MR. Vincent to change the bylaws and make the
recommendation that you allow that to happen in Nashua. I think that’s perfect. It’s so open and
transparent, and it treats the abatements with the respect and the understanding that we’re all in this
together, and we all get to comment on this information. So please consider making that change to the
bylaws; I love what they do up in Lebanon. Yes, thank you very much. I’m all set.”

24:32

Ms. Ortolano “Chairman? Chairman Hansberry?”

Mr. Hansberry “I’m sorry, no, the public question and comment period has ended. So, are there any
comments by Board members?”


                                                                                                         190

                                                                                           NPD-LO-3888
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 191 of 424




BUDGET REVIEW COMMITTEE APRIL 26, 2021

https://www.youtube.com/watch?v=8Kkp4PtzkCY

1:23:43

Laurie Ortolano “Laurie Ortolano,41 Berkeley Street. A couple of items here. What’s the time for your
nonpublic? I just want to make certain I don’t blow it.”

Chairman Dowd “Three minutes.”

Laure Ortolano “Okay. Hang on a second. Let me start my time clock. Okay. Perfect. All right. A couple
of things regarding the budget as you go into budget development. In the Assessing Department, they
produce and exposure report and I would like to have somebody explain to me how the exposure report
fits into the budget at some point and how you look at the years of return that you have to pay back on
those and how it fits in.

“I’m also concerned when you do do the assessing budget that you recognize that next year is an update
year and I think you could potentially have a lot more abatements than you had when KRT came
through. I expect that that might be the case because I think you’re going to have back to back years of
significant increases and that usually fires people up to come in and abate. It would be unexpected to
see 500 or 600 abatements come in instead of the 385 that came when KRT came through.

“Also I wanted to speak a little bit about the IT Department. I think we have some serious issues in our IT
Department and our budget should be looked at very carefully. The termination of our IT Supervisor or
Director is a big issue and I know Alderman O’Brien spoke to the newspapers about this little issue we
had with money being scooped out. That calls to question some IT security issues. I’m old and I’m not IT
knowledgeable but I can tell you I would not have said what he said to the papers. This is an IT issue.
We’ve had some serious IT issues going on with the assessing software. It’s been a big problem in
getting it running. We have IT issues going on with getting property sales searches up. We have IT issues
going on with reporting in assessing. My Right-to-Know court case just returned information after the
city failed to comply with discovery.”

Chairman Dowd “One minute.”

Laurie Ortolano “They pulled something out and decided to tell us nine months into the process that the
e-mails were corrupted on the city website and the backup was destroyed. Now that happened months
again and they never disclosed it to us. We’re going into court ex-parte on that to address that issue.

“Also the Legal Department I’m a big proponent of firing out Jesse Newman’s position. That did not
work out the way we had anticipated. When you read the job description, the city never wrote it up to
be anything cooperative at all. I expect a Right-to-Know attorney to be willing to work with the public
and that job description absolutely says he is not. He is there for the city only and its screw the public.
We just don’t need that. I filed another lawsuit today with Attorney Gagliuso who is representing me
from Bernstein Shur on a Right-to-Know suit and they’re more that are going to come in. That’s as a


                                                                                                         191

                                                                                           NPD-LO-3889
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 192 of 424



result of this new Right-to-Know Coordinator. So fire his buns out of there. We don’t need this in our city
budget.”



Board of Aldermen Tuesday, April 27, 2021

https://www.youtube.com/watch?v=BFb9mzZNq2E

58:00

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’m addressing the whole Board because I know
we’re coming into budget season and I am not a proponent of maintaining the Right-to-Know
Coordinator position in the Legal office. I really feel that position did not work out the way we had
intended it to work out and I really believe that filling Right-to Knows for the public should be happening
within the departments that carry the information not running amuck through Legal. It’s been pretty
much a disaster for a lot of people trying to do that interface through Legal. It’s complicated. There’s all
these privilege information things. I know you had one lawsuit filed. I filed lawsuit through Attorney
Gagliuso on Monday. There’s two or three more in the cue that are coming in. It’s all because of the way
it’s handled up in the Legal office. I just feel it’s an expensive position and we shouldn’t be funding that
any more. Let the departments handle the public requests and when you need legal assistance, provide
the assistance. You’re abusing attorney/client privilege and hiding information from the public when you
do it the way that it’s being done right now. A lot of responses that are coming from the Legal office are
just matters of business to type a letter that could be done in the department where there is no
advisement being given by the attorney. They’re writing it and then not technically owning it. The
individual from the department is responsible for actually verifying that the data is done. I have hated
the way that position worked. I think it’s been a huge disservice and an obstacle to the public and
certainly to me and I don’t think we need that in our budget.

“Also I just need to put out to you folks that I am just appalled at the level of hatred that this City reigns
down on members of the public that point out an issue. Never in my wildest dreams could I have
believed that I would have encountered the level of hatred from the Mayor, Attorney Bolton, Attorney
Leonard, and Kim Kleiner. It’s unprecedented to address issues. What’s happened with my property
appeal is just unbelievable. They brought in a guy who committed perjury and we have a perjury charge
that’s really being looked at by the Board of Tax and Land Appeal. The level of the fight I just don’t
understand because I was never a person who carried that level of hatred. It was my Attorney Lehman
who said to me you have to understand how much people hate you. It’s been tough. It’s not really funny
Alderman O’Brien. It really isn’t. It’s been very costly. A huge cost to the City and it’s just disgraceful.
Just disgraceful. I think you have a lot to think about and a lot to change in how you address people.”



PERSONNEL/ADMINISTRATIVE AFFAIRS COMMITTEE MAY 3, 2021

https://www.youtube.com/watch?v=BqcsuMYg3TQ

33:21

Laurie Ortolano “Yes, Laurie Ortolano, can you hear me?”

                                                                                                          192

                                                                                            NPD-LO-3890
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 193 of 424



Chairman Caron “Yes.”

Laurie Ortolano “Yes, Laurie Ortolano, 41 Berkeley Street. I just wanted to address the group quickly and
say that I do not support the appointment of Paul Shea to any Committee in the City. I feel that he does
not represent diversity in the way that we would want the City represented. He is two pocketed with the
Mayor. He runs a Civic Sounding Board Website that he frequently throws people off of and shuts them
if their opinions differ from his opinion.

“And I think it is a poor representation of the City that he doesn’t recognize that differing opinions hold
a value. I have watched many people get tossed out of there and comment that they don’t go over there
because he is so unwelcoming.

“And I just don’t see this guy as the right guy to sit on any Committee in the City and represent diversity.
He gets his money from the Mayor and the City, he is beholding to him and when he thinks that
someone expresses an opinion that is not behind the Mayor, he shuts them down and tosses them. And
we don’t need more of that in Nashua. I did enjoy listening to Justin Chapman, as a new appointment. I
think he brings a lot to the table and he got involved and he’s refreshing and that’s what we need to see.
But the same old, same old, guys lined up in the Mayor’s pocket to do his bidding is not what I want to
see. Thank you.”



Board of Aldermen Tuesday, May 11, 2021

https://www.youtube.com/watch?v=9WPcFGQIGgo

29:25

Ms. Ortolano “Laurie Ortolano, 41 Berkeley Street. I was going to comment on the 144 and 143 but I will
do that at the end of the meeting. But I would like to say with regard to the Mayor’s comment that the
study he did or the survey he took or the poll regarding the Police Department it would be nice if that
was made public so we just know what the outcome of that is.”

President Wilshire” But we are not taking action on that this evening.”

Ms. Ortolano “Well I know, but he brought it up, that’s all.”

1:36:15

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Quickly going through, I am not in favor of the dog
park. I just think the money spent right now is not the thing to do. The Mayor spoke briefly about the
secretive process of how these Commissioners are selected. I think we have our own secretive process
going on down here where we have a Charter Change being proposed for the School, make-up of the
elected members moving it toward a 15 member board with at-large seats. I really don’t think that
works and my idea of a transparent and open government. I know it doesn’t violate an open meeting
because it was handled by an Alderman making the change for the School Board, but I don’t like that
process at all.

“Your amendment for this Police thing is very confusing. Attorney Bolton wrote it up that the Board of
Aldermen must hold an initial vote to determine if the amendment is necessary. And then it says, if it is

                                                                                                        193

                                                                                          NPD-LO-3891
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 194 of 424



determined necessary the Board of Aldermen must order a notice be given for the public hearing. Well
we started off this discussion with the Chairwoman saying that June 17, 2021 would be the hearing at
Nashua North. It is as if you already determined it was necessary. And I am not certain if this vote
tonight is why you determined it was necessary, but I found it totally lacking in understanding why you
are doing this, why it came about and why need it. And I don’t know when it goes to Committee, I can’t
tell if the Committee Meeting, Personnel Affairs is going to happen before the hearing or after the
hearing and will it come back from Committee to the Board such that the Board will discuss it? I don’t
like the idea of a public hearing without being able to hear why you think it is necessary across the
board. And if Alderman Lu hadn’t opened the discussion up the way she had, by asking about the survey,
I don’t think there would have been any discussion at all.

“I think for something so significant there should be a lot more talk going on and a lot more solid
reasoning behind why we think this will improve our Police Force. One other thing, your IT Office I think
is in disarray. You’ve got some big problems in there with Cyber Security, there’s hacking going on of
emails; emails are lost, appointments are lost, citizens are being arrested when they go to City Hall for
not having an appointment that they might in fact have because your email server is being hacked. You
had on the table to establish an IT Study Committee; it has been tabled in Committee for months and
months. You really should pull that Resolution 20-021 off the table, figure out what you need to do and
get somebody in there highly qualified to deal with your IT issues. Serious problem and you’ve got a
serious lack of clerical staffing in your Legal Office to provide assistance to those four attorneys and deal
with Right-to-Knows. Thank you.”



BUDGET REVIEW COMMITTEE MAY 17, 2021

https://www.youtube.com/watch?v=h_WuaYP_mW4

20:17

Laurie Ortolano “41 Berkeley Street.”

Chairman Dowd “Yes, go ahead.”

Ms. Ortolano “Hi. Just quickly, I noticed you are going to talk about the pilot program for the Bronstein
Redevelopment. I am just wondering, when you talk about the pilot program there seems to be a lot
more going on with pilots and if there is any information you can share about the City’s expanded use of
them and what you are trying to accomplish or the benefits you see for the City in using the pilots, it
would be helpful. I think there are some good things there and I don’t think that everyone understands
what pilots are about. Thank you.”



Board of Assessors May 20, 2021

https://www.youtube.com/watch?v=5Wdc4LD0DSE

18:33

Ms. Ortolano “Laurie Ortolano, 41 Berkeley St.”

                                                                                                         194

                                                                                           NPD-LO-3892
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 195 of 424



Mr. Hansberry “Go right ahead.”

Laurie Ortolano “Laurie Ortolano, 41 Berkeley St. Just a couple of things. You know, your settlement
agreement is interesting to me because when you sign it, you don’t date it as board members. So, it’s
hard for me to track what meeting it was done in. Like, the property owner might sign it in March or
February, you guys sign it in March- -I see a lot of them signed March 15th, but your board meeting was
until the 18th, and I don’t know that you have to sign them together. I don’t know if there, I am not
certain I just don’t understand how there done, and whether you sign them in a meeting or you don’t.
But, you know when you have a legal document, it kind of surprises me that there is no date associated
with your signatures. Like the property owner signs and dates the form, it would just be more clear.
Also, is there any way to tell which ones of these settlements are settlements generated by the courts
versus settlements that were done by the city? I’d like to know which settlements are BTLA or court
driven, and what are city driven? And I can tell with a lot of the current ones because there’s are a lot of
2020 settlements in there that those are obviously being driven by the city, because 2020 wouldn’t even
be filed, they are basically abatements right now, and you’re settling on 2020, which is interesting to
me, you’re settling lawsuits on 2020 that are still abatements, and so I don’t fully understand that, but I
guess that’s the way it’s done. But my assumption was when I see 2020 settlements that are signed, that
the city is doing those and not the BTLA. Now, I’m going to call the BTLA and see if I can get their help in
finding out which ones of these are actually done by them or the courts, but I would be interested in
understanding that. Also the next time Vision comes to address the board, I would like to get some
information on the commercial properties, what they see for vacancies, what they’ve see in valuations,
it’s something I brought up at other meetings, and it will affect the shift in the burden between the
residential property owners and commercial property owners. I’d also like to hear them speak about the
older properties and what they’re seeing with the assessments levels based on this depreciation factor
and the use of affective year build. I can tell you over in my neighborhood it is very significant, and when
you go to the west side of Concord St. there are so many low assessed properties. I pointed those out in
2018, where KRT left properties that it sold as part of a study at you know, 78 or 80 percent. When your
ratio has dropped 20 percent already, these are homes that if they are corrected are going to see a 50
percent increase. These people don’t even realize what’s happening. I can tell you I get instant messages
from some of the people that say to me can you check my property, do you think I’m over assessed?
And they happen to be one of those that was, you know left at 78 percent in 2018. And I say you got one
of the best kept secrets. You got a great deal going there, don’t be surprised in 2022 if you feel a sharp
sting. People don’t even realize it. And it would be--I would really like to hear how Vision is doing and
what they are seeing when it comes to looking at that factor and getting the decoupling done. You know
they come in and give us very generic review. That’s fine, but you know, let’s put a little meat on the
bone and get at what we are trying to get at here and understand where we stand. Thank you.”



BUDGET REVIEW COMMITTEE MAY 20, 2021

https://www.youtube.com/watch?v=OxIZilOS7AU

5:25

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street”


                                                                                                        195

                                                                                          NPD-LO-3893
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 196 of 424



Chairman Dowd “Yes, go ahead.”

Ms. Ortolano “I know we are going to review the Legal Budget and I am just putting it on the table that I
don’t support the position for the Right-to-Know Coordinator in that budget. I don’t think we got the
service as residents expected to get out of that position. They are not serving as the conduit that I
thought they would to assist the public in gathering and obtaining information, particularly given this
pandemic. And I know Alderman Dowd spoke about the other duties they do, but this individual was
really hired to perform that Right-to-Know function and I think it’s been a pretty miserable failure for
the City and for the public, worse for the public. And I don’t support spending the money on that
position; I don’t think it should have been something that was put into the Legal Department. Thank
you.”



Board of Aldermen Tuesday, May 25, 2021

https://www.youtube.com/watch?v=QzRg3GJiISU

39:56

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street, I would like to support lifting the mandate, I have
one quick question as I scroll through the end of the Board packet. The Ordinance is attached to this and
it has written in there that it is in effect until 11:59 at night on June 8th. And I don’t know if it was
written that way or that’s what you are hoping to enforce. I just didn’t understand if that was pre-
language that had already been put in. But I would like to see it lifted and I would like to see it lifted
unconditionally. Those who are uncomfortable about removing their mask will certainly wear one and
have the option to wear one. But I don’t think anyplace else should require it. I know if there’s a
restaurant in Nashua that wants to keep it active, I wouldn’t go to it. Today I had lunch with an
individual up in Manchester, I picked Manchester because they lifted the mandate and it was really nice
to walk into a restaurant and not have to worry about it. And I only saw one individual that was wearing
a mask in there in a pretty active place with indoor and outdoor seating. So I would like to see it lifted
unconditionally and those who certainly feel that they need the protection or feel more comfortable
wearing a mask can certainly do so. Thank you.”

3:06:42

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I listened to the discussion about the mask
ordinance started off ok the third motion was really disappointing. You know, it is like I am listening to
people discuss everything you need to do micro manage and milk a mouse here. You are supposed to
simplify this process and make it easy for people to come to City Hall and do their business. You are
going to draft up a whole bunch of rules and regulations that people are going to have to follow again
when they come in, even knowing what the hours are that are going to be for certain people. Whether
they mask or don’t mask and it puts people in this quandary of violating rules that they are not even
familiar with exist anymore and they’ve got to be conscientious of it and it just sets up a lot of issues and
problems. I don’t think it was necessary. I think it is a control issue. I don’t think you need to have that
level of control. I don’t think you have to put that on the Mayor or anyone else. You know, open the
building. If you open the building and you see issues arise, or there is some outbreak, then you can
readdress it, but that’s the whole purpose of trusting what has gone on with the health program, where

                                                                                                         196

                                                                                           NPD-LO-3894
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 197 of 424



we have taken this and moving forward. I think those City Hall and these Government Buildings are paid
for by the people are really owned by the people and I understand compromised people, let them wear
their masks, hopefully they have vaccinated, they have done what they need to do. If they need to have
a mask on they do it. There’s a lot of email and mail options to get information into City Hall and I don’t
think you need special hours and a special routine for a certain group. I think you just make it as easy as
possible to open up your spaces and let people come use them.”



BUDGET REVIEW COMMITTEE MAY 26, 2021

https://www.youtube.com/watch?v=fnbSbK_OHMA

4:25

Laurie Ortolano “Yes, Laurie Ortolano, 41 Berkeley Street. I want to speak to the Information Technology
Budget. I have some really serious concerns that we do not have a Director in IT. I feel that there are a
lot of issues going on in the IT Department. I got ahold of policies and procedures in the last few weeks, I
find them woefully inadequate, particularly when it comes to backups and maintenance of the system.
There’s not real discussion, no real schedule for redundancies and process as to how it is done. I found
the procedures very superficial.

“I think you should have an IT Director that is probably one of your highest paid positions in the City. You
need a kick butt person in that seat. And you are having serious issues with emails that I was not aware
of through Right-to-Know, I received information regarding corrupted emails that happened in February
through the Assess Help Address. I know in January I sent in an Assess Help Email regarding two
abatements and a Right-to-Know request is not recorded as being received in the Assess Help Account.
And I don’t know what that means. But I got an explanation from Legal on these corrupted emails and
they said it has been a consistent problem that has gone on with Microsoft, prolonged. Well, you know
what? That’s unacceptable to me. And they also did not say whether those emails were recoverable. The
Legal Office provided an unclear, unreasonably described an incomplete response using a lot of “ifs”.

“I have written back for clarity on that. I don’t know how you can run a City this size, be moving all your
records in Assessing into digital form and not have a Director in IT who is extraordinarily talented,
because there are real issues over here. And I think that we need to have those addressed and we need
to understand what is going on in our IT Department. Also, maintenance of records, deletion of emails,
33A – what happens with records when you have a lawsuit? The Police did a major investigation just
over a year ago. They said to me nothing will be deleted.”

Chairman Dowd “One minute remaining.”

Ms. Ortolano “I think you are going to find that a lot of stuff has been deleted. And I had a Right-to-
Know lawsuit filed in February of 2020. We are not maintaining records the way we should and I am very
concerned.”

1:08:18

Laurie Ortolano “Sure, then I think Laura wants to be heard. Laurie Ortolano, 41 Berkeley Street. Just
to let you know the Agenda that the public has access to does not list Public Comment. It didn’t last

                                                                                                        197

                                                                                          NPD-LO-3895
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 198 of 424



week and it confused me and it is not on there now and that’s why I think Ms. Colquhoun is a little bit
confused. She was trying to figure out if we had one.

“A couple quick things, I do think the email issue and the IT is real and I’ve heard it from other Aldermen
and I’d like to say that I have written in to the administration regarding an email I sent on January 17th
with two abatement applications that simply never showed up. And I haven’t been able to get the City
to acknowledge what happened to that email and I would like to send it in to have Nick try to figure
out where did it go? Also the Legal Office sent an email to myself and my Attorney Lehman on March
17th of 2020 that we never received; neither one of us had it. And last Friday on May 21st I received
an email, I wrote to the City to let them that they hadn’t responded to a request that I was supposed to
receive information on May 14th. I received an email from the City on the 21st and it was backdated to
May 14th. I don’t know if that’s because they think they sent it, but once again I did not receive that
email. And that is a big issue to me and I have a list of other citizens who have said that their emails
were not responded to when it came to applications.

“I would like to understand what is going on there because it’s, you know, ultimately it gave me a
problem that ended with me getting arrested because I was trying to get those abatement applications
stamped. The exposure report I have some concerns about. I have been getting copies of the exposure
report, but it doesn’t actually show the true exposure and I am wondering if the City does create a
copy that shows the true exposure. It is a report that is showing the 2020 values but I have an
abatement listed on there and it shows a value for a single year, but if it were to be awarded it would
be paid out for ’18, ’19 and ’20 and that exposure is not in the table and I’d like to find out where that
is.

“The overlay account, my understanding is the General Revenue is paying for these abatements based
on the checks we are getting. When it comes to Assessing, I want to put a bug in your ear that I think
this Budget Committee should consider outsourcing commercial properties…”

Chairman Dowd “30 seconds.”

Ms. Ortolano “Yeah … and get rid of the two commercial assessors we have. One of them is close to
retiring, I think the other one is grossly unqualified and should have never been promoted to a
supervisor level and get that as an outsourced function and I think you would save some money in this
Budget and you would have a much better result with commercial properties. Thank you.”



Board of Aldermen Tuesday, June 1, 2021

https://www.youtube.com/watch?v=3jxTclV796A

26:32

Laurie Ortolano “41 Berkeley Street. I am a dog lover too but I think the timing on this isn’t right given
the Budget increase and what we have going on in the City. I think we’ve asked taxpayers to incur a lot
of increases in the last 2 years. And I think that this money as Ms. Colquhoun has said, could be used
more wisely for reducing bonds or reducing costs for the City. It was a very expensive purchase for the


                                                                                                        198

                                                                                          NPD-LO-3896
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 199 of 424



land. I am a little disappointed we were unable to find land we already owned to do this project versus
having to purchase a piece. But I just feel like the timing isn’t right and we have this budget increase
that’s probably going to push 4% this year and I think that we should have seen a Budget that was down,
under, given where we have been with City Hall and our operations and our services to citizens. So I am
not in favor of it at this time, but I am a great lover of dogs. Thank you.”



BUDGET REVIEW COMMITTEE JUNE 1, 2021

https://www.youtube.com/watch?v=3jxTclV796A

2:14:14

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’ll be brief. Thank you for the more detailed
explanation on the land being purchased to the entry to Mine Falls. It is a different perspective when
you hear it explained rather than focusing on the dog park so that was good for me to listen to. Also, I
want to ask you when you look at the Assessing Budget again to consider that next year we are doing
the revaluation with Vision. And I think you are going to see additional money needing to be spent for
abatements like when we contracted with KRT. I would actually expect quite a few more than what we
gave to KRT; we gave 50 subcontracted out and we paid them additional money and I think you are
going to find that you are going to see more than that this round and you could also have a problem
with permits being captured again because the assessors are going to be working heavily on those
abatements. You might need additional contracted support for permit work.

“Also I would like you to consider adding another computer down in the Assessing Office. And I want to
let you know the redesign of that office for public service was done really poorly. In the old office you
had about 45 square feet of countertop space for people to come in and spread out and use their
documents and work. The new design you put up this what almost looks like bullet proof, thick,
shielded glass or plexiglass and it such overkill. It confines the area, I actually think it is a health trap.
But you now have roughly probably 8 square feet of countertop space for the public to work on. You
can’t even open a binder with documents. There’s only two service counter areas with two computers,
there’s no open computer on a desk for anyone to come in and do research. I think you’ve made a total
mess of customer service. And anyone who knows what goes on in a revaluation and the traffic in that
area knows that this grossly inadequate. There should be another countertop placed outside with a
computer on it behind the entry area some way to allow people to work. And I would encourage you
as you redesign your Clerk’s Office, I am hoping you do not do what you did in Assessing in creating
these cubbies. Leave the space open and leave countertop space accessible.”

Chairman Dowd “30 seconds.”

Ms. Ortolano “Thank you.”



Board of Assessors June 3, 2021

https://www.youtube.com/watch?v=mSuitf6S5FM

46:40

                                                                                                          199

                                                                                            NPD-LO-3897
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 200 of 424



Ms. Ortolano “Yes, Laurie Ortolano.”

Mr. Hansberry “And could you state your address for the record please?”

Ms. Ortolano “Laurie Ortolano, 41 Berkely St. Thank you, Mr. Earley, for catching that. And I hope if I
interrupted and I was going to, to remind you that I wouldn’t have been cut off. A couple of things, and
let me start my timer on my phone so I am mindful of my time. Couple of things, the last meeting I
talked about the sale, commercial sales data, that’s going to be used to build the model and I was
unhappy with Dan’s response to that. And Mr. Tarello I was going to write a letter to Vision and cc the
Board of Assessor’s on it. You know, I agree that Mr. Tarello believes that Nashua is going to recover
well from this pandemic, particularly given the location of Nashua. However, this sales data is based on
the 2020 and 2021 commercial property sales. And that is in the heart of the pandemic. And we have an
overlay account this year that’s showing six million dollars in the overlay, largely because of abatements
which is 3 times what we would typically carry, which I believe is a result of the pandemic situation. So,
is Vision not going to use this sales data from 2020 to build the model for the revaluation? Or are they
weighing it differently? Because I believe that will affect the assessment levels and the distribution of
equity and proportionment between commercial properties and resident properties. Secondly, I want to
thank the Assessors for granting the abatements that they did today, I very much appreciate their work.
Third, I want the Board to know, third, Board, Mr. Hansberry mentioned and wanted to know how these
abatements were filed and came about and Mr. Mandile said it was one person and he wanted to know
if evidence submitted—you know what, to the entire Board, if you complied with the state law to review
abatement applications like I believe it’s your duty, you would know that answer, and I think it’s
important you know that answer on your own, and not leave it to the Assessors to do that. Three, the
abatement, I have an abatement for 2020 for 41 Berkely St., I want to make you aware of that. Because I
think the process that Nashua uses to let abatements expire without reviewing them is based on bad
faith, ill will, and a dereliction of duty. I have written to our Senators to request a legislative change in
the bill, and I’m hoping that will happen. And also, I am, I have written to all the Chiefs in the state on an
email to get assistance on how to change this language. I think Nashua is doing a very poor job with
these abatements. And when they have a war, personal vendetta, with a property owner, they are
pushing every button in every limit to not perform their duties under what you know the responsibilities
of what the ASB, the DRA and the state intended. Also, finally, the opening of City Hall on June 7th, I
received a press release that showed that the only department maintaining closure was assessing, which
shocked me actually. I got it yesterday. I had a conversation with Ms. Kleiner who informed me that
there was an error in the press release. I asked if it was going to be corrected and I did not receive a
response yet. But it’s almost startling to me because it’s her responsibility and Mr. Vincent’s to
somebody had to give the information to the Mayor’s office on the opening of the assessing office.
We’ve had criminal issues, I’ve been arrested. I do not want that to happen again. It’s really important
that there be clarity on how the office is being opened and how the operation will run. And it’s just
startling that a press release could go out that shows that the only office in City Hall not open to pre-
pandemic position was Assessing. I’m glad to hear that it’s a mistake, but I think we should put
something out in writing to fix that, thank you.”



Board of Aldermen Monday, June 7, 2021

https://www.youtube.com/watch?v=13xVb9WLTOY

                                                                                                          200

                                                                                            NPD-LO-3898
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 201 of 424



57:54

Laurie Ortolano “Hi, Good Evening. Laurie Ortolano, 41 Berkeley Street. I want to address a couple of
issues here. We have heard about the political influence on this change and I think the woman who just
spoke nailed it. There’s political influence either way. There is politics involved, you can’t completely
remove that. But I think you do take it a step further back when you leave this appointment at the State
level. You know, at the State level the appointment of the 3, nobody has touched upon that they have to
come from two different parties and right now we have 1 Republican and 2 Independents on our Police
Commission. I haven’t heard anyone here speak about how these appointments would be made by the
Mayor and the Board, but my observation with this Administration is that we tend to promote and put
all Democrats on Committees. And I would like to see, you know, the Committee be representative of
the diversity of the voter population in Nashua. And right now your voter population, the heaviest party
is your party of Independents.

“So I am concerned that we wouldn’t see that. I don’t support solving problems that don’t really exist.
And I can tell you that nobody probably right now understands what retaliation is about and like than
myself and what I encountered and what I have come up against in trying to address issues in the
Nashua Assessing Office. It far exceeded anything I ever thought would happen to me. My property was
raised $150,000.00 above what KRT had placed it at, the Mayor was furious with me and came after me
with everything he had. Attorney Bolton told me I had offended him, the Mayor, I offended Attorney
Bolton, I offended Alderwoman Wilshire and offense caused a personal vendetta to be established. I
would not want the local administration, local leadership to be appointing Commissioners on the Police
force for the Police Department because I think it would result it in even greater conflicts and problems
for somebody like me who opened the door and found a situation, walked into a real hornet’s nest and
got caught in a way that I have not yet been able to resolve.

“So you know, I will have the opportunity to speak to this again but I am concerned ….”

Alderman O’Brien “30 seconds.”

Ms. Ortolano “…that we will find that it will be seats filled with Democrats. The Board of Assessors is
three older men, I believe all Democrats; two are cousins. You know, you want to talk about some
conflict, you have some conflict there and you know, that’s the way it is. And I know somebody like me
who is an Independent, there is no place in the City for a seat for a person like me. Thank you.”

1:15:08

Ms. Ortolano “41 Berkeley Street. Yes I would like to know if this Resolution should it or this Charter
Change go through. Is the Board going to set it such that the five seats would be made up of different
parties; that it would be Democrats, Republicans and Independents. I haven’t seen the language where
that has been drawn out but I think that would be very important. I am not in favor of doing that at all, I
do think that the Boards that I see appointed right now by the Mayor and Aldermen tend to be single
party focused and near and dear to the Board of Assessors. I go to the meetings all the time, it’s 3
assessors, 3 Democrats. One of them doesn’t even live in Nashua or own property in Nashua and two
are related to each other so that concerns me. So I don’t think that this will be an improvement to what
we have going on and I think there are improvements to make in the Police Department, but I don’t



                                                                                                        201

                                                                                          NPD-LO-3899
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 202 of 424



think going to a 5 member Board that’s really appointed by the Mayor and the elected people is really
putting the power in the people’s hands. If you want to do that, let us vote. Thanks.”



Board of Aldermen was held Tuesday, June 8, 2021

https://www.youtube.com/watch?v=uRQY18THfzw

1:00:27

Laurie Ortolano “OK let me just set my timer so I know. Laurie Ortolano 41 Berkeley Street. I am
speaking in opposition to R-21-145. I know it is bonded money but I think we could do something else
with it. Nashua is going to see about a 7% budget increase between 2021 and 2022 and in 2022 property
owners are going to see their assessments reset to market value. I don’t think property owners have any
idea what they are facing. Vision is collecting recent sales data to develop and model and they are
gathering measure and list data to create a more accurate result. The measure and list we know
depends on people opening their doors for an interior inspection. This is unlikely because the law
doesn’t require owners to do so.

“Updated homes with long-term owners and unpermitted work are not picked up. Sold homes that are
updated are easy catches with MLS listings and photographs readily available, equalizing sold versus
unsold homes is almost impossible without interior inspections. This creates real challenges when
determining an equitable tax distribution. Additionally, Vision is planning on changing how the
depreciation is set on properties. The past approach to setting depreciation created some serious
assessment disproportion in older neighborhoods. Vision has not been forthright on how this correction
is going to take place. Another challenge in creating accurate assessments is determining the tax
distribution between commercial and residential properties. There have been times when residential
owners cried foul when the tax burden shifted sharply, placing heavier duty on residential properties.

“In 2018 KRT applied an income approach to value commercial properties and balanced the tax burden
between commercial and residential. For 2022, Vision is collecting 2 years of commercial data and 1 year
of residential data. The pandemic negatively impacted many businesses. How will this impact the model
and tax burden distribution between business and residential properties? In 2018, the commercial
property vacancy rate was only 4% what about 2021? City leadership has not been willing to openly
discuss or disclose Vision’s observations with Nashua’s businesses. Given the number of businesses that
closed or saw lost income, it would be no surprise to see residential property owners bear a heavier
burden as commercial assessments dropped. It is well known that many residential property owners’
assessments will be increasing and they saw their personal incomes decline during the pandemic.”

Donna Graham, Legislative Manager “30 seconds.”

Ms. Ortolano “Their property will increase because it is based on (audio cuts out) sales and a short
supply, high demand market, prices are soaring. Before the Mayor and Board of Aldermen vote on this
park and budget increase, we should make certain we all understand what is going to happen when
Vision presses the recalculate button. Let’s have a candid discussion now about what the City expects it
will be taking from the pockets of our citizens in 2022. Thank you.”

1:42:25

                                                                                                     202

                                                                                        NPD-LO-3900
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 203 of 424



Laurie Ortolano “41 Berkeley Street. I want to use this time to speak briefly about the Police Commission
again and keeping the Commission the way it is, appointed through the State. As most of you know, over
the last couple of years I’ve put in quite a few Right-to-Know requests. They have been the center of a
good bit of controversy. I want to let you know that I’ve put requests at State Agencies, top government
bureaus and other municipalities. And what I find is for all of those requests I put in, I received what I
thought was a professional response. If my request wasn’t clear, the agency or municipality would call,
they would explain what information is available, allow me to express what I am interested in and
provide the information.

“The Nashua Police Department has also operated that way and although I might not be in full
agreement on how they have handled some situations involving me, when it has come to my Right-to-
Know requests, they have practiced the utmost courtesy. They pick up the phone, they call and ask for
clarification, they explain what they have for data. And when I have asked questions in writing, the
Records Department comes back with pretty long, lengthy explanations of what I am looking for.

“City Hall, on the other hand, is the most oppressive, vindictive, and personal government I have ever
worked with. They don’t respond to Right-to-Knows in the way that any State agency or other
municipality does. They will not pick up the phone, they will not explain what records are available. They
will not work with you to let you know what is available. You are playing a guessing game in Nashua at
City Hall and that’s by design, through a Mayor and a Legal Office. It is obnoxious, it’s crushing to
citizens, it closes the door to transparency, it is oppressive. I am glad that the Police Department is
operating like top governmental agencies in the State. And I don’t want to see the appointments of
these Commissioners come from a Mayor and a Board President because I don’t want them taking on
the oppressive form of government that City Hall is practicing right now in their citizens. I want that
Police Department to continue with its professional response to citizen request. And the other issues
that may exist that I may differ on can be worked on and improvements can come and will come with
time. Thank you.”



FINANCE COMMITTEE JUNE 16, 2021

https://www.youtube.com/watch?v=HMomc3d1LPU

32:47

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. First of all I want to give you a heads up. You know
Attorney Bolton did some nice soft shoe bull crap for you. The order did come down from the BTLA and
when he said it’s usually somewhere in between, he backed an appraiser who went up to the BTLA and
set the market value for 2019 at $800,000. They wanted the assessment on my house at $710,000 when
equalized. The Board of Tax and Land Appeals set it at 577. The city would have upped my tax bill a
couple grand. The Board of Tax and Land Appeal basically dropped my tax bill a couple grand. So it was a
very big difference. Not so much an in between and I’ll tell you, it was a total waste of money and time
with a vindictive legal office and Mayor that had to pick a fight. You probably spent $100,000 on that.

“As far as your overlay budget, it’s secretive, sneaky and not transparent. Fix it and make it transparent
because right now all of these settlements are handled in nonpublic session and not put out for the
public to hear, or see, or get a copy of. We don’t even know when to ask for them. I’m going to start

                                                                                                       203

                                                                                          NPD-LO-3901
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 204 of 424



submitting a revolving every two week Right-to-Know to get those settlements and anyone who wants
to complain that the 24 Right-to-Knows I file a year can stick it where the sun don’t shine because this is
the way you want it. Create some transparency for us.

“The other thing is that sheet is not updated and every one of you should be asking why are we doing
2018 appraisals in 2021. You are now hiring an appraisal guy who has to go back and try to create a
market value from three years ago. Why doesn’t that sheet show 2020 appraisals that need to be done
for all these abatements that have been filed in 2020? I think Attorney Bolton is not laying out truthfully
to you. I think there’s going to be a lot more money to spend. I think you should know that right now.
You know this is not really right and that list is not updated. Some of those have already settled. Give us
updated material because it’s the only way the public can follow. Thank you.

“Excuse me was I heard or was I off the air. I can’t even tell?”

Chairman Harriott-Gathright “You were heard very clearly.”

Laurie Ortolano “Thank you, okay.”



Board of Assessors June 17, 2021

https://www.youtube.com/watch?v=BwUFgt4gjRk

13:45

Mr. Hansburry “Director Kleiner is there anyone who wants to address the Board remotely?”

Ms. Ortolano “Laurie Ortolano”

Mr. Hansberry “And if you could state your address please?”

Ms. Ortolano “Laurie Ortolano 41 Berkley St.”

Mr. Hansberry “Go right ahead.”

Ms. Ortolano “A couple of things. I’m still concerned about Vision’s work and how they’re handling the
sales data for 2020, the vacancy rate, with commercial properties and what they’re seeing and I think
we owe the public a discussion about that and what’s happening with these assessments. Secondly,
you’ve seemed to infer, Dan, that somebody went around encouraging people to file abatements. That
was me, and it wasn’t encouraging people to file abatements, it was trying to correct what I viewed as
disproportionate assessments. Largely driven off the sales data, I stayed focused on that. And I think
what this city should start doing is appreciating that we need to get these assessments in line so
everyone pays their fair share. And I happen to believe the abatement process is just how to do that. I
wished a thousand people had filed and my encouragement would be for this year, to try to get a
thousand of these things in, because I definitely see that many properties that need to be corrected.
Before Vision hits the recalculate button. So, you know, that’s my community service and that’s my
effort.

“I want to absolutely lambaste the assessors for the work that’s been done on these abatements. I
cannot believe that ten abatements are presented to you in the middle of June. It just shows me that

                                                                                                        204

                                                                                          NPD-LO-3902
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 205 of 424



there is no serious effort by these assessors to address these abatements. There is a residential
property, a 1402, that filed early December with my help that has been waiting for a call. This was
always done first come first serve. This had to be one of the first three abatements filed and they have
not received a response. Nothing. That should have been presented as one of the first ones and it’s not
here today. I don’t understand that. Now, there’s probably, I don’t know, 60 residential abatements to
handle before the end of June, before they go into the deemed denied pile, and maybe the city will act.
There is no excuse why these will be all completed by the end of June. And what it shows me is that
Chief Vincent does not give a priority to these. These assessors aren’t doing sales reviews anymore, it’s
been assigned to Vision. These assessors are not having to do permit data, it’s been assigned to Vision. I
missed the very beginning of the meeting because the link to get on did not work on the website. So I
dilly dallied trying to get connected instead of using the phone. I don’t know if Chief Vincent explained
why only ten are being presented and why it’s been so slow at bringing these forward. But it just shows
me that this assessing office does not look at equity as a priority matter when property owners file. And
Greg Turgiss as far as his work to carry some of these residential abatements, have we seen any? I don’t
think I’ve seen one? I mean, you know, that office needs to be closed down. It just, for the million bucks
you put into it, it just doesn’t perform. And it is ridiculous. You know, it is absolutely ridiculous what we
dump in there and what we get for services. Particularly to the public. Your customer service area is all
but gone. You know, it’s just, I can’t believe it, I can’t believe that 35 abatements have been presented
by June 17th. And there’s roughly 100 residential, probably 35 or so commercial, big ones, but there’s a
fair number. And you got through them when KRT came through. The city did 135, the residential
assessor’s did 135 of the residential abatements and farmed out 50 to KRT. So I don’t really see why you
can’t get through a hundred before the deemed denied date. That’s obnoxious. Really, really
disappointing. Thank you.”



BUDGET REVIEW COMMITTEE JUNE 17, 2021

https://www.youtube.com/watch?v=M-s7OOtzTLw

1:31:29

Ms. Ortolano “OK just a couple of things. When Chief Carignan spoke about the drug issue, the influx of
drugs and the issues associated with them and the level of violence you see with these stimulant drugs,
he did say that he wanted the Aldermen to keep in mind how we get ahead of this and how we deal
with it. And I am wondering how we do that and what’s in the budget to do that and what do they
anticipate is actually coming to deal with that because I didn’t really hear the details of how that is
addressed. I do wish there was a Zoom capability for the Budget Hearing. I know you do it over at the
School but it will really be interesting to see what the attendance is and the need to be in a place that
large to address the Hearing.

“Also, I’ve heard a lot of complements tonight about the Police Department and they ranking it has
nationally and at a State level and I want us to bear in mind that the way we select those Commissioners
going through the Governor’s Office is the way it should be maintained. I am very concerned that the
closer you allow these appointments to take place, politics being what it is and it is political at every
level but the more local you do it through an appointment process with the Mayor and the Aldermanic
President, the more apt you are to have an influence there that I think would distort the objectivity of

                                                                                                         205

                                                                                           NPD-LO-3903
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 206 of 424



the Department. And I think if you really want to have that type of structure with your Commissioners
and people really believe that the Mayor nominated positions that would come to the Board is best on I
think the next best thing, that is not a choice that I think is good; go to elected positions where the
public is voting period. That’s how they have real choice. So I am really a strong supporter of keeping the
Commissioner seats and the appointments of those seats as they stand right now. Thank you.”



Board of Aldermen Monday, June 21, 2021

https://www.youtube.com/watch?v=EPIfkcYPsn0

40:16

Laurie Ortolano “41 Berkeley Street. I am here and when I come to the microphone I am going to be
addressing positions. I understand your budget increase is small but I really think you have positions in
this budget that need to be removed. And in the Legal Department this Right-to-Know Coordinator has
got to go. It is a $75,000.00 position that did not produce the results we had wanted. I really feel that
there shouldn’t of been a dedicated position for Right-to-Know and I don’t think it is a viable position for
you to fund. You are not going to get an attorney in there who is going to come in as a Right-to-Know
Coordinator and stay. The Attorney you hired punched out after 6 months and it’s going to be a roll out
ground for anyone. It really is a mascaraed position if you just want to add an attorney. In the time that
the attorney was here, we had 3 lawsuits on Right-to-Know largely because of his work. And I can tell
you there are several more that are going to roll in. So I am not a fan of this Right-to-Know Coordinator
Legal Position. I think what you want to fund is a taxpayer’s attorney that is there to serve us. So that
when our City wants to go after us with these frivolous lawsuits, we have some means of being funded
so people who can’t afford lawyers to come in on a Right-to-Know request issue which is standard Right-
to-Know, basic Right-to-Know costs a citizen $5,000.00 to take into Court. That’s not cheap. So instead
of using the system to abuse your citizens, let’s roll it the other way. And I think this Right-to-Know
Coordinator should be taken out of the budget, there’s $100,00.00 savings there, very misguided
position. Thank you.”

57:50

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just want to address the Economic Development
position in budget You know, I have a lot of concerns about this position. It seems to me City Hall is run
by three individuals; Economic Development, Community Development, and Administrator / Director of
Administrative Services. That’s our trifecta, that’s our brain trust and honestly I think it’s missing a good
bit of the brain side. It is a disappointment to me across the board and it’s because these are appointed
positions largely by the Mayor. And I am underwhelmed by these appointments because we seem to
pick people who don’t have qualifications and we promote them into positions that they are really
overdone on. And the one thing I would say with the Economic Development position is my interface
with this individual is they are very non-responsive to public issues. And as Ms. Colquhoun said, they
produce reports that are just made up information that go out to Standard & Poors typed in, 7 years old
telling us we don’t do numbers to get vacancy rates. I have been after vacancy rates for well over a year
because it is a legitimate concern for what is going to happen to the tax rate when we run the new
assessment next year.


                                                                                                         206

                                                                                            NPD-LO-3904
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 207 of 424



“What happened in 2020 to these commercial properties is relevant because the model run by Vision is
being based on 2020 and 2021 sales on commercial properties – 2 years. And I am not certain that it is
weighted and if it isn’t then you have to look at what the distribution is going to be and the weight that
residential properties are going to carry if there’s a shift off of the commercial properties because of
what happened in the pandemic. And I haven’t been able to get anyone to answer that or speak to the
vacancy numbers. I have been told you would, I have been told there would be a discussion and there
was no discussion. And when I see the Economic Development Director producing reports that are
largely false and when you send a Right-to-Know to him you get snubbed, treated rudely, doesn’t e-mail
it, sends it through snail mail and mails it back to you so you’ve got a 10 day waiting period. He’s the
only individual I ever knew to do that. I am not overly supportive of that and I am really tired of seeing
positions promoted with people who are not qualified. I am underwhelmed by your picks Mr. Mayor.
And you can bet your bibby I am not stoked about your picking Commissioners.”

1:13:18

Chairman Dowd “We are still in General Government.”

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Does General Government include the City Clerk’s
Office?”

Chairman Dowd “Yes.”

Ms. Ortolano “OK. I guess I have a question then. I am wondering why were unable to hire a City Clerk
that had experience being a Clerk. This is a big issue for me and it’s not personal but I don’t understand a
City of 90,000 placing somebody in the Clerk’s position that had no experience. And we are paying to
certify this individual in their 60’s so for the next 4 years they can work on certification to become a
Clerk and then retire. It makes no sense at all and it is a huge deficit. I had problems at that office as
well. And it just seems to me we could have recruited somebody and gone out and actually hired and
not made this an appointment of yours, that is just picking from somebody within. It’s not fair to the
citizens when we don’t look for the most experienced people to come in here and do the jobs that need
to be done. Thank you.”

1:26:58

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Let’s start with the Administrative Services
position. I am all for removing that office. I’ve seen a lot of what it has done and it has run costs up very
high on this City. I had the pleasure of spending 7 hours with the Director on Friday gathering
information about how business is done in the City and I have to tell you I was disgusted and
underwhelmed. If you all recall this picture that ran in the newspaper a while ago when I was working
on Assessing issues, it is a picture of the Director and her staff with thousands of property record files
out on the photo with the Mayor saying that I was retaliating against the City by doing my research. And
that is was costing us $100,000.00. I then learned in a Budget Committee Meeting when Ms. Wilshire
showed a great deal of sympathy to the Director because we had to hire a $50,000.00 contract to get
permits addressed because this citizen was taking so much time of the Assessors.

“I learned on Friday that what happened here with the Director, Ms. Kleiner in these boxes, is she
ordered anything that I requested to see by placed in a special office and ordered the assessors to
research what I was looking at without ever knowing what I was looking at. In other words go figure out

                                                                                                         207

                                                                                           NPD-LO-3905
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 208 of 424



what she thinks she’s looking at and report back to me. And that was very difficult for them because
they had no idea what I was looking for, the tune of probably spending well over half a million dollars.
That’s absurd that kind of tracking of a citizen. It’s absolutely absurd. And that is what we call retaliation
from a citizen? I call it retaliation of my government. She was completely unqualified for this position,
another special assistant to the Mayor that got promoted to Department Head of 6 Departments,
including becoming an acting chief essentially. This Department should be eliminated and we should go
back to the individual departments we have. This is wrong. And I will be addressing Assessing, GIS and a
couple of others. Thank you.”

1:41:39

Laurie Ortolano “Laurie Ortolano 41 Berkeley Street. Onward to the Assessing Budget. Mr. Mayor, I think
you really misrepresented the improvements that have gone in Assessing. It has been an enormously
painful process. And you don’t understand what citizens are trying to get at with information when you
look at the improvements that were made by the Director. Property record cards that were ordinarily
available to the public in November did not become available until the end of January. I had to send
emails into a chief to request probably over 200 property record cards for him to email them to me
because I had no access to help with abatements. It was absurd and frustrating. And any email to the
Director to say when are these property record cards coming on line, we are 3 months late, there was
no answer. Nobody could figure it out. The software update which was supposed to take a few months
took 16 months and we had a lot of trouble with the software. There were a lot of errors and things that
didn’t work well. We instituted a new policy in there where records aren’t open despite our Charter
saying that we can come to City Hall and inspect records that are readily available. The Director put a 5
day Right-to-Know standing on open records so you couldn’t go in and look at a property record file
anymore and I believe that remains. I think that’s actually illegal and that may be something I go to
Court on. It’s ridiculous, you took it away. So when you say there’s tremendous improvements down
there, I think it has been hair pulling. Have you looked at the new computer systems that are up down
there, the two at the cubicles? The software is so complex that I don’t think that any citizen is going to
ever figure out how to print a property record card. I’m going to have to spend 5 or 6 hours figuring out
the menus myself; it’s not simple, no instructions at the counter. Have you looked at how the office
space is set up for citizens? You took 45 square feet of countertop that the public could come in and use
and reduced it to about 6. Where does the public put their papers, their notebooks, their drawings, their
information they want to share with an assessor, you took it all away. You took away the research space
so people like me could never go back in. You didn’t leave a computer in an open area where a citizen
like me could research away from the cubicles, you reduced the computers from 3 to 2. I am not happy
with what you did in there and I don’t think you made it better or easier or simpler for property
owners.”

Chairman Dowd “30 seconds.”

Ms. Ortolano “I think it was a disaster and next I’ll come back on IT.”

1:51:19

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I want to address a reduction in the Assessing
Budget. I believe all of the commercial activities and business should be subcontracted out. We continue
to have some really big issues in our commercial side and you know that there is an assessor over there

                                                                                                          208

                                                                                            NPD-LO-3906
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 209 of 424



that under performs consistently. And I’ve grown really tired of it. We are in abatement season, we have
abatements, we are going to hit the deem deny date on June 30th and this assessor once again has not
delivered a single abatement to the table. I had two property owners email me this week that told me
he was on vacation. It is absurd. Why are commercial assessors not able to handle the mom and pop
businesses and get us through them in 4 months? We do not have the horsepower on the commercial
side to handle this aspect of our City business. And we are probably paying $300,000.00 or $400,000.00
grand into that. I really think you should look at subcontracting out the commercial side and getting
people who really know what they are doing with that part of the business.

“Secondly, that Assessing Office should have had a lot of furloughed workers during COVID. They could
not do inspections, they were not doing permits and they were not doing their work. And we kept them
on with full salaries despite that. That was not fair to the taxpayers. It’s not like Public Works that had to
go out there and do the job. Assessing did not and they did not do the job. And we paid full boat for
that. If I have time – IT. You really need to restore your IT Director. I am very concerned that you fired
the IT Director and you are leaving the position blank. The City is too large and has too much stuff going
on in the digital world to not have a director. You are doing all these digital upgrades. You know, you
have a big email problem. And I just filed a law suit yesterday pro se, over emails. I would way prefer not
to do that. I would love to have a discussion with the City about what’s going on with emails, but I can’t.
The only way you can do it is through a lawsuit. I asked for 2 months of emails, January and February, for
Assess help. I didn’t really get January’s. I asked in March, it took 25 days for you to recognize the Right-
to-Know and then you failed to deliver January’s records. What are you doing with the emails? Why are
they all missing?”

Chairman Dowd “30 seconds.”

Ms. Ortolano “Those are official documents for the furtherance of City business. And in there were my
emails with the abatement applications that I had done for senior citizens that I came to City Hall on the
22nd, on the 17th – the 22nd to get stamped and ended up 28 days later arrested. You didn’t get my
email on the 17th, you didn’t get my email on the 20th, they weren’t in there and apparently you didn’t
get my phone call. What is going on with our data.”

Chairman Dowd “Time has expired.”

Ms. Ortolano “Thank you.”

2:05:50

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. CFO Griffin, I think you have some terrific people
in your office, I am particularly appreciative of Rose Mary. When I went to her, she was always very
forthright in addressing my issues and getting me answers very quickly and it is very appreciated. And I
look forward to having that opportunity to work with her again as soon as some of you other people
lighten up and let us citizens have that access. Thank you.”

2:44:09

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I am going to be brief here but in looking at the
staffing in Public Works my concern is you really don’t have the Engineering staff that you should have. I
think you are missing on people who are more qualified to address the road issues and design issues and


                                                                                                          209

                                                                                            NPD-LO-3907
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 210 of 424



new projects. I look at the positions and it just looks like we are missing some positions. And I’ve
watched, you know, projects get done where to me the analysis and the engineering work on the roads
isn’t there to support the project that’s being done and I look over at the Henry Hangar Development. I
think we had and have more road issues over there that got swept away and not addressed because we
didn’t either listen to our engineer or we didn’t have the engineering support we needed. And I think it
is a real weakness in this Public Works Budget and I think it ends up costing us a good bit. I would
encourage you to strengthen your engineering personnel and improve those qualifications and the
analysis that you are getting when you take on these projects. Thank you.”



Board of Assessors, June 30, 2021

https://www.youtube.com/watch?v=eEsNW8PcApw

41:38, 1:02:18

Mr. Hansberry “Okay, Mrs. Ortolano?”

Ms. Ortolano “Yes, I just want to give you these packets because I’m going to reference a few
documents and I don’t want you to be in the dark. I appreciate the Board not pushing the matter to
appeal, and it being over with, so that’s nice to have that behind me. I am concerned about my ability to
get information on neighborhood assessments and abatements that have been done within the
neighborhood. One of the issues that I have is the property right next door to me at 39 Berkeley St. I feel
that this Board and this city denied me the opportunity, and the assessing office, to understand how
that abatement was produced, and what was done on that abatement. To justify the level of
assessment, and the impact that had on my property assessment. I don’t think it is right. I am going to
file a complaint with the state about this. I do feel that every citizen should be able to look at other
properties, especially in their neighborhood. And I wrote to Mr. Vincent on June 2nd and I said I wanted
to speak to Mr. Turgiss about the abatement work he did on 39 Berkeley St. I wrote to him in 2019 and
he would not respond. And nobody would respond down in assessing. So, per the DRA guidelines that
questions should be responded to, it doesn’t have to be by the person you wrote to, it could be
somebody in assessing. Nobody responded it fell on deaf ears. My request to speak to the Board was
denied. So I couldn’t come to the Board last year. I think you should always be able to come to the Board
on a property abatement issue before there is an appeal. And I did have an abatement, and I know the
city took the position, Attorney Leonard and Attorney Bolton, that it was an inexplicably late abatement
to an already existing appeal, but the BTLA did not rule on that, in favor of that. And kept them separate
issues. So, I want you to understand something, 39 Berkeley St. had an abatement done by Gary. I’m not
opposed to what was produced, but the sales data that he used on that abatement was Tanglewood. A
house in Tanglewood and also my sister home at 45 Berkeley St. The last 4 pages of the document are
some pictures off the listing sheet on that property. Now, 45 Berkeley St. was purchased in 2017. He
took the data point a couple of years out, which is a little unusual for them to use sales data a couple of
years old, but it was right on the street and he felt it was relevant. Here’s what’s unique about this
property, so these photographs, there were very limited photographs on the MLS listing on this
property, because the property was dated. And when you receive photographs and you see pictures like
this, you can see it has this mauve carpeting, this wallpaper, it was dated. There were no pictures of
bathrooms or kitchens. There was no write up on it, it was dated. When the property owners bought it,

                                                                                                       210

                                                                                         NPD-LO-3908
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 211 of 424



they didn’t move in for 6 months, put a dumpster out front and proceeded with a major overhaul. They
pulled a 15,000 dollar permit. Now Mike Mandile followed up on that property, he went repeatedly, so I
believe he had an idea given the dumpster out on the side of it, very visible, that the house was
undergoing a pretty significant renovation. However, the property owner would not let him in. So, and it
was a fully renovated house. In 2019 that house went on the Holiday House Tour, like mine did in eight,
like ’17, and the assessing staff came through. Because the property owner said to me, (inaudible),
looking at the house, and the property owner said, oh the assessing staff came through the house and
they said do you think they’ll change the assessment and I said no. I think you’ll get assessed the next
round, but I don’t think they’re going to make a change. Because you had filed the permit, the assessor
was by in 2017 and early ’18, before KRT set the numbers to see that this work was going on. And the
assessing office made no change to that property. They gave you a purchase price of $560,000 as being
a reasonable market value for the house, and the fact that it was fully renovated, the assessing saw no
reason to add value. In part I think they were right. Because diagonal to that property was a house at 38
Berkeley St. that sold to another young couple, these were two young couples that had moved on the
street. It was a thousand square feet bigger and it sold for $540,000. It had a much newer kitchen and
renovated bathrooms. And the two couples would talk, and the couple with the bigger house, always
said to the other couple you really don’t pay. I think in fact the assessor’s looked at it and said okay,
yeah it’s all renovated, but they didn’t want to change the EYB and make these conditional changes,
because I had obviously have been making some waves about that. And really it shouldn’t have been
done, it needed to be addressed in the update. But, the card was never changed such that KRT saw any
of that improvement. Now, in 2019 Gary uses that house at 45 Berkeley St. as a comp for 39 Berkeley St.
It surprised me because the size difference between the two homes is almost about 800-750 square
feet, there’s a big size difference. The assessing office usually would not make those comparable. There
were other larger homes on Concord St. in the neighborhood that could’ve been used as comps. The
other issue is, if the assessing office believed that this was an un-renovated home, it did acknowledge
that it was unrenovated, and there would’ve been no reason for them to compare that to 39 Berkeley
St. If you looked at the property card which I have given you on 39 Berkeley St., it is a house that has put
about 1.1 million into it. That’s a lot of money. A $400,000 dollar permit, the pool, the upgrade, and the
purchase price is about 1.1 million. It doesn’t take a rocket scientist to appreciate that, that’s probably a
well done home. It is. The property owners don’t deny that at all. But for the assessor to take 45
Berkeley St. make that a comp, to 39, tells me that the assessing office knew that 45 Berkeley St. was a
very renovated home as well. The problem I have, is the property card, if you looked at 45 Berkeley St.,
the property record card that I had given you, the EYB in the documentation on that card, shows it as a,
it’s right before the pictures on the back, it’s that one. It shows the EYB as 1964. It’s not a 1964 home.
How does Vision take a home like this and know that this home at 45 is very similar to renovation level
at the home at 41. How does Vision know that? Well we don’t mark the card when there is no note put
by the assessor that this is an upgraded house. Now I believe—well, I know that the assessing staff went
through this house. I believe it was communicated to the assessors the condition of the house. If it
wasn’t then all of you should’ve questioned why would you take this really dated old home and compare
it to 39 Berkeley St., it makes no sense. But I believe they knew. And so, you know, I wanted to have this
understanding to go into my BTLA hearing and I could not have that understanding because the city
would not allow me to have that knowledge. They would not allow me to have that conversation. I was
so irritated with the June 2nd email that I sent to Mr. Vincent where I discussed in the first paragraph
wanting to address this abatement at 39 Berkeley St. and the response I got was the generic. You know,


                                                                                                         211

                                                                                           NPD-LO-3909
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 212 of 424



response, “these are the documents developed by the assessing department to determine if an
abatement was necessary; they speak for themselves. The documents are specific to each property.
They do not necessarily reflect what would be considered for another property.” Okay, that’s a general
statement. But I’m writing to you about my specific property. I have been hammered by this Nashua
Legal office, in letters, in writing. You know, “AssessHelp, Mrs. Ortolano you can’t you can’t write a
question into AssessHelp unless it’s about your own property.” That’s what that’s used for. That came
from Celia. That was never really true. But when I write to my own property, when I speak to my own
property, you ignore it and you come general. You go well, you know, they don’t necessarily reflect what
would be considered on another property. Did it for mine? Why would 45 Berkeley St. not be a
reflection of 41? It is built by the same architect, okay designed by the same architect, and built by the
same construction company and I put the pictures in there, those 4 pictures, because the stairway is
identical, the front to back living room, the molding in the fireplace is literally identical to mine. I was
shocked when I first walked in that house, because I said Oh my gosh, this is the same architect out of
Boston. And they had some drawings marked with the same name. So technically their house has a
completion date later than mine. I think that is an error. It’s listed as a 1937 house, mine is a 1925. They
actually think based on the drawings of the house that was not correct. But we don’t know. But
technically it would be a newer house. And the renovations done to the property done on 2017 and
2018, make all of the upgrades ten years newer than mine. So, you know, the BTLA has come out with a
decision. I have addressed with Rick Vincent, I had him come to the house to look at my third floor living
space in my attic. I feel my third floor living space should not be considered the same quality of space as
my first and second floor. And I cite 45 Berkeley St. All of their living space is on the first and second
floor. The four bedrooms and it’s about hundred square feet bigger than mine. About, 3450 and I’m
3347. Okay, they’re very, very, close. But all of the living space is first and second floor and it’s an air
conditioned house. My living space is first, second, and my fourth bedroom is an attic. It is not heated,
it’s not air conditioned and it’s not insulated. We’ve never used it as a bedroom, it’s not livable. It’s
oppressively hot in the summer. It only has gable windows on that third floor, its open wall and it’s too
cold in the winter. It’s a 50 degree room and you’d have to run an electric heater and with all the old
wiring in there we don’t do it. We don’t do it. So we don’t use that space. I paid $90 dollars a square
foot for that attic like I do for the second and first floor. I don’t feel that is equitable. Now the BTLA
comes down and gives a number of $625,000. They don’t allow, they don’t specify how the property
card should be changed. My understanding is the BTLA number is an override that they are going to put
on my property. When KRT came up with $652,000, KRT I think changed the data on the property record
card, hit the calculate button, took the depreciation down 4-5 years, changed some features on the
quality of bathrooms and the kitchens, and knocked that assessment down 30 grand. I think the math
tells me that worked with a calculate button. The BTLA comes in and just gives a number. They don’t
care what the property card looks like. How is Vision going to rate my space and know that my card does
not have the same living conditions as my neighbors’ properties? And why can’t the card be changed to
reflect that the third floor should not be rated and paid at a $90 dollar a square foot level? It’s a data
correction. And I really think it affects my property. The reason I think it does, is because at 350 square
feet, billed at $90 dollars is so different from the 450 extra square feet of the second floor of my
neighbor, that my finished basement space would become a wash with their space. I do believe these
two homes should be assessed fairly closely, their renovations are ten years newer. However, it won’t
come out that way because the data on the cards is not even accurate. So that’s what concerns me
about this whole Vision thing. When the assessors use a house, that the data is incorrect on the card,


                                                                                                        212

                                                                                          NPD-LO-3910
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 213 of 424



don’t bother correcting the card to any capacity, Vision’s looking at that card and they see a 1964 house
that fully isn’t even renovated, whatever, $15,000 dollar renovation they did must have been so small
wasn’t really worth anything, when in fact it was probably a $200,000 dollar renovation, it was big,
that’s okay. But there is no knowledge for that, your assessors go in, your staff looks at it, nobody knows
anything, they use it as a high end home to compare to the neighbors, and none of it is documented. So
I’ve written to the BTLA--and I think I cc’d you on it--to say how do these data corrections get made?
How does my card become reflective of the property it is? You gave me a nice number, it’s an override,
but it doesn’t reflect the card at all. So, I really strongly object to the treatment I received last year from
the legal office and from you as a Board, under the advisement of the legal office and I’m glad to see
Attorney Leonard sitting in here, and I want to let you know I hope we never see Attorney Bolton sitting
in here again. This was wrong to tell property owners you can’t come in here and question your
neighbor’s property right next door, that frankly I wrote the abatement for and you granted. I think I
know what I was talking about. I think I had a pretty good understanding on where that property should
be as I had on mine. And if you recall in 2019, I asked you to accept $595,000 for my property, just give
me $595,000 and I’ll walk away. And you folks said no. And it turned into, what, $50,000 bucks of city
spending to go battle that, on top of me? Total waste. So that’s the end of that, but in public comment I
want to address another issue.”

1:02:18

Mr. Hansberry “Thank you. Ms. Ortolano?”

Ms. Ortolano “Yes, just starting my stopwatch here. Laurie Ortolano, 41 Berkeley St. A couple of things, I
just want to talk about an abatement issue. You all know I did work on helping people file these
abatements. And the first neighborhood I went into was over in Trestle Brook, because I saw a comment
on social media from somebody saying I filed last year and the abatement was lost. That was fine. So I
started looking at that property and these other raised ranches and there was a group that just didn’t
look right over there. And, a good group of them, 7 or 8, filed for an abatement. The abatements were
processed. That was the whole issue that I ended up arrested for, because I came in with the 18 and 28
Baltimore Rd abatements to get them date/time stamped on the 22nd. I had emailed them to the city
on the 17th and again on the 20th through AssessHelp and the city claims they never received them. I
did a right to know for all the emails and they were not in there. By the 22nd Rick Vincent said to me we
never got your applications. So when I came in to get them date and time stamped, I don’t know what
was going on with email. I did end up getting them date and timed stamped, eventually they came back
to me stamped, and changed, penciled in as Jan 22nd. I really thought these abatements would be
addressed first. Because we went first come first serve, and they weren’t. Now, I told property owners
who called me-- because they did, and they emailed me and followed up-- don’t worry, they’ll be taken
in May and if not the first week in June. June 17th I started to get a little worried. I started making
phone calls and wrote some emails, saying “what’s the deal, who has these?” It irritates the crap out of
me, when I write and I call and I say who’s assigned the abatement, and I get put on hold and I get the
run around and I’m told someone will call you back, and nobody does. Why is it I can’t get the name of
assessors assigned? Now ordinarily there would be an abatement list done by April or May, April really. I
think this year with changes it wasn’t done. It came to me Friday. And those abatements were never
assigned to anyone, those eight, there was no name given to them. They have now been assigned to
Mike Mandile. It’s unacceptable. I mean, and I don’t get an apology, that oh my gosh, we made a
mistake, these will be done, these will be done. What I was told was that we had the ability to do more

                                                                                                           213

                                                                                             NPD-LO-3911
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 214 of 424



abatements in July. Yes, but I would hope these are going to be the first and they are done. You make a
commitment to these people that you will do the abatements, either deny them or grant them, but you
will act on them. You will not leave them in a deemed denied pile to say to these people no. Here is an
email I got from a gentleman at 25 Baltimore Road. “Just a quick update, no one came. I had exchanged
emails with the city and was promised an evaluation would be done by the end of May. Nothing
happened. On Friday this is the end of May, I received a tax bill for July and noticed that my bill was up
from ’19. Very discouraging. Thinking about selling the house now just because I feel the city is
overtaxing, especially when I don’t own the land. Have a great weekend.” I wrote back, “Don’t give up
hope. The abatement will not show up, will show up on your next December tax bill. I’ve been virtually
attending all Board of Assessor’s meetings, and they have not started really reviewing abatements. I
would think by the first week of June they will start presenting. Email Rick Vincent tonight or tomorrow,
and ask him who is assigned to your abatement. Ask Rick for his email address. It will either be Gary or
Mike Mandile, Gary Turgiss or Mike Mandile. Send them an email and ask them if they have started your
abatement. Your street was one of the first to submit applications and in the past it has been a first
come first serve. Hang in there, I’m getting other emails from folks in your neighborhood who filed and
haven’t heard a word yet. Keep me posted or give me a call.” He said, “Thank you, I’ll send the email
tomorrow”. I reached out to him today to find out when he emailed and what he heard. But this is
discouraging for people. For no explanation. And you know what, I’m not liked, I’m freaking despised. I
don’t want call in and take Mr. Vincent’s time. I don’t want to send emails asking the same question
over and over again. You know, I want to do it once and walk away. I really thought you would address
these, and I almost feel like it was some kind of slamming punishment that goes with the arrest just to
blow these people off and to blow me off. It’s obnoxious. And there should be a reason for it. I want to
read one thing into the record. I did a lot of abatements, I did them for free. I did them because I wanted
properties to be assessed fairly. “Dear Laurie, I would personally like to express our appreciation and
commend you for your perseverance and hard work. In the spring of this year, you approached
approximately 17 homes in the Thompson Preserve Development, location is Gilson Road. You
presented the homeowners with the opportunity to have their assessment value reduced. You
presented homeowners with nearly filled out forms. The outcome of this project is you have succeeded.
Our units were recently reduced personally by $40,000 dollars. This resulted in a return of tax money
from the City of Nashua. Our return check was over $900 dollars. May you continue to fight the good
fight on behalf of homeowners. Thank you.” Signed by the homeowners. That’s why I do it. And I got
into these developments, because I don’t think in developments we’re assessing them correctly. We’re
jacking up developments and treating properties as if they’re full value, at market value, in the year
they’re completed versus when they’re under construction. And this is what causes skews in these
neighborhoods. People always say to me, how can I be like $60,000 off from this house, when an update
is done when we’re the same house? It’s happening because of how the assessors are leveling these
properties when they’re not completed. And I want to put an end to that. I think we need to be more
conscious, which is why I did it. It’s just very upsetting to me and I really feel we need to make some
personnel changes. This should not have happened and these people should not have been ignored.
Unacceptable. Thank you.”



Board of Aldermen Thursday, July 1, 2021

https://www.youtube.com/watch?v=Rsjcih1BYxs

                                                                                                       214

                                                                                         NPD-LO-3912
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 215 of 424



8:30

Alderman O’Brien “Thank you. I will now call any further testimony if anybody would like to come
forward in opposition.”

Laurie Ortolano “Laurie Ortolano.”

Chairman O’Brien “Ms. Ortolano. Okay please state your name for the record and just to remind you,
you do have a 3 minute window. Okay?”

Laurie Ortolano “Yes. Laurie Ortolano, 41 Berkeley Street. I don’t know if at this hearing do you answer
questions or is it not allowed?”

Chairman O’Brien “It’s the tradition of the Board just to listen to your testimony.”

Laurie Ortolano “Okay. So I guess I don’t know where I fall out on this because I would have the question
because I don’t recall any school bond was voted on whether this was always included as part of the
project. So if this road had always been put in as part of the project although it wouldn’t have been in
the bond because it’s separate but if it was identified, it would be helpful for me to know that and it’s
not something that’s being secondarily added to the budget.

“Also, I want to make you aware of the person doing the appraisal I believe is a gentleman named Vern
Gardner who is the person responsible for the appraisal with the Board of Tax and Land Appeal on my
property. I’m filing a formal complaint with the Office of License and Certification against this individual.
I saw the appraisal he did on another parcel of parcel for Sarah Marchant over at the school – the last
one that was bought. I e-mailed her and said I thought that appraisal was really poorly done because the
parcels of land he used as a comp. to identify comparables they were parcels in Hollis and it actually
didn’t call out a land marking or ID that you could look up and actually see how the appraisal was built. I
am in in favor of the city contracting any work to him and the Legal office also gave him two Teradyne
pieces of property to work the appraisals on. So if you’re working with him to do an estimate for
eminent domain, or taking of the property, or coming up with an estimate, I want to see that appraisal
and I wonder if you’ve seen that appraisal yet. I’m not in favor of using people who I think are corrupt,
who I think should not be certified. I think the city and the Legal office should be able to do a better job
of picking appraisals that have a better reputation. Thank you.”

14:41

Laurie Ortolano “Alderman O’Brien, this is Laurie Ortolano.”

Chairman O’Brien “Yes but you already spoke, correct?”

Laurie Ortolano “I did. There’s a second round, correct?”

Chairman O’Brien “There is a second round, yes.”

Laurie Ortolano “Okay thank you.”

16:00

Laurie Ortolano “Laurie Ortolano.”



                                                                                                         215

                                                                                           NPD-LO-3913
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 216 of 424



Chairman O’Brien “Okay Ms. Ortolano you do know the same rules apply. State your name in the three
minutes. Thank you. All right you may go.”

Laurie Ortolano “Okay. Laurie Ortolano, 41 Berkeley Street. I think you’re putting the cart before the
horse on this one. You know I really think you need to get your appraisal hammered out a lot better and
it concerns me, you know, Ms. Colquhoun put in a Right-to-Know to get a copy of that appraisal to
review it and of course it didn’t come to her because you used the five-day waiting period. I really think
somebody should have had that appraisal in her hand immediately. That day somebody could have sent
it so she could look at it because obviously you have it. I would have liked to have seen it too. I’m
concerned with this gentleman you’re using to do the appraisal. I don’t trust his work and we’re paying
him $4,000 for it. He used Hollis parcels of property on the last appraisal he did over there at the school
that were not well identified or trackable and did not seem to be good comparables. I’m now peaked.
My interest is peaked after listening to Attorney Hollis to see if he used the same parcels to go and
produce an appraisal for this piece of land.

“You know the property owner deserves a fair process and I’m not in favor of just taking the land by any
means. If you don’t have a viable layout and you don’t have a good appraisal, you should put the brakes
on this and get your homework done first before you come forward and ask for approval. Thank you.”



Board of Aldermen Thursday, July 1, 2021

https://www.youtube.com/watch?v=Rsjcih1BYxs

1:09:06

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. First of all I’d like to correct the attendance that
was read into the record. It was stated that there were 11 in attendance and 2 via Zoom. There are
actually 9 in attendance. Kelly, Clemons, Lu and Laws were not recorded as being on the record. I’m
interested in seeing how the 2/3 votes go with regard to passing the increases that the Board proposed
on Tuesday in their budget meeting. I’m opposed to the additional money being added per Police and
Fire. I think they’re funded adequately. I feel the response time issue from the Fire Department is you
know difficult to quantify to a certain extent. When we put all the barriers up downtown, I didn’t hear
anyone from the Fire Department and couldn’t really get any response on what happened to response
times when we cut the road down to a single lane on each side? We did that without any problem or
concerns that we were impacting our fire safety issues.

“So I feel like we need to be careful how often we point to those situations and use those to justify
positions. I think we have a lot of positions that ought to be looked at closely and I’m going to go back
and tell you. I’m sure you didn’t your cut your Assessing office but I don’t know why we’re funding 2
commercial assessors in there because you all know how hot under the collar I am about what’s
happened with abatements and what’s gone in there and what gets done in the commercial area. We
pay for it endlessly.

“You know I just found out I didn’t realize the Chief we hired is only here for a year on a 12-month
contract. So basically he’s almost a consultant. So you know we’re going to be back in a Chief position.
You have a new assessment level coming up next year. I’m concerned about the IT Department. I’ve


                                                                                                        216

                                                                                          NPD-LO-3914
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 217 of 424



been calling around getting some good information. What are we doing about third party sourcing for
our e-mails and what’s going on in that area? I am not at all interested in seeing the Administrative
Services Director run an IT Department. I’m not at all interested in seeing that position continue or a
Right-to-Know Coordinator, or some of these upper management positions. They don’t belong in the
city budget and they’re not doing what they should do.”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “I object to Attorney Bolton sitting in this chamber. There should be somebody else
sitting in this chamber representing the Legal office. Thank you.”

2:53:24

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just a couple of things. You know I want to remind
you that when Alderman Tencza talks about the impact of a 4% increase on property valuations, you are
failing to recognize that next year is a reassessment year and we are going to get a new 2022 tax rate
once Vision reassesses all the property. And we have not had really any information from the City that I
know of that has talked about the impact and the balancing between the Commercial and Residential
properties. I can tell you looking at the abatements right now, there’s a lot of big commercial
abatements, I think the valuation is for assessment reduction is somewhere around $68 million and I
know the commercial properties during KRT’s update were valued around $3.7 million and residential
was around $6.3. We were able to balance that off 50/50 but you are seeing the commercial drops
substantially more with potentially a higher vacancy rate.

“I know what the economy is doing when it comes to home prices and I will tell you something, you’ve
got a big issue coming your way with senior citizens and I addressed this to you already but the Board
ignored in this budget. Your exemption program for senior citizens based on hardship for 75 and older is
$224,000.00 is your max exemption. Well when that was set, KRT in 2018 the average home price was
$260,000.00 that means seniors could get a pretty good exemption at $224,000.00 and at 80 years or
older it was $280,000.00. But look at what has happened now, the average home price in Nashua this
year, it is not even finalized is probably closing in on $430,000.00 to $450,000.00. Your seniors are not
going to get an exemption at all like they got. They are going to be paying $224,000.00 of taxable
income. And you had, according to your MS1 you are giving $160 million dollars in tax exemptions to
senior citizens on your MS1. That is primarily out of your residential total assessment of $6.3 billion.
That’s a substantial amount. So you have just swung a whole bunch of seniors out there and that 4%
increase on top of a Vision reassessment update is going to be a pretty difficult pill to swallow and I
wouldn’t be surprised if you don’t see …”

Alderman O’Brien “30 seconds.”

Ms. Ortolano “… the need higher. So I think the tax impact assessment was too superficial and I think
that the increase to this budget was unacceptable. Thank you.”



Board of Aldermen Tuesday, July 6, 2021

https://www.youtube.com/watch?v=1Ocn9ml9Ltc


                                                                                                        217

                                                                                        NPD-LO-3915
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 218 of 424



24:38

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just want to let you know I’m really glad I was
able to listen to the Board President on this. I do not support this on all. I’ve been on boards and when
you have a board of three, it’s a real pleasure. You can be three people who work together and respect
each other can get so much done. I also think that filling board seats isn’t easy. Filling these volunteer
seats essentially is not easy and adding to them is not necessarily the right thing.

“When Alderman Lopez discussed this a week or two ago, I kept listening for him to see my full Board is
backing me. I wanted to know the position of the three members of the Board of Health and there was
nothing being said about that. I live very close to Dr. Stephanie and I walked down to the house today
and knocked on the door and unfortunately she wasn’t there so I couldn’t talk to her. So I am very, very
happy that I was able to listen to the Chairman talk.

“You know Dave Tencza mentioned at the last meeting that you know everything is boards of five,
boards of five is the way we go and that’s just not true. The Board of Assessors is a Board of three.
Nobody has been working to beef that up because you’d all be terrified I’d get a seat for god’s sakes. So
you know we keep it as three. That’s what you do. The Commissioners have been three and I don’t even
think the Police Commissioners as three are inappropriate. I think its fine and there are other boards in
this City because I looked through them that are boards of three. I’ll tell ya, you don’t want to just flush
these away and say we’ve got to add people in order for them to be productive. This pandemic was a
very unusual situation and we should use it to make a precedent on how the board should operate. I
think we won’t see this continue, and we’ll get behind this, and that board will be just fine doing what it
does, and when there’s time for replacement, I appreciate other people but we have a diverse board. I
think we have dentist, a thoracic surgeon, and a pediatrician – something of that nature. As people
move on, we can put a mental health person. You can put a holistic doctor. Imagine that. That would be
pretty interesting. Do whatever you want to do but I do not support adding seats and I would ask that
the Board not support this. Thank you.”



PERSONNEL/ADMINISTRATIVE AFFAIRS COMMITTEE JULY 6, 2021

https://www.youtube.com/watch?v=1Ocn9ml9Ltc

1:25:32

Laurie Ortolano Hi, Good evening. Laurie Ortolano, 41 Berkeley Street. I want to speak in opposition of
this which has been consistent with how I have spoken. I think the very kick off to this with the survey
that was put out by the Mayor was both leading and misleading and it raised a question immediately on
what was going on here. I don’t feel that the citizens in general have really been given the truth on why
we were making this change and what it is that the City is trying to accomplish in doing this. It’s just not
clear enough to me. And because of that, I feel that we are being misguided on this. I have had a
challenging relationship with the Police Department and I can say I don’t think everything has been
hunky dory over there from my perspective with my case and several cases that have been handled
regarding issues that I brought to the Police. And I’d like to see some improvements on that and I’d like
to see the commissioners a little more involved in what is going on within the department.


                                                                                                         218

                                                                                           NPD-LO-3916
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 219 of 424



“That being said, I don’t think you tip the apple cart over and you feel like you gotta start all over again. I
think you let the system have an opportunity to correct mistakes if they exist or identify areas of
improvement and you work through that. I recognize the reputation of the department and those that
work in it want it the way it is. It is a three-member commission board and I think we should even think
carefully about making it five. I feel as though the commissioners are just trying to be accommodating
with the Mayor or some of the Aldermen to say “we would expand it”. But you know don’t dive into that
too quickly because if you have a good working relationship and it is going OK accept that. I think that
we know that the governor, both Maggie Hassan and Sununu picked these commissioners and they
backed who is there right now a Democrat and a Republican. We have 2 Independents and 1 Republican
on the commission because it has to be a Board of 2-1. I would ask this Board of Aldermen that if you
are going to move forward on this and set a 5 member Board that you set it up as a 2-2-1 Board;
Republic, Democrat, and Independent because we have a large independent population here in Nashua.

“And that would be, you know, my take on that. Also, I would like a public…”

Alderwoman Kelly “30 seconds”

Ms. Ortolano “… Elizabeth Lu or Attorney Bolton. One of the speakers mentioned a conflict of interest
with Elizabeth Lu voting because her spouse is a commissioner, Commissioner Plante. When I heard this
last meeting I contacted Alderwoman Lu and she said she had a discussion with Attorney Bolton on this
quite a while ago and all of that was cleared. And I think it is very important to make a public statement
on the record tonight regarding this issue so we don’t let situations like that hang out there.”

Alderwoman Kelly “Time is up.”

Ms. Ortolano “And put a dark cloud on a situation where there should be no dark cloud. Thank you.”

4:02:49

Chairman Caron “Thank you Commissioner. If there’s no one else, general discussion?”

Laurie Ortolano “Wait a minute, Laurie Ortolano.”

Chairman Caron “OH I am sorry I didn’t see you. Yeah Public Comment, I didn’t see you. Go ahead.”

Ms. Ortolano “I couldn’t find how to get my hand up on this screen. I want to talk to you.”

Alderwoman Kelly “Laurie can you state your name and your address and you are a little bit soft.”

Ms. Ortolano “OK Laurie Ortolano, that’s because when it gets passed 11:00 my voice drops down. OK
it’s Laurie Ortolano 41 Berkeley Street. I want to talk to you about the kind of corruption I see in the City
and I am going to call it information corruption. You know, you have the authority and the power to take
advantage of information and use it in a way that’s against us and doesn’t allow us to have access to it.
Your duty is to allow us to access information and you are not giving us that. While I was sitting in this
meeting I had a Right to Know response Jessie Neumann. On May 18th I put in for some emails or
communications to try to understand what is going on with our emails in the City with this corruption,
these missing emails. And I wrote “all emails”. I asked for all emails sent by the IT Department or any
employee within the IT Department to Kim Kleiner for the time period of April 1st 2019 to May 1st 2021.
Please use the following search words – “corrupt” “back up” “back-up” “Ortolano” “Laurie” “internal
only address” “hacked” “RTK” “Right to Know” “deleted 45 day retention”. The response I got from the

                                                                                                           219

                                                                                             NPD-LO-3917
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 220 of 424



City said your request for emails between a group of largely unidentified persons who may or may not
still be employed with the City of Nashua regarding all IT and Technical and hardware problems that
have occurred over a period of 2 years starting 24 months ago. Under RSA 91A:IV A “The City is not
required to make available governmental records that are not reasonably described. It is the City’s
position that this request does not describe governmental records sufficient for an employee familiar
with the subject matter to locate the requested records with a reasonable amount of effort”.

“OK so let me tell you the problem I have. You don’t have a list of employees anywhere that I can get
ahold of. I can’t give the names of who is in the IT Department because I don’t know who those people
are. And up until 2015 the names of the employees were in the CAFR Reports that were published every
year, but you stopped doing it. So tonight I wrote Right to Knows to get the pay stubs of every employee
in the City and then also I tried that through Finance and then put one in through Human Resources to
get a form that might be signed by an employee when they become an employee of the City. Go
through the file and get me a public form that I can get the name of that employee off of so I can
generate a list. It’s obnoxious that I am denied information…”

Alderwoman Kelly “30 seconds.”

Ms. Ortolano “… because you don’t have a list and I have to write Right to Knows like that. So when
Attorney Bolton says that you know we don’t ever want to take away your rights, he certainly does. And
I do find that ridiculous and it offends me and this is what he is doing in that Legal Office when I get
Right to Knows written like this. Now an employee tonight gave me the list of people in the IT
Department. I was lucky you won’t do that for me and haven’t for 2 years.”

Ms. Ortolano And haven’t for 2 years. This is obnoxious, this is information corruption and Attorney
Bolton has to go.

Alderwoman Kelly “Time is up.”

Ms. Ortolano “OK well you gave Tollner 4.”

Chairman Caron “Your 3 minutes is done.”

Ms. Ortolano “You certainly did, I ran my timer, you did. So I am just saying no Alderman has been
willing to help me in 2 ½ years on this and anyone who is running, I am going to be staunchly opposed to
you. I’ve had to climb a hill.”



Board of Aldermen Tuesday, July 13, 2021

https://www.youtube.com/watch?v=UBvS56wECMY

1:31:49

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’d like to just state quickly that I did support the
veto by the Mayor and I think that I get a little concerned when I hear a lot of emotional language used
to describe the reasons why we have to keep the Fire and Police budgets where they are at. We elicit an
emotional response in people when we look at these safety issues and time but I am not certain that is
fully justified or we have seen enough numbers that do justify that and when we talked about the

                                                                                                       220

                                                                                          NPD-LO-3918
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 221 of 424



personnel cuts that would have to be endured in the departments based on these budget cuts, the math
just didn’t really make sense. So your DPW Department also is a very large department, they negotiated
a pretty reasonable contract, they didn’t come in an ask for additional funding and the type of work that
they do is really gives pleasure to people and makes the City life more appealing and satisfactory and
because it doesn’t elicit this negative, emotional response regarding safety and health we sort of
overlook that. So I think the vetoed budget should have carried and I think it was reasonable.

“Also I want to speak at that last meeting last week, Attorney Bolton made some statements regarding a
Right to Know request I read into the record. He said that I did not provide, I conveniently left things
out. I did not. I also didn’t read the full correspondence into the record. That’s true because I am limited
by a three-minute time period and I sent you all the email, the Right to Know request response so you
could all read it in its fully glory. But I did read the sections that were important to me that I highlighted
that I felt were not correct on the part of the City. I am also really concerned that he was able to tell all
of you last week that I had received all the available emails that Ms. Kleiner had received from IT and I
hope you read that request and saw that they were not provided to me. I am getting an update on July
30th which is not necessarily the response or that the records would be responded to, it would just be
an update. And it really concerns me when he can identify that the Right to Know was given to me that
night and then give information that is not correct. Because right after Beth Scaer spoke he said, I never
say a single thing that is not true. And I am wondering why he responded and spoke to my Right to Know
request and gave information out that was not true to the Board.

“I also don’t think it is appropriate that when a citizen responds on a time limit that the Administration
will come back and fire back at the citizen and there’s not rebuttal time to correct the record. So I am
doing it this week and I feel he was out of line, he was inappropriate and I don’t think the Board should
allow him to speak and say such things. We should be able to challenge those. Thank you.”



FINANCE COMMITTEE AUGUST 4, 2021

https://www.youtube.com/watch?v=_1TZ-K9u8mE

54:03

Mayor Donchess “All right - Public comment. Does any member of the public wish to address the
committee? Okay.”

Laurie Ortolano “Yeah this is Laurie Ortolano.”

Mayor Donchess “Please, please go ahead.”

Laurie Ortolano “41 Berkeley Street. Just a couple quick things. The discussion about the lock doors is a
concern to me and I will tell you I talked to Kim Kleiner about this last week. I don't agree with what
you're saying here, Mr. Mayor. You brought up a safety issue that no one else brought up when I
addressed it and I think it's not relevant to what's going on. The offices that were open were Finance.
Don't describe it as down a hallway tucked in the back. The only reason it's located there is because
we've got an old building built like a maze and that's where they are. Now you go down the hallway and
it opens into a suite of offices. I used to be able to walk in there. Sometimes the door was propped open


                                                                                                          221

                                                                                            NPD-LO-3919
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 222 of 424



and just ask Rose if she could check a bill for me. I didn't do it often, but I will tell you it was very
convenient when I was in Assessing or over in permits and I wanted something checked. I could do it.

“The other thing is Human Resources. I think I've gone in there two or three times to request a resume
or a piece of information I could walk in and ask. The third area is down next to Assessing are the ladies
who process abatement checks. My check address was incorrect. I walked in and asked them to correct
it. I consider that city business and these locked doors I was told by Ms. Kleiner it was the choice of the
directors. I specifically asked her about Mr. Fredette’s and John Griffin's office and it was their choice to
have those locks put on. She said she left it up to the directors to choose if they wanted them and they
did. I feel we should find new directors who don't want locks. So I disagree with you completely.

“Also, I sent an email out regarding - and this is a finance, a money issue. I'm speaking to you about it
because I don't know who else to speak to about it. I sent an e-mail out looking at risk exposure from
the Legal Office. We run risk exposure reports for abatements and appeals. Risk Management runs a risk
exposure report or a liability report based on workers' comp, and slip and falls, and employee issues but
the third area that we have risk exposure is our lawsuits or pending lawsuits and I didn't realize that that
was held separately by the Legal office. I have never seen any reporting on those risks and the number
of suits we have running in Legal. Now I wrote a letter to the Budget Committee and you were cc'd on it
Mr. Mayor today to ask a few questions about it and then request if there was a report that they
provided to me. I got a response back from Rick Dowd telling me to this question is best answered by
Legal and any Right-To-Know requests gets referred to Legal. I let him know that I was confused by that
because I was told to go to departments. But that also I had questions in my e-mail and Legal isn't
responsible for answering questions.

“Well, tonight, while you're sitting in this meeting, Attorney Bolton puts out one of his punch in the face
e-mails that says, “the Legal Department represents the city and provides advice only to city officials and
employees regarding the city matters. Please do not ever advise anyone other than a city official or
employee to contact us with questions. Please know many, many Right-To-Know requests are not
referred to the Legal Department.” Well, obviously he's giving a reprimand to Rick Dowd who clearly
didn't know it wasn't supposed to be referred there and I think you're right to no training and
understanding of what your departments are supposed to do is unclear. I spoke to a department this
week that said to me, of course, you know I have to bring this through Legal. So I don't know what
you're doing, but this e-mail - and I don't know if Attorney Bolton is there but I'm sure his ego is - it fills a
room no matter where he is. I think it's obnoxious to write this. Handle that privately and train your
people because they don't know. I forwarded it, the e-mail, to Attorney Bolton as a Right-To-Know but
then told the committee I'm asking questions and I feel the questions are yours to answer.

“I wrote an e-mail to you maybe three weeks ago asking you to help me clarify what are the channels
I'm supposed to use to get information? I received nothing. These types of scolding e-mails from your
legal office are obnoxious. You really need a new Corporation Counsel. There's no - and I will tell you, I
have called legal offices around the State. I have worked with legal offices to get Right-To-Know
information and Attorneys…guess what you can call them and get…”

Mayor Donchess “Ms. Ortolano we limit these…Ms. Ortolano. Sorry but we limit the public comment to
3 minutes and we’re way over that right now. So could you just conclude, please?”



                                                                                                             222

                                                                                              NPD-LO-3920
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 223 of 424



Laurie Ortolano “Give me 30 more seconds because you didn't give me a warning like you usually do. So
yes I can limit my time and I will.”

Mayor Donchess “Thirty seconds. Go ahead, 30 seconds.”

Laurie Ortolano “Thank you. I will let you know that other legal offices around the State as well as the
Attorney General's office, the Department of Revenue legal office will take my phone call, work with me,
answer questions, and help me understand how data is stored and maintained in their facilities to fill a
Right-To-Know request. Your Legal office refuses to do that thereby driving up the cost not only for all
taxpayers. It's obnoxious. You need to dump Attorney Bolton and find somebody who wants to do that
job as Corporation Counsel. Thank you.”



Board of Aldermen Tuesday, August 10, 2021

https://www.youtube.com/watch?v=kJun5MSP6w0

1:14:50

Laurie Ortolano “Yes good evening. Laurie Ortolano, 41 Berkeley Street. The reruns of a popular TV show
Chicago PD still command a sizable audience. One ad frequently runs to attract viewers’ features the
lead actor as a combative detective exchanging words with the city mayor. Obviously frustrated about
some action the detective has taken, she exclaimed, “You work for me.” And responds the detective
answers, “I work for the City of Chicago”. In many ways, this outburst captures the essence of an
important public policy and Charter change issue facing the City of Nashua. To what extent should
elected politicians exert control over the inner workings of their police department? We are all aware
many police departments across the country have been the object of increased scrutiny, protest, and
calls for change and reform. Some proposals are discouragingly extreme to their scope. To date, Nashua
has been spared the agony of trying to respond to the kinds of issues that have generated these protests
and proposals and hopefully will continue to do so.

“Our police department enjoys broad community support. Thankfully it ain’t broke but our Mayor still
wants to fix it. I’m happy with the system of political oversight that currently exists. He is proposing
changes that gives the Mayor direct political control. As it stands now, the Aldermen appoint one of
their members and an alternate as a liaison to the Commission. It is important to bear in mind that two
aldermen have regularly attended Commission meetings and have not raised red flags. Had there been
cause for concern, those Aldermen were obliged to report misgivings back to the full Board. No records
of misgivings or persistent or systemic deficiencies exist to justify the Mayor’s sudden action. The Mayor
is proposing a Commission overhaul. He would like direct authority to nominate commission members
with the aldermen appointed all members of a larger five-person commission. The Mayor would then be
able to use the Commission to pressure the Chief on any number of internal matters.

“The Mayor is unwilling to subject his opinions to the full review process and vet this important change
before the community and Board…”

Donna Graham, Legislative Affairs Manager “One minute”




                                                                                                      223

                                                                                         NPD-LO-3921
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 224 of 424



Laurie Ortolano “…Instead he is jamming the petition through unwilling to allow the scrutiny of this
Board and the community who may have different opinions. Read, fire aim is an added choice for a
Charter change. Given at the present, the Mayor and Aldermen must approve the operating budget of
the Police Department. Additional political leverage can only be aimed at personnel matters and day-to-
day operations. Notwithstanding allowable objectives of local control, this for Nashua is a bad idea.”

Donna Graham, Legislative Affairs Manager “Thirty seconds.”

Laurie Ortolano “In summary, the proposed Charter change would 1) drastically alter the semi-
autonomy of the Police Commissioner, would increase the risk of blatant political interference, and bias
and operations would certainly disrupt department operations and have not demonstrated any
potential increase in efficiency or effectiveness. The potential benefits of local control are undefined and
outweighed by the risks of political damage to the operation. Therefore, the Charter change should be
voted down. One last quick item. I don’t support the…”

Donna Graham, Legislative Affairs Manager “Time.”

Laurie Ortolano “…increase in board members on the Board of Health. I wish we had more time to talk
to both. I’ve spoken publicly about this. Please support our doctors on the Board of Health in
maintaining that Board as a three-member body. Thank you.”

3:08:37

Laurie Ortolano “Hi. Laurie Ortolano, 41 Berkeley Street. Just quickly. I sent you an e-mail tonight and I
attached a spreadsheet looking at the top ten largest communities in New Hampshire relative to their
police departments. What surprised me is – and it really surprised me. I called all the departments and
talked to the police stations. Five out of those ten do not have commissioners. Three of the cities that
the Mayor highlighted as cities that had changed their commissions – Portsmouth and Laconia – those
two municipalities have three commissioners but they are elected by the general public. So five out of
the ten don’t have commissioners. Three out of the five left they’re elected by their citizens at the
ballot. Manchester has an appointed commission but it is only advisory. It doesn’t have (inaudible)
duties.

“So what’s being proposed in Nashua is really unique to the other ten. I would like – I obviously think
this is going to go on the ballot and the Mayor is going to get the signatures and the citizens behind
providing the signatures to put it out there but I would like to understand how he determined that the
best option was to have the Mayor and the President appoint and the Board vote versus having a citizen
vote. Berlin and Somersworth were also used as examples of communities that change but you are
looking at massive size variations – 10,000 people compared to Nashua with 90,000. The other thing you
have to take into consideration here – Manchester is 113,000 people. Nashua is 90,000 and then the
next biggest is Concord at 44 and it rolls down. So you know we have to be very careful with blanket
comments and I looked back at the Mayor’s original survey and he question he proposed is and it was
just his blanket survey to his fixed number of constituents but it was 1) do you want the Mayor and the
Board President to appoint the Commissioners, or 2) do you still want it with the Governor. I wish three
had been on there which is do you want to elect them yourselves at the polls on a staggered time
schedule. I would just like to understand how this happened and honestly I’ve been on an e-mail chain



                                                                                                        224

                                                                                          NPD-LO-3922
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 225 of 424



that’s you know 50, 100 comments deep. There’s a lot of people that have asked some really good
questions on that e-mail chain about what we’re doing this…”

Donna Graham, Legislative Affairs Manager “Thirty seconds.”

Laurie Ortolano “…and what it means. So huge opportunity to do some education over the next few
months and I think there’s a lot of work to do here to educate people. Thank you.”



Joint Meeting of the Board of Public Works and Committee on Infrastructure, August 10, 2021

https://www.youtube.com/watch?v=ChUB2ZHchrQ

6:06

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street Thank you very much. A couple things on your
process for compliance with Right-to-Know. Just so you know, Chairman, this meeting was not posted
on the website, and it needs to be. The 91-A meeting section 2 says if a body ordinarily maintains notice
on an internet website then it should be reasonably accessible through that location. And I had an
alderman recently email and said one of our posting locations is always the website and the second one
is a notice on the door. If I had not been told by a Commissioner that this meeting was happening I
would’ve never known. It was not put there. I also just asked you if the subcommittee had met and you
said we met once. I can find no posting of it. Did not know it ever came and I have not seen minutes.
Also your minutes need to be approved, they’re only draft form and there are some inaccuracies in
these records that need to be updated. So, I want to be able to participate and come to these meetings
and listen but you have to make the postings such that I can find them and I know where they are. So,
also, there are some general questions I have about reports that were going to be attached. Obviously,
first of all, this meeting has 21 people in it and based on the Board of Health meeting last Monday that I
attended this would not be considered a safe distancing room. I don’t care where you fall with masks or
no masks, but I would recommend, given what’s going on with this Delta variant, and concerns that the
City has, that you go to the Aldermanic Chamber, which is much larger.”

Chairman O’Brien “Ms. Ortolano, items on the agenda, if you would please. The mask issue is a different
matter that’s not to be discussed.”

Laurie Ortolano “Ok, well that’s a safety concern. But I will address that with the Board of Health. I will
write a letter and email to them and I will address my concerns in these minutes about obtaining some
documents that are referenced here with Director Fauteux. Thank you very much.”



FINANCE COMMITTEE AUGUST 18, 2021

https://www.youtube.com/watch?v=mB1MlKH7qno

1:22

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just noticed the change order that’s put in for the
energy upgrade at Wastewater and I was wondering when you talk about it if you could tell me when


                                                                                                         225

                                                                                           NPD-LO-3923
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 226 of 424



that project was started and the completion date. When I look at the contract, I can’t quite tell when
this project is expected to be done and that’s my only comment. Thank you.”

18:02

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Hi. Good evening. I just wanted to talk to you a
little bit about the use of subcommittees when we’re making big changes on items like our Charter. You
know our Charter is like our city constitution and it requires a lot of close and careful vetting before we
make these changes. I really feel it was a mistake to push a petition through the way it’s going through
right now and not having this subcommittee meet.

“I wanted to let you all know that I’m on an Assessing Standards Boards subcommittee up in Concord.
The committee was formed as a subcommittee to address releasing sanctions against assessors who are
sanctioned by the DRA. This became a little bit of a hot issue when we had some of our assessors down
here fall in the category of having some sanctions issued and the Assessing Standards Board realized
that those sanctions were not being released publicly and they had anticipated when they set up the
regulations that they would be released publicly. Now to address that, they didn’t put it through and
rush it through this year as a board change. They formed a subcommittee and I’m on that
subcommittee. That subcommittee has been vetting the issued in meetings to allow open meetings all
other chiefs and assessors from the State to come in and participate and it’s been discussed at the full
meetings of the board. The DRA and the DOJ have taken a neutral position, aren’t going to block it.
Basically the DRA is willing to give control over to the Assessing Standards Board who would like to put it
under the Office of Professional Licensure and Certification. Now that’s all done by committee and it
may take about two years to get this change through as law. We’re going to write the law this
September. It’s a process and we’re doing the process.

“I think we’re jipping ourselves down here in Nashua when we have a Mayor, some aldermen, and
figureheads – leadership people pushing a petition. This is not really a citizen’s petition and anyone who
says everyone has the right to push a petition, that’s true but when it’s your Mayor who is doing it,
you’re a figurehead. You’re a leader. When you’re going door to door, people may be assuming that it
had adequate vetting. There was adequate discussion. That the facts are being laid out the way they
should be. I don’t think that’s really the case and you have a higher level of influence sitting as a
figurehead than a general citizen who brings forth the petition. I came to this Board of Aldermen and
asked if they would back a petition change for the Board of Assessors to require that all assessing board
members living…”

Alderman Harriott-Gathright “Thirty seconds.”

Laurie Ortolano “…in the City of Nashua. It received no attention at all or acknowledgement. Now that
would be a case where as a citizen I could go out and ask for signatures and bring it forward because I
tried to work with the Board. There was no acknowledgement and I could do it separately but you have
not been willing to work with the Board Mr. Mayor. You were not willing to work on the subcommittee
and you’re jamming this through as a power grab over financial issues. That is really the wrong reason to
do it and you’re doing the wrong Charter change. The change should be for a city manager. You’re in the
right church but you’re in the wrong pew here. When you compare us to Dover who has a City
Manager…”


                                                                                                         226

                                                                                          NPD-LO-3924
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 227 of 424



Alderman Harriott-Gathright “Your time is up Ms. Ortolano.”

Laurie Ortolano “…and that with a $400 million budget has a mayor. Let’s work on the correct Charter
change. Thank you.”



Board of Aldermen Monday, August 23, 2021

https://www.youtube.com/watch?v=OuZzjz_C46I&list=PLqQByMyIJNHIpujxIgRbAZjX7e4VCTBXq&ind
ex=15&t=87s

32:16

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Thank you. I just want to piggyback off of what
Fred Teeboom has said and there’s not many public people out here. It’s been something that has (no
audio)…I’m just pointing out that Fred Teeboom made a comment about this money that surplus that
seems to be divvied up and distributed among a lot of pretty high cost projects. I don’t understand in
this city why money isn’t returned back to the taxpayers or put into a rainy day fund and looked at
differently on distribution. You know we end up with – we have a tax increase. I think we understand
what’s coming next year with the reevaluation and redistribution between commercial and residential
properties. I don’t understand it. I know I came from a small town that was only 7 – 8,000 but there was
so much attention put into returning money to the taxpayer and in the city it seems about we always
have a new project we get to look at to go spend it. I don’t understand it. I wish there were more people
out here to talk to it frankly but there aren’t. I think you as a group should be doing a better job about
looking at how you distribute this money versus what you put back and give back to the taxpayers.
Thank you.”



BUDGET REVIEW COMMITTEE AUGUST 23, 2021

https://www.youtube.com/watch?v=OuZzjz_C46I

44:40

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. As far as your agenda with the addition of the new
holiday, I understand the importance of the holiday. I’m not belittling it whatsoever but it is a significant
monetary cost to continue – to add the day. You know it seems like we should look at other ways to
make reductions if we’re going to fund this holiday and add it into a day off for everyone in the city. It’s
just a very expensive thing to ask the taxpayers to fund.

“The other issue is if this NRO that Fred points out which I was not familiar with 545 E if I have the
number correct because I’m going to look it up requires us to maintain a list and under the spending cap
I hope we have that list available and you’re looking at it. I do think that a lot of this money that gets
moved around should be returned to the taxpayers to keep the impact on the tax rate as low as
possible. Like I said before I think at the other hearing, we just seem to be able to allocate all of this
additional money to projects that you feel are important but I rarely hear the Budget Committee or the
Aldermen as a group looking to say I don’t know how often I’ve heard you say let’s bring this money


                                                                                                         227

                                                                                           NPD-LO-3925
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 228 of 424



back and put it in the taxpayers pocket. It’s just something I don’t hear spoken often and I think you
need to do it a bit more. Thanks.”

1:40:09

Laurie Ortolano “41 Berkeley Street. I’d like to talk to you about getting the support of the aldermen to
encourage this city or request that the Municipal Records Committee convene to discuss how our city
records are stored. This has been a big concern to me when it’s come to access to information and
there’s been a lot of Right-to-Know stuff going on. This committee has not convened in over 10 years.
I’ve had a good number of e-mails with Sue Lovering asking her to work with the Mayor, the Treasurer,
and the Assessing Department because those are the individuals that are supposed to be on the
committee called out by your statutes. She’s not willing to do it. The way this city is set up is every
department seems to be in charge of putting their own schedule and records together. It is a huge issue
and Fred Teeboom mentioned IT. I think you’ve got a lot of work to do in your IT Department in
upgrading it but also and having it be responsive to the issues we’re seeing like with e-mails. You know
the responses to these Right-to-Knows are ridiculous. I sent you all a letter and showed you that the city
finally released the training material for Right-to-Know training that was done with city employees. It
was only done optionally for those that waned to attend. The city fought us tooth and nail – the legal
office – claiming it was attorney/client privileged information. When you see what was released after
two months and thank you to Alderwoman Lu and Commissioner Pappas because if there hadn’t been
two people with some courage that could reach out and ask the Legal Department to provide the
information so that they could look at it to make a determination, I don’t’ think we would have ever had
this released. I was going into court with a lawsuit that was getting support from my NH Right to Know
Coalition group to push it to try and see what this information was. The way the information is written if
you look at it, it’s really focused on not providing information to citizens. It’s a focused paperwork that
shows how to protect the city versus how to share information with citizens that are our public records.
It’s very frustrating to me that I still go through this. There’s a lawsuit going in soon on failure to get
minutes. It took two months…”

Alderman O’Brien “Thirty seconds”

Laurie Ortolano “We shouldn’t have to fight like this and I would really like members of the Board to
request the city convene the Municipal Records Committee so that we can access to our information
and we don’t have to keep going into court looking for help. The city legal office Attorney Bolton is
dumping millions of city dollars on this stuff and there’s no accountability from his office on this. It’s a
disgrace. Thank you.”



Board of Assessors Meeting of August 26, 2021

https://www.youtube.com/watch?v=MEvMnpqaLRg

37:45

Resident Laurie Ortolano was given the floor and presented concerns with City Staff and Board of
Assessors.



                                                                                                           228

                                                                                             NPD-LO-3926
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 229 of 424



Talks about Attorney Bolton, Attorney Leonard, Rick Vincent, Ms Kleiner, Dan, Bob Early, Paul Bergeron,
Ms Walley, and talks about her arrest. Lawsuits. Calls Cecilia Leonard “a despicable attorney” and “it
was the cuntiest behavior”.

The following was transcribed by E. Vassar on Monday, March 18, 2024

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Can everyone hear me okay? It’s a little hard when
you’re doing this with your facemask on. Okay. I gave you a letter because at one of the last meeting,
Attorney Celia Leonard made a statement at the end that she had no recollection of ever saying that my
emails into AssessHelp had to be questions for my own property. And she said, “It’s my understanding
that every document that Ms. Ortolano has ever requested has been sent to her if in fact it existed and
was recently described. I don’t think she can produce any evidence that I ever sent her anything saying
anything like that.” I provided you with the record from July 15th of 2019, and I sent a question into
AssessHelp, and I sent another email in that had even more information on July 15th of 2019, and Ms.
Leonard wrote back, “AssessHelp was created for residents to reach assessors for assessments on their
property or to schedule an appointment.” She did say – and she denied my information, my question
request, because they weren’t specifically for documents. You know, RSA 91-A is records request. And I
understand that. But the DRA has regulations where citizens can go in and speak to assessors about
property issues that are not necessarily in compliance with 91-A. That’s why it’s set up that way. I mean,
there are properties – and I watched at that time, especially after the update, literally hundreds of
people come in and have their questions answered. They weren’t RSA 91-A document requests. I didn’t
even know the AssessHelp line existed until the summer of 2019, and it was Miss Colquhuen who said, “I
send my questions in to AssessHelp. Doug Dane usually assists me.” I said, “I’m gonna try that, why
not?” And then when I did it, I was denied. And it wasn’t an avenue for me. And this legal office has a
short memory about how things operated in there and the walls they put up for when I wanted
information. I do think – and, ya know, Attorney Bolton also said to me, in the early days of my
abatement, when I was upset that I couldn’t get a meeting with the assessors, and Greg Turgiss did not
respond to my questions, he said, “We’re under no obligation to respond to you.” In fact, the DRA came
back with a different answer, and said, ‘Yes, they are. The assessors are supposed to respond to you. It
doesn’t have to be one assessor, it could be a chief, somebody. But under the DRA regulations, yes,
they’re supposed to respond to your requests.’ But this city was able to effectively usurp that on an
individual they didn’t like because I was digging into information. And you know, to this day my husband
and I scratch our head and think that it took seven years to get our property fixed, and it was absolutely
absurd. It should’ve been recognized right away. The first year we came in, and I had the assessor come
out to the house after it was jacked up two-hundred and forty-thousand. There should’ve been a “Oh,
okay, wait a minute, let’s get this right.” And ya know, we went through so much.

“The other thing Miss Leonard spoke about was, and the letter was cut out, she spoke about my arrest
at City Hall. And Rick Vincent said something to me recently when I was down in the Assessing office,
regarding coming in with my abatement. Those two abatements to stamp. First of all, I responded, I
followed the abatement process for three years. And for three years, in my opinion, it has not been
followed per procedure, through policy in the book. We don’t do what we say we’re gonna do. First
come first serve isn’t really done. Responding to every citizen based on their evidence isn’t really done.
And stamping abatement applications, last year, you didn’t set up a process for that at all. I don’t know
why. It wasn’t a pandemic issue. I know you had renovations, but you had a person in the front. I believe
that assessors were working in Kim Kleiner’s office, her staff, and I had confirmation that that was the

                                                                                                      229

                                                                                         NPD-LO-3927
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 230 of 424



fact. And Rick Vincent said to me, “You know, Laurie, when you came in to get those abatements
stamped, and you went up to Legal, they could have never helped you, because they didn’t have your
paperwork.” I said, “Rick, if you look at me on film, I’m carrying the abatements with me. I’m doing the
process that was in the book: ‘Come in with your abatements, get them reviewed and stamped.’” Now, I
emailed them first, and no one responded to the emails. Twice. I sent it to the wrong address, to Rick
Vincent in Lebanon, but I sent it into AssessHelp, where people would send them. And for some reason,
the City has no record of those. I have six emails from different citizens that don’t come up in the email
search. So what I wanna tell you as Board of Assessor members: when people send email into
AssessHelp, it doesn’t always get received. And it literally goes missing. There’s no accountability for it. I
have six of them that are sitting in a lawsuit now to say, ‘Where do they go? They’re not there.’

“So, ya know, after sending the email in twice, on the 17th and the 20th, after phone calls, two phone
calls, nobody responded. And my general sense of City Hall, unlike other agencies, City Hall is very non-
responsive on the phone. I mean, I’ve heard so many people tell me, “Nobody picks up the phone.” So I
didn’t get a phone response in five days. So I came in, following the procedure with my paperwork. And I
was admitted without an appointment because website obviously didn’t say I need an appointment.
One, to go to Miss Kleiner’s office, two, to go to the Legal office. There was no appointment posting on
the website. So I can’t – and the woman let me in. So when Celia Leonard says, “Mrs. Ortolano knows
we don’t stamp abatements in our office” – typically, that’s true. But we don’t have an Assessing Office
under construction. We don’t have a pandemic on top of it. And all of the communications about the
abatement issues we going to Legal. Jesse Neuman and the Legal Office were handling them. Because
that’s the way they wanted it to operate for anything coming in from Miss Colquhuon or I. So they knew
what the concern was on stamping the applications. Honestly, if somebody had been in Miss Kleiner’s
office – it was 9:30 in the morning. I really thought somebody would be here. Dark, lights off, door
closed. Nobody was in. I went to the Mayor’s office. Dark, lights off, nobody in. Door locked. The Legal
office, the girl was there. I mean, it was a simple request for, ya know, citizen work. And it got blown
into something that should’ve never happened. And really, it was Celia Leonard who took this up a
notch very heavily, to do that. I think she’s a despicable attorney. It was the cuntiest behavior I ever
seen out of somebody. Ridiculously inappropriate. And we shouldn’t be arresting our citizens in City Hall,
especially over abatements. Ridiculous. So, ya know, her little story just did not fly with me at all. And
you people should be concerned about it.

“Lastly, I asked the police to investigate this Board of Assessors for not complying with RSA 76:16. And
Dan, you lawyered up and got the recommendation not to talk to the police about reviewing abatement
applications. Personally, I think you should resign. To sit at this Board, to review people’s abatements,
and be comfortable taking yourself out of an investigation, because you know you had communications
with Miss Walley, you know she talked to you, that the Board in the past reviewed all these applications,
and that it’s not happening now. And you were the one who had the most direct firsthand information
on what was going on with them. And you lawyered up and told the police you wouldn’t participate in
the investigation. A chairman who won’t participate in an investigation on how our records are being
handled shouldn’t be sitting in a Chair seat. And I’ve asked the police to reopen it, because they did not
ask you folks if actually received the abatement applications. And I am fully of the impression that you
do not! You, Bob Earley, told the police, “We receive the abatement requests.” I don’t know what
you’re talking about. Now, Paul Bergeron said they don’t. He said, “We only get an analysis, the property
record card, a picture…” Bob’s, I mean, Paul Bergeron’s information I thought was very accurate. But the

                                                                                                          230

                                                                                            NPD-LO-3928
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 231 of 424



police failed to ask the basic question. And ya know what’s even worse? Is that I have to go to the police
and ask them to open a civil investigation on this, because the attorneys’ office, Attorney Bolton and
Celia Leonard, are so corrupted by their own beliefs, that they won’t provide information to citizens that
just should be given to us. Answer our question. If you don’t wanna do it, say, “We don’t wanna do it.”
But when I call other cities like Concord, Keene, and municipalities, they actually get copies of the
citizen’s abatement application put in with their backup information. Why? Because the burden of proof
is 100% on us. And if we carry that burden, you should look at what we present. It was the biggest
problem for me. I did an evidence-based, sales-based abatement, and you folks threw it in the trash.
Threw out my sales data, and went with a data correction. Nothing is stronger than sales data, and I
couldn’t get you to even consider it. You didn’t even have my application to see the work I put in. And if
you did, shame on you.

“Now I asked for all these public packets so I can see what you look at. The whole intent was for me to be
able to see what you at. And if you’re going in to City Hall, in the back door, and reviewing all the
abatements, then just say so. If that’s what you were doing in ‘18 and ‘19, just say so. I don’t understand
why there’s the secrecy. Not to answer that question. And Bob, I’m not certain you know what an
abatement application looks like! Because when you tell the police, “I receive all the abatement requests”,
I said to them, “That’s not abatement applications. Does he mean whatever the assessor put in the
packet?” And if you’re receiving them, then the public’s not receiving them, and I’ve asked for them. As a
matter of fact, it was a huge, big deal going through Legal during the pandemic to get copies of the
abatement requests. There had to be ten communications. With Legal really resisting providing the
information. Too busy. But if you were getting it, it would’ve been great, because it would’ve just come
to me in the packet.

“I mean, really, Dan, I think you shouldn’t be sitting here as a Chair when you lawyer up and you don’t
give direct information on issues that involve people’s property assessments and their abatements. You
just have no business sitting here. It’s offensive to me.

“Lastly, I wanted to talk to you about your minutes. I put together a lawsuit against the City on how
minutes and non-public minutes are handled. Right-to-know New Hampshire is helping me with it. And
it’s just an interesting case, because I happen to think you’re not as forthright with your minutes, and you
should be. Every time you approve a settlement agreement, I don’t know why in the past you would put
that out publicly. You would come out of non-public and announce a settlement agreement. That was
super helpful to me, sitting here, because I could track it. But what I realized is you were never consistent.
You would do some of them, and you didn’t do others; at the time you were doing that, I believed you
were doing it consistently for all settlements. Then, when I went to City Hall and reviewed the records, I
realized there were a bunch missed. So it was sort of a haphazard approach. Now, I came into City Hall
today, and went to the Clerk’s office, and said, “I wanna see the folder for 2020. I was in in July to look at
all the settlements. You’ve since done a bunch. I don’t know which ones you’ve done.” I’ve gotta go back
in there and have the Clerk’s office pull out the file so I can track which ones came through. And it’s a lot
of work for them, because every time I go in, they don’t seem to know what I’m talking about. And they
should be records for immediate inspection. They should be able to just hand me the folder. But I wouldn’t
go into the Clerk’s office to get that information if the motions were just unsealed and it was put on the
record. And to me, it’s so simple. The Department of Public Works unseals their minutes.”

Mr. Hansberry “One minute, Mrs. Ortolano.”

                                                                                                          231

                                                                                            NPD-LO-3929
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 232 of 424



Laurie Ortolano “They are the only department, is that because … what was my time limit?”

Mr. Hansberry “It was 15 minutes.”

Laurie Ortolano “Yeah, okay. So the Department of (Public) Work(s) unseals them, makes them available
to the public, and I think they’re the only agency that follows the true intent and spirit of 91A to release
information that should be publicly released. You manage, ya know, ten-billion dollars of valuation, abate
millions of dollars, seal them off, and make it very difficult for the public to obtain that. Thank you.”



Board of Public Works, August 27, 2021

https://www.youtube.com/watch?v=Ic55vpYFHLM

6:37

Laurie Ortolano “Laurie Ortolano, 41 Berkley Street. Just a couple of things. I attended the budget
hearing and the public hearings for allocating escrow money, and there are one, two, three, nine items
that have to do with DPW where money was transferred and allocated. One of them this gentleman that
just spoke was $56,000.00 to use to fund citywide playground improvements. I don't know if there's
some money in there for him on that. I just don't know. But one of my concerns I have is I don't
understand why all of this goes through the Budget Committee or a hearing through the Aldermen, and
it really hasn't been presented to the DPW. Disc Golf is on the agenda today. That's great. I don't know if
all the other things have been on the agenda, but it just appears like we operate backward. I mean, it
just doesn't seem like DPW should be the last stop on hearing the plans that have already been
approved, the money transfer, and the allocation by the Board of Alderman and the Budget Committee.
It just doesn't make any sense to me. Also, I attended your hearing on or your meeting on August 10
regarding the joint committee of infrastructure and the DPW Board for the building of the new office
facility, and frankly, I asked if there would be public input. I received an email from Tim Cummings
saying there would be. I didn't demand it. I didn't argue for it. If you don't want to have it it's certainly
your choice. These issues being decided on public comment seem to happen by an individual, I don't
think the Board, the group as a whole decided on it. When I came to give public comment I felt I was
very rudely interrupted by Chairman O'Brien at a minute and 55 seconds because I wasn't speaking to
items on the agenda. You put it first, and he very harshly let me know that you had 3 minutes and that's
it, and we're doing this as a favor to citizens. Don't do it as a favor if it's disingenuous. Don't give public
comment if you really don't want it. I was cut off at a minute and 55 seconds, I was gipped my last
minutes and 5 seconds because I was told I wasn't speaking to what's on the agenda. Do you remember
what your agenda looked like? There was no board packet. How could I possibly speak to these things
when I didn't even know what they were? CM contract. I didn't know what that was, and I don't
understand. So, I can't speak to an agenda that has no material that I can prepare for, to come in. Put
public comment at the end if that's the way you want it, so I can listen to what you're talking about.
Secondly, I don't think that the subcommittee of this working group is appropriate or necessary. It
seems like a way to splinter out the group to have decisions being made that are not brought to the full
joint group because there were significant motions. There was a motion to spend $15M instead of $10M
and it wasn't even on the agenda. So I could question that because I didn't know the motion existed. If
the subcommittee meets, and you discussed a motion to spend $15M and your subcommittee is there


                                                                                                           232

                                                                                             NPD-LO-3930
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 233 of 424



to recommend to the full joint committee what you're proposing, a $15M expenditure should have been
on the agenda, and should have been written out completely so citizens know. So, I really feel that the
way you operate is just so backward, and I can't track what's going on with money. It's very difficult.
Thank you. And I overextended my stay. Thank you.”



Work Study Group Relative to the Police Commissioners

Human Affairs Committee September 2, 2021

https://www.youtube.com/watch?v=sl8hNt44XfI&list=PLqQByMyIJNHIpujxIgRbAZjX7e4VCTBXq&inde
x=17

1:02:27

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Can you hear me okay? Okay. Just to move
through some items quickly. I do think there was definite confusion by some people who signed that
petition. I know I’ve been out talking to people and there are definitely people who regretted putting
their name on it and not understanding what they were…”

Chairwoman Kelly “The mic is not working. Could you state your name and start over please.”

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. People definitely were not aware of what they
were signing. Some of these individuals didn’t understand the ramifications of it and they definitely said
to me that they’re not voting for it and they regretted having their name on it. Really once you put your
name on a petition, you can’t really take it off. It’s there.

“Also I think exit polling is very important. We have a great opportunity. In eight weeks we’re going to
be at the polls voting. No matter what happens with this vote if it passes or it doesn’t, we have an
opportunity to have information on the table and collect, question people coming out, and let’s gather
data coming out of the polling because no matter what the committee is going to still work and try to
come up with a solution that we think is a united solution and that’s an opportunity. There could be
10,000 people come out of those polls.

“I love the idea of the ward meetings grouped together – 3 at a time. You don’t have time not to. I can
tell you the public is hungry. Those people who are concerned about this want a unified message.
They’re out there now and they’re not certain what exactly we should say and what we should put
together. What kind of signage we should have for the police. It would be nice if someone on this board
or a few people on this board could help direct that. There’s two functions here as I see it. There’s this
longer term study committee absolutely necessary and then we have this short eight week need of
trying to we’re either going to take a position to try and stop that vote from happening, or make people
more educated to make a more informed vote, or we’re going to just let it fly and say whatever happens
happens. I don’t think there’s enough people in the public that I think don’t want to just let it fly and
let’s see what happens. They want to participate in trying to educate people - handing out literature,
putting up signage, and trying to tell people what they think is important.

“As far as expanding – okay the Executive Council. I think it’s great to invite somebody from the
Executive Council but I can tell you the people that have been calling the Governor’s office, one

                                                                                                       233

                                                                                         NPD-LO-3931
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 234 of 424



individual in particular, talking to the assistant up there. You need somebody out of the Governor’s
office because the Governor’s office is making the nomination for the Executive Council and they’re
actually doing the screening. There’s a woman up there who has a lot of knowledge and I think the idea
of getting an Executive Councilor in here is great but I think the past Councilor would be interesting.
Deborah Pignatelli. Let’s get her back in because she picked the last Executive Councilor. What types of
concerns did she have? What was the vetting process like? She’s right here from Nashua and let’s pick
her brain and find out what’s going on and check with other Commissioners. It sounds like that’s going
to happen.

“As far as expanding the board goes, you know are the Commission. I’m not really in favor of that. Okay
you can do it but you can find qualified women or minorities to come join a three person board I think
without issue. There’s plenty of opportunity. Thank you.”



Board of Aldermen Tuesday, September 14, 2021

https://www.youtube.com/watch?v=kL16DXkjvPw

52:49 & 59:39*

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just a couple quick things. I know the Mayor had
spoken with you maybe some of you about the changes in the assessments that will be coming next year
in 2022. He indicated that he would have a meeting in September to brief the Board on what’s
happening with commercial properties and I think now is the time to do that. We’ve all been able to
read in the newspaper what’s happened up in Manchester with their new re-evaluation that came out –
5 year re-evaluation for 2021 and I think we’re in for you know a significant issue here next year, and I
think we should briefed on this and have a discussion, and the Board should be informed.

“I’d also like to talk to you about a situation that I feel needs to improve with our data handling and our
records in City Hall. I think that the legal office is created the situation where they’re showing some
pretty bad faith in how they’re handling Right-to-Know requests. Since they did a training seminar in
June, they’re no longer signing Right-to-Knows that are given back to citizens when they are complying
with requests for information. So unless it’s coming out of the legal office there’s a signature but all of
those Right-to-Knows that are coming out of administrative offices or departments are unsigned. That’s
creating some issues because in departments that have 6 agencies underneath them, you don’t know
who is actually responding. It’s really a show of bad faith.

“I want to let you know that I worked with a citizen who wanted to get access to minutes that were not
posted on line. Minutes June Caron spoke about this at a meeting. Minutes are your most basic record
to obtain. It should be very simple to get minutes. It really shouldn’t require five days. It took almost two
months and eight back and forth e-mails to try and get the city to provide the minutes to an agency that
weren’t properly posted. It wasn’t…”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “… clear that all the minutes were there. It’s ridiculous that citizens are fighting this hard
for records that should be basic public records. Clearly there’s a lot more training to do and we need to
get rid of that bad faith that’s being exhibited by this city. Thank you.”

                                                                                                          234

                                                                                            NPD-LO-3932
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 235 of 424



59:39* (assumed user error related to Zoom connection in this portion)

Alderman Jette: “…I’m not sure my analogy is correct but it’s what I think of when I look at how when
people say well the taxpayer have already paid this money so it’s better for us to spend it rather than…”

*Laurie Ortolano “Hi my name is Laurie Ortolano. I called earlier today to see if I could line up a reporter
(to do a deposition…)”

Alderman Jette “I don’t know if Ms. Ortolano was calling me or…so I’ll end there. Thank you.”



Board of Aldermen Thursday, September 16, 2021

https://www.youtube.com/watch?v=hIDn1m8jt04

46:58

Laurie Ortolano “Good evening. Laurie Ortolano, 41 Berkeley Street. A couple of things. The Police
Commission size as a group of three I don’t think should be changed. It’s efficient. This Board heard the
Board of Health talk about how important it was for them to stay as a unit of three because they were
nimble, they worked well together, and they were efficient. A board of three as Police Commissioners is
just fine and there is room on that board if there are other people who want to get involved. Diversity
you want to include it, that’s fine. It happens when it happens. You don’t roll these seats over
frequently. That’s a given fact and three members on that commission I think the Police Commissioners
should hold firm and the board members too to say that is a board that is sized appropriately to do the
business for the city.

“Also, vetting this required so much more care. It wasn’t an open process. It happened very quickly. It
was one sided. There wasn’t the debate that needed to be had. There were questions asked. The
petitioners who wrote this said hey we’re going to run around, gather all those signatures, and then
we’re going to allow the public to ask questions after. The debate starts after it gets on the ballot. I
asked questions to Trish Klee and others why was it not considered to allow citizens to vote on this
rather than having the Mayor appoint. I never received an answer. It just seems to be that well that’s
the only option that’s exists. That’s the one we brought forth and that’s what you get to vote on. That’s
not open discussion and I don’t think it needs to change at all. I think it’s just fine the way it is. I think
you’re Charter change that needs to be look at is whether you need a city manager. Start looking there
at a bigger picture on how you manage your money not how your Police Commission is set up.

“As far as putting women on a board because you need diversity, the kind of diversity you need in the
city right now is the diversity of our minds. This is a very closed minded chamber typically and this
Mayor is very narrow minded. He does not respect the broad opinions of other people and in many
instance some of them are women.”

Alderman O’Brien “Thirty seconds.”

Laurie Ortolano “Now as far as open seats, I applied for a seat on the Board of Assessors. I was never
considered. Not only was I not considered, I never even received a letter to let me know that I wasn’t
qualified. Is this how our Mayor is going to treat candidates who apply? Unacceptable to me. This


                                                                                                           235

                                                                                             NPD-LO-3933
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 236 of 424



needed to be vetted. Everyone should vote no and let this be worked out the way it should be through
open communication and dialog. Thank you.”



Board o Public Works, September 23, 2021

https://www.youtube.com/watch?v=n-iTQDFISi8

6:00

Laurie Ortolano “Laurie Ortolano, 41 Berkley Street. I think I can stick to my 3 minutes. A couple of
things. At the last board meeting, it was mentioned by Director Fauteux at the end regarding costing,
that there was some work done on a utility pole, a sidewalk, and tree removal, or tree replacement due
to the Performing Arts Center. My question is does that come out of the Performing Arts Center budget,
or does that come out of Public Works, and maybe it doesn't come out of Performing Arts because of
the way Performing Arts is bonded with the facility? However, I'd like to know with the finances, is that
cost tracked such that a citizen would be able to see that reflected in the total cost for the Performing
Arts Center package? Secondly, your package today has a nice proposal done by a superintendent or a
DPW staff member regarding resurfacing the Ledge Street courts to turn them into a street hockey
facility, and it looks like there was a lot of detail put in there, and the gentleman made a
recommendation not to proceed with that resurfacing and redesign because the cost came to
$85,000.00. I'd like to point out that when the disc golf was presented a month ago, that type of analysis
was never presented; and I have to tell you, I'm sorry that Ms. Pappas' motion, and I know that Ms.
Schoneman wasn't here did not pass to go and walk the area. I for one can't see in the design how many
acres that 18-hole golf course takes up.

“Also, if you need to create more parking space, parking can cost you $50,000.00 to $250,000.00. If you
have tree work to do there's a cost associated with that. If you have to move a walking path, there's a
cost associated with that. And none of that was costed out, and I think it's perfectly acceptable that
citizens come forward and present their ideas to this Board on what they're interested in.

“You should always be opened minded, you should always welcome that kind of discussion, but I just
don’t' feel that the analysis and the plan put forth was complete enough to make a vote to say, let's
spend $30,000.00 because it would easily look to me like it could be a project that cost $300,000.00.
And also, we're very landlocked and real estate limited, Roby Park is a beautiful park. I'm just not certain
if the disc golf space and real estate would constitute a usage that would be good for the City, in the
long run when it came to activities for kids and families. It's just a thought. I don't know. But I don't think
there was enough rich discussion on this to speak to it.

“Finally, I noticed there's a gentleman running for Public Works that's also a Greater American
Downtown individual who made a request to the Department of Public Works regarding some street
work that was done and received what looks like a pretty prompt response on what was going on. I'd
just like to point out that you know I'm all about equal access to information and responses. Some of us
have to fight through right-to-knows and long delays to get information, and others get stuff handed to
them very rapidly, and you know my platform has always been equal access to information, and I hope
this Board would embrace that, and I hope as a Board that you all want to see that happen for
everything that goes on here at your board table. Thank you.”

                                                                                                           236

                                                                                             NPD-LO-3934
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 237 of 424




Board of Aldermen Tuesday, September 28, 2021

https://www.youtube.com/watch?v=ZXuKsHcixQY

1:09:22

Laurie Ortolano “There was no sign up sheet back there. Was there?”

President Wilshire “Yeah, there was.”

Laurie Ortolano “Well I came in and there was no sheet. Nobody came and picked it up.”

President Wilshire “Yeah they did”

Laurie Ortolano “Could I ask for public comment?”

President Wilshire “You'll get three minutes. Go ahead”

Laurie Ortolano “Thank you. I'm rather disappointed by the letter that was just…”

Alderman Caron “Name and address please.”

Laurie Ortolano “Laurie Orlando – 41 Berkeley Street. I'm rather disappointed by the letter that was just
read into the record by Ms. Kleiner and I feel the need to comment to it because I didn't know that this
letter had been produced. It really shows a lack of sophistication on the part of some people in this
administration, especially leadership people to summarize a public letter or a citizen’s letter like that in
that manner saving several untruths she said. This city isn't capable of recognizing that citizens carry
different opinions. It's not that it's an untruth. It's a perspective. It's an opinion and when Ms. Kleiner
talks about the changes in that office just so you know, I was unaware that those people had left. I've
had difficulty recently just asking for an updated report that I waited three weeks for because I didn't
know you only had one clerical staff member in there. Now, it would be nice if the administration would
tell citizens that you're short staffed. Let us know.

“You had the same problem in the Clerk's Office. We don't know that the line is eight people long
because you only had two clerks in the office. Tell us. So that's one issue. When your staffing is down
and you don't have the citizens, you don't speak to it. The fourth paragraph of this, “the difficulty arose
with the constant unsubstantiated criticisms raised by a select group”. I think my criticisms were very
substantiated. A court ruled in my favor on my property appeal and for the life of me I don't know why
those assessors weren't sophisticated enough in this Legal office to recognize that that property was
incorrectly assessed, grossly incorrectly assessed. Had this city addressed my concerns differently from
the beginning, had somebody opened the door and said Mrs. Ortolano come on in, sit down, and we'll
talk to you instead of slamming them in my face, pushing me away, and reading e-mails about how my
brain doesn't work right because I'm an engineer and I can't understand assessing. It's insulting and
that's the quality of the people you had in Assessing. I didn't enjoy that.

“With regard to articles or newspapers in social media…”

Donna Graham, Legislative Affairs Manager “30 seconds.”



                                                                                                        237

                                                                                           NPD-LO-3935
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 238 of 424



Laurie Ortolano “…you were the people who put me on the front page of the Telegraph for wasting
money. Ridiculous. That was a poor move. With regard to following people outside of the workplace,
well that obviously didn't bother the employee because that's the one who stayed who's here now. So
you know, this is such an inaccurate - it just reflects perfectly on what is wrong with this city and I would
ask citizens get out and vote and replace these Aldermen in this chamber.”

Donna Graham, Legislative Affairs Manager “Time is up.”

President Wilshire “Times up.”

Laurie Ortolano “Time to move on. Thank you.”



Board of Assessors October 7, 2021

https://www.youtube.com/watch?v=pj88TiFxj-Y

8:35

Mrs. Laurie Ortolano of 41 Berkeley Street spoke and expressed concerns regarding the ongoing
revaluation and how it will impact residential vs. commercial taxpayers.

The following was transcribed by E. Vassar on Monday, March 18, 2024, from video

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’d like to get some more detailed information
from Vision. The Mayor announced at the coffee in July that he was aware, had communications with
Vision that there would be a shift onto residential properties with these assessments, and ultimately,
the tax burden, because of the drop in commercial property values due to the pandemic. Vision has
collected a year-and-a-half of commercial data and six months of the one-year data they’re gonna use to
create the model for next April 1st. So the Mayor had told me in the meeting when I addressed him
privately that he would have an open discussion with the Board, both you and the Board of Aldermen,
regarding this shift in the valuations in September. I didn’t put in a Right-to-Know for the information
regarding any communications because I said, “I’ll give you till September”, it was July at that point. In
September’s Board of Aldermen meeting last week, he announced – that… he did not, I believe the
Board Chair did – announced that they would not discuss it till November 15th, after the political race
and after the tax bills are mailed out. I don’t agree with that type of transparency. It’s politics. It’s not
transparent for the public. And I have some real concerns and issues. I have talked to a lot of senior
citizens who are very, very concerned about what’s coming down, and what they’re paying right now for
property taxes. And the one thing this city hasn’t done is really control spending, they continue to
spend, and if we have this shift onto residential properties, they’re gonna get hit. And we also know that
many of these assessments are wrong, because we didn’t handle the depreciation right. I have a home
in my neighborhood, walking-distance, that is assessed for three-sixty and sold for six-fifty. That’s not
because the market’s running high. That’s because the three-sixty assessment done by KRT was not the
correct assessment in 2018. That house hasn’t gone up sixty or seventy percent for an old home. It was
one of those homes that was never done correctly. It had two additions, and depreciation was never
handled correctly. So I would like to have a candid talk, and I would like it to start at the Board of
Assessors’ level, because I think it should happen here with you with Vision. I would like to know what
they’re seeing with these commercial properties.

                                                                                                         238

                                                                                           NPD-LO-3936
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 239 of 424



“I’m also concerned that we’re gonna continue to see a drop in commercial properties. There’s some
really big issues with shipping in this country right now. And anyone in commercial business or anyone
that is involved in receiving inventory is in a lockout, really, because of the stack of cargo ships that are
laying in ports because they don’t have the workers to unload them. And I know it effects many, many
businesses. So we’re gonna continue to see commercial properties hit like this.

“I can see from the data that the entry rate is about 6% right now. When we first started this, the Mayor
said it was gonna be forty: we could expect 40% to open their doors. I said it, Bob Gagne said, probably
closer to five. We’re at six. We got a little more time, let’s see what happens. I have to go back and look
at the data from Vision on how they’ve tracked their entry rate. Yes, the pandemic impacted it, but they
opened up to do internal inspections four months ago. What’s going on there? How many people are
calling? How many people are lining up? I think they’re really trying to get into the homes with the sales
data, which is excellent, because they gotta build a model off of that.

“So I think there’s a lot more we can do for transparency on this issue. I think the Board should be asking
more questions of Vision, asking more about the skew that they’re seeing between commercial and
residential properties. This happened in Nashua where there was a shift in 1992, and it was a very, very
difficult time for citizens. And I feel we’re not being candid about this. I try to put the word out, but I
think the elected body should be doing it. So it’s disappointing that I have to wait six months, a mayor
has had conversations with Vision, and is able to keep those confidential for six or eight months before
he informs the public of what’s going on – after an election and after a tax bill comes out. That just
doesn’t work for me. Our assessments are not a political game. And they shouldn’t be to any of you
sitting here. You don’t serve the Mayor. Your serve us, and the interests of us. And I feel you’re not
doing that. Thank you.”



Board of Aldermen Tuesday, October 12, 2021

https://www.youtube.com/watch?v=lUYgCnIx0qo

17:53

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I'd like to address the minutes that you approved
tonight and the statements made by Attorney Bolton at the end of the meeting on September 28. I take
exception with his analysis or discussion regarding the abatement and the property appeal that was won
up at the BTLA. He said the Legal Department, myself met with her and her attorney and she basically
adopted the position that she would not compromise, and that she would not settle for the exact
amount, and that she would only settle for the exact amount that she claimed her assessment should
be. This is wholly untrue.

“Attorney Bolton knows that when we met that the city offered no value at all. They made no attempt
to provide a number. On the record during the abatement with the Board of Assessors, I asked them if
they would accept 592, take a KRT number for the sales value, and reduce it by the ratio of 94.8% and
the Board said no. The Board of Tax and Land Appeals - Bolton says the Board of Tax and Land Appeals
came in slightly less than the middle. This is a graph or diagram that shows the property assessment.
The city asked for 2019 that the property of a market value of $800,000. I asked through my appraiser
they came up with $598,000. The BTLA awarded $650,000 and when you apply the ratio, the city

                                                                                                           239

                                                                                             NPD-LO-3937
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 240 of 424



wanted the assessment to be $710,400. My appraiser had it set for $531,000 and the BTLA gave
$577,000. I asked for $592,000. When Attorney Bolton says as many as many times this is not a win for
either side. This was a huge win for me. It was more than I really wanted. So I was very happy that I
could get 2019 applied because if they had settled with me on the 2018 number, I would have never
gotten the 2019 value. So to me this was a huge win and when Attorney Bolton says that the BTLA came
in the middle, they were looking for a substantially higher number.

“I would like and I'm going to submit to the record the 18 page decision from the Board of Tax and Land
Appeal. The city appraiser used two sales that will really illegal use…”

Donna Graham, Legislative Affairs Manager “Thirty seconds.”

Laurie Ortolano “…and I knew it. Mr. Gardner - the Board found merit in the taxpayer’s criticism of using
her own property to create an assessment. Additionally, the BTLA said the use of 51 Berkeley Street was
wrong. It was more than double the size. The lot was 2.14 acres compared to a third and that property
had sold for $1.15 million. In light of these substantial differences, Mr. Gardner's testimony regarding
the reasons why…”

Donna Graham, Legislative Affairs Manager “Your time is up.”

Laurie Ortolano “…selected this property as the sale comparison was not credible. I want the facts on
the record…”

President Wilshire “Your time is up.”

Laurie Ortolano “Can I submit this?”

President Wilshire “You can submit it. Yes. You can hand it to Alderman Tencza and he’ll make sure we
get it. Thank you.”

Laurie Ortolano “Thank you.”

1:07:26

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. The September 28 meeting was very disappointing
for me because this Board does not follow Mason's Rules. Over and over again, I have watched
Alderpeople – Aldermen and Alderwomen get interrupted and cut off by Attorney Bolton when he
becomes inflamed by something that doesn't agree with him. In the 2016 letter that my neighbor just
referenced, it said Bolton's tenure on the Board was marked by criticism for what some described as his
autocratic leadership style. Further in the article, it says Donchess described declined to address the
criticisms of Bolton's temperament while Aldermen but noted that the City Attorney would not be
involved in any as an elected board member. It's a totally different role for him as City Attorney. He is
not a legislator or an advocate for anything, but simply represents the city's interest.

“All too often, I think Attorney Bolton takes the floor away from the body that's here. I went out and I've
done plenty of door knocking and not long ago, President Wilshire, you stated that the citizens deserve
better. I can tell you this week door knocking I had people comment about that meeting on the 28th and
said we deserve better, and this chamber needs to change. It's just not right what's going on here.
Citizens are knocked down. Elected officials are knocked down by this unruly belligerence that's allowed
to exist in this chamber. It needs to stop and I hope this election brings some of that about.

                                                                                                       240

                                                                                         NPD-LO-3938
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 241 of 424



“I'm very concerned about the is representations Attorney Bolton stated about my legal case. He gets
the floor for an extended period of time. I have a timer that runs for three minutes and cuts me off. I
don't know why you don't ask him to submit on the record something in writing so we're all able to see
it. I think he missed there's been 110 filings on my Right-to-Know case. Utterly absurd for him to
characterize that every motion for summary judgment was I lost was actually wrong.”

Donna Graham, Legislative Affairs Manager “Thirty seconds.”

Laurie Ortolano “There were a number of summary judgments submitted that Judge Temple simply said
take them into the trial to be decided. They weren't judged against or for. They were just requested to
be brought into the court. So it's just very disappointing to see how the city operates against its citizens
and this elected body is just not doing the job it should do for us. Thank you.”



Work Study Group Relative to the Police Commissioners

Human Affairs Committee, October 7, 2021

https://www.youtube.com/watch?v=sUD3cU0xYFo&list=PLqQByMyIJNHIpujxIgRbAZjX7e4VCTBXq&in
dex=27

10:39

Laurie Ortolano “Hi, Laurie Ortolano, 41 Berkeley Street. Now I know I rolled in five minutes late so I'm
not certain if the discussion is done already on 1, 4, 5, and 6.”

Chairwoman Kelly “Nope, that's what we're on right now and you may just want to make sure you're
pointed at the mic.”

Laurie Ortolano “Okay perfectly fine. So public comment was below it so I was confused. You know, I
too, would like to make certain that the group stays focused on its mission and what was discussed in
the first meeting regarding gathering information from other communities and, you know, looking at
what would be the best option for Nashua. But I also have a recommendation because I've done a lot of
footwork over the last couple of weeks out in the community. I think those Aldermen that voted to table
this initiative for whatever reasons you had, it would be helpful if you group together and wrote a letter
that could be publicized as a Letter to the Editor or posted on Facebook that explains your position for
wishing to table it. Because I think there's a lot of people out there that do not know that the Aldermen
voted to table it, or that this was a split decision. I can assure you, they absolutely do not know and the
word is not out there.

“So I think it's very important to be clear and to be clear with the public what your position is. I mean I
went to City Hall today to look at those petition verification sheets to see who verified those signatures
and the Mayor personally verified 800 of those signatures out of the 2000. He's motivated. He's also still
going door to door and today as I talked to residents on one street, a group of them had received a
phone call from him on this issue just recently. So he's calling, he's going door to door still, and he, you
know, gathered, witnessed 800 of these signatures. So there's a lot of motivation there on his part
certainly to see this change happen. So I think I want to see the Aldermen who recommended tabling it



                                                                                                        241

                                                                                           NPD-LO-3939
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 242 of 424



for study be as motivated to pull together information to sign a group letter and put it out there very
publicly as to why you voted to table it. Thank you.”



Work Study Group Relative to the Police Commissioners

Human Affairs Committee, October 18, 2021

https://www.youtube.com/watch?v=ApkF1qLuMZo&list=PLqQByMyIJNHIpujxIgRbAZjX7e4VCTBXq&i
ndex=31

5:28

Laurie Ortolano “Laurie Orlando – 41 Berkeley Street. I just have a quick question on format tonight. This
is public comment and then there's a discussion involving all the wards. Is that where people can
comment as well? I'm just confused on the format.”

Chairwoman Kelly “So we're running this as public comment with three minutes each person. If you
have questions, your Ward Aldermen can pull them up when we bring the rest of the people to the table
to talk.”

Laurie Ortolano “So there will be a question period?”

Chairwoman Kelly “There will be a question period within this horseshoe, yes.”

Laurie Ortolano “Okay but right now this is just three minutes?”

Chairwoman Kelly “Yes please.”

Laurie Ortolano “Okay, so…”

Chairwoman Kelly “Can you just speak right into the mic so we can hear you clearly? Thank you.”

Laurie Ortolano “Sure. I don't have anything formally written but I've been out and I've not done a lot of
doors. What I've learned from this experience is that the gut feel of this Board and those who voted
against it to request that it be tabled or not brought to the ballot, I think was spot on. The voters out
there have no clue what this is about. It's very hard to lead an education campaign when newspaper
publications are so limited and the pandemic took its toll on linking people together and getting us out
and we still live in this quasi pandemic mode. I think it was a big mistake to see this go on the ballot.

“I'm disappointed with the lack of leadership provided by those who voted against it in the chamber to
step up and actively campaign and help educate those out in the public on this issue. There seems to be
too small a group trying to do that and there's not enough time to do that. By the time this was put on
the ballot, we only had months to work an education campaign and as you can see from the turnout at
your last meeting for Wards 1, 4, 5, and 6, there weren't many people there. I've been a pretty big critic
of city government and I've been accused of being the cause of people leaving the city workers. I don't
really think that's the case and my criticisms have been very focused on the leadership of this city. I
think we have major leadership issues. Our leaders aren't doing the right things to unite this community
and for the greater good of this community and that needs to stop. So I'll have questions as we proceed.
Thank you for the time.”

                                                                                                          242

                                                                                         NPD-LO-3940
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 243 of 424



1:51:08

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just want to comment regarding the hurrying of
the process. I think that was a real issue here and I think there was a lot of political motivation in
bringing forth this Charter change the way it was brought forth. I don't think proper policy was followed
or practice in the past. I don't know why Mayor Donchess and Attorney Bolton told the Board that this
was the process that was followed and that deeply concerns me. Alderwoman Klee’s comments about
the political climate in Concord also really concerns me because I think we have quite a challenging
political climate right here in Nashua and we should focus on it locally.

“You know one of the things and problems I do see is I don't like to see aldermen or alderwomen who
serve in Concord sitting in this circle because their influence on what they see in Concord is driving too
many decisions locally and I don't think they're balanced. So I think we have plenty of political problems
right here in this city and I am less worried about Concord and more worried about Nashua.

“As far as committee appointments down here, our process for appointing to committees, and vetting it,
and allowing the public to know how these citizens get appointed and what their backgrounds on is not
existent. The case in point was the Board of Assessors. I applied. The Mayor never acknowledged my
application. Truthfully looking back at it, I think I was qualified for that job. I was a woman. I could have
done that job well with my engineering background, I was worthy of a response from the city and I got
nothing. Not at all and with multiple phone calls and resends on the application, there was still no
acknowledgement. So I know how this Mayor plays the game and he does play a game and I don't want
that game played with commissioners.

“Regarding hiring practices that the former Chief just spoke about, I think he said that poor hiring
practices was what results in lawsuits and litigation that he was party to when he was listening to other
departments as he was traveling. I couldn't agree with him more and I think the hiring practices of the
Nashua Police Department are standards that are hard to come by in any other department. There's a
level and an excellence there that's unprecedented. When you look at the hiring practices in City Hall, I
don't think you could go much lower. So there's a stark contrast there. Who you know matters and the
less you know, the higher you go and that's why we have so many problems in City Hall. We promote
Directors and Managers that have no resumes to support it, put them in charge of six or eight
departments, say hey they can work 80 hours a week. They're awesome…”

Chairwoman Kelly “Your time is up.”

Laurie Ortolano “…and they're not doing it. I don't want a Mayor who operates under those hiring
practices to hire or be part of the hiring process for Commissioners. Thank you.”



Work Study Group Relative to the Police Commissioners

Human Affairs Committee, October 21, 2021

https://www.youtube.com/watch?v=9m1rbWiwYE4&list=PLqQByMyIJNHIpujxIgRbAZjX7e4VCTBXq&i
ndex=32

2:04

                                                                                                         243

                                                                                           NPD-LO-3941
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 244 of 424



Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just want to address this Work Group on my
concerns with the partisan nature of this issue. You know this was supposed to be a non-partisan issue
and I’ve discovered it’s very partisan and the individual making it partisan, in my opinion, is the Mayor in
the way he’s handled this. I feel the 8 Aldermen who voted against it haven’t stepped up to participate
in the process of educating the public on why you voted against it and why you said no. I’m tired of
looking at an elected body that feels like they have to kiss the ring of this Mayor. It’s not serving the city
well. I’d like to show you a graph of our city. This is our representative city as of 2020 last year – 43%
were registered or affiliated independent; 23% Republican; and 34 1/2 % Democratic but our aldermanic
chamber consists of 9 wards and 6 at-large that are 100% Democratic. That process has failed us
because it’s not representative of the city. The School Board is a little better but not much. Twenty-one
of the 24 elected seats are a single party and we are diverse.

“I am so disappointed with Shoshanna Kelly and the leadership role she has shown on this group. She
won’t step up and participate in speaking against this. You left it to citizens and other people running
who hung their campaigns on this issue to represent it. You as elected officials didn’t lift a finger and I
expect much more. So I hope in another week when citizens come out to vote they change the colors of
this chamber and the diversity we start to experience is the diversity of our affiliations and our thoughts
because I think it’s so important in our representation. As a woman who participates in government who
held a technical background, I expect more from some of these leadership women because is a spine is a
terrible thing to waste. Stand up and use your voice.”

1:55:23

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. You know we started this process off and when
this Petition came forward, I was told as a citizen we'd be able to ask questions and get answers before
we had to vote on it. I’m remiss to understand what questions and answers we've been able to ask. I
came to two ward meetings and you didn't allow questions. I don't even understand that. It's nice that
you get to ask questions but since the citizens have to vote on it, we should be able to ask questions.
When I send e-mails, particularly to the Aldermen who made the vote, I don't even get a response back
nor do other citizens. So everyone in my opinion has been irresponsible with this from the elected body.
Miss Klee and Miss Newman really disturbed me in their comments about, you know, this should just go
on the ballot and let the people vote. Miss Klee didn't have anything to do with it. She just kicked the
process off. It was completely irresponsible. Once she kicked it off did she pull back and say, whoa wait a
minute, this is way too involved? I shouldn't back this. Nope, she let it roll and got right on board and all
of it seems to be based on fear of what's going on in Concord. This very political partisan environment
up there. You know, she explained that as a Democrat, she hasn't been able to get through to the
Governor's office.

“Well as a citizen in a nonpartisan city in three years, I've never gotten through the Mayor's office.
That's interesting. Let's worry about the partisan politics we have going on down here and I'm not the
only citizen. We have an autocratic, vindictive Mayor. I did not vote for him the last time and I would
never vote for him again. He needs to move on and he has taken a position to do something with this
Police Department. It's completely irresponsible. It's just ridiculous. I received the text today and there's
a small group of us going out working very hard at getting information out. One of the people doing
footwork today said lots of good conversations today with people doing yard work. They really don't
know what's going on with the police. Kind of scary. Yup, that's what I had found.

                                                                                                          244

                                                                                            NPD-LO-3942
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 245 of 424



“And what really disturbs me as well is when I see an e-mail in a very nonpartisan city that is a nice
picture of the Mayor and the candidates on the steps. Let's keep working for a better city. Vote for your
Democratic team on Tuesday, November 2.”

Donna Graham, Clerk “Thirty seconds.”

Laurie Ortolano “Jim and Vicki Donchess. Let's all of us get a black permanent marker out and put an X
through every one of these faces and make certain we do not vote for these candidates on November 2
because this is far too partisan, and it needs to stop, and it starts with the Mayor. He takes your voices
away and you as Aldermen are kissing his ring too much. Thank you.”



Board of Aldermen Tuesday, October 26, 2021

https://www.youtube.com/watch?v=pcVaDTRpFFo

30:49

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I want to thank the Board of Aldermen members
who brought forth the Letter to the Editor or the OP ad that was published in The Telegraph and Union
Leader for the no vote for the Charter change for the Police Commission. I think that was appreciated by
many of us and it's helpful in providing further education to the community.

“Secondly, I'd like to address I'd like the Board of Aldermen to maybe take an interest in looking at
employee turnover in the city. I find found out that there is no tracking of turnover for employees in any
of the departments and I think it's important to know the health of your workforce and why they're
going. We did have a letter read into the record a few meetings ago that attributed turnover in some
areas to a group of citizens being too, you know, harsh or direct and trying to understand what was
going on. I don't think that can really be validated and I think your process for exit interviewing needs to
be reviewed because I don't think the department head who the employees work for should be
conducting the exit interview. I think it should be done somewhere else. I can tell you, if you recall,
when the Police Department investigated the Assessing office and they interviewed staff. If you look at
those interviews, there were three or four staff members that said and expressed in those interviews
that they didn't agree with the removal of a Chief and they felt that a Chief had to be brought back. But
that had not been raised at that point by the administration because I don't think they felt comfortable
telling the boss who made the decision to remove them to bring that individual back. So I'm not certain
what free dialog you get and if people are leaving or moving on to jobs that are staying in the field
within their field, they may not freely talk about why they exited from a city job. So I think it's important
for us to understand that and to gather that information from all departments in the city and assess the
health of our city government in our departments. I would encourage you to start asking for those types
of reports and tracking what's happening within the city. Thank you.”



Board of Aldermen Tuesday, November 9, 2021

https://www.youtube.com/watch?v=xTomBHzm998

1:15:55

                                                                                                         245

                                                                                           NPD-LO-3943
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 246 of 424



Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Good evening. A couple of things. I listened to the
sick leave policy that you adopted tonight or as an incentive to get people vaccinated and I'm just
curious to know if that's a violation of any of the union contracts to specify that they can't use their sick
leave if they catch COVID and are not vaccinated. Also, I think it would have been good if the city had
recognized another thing and that is if an employee has a letter from a doctor that says they've had
COVID, that that would be recognized as well. So if they had natural immunity, it would be recognized
and they would be able to use their sick leave if they caught it a second time. I think that's reasonable. I
don't know why we don't give any credit to natural immunity because they do if you go into Europe
now. You can get into a country with a vaccine card or a note from a doctor that you've had COVID.

“Also, I think the bonding for the DPW facility, I'd like you to pay attention to that because it looks like
we're approving money that’s going to the Budget Committee that now takes the project up over $17
million. I have followed along with that project and what I heard was approved was 15. There's another
couple million that got slipped in there and I'd like to understand why that happened or what that
money is used for and I'll pay attention to that when it goes to the budget meeting.

“Also, I believe the next meeting you're going to have a discussion about assessments. I think it was due
on the agenda for the second meeting of November and to talk about the shift between commercial and
residential properties to try and give us an idea of what's going to happen next year. I would also ask the
Board to pay attention to looking at the elderly exemption ahead of time and not wait until next year
like we did the last time. Our property increases on average were about 23% but this year coming up in
the following year, I think you're going to see increases that are closer to 40 - 45% and that will be
devastating for those folks who are receiving the exemption. They're not going to be able to hold on if
you can only cover for 50% of it like you did the last time. So I think that's really important.

“Anyway, there was one other thing but I didn't write it down and it slipped my mind and there's still 30
seconds left so I'm yielding it back to you. Thank you.”



PERSONNEL/ADMINISTRATIVE AFFAIRS COMMITTEE NOVEMBER 15, 2021

https://www.youtube.com/watch?v=RhUpMDWYQqc

2:18

Laurie Ortolano, “Laurie Ortolano, 41 Berkeley Street. I'm only speaking first because I don't know what
this discussion is going to be like. I would like to know how the hiring process worked for this position.
The recruiting process - does the city use any type of outside recruiting agency to try and attract
candidates to the job? And the reason I'm asking that is because I think CFO Griffin is highly qualified for
what he does. He does a terrific job. I think he knows our budget inside and out every line item. But I do
become concerned when we expand somebody's responsibilities and they have to wear more hats than
they do. And I think we I think we all know what we saw when, CFO Griffin had to carry, you know,
Assessing on top of Finance. It turned out to be a big task that was too difficult to cover and my only
concern is when we take the CFO and we put them in the Treasurer or Tax Collectors role, that we're
doing the same thing. We're splitting him and diluting him down where you can't be as successful as you
should be.


                                                                                                          246

                                                                                            NPD-LO-3944
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 247 of 424



“Our city is the fourth best city in the country, supposedly in this rating system and I'd like to try and
understand why we have so much trouble recruiting. You know that I've talked to you all about people
leaving and how important it is. I think to understand attrition and why people leave the city and I
haven't had anyone respond to me that they're interested in looking into that or given any information
from the administration that they're doing anything about it. But I feel strongly that the Board and the
public should understand turnover and what's going on with turnover. But equally important is the
recruitment of people to come into jobs for the city. If we're this terrific city, we should understand why
it's difficult to recruit and find people. And I will tell you, I'm a big proponent of fresh eyes and feet
coming into jobs here because you get the perspective of somebody new, looking at material, and
potentially pointing out things that might need to change or need improvements that get overlooked by
those who stay within the system and are trained within the system.

“And so right now, we have the Administrative Services Director who’s an inside person who covers like
eight departments. That's one set of eyes but that's also very much an appointment picked by the
Mayor period. Not really outside recruited with any, you know, fresh perspective and now we're taking
the Treasurer and Tax Collector’s role and we're putting him in underneath the CFO and that becomes
their role and, again, it's the same people. And I think we miss an opportunity to understand how our
government works and improve it really openly by recruiting in…”

Alderman O’Brien “Thirty seconds.”

Laurie Ortolano “…new people. Thank you.”

46:40

Laurie Ortolano “Hi, Laurie Orlando, 41 Berkeley Street. Just a couple things. I do really appreciate what
John Griffin does for us and Dave Fredette. Losing Dave Fredette is a big loss because you have
somebody who comes in early in the morning, suit on, works his day, comes in Saturdays, and when you
look at the customer service in his area, it's pretty outstanding. So we've been very fortunate. And as I
said in my first public comment, I think John Griffin does an excellent job with our finances, our line
items, and knowing exactly where we stand.

“But I do have reservations and I was disappointed in the Mayor's talk about this position because I
think when he summarizes it that we really can't find anyone, we're much better working, you know,
taking somebody from within because we haven't had any good luck hiring on the outside. I don't really
know what he's referring to. I don't know that we've really tried to hire on the outside since he's been
there. We hired John Griffin 10 years ago and we had a really good hire. It worked. Now the Mayor's
been here six years, can't we hire from the outside and have it work?

“You know this is not an age discrimination thing but our workforce is getting older and, you know, I
don't think John Griffin will be with us forever. And the one nice thing about hiring into the position is
you might get somebody that can be trained with the knowledge that John Griffin had so that when he
retires there's somebody there who has that. When you put the same hat or make him wear the same
hats that have been worn by the people approaching retirement age, you lose the opportunity to spread
the knowledge. And when the Mayor says we promote from within and it works great, in Assessing we
had nobody to promote from within because we really didn't have staff assessors that really wanted to
be certified as supervisors. So there was nobody to take over when Angelo Marino left. And the Clerk's


                                                                                                       247

                                                                                          NPD-LO-3945
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 248 of 424



Office, we had nobody to promote from within. We took the clerk to the Board of Aldermen and made
her the Clerk of the city. That's quite different. When we formed an Administrative Services
Department, we didn't have a Maureen Lemieux with a Master's Degree and a finance background. We
took the Chief of Staff to the Mayor. That's quite different.

“So you know, I think there is some benefit in hiring from outside. Your question was never really
answered by the Mayor Alderman O'Brien on how many people and candidates they looked at. Elizabeth
Lu had to pull that out but I think we should spread our training more and look for people to come into
the city. Thank you.”



Board of Assessors November 18, 2021

https://www.youtube.com/watch?v=_JcZkqtE-Ws

10:20

Ms. Laurie Ortolano, 41 Berkeley Street—Ms. Ortolano requested that the policy manual be updated to
state that the Board of Assessors do not review abatement applications.

The following was transcribed by E. Vassar on Monday, March 18, 2024 from video

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple things. I’m requesting that the Board
make a change to the policy manual regarding the handling of abatements, and place in there just an
item that states that the Board of Assessors does not review abatement applications, but the Board,
upon request, can receive applications to review if you so choose. And I’m asking you to do that because
the police finally finished the investigation on this matter, and I think the entire thing was ridiculously
handled. I was invited by the DRA up to a meeting by the ASB yesterday, a public meeting to talk about
this, because they viewed it as so ridiculous. Ya know, I came to the Board eighteen months ago, and
asked the basic question, ‘Does the Board review abatement applications?’ No one would answer me. I
believe I went to the Legal office and got rejected because it was a question to be answered by – not
requiring an answer under RSA 91-A, because questions don’t have to be answered. I just wanted to
understand if my interpretation of the State statute for boards to review abatement applications was
clear. And I couldn’t get an answer. So I then went to the BTLA, and they requested – they actually took
the case – and requested that Attorney Bolton respond. Attorney Bolton’s response never stated
whether the Board reviewed the application. He danced around the issue completely, and he just
ignored answering the question. The BTLA did not take I further, the DRA said to me, “We don’t think
the state – your city – is doing it correctly, that we would look into it – we might look into it…”, they
couldn’t guarantee it. I had back-and-forth communications with Peter Rothe on this. He sent me
emails, looked at my write-up, thought I did a good job: good on interpretation, reasonable issue, and
then the DRA didn’t take it, so I went to the police department and asked them to investigate a
misdemeanor charge. You, Dan, withdrew yourself from that under legal advisement, which I personally
think you should be removed from this Board for doing that; a simple statement like trying to find out
whether abatement applications are reviewed. The police come out with a report eight months later,
and never asked the question to the Board of Assessor members who chose to participate, Bob Earley
and Paul Bergeron, if you actually review the abatement applications. Upon my request, they reopened
it and asked the question directly, and called me about a month ago to tell me, “No, in fact, they don’t.”

                                                                                                       248

                                                                                         NPD-LO-3946
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 249 of 424



I don’t know why it took two years or eighteen months to get that answer. That’s ridiculous, and that
just shows the total lack of transparency.

“So my request is just put in the policy manual, as part of the abatement process, that in fact you don’t
do it. And then it’s clear.

“Also, I’m very concerned about the sales review. Ya know, I didn’t realize that none of the sales data,
virtually none, only possibly two-hundred out of twenty-five-hundred, have been qualified to this point.
Rick Vincent said it’s due to a staffing shortage. But he is incorrect. Those sales, especially for
abatements, cover October 1st of 2020 to September 30th of 2021. Our two residential assessors didn’t
leave until about September. Why did we not qualify data throughout the year? Especially when we
were sitting home part of that with COVID. That’s perfect home-based work. And now we’re in an
abatement season that, once again, we got two-hundred properties qualified for people to pick from.

“Secondly, we’re having trouble printing cards again. We’re having trouble switching over the software.
We’re having software problems with the tax bill. Nothing’s been sent out. I asked Rick Vincent if he’d
be willing to let a few volunteers go down, print the property record cards, put them in a book that…
(audio cuts out) …so we don’t have to pay a dollar each time we come in to buy them. He thought it was
reasonable, he said he’d look into it, but, in fact, this is what other municipalities do. I’ve gone to them
and I received the book of information. I guess it turned out he didn’t deny it, but he basically said that
they’re not willing to do that. That we should wait, and by mid-December, something should be
available. We have been given mis-information and lied to time and time again by this city on the
availability of records. Last year, those cards didn’t come out until January or February. I was sending
emails to Rick Vincent to print me ten cards at a time, email them to me, so I didn’t have to pay the
dollar. Because they weren’t available in November. And we go through the same thing time and time
again since 2019. That’s not transparency, and you’re not working with the citizens. So I really think we
can do a much better job. I did file a letter up with the BTLA today, and the state, a complaint on
contract violation for this Vision update. I’m very concerned about what I heard. And I’m disappointed
you didn’t come to the meeting. I asked the Mayor to invite the Board of Assessors, to sit at the table, to
ask questions. He told me he would do that. And you weren’t even there. You should’ve been there for
this update. You catching a part of it wasn’t good enough. I would’ve liked for you three gentlemen, who
are responsible for this Board, to ask questions. I’ve overused my time, thanks.”



Work Study Group Relative to the Police Commissioners

Human Affairs Committee, November 18, 2021

https://www.youtube.com/watch?v=hq6tpgzV8MU

1:46

Laurie Ortolano “Hi, Laurie Ortolano, 41 Berkeley Street. I come here to tell you that I think this Work
Study Group should be abolished. I think the one task you have in front of you is more clearly defining
the process by which the Commissioners can go through to become selected by the Governor and
participate in the commission board. I think that should be outlined on the city website and that process



                                                                                                        249

                                                                                          NPD-LO-3947
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 250 of 424



should be more public for candidates. Once that’s put on the city website, you’ve identified a good
process that everyone understands.

“I’m opposed to this Committee meeting because I come to almost of them and you won’t answer
questions and you allow the public to speak but you don’t allow us to have questions answered. I think
at a committee level, that should be allowed and there is somebody who should be responsible for
answering questions.

“Also, I think the Board of Aldermen as a whole should open the Ethics Committee and issue sanctions
against the Mayor – hold hearings, address the ethics issues, and address how he operated during this
Police Commission Charter changer because I think there were many ethics violations that he
committed. You have a means of dealing with that. The reason you want to deal with that now is
because his Commission change was beat down and won. If you did it and lost, you look like a poor loser
but if you do it now after winning, you’re making a solid statement on what you’re going to tolerate for
partisan politics in this city. You’re not going to tolerate it so let’s turn this around and send a strong
message to the Mayor because anything else that comes up again, we’re going to see the same antics.
This is the cloth he’s cut out. It’s not public service. It’s self-service with him. That’s a dangerous game
and I don’t think we should put up with it.

“So, you know, using the cable TV station – the government channel – to hold a press conference less
than a week before the vote to pitch a personal agenda item to change the Charter not the position of
the governmental body which was a 8-6 vote not to bring it was simply out of line. Just because he wore
the hat of the Mayor, he was able to take control of a TV station for personal agenda and this should
never be allowed. He should not be allowed to exercise the type of partisan politics he exercised to
move this thing forward, including shutting down government to virtually two months of not holding
meetings. So please convene that ethics committee and take action on this, and be decisive, and let’s
break this Committee up. It’s a waste of taxpayer dollars. We’ve got an answer. Let’s move on. Thank
you.”



BUDGET REVIEW COMMITTEE NOVEMBER 22, 2021

https://www.youtube.com/watch?v=k7IFvVfa-pg

22:25

Laurie Ortolano “Hi. Good evening. Laurie Ortolano, 41 Berkeley Street. I know we have three different
items here and they're all related. So I don't want to repeat myself too much but I also know I have a
limited amount of time. So I'll be coming back up.

“A couple things regarding the facility. First of all on this one Resolution to use unanticipated revenue
from 2022, I do support using that revenue to pay down the bond on Burke Street that was purchased
years ago when it wasn't the correct building. I think you take out a bond on a facility, you don't end up
being able to use the facility, you sell it, and then you maintain all the debt, and then apply more debt.
Fundamentally, I don't agree with that. So that's one reason.

“Secondly, this facility has morphed into something different from where it began. It started off as an
office facility and then it sort of became a facility that housed everyone except Wastewater, which is

                                                                                                        250

                                                                                          NPD-LO-3948
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 251 of 424



fine but I do have a concern that there was never a traffic study done. All the equipment and heavy
equipment is going to be in there and I see the city time and time again skirt these traffic studies and we
don't do them. We really didn't do a good one down at Costco. We have the new buildings going in at
the Henry Hanger Company and Corriveau Routhier where the road areas over there were a big concern.
We did not look at the traffic impact over there and all of these vehicles - all of the heavy equipment
going in and out in that residential neighborhood, I don't think we really did justice to a traffic study. I
think traffic studies are important and I think it should have been - even if the public didn't come out
and complain, I think we have an obligation to do the work and verify what's going on down there. It's a
lot of heavy equipment. I don't even know how the timing works with making your schedules and your
shifts work effectively pushing people out when they're all consolidated in a parking lot with 170 spaces
plus the space for all of the heavy equipment trucks that will be rolling. So that's all I'm going to say on
this part and then I'll talk about the other bonded pieces after. Thank you.”

27:33

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Quickly if I could have an understanding of the
protocol for a hearing. Am I allowed to ask a question in a hearing?”

Chairman Dowd “You can ask your question and it can be answered now or somebody can get back to
you later with the answer.”

Laurie Ortolano “Okay, so my question is since I did address my concerns with the parking and my belief
is that we didn't have a comprehensive parking study done. Was there a comprehensive parking study
done? I mean a traffic study?”

Chairman Dowd “Director Fauteux do you want to address that?”

Lisa Fauteux, Public Works Director “Yes, we did do a comprehensive traffic study and it is posted on our
website under the Division of Public Works website.”

29:58

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I could use some assistance. I have been looking at
the boilerplate contract that was given to the board members and was on the finance page. It's the AIA
Contract regarding this project. Section 5.2 guarantee maximum price states that price set forth in the
guaranteed maximum price amendment, as it is amended from time to time. So it calls upon an
amendment that's attached to the boilerplate and I haven't been able to find the amendment. I wrote
today to CFO Griffin and asked him if he could help me with that. But that amendment is where there
might be a force majeure clause called out and I want to understand a little more about what
guaranteed maximum price really means in these contracts. Because ordinarily there would be a force
majeure clause in there to allow that ceiling to go up in the event of unforeseen circumstances such as
COVID and the situation that's occurred.

“I'm concerned that we put all our eggs in one basket. Harvey is a great company but they're doing the
school. They're doing this office facility and they're doing the art center. Leadership here will tell you
they're incurring all the risk. It's a maximum guaranteed price. So you know what if something goes
wrong, they're gonna eat it. If there's a cost overrun, that's 15% deleted. Well when you look at roughly
projects that are $150 million, are they going to eat $20 - 25 million? I tend to doubt that but I want to


                                                                                                        251

                                                                                          NPD-LO-3949
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 252 of 424



understand where this amendment is and it's nowhere to be found. I think it's something we have to
look at. Yeah I'm really concerned by that. Did board members receive the amendment to the document
the boilerplate document so that you could see what the specific contract is regarding GMP?”

Chairman Dowd “I believe the committee's involved receive it. I know Infrastructure and then the
construction committee received. I'm not sure about anyone else.”

Laurie Ortolano “Well, it's not in the DPW package and it's not in the Finance package from Wednesday
night. Not the amendment. The boilerplate document is there but I really can't find the amendment that
would have the specific language. So I'm not certain what it means that the guaranteed maximum price
as it is amended from time to time. That seems to me to open a door to say that these costs can be
adjusted. And here's my concern. When Harvey came and gave a cost estimate in August to the DPW
facility, they talked about how difficult a time it is right now. We all know that and they were hoping
that things would settle out and calm down. I'm almost done, right?”

Chairman Dowd “Yes.”

Laurie Ortolano “I'll sit down and continue with – go on.”

35:56

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just to continue where I left off. So do we have
force majeure clauses in our contracts?”

Chairman Dowd “All of them.”

Laurie Ortolano “All of them? Yeah, I thought so but I would love somebody to be able to point out
where those are because I can't find it. So if somebody - that would be a request. It might be in these
guaranteed maximum price amendments that I cannot find online in any of the attached documents. So.
And again, my concern is you know right now Harvey bills in costs increases about 3 or 4% a year and
the state of construction is seeing that type of increase in a month. In some instances, the fluctuation is
10, 12% a month. I mean, it's just real. It's really maddening and difficult to deal with. I mean my
husband has a business and he's like pricing machinery weekly now. It's crazy. So I mean that concerns
me quite a bit that, you know, we're going to have to work with our contractor. They're a great
contractor but I don't think ultimately you can just stick it to them. That's not to our benefit or to theirs
if these things become difficult to price and become difficult to maintain pricing. I think there's a reality
that this could be the case. Of course, you know, I look at all aspects of what's going on in spending and
I'm very cognizant of what's happening with property taxes next year, and these new assessments, and
the sum total of it leaves me concerned that we should be more careful about what we bond and what
we spend money on. So yeah if you could point me to those force majeure clauses and those
amendments, I would surely appreciate it. Thank you.”

40:31

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. So we know why I'm in a position but I'm using my
time wisely. So yeah I did look at the AIA Contract and put it in a word reader to try and find the force
majeure clause and I just couldn't find it in there in. What I did print out here 5.2 was the language that I
thought was closest – “price set forth in the guaranteed maximum price amendment as it is amended
from time to time”. I took that language because that's what I thought was closest but anyway. “To the

                                                                                                         252

                                                                                           NPD-LO-3950
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 253 of 424



extent the cost of the work exceeds the guaranteed maximum price, the construction manager shall
bear the cost in excess of the guaranteed maximum price without reimbursement or additional
compensation from the owner”. But it said, “insert specific provisions here, the construction manager is
to participate in any savings” but that's a parentheses item that's in our contract. It was never filled in.
So that's the only contract I have.

“I'll just, you know, reiterate my concern next year is that we have a lot of changes coming to our
property assessments. I don't think the meeting on whatever night it was, was as pointed and direct as it
should have been. First of all, I was disappointed there was no public comment. Second of all, the
differential between the residential and commercial properties shown to be about 5% but I think that's
low because we have a depreciation issue with our properties that's being corrected that wasn't
addressed last week. That's going to grow that differential between commercial and residential
properties. So I think property owners are in for a rude awakening next year and I think when you
couple some of this debt on that'll be rolling thereafter it's problematic.

“Now when I look at this bond schedule that Dave so graciously provided us, it really looks like in 2023
the debt service is very low - $133,000. Is that what's correctly what's projected for 2023?”

David Fredette, Treasurer “Yes because we sell our bonds in the fall of each year. So the next year will
be the fall of 2022, which is actually Fiscal Year 2023 and the payments don't start for the next fiscal.”

Laurie Ortolano “Okay. The bigger hit comes in 2024?”

David Fredette, Treasurer “Yes 2024, yes.”

Laurie Ortolano “Yeah and then upward there okay for a little bit. Okay.”

David Fredette, Treasurer “But again, those numbers are very conservative.”

Laurie Ortolano “Yes. Okay. So anyway, that's my feeling with the project. You don't have a lot of people
participating. But, you know, I'd like to see a little more control on the spending and the bonding given
what's coming down the road. Thank you.”

1:27:17

Minutes: https://nashuanh.gov/AgendaCenter/ViewFile/Minutes/_11222021-5757

Same Video Link

Laurie Ortolano “Hi. Laurie Ortolano, 41. Berkeley Street. You missed the first public comment and
maybe and I was going to just say a quick statement hoping you would address it. But you received and
accepted the $30,000 from the Rotary for the disc golf course. I believe you allocated money prior to
that $30,000 from another account, because I'm not certain that you knew if you were going to get this
money. I might be wrong but I'm just going back in my mind to what I thought happened. If that money
was allocated from another account, I'm just wondering if it can be returned to the taxpayers or to
where it rightfully belongs.

“And also, there was a conversation or discussion, I think, where Director Fauteux mentioned that there
would be a little bit of work done on clearing. And does anyone know how many trees are going to be
cut down in that forested area in that park down there for that amount of land? I'm curious at how

                                                                                                         253

                                                                                           NPD-LO-3951
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 254 of 424



much cutting we're going to do. We never did a real walk through. It's an 18 hole course and I'm just
curious. There's probably a lot of old trees in there and I'm wondering how we're going to be handling
that. Those are my only comments and thank you.”



Board of Aldermen Tuesday, November 23, 2021

https://www.youtube.com/watch?v=cpYgjz-8xzE

18:26

Laurie Ortolano “41 Berkeley Street. First item is the Public Works bonds and appropriations that you're
gonna approve tonight. Last night, Director Fauteux spoke to you about a parking study having been
done. I was concerned about that. I don't know how many of you took a look at that parking study on
the website but I'm going to tell you its very substandard. It did not look at truck traffic at all and I think
it was done early when the building wasn't going to be all inclusive of all those different departments
because that building started off as an office building and morphed into a more complete and full facility
except for sewer and wastewater. So, again, I think it was a homespun parking study and I really think it
is not complete and not the kind of parking study that would justify the size of that facility and the
parking and the trucks that you have over there.

“Secondly, regarding CFO Griffin's position, you know, I, too, have some concerns. I think Elizabeth Lu
made a very valid point about the Comptroller position. I don't think that position was covered enough
and discussed enough and I think it's fair to say who do we have a get an answer in a public meeting on
that and not be deflected and deferred and say wait, voted them in, wait, and then we'll tell you. I think
that's not as open as it should be.

“Also, I would like to see you know if this is going to be a combined position that the office hours for this
person be in City Hall from 8 to 5 Monday through Friday. That it not be a flex job, or a job that you can
work from home, or not at the office. I think it makes a big difference to the people in the office. The
people in Dave Fredette’s area that come to him often and he's there during that entire time. I think you
have to have coverage in the office with somebody there.

“Also, regarding your comments about the public saying things that don't make any sense. You know,
there's a couple ways to handle that. When you say to the public, you know, do your homework or do a
better job. I want you to know, I mean those weren't my comments but, however, doing that is difficult
and City Hall. You don't come here and find many open doors. You don't pick up the phone and call and
get people to return calls. You may have a meeting and its five days to get a response. So this City Hall
operates differently let's say than Manchester. Go up there and you can get reports in an hour.”

Donna Graham, Legislative Affairs Manager “Thirty seconds.”

Laurie Ortolano “So I think it’s better instead of dressing down citizens in a public meeting had you
picked up the phone or somebody in your city pick up the phone and talk to that individual to clarify
what was going on. That's not done as often and so I regret to see the approach taken here publicly
against any citizen for failing to say the right thing. Thank you.”

1:41:16

                                                                                                           254

                                                                                             NPD-LO-3952
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 255 of 424



Laurie Ortolano “Could I please speak, Laurie Ortolano?”

President Wilshire “Yes.”

Laurie Ortolano “Okay. Sorry, I couldn't find the button to put my hand up. Laurie Ortolano 41 Berkeley
Street. I would just like to, you know, make the Board aware of a couple things regarding this
development. We have to be cognizant of the fact that the property owner has the right to sell their
property and enter into a contract to do what they're doing. I understand the homeowners on the west
side of Concord Street not wanting this in their neighborhood but I think we have to recognize what
control and what power we have and what we do. I think we have to be careful of setting a precedence
here. I don't agree that we have to expand Greeley Park that there's a space limitation in there and that
this parcel is a vital part of Greeley Park. I think that everyone should look at what the developer has
proposed and anyone who says that, you know, we don't know what his work or what he's doing, you
know, look on the contractor’s site at the three developments that were done. You'll get a pretty good
indication of his work and it seems to fit in line with what was presented to us on Wednesday night.

“So I think it's really important. I mean we have a development – the Camp Doucette was bought down
at - purchase for $4million at 132 - oh the road in South Nashua. It escapes me now. That was 20 acres
of a Boy Scout camp for years, and years, and years of old forest and that is all being cut down and
turned into a, you know, 40 unit or more property development. We don't run in and scoop it up and
save it. And you know, there's a reason we don't do that. So, and I think there's some misinformation
given out here. I would like to ask if the Mayor plans to recuse himself because he's a voting member of
the Planning Board and so is one of his or he can have a representative of his office and I think that since
its development in his neighborhood, he should recuse himself from voting on this just to be
aboveboard on all of this. But, you know, I want to caution you.

“I happened to live in Litchfield. There were three developments that went in a 55 and older, a bike path
that cut right through my backyard with 20 feet of it taken, and a high school one street away, and I
backed all of them. I know I was unusual to do that…”

Donna Graham, Legislative Affairs Manager “Thirty seconds.”

Laurie Ortolano “I don't feel that my property lost value. That I made a bad decision. I wasn't popular at
the time, I'll tell you that but it (inaudible). I view the high school as a plus. I viewed a bike path seven
mile path off the back of my house as a as a good thing and the 55 and older was very cookie cutter not
like this, and I didn't think it was going to harm the property and it didn't.”

Donna Graham, Legislative Affairs Manager “Time.”

Laurie Ortolano “So I want us to be respectful of the process and make certain that we're allowing a fair
and just process to take place here. Thank you.”



FINANCE COMMITTEE DECEMBER 1, 2021

https://www.youtube.com/watch?v=4xhUy1rcN0g

1:22:43


                                                                                                          255

                                                                                            NPD-LO-3953
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 256 of 424



Laurie Orlando “Laurie Ortolano, 41 Berkeley Street. This was a big agenda to follow and I don't know if
it's normal but there were no motions attached to the packet. I thought usually you gave the motions
like you would in any board packet. So it made it pretty challenging to follow and have to go through the
data.

“I'm wondering, I noticed that I went back and looked at the budget for the CERF equipment for DPW
and I noticed we purchased maybe five or six other pieces of equipment that were not in the budget for
DPW under CERF. And I'm wondering if they weren't listed does that exceed the 10% rule and you have
to bring that to the Board as well? Maybe I'm not reading it correctly but the first thing I did when I saw
all of this equipment was to see what we budgeted? It seems to me we budgeted a lot more trucks and
equipment and I I'd also like to know why if they weren't budgeted, why we didn't know we needed the
equipment and why we need it now.

“Also, yeah, some of the accounts it didn't seem like the letters attached matched the motions on where
the funding was coming from. But I couldn't verify that because I didn't have the actual motions being
read.

“I was happy to hear Alderwoman Kelly, you know, ask about cost of the DPW facility with the increases
in all of the material costs going on as a result of these shipping issues and COVID in general. But, you
know, one of the things we think that would be good for the Board to do is to look at change orders and
cost changes that have happened with the school and with the PAC. I've been asking for information
about the Performing Arts Center. It's been several years, I think people since the Board has had an
update on that. And I really feel before you approve this bond, we should be looking at the other two
and how cost containment is going particularly on the purchase of items that are going to go into the
building. I think that matters.

“And just one other thing relative to the brining. I know we all love the brining but I think one thing you
forget about is that is its super corrosive on the equipment. So you get you get all this benefit of less
salt, but you get an increase in wear and tear on your equipment and in corrosion. I'm wondering how
we treat that. I know some businesses actually oil their trucks after they come back from brining to
increase the life of the vehicle. And, you know, clean them very thoroughly. I think that's something we
should look at because while we may save money on salt, the cost of these vehicles as you've just gone
through quite an extensive list is obviously very expensive as well. So that's my input tonight. Thank
you.”



Board of Assessors December 2, 2021

https://www.youtube.com/watch?v=cHv5O9qwW8k

5:43

Ms. Laurie Ortolano, 41 Berkeley Street—Ms. Ortolano voiced concerns regarding the assessment of the
future site of the Nashua Performing Arts Center and its condition as of April 1. She also raised the issue
of the Board of Assessors reviewing abatement applications.

The following was transcribed by E. Vassar on Monday, March 18, 2024 from video


                                                                                                        256

                                                                                          NPD-LO-3954
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 257 of 424



Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I gave you folks a copy of the property record card
for what’s going to be the performing arts center. And the address for that is 78 – 84 West Pearl Street.
One question that I have is the address, I think, used to be 201 Main Street and it was changed.
However, I’m concerned about the assessment on this property, and what has happened to this
property. There is a very difficult process, it is extraordinarily difficult to try and track the money for this
performing arts center: who’s responsible for bills. Because we did a new market tax credit that was a
complicated investment vehicle; we set up a nonprofit called an “en-pack” (NPAC), and the City is
funneling money to the NPAC to support it through certain lease or contract obligations, and then the
NPAC nonprofit is paying the City back. I am very concerned by the property assessment and the tax bill
that was paid on this property in August. If you look at the assessment from KRT, the total assessment
when Alex Shoe Store was essentially there, was two-million, fifty-eight-thousand dollars. And if you
look at the assessment today, it’s the same. That assessment should’ve changed significantly. And as of
April 1st, 2021, when you conduct the annual inventory to do the bill, I believe this building, or this
property, should’ve been valued at land-only, which would’ve been two-hundred eighty-eight thousand,
two. And the reason I say that is the building was actually demolished on April 6th. There was a
newspaper article, the Telegraph ran a story, people standing outside, watching the demo. But as of
April 1st, that building was reduced to a shell. The inside was demo-ed, and it’s actually listed as a store
with apartments, the shoe store – it was never changed!

So the City paid the NPAC approximately twenty-four thousand dollars in property taxes in August. It
came out of an account called the “one-eighteen account.” The NPAC paid the City back, almost twenty-
four thousand dollars, and it went into the general fund. And I think it’s a misappropriation of money.
And I’m really watching this arts center closely. But also, it is not the correct assessment. This building is
not even assessed correctly. It also has a sales price, that it sold in 2020, twelve eighteen, for a million
dollars. I’d like to know where that came from. I can’t track that. There must be a file down there I can
look at and see where that sale is located. For the sale paperwork. It has not been qualified, from 2020,
from December; there’s no information on it. And I would like to know what the redress is for a citizen.
It’s a city property that went to a nonprofit. The citizens are paying the taxes. Do you have to file an
abatement, can a citizen file an abatement, to have this property tax fixed? Because we’re paying for it,
and it’s going into the general fund. And if not, do we have to file a lawsuit and take it to the BTLA to
have it heard there? I mean, I’m trying to figure out what we can do. I realize I’m not entitled to
answers. I’m gonna probably have to file a PA-71 with the DRA and speak to them about this. But this is
not correct.

And also, when I go on the computer and I look at the GIS data, and I use pictometry, the 2021
pictometry data isn’t there as of April 1st for 2021. The only data in there is 2020. Now, this property was
inspected by one of our Assessing staff members in May 19th. If an aerial view was looked at, I’m
wondering if the building was still there, what aerial view was used, I don’t know if the office, the
Assessing office, has access to 2021 data, and the citizens out, ya know, from home, don’t, but I always
thought GIS, my understanding was, was current. I mean, totally current.

One last thing: I believe that Mr. Earley’s comments, regarding being able to review abatement
applications, was unfortunate and incorrect. He is looking at this as if it’s some daunting project. Other
offices in other municipalities, their Boards of Assessors review them. And I will tell you, for properties
that have data corrections, it’s simple: for properties that use sales data, you might spend 15 minutes a
property file. And with these things rolling in across four months or five months, I don’t think spending

                                                                                                            257

                                                                                              NPD-LO-3955
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 258 of 424



an hour a week is asking you to do too much homework, to understand what citizens have put into
these abatements and these applications. Thank you.”



Board of Aldermen Tuesday, December 7, 2021

https://www.youtube.com/watch?v=vp5pxgyUEhI

57:04

Laurie Ortolano “Hi. Yes, good evening. Laurie Orlando, 41 Berkeley Street. I do not think we should act
on this bond. This is a private piece of property that a private owner is acting upon and people who
believe that we are taking something away from Greeley Park I think are misguided. Nothing in Greeley
Park is changing with respect to the approximately 100 acres that exists there now. We had a recent
Master Plan completed and that Master Plan did not identify expanding Greeley Park at all. In fact, it
identified setting up other parks in other parts of Nashua that don't have parks available.

“I walk Greeley Park a good bit and I'm very familiar with the fence area that is the Barker's property. I
do not believe that a development in that area is going to diminish the park or that somehow we have
an obligation to scoop up those 13 acres to make them a park more complete. It's almost 100 acre park
right now and we have other parts of the city that don't have them. The housing study, which I read
completely, did show approximately 5,000 houses that we are short and we continue to spend money. I
don't know how many people are going to speak up against spending $21 million tonight but we are a
spending city and we're doing a lot of spending and somebody's got to pay the bills and keep the lights
on. When you think that the tax revenue raised by that property is insignificant, I think you're wrong. I
also think there's an absolute market for those houses to sell at $700,000. I'm pretty certain a developer
would not propose something that realistically would not sell. I think we have an obligation to let the
process work the way the process should work and everyone's opinions about what is right and wrong
should be vetted through the Planning Board and the Zoning Board if necessary. They're the entities that
will be certain that the codes in the ordinances are followed and that the property is within the right to
develop itself the way it can be developed. I think it's really important that we let that process go.

“So I am not in favor of bonding this money. We have a lot of other needs and that is important housing.
The unit…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “The development down by Cherrywood was opposed by people and you're correct, the
developer changed from 160 luxury units to 44 townhomes down there with a lot of asphalt space. I'm
not certain the residents are going to be that happy with that either. But this development needs to
happen because we continue to spend, and we have a need for the housing, and the housing report in
the Master Plan full support development. Thank you for your time.”

1:25:52

Laurie Ortolano “Hi, good evening. Laurie Orlando, 41. Berkeley Street. Just to clarify a few things. I think
the concerns that the neighbors have with traffic are very valid but they're misplaced being addressed
here with the Board of Aldermen or at a hearing. Those concerns have to be addressed with the

                                                                                                         258

                                                                                           NPD-LO-3956
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 259 of 424



Planning Board using the process that's available for an existing developer to bring their plans and have
them vetted. I think everyone does need to go forward to the Planning Board and participate in those
meetings and express their concerns.

“I'm very concerned when I hear people talk about affordable housing because I attended the meeting
at the church on a Sunday evening and it was pushed very heavily by Alderwoman Klee that we make
this an affordable housing issue. I was very opposed to that because the developer never pitched this as
an affordable housing development. It was very clear when he said these properties would sell between
$650,000 and $750,000 that it was not affordable housing. The housing study does not talk about
putting only affordable housing in. It talks about putting in housing across all sectors. So this is definitely
high end housing more exclusive. Now if the gentlemen who just spoke really believes that if we went to
affordable housing in your neighborhood and reduced it to 23 units of affordable housing, you'd accept
that? Well, then maybe that's what you can get. But I think it's unrealistic to pitch that it should be
divided up into 13 lots of 13 acres. That's not our call and the concept of one acre lots for homes in
Nashua is really over based on the housing density we need to accommodate the growth of the city. I
love my neighbor, Dan, and I think he's a terrific neighbor and he's on the other side of this issue from
me. The one thing I agree wholeheartedly with Dan is that I think this Board of Aldermen has been very
irresponsible with spending. I agree with him. A lot of bad spending decisions have been made.
However, he sees, you know, this issue of preserving the space as the right thing to do. I don't think the
spending decisions made by the city are going to change and as a hearing right after this for $21 million
to be spent that actually hasn't even been discussed by the board in two years. I don't think we're going
to stop spending. So we need to look at ways to have people who pay the bills and keep the lights on.
That's the way it has to be and we need this housing according to the study. So it's not just affordable
housing.”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “(inaudible). So let's take this where it belongs and bring it to the Planning Board and
not approve this bond tonight and let the Planning Board do its job and have faith that they're going to
do their job and everyone get out there and watch and participate. That's a fair process.”

1:39:15

Laurie Ortolano “I have a couple of questions. If the excess money from the LED project that is bonded
money is not spent on this, where does it go or what happens to that money?”

Chairman Dowd “Hello, Treasurer Fredette you want to answer that? If we don't spend the money. I
think I know but I think I'd rather have the answer come from the Treasurer.”

Laurie Ortolano “Thank you.”

David Fredette, Treasurer/Tax Collector “We don't have this problem very often. I haven't seen it for
quite a while but we may be able to use it to help make payments on bonds but okay the principal on
bonds. But there's a lot of IRS rules on that because these are nontaxable bonds that we sell. So there's
rules on that. That's possibly one area that it could be used for.”

Steve Bolton, Corporation Counsel “Mr. Chairman. We have to either use it to repay the principal on the
bond or transfer it to another bondable expenditure.”


                                                                                                           259

                                                                                             NPD-LO-3957
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 260 of 424



Chairman Dowd “I'm assuming testimony from Mr. Hudson that we have sidewalks in desperate need of
repair and that's sort of a safety issue.”

Laurie Ortolano “So just a point of clarification.”

Chairman Dowd “Excuse me, who’s speaking?”

Laurie Ortolano “It's Laurie Ortolano. You know I would like you to consider changing the rules when you
have a hearing so that we can ask more than one question because clarification is important. If I want to
back something, I want to understand it. I'm just trying to understand what attorney Bolton said. So if
the money has to be used toward the principal or on the bond, you have this extra money from the LED
projects. We are allowed to transfer it over to do sidewalks. Do we have any money currently earmarked
to address sidewalk issues?”

Chairman Dowd “I think it was just pointed out that monies are collected when people do developments
towards sidewalks and that money is already being used to repair some sidewalks. This would be the
additional funds so we can fix more of the sidewalks that are in total disrepair.”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “Okay. Well, we just finished redoing all the handicap ramps on sidewalks or I've been
working on a big project on that now. Was that done by impact fees or was that a separately funded
project?”

Dan Hudson, City Engineer “Sure. So the work we've been doing on the ramps is related to the paving
program per federal regulations were required to replace the ramp access or actually to make it ADA
compliant. I should be clear. The ADA access to the sidewalk system, so that work has been done and
paid for as part of the paving program, although that is work that those funds could use for. As I said, I
don't have the balances of those own accounts with me tonight. But it's not a significant amount of
money and it is something that we will continue to use and could be used towards that type of work.”

Laurie Ortolano “Thank you.”

Chairman Dowd “Anyone else testimony in favor? Seeing none. Testimony in opposition. Seeing no one,
other testimony in favor?”

Laurie Ortolano “Yes. Laurie Ortolano. How will it be determined what sidewalks are going to be
addressed? Is there an existing sidewalk plan in place that you are working off of to do improvements
throughout the city?”

Dan Hudson, City Engineer “So to my knowledge, no. I mean there are specific issues that the Attorney
General's Office is asking us to address that have come to light relative to complaints we received. So
Mr. Cummings will be up to speak about Riverwalk later and that will address some of those issues. But
no this is something that we need to do. The city needs to develop a comprehensive plan and that's
what part of this money will be used for but there are no shortage of areas needing repair. I can go out
and find you a dozen in a few minutes. So this funding will be helpful. It's something that we certainly
want and need to focus more on is going forward.”

Chairman Dowd “Okay. All set?”


                                                                                                        260

                                                                                           NPD-LO-3958
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 261 of 424



Laurie Ortolano “Yes.”

1:47:58

Laurie Ortolano “Laurie Ortolano. Okay I'm now officially in opposition and I'll tell you why. I would like
to see a comprehensive plan developed and I don't think developing a comprehensive plan will cost
$400,000. I'd like to see that done so that we can get a picture of what the big, you know, the total cost
of this project is and whether or not we can really begin funding it or start that work given where we're
going particularly next year with the new property assessments and the amount of debt we've taken on.
I don't want to authorize $400,000 to do not only the study, but potentially start something that we
can't finish. I also feel we're halfway through the spending year. If we could fund just the study, you
know, by the time you're ready to begin developing a new budget in April, you can look at funding this
further if it's possible, but I think we're going to be up against a wall when it comes to spending and
when we know what's coming down the pipe on these new properties which will be out next August. So
I'm in opposition to this. Thank you.”

1:51:45

Chairman Dowd “Any questions from the Aldermen? Thank you. Seeing none, I'll open the public
testimony for testimony in favor.”

Laurie Ortolano “Yes can you just tell me what the cost of the vehicle is relative to between the
projects? I'm just wondering whether the split is.”

Chairman Dowd “The class of vehicle?”

Laurie Ortolano “No the cost? This is a $1.8 million and it's for various projects with the landfill as well as
a vehicle. What's the vehicle cost?”

Jeff Lafleur, Superintendent of Solid Waste “Jeff Lafleur, Superintendent of Solid Waste. The refuse truck
that we're purchasing is $423,990.”

Laurie Ortolano “And was that - so was that separate? That wasn't a CERF item? It's here being proposed
because it wasn't proposed in the CERF budget?”

Jeff Lafleur, Superintendent of Solid Waste “No, it's proposed as part of our CERF but the city decides to
bond some of our equipment since they're such highly priced.”

Laurie Ortolano “Okay. Okay. I gotcha.”

Jeff Lafleur, Superintendent of Solid Waste “And just to answer the first part of your question, I am
getting a wheel loader - the large wheel loader and that's $495,450.”

Laurie Ortolano “Okay.”

Chairman Dowd “All set?”

Laurie Ortolano “Yeah, I just think that, you know, that might be something we should have budgeted in
the regular budget. That's just my, you know, my feeling on them.”




                                                                                                           261

                                                                                             NPD-LO-3959
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 262 of 424



Chairman Dowd “So, the items are in CERF and some of the items especially larger items in CERF we
have recently gone out and bonded with a low bonding rate. Also, all of these cost items are in the
legislation.”

Laurie Ortolano “Okay, well I'm not going to talk again because they'll stay in the I favorite column. I'm
not changing my mind.”

2:31:14

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Mr. Cummings started this presentation off by
saying he's had numerous presentations with the board and other committees. Can you tell me the last
presentation you had with which board? What board was that?”

Tim Cummings, Economic Development Director “Sure, it was with the Board of Aldermen. It was the
Infrastructure Committee and I'm gonna say it was in September off the top of my head, but I'm sure
you could go back to the meeting minutes and look. I don't know.”

Laurie Ortolano “Yes, the meeting was in March 24th of 2021 was your meeting on the Riverwalk project
with the Infrastructure Committee. You are not on the agenda in September, October, or August. In that
meeting, you said that you would like to come back to either this committee or the entire board and on
the Board of Aldermen minutes, I have a specific search engine I can use. The last time Riverwalk was
discussed was 2019. I feel it's inappropriate for you to do a presentation of this nature at 9:30 at night
and then roll into a Budget Committee to approve a bond of this size. This should have been vetted
before the full Board and the community should have an opportunity to discuss this. I have a lot of
questions. I'm with Dan on this. I don't like the TIF funding on this and I don't like what I see going on
with the TIF funding because it's not fair to the rest of the community.

“At the end of the meeting, Alderman O'Brien said that there would be future meetings that we would
get together with the committee that Dave Tencza is on and we would be able to work more on ideas to
move this project forward. That joint meeting I can't find either. So there is very little history on this. The
community has had very little information and it almost seems like you and the Mayor have been
working more quietly behind closed doors to push this forward. I don't see how TIF funding means it
doesn't cost the taxpayers anything because we're bonding $21 million here. You're going to close
Water and Factory Street for a period of time to do work. How exactly is that going to work when you
put barriers up on Main Street for three years?”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “That's another issue that needs to be addressed. So this should be tabled. I hope the
goal is not to get this approved before a new Board of Aldermen seats or spend this kind of money. I'm
asking the Budget Committee to table this, take it to the full board, hold some more meetings, and I
would like another public hearing on this when we have more information and can ask more questions.
Thank you.”

2:36:13

Laurie Ortolano “A question. Why did Director Cummings decide that now is the time to take on a $21
million project?”


                                                                                                           262

                                                                                             NPD-LO-3960
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 263 of 424



Tim Cummings, Economic Development Director “Yeah, thank you. I actually would have liked to take it
on a year or so ago. Unfortunately, it took us over a year to get through FEMA permitting so we could
actually move this along. I would suggest a two year phase of being within preliminary design is much
too long. However, that's what we had to go through to be able to get to the project to the point now
that we're in and I'm trying to move this along as fast as possible.”

Laurie Ortolano “Well I think you need to consider what we can afford and what's been proposed
because while you were working hard to get that permitting, I understand, there were other bonds that
came up and got approved like our DPW facility, as well as some other big projects. We just did a
massive amount of (inaudible) and we're in a different time period now with some new assessment
numbers coming out next year. So I think the timing of this is not correct and I think this has been done
very underhanded and backdoor. There has not been enough open vetting of this and the discussions at
the Board of Aldermen table have not taken place since 2019. This should not be voted on now. Thank
you.”



BUDGET REVIEW COMMITTEE DECEMBER 7, 2021

https://www.youtube.com/watch?v=vp5pxgyUEhI

2:47:14

Laurie Ortolano “Yes. Laurie Ortolano, 41 Berkeley Street. With regard to affordable housing, I just want
to be clear that this was never presented as an affordable housing project and while the median income
might be $78,000 that means 50 percent of the income levels are above that level. Yes, believe it or not,
there is a market for higher end housing. It will do something to support it. I don’t know what this
concern is that it’s – the Mayor said at the meeting at the church that perhaps 50 percent of the people
who moved in there would move in from Massachusetts. But guess what, a lot of people move up here
from Massachusetts and the other 50% would come from around this area or New Hampshire. I don't
know why we feel so confident that we know who's going to buy these places because I don't think we
do and I don't think it's our call. The call here is to let the Planning Board do their job and vet this
development the way it should be vetted. Thank you.”



Board of Aldermen Tuesday, December 14, 2021

https://www.youtube.com/watch?v=b9Rqn_qZOZc

1:10:10

Laurie Ortolano “Yes, Laurie Ortolano, 41. Berkeley Street. I'm asking you to table R-21-193. What Fred
said resonated with me. I have a lot of concerns about these TIF issues, TIF funding. Let me tell you that
two weeks ago, I attended the Board of Assessors meeting and I went after them with a lot of questions
about the TIF funding on the performing arts center. You know we talk about incremental financing and
it's based on valuations year to year and my understanding is if the valuation of the business changes
from where it was established when the TIF was opened, that becomes the increment that feeds the
fund.

                                                                                                       263

                                                                                         NPD-LO-3961
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 264 of 424



“Well the performing arts center building, which was the former Alec Shoe Store was never assessed
properly after Alec moved out. That building has been taxed at $2,058,000 since it was Alec Shoe Store
and if you were to pull up the property record card right now, it's listed as a shoe store, a business with
apartments operating. On April 6th, they put a wrecking ball to the place. You have to grab the
valuations as of April 1st. On April 1st, it was a gutted building. It was not a $2,058,000 building. Now
that taxpayers are essentially paying that tax. We paid a bill to the NPAC who in turn paid it back to us
that I believe goes into a part of it into TIF financing. Well when you've done the wrong assessment on
the property and they're not captured correctly, there's a whole mess there I can't even figure out. I
don't want to submit a PA 71 to the State but I'm probably going to because two weeks ago I asked
questions and nobody has even opened their mouth to speak or say what they're doing to give me
answers. If you're going to put properties in TIF, you have an obligation to assess them fairly and
accurately and you're not doing that.

“There are a ton of questions about this project on the riverfront. For Mayor Donchess to say it was
discussed in 2020 the last time with the Board is an embarrassment to bring it back now for $21 million
of funding. This is rushed. It's poorly thought of and it shouldn't be executed right now. Get your new
Board in, slow your roll, and give it the time that it deserves.

“Also regarding masks, I don't care if you bring masks back up please for the love of God your
restaurants have to go to take out only, you close your bars, you shut down your casinos, and you close
your clubs. Enough. I don't want to hear Trish Klee talking about…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…how hard it is on staff and people at the hospital and then you leave the booze
places, the restaurants, the clubs, and casinos open. But you tell everyone when they go to the
supermarket to have your mask on. That's just stupid. Let's not go there. So make it a mandate and also
put a restriction on businesses where people are not wearing a mask to be closed, period.

Also, please pay attention to RSA 162 k (9) which talks about TIF funding because I’ve (inaudible) digging
into that. Thank you.”

2:30:06

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. You know I heard what Attorney Bolton said in his
last comment there that he’d be happy to win again. I just spent two full days in court working on my
Right to Know trial and I have one more day to go back. It is wholeheartedly disappointing to see what
the city is doing with information. Maybe Attorney Bolton is very confident that he's gonna beat me
hands down on everything and maybe I am going to lose everything. I don't know. We'll wait and see but
I can tell you I feel you have a significant amount of information corruption going on in this city. I
handled a pro se case on December 6th in court and what I heard from city employees really was
disturbing to me that they're just deleting their emails. That they never heard of RSA 33A for record
retention and they weren't even familiar with the email storage and retention policy and this was from
Louise Brown who was a Supervisor in Assessing and been in City Hall for 20 years. You know you have
some big problems in there when it comes to information. Attorney Bolton can chuckle at Fred
Teeboom but I think Mr. Teeboom is raising a very valid point and I don't think you should be laughing
about it. Your property for the art center, former Alec Shoe Store, was never valued correctly nor was


                                                                                                        264

                                                                                           NPD-LO-3962
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 265 of 424



the assessment done and it was done again by Greg Turgiss who apparently never visited the property
on April 1st when a wrecking ball was put to it. And I don't know why you think that's funny but I don't
think it's funny. There's nothing funny about what's going on in here regarding these TIF properties and
regarding Right to Know issues.

“Regarding the barriers. I think the Mayor did a real disservice to that conversation tonight. He wrote a
terrible piece of legislation centered around pandemic politics and I believe that Tim Cummings should
have nothing to do with that committee. Don't let him lead that committee. Let him sit back and be a
spectator watching that. Assign one of the non-restaurant people who's in opposition to these barriers
to head it. Let's put somebody who's on the other side of it in charge because we've heard what the
cheerleaders say and all of the anecdotal information out there is just that. Where are these studies?
Why is Paul Shea conducting data research on what downtown people want?”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “Why is this even happening? You know it's so disenfranchising and disingenuous when
you hear Tim Cummings speak at a meeting and discount everyone who showed up to give comment.
He's simply not a leader who can handle this and I find when it comes to Right to Know requests, his
door is closed, the light isn't shining over there, and he wants nothing to do with citizens. Okay. He
doesn't have to have anything to do with citizens because…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…he’s the Mayor’s right hand man but let's fix the problems in here.”



FINANCE COMMITTEE DECEMBER 15, 2021

https://www.youtube.com/watch?v=AfWv5m0t92Q

1:38

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I wanted to address this Committee regarding the
performance of your legal office. I really feel that Corporation Counsel Attorney Bolton is a pretty
compromised individual and Mr. Mayor you’ve left the situation over there to become very out of
control.”

Mayor Donchess “Ms. Ortolano wait. Can I just interrupt you for a second? First of all, you’re in litigation
with I realize but this Committee – I mean you’re supposed to be talking about things that are on the
agenda and certainly the legal office is not.”

Laurie Ortolano “With all due respect, it’s open public comment and you don’t have that. I’m addressing
a situation with your legal office and share my opinion on how they’re performing, which quite frankly
involves a lot of money that comes through this office. I can go to any meeting I want and share these
comments. If you want to change your regulations to shut that down, you can do that but you have no
business shutting me off. I would like to gain some time and just…”




                                                                                                        265

                                                                                          NPD-LO-3963
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 266 of 424



Mayor Donchess “The normal way to proceed is we take comments regarding the agenda items at the
beginning and there is public comment at the end which is more general. So would you mind complying
with that normal procedure?”

Laurie Ortolano “I would. Thank you for asking.”

Mayor Donchess “You would mind?”

Laurie Ortolano “So I believe that you have a very compromised legal office and that Attorney Bolton is
seriously underperforming for this city. He clearly does not recognize his limitations and last night’s
meeting was a great indication. I really think that he needs to understand that his role isn’t to take
control of a meeting, interrupt, and speak out of turn, taunt citizens to pushing them into legal action.
Basically, bringing the “bring it on” mentality. At the end, I’ll continue my thoughts on that. Thank you.”

23:39

Laurie Ortolano “Laurie Ortolano.”

Mayor Donchess “(And) you understand you’re limited to…I know you’re upset but you’re limited to 3
minutes.”

Laurie Ortolano “I’m not upset. I’m more than happy to speak. Thank you. I’d like to address the conduct
of Attorney Bolton and I really think Mr. Mayor you’ve let the situation get very out of hand and very
expensive for the taxpayers. This man is clearly compromised and unable to perform his duties. He had a
stroke a year ago and it has substantially slowed him down mentally. He should not be a trial lawyer
anymore. He should not be representing the city in a courtroom. He really isn’t suitable. It’s all personal
for him and I know a lot of it is personal for you as well. The level that he takes an issue to on a personal
level is absolutely ridiculous. He cannot serve as a municipal lawyer and function in any reasonable
capacity to serve this city any longer. It’s just absurd.

“My Right to Know suits were totally out of hand with this city. I had a great hearing on December 6th
pro se. I’m learning a lot in this one about the city’s records and what’s going on in there. I’ve got to tell
you, you’ve got some serious information problems. There’s no ownership. Attorney Bolton just is not
able to perform his job anymore and he just doesn’t have the awareness to continue. So I hope you’re
able to make a decision soon to bring in somebody who’s able to perform that task within the level of
work that has to be done. We just shouldn’t be paying what we’re paying for the services we’re getting
out of that office. I’m going to be putting a Right to Know for the bills and expenses that were incurred
for this piece that I’m dealing with right now but it wasn’t cheap for the city. It was entirely unnecessary.
I’ve got three more suits in the cue. I’m lining them up. I’m coming in and we’re going to keep going on
this Right to Know stuff until we start to get some compliance here. I’ll tell you as long as Attorney
Bolton is in that legal office, there will be no compliance. He really is not capable of performing this job.
Please don’t leave us in a situation here where we’re paying for a Legal Department that just can’t
perform…”

Alderman Harriott-Gathright “You have 30 seconds.”

Laurie Ortolano “…that it should be able to. Thank you.”




                                                                                                          266

                                                                                            NPD-LO-3964
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 267 of 424



Board of Aldermen Tuesday, December 21, 2021

https://www.youtube.com/watch?v=ONTaKOFpwkI

16:15

Laurie Ortolano “Yes. Lori Ortolano, 41 Berkeley Street. I'm glad to see this coming forward and a first
step to add, you know, affordable housing to the Nashua stock. I have a couple questions about the plan
and I'm hoping I can get some answers.

“The inclusionary zoning policy matrix that was put up here on the screen is different than the one that's
attached to the board agenda that I just pulled up off line and I believe that one from less than 10 and
10 to 49 was excluded and now you've added 10 to 49 is part of the program that requires affordable
housing. I don't know if I saw that differently. Was there a point where the data was different?”

Matt Sullivan, Planning Manager “There are two matrices presented within the policy. The policy that
was posted online actually should include both and I believe it does include both. The first matrix is
related to the policy that will exist from January 1st of 2022 to June 30th of 2022.”

Laurie Ortolano “Okay.”

Matt Sullivan, Planning Manager “The second matrix that Director Cummings showed this evening is a
policy that will exist I believe to be in perpetuity belongs to the updated from July 1, 2022 until a
subsequent update happens.”

Laurie Ortolano “Okay.”

Matt Sullivan, Planning Manager “There are two independent matrices that are intended to be a ramp
up of the policy and its implementation”

Laurie Ortolano “Okay, perfect. So I'm a little bit concerned about the group that falls in the 10 to 49
when you look at bonusing, you know, that they can get a density bonus. That's not a very high number
of housing units. I went to a presentation down in South Nashua where there's those townhomes going
in - 11 blocks, 44 houses. They would fall in this thing. They would end up with four that would be part
of the inclusionary, you know, have to be affordable housing. They get a bonus, which would allow them
to put another building up but I don't know that there's the space to actually do that and make the
bonus work. So I think the bonus might work best for numbers above that. But that's just a thought and
that doesn't mean I don't support this because I do. It's something you can check out.

“I was wondering if you have a mechanism in place on how you're going to monitor this and look at the
success of the program. It would be really nice when the Board adopts these things that once a year you
come back - the Planning Board or somebody with a table, a chart that shows how many affordable
housing units were created, what we did within these neighborhoods, and the benefits we saw so we
can actually have some tracking. I think that would be really helpful and that's not part of the ordinance,
but I think it would be very helpful.

“And I'm also wondering in Section C under terms location and size of affordable…”

Alderman O’Brien “30 seconds.”



                                                                                                       267

                                                                                          NPD-LO-3965
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 268 of 424



Laurie Ortolano “…units. How did we pick 99 years as the timeframe for the affordability? Why did we
go in such a long term?”

Matt Sullivan, Planning Manager “The initial intent was to provide a restriction in perpetuity, but
obviously in the State of New Hampshire we cannot do that. So 99 years was viewed as the best effort in
that regard. I will say the existing ordinance has a range of term within. It goes from 10 up to 30 years
and how long that term actually lasts.”

Laurie Ortolano “Okay.”

Matt Sullivan, Planning Manager “Our intent here is to protect as long a term affordability as possible.
So that's why we chose that 99 year period.”

Laurie Ortolano “Thank you.”



PLANNING AND ECONOMIC DEVELOPMENT COMMITTEE DECEMBER 21, 2021

https://www.youtube.com/watch?v=ONTaKOFpwkI

2:18:30

Laurie Ortolano “Hi. Yes - Laurie Ortolano, 41. Berkeley Street. I just want to say, you know, the
scheduling of these meetings I just think wasn't done correctly. You know to schedule 15 minutes for the
first meeting was absurd given the topic and that was without community input. It's over to two hours
and 10 minutes later that we're sitting here in an economic development meeting.

“I take great offense to the comments made by Alderwoman Klee regarding public behavior. You know, I
didn't participate in that behavior and it's not that I condone it but I feel like I've been in a lot of board
meetings where I've seen similar behavior from the board members here. I have watched people get on
their phone. I have watched President Wilshire wrinkle her face, make faces at me, cut me off. I've
watched Attorney Bolton interject out of the rules of order of Robert's Rules. I have watched people use
their cell phone. I have watched Alderwomen on Zoom go on social media - you Jan - type in social
media comments while you're present as a board member. I've seen it all and I've had to put up with
that. I think the call citizens out as children with poor behavior. It doesn't do any good and it's not to the
benefit. I mean tonight you chose not to have public comment and I e-mailed President Wilshire to ask
her if you were going to do a reading and place this as an item to be acted on would you allow
comment. I didn't even get the courtesy of a response.

“You have the right to allow no comment and that's fine, but I participated in a Board of Health meeting
two weeks ago and a lot has changed in two weeks. I would have challenged some things that these
health people said. I've got a letter from the President of Southern New Hampshire who just put his
letter out today saying we've come over the hump, we're coming down, and things are improving. I
would have read that into the record. Hospitalizations that Dr. Wolf who is my neighbor said we're up
12%. Since December 3rd, they're down 5%. We're down around 437, which is what we were on
December 3rd. The big surge came from November 15 to December 3rd. The way this is handled with a
one sided view, I have supported the Board of Health. I really have. I've been a big fan of theirs and I
understood the difficulty. They no longer have my support for what was said in here tonight. I do my

                                                                                                          268

                                                                                            NPD-LO-3966
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 269 of 424



research. So it's just really very disappointing Alderwoman Klee to hear the scolding that goes on
because you're the one who says, hey we're the Board. We have to take it anyway it comes, you know.
You can do whatever you want to do, but you really don't take it. It offends you but I've been offended
so many times in this chamber. I wish you'd consider that. Thank you.”

3:33:27

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just wanted to share a little bit of information
from the mask mandate meeting that you had. I think one of the problems with how you conduct your
business is that you're only willing to take your information from one source and even our Board of
Health consists of healthcare providers and doctors that only look at medicine from one perspective.
You could have doctors up there that would share a different opinion. You could have a nurse on that
board that would share a different opinion and it's interesting because there seemed to be four or five
people at the beginning of the meeting that were not keen on that mandate and by the end having
listened to your “experts”, they had all changed their mind. But they didn't allow the nurses that were,
you know, in the crowd, or on Zoom, or any of the other people to share any perspective at all. It's been
a while since people have been able to have a voice on this. It's two or three weeks since the Board of
Health meeting allowed community input, then they shut it down, and then we come out here to an
emergency hearing, and it shut down.

“I received the letter today from a friend written by the CEO of Southern and he wrote: “As we approach
the end of 2021, I wish to give my most heartfelt thanks to all and each of you for all your hard work and
dedication to our organization, blah, blah. He says we're anticipating COVID numbers are peaking now
and will soon begin to decrease. We're also pleased to announce that we are having success and
retention and recruitment of staff. It was a priority when I began at the end of September and we are
now beginning to see positive results.” This concept that you know this is going to blow up again isn't
reflected in this letter at all. They're not seeing it. When I told you that I looked at the numbers on
December 3rd, it was 433 hospitalizations. It went up to 462 on December 8th and right now as of
December 21st, its 437 and we do seem to be riding a wave over it. I really would encourage everyone
not to go downtown, don't go to restaurants, bars, clubs, and casinos. We shouldn't even be going into
them and they should be closed. If what the Board of Health is telling us that the death of one child is
significant and, you know, another hospitalization is a problem, then close those places where there's a
lot of close contact. Instead of having the doctors sit at the table and say, well, it's their choice if they
want to go and put themselves at that risk, I don't know how you can say that when in the second
breath you're saying it's overtaxing the hospitals and they can't handle it. I'm a proponent of choice.

Chairman Tencza “30 seconds”

Laurie Ortolano “Like I said, I've been a proponent of the Board of Health but tonight was - I can't
support that organization anymore. I think they're too one sided. They weren't objective. I was very
disappointed in Stephanie Wolf and the pediatrician for sensationalizing the death of a child. He had no
data on that and, you know, we know nothing about that to make a determination. I think the one
member who stayed true to their position. Have a good night and have a good holiday.”



Board of Aldermen Tuesday, December 28, 2021


                                                                                                         269

                                                                                           NPD-LO-3967
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 270 of 424



https://www.youtube.com/watch?v=5Eafp24qhiQ

58:31

Laurie Ortolano “Hi. Good evening. Laurie Ortolano, 41 Berkeley Street. Happy almost New Year. I
wanted to give my support to the affordable housing inclusionary zoning amendment. I believe the
Board is going to back that tonight. I think that's a move in the right direction. I hope we do some good
monitoring of that program and if adjustments need to be made to it that we move accordingly to make
those adjustments.

“I'd also like to speak regarding the Bartlett Street property. I think there was some good points raised
from individuals John Sullivan and another individual reading the housing issue and the housing
shortage. I do think that, you know, you're looking at creating housing versus preservation of land and
it's a competing issue here. I see a lot of spending going on in the city. I see a Mayor who's very liberal
(inaudible) in spending and I don't see a lot of solutions in place as to how we're going to afford what is
being spent. So that concerns me, it continues to concern me. So the Board is going to do what the
Board is going to do but I'm, you know, I'm watching what's going on here.

“Also a third item you have a lot of letters in your packet regarding the mask mandate that was put in
place. I asked Donna Graham to please provide me with any additional letters that didn't make it into
the packet. Your packet had, I believe 29 letters, but there were additional 33 letters that didn't go in
because they were not addressed properly with a full address to be counted. I think when you look at - I
hope all Board members got all of those letters because when you look at those letters, I was pretty
surprised to see the lack of support for the mask mandate on the level that I saw.”

President Wilshire “We’re not going to be acting upon that this evening Ms. Ortolano. Could you stick to
items we're going to be acting upon?”

Laurie Ortolano “Well they are the items you read into the record and you allowed me to do this before.
So they were acknowledged. So there were 42 people who were opposed to it and 21 people in support
the mandate. So I hope that one individual or several individuals on the Board asked for a weekly update
on the numbers and a weekly briefing be given to the Board. I don't see that that's on the agenda
tonight but I would like you to pay attention to that because I think you don't have that support because
people are not buying into what you're stating. I think your Board of Health was very misleading in what
they gave to the Board.”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “We're all concerned about the load on the hospitals. However, these are regional
hospitals that support patients from all over the area. Communities that are more population in the City
of Nashua, we should assume that it's only Nashuans that are filling the hospital beds. It's a
misrepresentation. I expect more from our Board of Health when it comes to data and I think they fell
woefully short. Thank you.”

3:16:02

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I wanted to address the Board of Education
meeting that took place on December 20th and the Mayor's involvement in that needing to speak
regarding the impasse on the teacher's contract. I really feel that that crossed the line when it comes to

                                                                                                        270

                                                                                          NPD-LO-3968
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 271 of 424



ethics and appropriate actions on the part of the Mayor to do what he did. I negotiated several teachers’
contracts when I was on the School Board and that work was maintained, you know, very private,
confidential work between the negotiating team which was made up of members of the Board, and of
course, teachers from the union. My understanding is the Mayor reached out to Heather Raymond to
talk to her about encouraging the School Board to accept the pay raises that the teachers’ union wanted
because there had been some concessions on health care. You know, he didn't have a negotiating
position to do that kind of overreach but he said that he was going to go to the meeting on December
20th and speak as a citizen because as a citizen, he has a right to do that.

“Well when he went to the meeting on the 20th, first of all he was given five minutes to talk and he
never identified as himself as a citizen at the microphone. He identified himself (lost audio) and he
proceeded to, you know, certainly get the teachers fired up in support of what he was saying and
clapping for him. But tonight, it was mentioned by a Board member, I think Ben Clemons, that he didn't
suspect that the Mayor would bind the city into any kind of agreement if he were to negotiate the
Bartlett Street property. In that meeting on December 20th, he made it clear that he thought that the
Board of Education should make every effort to give the additional percentage point that the teachers
wanted and we at City Hall will help you in terms of providing the funding to support the contract. You
know, what right does the Mayor have to stand at a microphone and let the teachers know, when
they're at an impasse heading into mediation that the City Hall is going to make up the difference or
more of it? You know, he totally blew their mediation because now these teachers are going to want
what a Mayor said he can deliver and frankly, I'd be furious if I were on that negotiating team that a
Mayor could do that and hijack my meeting.

“Secondly, he talked about the fact that the concessions made…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…he realized that the city was that their agreement for healthcare reform was a
significant savings realized to the city to offset a significant portion of the raises that are being
discussed. What exactly is that portion? He didn't define it. We know that with the additional
percentage put on it's probably $11.5 million dollars of raise increases is a significant portion with the
healthcare adjustment of $7 - $8 million? Is it two or three…”

Donna Graham, Legislative Affairs Manager “Time.”

Laurie Ortolano “…he never disclosed that? So I hope you all realize that I think this is a very serious
ethics violation for this Mayor to do what he did. Thank you.”



Board of Aldermen Tuesday, January 11, 2022

https://www.youtube.com/watch?v=5OiszWQgLJY

13:44

Laurie Ortolano “President Wilshire are there any items that allow public comment to happen because
there is nothing being acted on, is there?”

President Wilshire “No there isn’t. That’s true.”

                                                                                                           271

                                                                                           NPD-LO-3969
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 272 of 424



Laurie Ortolano “So I don’t know why we put it in. Just checking to see if I’m missing something. Thank
you. I’ll lower my hand.”

17:11

Laurie Ortolano “Hi. My name is Laurie Ortolano. I live at 41 Berkley Street. I finished a Right-to-Know
lawsuit regarding Nashua’s assessing records in December in Superior Court. One of the challenges
involved the records return by the contracted appraisal company responsible for creating the 2018
assessments. The contract signed by the city and the company is a boilerplate document development
by the DRA and widely used by municipalities around the State. The contract calls for all documents and
property record cards used to create the new values be returned to the city when the contract ends. I
filed a Right-to-Know to inspect these documents and was denied by the city under 91-A exemption for
draft material and confidential information. I contacted many Chiefs throughout the State, the DRA, and
attended Assessing Standards Board meeting in Concord. I questioned everyone on the confidentiality
and draft nature of the information. Not one person backed Nashua’s decision to make those records
exempt from public disclosure. I wrote back to the city three times presenting a new argument each
time on the importance of these materials being public. These records provided an audit trail for the
work done by the hired company and allowed a property owner to verify that Nashua created equity in
these new assessments.

“After three months of denials, I added this to my lawsuit. I then wrote formal Right-to-Know requests
to four towns to request to inspect the records returned by their hired appraisal companies. Unlike
Nashua, my requests were answered in a matter of hours. One request – this was the Town of
Moultonborough where I own a home. Chief Hughes who served as the Director for the DRA invited me
up to inspect these records expounding that they are your records. Chief Michaud from Hudson granted
written access to the records and the Wolfeboro assessing clerk also welcomed me up to inspect the
records. I finally contacted the assessor in Littleton, New Hampshire. Why did I pick Littleton? Because
the Littleton assessing office is contracted to KRT. The same company we hired to do our 2018
assessment. The contract language for the return data was identical and KRT did the same type of 2018
update as was done in Nashua. When I called the Littleton assessing Chief Dorcette from KRT, I
wondered how far my reputation reached. Mr. Dorcette immediately stated that these records if we still
have them available are public records and affirmed his remarks in writing. Why did Nashua deny…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “When Ms. Kleiner was placed as Acting Chief of the Assessing office, I objected
strongly. She did not have the skillset to be qualified for such a technical position. Ms. Kleiner assured
the Board that she would consult with Chiefs around the State to verify that her work was compliant. In
December under cross examination in court, Ms. Kleiner stated that she never spoke with any other
State experts about the public nature of these records. Had I lived in any other place in New Hampshire,
I would have had access to these records.”

Donna Graham, Legislative Affairs Manager “Your time is up.”

Laurie Ortolano “Ms. Kleiner deliberately acted to shut down – I’m on one sentence – the audit trail that
allowed me to verify my property assessment and defend it in court as well as KRT’s work. The matter is
now in the hands of the Judge and should not be. This was a needless, costly legal challenge…”


                                                                                                       272

                                                                                         NPD-LO-3970
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 273 of 424



President Wilshire “Okay, your time is up Ms. Ortolano.”

Laurie Ortolano “Okay, I ran 15 seconds. Seriously? Nobody is here to talk. Seriously Ms. Wilshire? I wish
somebody else had picked a new President. Fifteen seconds.”



BUDGET REVIEW COMMITTEE JANUARY 24, 2022

https://www.youtube.com/watch?v=g7LytDnM1N8

3:09

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I was wondering if the Budget Committee has any
means or mechanisms to track the ordinance that was passed to allow folks who go out on sickness due
to COVID to not to have to use their sick days. I was just at that the Police Commissioners meeting.”

Chairman Dowd “We can’t talk about that at this meeting. It’s not on the agenda and you’re breaking up
so it’s hard to hear what you’re saying.”

Laurie Ortolano “Yeah hard to hear what you’re saying as well. I can’t talk about it until the second
public comment is that what you’re telling me?”

Chairman Dowd “No. It’s not on the agenda. It’s not before the Budget Committee. You can talk about it
tomorrow night.”

Laurie Ortolano “Well wait a minute. Don’t you have a second public comment at the end?”

Alderman O’Brien “Yes.”

Chairman Dowd “Yes. That you could probably bring it up.”

Laurie Ortolano “Well that would be exactly how it would be done there. I will do it at the end. Thank
you.”

53:57

Laurie Ortolano “Good evening. This is the worst (inaudible) audio/video meeting I’ve experienced. It’s
rough for all of us and I do… Chairman Dowd Yes. That you could probably bring it up.”

Chairman Dowd “Did you identify yourself?”

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple of things. I’m wondering if anyone is
tracking the expenditures of sick time associated with the new (inaudible) I believe in December to allow
those vaccinated to not have to use their sick time if they catch COVID. I’m interested in that because it
turns out this next variant that we’re dealing with ended up being very contagious whether you were
vaccinated or not. The Board of Health had to hospital Executives on the meeting on Wednesday I
believe it was and they both said that their hospitalizations are 50/50 vaccinated and unvaccinated that
it really didn’t make a difference and they weren’t seeing any impact or significant difference in the
health between those who were boosted and those that weren’t. So this is an equal opportunity infector
and I’m wondering what the financial impact is of that policy. I was not a strong (inaudible).


                                                                                                        273

                                                                                         NPD-LO-3971
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 274 of 424



“Also I’m trying to get financial reports for the Board of Public Works. I think we are missing an
opportunity to have the kind of oversight our elective body should be doing when it comes to finances.
The Fire Department and the Police Department produce month financial reports that are very well
done and excellent. The Police Department (inaudible) at their monthly meetings. I’ve been trying to get
a hold of monthly or any kind of financial reporting for the Board of Public Works because the City
Charter states the Board of Public Works will follow and track expenditures. That’s part of I think
Subsection 61. I think we have an obligation (inaudible) million organization to do that kind of tracking. I
would like the Aldermen to support me on recommending (inaudible) financial reviews start happening
and boards start becoming a little more educated about the money and the public be able to have
access to these reports. The Board of Public Works meetings have changed to early afternoon and I
haven’t been able to go for three months and I won’t be able to go any longer. That’s fine. They’re not
geared toward the public to participate anyway and there is no interest to allow the public to
participate. I would like the financial reports. I think its fair…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “…to help me get those. I would really appreciate it. Thank you very much.”



Board of Aldermen Tuesday, January 25, 2022

https://www.youtube.com/watch?v=Cby5WMDpoEA

12:50

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Please end this mask mandate on January 31st.
First of all, I’d like to know can you provide the legal authority the Board is relying on that permits New
Hampshire cities and towns to require face coverings. Does the City of Nashua need to require or
mandate face coverings because of grant money you’re receiving by the federal government. Given the
way these ordinance are written, they’re call out as an emergency act. Can you identify the emergency
you’re relying on for these face covering ordinances and State law Chapter 31, Section 5, requires that
cities and towns obtain permission from the courts to spend money in a city emergency and have we
done that?

“I take objection to the Mayor’s comments. His information to Alderman Comeau was not correct. The
hospitals do not break out incidental cases. They’re reporting incidental and COVID admissions and they
are admitted. People go to the hospital to have their gall bladder out. They get there, they get COVID
tested and their positive. They’re admitted. They’re counted as COVID but they’re there to have their
gall bladder removed. Two weeks ago I checked on those numbers. There were 30 something cases in
the hospital. Twelve were incidental. Massachusetts has requested that hospitals break out all incidental
cases. We’re not doing that in New Hampshire. The doctors who came to the Board of Health meeting
last week and spoke to the Board of Health, they were surprised visitors who were given public
comment and the few members of the public were there were not given public comment. That is not
correct. They were not on the agenda. It was a very disingenuous meeting for those of us in the public
that wanted information. Those doctors came with one data point.




                                                                                                        274

                                                                                          NPD-LO-3972
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 275 of 424



“I had written a letter to the Board of Health and asked them to gather data and show us the whole
pictures and in come doctors with one day’s data point. Southern had 46 patients. A record high on
Wednesday. Sunday it was 14. They changed dramatically and we need running data. I’d like to know
when the first ordinance where you came up with all the statistics that our local hospitals are reporting
60 to 80 percent of the patients are unvaccinated and ill. If you’re following the data now, more of these
patients going into the hospital are vaccinated. In fact, the Board of Heath doctors who came - the two
hospital doctors said that Director Bagley asked them if more of the patients in the hospital are
unvaccinated, she said no it’s 50/50. They both said that.”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “And they both said the booster makes no difference. So I do not think we need this
legislation. The Mayor said a 14 day average data he gave me, that’s bad data. Get the seven day data,
that’s what’s posted on the New Hampshire dashboard. Look at the fall. It has come down dramatically
and this is yesterday. Today it’s down another – I just checked it. It just clicked in and it’s down another
five percent. Please go another week, lift the mask, peel them off everyone and be done (inaudible) this
mask forever and it’s time to take it off. Thank you.”

1:45:01

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just a couple things. Thank you for your thoughtful
discussion tonight on the mask mandate. I certainly was a proponent of lifting it and it doesn’t really
bother me because I know that our surrounding communities are available to go to to do your business.
I choose to do that and then I don’t have to use the mask. I have been a mask wearer very avidly and a
big supporter of it but I changed my views about six weeks ago and I don’t use it anymore because I did
research on my own. I really feel that it’s not the right thing. I appreciate the thoughtful discussion.

“I would like to address Alderman Moran. When you talk about the responsibilities we carry because of
our hospitals, I think it’s unfair to put that on Nashua people. These hospitals are supported by all these
other communities. It’s a regional hospital. I’m not responsible for what goes on in the hospital and I
can’t do anything about it. We as citizens don’t get any data on the hospitals. Nothing comes to us with
any consistency at all. Apparently it goes to the city but they don’t put it out to us. All these surrounding
towns don’t have ordinances and they put their people there. So I don’t understand why I’m responsible
for the Nashua hospitals or I have to feel badly because I’m not doing enough. When you leave
restaurants, bars, casinos, and clubs open, and those were where contract tracing showed when we did
that that there was an issue. Then what’s the point? I don’t think kids doing sports doing sports should
be in masks at all. I think it’s more harmful to their health.

“This is a business owner – Buckley. We have SURF and MPs on the top – mask required. Three miles
away, we got the two other restaurants in Hollis and in Merrimack. Come in without out. Is that a
business owner that doesn’t care and isn’t responsible to his duties to protect everyone in the hospitals?
Should this business owner be doing business here to do that? That’s what you put the business owners
in. Now there’s a few stores I’ve gone in to Nashua, and I do mean very few, and they actually let me not
wear a mask. I went into a pet store and I literally was putting my mask on and the ladies said you’re the
only one in here. You don’t have to put it on. I don’t feel like I’m breaking any big rules and I was literally
the only one in there. I went to another business, small one, the owner doesn’t wear a mask at all. He
said you don’t have to wear a mask. I don’t wear a mask.”

                                                                                                           275

                                                                                             NPD-LO-3973
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 276 of 424



Alderman O’Brien “Thirty seconds.”

Laurie Ortolano “I did it that way. Our data is coming down and the Mayor is not giving us the kind of
information we deserve. You cancelled in the last five meetings on masks, you cancelled public input
three times. Two Board of Health meetings cancelled and one Board of Aldermen meeting cancelled on
masks. You want to know why people send e-mails that maybe are not so nice, because you cancel us
out. I’m okay with this mandate. I’m not going to fight it.”

Alderman O’Brien “Time.”

Laurie Ortolano “I have other places to go. Thank you.”



FINANCE COMMITTEE FEBRUARY 2, 2022

https://www.youtube.com/watch?v=de6V1BR1VdE

2:26

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Is all the business I believe is new business,
correct? There’s no business, right?”

Mayor Donchess “Correct.”

Laurie Ortolano “Okay so I’ll wait til the end. Thank you.”

35:48

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just quickly. I would like to understand the TIF
program that was just discussed. How do we justify what goes into the TIF program and why would like
a road project go in there? I think we should understand how we grow that and what goes into that
because I’d like to understand that.

“Also I think we should address eventually the policy on COVID sick leave. I did get some financial
numbers that I couldn’t fully understand that showed about $133,000 went into paying for employees
that got ill and didn’t have to use their sick time because they were vaccinated. As you know, I think I’ve
expressed that I think that policy was a mistake and we should follow up on that and determine what
impact that had on vaccination and what the overall costs are going to be because $133K for just over
really a month of sick time I think is pretty enormous.

“I’d like to ask that Mr. Mayor you tighten the reins on City Hall and you try to get employees
particularly managers back to work in the building. I think this COVID remote work has been going on
too long and there is a lot of management that isn’t here for like a year. Sue Lovering is rarely in. Lisa
Fauteux is rarely in. The finance office is rarely in. Usually if you ask somebody if they’re in, they’ll tell
you they don’t even know. They don’t know if they’re in or out. They don’t know if they’re working at
home or they’re here. Go run around City Hall and see if you can find them. I mean to me it’s like the
love boat in here and I think we’ve got to tighten it up a lot. I think citizens deserve to have their
employees working in the building and I think it’s time to get back to that and not allowing very long
work from home programs particularly for upper management.


                                                                                                             276

                                                                                               NPD-LO-3974
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 277 of 424



“Also I’m concerned about the barrier issue. I think that that’s been pushed away from the public view
and eye that it was supposed to be set up. We had this crisis mode in December. I’ve been given some
insight information that it’s being developed and worked on internally but nobody on the outside knows
anything about it. I got very incomplete barrier data in my Right to Know request. It looks like all of the
surveys that were talked about for months really nobody actually saw them or knew what they looked
like. It was just random information that was put out there. I still think there’s a lot of frustration on
that.

“Finally…”

Alderman Comeau “30 seconds.”

Laurie Ortolano “…I received an e-mail today from the Clerk’s office that I think is very disturbing and
you know Mr. Mayor I responded with an e-mail to a nonprofit organization over a very hostile response
I had received from an Executive Director and the Executive Director is no longer working in that
position. That was a month ago and I feel the e-mail I got today is equally as horrendous. It would be up
to you to respond and I know that you’re not going to do that. This is ridiculous was what written here
and beyond out of line. Thank you.”

Mayor Donchess “Well it is not accurate that these people aren’t working or not in City Hall. Sue
Lovering is here all the time. Lisa Fauteux does not work in City Hall. She works at Public Works.”

Laurie Ortolano “She’s never here.”

Mayor Donchess “She’s rarely in City Hall but she’s at Public Works and I forget who else you
mentioned. John Griffin – he was ill for a little while but he’s always here.”

Laurie Ortolano “You’re very wrong on that. You don’t know where your people are.”

Mayor Donchess “And you do?”

Laurie Ortolano “I do. I come and I ask. Thank you.”



Board of Assessors Meeting of February 3, 2022

https://www.youtube.com/watch?v=PxJBoYq1Hww

5:01

Laurie Ortolano, 41 Berkeley St. —Ms. Ortolano raised several concerns regarding the site of the
proposed Nashua Performing Arts Center, particularly how it was valued for tax year 2021.

The following was transcribed by E. Vassar on March 18, 2024 from video

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple of things. You folks had a presentation
regarding the new market tax credit, I think, here at the last meeting. And I wasn’t able to be available.
But I wanted to point out that, one, I appreciated the comment by Bob Earley in the confusion about
how this really didn’t make sense. What you indicated is exactly what Laura Colquhuen has been saying.
Okay? And I hope you appreciate the complexity of what’s been done here. It’s really a sham for


                                                                                                       277

                                                                                          NPD-LO-3975
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 278 of 424



taxpayers who funded that. And two of you sat pretty quiet. Bob, you raised some good comments, not
necessarily questions, but comments that have been expressed by the public. Tim Cummings mentioned
that we’re going to – the company running the arts center is gonna pay the bills. We’re paying rent for
two-hundred and fifty thousand the first year, goes up to five-hundred thousand the second year, and it
increments up. We bought the building, we funded it, we built it, and we’re paying rent. It’s kind of
absurd. These new market tax credits are not known to be the most clear methods or considered the
most proper methods to obtain funding. And I wish we hadn’t, because our Aldermen couldn’t explain it
to citizens, ya know, what was done. I had an email from an Alderman who said, ‘I don’t understand it, I
don’t know how to explain it. My spouse and I are tying to figure it out.’ Well, when you vote as an
Alderman, vote ‘no’ if you don’t know this stuff. Cuz it wasn’t a good thing. I asked specific questions
about the property for the arts center, and questioned whether the assessment was correct, because
nobody did the April 1st assessment correctly. The building was a shell. It still taxed at over two-million
dollars. Two-point-five million. I was told by Doug Dame in December when I checked in to the
Assessing Office that my questions would be answered. The holiday was coming up, it would take a little
bit of time. I never got an answer on why that assessment wasn’t done correctly. That was my question.
I came to a Board of Assessors to address an assessing issue. We got a new market tax credit overview.
And I never got my questions answered. And I think my assessing questions were worthy of being
answered.

“Let me switch over to legislation a little bit. I think there’s a great opportunity to enact some legislation
up at the state - and I hope Mr. Bergeron is listening – on these rental properties. We’re about to
reappraise these rental properties, and New Hampshire is the only New England state that doesn’t
allow, or doesn’t mandate, that rental properties have to submit their financial statements as proof of
income they’re receiving. It’s an honor system. With the high property taxes we’re paying in New
Hampshire, that should not be the case. And there have been articles after articles in the paper about
how rental properties are being snatched up by income investors, ya know, big investing companies.
And, in fact, at 30 Concord Street, there’s an old apartment, five units, that is assessed around four-
hundred-thousand dollars. It got purchased a couple months ago for one-point-four-million by an
institutional investor out of New Jersey. They don’t have to show any income statements on that to us.
And I think that hurts us as residential property owners, and I think that’s the kind of legislation that our
Aldermen should be working on to see to it that those justifications have to be provided when updates
are done.

“I’m also very interested in seeing legislation change such that you can abate your property every year,
whenever you want, regardless of an update. Because cities like Nashua that push it off for five years,
and don’t equalize disparaging properties, stick people with bad assessments for five years because they
don’t handle their data correctly. Up at the Lakes Region, my property is reassessed every year. I do an
update. Every year, I can contest my property value if I wanna do an abatement, because a new update
is produced. We’re not doing that down here, and we’re not equalizing our data well.

“The next legislation issue I think needs to be addressed is the equalization ratio itself. That ratio is a
combined commercial-residential ratio. And I think the time has come to split that. You’re gonna have a
ratio that’s down around, ya know, 72% this year. Commercial properties didn’t lose that kind of value.
They get to apply those ratios to their abatements at the same level that residential properties do. And
on the flip-side, when you average that ratio, you’re taking residential properties, and you’re preventing
them from getting the correction they deserve, because you’re using the commercial data that didn’t

                                                                                                          278

                                                                                            NPD-LO-3976
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 279 of 424



change much to set that ratio. And that is really a screw-over to taxpayers. It’s really not good. I know
this has been discussed up at the State before, and I think the time is good – I actually just heard that
they’re doing some work on this – and I hope we split that and change that so we can have a more-fair
shake when we reset these assessments.

“So those are the things I’m working on. I would’ve liked my questions answered (inaudible)… I don’t
think that property at the arts center was ever assessed correctly.”



PERSONNEL/ADMINISTRATIVE AFFAIRS COMMITTEE FEBRUARY 7, 2022

https://www.youtube.com/watch?v=4eJ4oKkKrSQ

2:35

Laurie Orlando “41 Berkeley Street. I'd like to address Ordinance O-22-002 allowing Alderman to
participate in meetings through video teleconferencing to the presiding officer and conduct the
meeting. I'm opposed to this ordinance. I think it's really important, particularly the presiding officers,
that you have a presence in the chamber. I've testified quite a bit up in Concord. There's a lot of
different legislation up there this year on remote meetings. Right to Know New Hampshire has been
opposed to those types of meetings and switching to that format. I think our elected people really need
to be here. I know that we've been through a lot with the pandemic. I don't anticipate that we're going
to stay in it forever and I don't think we can use the fear of COVID to keep us from coming out and
participating. There's a lot of good things that happen when you're in a live meeting with people, and a
lot of social cues, and body language that tells you what's going on in a meeting that you don't get when
they're not here. I have not liked the video conferencing done, particularly where elected people keep
the video off but they're on. I think we should be able to see our elected officers.

“I also think the video quality at times is intermittent. As far as the telecommunications, the verbal - the
communication it's not great. The past two months have been a little spotty, a little tricky. I don't know
why I'm not complaining about it. It's just the nature of the beast but I think it also makes recording
minutes and having a record of the document that is so utterly important under RSA 91-A for the
broadest access to public information and public meetings to be obtained. So I would ask all of you to
not support that and really embrace being in this chamber, and being together, and being among your
citizens who come out and want to converse with you. I think more of us will come out as things get
better and that we conduct business the way we've always done business. Thank you.”

1:33:41

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just wanted to give you, you know, something that
came across my phone right now that was from the Atlantic because I get the electronic subscription.
New Jersey, Delaware, and Connecticut will end their mask mandates in schools next month. I'm
particularly excited about that and would like to see the Nashua schools follow suit.

“I'd like to share with you - I liked the discussion on the meetings. I'm going to send some written
testimony and I think Zoom should be maintained. I think my experience up at the State House for the
last month plus five weeks has been awesome being able to go live without a mask and talk to people. I
talked to people elected representatives before and after meetings and they have sought me out to

                                                                                                         279

                                                                                           NPD-LO-3977
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 280 of 424



come participate in other bills and do a lot of work up there and that would never happen if it was
Zoom. So I'm really appreciative of that.

“I wanted to let you know that I did file a pro se lawsuit regarding email and data storage. I want to
share a little information about that. I've had a lot of concerns with data and records in the city and
because I have a captive or audience of elected people here, I want to talk about it. I got the ruling from
the court today and the Judge ruled in my favor. I tried to get two months of emails from an employee
left at Christmas time last – November - December and the city denied them as not reasonably
accessible. It didn't give any reason why and that's what concerns me is I got no reason. So the court
said first to the extent the city contends that it need not search the backup tapes because that added
time renders the search unduly burdensome, the court disagrees. As discussed above, the city has the
technological capability to retrieve responsive documents from backup tapes and has already done so
with respect to an unrelated record request. Mr. Miseirvitch also testified that the time it would take to
restore a backup tape that would have located those responsive documents to the petitioner’s request
should only take a couple of hours. This additional time does not render the results search so time
consuming as to obviate the city from having to perform the search. Then the court said there is nothing
in the record to indicate that there are no practical obstacles to assessing the backup system in order to
comply with the petitioner’s request. For instance, the city is not alleging it would need to heavily redact
the emails once located. It says finally the court disagrees with the city that is not required to search the
backup tapes because such a search is incompatible with the old document retrieval system. The court
did not find…”

Alderman Thibeault “30 seconds.”

Laurie Ortolano “…searching the backup tapes would be incompatible with the city's retrieval system.
Based on the foregoing, the court finds that the city has not met its burden to show that the search of
the backup tape was not required. It did not perform an adequate search. Per 91-A and the court grants
the petitioner’s motion to compel the city to conduct a search. It then concluded that I could submit a
record to ask the court ordered the city to undergo training and that I could submit a record within the
next 30 days to do training and, you know, I think we have a lot to do with our record retention system
here in the city. A lot of work to do. Thank you.”

Chairwoman Kelly “I would appreciate if you would put that in written because I know you're trying to
get it in your three minutes but there's a lot of information there. So make sure you submit that please.”

Laurie Ortolano “Say that again?”

Chairwoman Kelly “I didn't hear everything because you said you were going to follow up with written
testimony. So I was just hoping that you would do so.”

Laurie Ortolano “Oh, yeah on the Zoom. I will. I'm going to do it and I'm going to do it to the Board
meeting when you do it.”



Board of Aldermen Tuesday, February 8, 2022

https://www.youtube.com/watch?v=IRDQuy0bjpQ


                                                                                                         280

                                                                                           NPD-LO-3978
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 281 of 424



34:48

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Madam President I’d like to ask for an extension of
time given what happened here tonight.”

President Wilshire “No. We have a three minute time period. That’s the end.”

Laurie Ortolano “I did not know Ms. Kleiner was going to be granted an exception to speak to an item
that I could have spoken to as an item being acted on.”

President Wilshire “You’re wasting your time so just get on with it.”

Laurie Ortolano “Please don’t interrupt me. It’s very concerning to me that she could come to the
microphone and defame my reputation, and make the statement she made about requiring a police
investigation, and me impostering a city official which is completely inaccurate, and not go into
nonpublic session to allow my reputation to stay intact. I had to go into nonpublic session when I
discussed an abatement regarding an assessor whose name was never used because the city wanted to
protect the assessor. It was just about an abatement value. I come here and I hear the entire public just
got a report that I’m under criminal investigation for impostering a city employee and it never
happened. I wrote an e-mail. I absolutely did make those calls. I want you to all know as well that Tim
Cummings has sent me responses to Right to Knows where he has told me to contact vendors myself.
Call them. That’s how the city is directing me to handle my comments, my concerns.

“I called Inception Technology two months ago. I never hid it. I called them again last week because of
information from a Board of Assessor’s meeting. I wrote an e-mail to the city to tell them I did it. Do you
think I would be that forthcoming if I wanted to imposter somebody? If I was being sneaky? The guy’s
phone number is in my phone. I sent him an e-mail today and I didn’t make four phone calls to speak to
people. I couldn’t reach anyone. They must have tagged it. I did send an e-mail which he didn’t tell you
to Ray the President to ask him to look for the property record file for the arts center that I’m trying to
track. Here you’ve got Tim Cummings telling me to contact the company in Boston doing the parking
surveys and get the data down there yourself. You’re trying to figure out what regulations you’re going
to put in against citizens contacting vendors. Are you kidding me? I can’t tell you how upset I am
because I can’t even defend myself.”

Donna Graham, Legislative Affairs Manager “30 seconds”

Laurie Ortolano “There are two sides to a story and I had no idea. I’ve been nothing but forthright with
this city and Ms. Kleiner to share these communications and once again, I come in and I am ambushed in
this meeting. Completely ambushed. I didn’t even have the courtesy of getting the documents you all
have. I have no rights in this city. Where are the First Amendment rights for your citizens? Where’s my
side? Where’s the nonpublic session to protect my reputation.”

Donna Graham, Legislative Affairs Manager “Time.”

Laurie Ortolano “Please start thinking about that.”



FINANCE COMMITTEE FEBRUARY 16, 2022


                                                                                                       281

                                                                                          NPD-LO-3979
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 282 of 424



https://www.youtube.com/watch?v=VdXs72LtIWI

20:53

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’d like to talk to you a little bit tonight about the
barriers and the barrier issue. I’m really disappointed to learn and today I learned there was a public
meeting of the Downtown Improvement Committee January 14th that was never posted. I would say
legally such that the public knew the meeting took place. It was a 90 minute meeting. The bulk of the
discussion was about the placement of the barriers. On January 12th, I sent an e-mail to Alderman
O’Brien and Tim Cummings requesting any information on this committee, any committee meetings that
were going to happen. The Right to Know was actually ignored. I never got a response on the 12th.

“This is my file that I put together today that has about six e-mails that were sent to Alderman O’Brien
and Cummings trying to find out when meetings were going to happen, how the committee was being
set up, and how I could participate or know about it. I got stonewalled for two months. I learned
through a back door that there was never going to be a committee picked as said in the public meeting
on December 8th that the stakeholders – and I have confirmation of this through e-mails – was going to
be just a downtown committee of stakeholders. Well I realize now that that committee is the Downtown
Improvement Committee. It was never directly said. Tim Cummings was meeting with them for two
months to go over developing the plan and getting input from them. I can tell you if the public had
known, there would have been 25 people out there. I know there would have been. The best place for
the public to have their input is in these smaller subcommittee meetings. They’re much more productive
that coming to a board meeting.

“I received the most offensive e-mail last night from Tim Cummings telling me that I didn’t miss
anything. I shouldn’t be concerned that those two meeting weren’t really posted because you’ll have all
the opportunity you need when it goes to the board. You know what, that’s the normal process. The
normal process is that I’m allowed to attend all public meetings that are public meetings. You don’t get
to pick what meetings I get to go to. At any time the Board of Aldermen can cancel public comment.
They’ve done it before. The Board of Aldermen doesn’t answer questions.

“I’ve got a drawing in front of me now that I actually have questions about. If I had gone to those two
committee meetings, I could have asked questions. When this come up…”

Alderman Gouveia “30 seconds.”

Laurie Ortolano “…I can’t ask questions. Today I went over to City Hall to try and get the records for the
minutes for the Downtown Improvement. I was treated so hostile by Tim Cummings I was floored. I
waited 45 minutes outside this office at that table just left a message when he was done his meeting
that I wanted to talk to him. He literally ran down the stairs, yelled at me that I didn’t have an
appointment and refused to answer if the minutes were in his office.”

Alderman Gouveia “That’s time”

Laurie Ortolano “Thank you.”



Board of Aldermen Tuesday, February 22, 2022

                                                                                                        282

                                                                                          NPD-LO-3980
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 283 of 424



https://www.youtube.com/watch?v=tpENCdsPXGw

15:59

Laurie Orlando “Laurie Ortolano, 41 Berkeley Street. Just a couple things. I want to thank Alderman
Moran for bringing forth this motion to consider lifting it tonight. I know that citizens appreciate it no
matter what happens. It's very representative, I think, of where the public stands and how they feel
about you know moving this on. So I appreciate what you did.

“Mayor Donchess I did send you an e-mail and I asked if you would address what you're doing with City
Hall if this mandate is lifted, I think it's important that we know that. I talked to Alderwoman Timmons
today and she was going to address it here at the meeting for me. I didn't know masks would be allowed
to be discussed so I'm bringing it up. But I would like it to be clearly understood by us that you're on
board in lifting this in City Hall. I think it's been pretty ridiculous that all your staff is behind this thick
glass not really wearing masks and moving around and the citizens come in pretty light flow, pretty light
group of people coming in and we're all forced to wear masks and no matter what amount of time we
spend in the building. I don't think its representative of what's going on anymore, and I think it needs to
be lifted, and I'm concerned that you stuck in solidarity with what the schools were doing when you flip
this mask thing back into City Hall in September and not out in the public. So please support your
community fully and make certain you make it clear tonight what you're doing with the masks.

“I do disagree with Dr. Storace. I don't know that he's correct that the masks worked. Yippee, we know
it. I don't think we really know that with the data. I think masks work too. They do work but I think the
amount in what you get from a mask based on what I've read doesn't benefit or way out with what's
really going on. I don't know how Dr. Storace can say that Nashua having a mask ordinance with a dozen
towns surround us that service the hospitals not having an ordinance really made the difference of
keeping the hospital load low. I just don't know how you can say that. I mean I really want something
more definitive than the number went down. What would Dr. Storace say if we didn't have the mask
mandate, and the numbers went down that way? Oh, the masks weren't needed. But we don't know.
It's not the experiment we’re running. I don't like data used this way and I don't think we're being
consistent and reasonable with how we review our data. I was a big advocate last night and I spoke at
my first Board of Education meeting to get these masks off the kids. I think the Nashua School Board…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…made some really bad mistakes and parents who want choice in education have to
leave this district. This is not the place to educate your kids. Thank you.”

2:00:46

Laurie Orlando “Laurie Ortolano, 41 Berkeley Street. I want to address the barriers. On December 8th
when we had an Infrastructure Committee meeting, Director Cummings said that he was happy to
facilitate a working group and it would be a public meeting where it would be publicly noticed.
Alderman O'Brien stated, “It's my intention probably, maybe to have it as a full committee but I'm
willing to appoint committee members. I would encourage that it's open to members of the public, the
stakeholders. We’ve got to have the stakeholders. We got to have you people at the meeting to really
tell us. To come to the Aldermen meeting like this is really not the kind of place it's putting the horse -
the horse got out of the barn a bit. So off we go on the ninth with we're going to get this committee

                                                                                                            283

                                                                                              NPD-LO-3981
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 284 of 424



done and it's an urgent thing on the eighth. On the ninth, I wrote a question. I asked O'Brien you know,
what's going on? How does this committee really get appointed? I was told after January 9th when the
board is sworn in will do with it. And then he said, “As stated earlier, it's a work in progress with a keen
eye on the calendar for a solution that stated with an eye on the calendar. I assure you it is a project of
high priority and it will be done.” I looked on the calendar. It was never posted.

“On January 12th, I wrote an e-mail to Alderman O'Brien and Cummings requesting an update and had a
committee been selected, and general questions on the format, and I worded as a Right to Know. I never
got a response but I did learn last week that on the 11th Cummings received an e-mail from Marylou
Blaisdell that informed him of an upcoming meeting on the 14th - two days later with the DIC to discuss
the barrier issue. Nobody was told. I was never told through that Right to Know. This meeting was never
posted on the digital city calendar.

“On January 26, we had an Infrastructure meeting. Barriers went out on the agenda. It was very strange,
weird. I spoke at the end. I was the only member of the public there. At the end, I said I’m confused with
this is an emergency. What's going on? Alderman O'Brien waited till the very last comments and said
there's an organization that's been around probably since the inception of Main Street and we're relying
on them for citizen input. He went on to say we need stakeholders and I might have a few names I can
give you. I feel it was very deceptive not to state who that group was. You didn't even say it was a public
group. I didn't know who you were talking about. I've never been to a DIC meeting. The last set of
minutes online are from April of 2021 and there has never been a committee report…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…submitted to the Board of Aldermen since last year. This goes on and on with
deception and Right to Knows. I was tasked by people in this city to try and tell them when something
was happening. I did everything I could to do that and I got duped because nothing was posted. I'm very
disappointed at the underhanded nature. We gave you about $50 million to improve the downtown
with an art center, with a walkway, with School Street project, and now we're hearing…”

Donna Graham, Legislative Affairs Manager “Your time is up.”

Laurie Ortolano “…if we don't give you the sidewalks, it's not good enough. I think we gave you enough.
Thank you.”



BUDGET REVIEW COMMITTEE FEBRUARY 28, 2022

https://www.youtube.com/watch?v=Eo_jAV0OFOw

1:02:53

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I wanted to talk to you for a few minutes as you go
into budget season about a couple things. 1) I’m hoping that you reach out to the Board of Assessors
Rick Vincent and talk to them about what needs to be changed for the elderly exemptions to get that
funded in this year’s budget because there is going to be big changes in these properties, really big
changes, and I don’t think we want to phase it in and there is no reason why we have to. It can be a
break even item and I think that’s worthwhile getting ahead of.

                                                                                                         284

                                                                                           NPD-LO-3982
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 285 of 424



“2) I want to talk to you a little bit about the Inception Technology standing project. I did not agree with
the presentation that was given. Not on the personal nature of it, let’s push that aside, but on the
technical nature of the information that was provided to the Board regarding the status of that project. I
would like the board to go back to the July 20, 2020 - no it was July. I think 20 or 15 of 2020 when it was
presented to the Finance Committee. I think it’s really important that you take a look at that information
and what was presented because it was a $60,000 project and what was disclosed a few weeks ago in
the Board of Alderman meeting and the depth of what had to be done and changed was not presented
20 months ago. You know the software side of it or the scanning side of it looks like it’s going to be
around $120,000. My concern is the redacting piece. When Miss Kleiner said there is 1.3 million
documents when you look back in 2020 when she told you how many documents there were, she said
100,000 that’s in the record. I knew that didn’t make any sense for 29,000 property record files, but I
didn’t dispute it because what am I gonna do? I don’t really have a voice in that. I didn’t think it was
accurate and now he’s coming in and say, “hey it’s 1.3 million”. Well I’m encouraging you to do the math
and calculate out if you have a base line employee who could redact 800 pages a day which is a lot of
sitting their redacting work. It would take them about 5.5 years to do 1.3 million documents and it’s
unacceptable to me that getting these records on line is gonna take like 7-8 years. That’s never what we
were told. Just for the record, I’d like you to know that I went over to the Building Department. I didn’t
realize they were doing scanning records over there or they scanned some of the files. When I went to
get some permit information on a building, the gentlemen Mark said “oh let me go to the computer I
have to pull that stuff down digitally it’s not on the computers yet for the public to access…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “…they had a station set up in the office. He pulled it down and gave it to me and no
one in Assessing can do that for you and it’s been years. I have filed a PA71 with the Sate on this. They
were happy to accept it because they found it unacceptable as well. So I want you to look at it in the
budget. You’re gonna have to budget a few people full time to try and get these records up and running.
I had no idea. This is a $300,000 -$350,000 project and I don’t think it was presented.”



FINANCE COMMITTEE MARCH 2, 2022

https://www.youtube.com/watch?v=pVyZXeefP_w

1:02

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I see tonight you have the Inception Technology
quote before you to continue the scanning records project and I would just like to state that I think we
get into projects of this magnitude that the city owes us a little more information about the big total
picture cost on a project like this. You know it came up 2 years ago almost or about 22 months ago and
we funded it in July as about a $60,000 project and it needs another $50,000 to take to completion plus
a little more for software. But the redaction piece of $1.3 million that is going to cost a lot of money
when it comes to personnel time. I wish we had not done it because it was sent to us to allow assessors
to be able to work from home during COVID to access this information.

“Well that’s over and 2 years that never really happened with the records and the excuse that the
Administration is giving now you know this is taking a lot of time is because we had COVID, we have a

                                                                                                        285

                                                                                          NPD-LO-3983
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 286 of 424



measure list, and we had staffing issues. We that is exactly what was going on when we voted the
project in. We were four months into COVID. We had no Chief at all and no prospects of finding one.
People were not knocking down to come to Nashua and we had the State mandated and ordered
measure list with State oversight on it from the BTLA and the DRA and we took it on and now we’re
saying hey, you know what, we don’t know when these files are going to be available because we’re
burdened.

“I went to Assessing Department a few weeks ago and I left an Assessing meeting to get records on the
Art Center. I didn’t realize that they had entered into a scanning project, but they were actually able to
download the documents I was looking for and give me the scanned copies as I waited there. They
worked with me. You can’t get that kind of service in the Assessing office and this is where the project
started. So this is going to be a $300,000 or more project and it was spoken to us as a pitch to us as a
$60,000 deal. I think some of the redacting you should look at for necessity because it’s costing a ton of
money - totally agree with e-mail…”

Alderman Comeau “30 seconds.”

Laurie Ortolano “… but now they’re redacting the addresses of the private property owner. I look at
some of that. (inaudible) the taxpayers are going to pay and the time it takes to get the records. Thank
you.”



PERSONNEL/ADMINISTRATIVE AFFAIRS COMMITTEE MARCH 7, 2022

https://www.youtube.com/watch?v=kPeg9HuqfGw

1:28:31

Laurie Ortolano “Thank you. Hi. Good evening. Laurie Ortolano, 41 Berkeley Street. I wanted to address
with you a couple issues I have and concerns with a personnel matter involving our Administrative
Services Director. We’ve been through a lot of Right to Know lawsuits involving e-mails. This city is being
very non-compliant with e-mails, and making them accessible, and available to the public. There’s been
four lawsuits and I think the city has lost all of them. The one that was in there Monday, they offered to
settle – agree and admitted to wrongdoing but I took it into trial because I wanted the Judge to weigh in
on some issues in what’s going on in here. I think we’ve got to do a much better job with our electronic
records and the obstacle to this is Ms. Kleiner. She’s just not willing to make records available ever since
she came on in 2019. The records have been scrambled essentially and getting a hold of them
something simple like e-mails is enormously difficult.

“Also, the Assessing records are just a mess. I’ve put up with it for three years and I’ve finally hit my wall.
I filed another PA71 with the State. It’s been two years – 2 ½ years since I filed but I did. I’m going up this
week to management. I’m meeting with the senior leadership at the DRA to talk to them about my
concerns. You know we can’t get records in our Assessing office and nobody is trained in there. Rick
Vincent is a total wall. He’s an obstacle going right along with Kim Kleiner. You know at least when Jon
Duhamel was there, and he wasn’t really in the office, you could go in there and ask for any property
record file and it would be given to you. You can’t do that. They’re not even willing to look for it. They



                                                                                                           286

                                                                                            NPD-LO-3984
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 287 of 424



just send you away with no real reason why and where it is. Frankly the DRA found that totally
unacceptable.

“The scanning project that you were given information on by Director Kleiner I think is highly errant.
Totally change in demeanor at her at the Finance Committee but once again, the information on
redacting I think is completely bogus. I have a set of minutes from her where she told the Budget
Committee that it takes the Legal office four hours to redact 100 pages. I think in the Finance Committee
meeting she dropped a number of redacted pages from 1.3 million to 300,000. Well if you get 200 done
a day and you’ve got…”

Alderman Thibeault “30 seconds.”

Laurie Ortolano “…(inaudible) to go through, it’s going to take you six years to do that work. Again,
we’re not getting the straight answers on that. I’m a big proponent of cutting the Administrative
Services Director position because I see her as somebody who has destroyed the credibility of the city.
Thank you.”



Board of Aldermen was held Tuesday, March 8, 2022

https://www.youtube.com/watch?v=C4oCczX7y-o

15:18

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I am here to speak about R-22-008 the Expendable
Trust Fund for 14 Court Street. I am not in support of this and feel that we should be looking at another
way to address Court Street and I would hope that the Board would think a little about this. There is an
existing resolution that was passed in 2011 - R-11-160 which is sent up to establish an Expendable Trust
Fund and has been funded for renovations, repairs, and maintenance for various city buildings. So I’m
wonder why R-11-160 is not being utilized.

“The other thing is that Laura Colquhoun is going to dial in and talk to you about the special revenue
fund that’s used by the Hunt Building. I think you have a lot more transparency when you put a building
like 14 Court Street into that special revenue fund. Now personally 14 Court Street is a white elephant.
It’s a money pit and I think the only reason why we maintain that old building is that the central fire
station emergency call lines come in from the north and south into that building and I don’t know if that
can be moved. That’s the significance of that building. There are call lines there and so if that’s not the
case, Alderman O’Brien can clear that up but there is some significance with the Fire Department in that
building and the rest of the building is so expensive to maintain. You know the communication by the
Administration when they spoke to the Board last week when they said they hoped this would become
self-sufficient. I think what should have been said is “most likely it will never be”. That hasn’t been a self
sufficient facility probably in 50 years and I don’t think you’re gonna get it there. I think Peacock Players
and other places that are utilizing those theaters you should look for spaces downtown that you can
move those places to and not operate that building anymore.

“We were not told accurate information last year about the roof cost. It was budgeted for $750,000 and
ended up being $250,000. Money ended up being shifted over there. I think there was a total lack of
transparency in what went on with that building and I don’t want to create an avenue that allows that to

                                                                                                          287

                                                                                            NPD-LO-3985
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 288 of 424



exist so use the existing resolution if you want or pay attention to Miss Colquhoun because I think she’s
going to make more sense on greater transparency and accountability. Thank you.”

1:38:40

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street, Nashua. I’d like to thank the Board for sending 14
Court Street back to the Budget Committee for review.

“I’d also like to ask the Mayor – you gave a nice presentation on our COVID numbers, but I’m wondering
what level we’re at. Usually you say if we’re at still at substantial and the website still has us at a
substantial rate of transmission and I’d like to know when that’s going to change.

“I’d like to address the removal of the press table at the back of the room. So this is your Chamber
collectively and I was told that now Attorney Bolton is looking at putting a law library back there with
some books. I’d kind of like to know. I got my press pass, and I’m ready to report, and the table has been
removed. So I think we should bring our press table back and if you are going to have a law library back
there, I think that’s terrific. I think you should dedicate a shelf to Right-to-Know Law because I think we
could use some polishing up on that.

“As far as barriers go, that’s coming up tomorrow and I’d like to say I’ve done quite a bit of work looking
at the data and a friend of mine compiled all the surveys and information from February 22 and March 8
as of today. I think there is a lot of data in there that shows there is not a lot of support for these
barriers. I’m disappointed in the letter that went out from the Mayor because I think that it was not
clear, and it was convoluted, and it had a twisted view on what should be said. I know Derek you’re
shaking your head “no”, but really you should allow me to speak and give me the courtesy to do that
and then you can state your position on what you see. Some of it’s debatable because its data on the
way it’s written and I really understand that. I’m looking at overall the response from the newspaper,
the petitions that were signed, and the letters that in both sets of information.

“Finally I’d like to speak on safety. I really think that the two new Chiefs had a private meeting with
Alderman O’Brien and Tim Cummings to address the safety issues. I think these safety issues have been
raised repeatedly by the public and I think our safety officials should put in writing their concerns. No
short, small meetings with pro-barrier people on how we’re making accommodations. I think it’s
reasonable that that be put in writing. Those are safety issues for our citizens so please ask your Fire and
Police Department to put in writing the safety issues.

“Finally, I’d like to let you know that I was up at the State House today giving testimony on the
(inaudible) Bill for the Right-to-Know office.”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “I think that was very promising. It looks like it’s going to pass. That will allow citizens to
file a Right-to-Know challenge for $25 with an office, the (inaudible) office for Right-to-Know who will
make the case and assist you with the challenge. I think it will offer some nice benefits to controlling
costs, getting answers, and creating better transparency for New Hampshire. Thank you.”




                                                                                                           288

                                                                                             NPD-LO-3986
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 289 of 424



FINANCE COMMITTEE MARCH 16, 2022

https://www.youtube.com/watch?v=ilEgDaZNsaE

1:14

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I saw on the agenda was Court Street and I just
wanted to give a few thought on that building. I know there is a special meeting at the end of the month
to gather ideas on how to proceed with the Elm Street Junior High School building to do something with
that and I would like to see a lot of those arts programs that are over at 14 Court Street moved over to
Elm Street. It just seems like 14 Court Street is just such an expensive building to maintain. I sort of
addressed at the last Board of Aldermen meeting my thoughts that there was a fire issue,
communications issue in that building, communication lines, but Alderman O’Brien seemed to be
shaking his head “no” that I was wrong on that. I’m sort of wondering why we haven’t pursued selling
that building and letting that go given the extremely high cost associated with trying to operate it and
fund it with tax dollars. See if a developer can do something better with it and move our arts programs
over to the big auditorium theater over at Elm Street. That is all I have for input. Thank you.”

16:11

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just a couple of things. The riverfront project that
you spoke about, and these are questions which I know I’m not going to get answers to but maybe an
Alderman later can answer me. Is this our first time doing the maintenance work or the development
down there? Does Department of Public Works carry any responsibilities or any costs associated with
doing the cleanup down there? I’m just curious about that.

“Also, I’d like to talk about the scanning project that you approved. Maybe that was the last meeting. It
didn’t seem to me that we really got an indication on the timeframe it’s going to take to get the records
up and you know it’s not clear to me that as records have been returned and put on the DocuWare
system digitally that any redacting has started at this point. So I’d like to know what amount of redacting
work has started. I don’t mean just in the last month. I’m talking the last year if we’ve done any of that.
How many people are you going to hire to do this redacting work so we can get through it? I said before
I don’t agree with redactions that take off the address of the prior owner because that’s information on
the deed and I recently got cards that had redactions on them on the property record card itself, which
is very unusual unless a note is added that there would be anything redactable there and it was the
address. It just makes no sense to go and do potentially 250,000 property record cards and redact that
field. I would challenge that. I told the Legal office I would challenge that in court before I’d spend the
money paying for that. Other redactions you want to do I get. That’s fine but I feel that we haven’t even
addressed the cost of that making it happen.

“Miss Kleiner had told the Finance Committee back when this was getting going that the Legal office was
spending up to four hours to redact 100 pages. Well if you’re still talking now about 300,000 pages,
you’re still talking a tremendous amount of redaction time before the records are available. It just seems
like we can never really get a straight answer or input on that and it always comes after there is some
fight or kind of blowout that happens when the community asks and the administration…”

Alderman Comeau “30 seconds.”


                                                                                                       289

                                                                                          NPD-LO-3987
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 290 of 424



Laurie Ortolano “…because the question was raised. So I hope we can get some straight answers on that
and know what’s happening with those records and what is actually really publicly available on a digital
basis. Thank you.”



Budget Review Committee, Joint Infrastructure & PEDC

https://www.youtube.com/watch?v=qZqv5_DcJKk

5:06

Alderman Thibeault “So I mean the two or three people that I see online spoke last week in length about
this. So what difference are they going to say? It would be really be nice if we could work on the issues
and talk to the people that have come here to be part of the Committee so we’re not here until 11:00.
That’s how I view it. I mean we’ve heard from Mr. Wingate. We’ve heard from Miss Ortolano. We know
where they stand. We haven’t done anything since they spoke...Laurie Ortolano interrupts Alderman
Thibeault. You cannot speak right now Miss Ortolano.”

Laurie Ortolano Well don’t speak about me. You don’t know. Alderman Thibeault Well you can speak
about me and if they allow you to speak. I’m not going to allow you to interrupt me when I’m trying to
talk. We had a meeting last week where we asked everybody that wanted to come out and speak,
speak. If we told the same people that they could speak again this week, they would be here. I know
they would be here.”

8:22

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. To those folks from Derek’s Ward, shut your TV
off, hop on your computer, and join the Zoom meeting and you can give public comment. That’s a
solution. Also, I do have different input. A week has gone by and a week gives you enough time to
reflect on things. One of my issues is the garbled language that Alderman O’Brien gave at the beginning
of this meeting. The personal privilege. The situation at hand. He never actually told us what he was
talking about, but I do have a comment on the last meeting I went to.

“I felt the motion made was extremely confusing. I asked the city Legal office to put Mason’s Manual of
administrative privileges or Legislative Rules into the Clerk’s office so I can look it up. It was structured
like a hearing, but you didn’t allow any questions and that’s what a hearing would allow. You know it
was just really difficult to figure out what was going on in there. Whatever your personal apology was
tonight Alderman O’Brien, you didn’t say what it was to the public so we have no idea what you’re
talking about but I don’t think that meeting was run correctly.

“Also with regard to not allowing public input at these workgroups, I think it’s a big mistake. When the
first two meetings were not publicly put out there, I got an e-mail from Tim Cummings saying you will
have ample opportunity to give public input as more meetings are held. Then you set up workshops and
cut public input out. I would have liked to have been at the two Downtown Improvement Committee
meetings and given input down there. I spent time after those meetings ended speaking to the business
owners and had an opportunity to chat. That’s helpful. That doesn’t happen unless you allow input and
you’re not allowing that.


                                                                                                          290

                                                                                            NPD-LO-3988
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 291 of 424



“Also with regard to surveys, we fight a lot about surveys. Some board members say “you know 3,000
surveys in the Telegraph what does that mean?” The parking guy that came and talked said he got about
1,000 responses. He considered that excellent. Is 1,000 excellent? Do you people think 1,000 is enough
and if 1,000 is excellent in his mind are 3,000 from the Telegraph unique surveys good enough? I don’t
know, but we seem to fight a lot about the quality of surveys. I do think the parking guy made a mistake
because he said 1,000 was like 10% of our 90,000, but it’s really 1%. But he still considered that plenty
statistically significant. I also feel that we need to do…”

Alderman Comeau “30 seconds.”

Laurie Ortolano “…a cost analysis of what we should charge for a space should they proceed, but I’m still
not a proponent of doing these barriers. I really think it’s an issue that should be brought before the
public, and voted on, and taken care of in that space and time. Thank you.”

1:39:36

Laurie Ortolano “Thank you. Laurie Ortolano, 41 Berkeley Street. I got to go quick through this. I want to
thank Alderman Moran. He is 100% correct. I think transparency has been missing and the idea that this
was a democratic process was missing and I think a lot happened tonight that made that seem a lot
better. I can tell you that I started putting in questions to Alderman O’Brien on December 9th about the
construction of this committee and the process by what it was picked. I was never able to get an answer.
Even asking general questions and then formalizing them is Right-to-Know and it was so frustrating to
me that there was no process that was publicized that a citizen could learn about or understand how
this was happening. You know I really have a big issue with how Alderman O’Brien has handled this
Committee. I don’t think he speaks clearly. I don’t think he represents the Committee adequately. I
would have liked to see a change there.

“I also think that Derek is too closeminded. He does not recognize the ability of people to shift and come
together. I have been not for the barriers, but I’ll tell you it’s not my hill to die on and my issues have
been life safety, cost to the taxpayers, and the fact that we charge nothing, traffic, and the lack of a
democratic process. Now I feel like the democratic process came in. I feel like these other towns that
have costs they are implementing and were able to do, we should be able to do that. I agree with Kathy
Cardin that we need more lanes of moving traffic and I agree that we could use the full sidewalk and out
to the parking spots on restaurants that want that space to have expanded space. I’m not 100%
opposed. I can come together and negotiate, but you don’t even allow your citizens to have that view
point and frankly Mr. Thibeault, when you turn around and start a meeting calling my name out
personally and saying we already say what Laurie Ortolano wants and she’s against it, so we don’t want
to hear from her again. I think that’s a violation of Mason’s Rules. I can’t get a hold of a manual yet,
hopefully it will be in the office tomorrow but frankly it’s inappropriate. Citizens - and you weren’t going
to have public comment. I have to hear myself called out and put out there in a way that I’m categorized
that may not be true, you know? So it’s really disappointing.

“I started my quest on December 9th for information on this Committee…”

Alderman Comeau “30 seconds.”

Laurie Ortolano “…and on it’s now March 16. I disagree with Marylou that you have to have it done in
one meeting. You are the guys who let this thing run by. It’s not your public. I know Rick Dowd

                                                                                                        291

                                                                                          NPD-LO-3989
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 292 of 424



mentioned “hey I called out Dan Hudson. Oh he probably doesn’t appreciate that I called him out by
name. Well you know Derek. You call your citizens out by name. You need another one. Gary Wingate -
oh we’re the ones with the problem. It’s very disrespectful and I think it’s out of line with Mason’s Rules.
Thank you.”



Board of Assessors Meeting of March 17, 2022

https://www.youtube.com/watch?v=-8ylr7wAcD0

15:08

Laurie Ortolano, 41 Berkeley St. expressed concerns about the senior exemption process and public
access to records in the Assessing Office.

The following was transcribed by E. Vassar on March 12, 2024 from video

“Laurie Ortolano, 41 Berkeley Street. Ya know, I do think your public comments statement on rude and
profane messages is unconstitutional. The Board of Aldermen does not restrict that, because it’s
unconstitutional, and you should consider doing the same. I don’t care because I don’t think it’s been a
problem here, but it’s really not right.

“I have addressed several times my concerns about the senior exemption. We’re getting into budget
season in like four weeks, and I don’t know who’s responsible for looking at the elderly exemption for
properties, but I feel that that should be evaluated carefully and thoroughly this year. In 2018, it was not
evaluated, and when they needed to make adjustments for the exemptions, there wasn’t enough
money to do it in one year, so they split it. That created a lot of hardship for seniors, that they couldn’t
fully fund it. And I think that this year it would be a shame not to calculate that and analyze it, because
there is a big, big shift going on now, and there were a lot of properties that were sort of out of whack.

“I’ve had a lot of call, I think you’re going to see with this new data coming out, that you’re gonna see a
number of people lose their homes, not be able to afford them any longer. I would like to not see that
hardship go down any harder than it has to. I don’t know who’s responsible for getting numbers to the
Budget Committee. Ya know, I’ve asked repeatedly, no one has been willing to provide an answer. But I
am just relaying what I think, obviously you would think, is of interest to people, older people, and that
is those exemptions.

“I’m also really discouraged by public access to records down in the Assessing Office. This scanning
project, I think, got way out of hand, was under-funded and under-manpowered. The last time I came to
a board meeting, and you went into non-public, I went downstairs to try to get the property record file
for the Arts Center, and Dan, you were incorrect in stating that somebody from the city went and
viewed that property in March or April of 2021. Because if they did, it’s not documented on the card.
And we would have no way of being able to tell if it’s not on the card and we can’t access the file.

“So, when I went down there, the entire office was in the back room, apparently on the non-public
session. And we never allowed this in the past. You know, if the office isn’t open to service customers,
there should be a sign put up, that it’s closed to customer service. So I rang the bell, and the assistant
Jen came to the window, and I asked her if she could show me how to print a property record car, and

                                                                                                        292

                                                                                           NPD-LO-3990
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 293 of 424



she said, “I don’t know how” on the computer, and then I asked for the Arts Center File. She
disappeared in the back, came back, and said that Rick Vincent was in a meeting. I said, “Well, I know he
is, he’s upstairs in non-public. But I just want the file.” (quoting staff member) “Well I don’t know if it’s
on a shelf, it could be in a box.” I said, “You just look for it. They’re in order. Just get the file.” She didn’t
like my tone. She did not like my tone. And so she said, “I’m in a meeting.” I said, “Okay, is there another
clerk who can help me?” (quoting staff member) “No, they’re in a meeting, too.” I said, “Is there an
assessor available?” (quoting) “Nope, we’re all in a meeting.” And she walked away. I stood there at the
counter and figured out how to print the card. And I printed it, and then I realized I didn’t have a buck in
my pocket to pay for it, and I came up here and borrowed a dollar from somebody, and ran back
downstairs. It was actually a twenty, rang the bell again, and two women came out. And I told them, “I
figured out how to print”, and I wanted to pay for the card, I only had a twenty. They couldn’t make
change. They gave it to me. And off I went.

“Ya know, I used to go down to board meetings, and when the board was in non-public session, I’d go do
research. Ya know? I’d go all the time. I’d go downstairs, and I’d pull files, I’d stay an extra hour, cuz I
was at a meeting, and I’d do research. And there were people down there who could go get me files. It
was no big deal. The office was staffed. And I don’t think anyone’s trained down there. One, how to
print a card, two, to know how to retrieve a file. And when I put a question in to Mr. Vincent, “Who’s
trained? Who are our clerical staff members and what is their training level?” I got a response back that
no records exist. So they weren’t willing to answer that question. I would love to know who’s trained. I’d
love to know who to go to at the window by name and say, “Hey Lisa, could you help me?” just like I
used to do in the days when Cheryl Walley was there. Ya know, I called upon Cheryl because the other
clerk said she was the most trained, use her, she could help you. I’d walk in and say, “Is Cheryl
available?” And she was. And that’ how I go help.

“Ya know, customer service and access to records has never been the same since that office got tipped
out, over, on its ear. And 2019 was the end of open records down there, and I think it’s really
inappropriate that we haven’t funded the redacting phase of the work Inception is doing.

“When Ms. Kleiner did her, I’ll say, “show” at the February 8th Board meeting on me impostering a city
official and talking to a vendor … I called that vendor because I couldn’t get any updates from the city.
Nobody’s ever willing to give you an update. They never come to this board with an update. All I know is
you can’t access records. And when the guy told me that the boxes of data were sitting in his office, and
they had been sent back digitally to the cloud, but the hard records were sitting there, I said, “Do you
realize, as customers, as citizens, we need those hard records? We don’t have access to the digital. You
gotta bring the boxes back. They can’t just sit in your warehouse for two weeks or a month. We’re
waiting!”

(time warning)

Laurie Ortolano “Okay. He didn’t know that. And I’ve begun filing PA-71’s again. It’s been almost two
years. I didn’t file. I wanted to move past that. But I’m back to the frustration level of not having
questions answered and access to data, and I just think it’s wrong. Thank you.”



Board of Aldermen Monday, March 21, 2022


                                                                                                              293

                                                                                               NPD-LO-3991
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 294 of 424



https://www.youtube.com/watch?v=WC1SItX44Cs

45:58

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just have a question and I understand the project
here. Was this bid out separately or was this project piggybacked with the middle school renovation?
Did you go for competitive bids on this $5 million or was it folded in to what was going on with the
middle school? I’m just curious. I don’t even know.”

Chairman Dowd “It’s separate funding but – do you want to address the - we selected the firms that we
are currently using and had familiarity with the building because of the preliminary studies. Therefore it
made more sense to use people we know and to do the job at a reasonable price because cost is an
effort so they were selected by the Joint Special School Building Committee.”

Laurie Ortolano “Okay. Thank you. And one other question. I notice that the contingency costs 10%, 5%
they seem high but this is a really volatile market for construction and does that in part drive it because
it’s such a hard market to cost out your materials. I don’t know when the $5 million was costed when we
came up with that quote but certainly we’re back into high material costs, and inflation, and all that
stuff. So do they bill that on the contingency amount? I remembered when I did school projects, it
seemed to me that contingencies were like 2% and 3% now they’re 15. I think they need it because of
the volatility. Is that correct?”

Chairman Dowd “Yes. Typically they are higher and in this particular project, they bid it conservatively.
Again if we don’t spend any of the $5 million, it doesn’t get bonded or it can be used for something else.
The Board of Alderman would determine. So we feel comfortable with the costs that have been
programmed for steel and all that other thing. They took into account what’s going on with the current
market.”

Laurie Ortolano “Okay. One last comment, not a question. I understand the selection and working with
people we know but I also think it’s important to just remember that, you know, we expand our projects
to people who have good reputations that we might not know as well. If we are always tied to the same
firm, it has a limitation and I just want you to bear that in mind. That’s my only comment and other than
that, I support what you’re doing.”

Chairman Dowd “All of the costs for materials and things are all bid out competitively.”

Laurie Ortolano “Okay. Thank you.”

50:10

Laurie Ortolano “Do you have a bond schedule for this or a cost payout for this done up that we can
actually have a copy?”

Chairman Dowd “That would fall to the City Treasurer.”

John Griffin, CFO/City Treasurer/Tax Collector “Good evening. John Griffin CFO/Treasurer/Tax Collector.
As the resolution was put together, we costed out a level principal payment and on the second page of
the Resolution, the 20-year bond payment would be $315,625 annually. The total $5 million plus the
interest is $6,312,500. Just to put this project in perspective, the general fund debt service adopted by
the Board of Alderman in Fiscal 22 is $16.8 million. So $315,000 is less than 2% of that number. As far as

                                                                                                       294

                                                                                           NPD-LO-3992
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 295 of 424



we move into Fiscal 23 budget, I’m in the process of working with my team to create what’s called “a
bond sale”, which we notify the Aldermen these are all the projects, some approved, some not
approved yet. We put together the schedules of payments, General Fund, Enterprise Fund, and other
funds - Highway in particular with the paving program. We will have all those schedules and as this
becomes a sale and I’m learning as we go as well too, that we don’t need the $5 million this summer.
Following Treasurer Fredette’s footsteps to avoid arbitrage and other problems, we’ll probably sell this
in two chunks but it will be part of a comprehensive bond sale plan. We’ve been very successful over the
last few years taking advantage of the available rates, timing of the projects, and the bonding. So we will
be presenting. I will be presenting more of a comprehensive plan through a memo at the beginning
schedules and then a discussion. The thing about bonding and we have a fair amount of high school
bonds coming off, so paying those down and we try to manage the increase in any given year to a
reasonable level in the general fund. So we replace things as they need to be replaced. We rapidly pay
off our debt. That’s one of - for those of you that maybe attended the 2012-2013 presentation by a
financial advisor. We’re looked upon favorably the rating agencies. That’s a sign of strength. So all of
that – I mean thank you for asking the question but that’s a kind of preview of the coming attraction
that Alderman Dowd and I have talked about with making sure we all understand the magnitude of the
debt, that it’s manageable, it’s paid off rapidly, and it funds the necessary programs and initiatives that
we need in the City. That’s a long-winded answer but that’s the answer.”

Laurie Ortolano “Thank you very much. I like to have this educational piece brought forward when we
can see or talk about what’s coming off and what stays on because I think the public has to understand
that as we bond things. Even in the future if we can have a table or something, it’s just really helpful to
know that we’re not just keeping it on. We’re eliminating it as well, so thank you very much.”



MARCH 21, 2022

https://www.youtube.com/watch?v=WC1SItX44Cs

1:19:46

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. As we go into budget season, I've seen, you know,
what the Mayor has put out for a request from departments as far as capping it. I really think that this
season you should be looking at a 10% reduction across the board. That isn't really being taken
seriously. You've got new assessment numbers coming out in six months. I don't think the public has
been told what's really going on there. I don't think the last update you had from the administration
clarified what was going on with the depreciation factor. Vision gave an update last Thursday stated that
you would have properties moving between 45 and 60% higher. The median is going to be a set number
and condos and ranches are going to take a big hit again. Those that didn't have the depreciation set
correctly could see increases between 80 and 100%. They're gonna see a big change in their tax bill and I
don't think Aldermen are prepared to deal with that within your Wards the way you should when people
start calling. They're going to be very upset. So I really feel this budget season needs to be very
aggressive at cutting the budget.

“I also want to make the request that the Legal budget be substantially cut and you start looking at
some level of outsourcing because I look at the millions of dollars spent to lay out battle with me on


                                                                                                         295

                                                                                           NPD-LO-3993
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 296 of 424



issues and I think it was ridiculous. They should have been willing to negotiate. They should have been
willing to address these issues. My last trip to court on the 28th, they did offer to settle 10 minutes
before and I said no because I wanted the Judge to hear what was going on. Two days before my trial,
they discovered 500 pages of records I had been asking for 11 ½ months ago. It's just absurd the
withholding of information that's going on here. I'm opposed to funding a Legal office that is doing this.

“I've also become aware that the Legal office is representing some city employees who are not being
truthful to them. I am completely opposed to that. No lawyer would give representation to somebody
who's not being truthful. They tell you to take a hike. But we're using tax dollars to represent individuals
who are not being truthful to City Counsel. Make them go find and hire their own attorneys to represent
them in court. Don't make taxpayers pay for that. So I'm, you know, and I really believe you got to look
at - I would had a meeting with the DRA. They asked me specific questions…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “…about what was going on with the property record card scanning and bringing that
online. I don't have any answers. I specifically asked when that was going to be addressed and done as
Jonathan Cathey asked. The answer I got from the Legal office, not the Chief, was to go back and look at
the February 8th meeting. Miss Kleiner provided no answer. It was -oh, we're super busy. We don't
know. So I would like to get answers to that because records are a big problem and they're causing a lot
of issues and you're gonna get new bills out soon. Thank you.”



Board of Aldermen Tuesday, March 22, 2022

https://www.youtube.com/watch?v=ja5bfU3tSnU

13:44

President Wilshire “Thank you. I have someone on Zoom but right to something. I'm not sure - Right to
Know. That's not a name. So in the future if you could put your name that would be more helpful.”

Laurie Ortolano “Okay. I don't know if I can because I don't even know why that appears. But anyway,
it's Laurie Ortolano, 41 Berkeley Street. I would like to speak to a couple things. The first one was the
Franklin Street School. The bond for $5 million. I was there last night. I gave some comments on that. I
would like to ask the Board to do more to get information to the public on the bonding schedules, the
cost of bonds, bonds that are coming off payment plans so we have a better understanding on what's
going on with the bond schedules and we're able to educate Board members more fully. We did that
when I lived in Litchfield. I think it's really important because I don't have a good sense of it and I can't
believe Board members really have a good sense of it.

“I also think it's really important to competitively build these things. We seem to give our contract to the
same person or the same company over and over again because we have great results. I just think that
that's not a good plan long term. We should mix it up a little bit. A 15% contingency is very high. I know
it's because of material fluctuations but I think normal contingencies are like 3% or 4%.

“14 Court Street - you've heard my comments on that. I'm concerned about extending a lease to Liquid
Therapy because I really think we should be getting rid of the building. If there is no fire issue in there to

                                                                                                           296

                                                                                             NPD-LO-3994
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 297 of 424



maintain the building, then we are just holding on to a facility that we will never make money in and it
costs us, you know, millions of dollars to maintain. So maybe we should sell that building to somebody
who has a better plan and can turn that into something more profitable.

“I support the gaming change in schedule to some extent. But in general, I sort of feel like nothing good
happens with alcohol after midnight. The woman who just spoke and said that you should limit it to the
patrons that are already on the establishment, I think had a really valid point. I'd also like to know what
the Police Department position is on this as far as what it may potentially do for police calls involving
issues at these establishments and if they raise the concern that was just raised by this woman who
spoke previously. I'd also like to know that there's a monitoring program that we can see if there's any
impact with our Police Department and extending this to 2 am.

“Raising the landfill fees I think is terrific. We need to do that. It is hard on the people dropping off stuff
that are local people but it's a necessary change. We have to preserve the landfill.”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “Okay. That's everything. I'm good. Thank you.”

50:04

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. And what's really interesting is the name is now
Laurie Ortolano and I did not do that. So I guess your request was magically filled out. So I want to talk
about our e-mail storage and retention policy. I want to talk about anything the Aldermen can do to
assist me in this policy we have going on in the city regarding e-mails. There's been a number of lawsuits
filed over e-mail records and for the most part, citizens have done well winning those lawsuits on
records. One thing that has occurred over the last year is that each time records were being requested
for e-mails, the city was providing us with a written policy - a 45 day e-mail storage and retention policy
that was updated by the Mayor on the May 3rd of 2021. But it turns out that policy was not what was
being used by the city. The city had changed their storage retention policy to 90 days in March of 2020
and then in the summer of 2020 changed it to 120 days - four months but never disclosed to the public
that that change was made. And while I was submitting Right to Knows to understand what the
retention policy was, because I felt it wasn't being handled right, the city just kept unloading a 45 day
policy on me.

“After going through a series of trials in court and through questioning Nick Miseirvitch, I learned that
that was not the policy. That was not what was being used. He testified that Ms. Kleiner had authorized
a change to 120 days and so when Laura Colquhoun asked for e-mails between Rick Vincent and Miss
Kleiner in 2021 - January and February - the city initially would not provide any records and then came
back and said, we can't guarantee we can give you two months of records because we had a 45 day
retention policy. The fact it was 120 days and there was no issue on providing the records.

“The same thing happened to me with these assess help e-mails that I am in court on back in court on
Thursday. Turns out on those e-mails, it was a 60 day policy unwritten. So I can't file a Right-to-Know to
get what the policy is because it's not in writing. The city refused to tell me what it was because it wasn't
in writing and they would only give me a defunct nonworking 45 day policy that wasn't used and then
stood behind it to deny me records. Now I know I'm going to win this lawsuit, but I am so frustrated
by…”

                                                                                                            297

                                                                                              NPD-LO-3995
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 298 of 424



Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…the lying done by this city and in particularly what Miss Kleiner is doing. It is beyond
distressing what I have gone through. We should not be representing people in the city with our Legal
counsel who are lying to the citizens and lying to the courts. It's coming out. I'm confident I can get it
out. I'm gonna have to file a few more lawsuits but I am so tired of this and I am adamant that we
should not keep people like this in City Hall.”

Donna Graham, Legislative Affairs Manager “Your time is up.”

Laurie Ortolano “Thank you.”



Board of Aldermen Monday, March 28, 2022

https://www.youtube.com/watch?v=5Cw5A1lkvoE

7:15

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. So I have a couple of questions and I might have
missed this because I was trying to get my computer uploaded here. What areas of the city does this
cover? I know that they are going to repave our street. I believe they were doing site work to repave it
and do gas lines, but I believe there is a fair number of sewer pipe problems over their neighborhoods?
And how are we addressing that, I’m just curious?”

Chairman Dowd “Mr. Hudson?”

Dan Hudson, City Engineer “So yes the funding covers all areas of the City, but we are focusing our
inspection efforts on the oldest parts of the City. The sewer system was built out over time in the
downtown to the outskirts. So the downtown has most of the older pipes. As I said, there are pipes that
are like unreinforced concrete pipes that are problematic in the past, so we’ll look at those. Right now
we are looking at pipes typically older than the 1940’s. As we progress the system, we’ll start looking at
newer and newer pipes until we get to pipes that meet current standards and are in good condition.

“We do this work hand-in-hand with the paving program. So whenever we are going to pave a street, we
reach out to all the utility companies - gas, water to screen the streets but we do the same thing
internally. We video the pipes on that street if there are pipes as noted in that condition that is
potentially something that would be concerned about. Certainly if there is any sewer issues, please
forward those to the DPW. If there any sewer issues that anyone is aware of, let us know and we’ll take
those very seriously.”

Laurie Ortolano “Okay could I just follow on it for a quick second? So yes I will send an e-mail over to
DPW because if they’re going to pave the street and gas company came around and knocked on all the
doors and said they were going to do the gas pipes and then repave. It’s a neighborhood where the
piping would be around 160 years old from the 1870’s homes up to 1900-1925. There’s definitely some
interesting smells when you walk your dog through the neighborhood. So I think there is some need, but
it ought to be looked at. I just don’t want them to pave the road and then find out there were piping
problems. That’s all. It just came to mind when I saw this but I’m in favor of it and obviously we’ve got a
lot of work to do and you guys are doing good work. Thank you.”

                                                                                                        298

                                                                                          NPD-LO-3996
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 299 of 424



Chairman Dowd “I’m sure DPW and the rest of the City would not want the streets dug up after we
paved it. Any other testimony in favor?”



BUDGET REVIEW COMMITTEE MARCH 28, 2022

https://www.youtube.com/watch?v=5Cw5A1lkvoE

38:11

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Couple of things with the Budget Committee. I
have been pretty outspoken about my concerns with the funding and what’s going on with the Legal
office – the Right to Know Coordinator and in general city responses with Right to Know issues. I’m really
concerned when the city offers legal representation to any employee who is not truthful under oath, or
in court, or in general to its citizens. I feel very strongly that we should not be paying for that. We should
not be paying for that representation out of our tax dollars. I think under New Hampshire Bar rules and
to some extent ABA rules, there are pretty strict guidelines on ethics on representing somebody who
isn’t truthful.

“I finished a trial on Thursday. That was very taxing and challenging and there were discoveries of
information that wasn’t provided that was very frustrating given a year. The cities have all the power to
really abuse the law. The courts are backlogged. 91-A is priority law, which means you’re supposed to
get into court quickly but because they’re so backlogged, it’s almost impossible to do so. This records
request was done a year ago. You’re in court, you know, figuring out how to fix the problem twelve
months later. At that point, a lot of times the records are far less relevant. In this case, they weren’t but
the city discovered more records – 11 ½ months later because the lawsuit was in place. There was an e-
mail not provided that was very informative about e-mails I had sent into the city that didn’t appear in
the record search.

“The 45 day retention policy for e-mail storage and retention is a major issue for me that I think I’m
going to back into court on. I really think it’s illegal. I think it’s not being done correctly. I think that
police should be thrown out and we should call it something else and we should write it differently.
Enough people have been under oath to say that they aren’t even aware of it in this city – or workers. I
don’t think we’re…”

Alderman Klee “30 seconds”

Laurie Ortolano “…living up to the law when it comes to e-mail record retention and doing the right
thing. Just because the city lawyers can go in there and tell a judge, “oh we throw our e-mails in
different files and they’re not searchable. We get rid of our transitory e-mails. I’m just finding what they
say isn’t really the case and the training in there doesn’t match that. You saw today I sent you the
lawsuit that the Judge ruled on in favor to hold the ruling on for a win. Thank you.”



FINANCE COMMITTEE APRIL 6, 2022

https://www.youtube.com/watch?v=0EiXeqBCY34


                                                                                                           299

                                                                                             NPD-LO-3997
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 300 of 424



0:49

Laurie Ortolano “41 Berkley Street, Nashua.

“I’m not certain I understand the format of the agenda so. These communications it’s not clear to me.
Are you actually like voting on these tonight or like approving them because they are not listed as like
business? Okay so you’ll be voting on these. I just wanted to understand this Rescue Plan Act money for
the $200,000 what we get for that, are we trying to go after grant money, and what kind of strings get
attached with that grant money, how much is available? It looks like it’s all COVID related and I’m always
concerned about what the hooks are in that.

“I’d like to know for the road projects being done or we would interested in hearing for 14 miles of
paving we’re doing. Is this typical for what we do for paving each year and is that money - I think its
bonded money and we’re feeding out of the bond. I’m not even certain how it goes, but if we are taking
money that’s already been bonded and spending it, I was just trying to understand that.

“And I want to just lay some caution on the assessing dashboard consulting services. I’m not certain
what this is about or what it’s going to give us, but I’m more concerned with getting the records online
and getting the redactions done and the digital component of the property record files brought up. I
think that is going to cost a good bit of money, and people, and services to do that, and I would like to
see the priority go there rather than to this dashboard because I think it’s more valuable to everyone
especially with new numbers coming out. Thank you.”

16:11

Laurie Ortolano “Yes. Laurie Ortolano, 41 Berkeley Street, Nashua. I have a lot of questions on what I
just heard with this $82,000 being spent and I’m so tired of “improvements being made for
transparency” that we either don’t need or don’t make sense. Is this supposed to bring the property
record files online because Miss Kleiner does not speak clearly? Is this an interface that brings these files
on line that are being done by Inception Technology? I’d like an answer to that. We were told that’s
$7,500. Is that $7,500 we’re going to spend still to do this or is ArcGIS providing this? And where is the
transparency now? We have all the cards online. You can check your neighborhood. You can access
them from home. You can run the taxes. You can look at all comparable properties. Why would be doing
this unless this is the interface for Inception Technologies scanned work? I’m so tired of the wasted
money for transparency that isn’t transparent or necessary.

“We bought all those tablets for the assessors to take out in the field. We never really use them. You
know why, our assessors since 2019 when we purchased them aren’t doing permits or sales data
anymore because when we signed the contract with Vision they took over and did all that work. So the
handy tool of buying digital equipment wasn’t really necessary at all. We spend the money, we don’t
really use it. We upgraded for thousands of dollars, tens of thousands of dollars. Patriot Properties tool
three years ago. We have the latest and greatest software down there. She did not say “is this system
going to be accessible from home?” or “is this only going to be accessible if you go into the assessing
office?” because I don’t want. I want the same accessibility from home that I have now but I don’t see a
need for this at all. Somebody tell me what this is going to do other than muddle it for people who have
to try and understand this stuff. The new version of Patriot is complicated enough down there and the
Clerks that work in the office don’t know how to help you on that computer screen because they don’t


                                                                                                         300

                                                                                           NPD-LO-3998
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 301 of 424



understand the WebPro that’s been updated. You have to fish through it yourself. I went down there
and a person couldn’t show me how to print a card off the computer. I had to stand there and do it
myself.

“So is this part of the Inception deal? Are we trying to couple the property record files and this is being
developed by a consultant to allow…”

Alderman Comeau “30 seconds.”

Laurie Ortolano “…property record files to be accessed? I’d like clarity. I’m going to cut this discussion
out and send it to the DRA and say “help me understand my records” because I don’t understand what
was just said to you and I wish you hadn’t approved this. This requires more discussion. Thank you.”



Board of Public Works Budget Workshop, 4/19/2022

https://www.youtube.com/watch?v=dQZthHCdIR0

2:11

Laurie Ortolano, 41 Berkeley Street: Ms. Ortolano spoke to her concerns about property assessment
values. She praised DPW for the work we did this winter with snow and ice clearing. She spoke about
the City’s nonpublic minutes and the fact that the BOA, BPW and Assessing are all out of compliance
with the new law put in place January 1st. The best and most complete set she reviewed was from DPW
but said she is concerned that our nonpublic minutes should be listed separately.

The following was transcribed by E. Vassar on March 19, 2024

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I know this, I think it’s the first budget planning
meeting, I’m not positive. So I just want to emphasize mindfulness in spending. I think there’s a lot going
on when these new assessment numbers come out in July that have some hidden secrets for property
owners. I think the lowest level property owners will see the highest increase, which is always
problematic. But I do appreciate the work you do with the roads and plowing. I didn’t have any
complaints this winter, and I know some people did, but I think it was particularly challenging with the
amount of rain and ice. And I think you did pretty good, really. And I think it was expensive for you to try
to stay on top of all of that. So I’m gonna give you kudos for what went on with the roads. I think you di
da great job. And I know my road is being dug up right now, and I don’t even care if you repave it. I
didn’t think it was so bad. But the process is underway.

I would like to talk to you about how you handle your non-public meeting minutes. I picked up a list that
was done, cuz the law changed on January first, and I don’t think you’re really on compliance with those.
And no board was. I picked up the minutes from the Assessing Office, DPW and from the Board of
Aldermen; none of the lists were even close to matching each other, because each one is applying a
different process. The best and most complete set was Public Works. Yours were the best set. But I am
concerned that separate minutes are not listed for non-public meetings. And they really should be. And I
cited a NH Municipal Association document from Cordell Johnston in 2016 where he advises and says
non-public meeting minutes must be separate. And that was my training as an elected official, and I
could just tell you from a transparency standpoint, as a member of the public, it hugely helps when you

                                                                                                         301

                                                                                           NPD-LO-3999
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 302 of 424



put ‘non-public meeting minutes’ listed under your meeting minutes so that the public knows that
something was released. Otherwise, we have to go searching through every set of records, that could be
83 pages long, to try and find where they are. And quite frankly, I haven’t been able to find the ones
from February and March. I don’t know where they are. But I really believe it’s not in compliance,
otherwise, your list was quite good. Your listing method. It’s just how they’re posted. Thank you.”



Board of Assessors Meeting of April 21, 2022

https://www.youtube.com/watch?v=LbSjiZa5Bh0

12:48

Laurie Ortolano, 41 Berkeley St. asked questions about the BOA packets with regard to nonpublic
minutes and expressed concerns about the process regarding sealed minutes. Following public
comment, board members attempted to answer Ms. Ortolano’s questions and clarify the steps the
board takes regarding accepting, approving and unsealing BOA minutes.

The following was transcribed by E. Vassar on March 13, 2024

“Laurie Ortolano, 41 Berkeley Street. A couple of things. I did just ask Jen if, in the packets that you
receive, the board packets you receive, if the non-public meeting minutes are part of that packet. So you
get a set of public meeting minutes and a set of non-public meeting minutes. Do you get your non-public
meeting minutes for every meeting? Marked non-public?”

“This is a public comment period, it’s not a question and answer period.”

Laurie Ortolano “Well I know, but behind me is Rick Vincent to answer it, and he couldn’t do that, so I’m
here because the meeting was starting. And it’s a very simple question on a packet thing. But let me go
on and explain what my concerns are. The state changed the law in January regarding documented
sealed minutes. And the Assessing Department is not handling the documentation for those sealed
minutes correctly. I went down there to get the list, and I actually got it from the Board of Aldermen, the
DPW and the Board of Assessors, because they have non-public meetings that have happened since
January 1st that have to be documented in a list. Before I requested those, I wrote five weeks ago to the
Legal office, and I said I’m going to request a quarterly report of sealed minutes. The law changed. Every
quarter. And I want you to know, by the end of March 31st, I’m going to request the list for January,
February, March. And I gave them a heads-up because I wanted everyone to know this was coming.
Now, my presumption was the Legal office and the Clerk’s office would be responsible for alerting all the
different departments or divisions in City Hall of this law change. So it seemed to me the reasonable
place to go. Just a guess. So I collect all three sets, and all three groups are doing it differently. The on
that is most accurate is DPW. They’re doing pretty well. Your group is terrible, and the Board of
Aldermen is incorrect as well. Okay? So the law specifically lists six items that have to be in the table for
sealed minutes. The list I got had four columns, not six. And it’s all scrambled for when you’re unsealing.

“The other thing that seems to escape this city is that non-public meeting minutes are always supposed
to be separate. Meaning they get reviewed separately, they get approved separately, and they get
posted separately. Coming from Litchfield, this is the way we always did it, and when I was a school
board member and a budget committee member, this is how we did it. For eight years. And I went on

                                                                                                         302

                                                                                           NPD-LO-4000
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 303 of 424



the Litchfield site, and I can click on non-public meeting minutes. The problem I have with the way
you’re doing it is that, what Jen explained to me, was that you’re folding, when you decide, you started
unsealing minutes, which is a good thing. This law change was in part because of how Nashua was
operating. I went up and testified that the Board of Assessors spends three quarters of its time in non-
public session. And you never unseal anything. And it never used to be like that until I started coming.
You would put out and disclose the settlement agreements that were public record when you agreed to
them in your meeting. You’d come out and disclose, here the settlements we took care of. And then all
of a sudden it became totally private material that was sealed. Even though they’d go to the Clerk’s
office, but again, you weren’t dating your settlements, so I couldn’t tell which ones were handled in
which meetings. They go to the Clerk’s office into a pile of a hundred, they’d be scrambled in there, so
as a citizen, I’d have to go through all hundred. So I decided I’d start writing Right-To-Knows to Rik
Vincent after each meeting to try and get what you cover. Total pain in the rear end. And ridiculous.
Okay? And Celia Leonard was the big obstructionist to this. My repeated communications to her as an
attorney to unseal these things and to handle it correctly was met with a “screw you.” And I’m tired of
that.

“Now, Jen Zin(s) really upset me a couple days ago. Because she tried to tell me, “We’re doing it right.
And if you have a problem, Laurie, go to Legal.” Where do you get off telling me to go to Legal? When
Legal said every department is responsible for their records. You go to the department. And you know I
can’t go to Legal. I can’t knock on the door. I can’t get an appointment. And I rarely get a response.
Despite the fact that they’re losing on most of their litigation with me. They treat me like trash. I
shouldn’t have to go to Legal to get the lists done correctly. I should be able to work with someone
down in Assessing to form your lists correctly. I’m bringing all this data to a state meeting on Saturday to
look at all these people (who) are combining Right-To-Know what their municipalities are doing so we
can start to track how this is working, and whether it is meeting its purpose of getting minutes unsealed.
But the other reason, what you’re doing here, is when you unseal minutes, she showed me that on
February 17th, you had a meeting. You approved settlements. And on March 17th, you unsealed those
minutes. And I said, “Well, where is the record? You said it was put into the February 17th meeting
minutes.” Well we looked, and they weren’t there. But more importantly, those meeting minutes were
approved by you in the meeting, the next meeting in early March, they were approved by you. You
can’t, you shouldn’t go back and add whatever you want to a set of minutes that’s already been
approved. That’s why most cities or most municipalities treat their non-public separate. Because if you
unseal, you’ve taken an action at a different date and time that were not part of the original minutes.

“The other thing is the NH Municipal Association, and I will send the documents to you, produces good
technical and legal papers on non-public meeting minutes, and their recommendation, and thy said this
in a paragraph, (inaudible) non-public meeting minutes should always be separate. And their comment
was, “It goes without saying.” Well, it doesn’t go without saying, because we’re combining them. And
when you fold them into records that already exist, the public has no idea when you’re unsealing. We
have no idea what’s really happening. It’s so much easier if the agenda, if the city website is set up with
Board of Assessor regular meeting minutes, non-public meeting minutes, just like they do in Litchfield.
Do it that way, because actually, that’s what the law is telling you to do. But also, meet the
requirements about what the law says about the table. That whole process is set up for sealed minutes.
Just sealed minutes. Non-public. If you run a non-public session and they’re not sealed, they come out in



                                                                                                        303

                                                                                          NPD-LO-4001
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 304 of 424



72 hours anyway. We don’t wanna track what’s not sealed. We wanna track what’s sealed. You guys
have historically sealed everything. Just do the table correctly.

(inaudible time warning)

Laurie Ortolano “Okay. Please follow the law. I really don’t feel like filing another lawsuit.”



Board of Aldermen Tuesday, April 26, 2022

https://www.youtube.com/watch?v=1U7V-G7iSAQ

12:47

Laurie Ortolano “Good evening. Laurie Ortolano, 41 Berkeley Street. I'm here to address the unfinished
business item that you'll be voting on tonight for the Expendable Trust Fund for 14 Court Street. I'm not
in favor of this fund because I think that building it was pitched to the Board that the goal is that
building will become self-sustaining or profitable and not require this, you know, constant use of
taxpayer money. I happen to believe that that's not the case with 14 Court Street. We're doing a lot for
the arts downtown and the art center that's being built was obviously funded by taxpayer dollars. But on
top of that, there's a lease arrangement whereby I believe for 15 years taxpayers will be paying a fee to
the operation of that building that will go anywhere from a half a million dollars to three quarters of a
million dollars. So taxpayers will be supporting that art center regardless of whether it's profitable or not
for a very long period of time. I think we have to look at what facilities we keep going like 14 Court
Street that struggles so much as that requires a lot of costs. That building it was always very, very
expensive.

“I agree that the Keefe Auditorium should be maintained at Elm Street and obviously, there's a lot of
interest in that and I'm not certain why we can't transition. The few arts programs that are over they're
using the theater over to Elm Street to use the auditorium over there. It's a much nicer facility. It'll
obviously be renovated and it just seems to me that it would be a much better use of taxpayer dollars. If
in fact 14 Court Street does not contain the fire station lines north and south lines that I had addressed
at one of the board meetings that was rather scoffed at by a few people as not an issue, if those lines
are not in there and there's no fire issue with that station associated with 14 Court Street, I don't know
why we wouldn't look at letting that go to someone else for development of some kind to turn that into
something that wouldn't be such a burden for taxpayers because that becomes a third arts potential
place that we just continue to dump money into that I think is a bottomless pit. That will never be a self-
sustaining facility. So I'm not in favor of this expendable trust fund because I just see it as a money pit
and I think what we're doing with the new end pack and what we're doing with Elm Street with taxpayer
dollars is the direction to go in and cut your losses on the white elephants that don't work. Thank you.”

1:01:06

President Wilshire “Thank you. Seeing no one else. I’m sorry Ms. Ortolano.”

Laurie Ortolano “No problem. Laurie Ortolano, 41 Berkeley Street. A couple things. The road project that
you looked at yesterday and bonded, I think, to do the next five years. Terrific. The road project I think is
a very nonpartisan issue but I would ask you to be mindful of the patching and the cutting into roads

                                                                                                         304

                                                                                            NPD-LO-4002
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 305 of 424



that's going on in this project. There's been a lot of questions raised about proper cuttings and patching
done on roads when we're spending this amount of money and we're not doing the proper patching.
Hall Street’s got some beautifully well done patching done when they've had to open a road that has
been paved or even due to paving and there's been plenty of studies by the DPW Department regarding
the consequences of cutting into freshly paved roads and then having to patch them. If the patches
aren't done well, that you affect the life of that road by 30%. It's really significant. Go out on Broad
Street - you see five or six patches between Coliseum Ave. and Broad Street School that are really
exceptionally poorly done on a newly paved road. We spent millions on that. Go down Hall Street and
you see beautifully done patches. They're done by two different vendors. If let’s say Pennichuck does
some of the cuts, their work might be of a different quality for patching than let's say Liberty. We need
to get consistency and compliance with the patching process because we're spending an awful lot of
money on these roads.

“Another thing – Assessing. We know our Assessing Chief has moved on. I want to make certain that
that has no impact on the release of the numbers in July. I am very concerned by the no bid process
done for the $82,000 contract awarded to EZRI to create an interface between the Arc GIS system and
the assessing software. That was a sole source bid and I would like to recommend that when the
administration brings forth projects that are not bid, that it be marked in the proposal when it's given to
you that this is sole sourced. I don't believe that should have been sole sourced. I don't think - you had
other options and I had to do a lot of research but there is a community in Nashua not far from here,
half the size with 40,000 plus people that put that interface in place. When I called them and told them
we paid $82,000 for a consultant, they were blown away. They said we paid nothing. We did it ourselves
in the IT Department and I'd strongly recommend you just take your time and do it. We're rushing this
for some kind of transparency plan…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “…in Assessing that is not necessary. If you want us to have transparency, just give us
the sales data in a spreadsheet and we'll be good to go. I would like you all to be able to confirm that
we're on target for July for those numbers. I have to turn in a memorandum to the courts Friday for
training for the city regarding Right to Know. I have a lot of reservations that the city will not be
compliant with any type of training because the legal office has given me so much trouble. So thank you
very much.”



Board of Public Works, April 28, 2022

https://www.youtube.com/watch?v=G804Ug9_H7M

1:53

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple of things. I know your agenda has
(inaudible), and I just wanted to address the patching and cutting on roads and whether that could be
revisited. I'm trying to get enforcement when a road has to be cut into that has been freshly paved. I
went down Hall Street and I took photographs that I'll send to you of cuttings that were done on Hall
Street, that the density of the patch is …”


                                                                                                       305

                                                                                          NPD-LO-4003
         Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 306 of 424



[Mic turned on]

“--okay, that the density of the patch is very well done. Extremely well compacted, and then after they
put the patch in they did that black seal, crack sealing all the way around the patch sort of putting that
shiny band around it. Very level with the road. Very well done. If you go down Broad Street and you see
that street was pretty newly paved and then they must have had maybe gas or water problems, I don't
know which one. There was some problem on that road that resulted in the need to cut-in, there's
maybe 5 or 6 patches between Coliseum Ave., and the Broad Street School. Those patches are a lot
rougher. They're not as compacted, they're not dense, they're not level with the pavement, they're not
crack sealed or banded; and I think we should to develop more consistent protocols on that, particularly
when we spend so much money doing the roads; and I know there are certain regulations that if you are
going to do a patch you got to go curb to curb or whatever, and we've probably never done that
enforcement, but I think the consistency of the patch quality should be looked at and some level of
oversight, particularly on high traffic roads like Broad Street, which gets a lot of traffic should be looked
at.

“The second issue, is disc golf, and I would like to ask this Board to consider since there appears to be
more public interest holding another walkthrough with potentially some of the neighbors or people who
have raised some concerns. I saw the walkthrough for the winter time and I was going to go but it was
cancelled because of icy conditions. You then did a walkthrough on the 15th, but I was on vacation and
didn't get back into town until the 16th, so I missed it. I went over yesterday and walk around, and
frankly, I'm really surprised by the amount of cutting—”

[30 seconds]

“--and removal of trees to the land. When I was here and listened to that pitch in September 2021, it
was minimal tree cutting, high branches. I really thought it was going to be very non-invasive. I was
shocked when I walked in there yesterday. Absolutely shocked! There was no permit pole for intent to
cut. Not certain what the intent to cut law are, but I've checked with assessing on that, and they're
looking into it.”

[Time]

“Okay-- (inaudible) to invite your neighbors.”



FINANCE COMMITTEE MAY 4, 2022

https://www.youtube.com/watch?v=iS69kfFRndc

1:17

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just want to speak in support of the funding for
the software maintenance from Mimecast for $41,000. This I discovered is being purchased and it allows
cloud based storage for our e-mail system. I have a couple of questions that I would be interested in
understanding and is the space and is the purchase of this cloud system only for e-mails or folders too
exactly what digital data is being stored? My understanding is that the storage is being purchased so
that e-mails are stored for 366 days, one year plus one day. What happens after 366 days? Are they

                                                                                                         306

                                                                                           NPD-LO-4004
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 307 of 424



automatically deleted permanently? I understand we’re still maintaining a tape system to do back-ups,
but I don’t know if that is going to be a permanent thing because that is an older archival system and I
don’t know if we’re trying to transition out of there.

“And the other thing is, do we have the ability with this contract if we want to hold e-mails in certain
departments for a longer period of time that may be subject to litigation, more frequent litigation, and
I’m thinking of Assessing because I have addressed this with the City. Abatements and abatement
appeals can last for two years or three years. I know talking to a couple of Assessing Departments, they
hold electronic data for three years. If we wanted to hold it longer, would we have the ability to do so
within a department or extend those e-mails (just roll them for another year)?

“Those are my few questions, but I would encourage the Finance Committee to support this. I think it
helps us align us with e-mail storage and retention policies under RSA 33:A for correspondence in the
furtherance of official duties of a city. Thank you.”

1:07:08

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Thank you very much for addressing some of the
questions I raised tonight. I really appreciate it. Nick was wonderful. Just one thing that was a sole-
source contract and it’s the first time that we’re seeing it as a sole-source contract and I didn’t think to
ask, but one interesting question would be why was Mimecast picked? It’s not that I think they did
anything wrong but it would just be interesting to know. There’s a lot of cloud based software programs
out there. How did the hone in on Mimecast? I know they did last year with like a $10,000 amount of
money that didn’t have to go through Finance. So they probably did some research but we don’t know
what it is. That would be a good question.

“Secondly, I had addressed that I would love to see these finance letters coming to you marked off if
they’re sole-sourced. Well it turns out doing research sole-source is identified through NRO 5-84 and its
number 4. A4 is sole-source procurement and it’s supposed to be marked when you have something
coming to the Finance Committee that is sole sourced but they’re not doing it consistently. So like when
the package for the software to do the interface for Assessing, it wasn’t marked as sole-source. It was a
sole-source program and A4 I think should have been called out.

“The billboard that I think got tabled it sounded like was sole-sourced, but it called out A7 “purchased
under the extensions of a contract” but not A4. I think it should call out both because that is a great
label and then you all know that there was no competitive bidding done. So I’d like to see a little more
consistency there.

“One last thing just in sitting in this meeting and researching looking up these NRO’s so I can understand
them, I ran into a Parks and Rec NRO regulation – NRO 215, Chapter 215, Article One, and it has a whole
list of regulations for Park and Rec. One of the regulations is that no golf shall be played by any person in
a park or on a playground. I’m going to tell you you’re going to have to address that with the disc golf
course because when I looked up accidents and liability issues that language is what got municipalities in
trouble and lawsuits that had an accident occur. I happened to read the highlighted language that they
had Parks and Recs rules that state “no golf will be played in a park or a recreation area”. Well it just
happen to stumble in, ours is the same thing and I think you’re going to want to address that at some
table…”


                                                                                                         307

                                                                                           NPD-LO-4005
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 308 of 424



Alderman Comeau “30 seconds.”

Laurie Ortolano “…to change that language to protect the City. Thank you.”



Board of Assessors Meeting of May 5, 2022

https://www.youtube.com/watch?v=o2aJSgs1TUU

17:07

From the Minutes:

Laurie Ortolano, 41 Berkeley St. appreciates the following:

The BOA unsealing non-public minutes

Easier access to unsealed non-public minutes on the website

The BOA discussion and action items regarding charitable applications

She informed the board about the following:

The favorable rulings that have come in for her cases

She would like to know the court date for Pheasant Lane mall so she can attend

She expressed concerns about the following:

Access to assessing information

Her frustrations with the legal team and previous assessing staff/ procedures/ emails

The following was transcribed from video by E. Vassar on March 14, 2024

(No mic being used)

“Laurie Ortolano, 41 Berkeley St. A couple things. I appreciate the thought you gave to the exemption
being late. I can tell you, I was up at the ASB meeting. The assessors up there are very frustrated by that,
and (inaudible) …feel that it’s been abused for too long. And it was an interesting discussion. They’re
sending out letters, ya know, firm letters saying, ya know, no more repeat violators, this was a done
deal. So I think you’re on the right track of tolerance, and I think you’re generously tolerant when non-
profit organization (does) management change and somebody didn’t know, maybe, that year, I would be
tolerant of that. But beyond that, this consistent pattern I think should be addressed. So I appreciate
you doing that.

“I sent you a letter that I sent to the BTLA requesting that they keep the docket open regarding the…”

(Ms. Ortolano was handed a mic)

“…thank you very much. That they keep the docket open regarding the update that will be completed. I
don’t know when they’ll close it, but I would anticipate the city would ask soon. I didn’t send it to you,
but I got a ruling on my big six charge lawsuit that was before the court in a three-day trial in December.

                                                                                                        308

                                                                                          NPD-LO-4006
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 309 of 424



And I feel I did very well, and I got a favorable ruling on five of the six claims, and the judge did order
legal fees could be paid in this. And, ya know, it’s a nice win for me, but I know it’s not over, because
they’ll probably go for reconsideration, I’m not going to, and I anticipate the city will go to the Supreme
Court and I won’t get access to the data for probably another year or longer. And it leaves a lot of
questions on the process that’s used. But I feel the city has been particularly punishing with Right-to-
Know and access to information in Assessing, and that very little has changed. This started in 2018 with
a property issue that I really thought, as a pretty innocent person down there researching, they would
work with me and fix. A year later, when I got the emails from John Duhamel and I saw the way I was
being referred to in September and October, I understood at that point how disliked I was, and they
weren’t going to work with me. It took a year. And, ya know, I’m coming forward with more litigation,
and I think often of my neighbor saying to me, “For an entire year, you would sit there in my house and
say, ‘They’ll work with me, they’ll fix this. It’s reasonable.’” And she said, “I kept saying to you, ‘They
won’t. They hate you. They won’t work with you. They’re vindictive.’” And it took me almost eighteen
months to finally conclude that that is who they were. I held out hope. And the way I fought for that
property reduction was ridiculous. And then 2019, the door started slamming closed, and it was Celia
Leonard writing all the rejections, which were taken into court and this. It’s her name all over, I think
every one of these. And she wouldn’t even work with me. I couldn’t get anywhere. She was a nightmare
for me. And, ya know, information: closed, closed, closed. And the city of Nashua just wasn’t referring to
other assessing officers or chiefs to find out how they were handling open access. And they were clearly
handling it much different. 2020, we filed a lawsuit, and we again experienced trouble with records
requests. We filed sanctions because of the sneakiness and deception of the city. We win those
sanctions for a city learning that a backup tape was corrupted early on, and stringing me along for ten
months, telling me they’re gonna give me the information when it didn’t exist. And I got those sanctions.
And in 2021, I’m experiencing the same thing when it came to email usage. And ’18, ’19, ’20 and ’21:
what’s changed? And I have a civil case I gotta bring forward, and I’m going back in with one more into
local court, Superior, on RSA 33-A, retention records, a violation. My Right-to-Know group has been
after me to get a ruling on that, and I have to treat that separately. And I’ve tried to work with city on
that to acknowledge that there’s a problem, and they won’t work with me. And I hate to have to go into
court. I’m gonna write an apology when I submit the lawsuit because I don’t wanna keep doing it. But I
want an answer, and I wanna know why we’re operating this way. And I feel it never ends here. And it’s
wrong. And it all stems around assessing information. And it filters into other areas with just the Clerk’s
office and access to information. I find it ridiculous. Just maddening.

“I also noticed… so I’m going to send you the lawsuit to read. I’m gonna modify my request to the BTLA
to include this, and write about this litigation process and what’s happened – and the cost of it! It’s
absurd what citizens have to do. I think some of our state legislators should be working on laws with
citizens to change this.

“And I also noticed, I don’t know if this is a change you’ve made, but usually the Board packets, the
agenda’s online and the Board packet material is online as well; and it hasn’t been online the last few
meetings. Like, I scrolled in last night, and the packet isn’t there. Now, it was there like three meeting
ago. It’s usually there. So I don’t know if they changed it so they’re not putting the packet online
anymore, but if you could just, I think, it’s helpful to me, because I download the packet, I come in to the
meeting, and I look at, ya know, the timber and the A-9’s and what’s changing, and I can follow along. So
I don’t know why that’s not there anymore.

                                                                                                        309

                                                                                          NPD-LO-4007
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 310 of 424



“But I do appreciate you unsealing minutes. I do see that they’re now posting them separately, which is
very helpful. And I would like to know when the Pheasant Lane Mall lawsuit is going into court. I wanted
to listen to that, it’s a huge, huge issue for the city when it comes to commercial tax payments, because
Pheasant Lane is a huge taxpayer. And I believe that it’s not in the hands of the BTLA, that it’s going into
maybe Superior Court, and I haven’t been able to find it. And if somebody can tell me when there’s a
court date for that. I’d like to know because I’d like to go on that one. Thank you.”



Board of Aldermen Tuesday, May 10, 2022

https://www.youtube.com/watch?v=djb4CukxgnQ

1:18:14

Laurie Ortolano “Hi. I’m Laurie Ortolano, 41 Berkeley Street. Just a couple of things. The Greeley Park
Advisory Committee - I understand what you’re trying to do here, but I think you should broaden that
because I think that that kind of got going when the purchase of the land was happening up on Bartlett
Street and the interest to make certain the park is what the citizens want it to be. But I think you have it
as an important issue going on in Roby Park right now and you could certainly have a Roby Park Advisory
Committee. But more importantly, I think you should just an overall Park Advisory Committee. I would
really like to see that as an oversight committee to DPW. I think the Conservation Commission should be
involved. It’s just apparent to me given the way decisions are made and actions are taken that they’re
too singular, too outside of the public’s participation and eye, and when things don’t go well, we are not
a very kind City. Our leadership, I think, is not overly kind to citizens that take different positions than
them. So I could like to see that expanded into just a Park Advisory Committee for the City of Nashua.

“The animals in the park ordinance that’s going to be referred to committee, I would like you to consider
a language change on that in that the Superintendent of Parks and Recs is assigned the responsibility to
notice the parks for pet accessibility. Really we’ve had a lot of issues with that Superintendent position.
Very heavy turnover, very short term. I really think that anything written in the name of the
Superintendent should now be changed over to the Board of Public Works. I think it was at one point
and I think you should consider that now in the language.

“Also, I was very disappointed to see the City put up such a fight on the Right-to-Know training that was
remanded by the Court for the City to participate in given what’s gone on. It’s just rather amazing to me
that the Mayor would petition that to the Supreme Court rather than do the training. We’ve had 7, 8, 9,
10 Right-to-Know violations that have been found. I know there are more and it just seems to me when
the City has had that many problems with the Right-to-Know Law that it would be reasonable that
training is done. I wrote a training memorandum…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…that I gave to you all and I think that you have to remember that all these violations
were the responses that came directly from the Nashua Legal office and it’s very concerning to me that
we can sit here as a Board and as a community and say we don’t need any training. I think the Board
could have done a lot more to assist in these matters and they’re much more proactive. Thank you.”



                                                                                                        310

                                                                                           NPD-LO-4008
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 311 of 424



BUDGET REVIEW COMMITTEE MAY 16, 2022

https://www.youtube.com/watch?v=Ilflg3wTm9Q

4:05

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I won’t have time to go through all of these, but
I’m going to start right away with the Legal office. I’d like some real scrutiny done there. I don’t think the
Right-to-Know Coordinator position should be in there any longer for almost $90,000. That did its stint.
It cost us a lot of money because it created a lot of litigation that came right from the responses from
that Right-to-Know Coordinator. It almost appeared as if no one in the Legal office was supervising the
position and the work that was coming out.

“I also have some real questions regarding the expenses. I don’t see where there is any consultation fees
in here if other attorneys are consulted and office supplies. I know what it costs for me to print and go in
with books. My Right-to-Know lawsuit in December supposedly the City had run off 50,000 pages of
documents they wanted to present at court making numerous copies. I don’t believe that supply budget
of $3,000 is accurate. There must be money coming out of someplace else because I understand
litigation now and I understand the paperwork involved and that cannot be all inclusive and the same
with litigation related expenses. So I’d like to know if there is some other part of the budget where
consultation with other law firms is being posted and I’d like to get that position out of there for Right-
to-Know Coordinator.

“Back to the Mayor’s Budget. I’d like to see a position cut from that budget. The services – it says
“communicates and engages with the public”. This Mayor only communicates and engages with
likeminded people who are similar to him. I want to see an office that engages all of us and that’s not
happening. “Creates a welcoming atmosphere within city government”. This is not welcoming. You
come into City Hall and there’s locked doors with buttons and no doorbells and plaques up saying “by
appointment only”. This is the only City Hall I’ve been in the State that is like that. You know what, its
okay. That’s the way he wants his City Hall run that’s fine. I don’t want to fund all the positions.
“Whoever the PR person is in there and I don’t understand all those strategic positions, I’d like you to
ask each one as a name, no job description. I can certainly Right-to-Know to get all that. However, I’d
like this Board to ask let’s get rid of the PR person because I don’t think they’re PRing the way they
should.

“Board of Alderman not too many issues there, but I will say the transcriptionist is still in the budget for
$44,000. We haven’t had that position filled since September. Why are we still funding it? We’re
obviously not doing minutes the way we used. We’re abbreviating them…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “…we’re not using outside services to do this. So I would like to see that $44,000
removed from the budget and trim it down and just go with our Legislative Assistant, abbreviated
minutes, and we’re done, YouTube postings and we’re good. Thank you.”

1:43:22

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I take exception to what I heard tonight coming
out of the Mayor. I have a real concern with this position that he said for the Right-to-Know Paralegal. I

                                                                                                          311

                                                                                            NPD-LO-4009
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 312 of 424



am equally concerned that Attorney Bolton would say that I knew nothing about this position. Why
would we have a Right-to-Know Coordinator in the Legal Office and a Right-to-Know Paralegal under
Administrative Services to handle Right-to-Knows when you’ve got Right-to-Knows in DPW? When you
have Right-to-Knows in the Building Department. When you’ve got all these other Divisions that have
them - Finance. John Griffin gets a bunch of them from a citizen. Why would you put that under Miss
Kleiner? I am deeply concerned that Miss Kleiner would have any responsibility for anyone legal. I don’t
think she’s qualified to do that. I see that as an enormous risk. I came out of court with her and I found
her to be the most non-credible person in that court room. Please do not make this mistake again. Do
not do that.

“Also the Mayor said we’ve had 1,200 Right-to-Knows since 2018, 2019, 2020, 2021, and 2022. Let’s look
at look at 2022 and let me dispel the lies that this Mayor put out. One of the reasons the Right-to-Knows
have to be filed is when I come into City Hall and ask for information that I could always get, they say
“oh Laurie go home and write a Right-to-Know”. Well guess what, I’ve put my foot down on that and I’m
not doing it anymore. I’m coming in and getting the information that is available right away and taking
it. I’m not writing a Right-to-Know so they can write back to me. It’s absurd. When the Mayor says they
have people who don’t want to be here because they don’t want to be dealing with Right-to-Knows,
they don’t want to deal with Miss Kleiner’s crap on how to handle them and they’re walking out because
of her. Are you looking into that? Is anyone researching what she’s doing? And let me say this, when the
Mayor says the Chief didn’t want to do it. Amanda Mazerole testified on the stand that my Right-to-
Know request to assess help to get printed property record cards were ignored and when I said to her
“did you answer my request just to send me a printed card” she said “no”. I said why? Miss Kleiner told
me not to. What did you do with them? I had to send them to Miss Kleiner and Rick Vincent. Then Rick
Vincent was told to go do the clerical work and get the card printed and send it to me, which he didn’t
following up on because he’s a Chief making $125,000 who couldn’t do that work. I wrote an e-mail to
him and said “why are you doing this…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “Its clerk work. Its settlements. I had to go to Mr. Vincent to get settlement agreements.
They were always in the minutes. They sealed them. I couldn’t get them any longer. This is crap. This is
ridiculous. This Mayor needs to go. He’s fabricating stories and building it into the budget. Get rid of him
and don’t do this with our budget. There is nothing comical about it Mr. O’Brien. It’s a sad story. You’re
birds of a feather.”

Alderman O’Brien “Excuse me Miss!”

Laurie Ortolano “I’m done!”



FINANCE COMMITTEE MAY 18, 2022

https://www.youtube.com/watch?v=5Is6h4n8kf0

9:18

Laurie Ortolano “Laurie Ortolano, 41 Berkley Street. Just with regard to the contract if channel growth
was in there, and modernization, and upgrading hopefully the big contract specified what you’re looking

                                                                                                        312

                                                                                          NPD-LO-4010
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 313 of 424



for so that both parties or all parties submitted what you were looking for and that they didn’t believe
that the same was what you were looking for because the low bid would be the winner. I mean I didn’t
see the contract and read it, but I do think that’s important. I do think if modernization and upgrading
was what you are looking for and you picked who you picked for that, fine, but as long as the contract
specified that for all parties what the criteria was that’s very important. So if channel growth, and
upgrading, and modernization was part of the contract so be it.

“I am concerned and I just want to state there was a bunch of information in the packet regarding how
we’re going to rebrand and legitimize the station, develop, diverse bilingual shows, weekly interview
shows with Department of Health, DPW, NPD, NFD, BOA, Mayor, and City departments. I want to make
certain that we are allowing programming that speaks to the diversity of thought in the City. That it
doesn’t become a single party television station. I want to make certain when boards go on, first of all if
you have enough members of the Board you have a meeting. When Boards go on that they don’t
become a political platform. I want rules written like what happens during candidate season when we
register new people to run for office in September? Do those Board members that are maybe coming
back get greater access time because they’re already on the Board to pitch what they’ve done and
newer candidates aren’t going to have a voice who are there? I want to make certain that we represent
all the views of the City and that Republican views, Democratic views, and Independent views are
accessed. If the Department of Health comes on, terrific but get some people on who speak about not
wanting to vaccinate children or not believing masks are effective. Let those voices be heard. Would you
entertain a program on Right-to-Know? What is open access information? What is the public need to
know about that information? I just want to make certain that it doesn’t become a political station for a
single party. That we have plenty of City diversity in the programming that we do. Thank you.”

1:20:17

Laurie Ortolano “Hi. Laurie Ortolano, 41 Berkeley Street. I just want to point out when you were doing
the contract talk for CTV over the public broadcast, it was about BRB TV did get a unanimous vote from
the Cable Advisory Board for that contract. I think there was a lot of discussion on it. I know Ernie Jette
originally was concerned. He wasn’t voting yes and then he switched upon getting questions answered.
So I think as a Board you can at least look that there was a lot of discussion about it. I know that
transition for change is hard on everyone and hopefully we’ll see some of our common programming
and expansions to other programming as well.

“I would like to say that I am a little bit concerned about constitutional and viewpoint issues. The use of
television and the broadcasting of government business on a public broadcast station. I think we need to
be careful about that and I believe this City is more restrictive on First Amendment Rights on viewpoint
issues because I watched that whole flag issue unfold. I supported the Save Women’s Sports Flag not
because I’m strongly in the person’s camp who presented it because I have plenty of friends who are
Democrats, Republicans, and Independents who supported the message of that flag. When I hear Board
members say that it’s a transphobic haters flag, it concerns me. I have a friend who is a really awesome
Democratic Constitutional Attorney. I had a really lengthy discussion with them about this and they said
that flag is absolutely not a transphobic hater flag…totally misinterpreted. But it concerns me because
the City’s interpretation is horrible and it’s personalized on the person. When I heard a Board member
say that this individual wanted to fly the flag had locked arms with the Satan and (inaudible) with a
satanic flag, it really concerned me. I think that’s very, very harsh. I think our ability to recognize

                                                                                                        313

                                                                                          NPD-LO-4011
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 314 of 424



viewpoints in this City has been closed way down. I don’t want to see the public access station utilized
with that same closure or abused to not present viewpoints that I think are representative of the
community…”

Alderman Comeau “30 seconds.”

Laurie Ortolano “…so I’d like you to bear that in mind. I think I’d like to see policy developed on that – a
pretty clear policy on where the lines are because the people who run the TV station know those rights
well but the oversight group may cut it right off and do what we’re doing with that flag and I don’t
support that. Thank you.”



Board of Assessors Meeting of May 19, 2022

https://www.youtube.com/watch?v=YpKpQBPnzz4

4:37

From the Minutes:

PUBLIC COMMENT: Laurie Ortolano – 41 Berkeley St

Ms. Ortolano expressed concerns about the Reval:

Vision Government Solution’s end-of-service date

When the final numbers would be released

Depreciation issue had been resolved

How depreciation would impact older homes

Shift of value for commercial and residential properties.

Update of % increase

Abatements – why it takes so long to settle with a 6% interest return, now 4%

Dates of sales data used

Hard numbers – when are they coming out for informal hearings

Doug Dame – why is the City trying to force him into retirement, etc.

The following was transcribed by E. Vassar on March 14, 2024:

“Laurie Ortolano, 41 Berkeley Street. I don’t know when Vision is coming back to do an update, but I had
some questions that I want to relay to you to see if you can help me get some answers. I wanted to
know what the cut-off date is for the sales data that is being used for this update. The contract doesn’t
specify that. April 1st is a typical date and I wanna know if they’re ending the sales data as of April 1st,
taking it through to the end of April. I’d just like to get that date. And I also wanted to know if there’s a
hard date coming out for the numbers coming out. The contract specifies they have to release the
numbers on or before September 1st. There’ been a lot of talk that the numbers will come out in July.

                                                                                                         314

                                                                                           NPD-LO-4012
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 315 of 424



But I’m trying to understand how real that is. Is that just being said and the contract affords them
September one. But they have to do all the informal hearings from this update – it’s a big job,
potentially, particularly given the way these are changing; you could have a lot of people coming out
who don’t understand the process wanting to have that informal review, I wouldn’t be surprised by that.
And that’ll take a lot of time.

“I would like to know if the depreciation issue has been corrected and if Vision can tell us what that
impact is on older homes. So they were trying to de-couple the depreciation factor from the effective
year built to the condition of the home. And I believe it’s probably been reset and I believe they can
probably run a report to look at that. That’s going to affect homes probably 1960 and older.

“Residential and commercial properties: I’d like to try and understand the shift on that. I think based on
their last visit here, they’re probably winding down or done with the commercial property overview. The
last time Rick Vincent and Kim Kleiner did an update to the Board of Aldermen, which was probably last
September – no, November! I think Rick Vincent was indicating there was roughly a 10% shift
potentially, but I’m concerned that it’s actually larger given where the ratio fell this year. The ratio
dropped almost ten points in a single year. It went from like 86 or 87 down to 82, and from 82 down to
72. This was a big slide-year, because property values really went up. But it’s the residential that carried
that. So I’d like to get an idea, and I think Vision could tell us what that shift is now between commercial
and residential Properties.

“Also, with regard to abatements, I’m concerned about our response time. I don’t understand why this
city carries so many abatements that go back twenty-eighteen, nineteen, twenty, twenty-one. We pay
interest on those: 6%. It’s been changed this year to 4% as of 2022 it’ll be a 4% return. However, I’ve
talked to other municipalities, and especially the big ones, they deal with their abatements very
efficiently. Commercial: they want them cleared, and they don’t wanna pay the fees. And we have so
many that aren’t cleared. And I’m trying to figure out why. I was trying to figure out what was going on
with the Pheasant Lane Mall, the abatement file wasn’t down in the office, I don’t know what the carry-
over years are on that, I can’t track it, I would have to write a series of Right-to-Knows. It’s really
frustrating. And I don’t know if that goes back to ’18, ’19, ’20, I have no idea, I just have no way of
knowing.

“One other thing: ya know, I’ve heard rumbling that there’s an effort underway by management to try
to have Mr. Dane leave the City, retire. And that may not be true, but I just wanna say that I’m
concerned about that. Because for me as a citizen who’s gone to Assessing, the one person I felt was the
most knowledgeable and helpful when it comes to answering a question about assessing is Doug Dane.
And I was always cut off by this city from interfacing with him. They did everything they could to prevent
me from having conversations. I found him to be honest, direct. He’s an older guy, they probably wanna
get rid of him, he doesn’t get enough done, whatever the reason is. But there’s a lot of issues with age
discrimination and that stuff. I’ve heard the union is working with him, to back him. I don’t like it,
because we have the other assessor, who I don’t feel is productive at all, who we’ve had issues with,
that this Board said, “we don’t deal with personnel, we look the other way.” I don’t think he was truthful
on his white board. I don’t think his past transgressions should’ve been forgiven. And if he can hold a job
here – and if I ever go to that assessor and ask for help, it’s, “well, Laurie, we’ve got twenty-nine-
thousand parcels, and I’ll get back to you.” If you talk to Doug Dane…” (she snaps her fingers) “…he’s got



                                                                                                        315

                                                                                          NPD-LO-4013
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 316 of 424



an answer like this. So for me, driving him out of the city and trying to fire him isn’t helpful. And I just
want you to be aware of that. Thank you.”



BUDGET REVIEW COMMITTEE MAY 19, 2022

https://www.youtube.com/watch?v=ntESPmlHuuc

1:03:37

Laurie Ortolano “Yes. Hi. Good evening. Laurie Ortolano, 41 Berkeley Street. I know the next meeting - I
don’t know if it’s Monday or Tuesday I didn’t check the calendar - but there’s a lot budgets coming in for
that meeting under Administrative Services Director and I want to share with you my concerns at little
bit and hope that there are some questions asked about the Right-to-Know Paralegal. You know that
Right-to-Know Coordinator position when it was hired in December of 2020 was pretty distressing to
me. I did not want to see that come in because I felt that position would present hurdles and obstacles
to the public getting information as we wanted it and it did. It resulted in four lawsuits over an eight
month period. One was the sanctions that were won - one other citizen one, a Right-to-Know and two
pro se put in by me. The final judgment isn’t in, but the City did acknowledge there was wrongdoing
there in Court. So that presented for legal actions and I wasn’t a fan of that.

“Now I see this Right-to-Know Paralegal coming in. There was no job description. Some of you might
have seen that I tried to put it out to the Budget Committee that I have asked for the job description for
that. When I look up what a paralegal does, I don’t think it belongs under Administrative Services
Director. I’m very concerned by the tracking that continues to go on for me. These are the assess help e-
mails that were sent to me from my last lawsuit that were only sent to me two days before the trial,
which was records I was supposed to receive a year earlier. This is one of three batches of records the
City had that they didn’t provide me. These are all e-mails sent to assess help for help. I had nine e-mails
I sent in. I was trying to find mine. I didn’t know what other people sent in, but I have nine pages of this
were all three batches. Look at all of these in here. This is one abatement the way they’re clipped. So it’s
clearly citizens were sending in a lot of information to that line because the Assessing office was closed.
When I see my questions pulled out and shipped up to Miss Kleiner and then sent to a Chief who has to
respond to them, frankly it just infuriates me and I hear the Mayor say “Chief Vincent left because he
had to deal with Laurie’s Right-to-Knows”.

“My questions were sent into assess help and I call them Right-to-Knows because they were just
questions. They were acknowledged…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “…as 91A issues at all. They were just questions like these citizens and what they sent in
but mine got pulled out and flagged. Chief Vincent always said he was going to be here a year. I was
aware of that. He stayed 14 months. I’m not certain I want to play the blame game on what citizens did,
but I’m really opposed to what I see going on with positions and that position in there. It will be another
battle and I don’t want to go through it. Thank you.”




                                                                                                               316

                                                                                             NPD-LO-4014
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 317 of 424



BUDGET REVIEW COMMITTEE MAY 25, 2022

https://www.youtube.com/watch?v=x3poGsPCf-U

1:49

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I noticed in this budget there's two new
departments - Payroll and PEG access channel that I'd be interested to know how payroll got moved
over into this area. I know the Mayor appointed cable TV to Miss Kleiner.

“When we go through the budget within the Assessing Department, I'd like that somebody to pay
attention to who is going to be doing all the redacting on the property record files to get them up online,
what positions are allocated to this. Have we looked at outsourcing the entire Assessing office given the
decline in employees within that office?

“How is Right to Know training done within your department since you want to hire a Right to Know
paralegal? I did receive documents back from various departments on Right to Knows as of January 1st. I
don't think the paralegal is justified based on the quantity of questions being asked and how they're
processed. But we need to understand what the city and what specifically the Administrative Services
Office considers the Right to Know request.

“What are we doing about the appeal costs - abatement appeal costs when it comes to settling in
house? We seem to be drawing those out for years and years and we're spending 6% interest on those
when other municipalities are settling those rapidly and not paying the literally hundreds of thousands
in interest expenses. I think we should look at that. And what are we doing about the position that we
need to collect the $10 million of unpaid taxes that haven't been collected on over a large number of
years? I think we should be working on that. Do we need a paralegal or somebody to collect $10 million
of unpaid taxes for people who have let property taxes slide 5, 6, 7, 10 years?

“IT department. How are we moving to move away from backup tapes? When are we planning to get
away from backup tapes as opposed to cloud based storage? We got emails on cloud based storage.
How many other municipalities are using backup?”

Alderman O’Brien “One minute.”

Laurie Ortolano “And what have we done to look at the 366 data storage policy based on litigation
issues? What are we doing? Is there any cost increase to extend past one year to three years? What is
happening with the Arc GIS project as far as linking the database to GIS? How many people in it are
involved on this? Who will be responsible for updating all of the GIS data? And what are the difficulties
in hiring right now?”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “I'm really interested in. I think there's costs there that needs to be looked at. What are
our biggest risks? What are our concerns? What are we doing to minimize liability? How is the
department capturing and tracking risks exposure. Purchasing. What changes have been made to the
department? Payroll - where did it come from? GIS updating data. I know my time’s up. Thank you.”

3:21:02


                                                                                                        317

                                                                                          NPD-LO-4015
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 318 of 424



Laurie Ortolano “Laurie Ortolano, 41, Berkeley Street. You know I'd like to ask this Board to think a little
bit about this some of what's going on in Assessing. You're gonna have a really hard time finding people
to come here because of how you've set up that office. This whole redacting, and records issue, and
Right to Know documentation isn't happening anywhere else in the State. No other municipality is doing
this. No other municipality redacts their records. No Assessing Chief has to deal with that at all. I just got
records from - I put in to see how many Right to Knows have been filed since January. The Mayor's office
had five. They were from me. They came back to me fully redacted with my name and email and address
off of it and black to me. The DPW had six or seven records. Donna Graham had eight. That's in about
five months. That is not excessive. Kim Kleiner sent me a spreadsheet or Administrative Services. There's
55 on there.

“There is so much ridiculousness going on in there and when she says to you I would hope general
questions are being answered. They're not. Nobody's coming to Nashua to work in an office like this.
When you can be a chief or a leader in any other municipality and not have to worry about redacting all
your records, or getting in trouble because you left an address on, I have to come up here and state my
name and address - 41 Berkeley Street for the whole public to know. I don't have to do that at the State
House and yet the email that comes back to me, 41 Berkeley Street is redacted because that's
confidential private information. Okay.

“Also, property record cards came out of the legal office to me with all the addresses redacted off the
card. I had never seen such a thing. I thought we were going to be in redaction heck in the deep
darkness of that. We have hundreds of 1000s of property records cards.”

Alderman O’Brien “One minute.”

Laurie Ortolano “That the Legal office came back and said that was a mistake. They're not going to do
that. And you don't need to hire a Right to Know Paralegal or somebody who understands redacting to
do this. And you're not going to educate them on how to read a property record card with 800 fields.
You can do that to anyone. They're going to make mistakes and things are going to be missed. It's okay.
There won't be many. The Legal office makes mistakes and sends me stuff unredacted in error.”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “Mistakes happen but what you've done is create a total mess out of a situation that
there's no getting out of. Nobody should ever come to Nashua to work in Assessing with an office setup
like this. It's absurd. Thank you.”



FINANCE COMMITTEE JUNE 1, 2022

https://www.youtube.com/watch?v=YmaKIw_PC-o

28:19

Laurie Ortolano “Good evening. Laurie Orlando, 41 Berkeley Street. I just have a question that's finance
related but not to what you cover tonight. At one point in one of your Aldermen meetings Ernie Jette
asked about having a review regarding the tax, the spending cap because the State law had changed.
The ruling from the court was Nashua was fine, then the legislature overturn that and created their own

                                                                                                          318

                                                                                            NPD-LO-4016
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 319 of 424



version right or wrong. I mean I do think local control is what it was about but the State did what they
did. That's fine. Now we had the changes made at the State and Ernie asked in the meeting if somebody
could give an overview on what's covered in that cap and Rick Dowd said that he would provide that
during the budget meetings. He would provide an overview of that.

“I've written several emails to him and have asked when if he's going to do that and when he's going to
do it. I'm primarily interested because I don't fully understand that cap. I know the city says one thing
and I know there's another side that says something else. I'm trying to figure out what it really is and
what it really means, particularly when it comes to grant money. I heard that challenge before and I
don't know why no one's responding to me. I don't know if I asked some hot potato question that legal
has said you know what, we're not going to talk about it publicly. We're going to do whatever we want
to do and the public doesn't get to know. I object to that. On the record, I object to that. I think the
public has a right to understand it. I want to understand it and I want to be able to formulate an opinion
if I think that that cap is being used correctly. So I'm hoping somebody can find out from Mr. Dowd or
the Administration if they plan to allow that discussion to take place because I want it to happen. I want
to hear it and I want to understand it. So that's my input for tonight. Thank you.”



BUDGET REVIEW COMMITTEE JUNE 2, 2022

https://www.youtube.com/watch?v=1jA1KF2hd0E

4:54

Laurie Orlando, 41 Berkeley Street. In looking at the Finance Department budget, there's a couple things
I want to note. I got those Right to Know requests that were filed to different departments and the
Finance office had about 37 Right to Knows submitted to it since January. I noticed this department isn't
requesting a Right to Know paralegal. Ms. Kleiner’s ten departments had 55 and we're funding a Right to
Know paralegal for an office. It looks to me like his office needs it a heck of a lot more than hers but he
had the common sense not to ask for that position because it's ridiculous.

“Secondly, I'd like to talk about the promotion of internal people. Miss Lindner moved into the Treasurer
Management position this office. We are constantly promoting from within and we are constantly
promoting from within people who are not necessarily competent or the right people. We did it with
Ms. Kleiner out of Assessing Chief of Staff. We did it with Sue Lovering. I objected last year. Sue Lovering
is leaving. I said we're going to do all this training for four years to certify her and she's going to retire. In
fact, she's retiring after three years. Why because her salary went up to about $110,000 for three years
and now she can draw a big retirement. We just moved another lady out as Chief of Staff - $70,000 -
$72,000 position to $110,000 position. Why because the Mayor can call in all his favors, can set all his
conformists up to hack the budget. We don't look for qualified people and we have to do a better job at
that. This promoting from within is killing the city and the same thing happened with Miss Kleiner.

“Chairman Dowd I have a question for you. When will you be discussing the cap? Ernie Jette asked for
that. You said it will be put on the agenda at one of the budget meetings. When will that be discussed?”

Chairman Dowd “I was advised the cap determination is in the legislation. It's not under the control of
this Committee. It's determined by Administration.”


                                                                                                              319

                                                                                               NPD-LO-4017
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 320 of 424



Alderman O’Brien “One minute.”

Laurie Ortolano “The fact that you were advised and didn’t share it with your board.”

Chairman Dowd “If you want to bring it up at the public hearing on the budget, you may.”

Laurie Ortolano “So Mr. Dowd, Alderman Dowd, you were asked about presenting this to the Committee
by a standing Alderman. You said you would address it in a budget meeting. So is your answer today that
is not going to happen because it doesn't belong in a budget meeting? Is that your answer?”

Chairman Dowd “I just told you what my answer was.”

Laurie Ortolano “Well you didn't convey that to the people who asked in a public meeting. You did not
convey that to Attorney Jette in the public meeting.”

Chairman Dowd “This is public comment not debate, so please (inaudible) 20 seconds left.”

Laurie Ortolano “It’s not debate. Your policy says that questions can be asked and you can answer those
questions if you so choose. You can also refuse but I'm asking because I've sent you emails repeatedly
and you've blown me off and I don't appreciate it. I want to understand it and if it's in the special
revenue fund, I want to understand it. How can you vote on it?”

Alderman O’Brien “Madam, time, please.”

Laurie Ortolano “Thank you.”

2:29:55

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just to let you know it was at the March 21st
meeting that Alderman Jette said, “So I don't know where we stand on spending or the cap. I know
there's been a provision in the spending cap for accepting certain things. So I was wondering if it would
be possible for you to arrange for Corporation Counsel and maybe CFO to kind of give us a little lesson
on what we're dealing with. Are we constrained by the spending cap and if so, what is it?” Your response
was, “I will talk - Chairman Dowd - to Mr. Griffin about it when we know that and it would be the Mayor,
Mr. Griffin, and Legal. I wouldn't touch it myself. Okay, no problem.” Then you went on, on the 28th and
you addressed it again when Alderman Jette said, “So I know at the last meeting, I expressed my
confusion. You said we have a special meeting on that and it hasn't been set up yet.” Alderman Jette
said, “Okay. We're getting our budgets around May 10th so sometime in April we'll discuss it.” You said,
“That's the plan.”

“Now the fact - don't interrupt my time - the fact that that was what you were doing and then you come
here today when I tried to ask and I email you about this and say you had a private meeting with
somebody and determined that there's nothing to discuss is just wrong. I think we're entitled to have
that discussion. CFO Griffin touched on that. Fred Teeboom mentioned that we haven't done that with
the money for 25 years. I don't know if that's true or not. I honestly don't know. I haven't been here but
I want to hear that debate. I think he's right when he says grants are not under the control of the local
departments. They're under the control of the federal government or the State agency that gave you the
grant. That is not local controlled money. I think there's a point to be made there. So I'd like to
understand why we switched that. Other people have spending tax caps and do they fold their grant
money in? That might be interesting to know. I don't know the answer to that.

                                                                                                      320

                                                                                        NPD-LO-4018
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 321 of 424



“The other thing I want to tell you is winter is coming people in these tax assessments that are coming
out. I went to the Board of Assessment meeting…”

Alderman O’Brien “One minute.”

Laurie Ortolano “…and I was disgusted by the presentation from Vision today. They had clearly been told
by the Mayor to not provide information and clamp down. Two months ago, they gave a very detailed
presentation on where they stood with increases. Today, they come in pretty much say nothing. Miss
Kleiner says we don't want to say the wrong thing. We don't want to give out information that's overly
broad. Well, the Mayor spoke freely about it on May 15th. He dropped all kinds of bread crumbs so I
expected to get information.”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “You people have no idea what is coming down here. You better get serious about
cutting this budget. You have no idea. It's entirely wrong. Did anyone know we have no certified
assessing supervisor in Assessing? Were you told that? I just learned that today. That's a huge problem.
They can't do abatements down there. Did she and anyone disclose to you that that is the condition of
the office?”



Board of Assessors Meeting of June 2, 2022

https://www.youtube.com/watch?v=ZnhMWRTJLuM




                                                                                                     321

                                                                                        NPD-LO-4019
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 322 of 424




34:38

From the minutes:

Laurie Ortolano – 41 Berkeley St

Asked about legislation for New Hampshire to require the Income & Expense report to be filled out –
right now it’s optional

How many Income & Expense reports have been returned to Vision

Opposed to extension sent to DRA for possible approval

Will the preliminary database be available when the letters are sent out for the informal hearings

Feels public should be able to ask questions to Vision’s update on the reval

Feels she is not getting answers to her questions

Feels abatements cannot be discussed in non-public session – they are not legal matters per RSA 91:A


                                                                                                      322

                                                                                        NPD-LO-4020
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 323 of 424



Suspect of the City’s legal team

The following public comment during the June 2, 2022 Board of Assessors meeting was transcribed by
E. Vassar on March 14, 2024:

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple things on the Vision update. I had asked
about legislation regarding income and expenses for businesses. To mandate that. Because I think most
other New England - all other New England states – require that form to be done. New Hampshire, it’s
optional. And Mr. Turello stated that they’re entering the data from the business and expense forms. I’d
like to know how many gave data. Usually it’s low, like 10%. So could we find out how many of these
businesses provided data to the appraisal company? That would be interesting to know. Because it’s
information that can be fed for legislative change.

“The other thing is, my general sense is I am opposed to the extension by the DRA. But I’m not hardly
opposed. But I do want to understand something. Letters are being mailed out around August 17. Which
is what KRT did. It was a little bit later. Everyone got a letter, “we’re doing an assessment.” But at the
same time, the preliminary database was posted on the website to show all the property data. Am I
correct that the preliminary database will be posted as well? And I just wanna make certain that
happens. I don’t mind if the – obviously, when I wrote, “final numbers”, that is going to be reflective of
any changes made from the 10% or so of people who come out to contest their valuation, or say
something wasn’t right on their card. I would anticipate that will happen. So we know there’ll be some
changes. But also, the general opinion of the city was any major changes was supposed to be handled
through an abatement. And we know that wasn’t complied with in 2018, so I don’t know what’s going to
be done this round. But am I correct that the preliminary database will be posted like it was for KRT at
the end of August? And if the letters go out on August 17th, the database will be posted preliminarily
with the residential and the commercial assessment, so we have the big swath of data to look at to get
an idea.

“I also very strongly disagree with the fact that we can’t make any statements about how these
assessments with Mr. Turello. I think they did a really poor job to day presenting. They provided less
information with detail than they did two months ago. He had charts that showed the various property
groups and the movements, and when Miss Kleiner says, “We can’t make blanket statements and we
have to be careful,” that’s exactly what the Mayor did in the May 15th Budget meeting. He spoke about
the shift between commercial and residential properties being, ya know, existing somewhere on the
order of 5%, but he couldn’t say what. He made the statement that residential property taxes will go up.
He didn’t say all of them, but he clearly had information from communication with Vision on this shift in
values due to residential and commercial properties, and I sit here today wit an update, and they say
nothing. If the Mayor can put out blanket statements, then we’re entitled to have some detail. Just
some detail. So if there isn’t going to be the preliminary database put out, I’m going to write to the DRA
and say, “please don’t approve this extension if they’re gonna give us nothing.” At least KRT gave us
something. And hold them to the deadline of releasing numbers.

“Ya know, and I’m just opposed to seeing the administration, ya know, answer my, first of all, I ask
questions, and I ask them to the Board. I wrote you an email, and I asked two months ago if I could
speak to you about an issue. I received no response back as the Chair. I asked two weeks ago or last
week if I could get the address of an abatement you discussed in non-public session; I received no
response. I come to these meetings, and so often you read into the record that you expect common

                                                                                                       323

                                                                                         NPD-LO-4021
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 324 of 424



courtesy, decency, common sense, to be employed by the citizens who take the microphone. And yet
when citizens reach out to you, to me there’s no common courtesy, decency, or common sense to
respond. Just respond: “information received… somebody will get back to you.” I waited two weeks to
get these questions answered, and I have to say, I’m not fully satisfied with the answers. But I only got
them today. And I sent my questions to you. And then I spoke them in the meeting. And I wish there had
been an opportunity to ask a few questions of Vision, because I think the incumbent statements are
worth asking, I think making very certain we understand what we’re getting delivered on August 17th is
worth asking. And I am very concerned when I read the non-public minutes that you went into non-
public session to discuss an abatement. RSA-91:A, for reasons for non-public sessions, specifically states
that abatements cannot be discussed in non-public session. Property tax abatements are not considered
litigation or negotiations and cannot be discussed in non-public session. They are public matters. That is
actually tagged on to, I think, “item E” under ninety-one-A-colon-three exemptions, non-public sessions.
Meetings. And I’m very sensitive to that, because you discussed my abatement in non-public session.
You had a meeting with Legal about it. Then you denied me the opportunity to speak to you. You came
in here, Dan Hansberry, in 2019, seemed to read a statement about my conduct, my behavior, my
difficult personality, and why the abatement should be based on what KRT said and nothing that Mr.
and Mrs. Ortolano said. And you guys voted not to reduce the abatement. To a level… that I ultimately
received a lower level from the BTLA and won that appeal. And all of that was done because you were
able to meet in non-public session. And I’m very suspect of this legal team because they’re very
retaliatory. Whose abatement are you talking about in non-public session? Who don’t they like that they
wanna screw over like they screwed over me? Why are you unable to sit in a public meeting and address
an abatement? If you need legal counsel, just like the Board of Aldermen does, have legal counsel here
and say, “Hey, we’re concerned, this abatement’s been filed multiple times, we’re not certain it’s right,
what’s your take on this?” That’s public information. And I really oppose abatements. Appeals are
different: they’re legal matters. Abatements are not.

“So I hope I get an answer to that, but again, I emailed you and didn’t even get a response that it’s being
looked into. Don’t make demands on the public to practice courtesy and decency when you yourself do
not do that. Thank you.”



BUDGET REVIEW COMMITTEE JUNE 7, 2022

https://www.youtube.com/watch?v=kvR0NgtKI2Y

5:53

Laurie Ortolano “Are you doing first public comment?”

Chairman Dowd “We’ve already gone by public comment.”

Laurie Ortolano “Well the audio wasn’t working. I guess I missed that.”

Alderman O’Brien “No, I looked at that screen. I didn’t know who you are? I know your name is not
“Right to Know NH” but that’s the title you use. The computer showed you were lacking bandwidth and
there was no hand up.”

Chairman Dowd “We’ll have another one at the end.”

                                                                                                       324

                                                                                          NPD-LO-4022
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 325 of 424



1:05:01

Laurie Ortolano “Yes, Laurie Orlando, 41 Berkeley Street. Okay. I just wanted to state that I thought the
Public Works budget was pretty well done. I would like to ask that there be some efficiency studies done
on, you know, how scheduling is being handled, rolling out trucks, setting schedules for different
departments, as well as inventory on equipment. I know that was asked at the last meeting and I don't
know if any Alderman got a report from John Griffin on that.

“I'd also like to share a few comments about the spending cap that's going to be discussed next Monday.
You know I know some of the Aldermen at the table expressed concerns that the local courts ruled
against the spending cap and then the State legislative passed legislation thereby, you know, stepping
on local, the authority of local control. I gave some thought to that because I, you know, filed a big Right
to Know lawsuit on assessing records. And really, that was a very high risk lawsuit to take through the
courts. My preference was to have legislative changes done but I couldn't get anyone in Nashua to
support me because there's such a strong democratic contingency. They weren't interested in working
with somebody who they viewed either as Republican or an Independent. For 2019 and 2020, I wanted
to try and get legislation passed on those issues with property record cards and assessor records and I
couldn't do it. So I ended up in a lawsuit. Frankly if I had lost my suit, I would be going forward to have
legislative changes done and I still am going to go forward for some legislative changes because I think
I'd like to see some of this broadened a little more than I got on the court ruling. So you know, you
shouldn't be so harsh and discriminatory about people using the legislative process to try and make
changes because the courts don't always get it right. Complicated issues, you’re at the mercy of…”

Alderman O’Brien “One minute.”

Laurie Ortolano “…getting the right judge, having the right circumstances. I brought a very technical case
into the courts. It was enormously expensive, very difficult, and very high risk. My choice would be not
to have done that but I didn't have a legislative option. I think the spending cap brought into court is,
again, a very technical and heavy topic and it's easy to have, you know, a decision made that isn't exactly
where you thought it should be or where it should be. So please bear that in mind. Thank you.”



Board of Aldermen Monday, June 13, 2022

https://www.youtube.com/watch?v=n_KCI0G28A8

1:45:31

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I want to thank the Board for holding this meeting.
It was very informative, interesting to hear the perspective, and I appreciate the questions everyone
brought to the table. I would have liked to have heard some of the people who worked on the spending
cap speak and have an opportunity to have a little bit of time to present their positions because I think
interpretation is always a little complicated and it’s not a black and white issue. I hate to see things
come down to arguments that are we’re going to court on it, we’re going to sue on it, we’re force it
through that hole. I’d like to see more consensus building done so that is not the case. It’s not often
productive and these are complex issues.



                                                                                                        325

                                                                                          NPD-LO-4023
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 326 of 424



“I tend to agree that I do not think the grant money belongs in the calculation. I think grants are
different. They really are different. There’s the money you’re appropriating for departments to run and
operate and then grants come in and it’s not money that you are necessarily in need of appropriating.
When I looked up “expenditure”, the term “total expenditure”, and “municipal expenditure”, GAL, or
any type of organization, accounting organization, it really talks about the monies required by schools,
police, fire, all your departments. No language that I reviewed it for definitions on my phone came up
with grant money included. So I do think that’s separate and I think that’s a legitimate point.

“I’m not certain we’re at that $113 million under the cap. I think there is some skew there that I don’t
fully understand and I’d like to understand that a little bit more. Yeah I’d like to see us work together
more with the public and gather the views of those that have been around longer…”

Alderman O’Brien “One minute.”

Laurie Ortolano “…and value the input that they have because there is perspective there. For whatever
reason in 2017, 2018, 2019, we went along with the calculation done this way. We had virtually the
same management leadership team here that applied it that way and then it changed in 2023 and for
somebody looking in from outside, it’s a red flag. It’s a little bit of a hey what’s going on here? Why the
need for the switch?”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “So again, thank you very much for holding this. I think it was informative for everyone.
Appreciate the time you all gave this. Thank you.”



Board of Aldermen Tuesday, June 14, 2022

https://www.youtube.com/watch?v=fUnqt6h4uuI

15:42

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I wanted to speak about the Housing Trust Fund
Committee that’s being established. I feel this item should be tabled and explored further. I am a little
bit concerned that there was no discussion on how this Housing Fund Committee or Trust Committee
operates differently from the Nashua Housing Authority. You know when I look on the City website for
descriptive information on the Nashua Housing Authority and their mission, it really does give one.
Manchester has a very extensive website on their Manchester Housing Authority. But that organization
covers low income housing, affordable housing, Section 8 housing, Meals on Wheels, and all kinds of
programs.

“So what is the purpose of this new Housing Board with seven members versus the Nashua Housing
Authority with their five Commissioners and their host of people that provide services for assistance? I
feel we do a lot of overlap in this City and I’d like to see a list given to the Board and to the public that
shows all the services or organizations in the City that provide housing resources for people, what
amount they provide, what sources of funding they have before we essentially establish another
Expendable Trust Fund to do just that. I understand the need for housing and I understand the issue but
it’s almost like the Nashua Housing Authority isn’t doing the job adequately so we’ve started another

                                                                                                         326

                                                                                            NPD-LO-4024
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 327 of 424



housing group of internal people to do it. I do not support having the two City people - Tim Cummings
and Matt Sullivan be the Chair and Vice Chair of that Committee and be voting members. I think it
should not be structured that way. It’s too much of an inside City Hall group and I think if you want the
perspective of what’s going on…”

Alderman O’Brien “One minute.”

Laurie Ortolano “…then you should definitely set that up differently. Your Nashua Housing Authority
your voting members are five Commissioners. Your group calls for a lawyer. You have Helen Honorow on
the Nashua Housing Authority. It calls for a building expert. You have Mr. Moynihan on the Nashua
Housing Authority. You have the other Attorney Eric Wilson on the Nashua Housing Authority. You have
an insurance executive on the Nashua Housing Authority and another gentlemen.”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “So I really feel like we need more information and somebody I’d like to tell me why
that isn’t an overlapping committee and function. Thank you.”

2:15:16

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple things about the development of the
Housing Trust Committee. I sort of disagree with what President Wilshire stated that the Nashua
Housing Authority is independent of the City. They might be independent but when you look under
volunteer boards and committees, they are listed as a committee of the City and are governed by RSA
91-A and must post their agendas and meeting minutes. The authorities that are responsible for doing
that do so because they perform or to be a business that is linked to the City and often financially linked
to the City that requires them to comply with 91-A. That Committee has two liaisons, board members
who are appointed to serve on our Nashua Housing Authority, and our attendance isn’t good on that
Committee. In the last 6 months, we’ve only had an Alderman attend one meeting. I would recommend
that the Planning Board - and what I noticed is most other municipalities the appointment of a member
to their Housing Authority is through their Planning Board. Their Planning Board attends the Housing
Authority meetings. Our Planning Board does not. Don’t have a Planning Member that goes there and I
think if Matthew Sullivan is going to be on this Committee, he should be assigned to be on that
Committee as well because there is overlap and some parallel. I think we should try to understand that a
little bit more.

“With regard to the parks, I really like what John Sullivan recommended. I think there should be an
oversight group. I don’t know why the Board is opposed to allowing volunteer committees that work
outside of being a government agent or government recognized groups. I think that’s a better choice.”

Alderman O’Brien “One minute.”

Laurie Ortolano “Let them be a group of volunteers that do what they do and let them make
recommendations to their Ward Alderman to carry them forward. You have committees that are so
large they’re unruly - Cultural Connections Committee 20-21 people on there. It’s huge. They struggle to
hold meetings because they can’t get a quorum. I’m not recommending you do that for a committee
that is made up of parks, but you could have a person from every Ward.



                                                                                                       327

                                                                                         NPD-LO-4025
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 328 of 424



“I’m also concerned that the DPW group would be in opposition to that or have concerns about a citizen
group providing some direction, or guidance, or thoughts, or improvements for any of our parks. I see
park areas that I think are under maintained and I think there is a resource issue there and how we stage
our parks people to get out and do the work and I think we have to look more closely at that. So that’s
my two cents on that. Everyone have a great evening and Happy Father’s Day to everyone on the Board.
Thank you.”



Board of Aldermen Tuesday, June 21, 2022

https://www.youtube.com/watch?v=dwPkzXlYRH4

7:35

Laurie Ortolano “When we did a hearing on the teacher's contract, Miss Wilshire said there was no time
limit. It's a hearing and you can ask questions and you'd have unlimited time. The teachers had
unlimited time. Why are the citizens restricted and why are we restricted to one question? I object to
that.”

Chairman Dowd “You can ask multiple questions. You just have to give other people the courtesy of
being able to get up and ask a question. So you're not limited that much. Your first question and
statement is five minutes. You can come up again and ask another question for three minutes and you
could ask other questions for three minutes.”

Laurie Ortolano That's inappropriate and that is a big deal. If I don't want to talk for five minutes but I
want to ask questions for three minutes, I should be allowed to do so. I can tell you I’m going to start
with questions.”

Chairman Dowd “Excuse me. That's the way we've been holding these public hearings for at least the 40
some odd years I've been involved. So we're not changing tonight. With that, we're going to have an
opening from the Mayor. He's going to give a presentation.”

33:04

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I'd like to go through these departments. I'll have
some questions and I'll come back through. Regarding the statement made by the Mayor for the
opening statement, I'd like to offer a little perspective on this measure and list that he spoke about. He
made certain to let the public know that this was State mandated and if he had had his choice, he
wouldn't be doing it. I'm very concerned about that because when the State did mandate this in 2019,
okay after the 2018 reevaluation, they gave us four years to fix our numbers. We are obligated to do it
at a maximum of every five. So we had to do it within five years. Now there were a number of different
assessing offices from around the State that said why doesn’t Nashua just get it done in one or two? Just
screen this thing through and be done? The city certainly had the right to go to the BTLA and say hey
we'll get it done in two years. We'll have it done it by 2020. We’ll have it done in 2021. But the BTLA said
we'll give you four years. The only amount of time they could have given you is 2023.

“It sounds very whiny to me. When I hear a Mayor say the State made us do it. It's whiny and our
valuations are off by 40 to 50%. The State and the Assessing Standards Boards the DRA recommend that

                                                                                                          328

                                                                                            NPD-LO-4026
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 329 of 424



if your valuations fall below 90%, that you do a revaluation. We're at 60% on average and your condos
and starter homes are at 50%. They're definitely going to see a tax hike. We have a lot of condos in this
city. So to turn around and say that, you know, I wouldn't be doing that now. I hope you would. At 40%
at 60% valuation, this is the problem with our Assessing Department in the city. We don't know what to
do and we're not doing it well. I think the State better stay on us and keep mandating when it should be
done because it appears you don't know when it needs to be done. So that's my comment on the
Mayor's office. The only thing we might potentially need to add to the budget is a chauffeur for the
Mayor because I think your driving is very questionable getting here.

“Board of Aldermen. I'm concerned by the budget and the suggestion of an increase to add another full
time person for the clerk. I think the Board of Aldermen has to cut their committees and cut the board
itself. I've been going to Aldermen meetings for three years and I find a 15 member board not to be
effective. My biggest concern are the at-large Aldermen. Those are the people who I see do so little. The
Ward Aldermen have obligations to their Wards. The city should be set up with nine wards, that's it.
That would control the costs in your Board of Aldermen office and then get the rid of some of these
committees. All these Aldermen are assigned to go sit on these committees. Many of these committees
don't get covered by Aldermen because they can't possibly do all the work. You've got too many
committees and you can't have successful Aldermen when they're assigned to do work they cannot get
done. So I do not support creating another full time position so that the administrative services person
who's handling the minutes the clerk can get the job done because you know she can't do it with the
number of committees you have in a board this size. Let's fix that problem by not adding more clerks to
handle all the committees that we can't keep up with.

“I want to ask some questions and talk about the Legal Department. We should not be adding another
attorney to the Legal Department and leaving the fourth attorney in there. A Right to Know Attorney is
an absolute waste. We've had plenty of lawsuits and you all saw that I got a ruling today from the court
and one another pro se suit on emails, which probably the city will appeal that as well to the Supreme
Court. But exactly what are we getting for from this office? I can't see minute what's happening there.”

Chairman Dowd “One minute.”

Laurie Ortolano “When the budget was presented by Attorney Bolton to your Budget Committee, he
never said that that Right to Know Attorney is going to be doing other things. So my question is what is
the Right to Know Attorney in the budget book going to be doing? And do we have a policy written or
unwritten from this Right to Know Attorney on how right to knows are processed, whether a taxpayer is
in litigation or not. I want to know what that policy is and I would like somebody to explain it here
tonight. I'll yield my time and let the next person speak. Thank you.”

42:41

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. So I asked a question at my last five minutes but
didn't get an answer. What's the policy for answering it?”

Chairman Dowd “You have three minutes to ask a question. The time doesn't count when the answer is
being given. So if you have a question, ask a question and I'll pause the clock.”

Laurie Ortolano “Were the rules such that you could ask one question in the five minute discussion?”


                                                                                                       329

                                                                                        NPD-LO-4027
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 330 of 424



Chairman Dowd “You could have asked one in the five minutes that you…”

Laurie Ortolano “I did.”

Chairman Dowd “What was the question?”

Laurie Ortolano “I asked two. What's the Right to Know Coordinator going to be doing for the city? I
mean the Right to Know lawyer. What role are they going to be performing for the city within that
budget?”

Chairman Dowd “Who wants to address that? I think the City Attorney is going to address that.”

Laurie Ortolano “Thank you.”

Steve Bolton, Corporation Counsel “We are not proposing adding any positions in the Legal Department.
So that was a misstatement made earlier. The Right to Know Coordinator is an Attorney. She mostly
provides guidance to city managers and officials on compliance with Right to Know provisions of the law
- essentially Chapter 91A of the Revised Statutes Annotated. She does some amount of training of city
personnel. She also does what other legal work gets assigned to her. She, for example, sits on the Taxi
Cab Commission which licenses the cab and cab drivers and handles appeals from decisions of the City
Clerk's office on those licensing. She also may work on other cases. My plan is to have her do more of
the code enforcement type work but whatever else is needed. She is part of a team that addresses all
legal issues along with me and the other two lawyers in the office and the two paralegals that work with
us.”

Chairman Dowd “Do you have another question to ask?”

Laurie Ortolano “I do. So that question didn't - I'm going to make a statement that my assumption is this
Right to Know Attorney is spending more there than half their time on Right to Know work otherwise I
would hope they wouldn't have the title Right to Know Attorney and I'm opposed to that position
because I think it's a waste of taxpayer money and it has not been effective.

“Did this Right to Know Attorney who provides counsel to departments and all establish any type of
written or unwritten policy on how Right to Knows are handled throughout the entire city and in
particular, handled for those who have pending litigation against the city regarding a Right to Know issue
within a specific department? Is there such does such policy exist either written or unwritten for the
entire city? I don't want to know of a division policy. I want to know of a city wide policy.”

Steve Bolton, Corporation Counsel “No.”

Laurie Ortolano “Then we should definitely cut that position. Please dump that Right to Know Attorney
because if you can establish the basic policies for how Right to Know is going to be handled for your
citizens, then that's been a big fail.

“I also feel we need a new Corporation Counsel for the city. I feel this Counsel has been a big
disappointment and it's simply not fit for duty.”

Chairman Dowd “You’re starting to pick on people and I told you to refrain from doing that.”

Laurie Ortolano “I don't think I'm picking on them at all. I can speak to specifics. Would you like that?”


                                                                                                         330

                                                                                           NPD-LO-4028
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 331 of 424



Chairman Dowd “And your time is up.”

Laurie Ortolano “Okay. I'll be back.”

1:13:43

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. So given the history of what happened with our
Right to Know Coordinator for last year where we hired an inexperienced person who had just received
their law degree within weeks of coming into the city, it appears that no one supervised that individual
or that individual decided it was open season on citizens.”

Chairman Dowd “Is there a question?”

Laurie Ortolano “Why are we still funding a position that resulted in so much litigation that was lost by
the city? That's a question. And, you know, so I think my statement to that was I don't think we should
be funding this.

“I'll just move on to the City Clerk's Office. The City Clerk's Office has a mission statement. The legal
office does not have a mission statement and I think one of the issues with the legal office is what is our
mission statement for our legal office? But the City Clerk's office has a mission statement and I'd like to
know why we don't have a centralized location for Right to Knows or information requests to be handled
through this city like all other municipalities appear to have to address our records issues and also the
preservation and maintenance of our records. So right now if I don't know how to get information and I
write to the City Clerk, the response I'll receive is well it's not my office. Write to the other 10
departments or divisions and go figure out where it is. That's not how it works in Manchester, Concord.
Keene. When I have to do that, the inefficiency to the city and forcing citizens to operate that is
tremendous. We waste a lot of money.”

Chairman Dowd “So what is your question and to whom?”

Laurie Ortolano “Why do we not have a centralized location, which I believe should be through the
Clerk's office, to address Right to Know issues coming into the city for a response?”

Mayor Donchess “Well, we've struggled with the amount of time that city employees take in responding
to Right to Know requests. For years now, we've had at least four employees who spend half their time
responding to Right to Know requests from one or two individuals. So the city taxpayers are spending -
when we calculate that, that's about $250,000 a year just as you know, a single taxpayer had submitted
1,200 Right to know requests over the last several years. Each one of those can take hours to respond
to. A person has to read sometimes a very, very - I mean as you know hundreds and hundreds of emails
come in from a single one or two people. There can be a Right to Know request within a very long email.
So all the emails have to be read then and determined is there a request for documents in there. If there
is, then they have to go look for the documents. Sometimes that's quite time consuming. Could be
hours, could be 10 minutes, could be hours, could be days. As you know, we have produced tens of
thousands of documents. We've had…”

Laurie Ortolano “Chairman Dowd, point of order. I asked a question and the Mayor is whining again.”

Chairman Dowd “He’s trying to answer the question.”

Laurie Ortolano “He did not answer my question. He is whining and what I would like to say is, I…”

                                                                                                       331

                                                                                         NPD-LO-4029
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 332 of 424



Chairman Dowd “Excuse me. Let the Mayor finish his answer or you're done. Let him finish.”

Laurie Ortolano “I would like an answer. Why don't we have a central location so Right to Knows can be
processed and what you're speaking about to these 1,200 Right to Knows, you know, that I put in a
request for all the Right to Knows from January through June? We all know that the number has
dropped dramatically. The storm is over. So this is not an issue anymore. So why don't we have a central
location to handle our requests like all the other cities have done? And frankly if we had had it, this
problem of all the employees, which frankly you created this problem Mr. Mayor. You are in part part of
the problem. Why didn't we have this type of system set up to make it easier? Sometimes a citizen had
to send ten Right to Knows in to try and figure out what department head…”

Mayor Donchess “I’m still trying to answer the question.”

Laurie Ortolano “Well, I'd love an answer. Move it along.”

Mayor Donchess “I will answer if you please don't interrupt me. Can I ask that courtesy?”

Laurie Ortolano “No, continue.”

Mayor Donchess “So you insist - you're going to insist on interrupting then why bother answering,”

Laurie Ortolano “You almost hit me with your car getting over here. Just hurry up.”

Mayor Donchess “So you've met mentioned the other cities. Now I meet with the Mayors periodically
and we talk about Right to Know requests. I can guarantee you no other city has been hit with anything
close - nothing close to 1,200 Right to Know requests from a single individual. In order to avoid even
more, we've had to do a scanning project of 700,000 pages, which is costing us $90,000 so that we can
put those things online so that Right to Know request can be answered simply by referring to one of
700,000 documents. But in talking to the other Mayors, I disagree with your characterization of the way
they handle them. I can tell you none of them have anything close to this. I can tell you we're spending
hundreds of thousands of dollars a year and staff time responding to Right to Know requests from a
single individual. And yeah I think that they've slowed down. We've only had 50 or 60. In other words,
only about one every two days this year rather than sometimes ten over a weekend. So the burden is
significant. People are burned out. They say to us, we're supposed to be working for the citizens. We
don't want to just be searching for documents all the time, and answering these requests and, you
know, getting sued all the time. If we make a tiny mistake, then we get sued. People are, you know,
they're tired. So I think we do have a central location. It tends to be the legal office but we’re trying to
burn up - you know, it tends to be the legal office but if it seems like it'll burn - we're already burning so
much time on this that if it seems more efficient for someone just to answer it directly, that's what we
do. But it's a problem because they get so stacked up that a person could spend the next month just
working for a single citizen on all these Right to Know requests. So we have to try to meter them. We
have to try to handle them. It is really, really difficult. People are burned out. They're tired. So we need
additional help. As you know, we put a Right to Know Assistant in here so that that person can help
people get documents because as I've said for some people, they're spending half their time. Rick
Vincent he told the DRA he spent half his time. This is the Chief Assessor. Half his time. We’re paying this
guy $130,000. He spends half his time responding to a single individual.”

Laurie Ortolano “I know that's not true and the statement…”


                                                                                                          332

                                                                                            NPD-LO-4030
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 333 of 424



Chairman Dowd “Okay, your time is up.”

Laurie Ortolano “I'm going to…”

Chairman Dowd “Your time is up.”

Mayor Donchess “That's what he told the DRA.”

Laurie Ortolano “Well, that's not true.”

Mayor Donchess “In response to a complaint you filed, he was called up there. They asked him what's
going on. He said I spend nearly…”

Laurie Ortolano “He was forced.”

Mayor Donchess “…half my responding to a single individual.”

Laurie Ortolano “Mr. Mayor, you're a liar. You are not telling the truth.”

Chairman Dowd “Time’s up and we're moving on to the next part of the budget. We're done with this
portion.”

1:28:22

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I don't know if this goes in this area or where it
goes so you can direct me. But did we cease our policy for covering sick leave for those who were
vaccinated or do we still give free sick time if a vaccinated person gets COVID? Is that still in place?”

Kim Kleiner, Administrative Services Director “The policy is in place if an employee is vaccinated, shows
proof of vaccination, and they show proof that they have COVID, they do get the five days of sick time.”

Laurie Ortolano “That is outrageous and that policy should be dropped given what we know with COVID
and how many people have been vaccinated who have caught it again. That is costing us a ton of money
and that's just not right. Thank you.”

Chairman Dowd “Any other questions on Public Health and Community Services?”

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. So for clarification if somebody is vaccinated and
three months ago they caught COVID and they have proof of vaccination, they get the wave on the sick
days or the sick time used. I think Miss Kleiner mentioned five days but are days specifically called out? I
think it's not called out and if they get sick again two months later, because I have friends that that's
happened to, do they continue to get another five days or is it one sick, you know, ticket you get or does
this keep revolving as COVID becomes more like a cold. Are we going to just keep paying on this in
somebody now gets 10 days of free sick time or 15? Is it really limited to five?”

Kim Kleiner, Administrative Services Director “It is limited to five because the regulations changed and
the employees are required to be out of work for the five days. I would like to stress that many of our
city employees whether they have COVID and they are home or not continue to work and perform their
functions from their homes. Many.”

Laurie Ortolano “That's really immaterial. But now if they get sick again two months’ later, do they get
another five days?”

                                                                                                            333

                                                                                           NPD-LO-4031
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 334 of 424



Kim Kleiner, Administrative Services Director “The policy does not address whether there are multiple
cases. There have not been that many instances of multiple cases but we would address it at the time.”

Laurie Ortolano “So there have been instances, and we pay for that, and I do think it's discriminatory,
and I do think it's just a matter of time. I don't know if you all saw the article on the AGs office in
Arizona, Scottsdale suing the School Board for their mask policy and not allowing public comments on
their mask policy from their parents.”

Chairman Dowd “I think you're getting off subject from…”

Laurie Ortolano “I’m just pointing out that that is a suit that the AGs took up took on from 14 months
earlier and these things are starting to roll out. I think the point made that this is potentially future
litigation is true. Thank you.”

1:39:49

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. You know this format you're using is very unfair
because departments like this that have 13 divisions that have 13 different departments apply the same
rules. You get five minutes and one question, then you come back for three minutes and a question, and
then you can only ask questions. That's the same rule for whether I'm doing other public safety
department with two different divisions in it or two different departments in it or 13. It's really
tremendously unfair this process and I'm going to guess if I add up the money in the budget of
Administrative Services it's enormous and we can't question it the way we should be allowed to do in a
public hearing. So I very much object to your format.

“That being the case, I'd like to start by talking about the Arlington Street Community Center. Do we
have a Director for that center currently? I know the Director moved over to the Mayor's office Ms.
Caron but has that position been filled for an Arlington Street Community Center Director?”

Mayor Donchess “Yes.”

Laurie Ortolano “Okay. The one thing I would like to make note of is when that department was formed
or group was formed from My Brother's Keeper some years ago, 2016/2017, it was pitched in the record
as being a self-sufficient. The goal was to make it an independently self-supporting group and of course
it isn't. We're funding it out of the budget. For that purpose, I'd like I like to hold people accountable
when they say it's going to be self-sufficient. And unless you can really come up with a strong reasons
why that that program has to be maintained, you have not been able to make it self-sufficient in five
years. I don't think that the taxpayers should continue to fund these services.

“Human Resources we've undergone quite a change in the department and how that’s set up because
we have a Director and it's incumbent on you all to make certain that the reallocation of resources and
titles is working efficiently for the city and I'm not certain that it is.

“Benefits I have concerns about. I would like to see when the budget is put up for citizens. I really like to
see the budget with the 2016 to current all the years that you have been Mayor, Mr. Mayor, what the
accomplishments are through the budget? What's happened with benefits across those five years, six
years? What's happened with the number of employees that we have? Have we grown, have we shrunk,
what's happened to these benefits costs? We keep hearing from Ms. Kleiner that she's done some great


                                                                                                         334

                                                                                           NPD-LO-4032
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 335 of 424



things helping to reduce benefits for certain types of employees. What is the impact on the total budget
with those benefits?

“We also know that the State just recently announced that they're going to take some of that $400
million of surplus money and apportion it to cities in a one-time payment to offset I think the pension
plan. If the city has any information on that pension plan, I would like to hear that discussed tonight on
what the mumblings are at the State level as to how that's going to be apportioned and what impact
that might have on the tax rate.

“Information Technology run has undergone quite a few changes and we don't have a Director over
there. I asked a question months ago about the new email retention policy, which we went to a
Mimecast cloud based storage email system which is terrific, but we're only retaining them for one year,
which is the bare minimum of RSA 33 A and if there's litigation, it's not adequate. Nick Miseirvitch told
me that he would provide me with an answer on how we're dealing with litigation issues and I never
received that answer. So my question is did we extend the time on the cloud? Other municipalities keep
their emails up for three years so it covers them for those types of issues. Have we extended our…”

Chairman Dowd “One minute.”

Laurie Ortolano “…policy such that we’re covered in our cloud based storage?” Assessing - I, you know,
you all know how I feel about what's going on in Assessing and I'm going to take that up in my next
comments sections to comment.

“GIS - I'd like to know if we are on target with the ArcGIS integrated system that's being done between
the IT Department and GIS to move records, integrate records into the GIS platform. We haven't had an
update on that and it's going to impact the citizens ability to research data once the numbers come out
at the end of August. Those are questions and I know I'm only allowed to ask one but when you throw
13 departments at us, tell us you got five minutes and one question, it's completely unfair and I think it
does not live up to the spirit of the law on public hearings. Thank you.”

Chairman Dowd “Any other questions on Administrative Services? If nobody else is asking a question,
you'll get three minutes.”

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I'd like to address some of the comments made by
the Mayor regarding Right to Knows in the Assessing office. He stated that Rick Vincent told the DRA
that he spent half his time dealing with Right to Know requests. I feel that that is grossly inaccurate and
he was only here a year and I certainly have the records. But at that point, Right to Know requests were
being handled through the Legal office and Rick Vincent testified in a court case that he was not
involved in those Right to Know requests. He didn't review the records, he didn't compile the records,
and he didn't have anything to do with them, and he couldn't speak to the responses that were provided
by Legal. Responses were coming out from Legal from the time Rick Vincent joined Assessing in
December through August of 2019 until Nicole Clay joined and they started doing some retooling. So I'm
really remissed to understand.

“Also, and you know I complained about this, when I requested property record cards from the
Assessor's office to work on abatements because your office was closed. Nobody could go in. It was
renovated. The cards weren't online. You had to email assess help. Everyone had to do that. I did get in a
court case a stack of emails that went into assess help. There were thousands of them. They weren't

                                                                                                        335

                                                                                          NPD-LO-4033
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 336 of 424



mine. I had about eight in there. Turns out there were thousands of pages. Other citizens were accessing
it heavily. So when you say I'm the only one writing Right to Knows, I know there's no truth in that
because my dining room table right now has three feet of paper on it on those assess help emails that
came in with abatements and they're not mine. Rick Vincent was told that he had to process my request
to ask for property record cards when the clerk of the city, you know, making $20 an hour…”

Chairman Dowd “One minute.”

Laurie Ortolano “…was handling that work. Rick Vincent making $125,000 was required to print my
property record cards and send them back to me. I appear to be the only individual he was required to
do that for and very often he didn't respond and get them back. Why did the city use a Chief like that?
Why were the rules set up that he had to require that? I think it's a gross misrepresentation when you
get to do your table dance on a citizen and then comment is shut down because I ran out of time and I
can't defend myself. I really think there's a lot of free speech violations going on in this room tonight.
Thank you.”

1:51:38

Chairman Dowd “We have about 40 senior people here from city government that are just sitting here.
I'm going to insist that you ask a question and not give a speech. If you don't have a question, then I'm
going to ask you to sit down.”

Laurie Ortolano “I asked several questions in the first round but you can only handle one.”

Chairman Dowd “Then ask a specific question.”

Laurie Ortolano “Has Information Technology expanded the time that emails are retained in the cloud
beyond one year?”

Kim Kleiner, Administrative Services Director “The policy has not been amended since you received a
copy.”

Laurie Ortolano “Thank you. I think the policy should be amended because I think from a budgetary
standpoint, I was told that the difference in whether you maintain them on the cloud for an extended
period of time was minimal and I'd like to see us do what other administrations or cities do for the sake
of preservation of records.

“In the Assessing Department I have another question. You budgeted for a full time Chief and you
budgeted for a full time consultant. Unsure of what position might be filled. Why are we budgeting for
both positions and not budgeting just for one? If we have a consultant for a while and then we get a full
time Chief, we'll just transfer those funds over to the salary for the Chief. We do these fund transfers
often. So why are we funding two of the same positions under two different categories of either a
consultant or a full time employee?”

Kim Kleiner, Administrative Services Director “They are not the same exact position. So we are currently
looking for a Chief Assessor. We are also currently looking at the city's option for consultant services.”

Laurie Ortolano “So will the Chief - will a consultant who's coming in to fill in as a Chief be paid out of
the consulting budget or be paid out of the salary for the Chief?”


                                                                                                              336

                                                                                            NPD-LO-4034
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 337 of 424



Kim Kleiner, Administrative Services Director “The Chief Assessor who works for the city would be paid
out of the salary line. A consultant who would be hired to represent us on many different things would
be paid out of the consultant line.”

Laurie Ortolano “Okay. So I think that's redundant. I think we don't have to fund both positions. They’re
high level positions and they’re high cost positions.

“What are we doing to address the closure of our abatements that seemed to stay open for a much
longer time than other municipalities because we pay a 6% penalty? I know it was changed this year to
four but there's a 6% interest penalty to abatements not closed and we have abatements going back
years that sit on the table and aren't addressed yet we hire a consultant to address these. Why is that
happening in Nashua?”

Kim Kleiner, Administrative Services Director “We are currently looking at the process of abatements. As
Ms. Ortolano knows, that's extremely difficult to do without a Chief Assessor. So once the city has hired
a Chief Assessor, we should be back on track with that. But that is part of the consultant money that is
put into the budget just to address that area.”

Chairman Dowd “Your time's up.”

Laurie Ortolano “I'll come back.”

2:03:58

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Where does the money or the funding for the
Performing Arts Center fall and who has oversight of that? I was thinking Economic Development has
oversight but where does we start paying the rent on that building when it opens I think to the tune of a
half a million dollars something like that. Is that in the budget and where does that fall?”

Mayor Donchess “There's a bit of a misunderstanding regarding this. Yes, I mean, the financing
arrangements are somewhat complicated because we qualified the building for new market tax credits.
Therefore generating $2.5 million in cash in these tax credits - ballpark. So in order to maintain the
qualification for that, you have to give kind of a complicated ownership structure. But in the end, the
quote “rent” being paid by the city equals the property taxes being paid. So it's a wash. The money going
in and the money going out for rent and property taxes equal each other so in the end, it's a net zero as
far as rent and property taxes go.”

Laurie Ortolano “So I don't see it as a net zero and because the why bother paying rent if the NPAC is
paying property tax to us because they owe us property tax because they're a for profit business that's
running the center under this seven year commitment with the new market tax credit. Then why aren't
they just paying us the taxes and why are we paying them a rent back to make it a wash? Why should
we do that?”

Mayor Donchess “Well, it is a wash.”

John Griffin, CFO/Treasurer/Tax Collector “Yeah, it's pretty complicated. I actually sent some
communication after my presentation before the Budget Review Committee to those members and the
members of the Board of Aldermen. A very complicated deal, but very well described. So if you did have
the time, I think it was about an hour and a half, all of the folks that worked on that project. But getting

                                                                                                        337

                                                                                           NPD-LO-4035
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 338 of 424



back to the budget if we look at page 107, not really knowing where to place it, the Comptroller and I
decided other general government. At this point, we're contemplating two lines. One is the rent that
we're talking about are the performing arts center. So NPAC doesn't have any money. So the
appropriation to get the $2.5 million that the Mayor described, we have to pay what could be $500,000
in rent, base rent, because you need an arm's length for profit calculation in the new market tax credit
mix.

“We also pay what's called in the contract “additional rent”, which is the property taxes. So as I
mentioned, NPAC doesn't have any money so we need to through appropriation have to pay whatever
that property tax amount is for them, NPAC to pay the city. So that is a wash. There's another line item
called once it gets open and operational is “an equipment lease” for the equipment to properly equip
the Performing Arts Center to work. So we've entered into a lease agreement. Once again, we pay the
appropriation lease and then they pay us back through what's called a “distribution”. So you're going to
have the expenses appropriations on page 107 and then elsewhere in the revenue side of the budget,
you have those payments coming back to us.”

Laurie Ortolano “And what does the…”

Chairman Dowd “You have one minute.”

Laurie Ortolano “Okay, I'll definitely come back on this. 107 puts it in - is it other general government or
general government is that the - I'm not gonna open my book because I don't have the time.”

John Griffin, CFO/Treasurer/Tax Collector “118 is the appropriation. You're looking for the revenue?”

Laurie Ortolano “Yeah for the appropriation, where does it fall under like what group?”

John Griffin, CFO/Treasurer/Tax Collector “Oh Financial Services and that's why I (inaudible) my budget
is going up 17% is because this is in here.”

Laurie Ortolano “And is the for profit NPAC a public entity? You know we had to do this complex deal in
order to get this $2.5 million through the new market tax credit but in the process of doing it, it seems
to me we gave up our right as citizens to understand what our government is doing with our money and
that art center was…”

Chairman Dowd “Time is up.”

Laurie Ortolano “I’ll come back.”

2:12:35

Chairman Dowd “All right. I’d like to move on to Public Library. We've had enough questions. You've
asked a bazillion questions tonight. You're tying up the entire city government. You know a lot of these
questions that you're asking you've asked on Right to Know requests.”

Laurie Ortolano “I have not.”

Chairman Dowd “You’ve asked them at other meetings and had answers.”

Laurie Ortolano “I have not.”



                                                                                                         338

                                                                                           NPD-LO-4036
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 339 of 424



Chairman Dowd “Do you have a question that you're going to ask that hasn't been asked before?”

Laurie Ortolano “Yes.”

Chairman Dowd “All right. Go ahead.”

Laurie Ortolano “And you need to go home and go to bed because you're very grumpy.”

Chairman Dowd “No, you haven't seen me when I'm grumpy.”

Laurie Ortolano “I have. Is the NPAC a public entity? Because of the way the city structured this deal to
get the new market tax credit, how does citizens have oversight of a very large amount of money that is
involved in the construction project as well as funding or moving money into this non-funded entity that
needs money? How are citizens able to track that if it is not a public entity governed under 91? So my
question is, is the NPAC a public entity covered under 91-A?”

John Griffin, CFO/Treasurer/Tax Collector “It was done by the Legal Department contributed heavily. I'm
not sure if it…”

Laurie Ortolano “Do we know what the NPAC is? Like what kind of business - I mean I know it's a for
profit but what is it exactly? It's a for profit what? Is it governed? For example, I was told the Main Street
Realty, which was that intermediary that the money moved through which was the nonprofit portion
before it was picked up by the NPAC was a 162G – RSA 162G entity is what Tim Cummings said. That is a
public entity subject to public knowledge so you can ask questions about it.

“Now, the reason I haven't asked these questions is because I've never been able to understand if the
NPAC is in fact is it a 162G? What RSA governs the type of business this for profit is and does the public
have any ability to understand? For example, there’s a huge construction project going on. We get no
updates.”

Chairman Dowd “One minute.”

Laurie Ortolano “Do we have the ability to understand that?”

John Griffin, CFO/Treasurer/Tax Collector “It's part of the budget to the extent that there's
appropriations and revenue.”

Chairman Dowd “Okay.”

Laurie Ortolano “Okay, thank you.”

John Griffin, CFO/Treasurer/Tax Collector “The question I believe is you're trying to find out is what if
any rules govern the NPAC organization that's been incorporated?”

Laurie Ortolano “Exactly.”

John Griffin, CFO/Treasurer/Tax Collector “Right and I don't have that answer.”

Laurie Ortolano “I've been trying to get that answer for a long time. Thank you.”

2:19:30



                                                                                                            339

                                                                                            NPD-LO-4037
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 340 of 424



Chairman Dowd “You can't speak from that far away. Nobody's gonna hear you. So Public Library. Any
questions on the Public Library? Seeing none. Financial Services Division - 118 other General
Government, 126 Financial Services.”

Laurie Ortolano “Laurie Ortolano, 41. Berkeley Street. Since the money that Mr. Griffin discussed with
the NPAC are part of the budgetary items are covered under Financial Services, I guess I’d just like to
make a statement on this. That is when you set up an entity like NPAC and it's such a complicated
process and the understanding of how that entity exists, who controls it, who's on the board isn't
available, isn't readily available at all. You’ve got to file a Right to Know, right? That's what you got to do.
I know I've tried to speak to Tim Cummings about it and he refuses to answer the questions. So I'd have
to submit something in writing and I haven't done that.

“But I'm also very concerned that something so complex that the Aldermen had a difficult time
understanding it does not have citizen oversight, wasn't set up such that we could monitor what's going
on, or have accountability to the public. That deeply disturbs me given the complexity of this center and
you know $30 - $40 million of expenditures that are going to go into it. I just don't think that was right.
Thank you.”

2:30:23

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I have a question on the interfund transfers out on
page 215 and I was there when the Finance office was covering this in the Budget meeting. There are
two ETFs that were set up - the transfer to Eastside Recreation Facility ETF and the BIDA ETF that
through 2022 as of April 30th carried a certain sum of money - three quarters of a million dollars and a
quarter of a million dollars and each one respectively. Then in 2023, they're blank. Has that money been
removed, or was it spent, or are those carrying over into 2023? What happened to that money? It's on
page 250.”

John Griffin, CFO/Treasurer/Tax Collector “I can answer that. So we only transfer at one time so we're
not going to do it again. But what I want to get for you is the page number of the trust fund that will
show the 750 and the 250 in it, which is on page 307.”

Laurie Ortolano “Okay.”

John Griffin, CFO/Treasurer/Tax Collector “So if you looked at 307, you're going to see the BIDA line 38
that now because it has a little bit of interest $250,061, I believe, and then there's one here for the 750.”

Laurie Ortolano “Okay So I'm just confused by the fact that the 2023 proposed department budget
shows nothing. It's not a zero, it's just a dash. So I guess in a nutshell, does BIDA have $250,000 in the
ETF?”

John Griffin, CFO/Treasurer/Tax Collector “It has $250,081.”

Laurie Ortolano “And that is continuing? They're continuing to have that amount of money?”

John Griffin, CFO/Treasurer/Tax Collector “They have that money and they haven't spent anything yet.”

Chairman Dowd “One minute.”

John Griffin, CFO/Treasurer/Tax Collector “But one final point on a dash means a zero.”

                                                                                                            340

                                                                                             NPD-LO-4038
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 341 of 424



Laurie Ortolano “Okay.”

Mayor Donchess “So where that came from is when the - pursuant to a development agreement, I don't
know a dozen years ago, a parcel of land formerly John Mansville was sold by the city to the to a
developer for $750,000. That money was allocated, $250,000 remained with BIDA so that they could
maybe generate another project and additional tax money, and $500,000 I think went to a fund
dedicated to recreation in the neighborhood where the land was sold. So that was you know, money
that came in from outside of the city dedicated to those two purposes.”

Chairman Dowd “Half a minute.”

Laurie Ortolano “Okay. My only concern is, you know, I'm sensitive to these ETFs. If you have
committees and organizations that don't meet and aren't like BIDA is not an actively meeting group. I'm
opposed to funding them with ETFs if there are no projects. This money can be used to reduce the tax
rate and I think we should be looking at No ETFs in determining if the money is being spent and if it isn't
and projects aren’t on the horizon, why we just are putting the money there? Thank you.”

2:36:57

Chairman Dowd “Any other questions on debt service, contingent, and interfund transfers?”

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just want to address here because I don't know
where else to address it – the spending cap because this debt service and these grants are part of that
issue, especially with bonding. I don't understand why the grant money's in there and I listened to this
discussion from the Mayor where he seemed to concur that he doesn't think the grant money should be
there. However, the legislator the language in the bill is forcing him to do that. I would disagree on that
from a number a couple of positions here.”

Chairman Dowd “Do you have a question?”

Laurie Ortolano “Where can I have a discussion about the spending cap?”

Chairman Dowd “You know this is not on this particular part of the budget”

Laurie Ortolano “Where is it?”

Chairman Dowd “We addressed spending cap earlier in the evening.”

Laurie Ortolano “No Fred just came up and started with it because he chose to. It really wasn't - he
opened it and he was given the floor to do so. You didn't have a special spot for it so where am I
supposed to address it?”

Chairman Dowd “So the spending cap is determined by the city. It's not part of the budget in that what
we are going to budget and spend either, you know, falls within or doesn't fall within the spending cap.
The definitions that we've had on the spending cap is we're way under. So if there were any concerns
about the spending cap, I don't know where you’d address them but I don't think you're gonna have any
answers here.”

Laurie Ortolano “Well, you know, with all due respect Alderman Dowd you're the one who said that your
questions on the spending cap could be answered at the hearing. And you told us to take our questions
to the hearing.”

                                                                                                        341

                                                                                          NPD-LO-4039
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 342 of 424



Chairman Dowd And you had questions at the beginning and they were answered”

Laurie Ortolano “That was one individual. Because I didn't come up, I lost my chance? It wasn't in the
budget. It's not part of your sheet. Just because Mr. Teeboom chose to address it as the first line item, I
forfeited my chance to address it because he addressed it in the Mayor's office? That's not right.”

Chairman Dowd “Do you have a specific answerable question on the spending cap?”

Laurie Ortolano “Yes, I do.”

Chairman Dowd “Then ask the question.”

Laurie Ortolano “Why are we duplicating debt service? Debt service is accounted for in our budget on a
regular basis but then we turn around in the spending cap and we list all the bond debt as part of the
spending cap to account for. How is that not an act of double accounting? I'm particularly concerned
with the list you gave the Board at the meeting when the spending cap discussion was done looking at
money that was being reallocated from the Bradstreet Parkway, I believe, to do some lighting initiatives
- LED lighting initiatives. We had a bond for the Broad Street Parkway. We paid debt service on that
bond. We've had extra money so now we've reallocated it to a project and now we're putting all of that
bond money down.”

2:48:13

Chairman Dowd Okay. “Questions for the Public Works and Engineering?”

Laurie Ortolano “Are we allowed to make a statement? What's the rule again? It starts off with a new
department…”

Chairman Dowd “We’re trying to move things along so I'd prefer that you ask a question involving that
department. No statements.”

Laurie Ortolano “Well, I'm gonna have a few statements. You can't change the rule in the middle of
game. Now I spent years in Litchfield doing public hearings and actually having special meetings, right,
ward meetings on Saturday mornings. A town with a $13 million budget assemble…”

Chairman Dowd “Please ask a question”

Laurie Ortolano “And you spend six, seven, eight hours of your Saturday, all day, having public
discussions about your budget. We come here at seven o'clock and you're ready to throw the towel in
by nine and you're ticked off that we're not moving along. This is an abomination.

“Now regarding Public Works. I have concerns with the public relations position in that department. I
think it's falling short and I think this Roby Park issue is a great example of where it fell short. I think it's
an unnecessary position and we should be funding that because I don't think the public relations is
happening the way it should with the outreach to the community when things are going on that affect
the community. Roby Park was a perfect example. I was there for all of those Public Works meetings
where the discussion took place, the vote went down, it was very quick. There was almost no discussion,
real discussion by the board. I do feel we're falling short on green space. When the Mayor mentions that
we have 17 people to maintain 900 acres of park and that's very difficult, I recall Alderman Jette asking if
they felt to Public Works if they were able to do that and do that maintenance and the answer was yes.

                                                                                                             342

                                                                                              NPD-LO-4040
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 343 of 424



Now one of the concerns I have is that I'm not certain we're deploying those Park people efficiently or
correctly. It is very important…”

Chairman Dowd “One minute.”

Laurie Ortolano “…that their work schedules get done the day before so that when they come to work at
seven in the morning, they're ready to roll out and do parks work. I think we're not handling that staff
correctly and those inefficiencies we are paying a lot of money for. So I'm not in tune to keep the budget
as it is and fund this because I don't think we're doing the right thing here. Thank you.”

2:52:33

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Based on information and belief, there was a
scanning project going on in the Building Permit Department to scan records like Assessing. I didn't
realize that was happening but it was underway. Can anyone tell me what the scope of that scanning
project is? When those records will be available to the public? There are computers set up but they're
not working. What the cost was for that project and if we've completed it?”

Matt Sullivan, Community Development Division Director “The scanning process that's underway
currently within the Building Department is what I would refer to as an incremental scanning process.
It's something that we are undertaking with our existing staff to digitize records as they come in,
particularly for new permit applications. As we actually go through that process and speaking specifically
to the question and our use of Civicgov, which is the customer portal for permits and inspections, we're
focusing our effort right now again on process moving forward and new applications. Currently there's
no funding available to actually resource it historical scanning process for existing records that exists
within the Building Safety Department and so we have not funded that as of today.

“Speaking to that same effort in the Planning and Zoning Department, we actually do have a current
part time staff person who is digitizing old site plan and subdivision records as well as incrementally
moving through all of our minutes and applications as well. But currently, there's no dedicated funding
within the Building Safety Department for that scanning project. It's something that current staff are
undertaking as we go.”

Laurie Ortolano “Okay. It's not a separate outsourced item?”

Matt Sullivan, Community Development Division Director “Correct.”

Laurie Ortolano “And the newer records and applications that are being scanned or digitized eventually
they will move to that citizen portal but that's not available yet?”

Chairman Dowd “One minute.”

Matt Sullivan, Community Development Division Director “That's correct. We're working with
Information Technology and Administrative Services but unfortunately, that citizen portal is not yet
available. We hope to roll it out sometime over the next year working cooperatively with IT.”

Laurie Ortolano “And are you redacting your records as your person - are you under reduction
requirements to redact your records?”



                                                                                                       343

                                                                                        NPD-LO-4041
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 344 of 424



Matt Sullivan, Community Development Division Director “We are not currently redacting records. The
reason for that is that currently the files are not redacted in any way and so we're providing them in the
same manner that we have historically.”

Laurie Ortolano “Okay so phone numbers or email addresses remain on those documents?”

Matt Sullivan, Community Development Division Director “We are not currently redacted.”

Laurie Ortolano “Okay. Also…”

Chairman Dowd “30 seconds.”

Laurie Ortolano “Okay. Also one last question. What do you see for code enforcement violations and
how do you track that?”

Matt Sullivan, Community Development Division Director “Mr. Chair we track code enforcement
violations using the same process and software that we use for building permits - that being Civicgov.
We track it on an address by address basis. Our code enforcement process operates on a complaint
basis, unless it's something that's easily seen by a member of city staff out in the field. Therefore when
we field a complaint or receive a complaint, we respond, we conduct an investigation, and respond
appropriately under the legal process defined in Statute. But again, that system lives within the Civicgov
software that we're using for all of our other permanent processes currently.”

Chairman Dowd “Times up.”

Laurie Ortolano “Thank you.”

2:56:12

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I have just a quick question. I'm wondering how
many DARE officers or how many officer we have that cover our public schools in Nashua. I'm wondering
how we handle how we document fights or issues in the schools. I'm concerned about the high schools
because they have to cancel the F Block. And how is that documented either by the School District or
the Police Department? And then I have a couple other questions.”

Kevin Rourke, Police Chief “We currently have two school resource officers - one at North one at South.
If there is an incident at the high school, the school resource officers are responsible for documenting.”

Laurie Ortolano “And I'm wondering - I know at one point we had a fully staffed Police Department. We
had all the positions filled and I know that sort of a rarity. Where do we stand now with staffing and
filling positions for the department?”

Kevin Rourke, Police Chief “Last July we were at full staff at 179. Right now we're between - short 10 or
12 officers. We have a couple of pending retirements.”

Laurie Ortolano “And I know last year a lady addressed the overtime budget and the amount of money
that's put in overtime versus regular staffing. I'm wondering if we could get a little bit of information on
what's going on with that overtime budget where we stand on it, what is using that overtime budget,
where does money come from if you're investigating a homicide. Have you seen more incidents of that
kind of thing?”


                                                                                                         344

                                                                                           NPD-LO-4042
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 345 of 424



3:10:56

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I too am very concerned about where our schools
are moving and how our children are being educated. I think we're really in a crisis not just in Nashua
but in this country and we're failing these kids. We're charging an awful lot of money to do that. This
contract that was voted in, you know, we look at the performance of our students and it's very average
out of 150 districts we're down in in mid to lower range 100th level. Nothing to write home about but
we turn around and say that our raises to our staff have to be, you know, much better because they
deserve more and this is what kills us all. I want to fund success. I don't want to find failure and Mr.
Mayor you wrote in your record in your mission and goals statement that you support strategies to
ensure that all of Nashua’s children reach their full potential. This falls right in line with Christina's
question about what we're doing to get kids to their full potential. Exactly what strategies do you
support?”

Chairman Dowd “Is that a question for the Mayor?”

Mayor Donchess “Well, again, I don't run the School Department but what I support is an excellent
education for every student in every school every day. Now I think our teachers do a very good job. I
mean the scores across the country are down. I don't think - I think our schools are doing a good job by
and large in educating Nashua children.”

Laurie Ortolano “I'm also very concerned that we were a district that was closed longer than most any
district in the State when it came to COVID. The consequences of that was perilous send our kids. The
catch up and the loss in education is enormous and Nashua is affected by that more than other
communities.”

Chairman Dowd “One minute.”

Laurie Ortolano “There was another question I had regarding education. The School District had to
cancel the F block in high school. The F block is the block where students can go and rotate through the
building to speak with teachers, students who need and want support in tutoring to assist in any subject
matter that they're having difficulty with. They had to cancel F block in the high schools because the
fights were so severe they couldn't let the kids go through the hallways. That's a real loss to public
education and our teachers are being paid for these tutoring services that can't be delivered under an
entire 90 minute block because we have safety issues in the hallway and we can't let our students move
through the building.”

Chairman Dowd “Time.”

Laurie Ortolano “I think that really affects the quality of our education and I think we're missing
something here.”

3:30:38

Laurie Ortolano “It's unclear to me how these funds ended up in the spending cap calculation and it just
seems to me that there's really no purpose in a spending cap right now because when you can run a
calculation and show taxpayers that your 130 million under it, you know, that we could have spent $113
million more and been within our financial responsibilities of what a spending cap is all about, it's
absolutely absurd. The spending cap has been blown away because the feelings of the administration is

                                                                                                       345

                                                                                           NPD-LO-4043
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 346 of 424



the legislation isn't written clear enough to delineate what can and can't be in it. I think one of the big
concerns I have is the word “total expenditures”. I contacted the DRA to ask if there is a DRA definition
of expenditure and there is not. That is a very undefined term and it leaves a door wide open as to how
you interpret what expenditure means and total expenditure. The city has chosen to interpret it to
mean all of these grants, all of these bonds, all of this money that wasn't considered that type of
expenditure in the past.

“So, you know, I really hate to hear the discussion of the need for litigation and going to court. I'd like to
think there's compromise and when I hear the Mayor say he agrees it doesn't belong in there but the
law is allowing you to do it. Well the law is not preventing you from not doing it and you have a choice.
If it doesn't make sense to you or it doesn't seem reasonable as a method to handle taxpayer money,
then you shouldn't do it. Your hands aren't being tied by this.

“I did ask can anyone tell me how other cities with spending caps or tax caps are - I did ask to set
another meeting - are handling these types of special accounts? Does anyone have any information on
that?”

Chairman Dowd “One minute.”

Laurie Ortolano “No?”

Chairman Dowd “It doesn’t appear so.”

Laurie Ortolano “Okay. Well I think that information would be good to understand and maybe other,
you know, communities are thinking exactly the way the Mayor is that this doesn't belong here and
they're not applying it. But you're recognizing it doesn't belong here and saying I'm gonna stick it in
there anyway and essentially stick it to the taxpayers. I think it's wrong.”



BUDGET REVIEW COMMITTEE JUNE 22, 2022

https://www.youtube.com/watch?v=ZQbtBDVJmU8

2:48:19

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple of things. I shared a little bit of a story
last night living over in Litchfield and attending deliberative sessions and how the sessions worked in a
small town of 7,000 with a budget of about $13 million. The public would get together. There was
usually quite a lot of interest. Fill a school auditorium and the process of deliberating, discussing, and
asking questions about a budget went from 9:00 in the morning until 3, 4, sometimes 5:00 in the
afternoon. You had wide variety of people at the microphone - long lines in fact. It wasn’t the same
people talking and very often if you had a list of questions, somebody else was asking your question, or
getting an answer which helped you in understanding in getting the information you were looking for.

“When you go to a Nashua budget hearing and there’s only really 4 or 5 people that are participating in
it, I thought that the Chairman showed an extreme amount of frustration and disrespect to the citizens
who showed up because we kept coming to the mic and he didn’t appreciate it. He changed the rules
repeatedly, which I think was in violation of how a public hearing is to be done and I drafted a letter to


                                                                                                          346

                                                                                            NPD-LO-4044
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 347 of 424



the Attorney General’s Office today to have a discussion with the State about what’s happening down
here and our hearings.

“It was just so disrespectful and attacking to have a Chair say, “You’ve come to other meetings. We’re
sick of you. We’re tired of you being around. You’ve already asked questions. We don’t want to hear
from you anymore.” Most of the public comments at the meetings are just only public comment and not
questions to be answered. The hearing was the one place I could come and to be shut down for
addressing the spending cap when in fact Alderman Dowd…”

Alderman O’Brien “One minute.”

Laurie Ortolano “…at a public meeting stated the spending cap could be discussed at the hearing was
just really discouraging. So this City and the leadership of this City – the old guard - needs to go. It
certainly doesn’t respect (inaudible) government. The document that Jonathan Cathey referenced a
large stack of Right-to-Knows tabulated with a cover sheet that explained how the City treats Right-to-
Knows…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “…I would like to a copy of that document as a formal Right-to-Know request publically.
I want that because I think that’s what the Mayor was referring to and that person that seems to take a
lot of criticisms, I actually don’t have that record. I’d like to see it. I’d like to study it and I agree with
Jonathan Cathey that we’re abusing what a Right-to-Know request is. Thank you and thank for the work
done by the Committee tonight.”



Board of Aldermen Tuesday, June 28, 2022

https://www.youtube.com/watch?v=rM0G-vjVK5Y

12:27

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’m on the phone so I can’t raise my hand. I wanted
to call in to put in my lack of support for the budget for this year. I’d like to see that budget trimmed down
some more. I think the Board needs to be mindful of what’s going in the economy and I think the lack of
information regarding the assessments has made it difficult. I’d like to point out that the City has been
very secretive and non-disclosing regarding the depreciation factor issue that was called out a few years
ago and they were working on decoupling depreciation from affected year bills to addition. I have asked
for some reports on the effects on that because it’s going to affect older homes. In four years, there’s
been no report given and I think that when the Mayor talked about the potential shift of 2.5%, or 5%,
whatever it’s going to be onto residential properties because of the deduction and lack of growth in
commercial properties, you’ve a shift associated with the depreciation factor as well that has not been
discussed. I think we should have full disclosure on that.

“I’d like to talk to you for a brief moment about downtown. I saw there’s an intern being hired through
Downtown Improvement Committee. I don’t know if that intern is going to gather data but there’s been
a group gathering data for two months on the restaurants. I think that it’s pretty clear that the use of
the expanded outdoor dining does not justify…”

                                                                                                            347

                                                                                             NPD-LO-4045
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 348 of 424



Alderman O’Brien “One minute.”

Laurie Ortolano “…(inaudible) for setting it up. It’s been very light down there. Your Saturday night is
your busiest night. There are primarily three or four restaurants that I think have benefitted from it but
you’ve got these barriers up to service 25 restaurants and there are just no people there even on a
beautiful night. It’s extremely light and I really don’t…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “…understand why the barriers are down there. Anyway thank you for your time.”



Board of Assessors June 30, 2022

https://www.youtube.com/watch?v=ZpCtATZhmy0

11:18

Laurie Ortolano – 41 Berkeley St. – She was inquiring as to the % of Income & Expense statements that
were returned. Ms. Ortolano was looking for information on the depreciation of effective year built on
older homes, as well as, looking for answers to the email she sent the evening of 6/30/22.

The following was transcribed from video by E. Vassar on March 15, 2024

“Laurie Ortolano, 41 Berkeley Street. I sent an email back to you last night with some questions that I
was hoping to have answered when/if Vision comes and does another update. I wanna know what the
entry rate was in the end for commercial and residential property. And whether the entry rate changed
after 2021 when (inaudible) …after the COVID issue. Laura? Laura, can you mute yourself? Thank you.
I’m getting a ton of feedback. Okay, so I wanted also to know how many income statements they
received back and if they sent those to all commercial, industrial, rental properties to collect income
data. What was the return percentage on those? Because I talked to Nashua reps about working
legislation on that issue, and I’d like to get the data to understand what exists.

“The measure list was spoken about in the 2019 Board of Aldermen meeting in August, and there were a
lot of questions raised, a lot of points raised by the Mayor during the discussion, and he was unsure that
there was anything wrong with the data. He knew it had been, ya know, 27 or 28 years since the last
update, and that it seemed like it was time, but he didn’t really believe that there was necessarily
anything that needed to be corrected. And I think at this point, now that we’ve finished a four-year
process, it’s important that we look at what we found or didn’t find, because in that meeting in August
2019, my husband and I spoke against the measure list, primarily because we wanted to see the office
stabilized, and we believe the problems with consistency and data was happening because of
deficiencies in the office. And since that time, I would say the office has deteriorated more. So we don’t
have the stability in the office, which I think compromises the data.

“We went through a million-dollar project, which was expensive for the taxpayers, and I think we should
be able to sit back now and come to some conclusions about whether it was a reasonable thing to do or
an unreasonable thing to do. And I’m all for pushing on the State, the DRA particular, to abolish these
measures and lists if they really don’t yield any results, because either, one, you don’t have entry, or
there’s largely nothing found because there isn’t entry.

                                                                                                       348

                                                                                          NPD-LO-4046
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 349 of 424



“A big issue for me is the depreciation of, the decoupling of depreciation from effective-year building,
coupling it to condition. There was a lot of talk about that. And in four years there hasn’t been a single
update on what has happened with that. And I would like to get data on what that showed, because the
Mayor has spoken about the shift to residential properties, on the tax burden, because of the
differences in value increases on those two types of properties, with residential growing at a more rapid
rate than commercial - substantially more rapid – and that that’s gonna shift the tax burden to the
residential properties, and I understand that, but he has not addressed the depreciation issue on older
homes. And I believe Nashua has a significant group of – number of properties that are certainly 1960 or
earlier. And I think we have a responsibility to understand if there was a problem there. And I will
certainly do the data dive, but I would like to think that Vision has the capability of reporting to us on
what they found, what the impact is on some of these homes when depreciation is set to condition and
what the shift is on properties for that.

“I was also, I think I emailed you, I was completely disgusted by the comments in the Budget Hearing by
the Mayor, that he would never had done a measure list this year, now, if it hadn’t been for the State
forcing us. Ya know, I hate political football games, and I see this mayor running for office again,
announcing his candidacy, fundraising for 2023. And now that the economy has been… taken a skid,
inflation’s running high, costs are pressuring all citizens, he’s suddenly not on board with this anymore,
and he never wanted to do it. And yet, I think I sent you the link to the 2019 minutes, uh meeting, where
Attorney Bolton, speaking for the Mayor, stated that the City’s intentions were always to do a measure
list for 2022. Suddenly now it’s not right. We could only have gone until 2023. And I was always under
the impression that the State, the DRA and the BTLA granted the 2022 date because it was the request
of the City. They did not issue an order in August. The order didn’t come out until, I believe, October. I
always thought the State worked cooperatively with the City to pick that date and grant four years of
time to rework the revaluation. And I thought I was very reasonable. I see this mayor lining up to blame
the state, blame the citizen, and walk away trying to be squeaky clean, that he had nothing to do with
this. And that is just such poor leadership. This man has no business serving as our mayor, and quite
frankly, I find him a boldfaced liar. And I’m tired of it. So…”

(time warning)

Laurie Ortolano “…So I hope you’re able to get me some answers. Dan, when you talk, you gotta go into
the microphone. Because you cannot be heard with your mask on.”

Mr. Hansberry “Mrs. Ortolano, your time is up.”

Laurie Ortolano “Okay, thank you.”



FINANCE COMMITTEE JULY 6, 2022

https://www.youtube.com/watch?v=yVNm_jW2a9M

0:07

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street I have one quick comment about the first couple of
items that are being presented on the Riverwalk Project that’s being done. I know that’s a TIF project
and I’d like to know what the plans are for the City or what your plans are Mayor Donchess to allocate

                                                                                                      349

                                                                                         NPD-LO-4047
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 350 of 424



funding for TIF? Have you set any boundaries or limits on how much money you want to see scooped up
downtown that’s put into tax incremental financing initiatives? My question is, I think my understanding
is, that money that’s allocated specifically for downtown is not in the used to calculate rate for the
public. So it does raise the tax rate for the general public when that money is pushed off. Concord has a
very heavy number of TIF districts but they also have a very high tax rate. I want to know what your limit
is or what your boundaries are for creating TIF districts and rolling properties into it. Thank you.”

44:24

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I wanted to talk to you tonight and get some help
from the seated Aldermen regarding the Performing Arts Center. This organization was set up when the
new market tax credit money was received with two entities that are managing that art center - 201
Main Street Realty and the NPAC. NPAC is I believe for-profit and 201 Main Street Realty is non-profit.
What happened when we did that is that was a very complex financial deal to try and obtain this $2.5
million that we were looking for that we were unable to obtain through fund raising in the early phases
when we were building the art center. The early commitment was it was a $15 million bond and we
would obtain $2.5 million of money or donations from the public and that didn’t come to fruition. The
bond amount went up to $25 million and the City started exploring other options to get money.

“My recollection is they found this finance vehicle through the federal government called the “New
Market Tax Credit” which could be used for banks to buy these - to receive deep tax discounts to invest
in this facility and we would receive $2.5 million from it. So we set this up and in order to do this very
complicated deal, we had to set up two companies. These companies I have been trying to find out if
they are subject to RSA 91A open records laws. I believe they should be. I believe they should be
because they have at least 80% of our taxpayer dollars were given to that facility. Ordinarily the RSA 91A
would specify that entities that receive substantial amounts of taxpayer monies must be subject to the
open records law. Now RSA and State Statutes define that for BIDA - business industrial development
authorities. They’re called out as 91A compliant businesses even though they are not operating within
the City itself because they co-mingle with the City and they co-mingle with projects. The Nashua
Housing Authority is another organization, the Airport Authority is another organization, and we all
know public utility companies are public entities and we can obtain those records. Bills on our
neighbors’ accounts we can get, building costs, housing costs on any house you’re going to buy, open
public records. So I really believe the City should have set up these two entities as public RSA 91A open
entities but I’m not certain they did. They’re not willing to answer me.”

Alderman Comeau “30 seconds.”

Laurie Ortolano “All the leadership has shunned me but Rich Lannon who is the President of both
entities wrote to me a week ago and said our meetings are public and said there were three meetings
held between December and May that were public meetings. The problem is they weren’t properly
posted, noticed, and the minutes were never generated. So they were in violation of the law and we are
still struggling with Tim Cummings putting records out inappropriately and not following 91A. So I’d like
one of you to find out…”

Alderman Comeau “Time.”

Laurie Ortolano “…if this is in fact a public entity and help me figure this out. Thank you.”


                                                                                                      350

                                                                                           NPD-LO-4048
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 351 of 424



Board of Aldermen Monday, July 18, 2022

https://www.youtube.com/watch?v=GEGf3GS5RDg

34:37

Laurie Ortolano “Laurie Ortolano, 41 Berkley Street. I just wanted to make a comment. I think that
(inaudible) that ordinarily would be addressed (inaudible) is a detriment to (inaudible). The special
meeting I think (inaudible) City Clerk position I’m not certain. (Inaudible) I’ve noticed this individual is a
fairly young person and he’s coming to a City that I think is very corrupted and working for a Mayor that
I think is really unethical, unscrupulous, a liar and I’ve had to put in a lot of law suits involving records
and the lack of openness for records. Some of the issues have stemmed around the Clerk’s Office, so I’m
very concerned about this because I think there needs to be a lot of changes made in that Clerk’s Office
and I think not having somebody certified for three years was a problem. I think a good number of our
policies are outdated. When a citizen comes to the Clerk Office and asks to inspect records and is told
they’re not there and then asks well do you where they are? The answer is under RSA 91-A, I don’t have
to answer questions. It ensues into an argument at which point it then is revealed that the records are in
another part of City Hall and you’re told where they. I don’t think those fights are necessary to have. I
don’t think that’s compliant with the law. This is a City that violates open records frequently. I spent the
weekend working on a pro se lawsuit. That’s the biggest one I’ve filed so far. All on record issues. I’m
disgusted. I’m just disgusted that this is what it goes to and it never stops. So I hope this new Clerk has
the gumption to make change but I have seen this Mayor ruin many careers on good people. When I see
somebody young stepping into the seat, I’m thrilled but I’m also concerned because this City is a career
buster. So best wishes to you, I hope you’re dynamic and manage our records like they haven’t been
managed for quite some time.”



FINANCE COMMITTEE JULY 20, 2022

https://www.youtube.com/watch?v=OvwbDCBwcEA

0:55

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Good evening. I saw some communications in the
packet that Mr. Cummings is bringing forth information on the Riverfront Project and a few other things.
I want to express my concerns with him as an employee of the City and maintaining and performing any
work on any of these projects. He is unfit to do that kind of work. He is over assigned. He is deeply in
violation of the law when it comes to Right-to-Know and open access to meetings and information. He
shares an office adjoining to the Mayor and the door is always locked and closed. He does not consider
himself a public servant and he will not make himself accessible to citizens at all. I’ve been to City Hall
for three years and I have never seen that door unlocked and opened. I’ve never been able to knock on
the door and get anyone to open the door. My access to Tim Cummings is always through the Mayor’s
Office and the staff there has been hesitant to be of assistance as well. Recently you just had a new
hired person Jen come in and her customer service and friendliness has been greatly improved in one
week. I’m talking about one week. But really for two years it’s been horrendous. I think Mr. Cummings is
just a completely obnoxious, arrogant man and he doesn’t…”


                                                                                                          351

                                                                                            NPD-LO-4049
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 352 of 424



Mayor Donchess “Miss Ortolano this is not the purpose of the Public Comment. You’re address issues
before the Finance Committee. You’ve still got a few minutes. You cannot come on - it is not proper for
you to come on here night after night and just lambast all the employees with all the scurrilous
comments. It is just not appropriate. It’s not appropriate.”

Laurie Ortolano “You need to shut your mouth. Shut your pie hole Mr. Mayor. This is my public
comment and I’m addressing not every employee. I’m addressing Director Cummings and I have been in
a very difficult situation trying to get information from him. I sat in a December 15th meeting with him.”

Mayor Donchess “You know I think we’re going to have to propose some kind of rules for Public
Comment.”

Laurie Ortolano “I think you’re going to have to.”

Mayor Donchess “The swearing, the profanity, the name calling. It is not appropriate. Pie hole, criminal,
all this kind of stuff is not appropriate.”

Laurie Ortolano “I would agree with you. Shut your pie hole. Shut your pie hole.”

Mayor Donchess “It degrades the Board of Aldermen, the City, and the public discourse.”

Alderman Comeau “30 seconds.”

Laurie Ortolano “Shut your pie hole. Shut your pie hole.”

Mayor Donchess “And you’re certainly proving it now.”

Laurie Ortolano “And it’s not profanity. You keep talking about profanity, and swearing, and all the
things. I don’t see your public coming out and doing that.”

Mayor Donchess “Madam you call a woman lawyer in the City with the “c” word in a public meeting. So
you need…”

Laurie Ortolano “I described her behavior…”

Mayor Donchess “…to become more appropriate.”

Laurie Ortolano “I said you’re – Attorney Donchess. I referred to…”

Alderman Comeau “Time.”

Mayor Donchess “Your time is up Ms. Ortolano.”

Laurie Ortolano “…of having…”

Mayor Donchess “All right.”

17:47

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Mr. Mayor you made mention in the first Public
Comment that you though perhaps a new public policy should be adopted because of all the swearing
and cussing going on during Public Comment and I found that not to be truthful or really what I see
going on in Public Comment. But then you brought up the fact that I referred to Attorney Leonard with


                                                                                                       352

                                                                                         NPD-LO-4050
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 353 of 424



the “c” word. So you opened the door for that discussion. That happened about a year ago and I really
think that if you, or the City, or the Aldermen, or the Board of Assessors had been really bothered, you
would have changed the policy and you should have if you felt that way. But what I think is fair to say is
it wasn’t a continued behavior and I think today is the day for me to speak to why I said that and what
the meaning of it was. I never bothered addressing it because it just wasn’t worth it. I didn’t refer to
Miss Leonard as a “cunt”. I referred to her, her behavior as having the cuntiest behavior I’d ever seen.
That is a little bit different.”

Mayor Donchess “Miss Ortolano we don’t want to use profanity and these words that are so degrading
to females. It’s just not appropriate. We’ve got people walking out of the meeting right now because
your discussion is so offensive.”

Laurie Ortolano “I asked to speak to that. I think you don’t understand the meaning of that word. That is
a very common expression in British television and it’s used to describe men more than women. I
watched a show and it struck a note with me. I’ve heard before used and in British language in television
it refers to something distasteful or you’re really irritated by it - bad behavior - and most of the time it’s
men they talk about. You can look it up in the dictionary and you can find that reference. That’s why I
threw it out there. I was talking about my arrest at City Hall, which was a very personal and emotional
issue to me.

“Now I don’t care if people here that word and want to walk out because it’s a degrading body part
because there have been a lot of woman movements that have taken it away but I didn’t say that to
refer to her genitalia. I’d say the same expression to describe you and Attorney Bolton. It fits perfectly
but nobody would have understood that. I actually thought Dan Hansbury might because I thought he
was a bit on the English side…”

Alderman Comeau “30 Second.”

Laurie Ortolano “…but he did not. But when you open the door to bring that up in a public meeting and
bring up all the swearing and cussing going on, I don’t see that that’s been the case and it’s another lie
by you and misrepresentation and it’s exactly what I expect from you. Thank you.”



Board of Public Works, July 28, 2022

https://www.youtube.com/watch?v=qtZ0k-fRBsQ

7:15

Laurie Ortolano “Yes. Laurie Ortolano, 41 Berkeley Street. I didn't know disc golf was on the agenda. I
looked at the agenda and I didn't think this was a topic being covered today. Is it being covered?”

Mayor Donchess “No, it's not.”

Laurie Ortolano “Well, I don't know why everyone got to talk about it, but since they are, I'll join in,
because I intended to cover it at the end. But it became an issue at the beginning. So, I think the people
who are for it, I understand why. I think the process though that the city used to vet this was not
correct. And we need to do a better job when we're going to change our parks, and particularly a park
such as that, that has such high utilization and 50 acres of beautiful area, including wetlands. That

                                                                                                          353

                                                                                            NPD-LO-4051
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 354 of 424



before we make a major change, that there is plenty of dialogue that goes on with the citizens of that
neighborhood and the community. And I just don't think it happened here.

“I was one of those people that filed a report with the DES. And I didn't think it was right walking it. My
husband and I walked it and didn't think it was right. We met people who were shocked at what was
going on. Hearing some of the expert Board members say, I have a master gardener degree and I can tell
you what this and that are all about. Well, not really. The DES did have a little different perspective. And
there was no erosion mitigation going on when I was down there until I told them. I filed a report. Days
later the erosion mitigation went up. I just think we don't do the best job when it comes to public
relations to building consensus and we don't recognize the value of functional conflict.

“We don't all have to conform to the same idea. We can disagree and we can vet things to come up with
solutions that hopefully give some satisfaction to both sides. It can't always be done that way, but it
certainly, there's no chance of it being done that way when you don't reach out to both sides. And I
think this happened too quickly and was unvetted. I'm a big supporter of an overall Parks Group through
the Board. I don't like the fact that a Greeley Park Advisory Committee was formed for Greeley Park. I
think there should have been an overall Parks Advisory Committee formed that encircles all of our parks
and allows the Conservation Commission to have a bigger voice, embedding what is going…”

Mayor Donchess “30 seconds remaining.”

Laurie Ortolano “-with Parks and Rec. That's all I have to say. Thank you.”



Board of Aldermen Tuesday, August 9, 2022

https://www.youtube.com/watch?v=DkE_6mlpBUI

21:24

Laurie Ortolano “HI. Laurie Ortolano, 41. Berkeley Street. I'd like to speak in favor of maintaining Zoom
as a platform and interface for public to participate in all of your meetings. Right to Know New
Hampshire is a big supporter of this interface and most of the legislation we backed last year contained
language to maintain or expand Zoom as an interface for communities to grow their participation. Mr.
Gouthro was correct in the legislation that was enacted in Massachusetts to expand it and I know the
New England First Amendment Coalition is strongly behind using this platform to increase community
participation.

“I think when I read the letter on the costs, I think it's pretty nominal given all of the items in the budget
and the type of programming we're doing in this city to allow that interface to, you know, improve and
be maintained. I would certainly like to see that Zoom interface brought over to the schools side.
Frankly, their meetings don't have it and that is rather shocking. I don't think their participation is as
good as it would it be if they had Zoom because they run their meetings at 6 o'clock, which is a very
difficult family time if you're doing dinner. I know many people who haven't come out to school
meetings because of their family commitments to have a meal on the table and that's the population
that does have kids. If they want to have a family meal, it's right at dinner time.




                                                                                                          354

                                                                                            NPD-LO-4052
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 355 of 424



“So I'd like to see Zoom expanded. I'd like to see the investment made into it and I'd like to see the
Board understand the benefits you've gotten from it because I think we've had quite a few older citizens
dial in…”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “…to participate because, you know, it was a lot easier than them coming out and
particularly in a New England climate in the winter and the cold. Zoom affords everyone a really
awesome avenue to be part of a meeting. So I hope that you would support continuing the use of it and
embrace the broader involvement you get in your public meetings through that interface. Thank you.”

1:56:28

Laurie Ortolano “Hi. Laurie Ortolano, 41 Berkeley Street. I would like to ask the Board to consider when
you have legislation being brought forth by the Legal office, because often it's drafted by them, and that
legislation is relevant to forming a new committee, or a board, or advisory group for the city I think it's
very important to have that analysis section defined whether that board is a public body under RSA 91.
A. I've been able to see that other municipalities do that and I've learned that we, in fact, have done
that. My concern stems from the fact that you formed two RSA 162-g nonprofit organizations to handle
and address the New Market Tax Credit for the Performing Arts Center and it was coupled with the
NPAC Corporation which is a for profit. Collectively, it formed a joint committee. The analysis provided
by Attorney Leonard said that those two nonprofits under RSA 162-g and RSA 292:1 constituted a public
body - a public corporation. But it seems that no one in the city, the agencies of the city, the divisions
and departments, know what that means. The Legal office doesn't provide advice to citizens, I get that.
But when a citizen goes to the division or organization, they should know that otherwise how are you
distributing records for this Performing Arts Center which is controlling probably upwards of $30 million
of city funding from taxpayer dollars? How is that being brought to the forefront for citizens to have
access to information regarding that money?”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “You know I'm really disappointed that these kinds of things you have to put into a
lawsuit. I'm almost done with that lawsuit and I'm going to ask the Judge to rule on the public nature of
the joint PAC committee, the public nature of the Capital Campaign Committee, the public nature of the
Nashua Community Arts nonprofit, as well as a lot of violations that have happened with meeting
minutes not being posted, meetings not being noticed…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano "…and not being responded to. In the future, I think it would be enormously helpful
when legislation comes forward for a committee, or an agency, or a board, or subcommittee that you
have Legal define how that committee operates. Thank you.”



Board of Public Works, August 16, 2022

https://www.youtube.com/watch?v=ZBtaAtwzu8I

1:01

                                                                                                       355

                                                                                          NPD-LO-4053
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 356 of 424



Laurie Ortolano” I just have a couple of things. I saw on the agenda –”

Vice Chair Moriarty “—okay.”

[Instruction by CCTV-You're going to need to sit at the table.]

Lisa Fauteux, Director, Division of Public Works “Do you want to come sit here?”

Vice Chair Moriarty “Again, we'll need your name and residence.”

Laurie Ortolano “Sure. Laurie Ortolano, 41 Berkeley Street. Just on the agenda, what do we have? We
have downtown, West Pearl, School Street. Is School Street the TIF district? Are we going over that or?
Okay, so—”

Ms. Fauteux “--correct—”

Ms. Ortolano “--Well, if we're going over the School Street TIF, I would like to understand a little bit
about how that TIF is set up. It's set up under R.S.A. 162 K, and I feel we're not overly compliant with
that when we do the setups for these TIFs.

“I’m also concerned with School Street that that group has not been formed or met yet and the TIFs
been in place for over a year, maybe 18 months, and I think that a meeting of that group of interested
stakeholders ought to take place. I think the stakeholder group on that TIF is in question as well,
because you're supposed to pick people from the neighborhood who either reside in those buildings or
are abutters and the way we organized that TIF Advisory Board was that we picked three people out of
City Hall who are not really residents. They're just employees and Director Cummings also serves on it,
but he also serves as the administrator to the advisory board and I think that's a conflict.

“So, I'd like to understand a little more about what is going on with that TIF and that School area. Yeah,
and the rest of it I'm just hoping to get a rundown on what's happening, that's why I came. Thank you.”



Planning & Economic Development Committee, August 16, 2022

https://www.youtube.com/watch?v=zAsyXpxkn5Q

1:51:45

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’d like to talk a little bit about public information
and access to public information. I filed a pretty big lawsuit last night against the City on economic
development issues and one of them is the NPAC. I think when you develop those two non-profit
corporations under RSA162-g, you had an obligation to disclose what that meant. So Attorney Leonard
drew up that Resolution. In the analysis section, she copied the language right out of RSA162-g and she
said these non-profits are body politic, public corporations.

“The Attorney General’s memo on Right-To-Know states that for 162-g and a host of other RSA’s, that
it’s up to the municipality to decide how the State Statute RSA 91-a applies to that. Now 162-g is what
describes Business and Industrial Development Authorities of which we have one which is a fully public
entity. Dover’s Business and Industrial Development Authorities, their bylaws and regulations they call



                                                                                                           356

                                                                                           NPD-LO-4054
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 357 of 424



out 91-a. So does their website page. I fully believe that these two non-profits are 91-a companies
because they’re profit companies. They’re public companies rather - non-profit public companies.

“Attorney Leonard would not define that. She didn’t carry her duty to disclose far enough to say what
those entities were and then they played the game the Legal office we’re going to hide behind
attorney/client privilege. We can’t tell the public. I’m okay with that to a certain extent as long as they
told you and you can tell us but they didn’t tell you. Nobody here seemed to know and couldn’t define
it. For eight months I asked the same questions over and over again - Is this an RSA 91-a compliant entity
and what information is available? I got the runaround. That’s how lawsuits get filed. I don’t think that
we should have to do that and I think the way you operate in the dark on this art center makes it look
very shady. Really inappropriate. I think those records should have been open. Now I’ve got to start a
flood of Right-To-Knows that are part of discovery for this lawsuit which I haven’t done a lot. It’s not my
choice to do that. It will take me a couple hundred right-To-Knows to peel this open and figure out
what’s going on because I don’t have somebody to talk to. I don’t have anyone I can communicate with.
I have to write Right-To-Knows now. It’s really unfortunate.”

Alderman Thibeault “30 seconds.”

Laurie Ortolano “You couldn’t understand my frustration weeks ago when Director Cummings and
what’s going on here. Nobody could understand it. If you took a look at that lawsuit, you don’t have the
334 pages of exhibits that went with it but I put an enormous amount of time into that and I’ve got
several more to file. It’s a lot of work. It’s not my preference but I don’t like the way you’re operating
and I wish you’d do something about it. You all have a responsibility to do that. Thank you.”



FINANCE COMMITTEE AUGUST 17, 2022

https://www.youtube.com/watch?v=c3eQh1YKa5M

51:31

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’d like to talk to the Committee about as projects
roll into the table to you. I think that bonding of large projects should go on hold at this point. I’d like to
see the brakes put on a little bit on the spending, and get the new tax bills out, and look at the tax rate,
and let’s see where we’re at and how are senior citizens are doing with their money when things
change.

“I’d like to talk to you a little bit about information flow in the City. I would like the Mayor to be more
proactive in trying to open up avenues and set up methods whereby questions raised to the City are
being handled through a central location. I tried to address this in the budget hearing and I pretty much
got run over by you Mr. Mayor. You did a pretty good job demolishing me up there for my Right-to-
Knows but I really feel that there should be a central location where Right-to-Knows are handled. I just
submitted a lawsuit where I’m showing a judge that I am sending up to 6 and 7 people at a time and
some of them are violating the law because they’re not responding. I’m sending it to all of them because
I’m trying to figure out who has the information. I’m telling other people now when they send them in
to do the same thing. You don’t have that problem when you go to Manchester and other cities because
it goes through the Clerk’s Office and it’s disseminated. It makes it very difficult for us to track and it


                                                                                                            357

                                                                                              NPD-LO-4055
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 358 of 424



produces a lot of paperwork for the City as well. So it’s a very frustrating process for me and I don’t
appreciate it.

“Then the City is very active in throwing my reputation down to the ground because I’ve done this work
and I’ve done it in this manner and it’s been bothersome to you when you haven’t done anything to
make it efficient. I am very concerned with your Legal Office. I feel two of the attorneys should be
disbarred. I’ve filed complaints with the Professional Conduct Committee at the Supreme Court and I’m
going to continue filing up there. Attorney Bolton tried to have me arrest on the 22nd of July wrongfully,
I believe, and the City isn’t going to stop until they arrest me in City Hall and you’re going to succeed at it
because all it takes is one Officer who is not well-trained who turns around. One of your people dog
whistles the Police for handcuffs on me, it’s going to happen. I’m not looking forward to that and I try to
not make that happen but when I see and I get the police logs of the calls that are coming in…”

Alderman Comeau “30 seconds.”

Laurie Ortolano “…it’s a problem. Attorney Leonard I feel really violated her oath and her duties to
disclose what was going on with the Art’s Center. I also feel that when she lied to the Courts about the
emails of Miss Kleiner’s emails in July of 2020 that was sanctioned and paid to me in January of this year.
That quite frankly Judge Temple should have reported her to the Professional Conduct Committee and
my Attorney Rick Lehmann should have. They didn’t do it so I’m doing it but it’s frustrating.”

Alderman Comeau “Time.”

Laurie Ortolano “Thank you.”



Personnel/Administrative Affairs Committee, September 6, 2022

https://www.youtube.com/watch?v=po27qBt2av4

1:24

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I know tonight you have a couple ordinances that
you’re looking at to change the way public comment is handled for the City and I’d like to address that.
First of all, I’d like to make you aware that there have been six changes to public comment or accepting
public documents by this Administration since 2015 and I think that is a lot of change. In 2015, it was
changed that citizens couldn’t speak at the first comment regarding items not on the agenda. It used to
be open for that. That was eliminated. Then public comment was allowed for 15 minutes. If no one
showed up and somebody spoke 15 minutes, they could use the 15 minutes. That was changed and no
longer allowed. If only one person shows up, they get 3 even though the time is 15.

“We currently have legislation in place here tonight to limit what people can say and allows the Chair to
interrupt them if they’re not happy, which is already happening by the chairs of committees. The Mayor
has proposed legislation that both public comment periods can only be relative to items on the agenda
and I don’t think that’s listening to your public. Miss Wilshire and the rest of the Board cut Zoom out for
citizens but is paying for the committee members and elected a people to have access to Zoom. The cost
of that was portrayed as $11,000 which is minimal given what’s going on here. President Wilshire



                                                                                                           358

                                                                                            NPD-LO-4056
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 359 of 424



appears to have stopped allowing public communications in Board packets. That’s no longer accepted
and I’m unaware that was a Board vote. It’s just been eliminated from the agenda.

“I think this is a lot of changes that are really showing that this Board doesn’t want to hear from the
public and I really believe that these changes to public comment are happening because of me. I think
I’m the one driving those changes and I think it’s unfortunate. I think I had a bad run in the last June at
the Public Hearing and in July when at the Human Affairs meeting I was cut off by Mr. Lopez. Then in the
Finance Committee meeting, I was cut off by the Mayor. The Mayor unfortunately decided to bring up a
word he found distasteful that hadn’t been uttered or discussed in 12 months and nobody here on the
Board bothered to ask why he did that. I now fully believe that he did that so he could introduce this
legislation that would now cut public comment because we can’t allow these things to be said. I don’t
know why it wasn’t a problem a year ago and why you didn’t address it then but we have had citizens…”

Alderman Thibeault “30 seconds.”

Laurie Ortolano “…we’ve had board members say things that are very unsavory. Vice-Chair talked about
screwing the pooch in a meeting. Nobody flinched. Patricia Klee talked about throwing the finger to the
Court. Nobody flinched. Alderman over here talked about whiny white bitches when she was on the
School Board. Nobody flinched. Nothing was done. I don’t know why the public is penalized when the
conduct of the Board should be in question as well. Thank you.”

1:08:28

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple of things. I’m really concerned what I
heard Alderman Moran say tonight. He mentioned and I wish the Mayor hadn’t walked out because I
looked right at him and asked him questions. That if you have a concern, take it up with the Mayor. The
Mayor has never been willing to address me since 2018 when I tried to reach out to him with my
property assessment issues. He wouldn’t meet with me. He has never accepted any level of
communication from the very beginning. I know the Nashua Police Department always said to me we
don’t understand why he didn’t do that why he just didn’t try to address you.

“In 2021, I had an Alderman ask me to come to a meeting at the Mayor’s office to discuss TIFs and the
art center. I was really interested in it and they said come along, I’m having a meeting with the Mayor.
When I got to the door, I was told I couldn’t enter. I was told by the Alderman that the Mayor viewed
me as a liar and I wouldn’t be given entry to his office. I’ve never been in the Mayor’s Office so that
doesn’t exist for some of us.

“I also found your remarks saying that this was a very well run City since the Mayor has taken over it’s
very well run. You get to have that opinion but then you said and you referred to the public as the public
spewing alternate facts. What a disrespectful way to speak to the public. We don’t necessarily spew
alternate facts. We have an opinion that’s different than yours. It’s really my opinion is based on some
level of experience or participation. I’ve never gotten to talk to the Mayor. I bet you have quite a bit
more than I have.

“I’d like to know from the Mayor in the Finance meeting why he brought up the “c” word. Why did he
even go there? I’d like to know from the Mayor why he said that “pie hole” is a swear word? I didn’t
even know it was. Is that one of the vulgar terms that can’t be said?


                                                                                                       359

                                                                                         NPD-LO-4057
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 360 of 424



“I’d like to know in the Finance Committee meeting when I went through a significant number of issues
that I was concerned about with Tim Cummings - his door never being open, him being overscheduled,
him not having records available, finding him to be very arrogant. He was at a meeting presenting
information on Finance. This guy manages $100 million of money. I was cut off sharply and told we’re
not going to listen to these scrofulous remarks out of you. Well why not? Then the Mayor took over my
public comment for two minutes. He would not give me the floor back until Alex Comeau said times up. I
had to sit down. Why did I lose that?”

Alderman Thibeault “30 seconds.”

Laurie Ortolano “It’s not right and so I think a lot of what’s gone on here today has been targeted to me.
I have asked this Board to go into non-public session and the Chairwoman to go into non-public session
when you discuss issues about me. In four years, you’ve never been able to do it not once. I’ve listened
to myself spoken about – bankrupting the City, costing hundreds of thousands of dollars, being
vindictive and retaliated, impersonating a City employee. All this has been done in public eye.”

Alderman Thibeault “Time.”

Laurie Ortolano “I don’t think I get the courtesy that I think I deserve.”



CABLE TELEVISION ADVISORY BOARD 09/09/2022

https://www.youtube.com/watch?v=qKpiAKcwGjs

1:31

Lori Ortolano “Laurie Ortolano, 41 Berkley Street, just a couple of things, I know this is all getting
started, I just want to give my two cents on how important I think balance is in broadcasting. I think
when we have a two-party system in this country, we need to listen to both sides and have
representation from both sides. So, I really think we all benefit by that. I would like to request, more
televising of our public meetings. We have a lot of different meetings that are not regularly scheduled,
like our tax incremental finance district, our performing arts center, our downtown improvement
committee, and those are... Downtown improvement is more of a regular meeting, but the other two
are more periodic.

“I think those are high public interest, activities in this events in this city, and I think it would be nice to
see those meetings televised. A number of them are meeting in the Auditorium upstairs in a room that
has the television capability, but they're not being televised. Part of it is the time, they're at noon or in
the morning. So, I think televising those meetings would be great if we could expand that.

“And I think for our senior citizens, I know I've heard a number of people say that there isn't enough
programming during the day. I noticed last week when I turned on cable, it was a message board that
said “no programming available at this time or something.” That has been running a fair amount, where
there is just no programming. And I think it's important to even recycle these meetings, and I think
seniors like that. Especially during the day, they're up. It's when they want to see what's going on, and
I've heard them say it, that some of the programming has stopped, and also if there could be a, TV
guide, some sort of guide that would show them where the programming is going to be run that would

                                                                                                              360

                                                                                               NPD-LO-4058
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 361 of 424



be super helpful for everyone. Cause it could be a lot of repeats, which is fine, but you may want to just
find the program you're interested in, and having some guide service for that would be awesome. Thank
you.”



Board of Assessors September 15, 2022

https://www.youtube.com/watch?v=Q13i6btVuHA

27:47

Laurie Ortolano – 41 Berkeley St. Ms. Ortolano commented that there should be a place residents can
address general concerns about valuations of properties they do not own. Vision won’t speak to non-
property owners about specific property valuations. This board should hear those concerns and look
into/address them. Other topics she inquired about include:

How many corrections to properties have there been through the hearing process?

Will there be a reset of the exemption level and when?

What is the residential property shift?

Specific property valuation questions regarding specific parking lots

The following was transcribed from video by E. Vassar on March 15, 2024

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Laura talked about land. I’m concerned about a
comment made by Miss Kleiner. The issue of standing and who can speak to Vision about property is
such that you can only address your own property. So I feel it’s incorrect to say to Laura, “If you’ve got
questions on properties, you need to go to Vision. Oh, but if it’s not yours, they won’t talk to you and
you have no standing. There has to be a place where you can address general concerns about
assessments, or groups of properties, or values. And I think that concern does fall on this table. I think
you are the body that has to address that. You have the broad authority to do that. And I think you have
to address those land issues. I agree with Miss Calquhoun. Ya know, Vision came in and gave some
presentation, and I think they said land, on average, went up about 40%. What we didn’t hear from
them was what the standard deviation is. And I believe there’s a very high standard deviation on that
land. It’s all over the map. You can have one house, I have a house in my neighborhood, two houses
away, one piece of land is a hundred-thousand, the next one’s fifty. That’s a big difference, ya know, on
a street. Why that happened? It’s because they had to shift the value on the house? I don’t know. But
the land thing got, to me, a little screwed up, and I don’t fully understand it. I can’t address it with
Vision, either. But it’s a good question for you guys to address. You’re the people with the standing.

“I’d like to know why the property record cards are down. So we can only get these basic, unofficial
sheets, which were never formatted correctly and have been prone to errors. When the new preliminary
numbers came up, the property record cards went down. That never happened during KRT. So, it’s like,
a problem because you can’t get past data off the card, it’s just a real pain in the butt.

“We heard about the hearings and that there were roughly seventeen-hundred hearings done. So in
2018, there were twelve-hundred and fifty. So we are running maybe 50% higher. That’s good, that’s

                                                                                                       361

                                                                                         NPD-LO-4059
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 362 of 424



what I’d expect. It means people are asking questions. What I would like to know is how many
corrections have been made off of those. How many – am I correct that Vision is the one doing all the
inspections? Who’s doing the inspections? Are Nashua assessors doing the inspections and how many
corrections have they found and made? Now, I’ll be able to pull the sheets out for September and
October, the data from the AssessPro and see what corrections were put in, but it would be nice if I
didn’t have to do that, and you could tell me that. Cuz that’s what I’m interested in: what kind of
mistakes are they finding? I definitely believe there’s some, cuz I’ve definitely looked at some and talked
to people and said, “yeah, there’s a lot of inconsistency here, you should look at this.” And I was able to
talk to Vision when I went over to talk about a piece of property, but I wasn’t the owner, and they did
say to me they were looking into it, and they did say that, ya know, the model’s not perfect and mistakes
happen. It’s a model. That’s why they have the hearings, so you can go over and address them. And so
there are gonna be mistakes. And what are they seeing.

“I’m very concerned about the new exemption level that has to be addressed. And it’s not being
addressed. For hardship and disability. So we have an exemption level that is set. Has a new exemption
level been reset? And who does that? We freeze property record cards in a month. Are we just gonna
put the screws to senior citizens when exemption levels are like two-hunded and fifty-thousand but
their ranches just went up to four-hundred? They’re gonna eat that? That’s a lot of money for people on
hardship. And I don’t k now what the timing is to address that, but the fact that I’ve raised it repeatedly
and no one has said a word is what concerns me. It gives me pause and it raises concern. So I’d like to
know when you address that. I’ve had seniors ask me about it. I don’t have any information.

“Additionally, I’m concerned about residential property shift. The big issue here was the shift in tax
burden between the commercial and residential properties, because residential took off and soared,
and commercial properties had segments that actually lost value. Some went up a lot, like apartment
complexes. But the net increase was substantially lower than the net increase on residential properties.
There was no data provided for us for that. And I’ve asked Miss Kleiner to provide data or parse out
what the commercial and industrial land use codes are so that we can create it ourselves. But when we
create it ourselves, it can be prone to errors, and I would rather have the company speak to that. And I
think it’s something they should’ve disclosed, so we have idea: what’s the burden, what’s the shift.

“I sent you a piece of paper on the property at – what was my address – at 249-251 Main Street. And
the sale that you could see on March 31st, the day before you had to cut the sales off, is not a qualified
sale. For five twenty-five. But what concerns me on this property is it sold in 2011 for three-thirty as a
qualified sale - I have a hard time believing that it’s lost a lot of value -what surprises me in 2011 when it
sold, it was assessed, so – and Angelo was here – he took that property and he raised it from like two-
hundred to two-seventy-five. It sold for three-thirty. Eh. That’s a good assessment, I feel it’s a value
increase. But then when KRT came in, they dropped it to two-oh-three. It lost a lot of value. And now it
hasn’t come up at all. And I don’t know if it’s because of – ya know, there’s been a big investment in
Downtown. There’s been a lot of stuff going on to pull values up, to create the TIF districts, to put in, ya
know, businesses and entities that boost it. So I’m not certain why there isn’t that boost seen there, and
why it still doesn’t come to the level of what it was purchased at in 2011. And there may be a perfectly
good reason, but I don’t know why. And that’s the kind of vairiability (sic) that I see on some of this
commercial-industrial, and these lots or areas.



                                                                                                          362

                                                                                            NPD-LO-4060
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 363 of 424



“The other parking lot areas I wanna point out are two that are separated by only a quarter of a mile.
And it’s one on 50 High St. And I do not know if that’s the High Street Flat property. I cannot tell.
Because I cannot read the card to see the data. And I’ll go down to see if I can grab the file today. But it’s
50 High Street. And that parking lot is .37 acres, and the assessment moved from a hundred and three-
thousand to two-hundred and thirty-thousand. It’s just a parking lot. Then you go a quarter of a mile
away, you have the parking lot at 11-13 Park Street. So that is right behind like where the little bank is.
It’s a block up from Jean Shaheen’s office. You go on Court Street and you circle around Court Street,
and when Court Street comes down, that’s Park Street, that little piece that goes out to Main. There’s a
parking lot, a good-sized parking lot to the left. That parking lot is .33 acres; the other one was .37. That
parking lot assessment moved from a hundred and nineteen to one-twenty-three. Hardly moved at all.
So it’s flat. There’s no value increase. But a quarter of a mile away, the parking lot doubled. And I’m
curious as to why – how that gets determined. Ya know, it just strikes me as interesting.

“So I see that kind of variability and there’s no building, that’s just a land thing. And then you go down to
that parking lot on 249-251 Main Street, and that still hasn’t hit a value that it was purchased at in 2011.
It’s not even close to it.

“The only thing I wish had happened is that Vision had put out more of an explanation sheet to the
public. I mean, I did get a lot of comments, and that, “Why don’t we have something to look at that gives
us a feel for where our homes are relative to others. Mobile homes got smashed. I didn’t realize how
smashed mobile homes were. Because I did not hear in these presentations where Vision really
expressed that fully. But you have a lot of mobile homes that have gone up a hundred-twenty-five, a
hundred-fifty percent. Ya know, homes assess at fourty-three that are now a hundred and fourty. These
are major changes. And we did not prepare the public for that. I didn’t even know it was happening. So I
wish there had been something put out to assist people, and I wish there had been more information
even put out with the tax bill in June. You mail a tax bill, you’re putting a letter out, you’re paying te
postage, put one page in there that says, “Here’s what’s going on,” and, ya know, “these are the
properties that are gonna get hit, up your escrow, save some money… and people don’t understand
sales data. They really don’t, I’ve talked to many. They don’t understand market value well. So they sit
there, and so many of them say to me, “My property went up, ya know, two-hundred-thousand, that
can’t be right.” And I said, “It is, it’s right, look at the sales data. Start there.” “But I didn’t do anything to
my house!” “No one else did, either.” But people came and bought it, just like it was, for two-hundred-
thousand more! And you have to say that over and over again, it’s a message that has to have a cadence
that’s repeated over and over again. And people just don’t understand that.

“Ya know, I think overall it went pretty well, and I’m glad to hear the hearings are going well. I’m curious
to how much change is being – what changes they’re finding in there to correct. Cuz I tell you, some of
these are wrong. I know some of these properties are wrong. It hit me right in the face. Just cuz the
model made a mistake. Anyway, thank you very much.”



Planning and Economic Development Committee, September 20, 2022

https://www.youtube.com/watch?v=6lvD3Eoe4OE

1:16


                                                                                                              363

                                                                                                NPD-LO-4061
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 364 of 424



Laurie Ortolano “Laurie Ortolano 41, Berkeley Street. A couple of items. You're going to talk about the
Riverfront oh no the TIF project. I had an opportunity to attend that meeting on August 31st with the
advisory board. John Vancour from Hayner/Swanson came in and gave a presentation. I thought he was
excellent. The guy was very knowledge based. He was a very quick speaker so it was hard to capture
everything. He brought up some interesting points I thought. They called in the DES immediately when
they began their project because they wanted to make certain that they were doing it correct because
they were dealing with a body of water. The DES ended up having concerns about the Renaissance Park
that Park de la Renaissance as well as the screening that was going in at the Eversource facility. I think
that's an interesting thing to note because we know we didn't involve the DES in some of our other
projects to look at things before we got going and it ended up being a problem.

“The other thing he mentioned is that the contracting company hired to provide overall contract
management services has backed out of the deal and they can't do it. I didn't get the initials. It was BHB
or VHB. He spoke so fast I couldn't understand it. So they're going to stay on and continue to do the
permitting process and the structural design elements because those two tasks were too hard to
complete and change with a new individual.

“I want to address the minutes for that meeting really were done. Nobody took minutes in the meeting
when it was happening. There was no recorder of any sort happening. It wasn't tape recorded and it
wasn't being written down. I happened to type this in my computer because I just was sitting there and I
wanted to try and understand what was going on. I think that's a compliance issue when we don't do
that. When the meeting minutes were finally released, I really do have issue with them because it didn't
note that we didn't have - that the contract manager was backing out or that the DES had come in and
had concerns and what they specifically were.

“I attended the special meeting of Public Works on August 13 or 16 where a presentation on this
Riverfront Project was given. So what they've decided to do is remove the park from the project. John
Vancor requested it be removed so it wouldn't hold back on the permitting process. But that really
wasn't conveyed to the Public Works. I think those are important issues to convey to the Public Works
because when you go to them and you share a project, their goal is to think about what they need to
support that project be it manpower, resources, taking care of a park. If it's not going to be there
anymore, I think we should tell them. So tonight I'm hoping to find out when we were aware that DES
had issues and the park needed to come out of the plans and the plans needed to be reworked. Also
after this meeting on the 31st, Eversource and DES were going to get together within a couple of weeks
and discuss the screening issue and I'm wondering if tonight there's any kind of update on that. So I
think that would be good. Do I have to I have a little bit of time left?”

Chairman Moran “43 seconds.”

Laurie Ortolano “Okay. So regarding - and the other thing you have going on here is fees for outdoor
dining. I don't know how many of you looked at outdoor dining this year how actively utilized it was. We
had a group that went and collected data for May and June. I would say May was a complete bust. June
it picked up a little more. We’re in the end of it. I don't remember the close date. Is it after Columbus
Day? I'm thinking it's after Columbus Day so we probably got another three and a half weeks and it
closes is what I'm thinking but we're into fall for sure and shorter days. I feel as though those outdoor
barriers…”


                                                                                                       364

                                                                                         NPD-LO-4062
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 365 of 424



Alderman Thibeault “Time.”

1:14:35

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. The red line document that you requested a copy
of for this Board, could I also get a copy of that as well which looks at what was came out of the project?
I want to tell you that I'm not really supportive of the Riverfront Project anymore at this time because
when we costed that and had the public hearing, you passed the $20 million bond to do a certain
amount of work. Now you've got to remove maybe 40% of the work because the cost of everything has
gone up. Nobody has addressed the fact that that's not what the taxpayers were sold. I go to buy a
house that's 2,000 square feet and I think I'm going to pay $400,000 and then all of a sudden, you know,
3 or 4 months later, I go to look at the same house and for $400,000 I gotta get 1,000 square feet. I may
rethink and say you know what I'm not doing that. I'm not doing it. I'm not making that investment to
spend that money. But the City never thinks that way and I think it's not appropriate. I think those red
line changes should be out in the public and seen. What are we getting for our money now? And I think
that with the bonding rates, I don't know if the bonds have been sold for this project. There's been no
bond update but if they haven't, your interest rates are pushing up a good bit and that's a question.

“I'm also very concerned when I heard John speak to the fact that the City will serve as the coordinator
between HL Turner and the other company because the project manager backed out. Who will that
person be? Because you know I have major concerns with the Economic Development office taking on
more projects. It's just not right. They're overworked to begin with and a staff of two people. They have
20-25 projects to manage now and the records aren't being maintained properly. So for that reason, I
don't support this anymore. That's a different beast now completely and it's going to cost the taxpayers
a lot more money not only on the bond for what we get but for the work we have to do internally.

“The survey that we hired an intern that I believe worked with the Economic Development office that
was collecting information this summer on the barriers as part of like an internship. Could we get that
data? Let's see what that data shows.

“I really think you do have to come up with a fee schedule. I don't support the idea that we charge
nothing. I think when we sold this last year, I think Ben expressed it well. We sort of sold it to the public
that we weren't…”

Alderman Thibeault “30 seconds.”

Laurie Ortolano “…going to give it away for free. I think we have to commit to that, and I think you have
to work with the people, and I think some of these smaller businesses won't go for it because their
tables really aren't being used. Remember, we're not saying you get no outdoor dining. They still have
outdoor dining but just less tables. I think the smaller places will use those. We know there's five or six
bigger places that really use the space. The rest of them from my standpoint dinner or lunch, don't and I
go down there every day.”

Alderman Thibeault “Time.”

Laurie Ortolano “Thank you.”




                                                                                                          365

                                                                                            NPD-LO-4063
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 366 of 424



Budget Review Committee, September 26, 2022

https://www.youtube.com/watch?v=Y4Qoti4ye1E

1:39

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I just wanted to address the use of the surplus
money for the fund balance to reduce the tax rate. I wanted to know if somebody tonight could go over
what that savings means. I’m trying to look at it as a citizen, so my thinking was a million dollars
constitutes about a third of a percent of the appropriations budget because the appropriations budget
was I think $303 million. So a million dollars is a third of a percent. If I apply that third of a percent to the
tax rate, I can’t apply it to the 2320. I think I have to look at it at the reduced rate which I’m thinking
would come around $18.00. That would amount to $.6 per million. So I’m trying to see is it correct for a
million would drop the tax rate about $.24 or what would that number be and can someone help me
with the math just to understand what the change is for a million dollars? Thank you.”

1:02:58

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I want to thank the Board, Mr. Griffin, and the
Mayor for explaining a little more about what that $1 million means per tax rate, the portends. That’s
great. I had a pretty good understanding of it.

“I want to make you aware of something though and I think it’s really important. When we dropped the
tax rate in 2018 and KRT came in, we saw properties grow about 20 - 23% and our tax rate came down
about 20% which means the average growth on a home saw essentially, if you fall into that average, no
increase on your tax rate. However, now this year the average home has grown 40% or just over. The tax
rate is coming down 21 so we’re asking property owners to eat the other 20%. So a ranch when KRT
came in in 2013 it was about 225. In 2018, it was 265. This year in 2022, it’s 380. So a ranch last year had
a tax bill if you did the 23 - 22 at the start of the tax bill, 6150 was the tax bill. This year when they up
with the 18.30, it’s going to be $7000. It’s going up $850. That is significant.

“I don’t think you realize that the number of people that fall at a 20% or lower increase on their
property is a small number, and that the vast majority of property owners are going to see an increase,
and the vast majority are going to see a big one like the condos, the mobile homes, the small capes, and
ranches. Mobile homes some of them tripled. So a mobile home bill that was a $50,000 mobile home
last year was $1,044 or this year right now is $1,044. It’s going to get recalculated to $2,760. That’s
enormous. So I appreciate you looking for the other $2.5 million but we know that that was worth
about…”

Chairman O’Brien “One minute.”

Laurie Ortolano “...18 cents. The tax rate to cover the 40% increase that we saw in properties would
have to go down to about 13.95. We’re at 18.30. We’re not even close. So we’re asking citizens to soak
up an awful lot when gas, when heat, when food, and all this went up. I think it’s going to be brutal. So I
think you have to be careful at your board table on what you’re voting for. That’s why I’m very careful
about this bonding on new projects and the spending. I’ve been very, very concerned about that
because now that I see these numbers, this is a lot of money. Thank you.”



                                                                                                             366

                                                                                              NPD-LO-4064
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 367 of 424



Board of Aldermen Tuesday, September 27, 2022

https://www.youtube.com/watch?v=R4DScBcP_tc

18:01

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I want to address R-22-062 Establishing the Fund
Balance for Reducing the Tax Rate. I went to the Budget meeting last night and had a chance to hear
about this. I would hope that this receives full support from the Board. It will help lower the tax rate
about .29 cents and I want to talk to you about how high our tax rate is and how important it is to take
this reduction and consider trying to do more this year as you build your budget and you look at your
spending. Our tax rate is a good bit higher than I thought it would be. Our homes went up about 40%
maybe a little bit higher on average. Our tax rate is coming down about 20 - 21% so we’re asking many
property owners, residential property owners to pick up the tab with property tax increases. It’s going to
be pretty significant. I looked last night and the average ranch in 2018 was $265,000 when KRT came
through and at this rate currently $23.22 that’s about a $6,100 tax bill. If you look at the average ranch
now, that same ranch is $380,000 and you multiple it by a tax rate of $18.30, the Mayor thought it
would fall between $18.30 and $18.50, you’re at about $7,000. You’re going up $850-$900. That’s a lot
of money on a 900 square foot ranch and I can tell you I look at my neighborhood where they had to
address the depreciation issue in the older neighborhoods that wasn’t quite right and there are some
small homes going up almost $2,000. There’s a street with 8 houses on it that’s all over the map. So
we’re going to see a lot of hardship. I think this .29 cents is far too little. I think that you’re going to be
addressing a new business, a whole lot of bonding…”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “…for $32 or $34 million and I think this Board ought to think long and hard about how
much money you’re going to continue to spend on this City.

“I’d like to address Alderman O’Brien because I know you’ve done a lot of work up at the State with the
pension fund but I think you’re not doing enough work down here to vote no on things because you
can’t change what’s up there at the State with 500 people and you can’t count on it. So I think your fiscal
conservative is missing down here in Nashua. Thank you.”

43:23

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Alderman Lopez you made some comment tonight
about this unfortunate reevaluation that we had to do that had unintended consequences. I don’t know
what you were referring to because it was rather coded but I think it had to do with the fact that some
people addressed issues in the Assessing Office, namely me in 2018, and it opened up this view to get a
measure and list done. This was something that Attorney Bolton and Mayor Donchess got behind
because we hadn’t done a measure and list in 30 years. If you recall when the measure and list came
forward, I actually said don’t do it. I was opposed to that in spending that amount of money on a
measure and list not believing that we’d get into that many homes and not believing we would resolve
the issues which were really more interoffice regarding staffing and process. I wanted to see that
improved before we went on the outside.




                                                                                                           367

                                                                                             NPD-LO-4065
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 368 of 424



“We got our new numbers from Vision. They did not provide any type of report for citizens like KRT did
to inform us on what the general overall increase was, where the categories fell, we got nothing. We
were then told that there was a shift between commercial and residential. There was no report done on
that. I’d like to know what that shift is because right now the average home went up about 40%. Tax
rate is coming down about 20%. That wasn’t a 20% differential. There is other stuff going on there. We
also had a concern with how depreciation was being applied and we were going to rework that and how
we built condition on the home. We undertook that process. What was the result of that? We don’t
know. Was it effective? Was paying the $1.3 million effective in fixing that problem? We have no idea.
I’d be the first one to advocate not to do it again if it didn’t work. I don’t want to see money wasted like
that. Just go back to an update for half a million dollars. So I think you’re being very narrow-minded and
you’re uninformed about what we were really looking to do here and the fact that you as a Board don’t
have…”

Donna Graham, Legislative Affairs Manager “1 minute.”

Laurie Ortolano “…answers on what the outcome really is. You don’t know.

“So I also think that I’m very concerned when I hear Director Cummings is taking over for Miss Kleiner. I
have a major concern with that because I view him as a major violator of open records laws. This guy is
not good at that and he runs wild. He does it his own way. Beg for forgiveness afterwards I suppose but
this guy isn’t a people person and I don’t think he’s a people person for inside here.”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “I think you’ve got to start looking for people who are more aligned with what needs to
be done for this City and have more skill-level. You didn’t address what’s going to happen to Economic
Development when he moves over? Is he wearing all the hats? Maybe thirteen departments for one
person isn’t the right thing but I think that’s a disaster pick and I know that is going to be a nightmare for
people like me and other citizens but I think it’s going to be a nightmare for people inside this City Hall.
Thank you.”



Board of Aldermen Tuesday, October 4, 2022

https://www.youtube.com/watch?v=ZG2GmlI1kXo

1:26:08

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I have some questions about this - a few. The
escrow money that's being transferred or be appropriated is that all 2022 money or some of that from
the first quarter of 2023? Does anyone know?”

Chairman Dowd “Mayor do you want to address that or?”

Mayor Donchess “It’s all ‘22.”

Laurie Ortolano “It’s all 22. And so do we know how the first quarter has shaken out for spending or
expenditures and what we're running on there because a large part of this escrow money that builds up
is positions that go unfilled. So if I listened to correctly, it's, you know, revenues that exceed

                                                                                                          368

                                                                                            NPD-LO-4066
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 369 of 424



expectations or anticipation and appropriations that remain unspent. We have, you know, a good
number of appropriations that have remained unspent for the first quarter of 2023. So there's quite a
bit of money there as well.

“Regarding the Emergency Management position and establishing that. When we lost our Emergency
Management person, it seemed like there was some controversy about that position or some difficulties
when that person went out, concerns about how the office was being run. Did we resolve those issues
to establish this position and bring somebody in who's going to be successful? Or has the position been
redefined? Okay, maybe that's for a later day. What about - I'm concerned about pre loading the CERF
fund? We plan for capital equipment reserve fund. We have money in there. We're spending it down as
Mr. Griffin told us but this $3 million that you're transferring over is allowing you to preload for next
year for 2024. Not interested in pre-loading given where the tax rate is. I think you just ride that
through, do your deal in 2024, and shift some of this money back to the taxpayers. You know, Miss
Colquhoun mentioned that the average home is going up $910. That was 1,750 residential properties
that are essentially the single families up to four families. Only 478 of those saw a return…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “...I didn't think timing worked because you could ask questions. Is that true or can I
come back up for questions?”

Chairman Dowd “It's not the three minutes for a public hearing. No.”

Alderman O’Brien “Oh, excuse me. That saves me with a timer.”

Laurie Ortolano “Thank you. And so only 478 went down or see a flat rate and 3500 of those are going to
see an increase of over $1,200. The manufactured homes, of which we have 870 units, their average
increase is $700 bucks and 230 of those homes are going up almost a grand. That's a big, big shift. The
increase alone isn't the problem. The problem is for people who carry escrow accounts on their
mortgages because what happens is the bank anticipates that that $1,000 increase is really going to
happen next year. They forced the property owner to pay an estimated $2,000, $1,000 increase divided
over 12 months. So all of a sudden you get your bill in December and it says your escrow short $1,000
and oh by the way as you pay your mortgage this month, your escrow has been recalculated and you
owe an extra $175 bucks per month starting now. So they get a double hit. Unless you're able to PMI or
buy out of that program where you put enough money down, you get hit it that and it’s expensive. I'll
tell you it's very hard to negotiate with the mortgage companies to say no, no, no, this is a one-time
thing don't double me up. They won't listen to that. They make you pay.

“I'm a little bit concerned about - I'm very supportive of the air quality issues but if there is ARPA funds
available for that, I'd look at shifting some of the money for what's going on with improvements and do
that air filtration system that they have very high regard for. I think you could make a big difference in
just the health of the students and that's important. I think the Your Voice, Your Choice program the
way it was pitched has a big benefit for a relatively low cost to the community.

“I'm really concerned about all of this. I want to speak to the Police Department. You know, I'm very
supportive of the Police Department but I'm not certain I support these two positions and I'll tell you
why. Simply because they're down 13 positions and the reality of the department is they struggle to fill
their positions. They don't reach that 179 officers often and it's a fleeting moment. They're struggling to

                                                                                                          369

                                                                                           NPD-LO-4067
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 370 of 424



fill the positions. So if they're down 13 and they're struggling to fill the positions but they want to add
two more, I'm just not certain it makes sense. I really did listen to the Chief and the concerns about the
growth of the city with all of the high rise units going up - Bronstein apartments, High Street flats, your
new shelters opening, your development over at Henry Hanger. All of those things have an impact on
the police. Even establishing the riverfront walkway. I understand that but I think part of our
responsibility and the responsibility of this Board is to make certain you're doing your growth such that
your Police Department can keep up with it. I don't think we've done that. I don't think they're going to
be able to keep up with what you've done here. It's not just the numbers game of Manchester having
267 officers and Nashua having 179. If you just look at the math of it based on size, Manchester is about
20% bigger. That would say, you know equality being that it is, we should have Manchester would have
232 to our 179 but they have 267. They’re another 30 officers higher. But a lot of that depends on the
type of events, the city, the density downtown, the number of large gatherings they hold, their high
rises, their apartments, their buildings of need, their income levels, all of that plays a role in those
officers, and that officer count. I think we have to look at that a little more carefully.

“I do support the equipment requests. I understand the needs for those but I am concerned about
positions and I'm concerned about these decisions that the city makes to grow, go, go, go, bond, bond,
bond, and police and fire good luck chasing and keeping up with us. Because when places aren't safe,
people change their tune about coming downtown and walking the riverfront and other areas. Thank
you.”



BUDGET REVIEW COMMITTEE OCTOBER 4, 2022

https://www.youtube.com/watch?v=CVrVXkR9prg

2:28

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I'm not certain how if I'm looking at this correctly
the $4 million of surplus that's used to take the tax rate down. On top of that, we have this $7.5 million
that's being spent and of course, some of its apportioned and saved to meet our obligation under our
legislation to maintain 10% and a balance. I think the shift here - the money that's being allocated for
the tax rate reduction is simply too small. 7.5 going to projects and $4 million to reduce the tax rate is
just a wrong way. Perhaps it should have been $9 million to reduce the tax rate and a small amount left
to do some of these projects because I think there's a real need to do that here and now. I don't know if
we've ever done a tax rate, you know, reduction on that magnitude but these are extraordinary times
where we're seeing quite a shift and largely produced by the fact or the result of not having done a
measuring listed many years, having depreciation not calculated correctly within the properties, having
commercial properties not rise at the same rate as residential, and having a high inflationary rate.
There's a lot of factors here that lead to this as well as a lot of spending.

“I'm also a proponent of not worrying about the AAA bonds from the two companies. I think we're
weighing that too heavily and nobody's been able to provide a specific data on what happens when you
go to a AA bond that the other municipalities have. I for one think that if your bond weight rating came
down with an A, that maybe that would keep you from bending so much money bonding if you had to
pay a little more for it because we bond like the dickens. There's $35 million of bonds on the next


                                                                                                       370

                                                                                          NPD-LO-4068
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 371 of 424



October 13th public hearings for us to vote on and those are all higher level bonds. So, you know, I'd like
to get specific information without having to Right-to-Know on what happens when the bond rate
changes to AA. I know that in the meetings that wasn't answered by leadership and I think it’s worth
having answers on that. Thank you.”

1:12:43

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple things. I think this administration owe
this Board some better numbers on what averages were. Alderman Jette asked some good questions
and, you know, it was said by the administration we don't really look at averages. We look at individual
ones. Vision runs all these numbers based on means and medians. It's all averages or midpoints
separated by top and bottom. That's how the numbers are run.

“Now I look at a little street next to Manchester Street over in the north end that has 11 homes on it
mixed with some 60s, 80s, and a couple conventionals. Their assessments before Vision came in 266,
233, 182,000, 199,000, 211,000, 383,000, 270,000. That's the range. Now Vision’s come in and set the
numbers. These 11 properties have gone up or down by this amount - $1,000, $860, $430. One home is
down 111. Only one dropped. $1,150, $800, $1,800, $1,500, $1,700, $1,300, and $700 for an average for
those 11 homes of $1,012. That's a big increase and you should be able to know that right now because
your administration gave you enough information to know that. To have you sit in this meeting and say,
I don't know if this is really true, is what they're saying true, somebody should be able to confirm that. I
don't come up here to paint lies but it's so simple. This is simple math.

“Regarding the barriers and the $75,000, I'm glad it was asked. I am deeply disturbed that Director
Cummings has now taken the position that he didn't get any data this year. They didn't do it. The answer
to him and your question on are we gonna come back with a report? There is no report because he took
that ordinance that was approved for three years and his statements last year that he do the data, he
threw it in the trash and didn't do it. Michael Buckley said I want you to get data. Enough citizens came
out and wanted data. Go gather it. They didn't do it. So I gathered data. They don't have any and the
belief that we've approved it for three years and therefore it can't change, you can resend it. I think it
should be revisited and you got no data. You got Alderman Dowd saying, oh is wildly popular. Yes certain
days it was busy. He was very underutilized. People actually don't have money to go out.”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “I don't know if you've noticed that. People don't have $100, $150 to spend on a night
out for dinner anymore right now. They just don't have it. So, you know, I think that this Board was not
given the information it should have been given and I think you are missing what's going on here. This
spending - your Assessing office the budget in there, what a ridiculous budget. Makes no sense at all. It
wasn't frugal. It doesn’t even make sense.”



Board of Aldermen was held Tuesday, October 11, 2022

https://www.youtube.com/watch?v=EL-lvGKCqdI

23:23


                                                                                                        371

                                                                                          NPD-LO-4069
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 372 of 424



Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I am speaking in opposition to spending the $7.5
million of escrow for unlike requests. I have handed out a graph that takes a look at our spending over 5
years with regard to escrow and I’m going just hold this up for everyone. It shows from 2018 to 2022,
which of course the Resolution applies a year after for the escrow money. In ‘18, ’19, and ’20, we put
$4.5 million back to the tax payers to reduce the tax rate. In ‘21 and ’22, we reduced that to $4 million.
On the flip side, the escrow money that’s being returned for unlike requests has gone up substantially -
more than doubling. We were at $2.5 million for 2019 escrows and now we’re at $7.5 million. You can
see the total money that is not being spent is up to $11.3 million in 2018. When we were looking at 2019
escrows, it was $6.5 million. This to me does not show good budgeting or good accounting. This is a
trend that shows that we are really growing the amount of the extra money that we have and we are
willing to take more of the taxpayer dollars and spend it down on items we want rather than return it to
the taxpayers and I think that’s wrong.

“I also have a big concern with positions being included in this escrow money because positions are
recurring matters. Year over year, we have to pay for them. They’re not single expenses. We have an E-
Code Section 5130 appropriation accounts and loans to cities. This is page 2 of the document I gave you
and there are three sections - d, f, and g.”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “I’m particularly concerned with g - municipal agencies in accordance with policies and
procedures which may be established by the Financial Services Division may escrow unexpended
appropriations only to provide for payment of charges which will come due following the end of the
fiscal year for goods, equipment, or services contemplated by the original appropriation in which do not
constitute general ongoing ordinary expenditures of the agency. To me, salaried positions are general,
ongoing…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…expenditures and my question is are we violating this E-Code Section 5130 in doing
this with positions? Strongly opposed to positions. I think they need to be vetted differently. I don’t
think this Emergency Management person has been out for a long time and in the budget process, we
did not discuss the need for this. Thank you very much.”

1:27:47

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I want to thank the Board for taking the time to
think a little more about the appropriations that are going to be spent. I want to thank Alderman
Sullivan for putting in the time to try to come up with a plan to offer more relief to the taxpayers. It’s
easy to be critical of what you offered but you were the one who brought forth the plan and that’s
appreciated I think by many of us.

“I would like to address Ernie Jette because I feel - I’m very appreciative that you asked Attorney Bolton
for an explanation regarding that Ordinance on appropriation accounts and loans to the City. When I
bring this forward to you and I ask this, it’s not to present terrible information as Alderman Moran
indicated. You know we have to get rid of this terrible misinformation out there. I’m really trying to
understand it. I do this kind of research to understand it. As a citizen, I don’t have the right to ask
questions to anyone to get an answer within the City because it’s not a Right-to-Know request. So if I

                                                                                                         372

                                                                                           NPD-LO-4070
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 373 of 424



don’t come through you and somebody here doesn’t ask it, I don’t know and the citizens don’t know. So
kudos to you for at least allowing it to be clarified and for me to have the opportunity to learn.

“I would like to ask Alderman Moran to be a little more patient with those of us who don’t know and we
simply want to learn by what these codes say and to understand what can be done and what is
supposed to be done. I still am not in favor of positions, ongoing payable positions being part of an
escrow account. That’s one-half percent of your budget next year is now being appropriated this year.
The $7.5 million represents an additional two and a half percent of your spending which setting a
budget by the Mayor to say this is what we’re going to keep it at a percent and a half or two and now
you roll it and you put two and a half percent more in. That’s a different budget now and we’re paying
for that by not giving back…”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “…on the tax rate. So I’m not trying to be difficult but I hear plenty about what people
are spending too. I do a lot with assessments and get a lot of calls for help. So I appreciate what’s going
on out there and I think citizens are looking for relief. So I’ll be at the hearing on Thursday night and I
hope you have a bond table available for the public. We get a review of all our bonds that are coming
due, what’s coming off the table…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…since we’re about to add another $32 million or so in bond debt to the City. I’d like to
understand that in some detail and I’m hoping at this hearing when I ask questions that I’ll get the
courtesy of some answers. Thank you.”



PLANNING AND ECONOMIC DEVELOPMENT COMMITTEE OCTOBER 12, 2022

https://www.youtube.com/watch?v=MrY1KqzNlOM

1:56:49

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. The presentations tonight were excellent, really
well done. I enjoyed listening to them.

“I’d like to address Alderman Moran. Your comments at last evening’s meeting and your leadership
what you showed in that Chamber in responding to the public. I think I presented an email that much
upset you and it caused a very strong reaction that I was doing something that was very misleading to
the public. When I presented this email, I specifically stated as I watched the video today that I wanted
your comments on is this true? Alderman Jette was very helpful in that he asked our Attorney what his
professional opinion was and he provided that opinion without any negativity from me on that opinion
being provided. It’s exactly what I wanted. When the comments came at the end, you made it very clear
that I presented a lie. Really I presented information from a former Alderman whose name I actually x-
off because I didn’t want to put their name out there. It had my name on it so it came to me. I passed it
to you folks to say is this true? It was a lie and you said, “I’m going to push back on this information
every time. It always gets me right in the funny bone about silver spoon millionaires coming in here and
acting like they are the crown jewel of the working class pushing off information we don’t to be true

                                                                                                        373

                                                                                           NPD-LO-4071
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 374 of 424



until we ask legal counsel.” Then you went on a diatribe about Governor Sununu. Then you said, “This
chamber is represented by the middle class. We represent the City. Everyone knows that. You can go to
my Facebook page. Millionaires who were born with silver spoons in their mouths who don’t earn crap
have no respect from me.” Very harsh.

“Now honestly you made yourself out to be the champion of the…”

Alderman Thibeault “One minute.”

Laurie Ortolano “…proletarian class but I don’t think you really are because you can afford my much
than I could at your age. Your children go to private Catholic School at St. Chris. You signed and
auctioned off and paid $3,400 for your kid to be Principal for the day. I couldn’t afford that in my 30’s. I
didn’t have that money. Now my husband and I give a great deal of money to that Church because we
can afford it. But we did not have those opportunities.”

Alderman Thibeault “30 seconds.”

“You sent a very strong message last night about who can come to this Chamber and speak and I heard
some comments today. If you’re poor, you don’t belong in here. If Melbourne Moran thinks you’re a
millionaire or whatever definition he has, don’t come (inaudible) to share input. You’re not welcome.
You made a judgement that was horrendous and you are a very poor example to your own children.
Thank you.”

Chairman Moran “I have no idea if that member of the public is a millionaire or not. I was very upset
about millionaires who make poor decisions who are policymakers in this State that shift down to cost.”

Laurie Ortolano “That’s not what you said.”

Chairman Moran “I will say that let the record show that a member of the public who refused to
apologize to children for the use of the “c” word on public television is upset with me because I don’t
like millionaires too much. And by the well, I’m doing well for myself. I have an issue with silver spoon
millionaires, not millionaires who work their way up.”

Laurie Ortolano “That’s what you referred to me as and I tried to…”

Chairman Moran “I have no idea what your income is. You’re not a policy maker. Why do I care?”

Alderman O’Brien “Mr. Chairman point of order. I offer this point of order for advice. I think the public
had their opportunity to speak. Short of that with your rebuttal and the public’s rebuttal, then it gets
into a debate. I would recommend, personally recommend that this is a meeting not so much as debate
format.”

Chairman Moran “It is true Alderman O’Brien. You are correct.”

Alderman O’Brien “So I would just say as a point within the traditions of our chamber, best to leave it at
this particular time and let’s carry on.”

Chairman Moran “Yes. Comments by Alderman. Alderman Thibeault?”




                                                                                                         374

                                                                                            NPD-LO-4072
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 375 of 424



2:04:46

Alderman Thibeault (from Remarks by the Aldermen) “One thing I didn’t see coming up last night was no
one on any of their bingo cards said can we take away the $300,000 for lawsuits in the City. If we
stopped having frivolous lawsuits, we would not have to add $300,000 to the escrow but nobody had
that. Nobody put that down last night.”

Laurie Ortolano (From her seat) “Because they’re not frivolous.”

Alderman Thibeault “Call me what you want. The City will know. So nobody put that out there.
Alderman Sullivan didn’t. None of us did. I was thinking it. Why do we need to spend so much money on
legal fees for no reason?”

Chairman Moran “Can we have it quiet please in the Chamber? Thank you.”

Alderman Thibeault “We talked about decorum, we talked about respect. She comes here. There’s
never any respect for us but we have to be respectful to her and I have been. I haven’t said any names
tonight. Alderman Moran hasn’t said any names tonight.”

Laurie Ortolano “Unusual night.”

Chairman Moran “Please quiet in the chamber Miss.”



Board of Aldermen Special Meeting was held Thursday, October 13, 2022

https://www.youtube.com/watch?v=w8_C42tJWJY

5:29

Laurie Ortolano “Laurie Ortolano, 41Berkeley Street. I just have a question about this. It is on the CERF
account which was one question I had. So it was budgeted in CERF. It’s a 12 year schedule to replace the
pumper truck. So we’re doing it on the 12 years. I’m just wondering if the life of the equipment has truly
expired the truck at 12 years. Is there any opportunity to get 13 or 14 years? I’m only asking that
because it’s a tough time right now. We all heard the economic news that came out today and
everything being what it is, equipment doesn’t necessarily just completely fall apart on 12 years but of
course you’d have to look at what investment you’re putting into that equipment for repair. So I guess
I’d like to understand if there’s a possibility to keep it going, has it been through a lot of maintenance
such that it’s not worth it given what we’ve done, or could we extract a little more life out of it because
of what’s happening here? Thank you.”

Chairman Dowd “Anyone else Testimony in Favor?”

Laurie Ortolano “Well is somebody going to actually answer that?”

19:51

Laurie Ortolano “I just have a quick question because I was listening. This was not in the CERF fund
account was it or was it? Because it’s GPS equipment, and the type of equipment, it was it wasn’t put in



                                                                                                       375

                                                                                          NPD-LO-4073
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 376 of 424



CERF. So it’s going to be a bond for this year. When would something like this be bonded? When can you
use it?”

Jeff LaFleur, Superintendent Solid Waste “I would anticipate buying it immediately as soon as I get the
money available. I’d be buying it and putting it on our equipment immediately.”

Laurie Ortolano “Okay so you would want to get this equipment. When would the bond be sold and
what would the impact on the budget be this year bonding this right now? I’m just curious, what’s the
payment?”

(Laurie Ortolano “Just wondering. The handouts that you have, are there any extra copies for the
public?”)

38:21

Laurie Ortolano “Laurie Ortolano, 41Berkeley Street. I’m speaking in opposition but I have some
questions. I’m speaking in opposition largely off of the comment in favor - the comments by the prior
public speaker so with a little different slant.

“What portion $16 million or so of ESSER money is coming our way? An additional $16 million to bond. If
I heard correctly, we’re doing these HVAC upgrades but the HVAC upgrades which can be covered by
ESSER are only part of what’s needed because we’ve got to do some building modifications with doors,
and closing off spaces which would affect your HVAC system as well. Is that true?”

Shawn Smith, Plant Operations Director, Nashua School District “That’s true.”

Laurie Ortolano “Okay. You’ve got to balance your HVAC system so to do the balancing, you have to
have your spaces defined as open or closed to balance the system. I get that.

“Now what percentage of the money - how much does the HVAC cost and how much do the other
renovations that sort of go hand-in-hand with the actual HVAC work cost? Is it 16 and 16 is it pretty
even?”

Shawn Smith, Plant Operations Director, Nashua School District “I didn’t bring that information with me.
I can get that to you at a later date. I would say that we, again, we just got the schematic drawings. The
energy efficient (inaudible) who is our engineering company is working on the HVAC system. They’re
hoping to wrap that up in the next week or so. There’s two different processes. They have to go to the
State for approval and then we have this bonded approach. Between the two of them once their process
is done, then I can give you an answer of how much goes to HVAC, how much goes toward walls, how
much is going to electrical. If you’re familiar with construction, there are things called “divisions” so all
those things I can get those answers probably hopefully in a few weeks.”

Laurie Ortolano “Okay so um are we required to spend all of the ESSER money given for 2023 in 2023 or
can some of it be carried over to next year?”

Shawn Smith, Plant Operations Director, Nashua School District “It has to be spent by September of
2024.”

Laurie Ortolano “Okay and did I read correctly that there is a little more ESSER money coming in 2024 -
$3 million or something?”

                                                                                                         376

                                                                                           NPD-LO-4074
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 377 of 424



Chairman Dowd “I’m seeing a “no” from Mr. Donovan.”

Laurie Ortolano “No. Okay so this is the end of it. Is there any future ESSER - this is all COVID related, so
is this the end of ESSER money? This is like the end of it. Okay which I’m okay with just because I’m okay
with being done with that phase of life.

“You know I think that I’d like to see personally one school done instead of two because we have a lot of
expenditures going on here. We’re asking citizens to cover a lot of costs and was this bond something
we anticipated in our budget spending this year? Was this built into our 2023 budget?”

Chairman Dowd “Mr. Griffin?”

John Griffin, CFO/Treasurer/Tax Collector “This actually was not in our bond plan. This was a situation
where the ESSER funds materialized and Alderman Dowd talked to the Mayor and I and we decided if
they had been on the CIC for a while, it probably made sense to do them both with the ESSER funds and
do it well. So as part of my discussion after this, I want to answer that immediate question but I want to
go through the process of bond sale planning, and bonding, and approvals by the Aldermen, and how
they happen, tie in with the CIC all of that stuff. So if you give me a little bit of time, I will do that but I
wanted to answer that instant question. As Treasurer Fredette always told us, the bond plan is a living
document. It’s not as what we’re going to do today, damn the torpedo’s full speed ahead. It’s literally
moving, priority changing, etc. and this is a classic case. Thank you.”

Chairman Dowd “So the other thing is we’re doing two schools at the same time, same companies, and
if we only did one school, we’d be spending less money now but we’d be more than doubling and maybe
tripling the cost of doing the other school later.”

Laurie Ortolano “You can say that about everything Alderman Dowd. The truth of the matter is we have
limited amounts of money. We just heard that it really wasn’t planned. An opportunity came up with
this ESSER money – terrific but the rest of it, the $16 million, wasn’t planned. Yesterday I attended a
meeting and we’re saying these schools are 30 years old and really need renovating. Yesterday I
attended a meeting, we talked about our 45 year old fire station and the immediate need to address
that and I agree. Some of you were very passionate that that needs to be a priority. Forty-five years and
it’s a public safety issue. I agree but you’ve got to start carving out some of this money that you’re just
laying down as opportunity at the door to make taxpayers pay and then roll in with the fire station got
to be done too.

“All I’m saying is I don’t envy your job. I really don’t because I think everything that gets presented to
you gets presented as a legitimate need. It’s true. People aren’t coming up here asking City workers just
to waste money willy nilly and they do have to think about it but a lot gets thrown on you. You have to
have a plan that thinks I think you have to think a little more broadly. I’m really concerned about the fact
that the RFP just went out and we really don’t have pricing. These are tough times when it comes to
costing projects given the inflation rate and what’s going on. I know in the past, I just found a set of
minutes from 2019 where you said historically you’re on the record, we never spend our contingency
money. We just roll it back in. I think we’re starting to spend our contingency money now on projects
because of this inflationary rate. Thank God we have it. We’re using it. That’s a sign of the times. So I’m
just concerned because today’s numbers that came out on the news regarding inflation and what’s
happening with citizens and taxpayers buying food and stuff is bleak. I got a call from my son who’s a 20


                                                                                                             377

                                                                                              NPD-LO-4075
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 378 of 424



something year old kid who has to eat a gluten-free diet. He said mom I went to the market and just got
a basket of food. Now he makes a decent income but not - he has a house and a mortgage. I bought
eleven items of my gluten-free food and it was $104.00. He said Molly and I aren’t going out to eat
anymore at all. We cannot afford it. That’s real. So I’m just trying to think about that. I know you say it’s
a good deal, it’s a good deal. I agree. I love a good deal too but I’m just asking for some balance and
prudence.”

Chairman Dowd “Yeah the more important question would be which school would you select and which
students would be left with less security and less good air including staff?”

Laurie Ortolano “That’s your decision and that’s not the way…”

Chairman Dowd “Our decision is to do both schools and get it at 50% of the cost.”

Laurie Ortolano “It’s really a very…let me bring this on too. You’re talking about facilities - the needs of
facilities and I get it - the buildings but I also have concerns in the schools about program and there’s no
money.”

Chairman Dowd “You’re outside the bounds of this public hearing.”

Laurie Ortolano “I’m talking about the money that’s being spent here that should be spent here
because…”

Chairman Dowd “That’s not bonding money. You’re talking about programs in the schools. Go to the
Board of Education if you want to talk about the educational part of it.”

Laurie Ortolano “Well that’s money that needs to be spent too whether it’s bonded or not.”

Chairman Dowd “Well it’s not part of this bond.”

Laurie Ortolano “And I think that the money you’re bonding here to pay for building stuff ought to be
used toward programming instead within the school as well. Thank you.”

51:52

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I guess I’d like to address the programming issue
or statements that were made by Mr. Donovan and how ESSER funds can be used. I’d like to address it in
terms of this bond because it sounds like a good portion of that $16 million - if that was the right
number of ESSER money - is going toward 40 or so toward educational programs. So I happen to be of
the belief that there should be more put into educational programs, which would reduce this bond. The
reason I say that is at the High School, they have a block. E block that is supposed to be dedicated for
students to go receive tutoring, counseling, go to the library. It’s their free block to go get help for their
classes. They haven’t been able to use the E block in almost a year because they can’t move the students
through the hallways because of fights that break out. They don’t have the staffing or security to move
the students through safely. So the tutoring, counseling, library program has been cancelled and that’s
an education loss of an entire block forever now. If we don’t produce a solution where we can have
people in the hallways so that the kids can move through that block and that has gone on. I’ve heard
that repeatedly. I checked on that with the school. They do have a problem with that block. I think we
have to do a solution and I think if ESSER funds could be used to get that worked out so even our
teachers with their contract, that’s sort of a working block for them to be able to do tutoring and

                                                                                                          378

                                                                                            NPD-LO-4076
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 379 of 424



counseling and it’s not being used by them because everyone is sort of hostage in their place because
the kids can’t move through the hallway safely. I just think that’s a problem we ought to be able to
solve. It’s a whole block of educational time. It’s gone on for a long time. Thank you.”

1:09:12

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Just a quick question. I’m presuming based on the
discussion that this was a budgeted item within your Public Works budget. Is that correct?”

Dan Hudson, City Engineer “Yes. My understanding is this was included in the budget. It shows up like as
a revenue item and it’s paid for through sewer rates. So it was an anticipated budgeted item.”

Laurie Ortolano “It was participated. Thank you very much.”



Special Board of Aldermen, 5/24/23

https://www.youtube.com/watch?v=7yMJKbN1yTA&t=1586s

10:10

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’m not speaking in favor or opposition. I just have
a couple of questions. Is the Veteran’s Bridge the big bridge that runs over connecting Nashua to
Hudson where the condos are built? Are we talking about that bridge, the main bridge? Is that the
Veteran’s Bridge?”

Chairman Dowd “We’re talking about the only two bridges we have that run over to Hudson.”

Laurie Ortolano “Well there’s also and it doesn’t cross to Hudson. Okay, so that’s our Veteran’s Bridge.
What about the bridge on Canal Street that’s been rated very poorly for over ten years for renovations?”

Chairman Dowd “That’s not part of this legislation.”

Laurie Ortolano “Are we doing anything with that bridge with federal funds?”

Chairman Dowd “Mr. Hudson would you like to come up and answer?”

19:14

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I’m not speaking in favor or against but I have a
couple of questions. This is the cybersecurity issue Director Cummings referenced information you have
in your packet regarding the breakdown in costs. Is that stamped confidential or is that a public
document that shows the breakdown of the costs?”

Chairman Dowd “The legislation is public.”

Laurie Ortolano “That gives a breakdown of costs?”

Chairman Dowd “It is posted. It’s not going to give - I don’t believe the delineation of the actual
expenses because that’s confidential.”




                                                                                                       379

                                                                                           NPD-LO-4077
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 380 of 424



Laurie Ortolano “Well I’m asking you he referenced a document that you have. Is that document in your
possession stamped confidential or is it a public document? It’s a simple question I’m asking. Not the
legislation, he didn’t reference that. He gave you a document with the breakdown. Is that document
stamped confidential or not?”

Chairman Dowd “Director Cummings is that the one you handed out?”

Tim Cummings, Administrative Services Director “Mr. Chairman it is a public document.”

Laurie Ortolano “Could I ask you he outlined four costs and security. Phase one is already done. He said
phase two is $335,000, phase three which would require an amendment but we couldn’t do it tonight
was $60,000. We had legal expenses at $65,000 and correcting security issues at $100,000. How much
was phase one? Is that included in here as part of the money that is being transferred and do you know
how much that was?”

Chairman Dowd “I don’t see the delineation by phase in the legislation.”

Laurie Ortolano “Okay. Does this take care of all the money that will need to be allocated to address it
because it was a ransomware attack so there’s a ransom to pay eventually which I would think
eventually becomes public information if we’re paying it just like this information? You’re having a
public hearing about these expenses. So is all of that separate?”

Chairman Dowd “Director Cummings?”

Tim Cummings, Administrative Services Director “Thank you, Mr. Chairman. At this time I would not
advise answering any of these questions due to the event that’s still unfolding.”

Laurie Ortolano “Can you tell me he did reference when it started but he didn’t give a date. When did
this event occur?”

Chairman Dowd “Director Cummings?”

Tim Cummings, Administrative Services Director “I’ll give you approximately. The last week in April I
believe in and around April 30th.”

Chairman Dowd “Thank you.”

Laurie Ortolano “And could someone please tell me what account 89650 is? Is that a special account set
up for this cyber issue or what other money is in that account? When I went on expenditures and tried
to look up that account, that number wasn’t there. So what exactly is that account?”

Chairman Dowd “Mr. Griffin?”

John Griffin, CFO/Treasurer/Tax Collector “That’s a rather unique account where we put it. That’s a
transfer into the property and casualty internal service fund. So we need to position it there so we can
physically transfer it into that property and casualty internal service fund.”

Laurie Ortolano “There’s a lot of fund numbers in there so how do you know where to put it after that?”

John Griffin, CFO/Treasurer/Tax Collector “Good question. By way of explanation, that particular fund
that internal service fund only has the account numbers for the benefit of the people trying to


                                                                                                        380

                                                                                         NPD-LO-4078
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 381 of 424



understand the monies in it. That’s why that 89650 is literally the authorization from the Board of
Aldermen to transfer into it. What line they end up putting it in not sure yet but we know we need half a
million to go in there. Thank you.”

Laurie Ortolano “And just one last item. I want to express some concerns with the property casualty risk
management account and this references property casualty self-insurance fund. There is a 6500 account
in the expenditure reports that comes up every two weeks that’s called “property and casualty” and I
don’t know if that’s this title property casualty self insurance fund. It seems to me that property casualty
has become a catch all for a lot of money that is sitting over there I think is not properly placed. It used
to be 2015, 14, 15, 16 property casualty or that fund had about a half a million dollars in it which I
believe was covering liability issues - things that really happened. That account has pushed up to almost
$6 million. There’s a lot of line items in there that I think don’t belong in there. They below in
departments and they’re being loaded into that account. It really concerns me because I think it’s not
transparent and it needs to be much more transparent. How did we allow 2% of our budget to fall into
that? You know we’re showing departments that are flatlined like legal and there’s a ton of fees and
attorneys that are being pushed into property casualty even if they’re being used just to cover simple
litigation matters that ordinarily our legal team would have covered. I can tell, I haven’t talked to them
up in Manchester, they put that within their budgets. They don’t stuff it into that area. So bear in mind
that this account has moved from like $500,000 to upwards of $6 million since Mayor Donchess has
taken over and I’d like to understand that. It’s pretty significant. Thank you.”



Personnel/Administrative Affairs, June 5, 2023

https://www.youtube.com/watch?v=TINrT5p8WwI

1:02

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I know that on the agenda tonight is a discussion
about public comment. I want to thank the ACLU and the New England First Amendment Coalition for
getting involved in encouraging the city to change their comment. I want to thank the Board members
that sponsored it and those that signed on a couple of weeks ago to participate in making that change.

“I'd like to make you aware that the Board of Assessors changed their language in 2020 - three years
ago, long before Laurie Ortolano was the problem and their clause actually says that uncivil remarks will
not be tolerated. They address it just that way. It's not a matter of vulgar or inappropriate. Its uncivil
remarks and I objected to that from the beginning. It was Attorney Leonard who wrote that public
comment policy, pitched it to the Board, and got them to agree to it. You know I watched people come
in there on abatement issues. Those can be heated issues and make a comment. One lady, you know,
what the hell's going on? Shut down, inappropriate. A very senior citizen with a walker who was a
military guy used a swear word when they wouldn't give him his exemption and they thanked him for
his service. He said I don't give a blank about my service. I want my exemption. Boom, slapped on the
wrist. I mean I think that's ridiculous and that policy over at the Board of Assessors should be changed.

“I never agreed with what you did here. I thought it was very reactive for the Mayor to come out
swinging from the Finance Committee meeting when he was upset because I was addressing
deficiencies I saw in Director Cummings. He brought up the whole issue of the word “used” from a year

                                                                                                        381

                                                                                          NPD-LO-4079
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 382 of 424



earlier. There was no need to do that except he was inflamed and the Board jumped on that, reacted,
wrote a policy that I think it was wrong a year ago.

“I don't know if you also saw the video of the gentleman who came into City Hall a week ago Friday and
made a video for about 15 minutes about free press and City Hall being able to film audio and video film
City Hall and the objections he was met with that. I, too, bought a body cam because of all the arrest
attempts on me when I came into City Hall. I wrote to Police Chief Rourke and got an email response
back today as well as the Chief Prosecutor for the Police Department and both of them said – Chief
Rourke said there’s no issue at all. We were called to City Hall. We were contacted by somebody in City
Hall. We showed up that day but there was no action taken because a citizen can audio/video/record in
a public place. I will tell you the city gave me a really hard time about that and it was never right. From a
year ago…”

Alderman Thibeault “30 seconds.”

Laurie Ortolano “…I didn't like having a body cam but I felt I needed it for my protection. So I hope that
you all vote to change that public comment policy, and strike that language, and just, you know, let
citizens have the rights that they're entitled to. Thank you.”

1:28:04

From Remarks by the Aldermen

Alderman Thibeault “Okay. Follow up?

“So a couple of things on this. I mean we all work. Nothing's changed other than the ACLU letter since
we originally went over this. We debated it and there was a debate. I remember having to try to explain
to one Alderman what crude and vulgar means or what we think it means.

“So we got an email today and I want to read part of it because it goes against what we're really even
trying to do with this ordinance. I’m not going to read it all but – “I want to give a big thank you to
Alderman John Sullivan, Alderman Alex Comeau, and Alderman Tyler Gouveia for sponsoring O-23-054
in order to give Nashua residents back their freedom of speech. As Nashua residents have seen in the
past, some Board of Aldermen do not want to hear from any residents that do not agree with them.
However, this is not a perfect world and residents are allowed to disagree with what our Aldermen are
doing for their constituents.” I can't remember one time that we've told other than hearing the word
that we don't want to hear over the airwaves told somebody to stop speaking.”

Laurie Ortolano (From her seat) “I did.”

Alderman Thibeault “You're not talking.”

Laurie Ortolano “I did.”

Alderman Thibeault “I don't care.”

Chairwoman Kelly “Ms. Ortolano.”

Alderman Thibeault “Then you're going against this ordinance right now by speaking out.”

Laurie Ortolano I'm going to share it with you.

                                                                                                         382

                                                                                           NPD-LO-4080
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 383 of 424



1:46:57

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. When you bring legal in, would you please have
them address the public comment policy for the Board of Assessors? I know the ACLU didn't cover that
in their letter and they didn't have to but that is just basic blanket language that says uncivil remarks will
not be tolerated and I think that should be struck. That is what the Attorney Bolton told you to strike at
the same time and Attorney Leonard put it in over there.

“Your discussion about a compromise is encouraging. I want you didn't know Alderman Thibeault when
you said I don't know anyone who's ever been interrupted or cut off, I have been and it was at that
Finance meeting that the Mayor if you watch that tape in 60 seconds he shut me down. He was angry
because I was upset about not being able to get records through Economic Development and he started
going right at me. He took my three minutes right away. I lost the other two minutes and no one
objected. When the Mayor goes off track, nobody stands up and says Mr. Mayor give her the floor. She
has her three minutes. I told him to shut his pie hole several times and his remark was pie hole is a
swear word. It's in a Lizzie McGuire movie and I don't think it's a swear word. It was an emotional thing.
It was an emotional moment and sometimes that happens and no one stepped in. The same action
happened to me in the public hearing in June with the Mayor. He ran right over me, interrupted my
comments, took the floor for over five minutes, and when I wanted to respond, Alderman Dowd said
time's up and I had to sit down. This has happened to me repeatedly which is why you have a federal
suit by me on these constitutional issues. Not on swearing, just not allowing me to have my speech.

“So secondly, I want to address public information. I don't understand why the Board of Aldermen
hasn't been a lot more active in enacting legislation to deal with open records issues. Why is it
impossible in the City of Nashua, a city of this size, that a citizen has no place to go to say what records
are available, where are they stored, and how can I get them? I can do that in virtually every other
municipality I go to. We are supposed to by Charter and NRO have a Municipal Records Committee that
addresses these issues. You have not had that committee formed in 20 years. Their job is to look at
record availability, record retention, and record archival, and record disposal as required by the State
Statute. Why is it there no place to go?”

Alderman Thibeault “30 seconds.”

Laurie Ortolano “If you go to an office and you say are these records located here? The responses is
under 91-A, I don't have to answer you. You're being challenged in numerous lawsuits on this that the
Right to Know law doesn't allow you to say I'm not going to tell you where your records are. The Town of
Hudson the Board of Selectmen just wrote legislation for a Right to Know policy to deal with all of their
issues because of the big construction project with Amazon putting in a facility which was withdrawn.”

Alderman Thibeault “Time.”

Laurie Ortolano “You should be doing the same.”



Regular Board of Aldermen Meeting, 6/13/23

https://www.youtube.com/watch?v=XlZnYtlWA7g


                                                                                                          383

                                                                                            NPD-LO-4081
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 384 of 424



10:17

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Madam Chair could I speak at this input? I wasn’t
able to get here for 7:30.”

President Wilshire “You can but you know you’re supposed to sign up and be ready before.”

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I was at a church service and I got here 5 minutes
late. I just wanted to address the supplemental appropriation of the $500,000 into the Risk
Management account. I know that was addressed in a hearing and I came out and spoke to that and
there was a breakdown given by Director Cummings regarding that matter which had to do with the IT
issues involving the school. I'd like to, you know, I know what the accounting was given but I'm also
aware of other appropriations in Risk Management that have to do with this. There was a contract to
Charles River to do $100,000 worth of work that happened in early May that I believe is relative to this
software issue and this IT matter with the school hacker ransomware. It would be nice to have a total
appropriation of how much money was moved into Risk Management beyond the $500,000 because I
don't feel like the $5,000 was the full appropriation. I think we ought to understand how much money is
being moved over there for that and I also think that at some point parents ought to be told what
records were compromised just like a bank would do or a company. They have to report if your
information has been compromised but parents still don't know what was taken on their students. I
think it's reasonable for them to know that. Thank you.”

48:41

Laurie Ortolano “Once again, I was late and I'm requesting an opportunity to speak.”

President Wilshire “Okay.”

Laurie Ortolano “Thank you. I'll start my clock. Laurie Orlando, 41 Berkeley Street. I have a handout here
I just wanted to give the Board. I'll just put one here and one on this side. I wanted to address - you
know, I know you're all aware of the different Right-to-Know actions I've had going with the City and my
concerns about open records. I think we haven't moved in the direction that I've hoped we'd move in
the last three years.

“One of the recent lawsuits I had had to do with New Market Tax Credits and records involving New
Market Tax Credits. I put in a Right-to-Know to Director Cummings’ office to get information on whether
we were pursuing New Market Tax Credits for future work. I didn't get the response I felt was right so I
filed the lawsuit. The paper I gave you happens to be a contract that we just undertook in December,
January, and February with Neil Cannon. Neil Cannon was the specialist hired to assist us with the New
Market Tax Credit in 2018 through the very beginning of 2021 when we signed our contracts. He was
considered the tax credit specialists New Market Tax Credit sole proprietor specialist and he did the
work. Unknown to me, we hired him. Director Cummings hired him in December, January, and February
without the use of a PO, a requisition, or going through the proper purchasing channels to make such a
purchase. We paid him $5,000 a month at a fixed rate with no definition. If you look at page one, you
can see the invoice for February 1st which had to do with the December billing period for $5,000. Page
two is the check paid to him. There is no definition of what he did for $5,000. If you look at page three,
it's the approval of a non-PO invoice which according to the procedures of the 65-page purchasing
manual, a non-PO cannot be used for a service like this.”

                                                                                                      384

                                                                                         NPD-LO-4082
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 385 of 424



Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “It's not considered proper. Then if you look at pages four and five, you'll see the
invoices he gave us when he did the work in 2018 for $5,000 and the attached invoice with all the detail
of what he did hours and time. I feel it was unlawful and illegal for a contract to be given to Neil Cannon
without the public having any knowledge of that contract and knowing what was going on.”

Donna Graham, Legislative Affairs Manager “Thirty seconds.”

Laurie Ortolano “And you know who do you take it to? This language in here says it's unethical, it's
unlawful. Who do you take it to? Director Cummings controls the HR Department. Director Cummings
controls Purchasing, although this manual says Purchasing is under Finance. It isn't any more. You know
its wrong and the citizens, I can't track what was done. I don't know what we paid the man $15,000 for
and I haven't been able to get those records yet.”

Donna Graham, Legislative Affairs Manager “Time.”

Laurie Ortolano “This is an ethics violation. It's an unlawful issue and it should be addressed by the
Board. Thank you.”



Special Meeting of the Board of Aldermen, 6/20/23

https://www.youtube.com/watch?v=xdhiO6Gi4Q4

22:37

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I appreciate the overview. It would be helpful in
the overview if there was information that covered new positions. You know as we look at the budget, I
think the big thing is that costs us a lot are positions, and benefits, health care and when we do an
overview, I don't have a sense of how many new positions have been added to the budget. I did my own
math and it's about 28 but I think we should be talking about those positions and covering that
information. That's my one comment. I'd like to see more specifics go into the surface - the information
that's most relevant. Thank you.”

43:49

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. First of all, I'm concerned that the education
budget continues to grow every year despite the fact that enrollments have gone down. I'm particularly
concerned about our buildings and our infrastructure maintenance in education and our needs. I think
there is a pattern to ignore data to not look closely at what the numbers tell us and numbers don't tell
the whole picture but they give you information and work with that data. I think the consultant that was
hired to come in and look at the school usage and the needs of the school for redistricting dropped a
report that surprised a lot of people. Not just at the Board of Education table but at the Board of
Aldermen table.”

Chairman Dowd “Okay. I’ll let you go. You’re okay about it so far but I don't want to address any
redistricting questions to the Board because that's not part of the FY24 budget. It’s part of what the
Board of Education is doing and it has nothing to do with our budget.”

                                                                                                         385

                                                                                          NPD-LO-4083
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 386 of 424



Laurie Ortolano “I'm not going to ask questions on redistricting. I'm just saying that out of that...”

Chairman Dowd “That’s fine, you’re alright.”

Laurie Ortolano “…plan came a result that said we have far too many schools. We have too many
buildings. I think there needs to be a consolidation on that and part of the reason is because you can
deliver services better if they are consolidated, particularly in the special education area. You have
specialists that run from school to school to perform services where the kids are very spread out.
They're hard to find. They're tough positions to fill. It's not very efficient and you would definitely pick
up better efficiency in delivering those services and those services are very expensive. I'm concerned
that construction - you have a $90 - $100 million middle school might not have been fully necessary at
the capacity that it was built. I really feel that we kind of missed the mark and we're carrying a lot of
bond debt associated with education. To put that together with performance, student performance in
this district, I think, is too low. When an administrator says that district wide 20% of our students are
reading proficient, I think that's very low and that's not to blame a party or make it a partisan issue. I
think if we're going to address the needs of education in the City, it has to be a non-partisan discussion
where we’re all vested in improving what needs to be improved because I really think parents don't care
about your party affiliation. They want their children well educated. They want them to know certainly
basic skills and I feel we've missed the mark on that. Because of that, I am resistant and not willing as a
taxpayer to continue to fund increases in this system. A lot of it has to do with a lack of transparency
that exists right here at this, you know, Board of Aldermen table and how these meetings are run. You
know the budget book changed a lot, the format changed a lot. It's hard to come in here and ask
questions. Then you learn that you can only say one thing, and you're cut out after that, and you got to
wait till the end to come up. It's a hearing on a $300 almost $20 million budget and to be prepared - I'm
not even certain if your rules apply when Administrative Service Division is done and it covers 13
departments. Can we ask on each department or are you allowed one question and then you go to the
back of the line and wait till the end? I don't even know what the format really is.”

Chairman Dowd “Just a couple of things. You can ask more than one question but you can only come up
once but you can ask multiple questions. But do you have any specific questions for education?”

Laurie Ortolano “What is the cost per pupil this year?”

Chairman Dowd “Somebody from the Board of Ed want to cover that or from the School Department?
Please identify yourself.”

Dan Donovan, Chief Operating Officer “The cost per pupil on the DOE 25 that we did last year is about
$16,000 total.”

Laurie Ortolano “What is the cost including debt service to the school per pupil?”

Dan Donovan, Chief Operating Officer “That cost includes debt. It includes everything but
transportation. That's a cost based on a formula designed by the State so that all districts put the same
components into the cost structure.”

Laurie Ortolano “So does it include the bonding of our new middle school that’s $16 million?”

Dan Donovan, Chief Operating Officer “If incurred, yes. It wouldn’t be the full amount.”


                                                                                                         386

                                                                                            NPD-LO-4084
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 387 of 424



Laurie Ortolano “Okay. So I come up with a different number but that's a discussion for another day and
I can share that with you separately because there's no need in debating that. The other thing I'm
concerned about is enrollment projections which look like they're rolling down which is another issue to
really look at facility consolidation. I heard some members of the Board of Aldermen say that, you know,
we don't have the single-family homes for young people to get into it. It’s definitely an issue and that
they're going to go to these vertical buildings, apartments and that's where families will be raised. I'm
not certain I really believe that in Nashua. But also I'm a little bit concerned on how that works with all
of these Tax Incremental Financing Districts being done because a large part of the vertical construction
is being done under TIFs. If you do have a bunch of school children that are coming into those living
arrangements, they don't belong in TIFs. But overall, I'm really disappointed with our performance and it
just seems like administrators and leaders in this City just want to say a lot of fluffy words about how
excellent it is, how successful their child or grandchild might have been but we're not looking at the big
picture of all the kids. I think that this City could do great things. We have a lot of upward potential and
we could do great things if we really work together in a non-partisan way. Thank you.

01:03:33

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Could somebody - I noticed that there's position
increases for Public Works Admin 2023. It was 13 positions and now it's gone to 21. Is that correct and
could somebody speak to the Admin position increases in Public Works?”

Chairman Dowd “Can someone from Public Works cover that?”

Laurie Ortolano “Can somebody tell me if my math is correct and that is correct? Have we gone from 13
to 21?”

Chairman Dowd “Do you want to come down to the microphone because.”

Lisa Fauteux “Lisa Fauteux, Director of Public Works We have not increased the number of
Administrative Assistants in Public Works this year.”

Laurie Ortolano “So is there something in the book then that makes that look that way?”

Chairman Dowd “John go ahead.”

John Griffin, CFO/Treasurer/Tax Collector “In discussions with Chairman Dowd, he wanted us to take a
little bit different approach and what we tried to do is indicate in each division/department the number
of employees and their salaries. So in this particular budget, we didn't do what's called “the allocation of
split funded positions”. We have it but not in the end of the book. So what happens when you do a split
funded positions, you might have a point five FTE that's now showing here as a single FTE if their - it gets
a little bit complicated - but if their HR 11 record is in DPW, that's where the position stands. So what I
would suggest is a follow up to this particular discussion, get you the information.”

Laurie Ortolano “Okay, I would appreciate that. Just a comment when we do present the budget so and
we're in this department because now my positions might not be summarized correctly because of how
we looked at this. When I see 28 new positions, that might not be correct but there's no apples to
apples comparison for us this year going off of last year's book which made it all the more critical when
you present it in the beginning to kind of highlight this for us so that we would know. This budget book
doesn't have an index in it and so I would recommend next year putting an index back in the budget

                                                                                                        387

                                                                                          NPD-LO-4085
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 388 of 424



book because it's hard to, you know, find - it's a big book and all of a sudden you're looking for
departments and you don't know where they are. Flipping through the whole thing to find them is
difficult and maybe look at the print size on some of these pages too because we're getting older and
they're pretty small.”

John Griffin, CFO/Treasurer/Tax Collector “Mr. Chairman if I may?”

Chairman Dowd “That comment has been made by some of the Aldermen as well.”

John Griffin, CFO/Treasurer/Tax Collector “Mr. Chairman if I may? This is a book, it’s an evolving book.
Any concerns that you have, any suggestions they’re welcome.”

Laurie Ortolano “Okay, perfect. Thank you.”

01:15:08

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Where are we right now when it comes to filled or
unfilled positions?”

Kevin Rourke, Chief of Police “Right now we're down 11 officers and we're about to hire three within the
next three weeks.”

Laurie Ortolano “Were we ever fully staffed this year?”

Kevin Rourke, Chief of Police “Unfortunately, no. At one point, we were down 17 was our most.”

Laurie Ortolano “So I just want to point out with surplus money because - escrow money rather. When
we do our escrow deal which I'm hoping we won't do this year because we present a budget that's 4.4%
but when you go and vote in June, or July, or August to shift over 3% more out of escrow, your budget
increase is really like 7% or more. I think it's very misleading when we're all here in a budget hearing on
increases and then we shift escrow money in. I was not a fan of putting positions using escrow money to
create positions and put them in the book. I know we asked and approved two officers and I think they
were specialty but I'm only going to point out that I think that shift could have happened within the
budget and should have. I hope this year we won't use escrow to create new positions. It's not that I
don't support new positions in the Police Department but I'm conscientious about how escrow money is
used. Thank you.”

01:28:12

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Can somebody tell me what the endowment is for
the Public Library and how that's managed?”

Chairman Dowd “Librarian is here?”

Jennifer McCormack, Library Director “The library has approximately 20 different trust funds. The total
investment amount, I don't have an exact figure at the moment. I think it's in the vicinity of $4 million.”

Laurie Ortolano “And what do you use it for?”

Jennifer McCormack, Library Director “It depends. So every fund has different restrictions. The biggest
fund we have - the Stern's Fund - we spend that on content, eBook content. We've spent that on


                                                                                                        388

                                                                                           NPD-LO-4086
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 389 of 424



digitizing historical newspapers. We spend that on a particular database we use. So for that individual
fund, the restriction is it needs to be spent on reading materials not normally purchased by the City of
Nashua.”

Laurie Ortolano “Okay and then do you regularly use your endowment fund to spend?”

Jennifer McCormack, Library Director “We use - so there are some that rarely get used. So for instance,
there's one that's solely for the purpose of buying books about the Constitution.”

Laurie Ortolano “Okay.”

Jennifer McCormack, Library Director “So some years we use that. There's one solely used for the
purpose of programs and events dedicated to Lithuanian culture. So we'll spend from that when a
particular request comes in. There's another one dedicated to purchasing works of art by living artists
and that has been used right now the most current use is we’re funding a call for artists to design a
special edition library card so that'll be a couple $1,000 that hopefully will get spent this year. So it's
really individualized. There are a number of funds that are unrestricted. I can't tell you exactly how
many but I can tell you the expendable balance in those. The total amount that's available to be spent in
those is in the vicinity of $100,000 to $150,000. So the amount that's expendable that's unrestricted on
an annual basis is fairly small.”

Laurie Ortolano “Okay. And just one last quick question. You got rid of your fines didn’t you your book
fines last year?”

Jennifer McCormack, Library Director “That is correct.”

Laurie Ortolano “Okay. That was awesome and have you found that that has worked out okay?”

Jennifer McCormack, Library Director “That has worked out fine.”

Laurie Ortolano “Good.”

Jennifer McCormack, Library Director “We’ve had more positive feedback than negative.”

Laurie Ortolano “Good. Great. Thank you.”

01:36:43

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. We were doing a conversion to digital records over
in permits and last year I came to this microphone at this meeting to see how we were proceeding and
completing that and we weren't done. Where do we stand on making those records available to the
public and will they be available from their home, or are they online, and what records are going to be
there for us?”

Chairman Dowd “Director Sullivan?”

Matt Sullivan, Community Development Director “For the record, Matt Sullivan, Community
Development Director. Miss Ortolano I do remember this conversation from last year's budget meeting.
The effort is ongoing and just to reiterate a few comments that I made last year, there are really two
independent components to the record digitization process. One that we have completed successfully is
the incoming permit process. When it comes to an applicant coming in for a building permit, all of those

                                                                                                       389

                                                                                         NPD-LO-4087
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 390 of 424



permit applications and the routing associated therewith including all of the repository of that
information is now exclusively digital. So we've now successfully completed that task of incoming
permits. The task that's not yet complete is if you were to go into the Community Development offices,
we have a huge file room that contains all of the history of building permitting for the City of Nashua for
all of the property cards across the City. What hasn't been completed is actually taking those records,
digitizing them, and then attaching those records on a permit by permit basis back to the property cards.
That will be a substantial effort that we have not yet completed that will take some level of outside
consultant or firm simply because records are so voluminous in nature and that tie-in exercise is so time
sensitive or so time intensive. So again, the incoming permitting process is something we've already fully
digitized. The one part I should address that you raised is the idea of a permit, a permitee, or a
homeowner actually submitting an application through the online permit portal. That's something we're
still working actively with IT to roll out. We have not released it as of this date and time and I think my
update may have been somewhat similar last year but we we're really working on finalizing that sort of
internal review process digitally and we've done that.”

Laurie Ortolano “Okay. So none of these records or the permits that are now digitized and that part is
done are really available to the public are they? Are those are just internal or are they available?”

Matt Sullivan, Community Development Director “Great question. So the digitization I'm referring to
you're correct is available only from an internal review perspective. So right now in order to pull a full
building permit record, you still need to contact the Building Safety Office and either we can send it to
you - we are doing a lot of our work that way these days - or certainly you could come in to review the
record. What I can say though is because we've recognized this delay in that process, we've been trying
to be proactive and accommodating when it comes to sending digital records out by email or some
other method because we know that online portals not available just yet.”

Laurie Ortolano “Okay. And is it actually in your budget to do this digitizing of existing permits and
records that are in storage? Is that a budget line item or how was that budgeted because part of me
thinks that it's not a realistic task?”

Matt Sullivan, Community Development Director “I would say it is a realistic task assuming that in the
future we budget some monies to it. We have not included that specific task within the Fiscal ‘24 budget
as it exists now. To your question and your line of questioning, our first priority was the internal process.
Our second priority was actually rolling out that public facing portal for applying for permits online. The
third task is taking those historic records and digitizing them. We're very aware of the labor intensity
associated with that. It's something that will have to be done at some point in time but we simply are
not there yet. So you're correct, it's not in the budget but I would disagree that I do think it's realistic to
provide that we dedicate some resources to it albeit not within this budget.”

Laurie Ortolano “Okay. It turned out to be such an expensive undertaking in Assessing. You know it
started off as like $60,000 and all in, it ended up being maybe $300,000 or $400,000 when you look at
the staff time needed to do it. It was an expensive project and I don't even know where that stands so I
just see it as pretty significant. Thank you.”

02:04:10




                                                                                                           390

                                                                                             NPD-LO-4088
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 391 of 424



Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. So does this include Health and Human Services? I
think it does. Am I correct? Okay good. Couple of questions for you. Is there revenue in there for the
new position that was just voted by the Board for the Chief of Health - Nashua’s new Chief of Health? Is
that part of this budget or has that not been put in?”

Mayor Donchess “I could answer. That's not a new position. So the Ordinances had previously
designated the Environmental Health Officer as the Chief Health Officer of the City but that was done
when the Director of Public Health and Community Services did not have a medical background or
scientific background. We encountered problems when Director Bagley applies for grants and stuff and
they expect - hey, outside parties, expect that the Director of Public Health and Community Services
would be the Chief Public Health Officer. In addition, Director Bagley I think has earned the designation.
So the ordinance what it did is simply said instead of the Environmental Health Officer being labeled the
“Chief Public Health Officer of the City”, it's now going to be the Director of Public Health and
Community Services.”

Laurie Ortolano “Okay. So it's not really a new position, is that correct?”

Mayor Donchess “Correct.”

Laurie Ortolano “Okay and she'll still serve as the Director of Nashua Health and Human Services. We’re
not creating a new position.”

Mayor Donchess “Correct.”

Laurie Ortolano “Okay. And then do we have additional new grant funded positions in that department
coming in this year or have we grown that at all? I can't tell with the numbers because…”

Mayor Donchess “Well Director Begley is going to have to answer that but we hope so. We hope so and I
think we expect that or the grants are in progress but not yet expended. Director Bagley can answer
that.”

Bobbie Bagley, Director of Division of Public Health and Community Services “Yeah so we do have a
number of grants that we have received from the Center of Disease Control and the Bureau of Drug and
Alcohol as a pass-through to the State Health Department. Those grants will fund and do fund existing
positions as well as several new positions starting in Fiscal Year ‘24.”

Laurie Ortolano “Okay. Is it your anticipation that those positions will continue to be funded - I mean I'm
always concerned when we start with grant funding that we end up growing with permanent positions
but would these be temporary positions that are just based on grant funding or do you anticipate them
becoming permanent positions?”

Bobbie Bagley, Director of Division of Public Health and Community Services “So there's two parts to
that question. There are several grants that we receive that we receive for decades that fund our
emergency preparedness, one of our public health nurses, our staff that do the behavioral health. That's
continual funding that comes in. Some of the new funding that has come in as a result of the COVID
Response Funds or ARPA funds from the CDC, those funds will end at the end of Fiscal Year ’24 and so
those positions that will be brought on in July will be temporary positions.”

Laurie Ortolano “Okay. All right. Thank you.”

                                                                                                       391

                                                                                          NPD-LO-4089
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 392 of 424




02:13:54

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Within your organization, what departments
report to you? What other departments report to Financial Services? It used to be Purchasing, Payroll,
Risk Management. Do you still have those? You don't have purchasing anymore, correct?”

John Griffin, CFO/Treasurer/Tax Collector “That’s correct. The individuals that report to me are Financial
Reporting, Accounts Payable, Treasury Tax, Treasury Management, Motor Vehicle. Those are
consolidated. With the reconstitution of the Administrative Services Division several years ago, there
was a replication of those departments that you just mentioned back in under the Administrative
Services Director.”

Laurie Ortolano “Were they under it before?”

John Griffin, CFO/Treasurer/Tax Collector “They were back in Mayor’s Streeter’s tenure and prior to
that.”

Laurie Ortolano “Okay. I really think they belong in Financial Services - Purchasing and Risk
Management. Have we addressed all of the various escrow accounts that have grown over the last four
or five years under this administration to consolidate those and clean them out or are we still holding all
of the different escrow accounts for various departments?”

John Griffin, CFO/Treasurer/Tax Collector “Mr. Chairman, if I may. As Director Sullivan indicated and the
other Directors, we made a concerted effort in this budget to put in the budgets ongoing operational
costs. So the hope, the objective is to not have operational escrows unless absolutely needed and
certainly not payroll escrows. So what will happen is we, you know, hopefully we're fortunate enough to
have appropriations not spent which is surplus. Hopefully, we will be moving those dollars into either
capital projects, CERF, other items that need some help from a funding perspective.”

Laurie Ortolano “Plus I think if there is a lot of escrow money, it ought to be returned to the taxpayer if
it's not budgeted. That's part of the game and instead of just as escrowing it and keeping it to move
around, it ought to come back and not be carried year to year. So I'm glad to hear that that is underway
and that effort is being made. Thank you.”

02:21:57

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I'm not a fan of this position and I've watched it
operate for three years. I think it's been a really destructive position for the City when it comes to
citizens and access to City Hall and information. The prior Director was pretty restrictive and now we
have a new Director who has taken City Hall in closed most of the doors down. They're closed. They
have phone numbers you have to call. They’re by appointment only. It's swept through almost every
door. I received an email through a Right-to-Know where Director Cummings tried to get the keypads
and the scanners on every door but it was like $8,000 a door and Risk Management said hey we didn't
budget for that so we can't do it. He wanted 15 doors done. That's not a public building anymore. Our
City Hall is not a public building and it's different from Hudson, and Manchester, and Keene, or Salem.
Go into those city buildings because I've been in them. They're all open. Getting people to answer the
phone if you're standing there and you knock and no one answers and you call and you can hear the

                                                                                                        392

                                                                                          NPD-LO-4090
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 393 of 424



phone ringing in there, no one picks up. I don't believe it's because no one's there. Okay. I think what
has happened is a travesty and I think Director Cummings has been really destructive to how a public
operation and a municipal government should operate. Now I also don't understand his job title change.
What is his job title? Is he the Administrative Services Director or the Chief Operating Officer because
both are listed in the book? What is he?”

Mayor Donchess “His job title was expanded and changed.”

Laurie Ortolano “Okay. I have a big issue with a Chief Operating Officer being added to a job description
of an Administrative Services Director. A Director is very different from a COO and if you operated within
the guidelines of the Charter that would be a new position you brought forward for vetting and I think
that should have been brought forward. You know we talked about this Chief Public Health Officer
which is a separate position that's assigned to somebody and it just got assigned to Director Bagley but
she's still a Director. It was a separate, defined position. It was discussed in the Board meeting. It was
voted on as an ordinance by the Board. Now we look at COO tacked on to a Director's label and we
throw it there and it looks to me like he got a pretty good pay raise increase which I don't think is
justified. I think you really subverted the intent of the law when you created a Chief Operating Officer
which really in truth a COO would, you know, the Chief Financial Officer would work for the COO. This
would take on everything and what you're really doing with that COO is creating a City Manager position
and I think that needed to be vetted as well.”

Mayor Donchess “He did not get a pay raise because of that.”

Laurie Ortolano “Okay. Well okay maybe because of that but he is still overpaid in my book for what's
going on in City Hall. He's creating an awful lot of liability. Now let's look at his department and let's look
at the Right-to-Know Administrator. I think that position should be eliminated. That has created more
lawsuits in the last three months because of what's going on with that position than I could have ever
imagined. This individual is not skilled, does not understand the law, writes letters with the wrong dates,
puts the wrong names on them, attaches the wrong documents, tells you when you write general
correspondence that they're not required to answer questions when there isn't a question in the letter.
It's frustrating. So if your intent was to frustrate us and create more lawsuits, bravo you've done a great
job but I'll tell you, you have not made this any easier and that position should be cut. It is not helpful.
Using him as the middleman to departments that have the knowledge where the workers are very
knowledgeable. They know their stuff but they can't impart it because it's got to go to the guy who isn't
knowledgeable, who isn't writing very well, and isn't doing a very good job. So I'm totally opposed to
what we've done with money there because it created a liability. Now let's look at Purchasing. I think
we're not following our purchasing policies and I addressed this a little bit two weeks ago or 10 days ago
at a board meeting but I also feel that our contracts when we sign contracts, my observation is when I
read contracts that have parts in it, that involve citizen awareness, or doing something for public
promotion, or PR, we fall short on that a lot and nobody in contracts management or departments are
pushing to make certain that that part of the contract is complied with. What I think of is in our first
assessing contracts when we said, oh we're going to hold meetings, and you're going to get a mini
analysis on your property, and you're going to have all the comparable data so you can see all your
property change that never happened. That was part of the contract. It did not happen. Now I look at
when we hired Neil Cannon and we have his contract and proposal. The very first thing front and center
was a public relations campaign to educate the public, and the stakeholders, and the shareholders on

                                                                                                           393

                                                                                             NPD-LO-4091
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 394 of 424



what a New Market Tax Credit is and how it works because it's so complicated. His whole push was
public awareness and he would attend public hearings. Did he attend any public hearings where the
public could ask questions because I actually think the answer is no. He did come to a hearing that was
set up a year after we did the closing deal in December of 2021 to take questions from the public twelve
months after it was done. When I look at how that Art Center was done, we had a performing - we had a
PAC - a Performing Arts Center Steering Committee that allowed no public input. We had special
meetings of the Aldermen when Brian McCarthy was alive and there were special meetings of the
Aldermen, public comment was on the agenda. Special meetings of the Aldermen after he died, no
public comment. If it had to do with the art center, public comment was shut down. Downtown
Improvement Committee did a lot of discussion and input for the art center. Go to a Downtown
Improvement Committee meeting, no public comment allowed. Now you have a Trust Committee for
the Performing Arts Center that meets and does oversight. No public input allowed. Okay. Then you
formed and used this New Market Tax Credit funding that created very unique entities that were very
confusing one of them being a private corporation where all the records were locked down essentially
and the project even though it was funded with bond money became a private project. So I will tell you,
I'm very concerned when that kind of funding is being done to grow this City and those kinds of
contracts that are running through Purchasing that involve public education are not being paid attention
to and a lot more work has to be done. Switching to Assessing. Where do we stand on bringing the
records online for the property files? We still had years to go. Where do we stand on completing that
task and did we budget for it this year?”

Chairman Dowd “Who’s gonna address that question?”

Tim Cummings, Administrative Services Director “We have budgeted for it in the past. I believe we've
continued to budget for it. It's an ongoing project to get the files up. It's my understanding that we have
completed a major tranche of it and we're going through a vetting exercise to make sure that the
records are redacted appropriately.”

Laurie Ortolano “Okay. That really doesn't tell me what percentage is done and where we really stand
on. Are they up and running on the computer for us to access? They were in very limited form. I mean
you had like three pages in your property record file. As they're being redacted, are they being loaded
live so that are coming right in so that you can look at files that are complete and when will we know if
the file is complete? You know you'd never know if you're looking at a complete file.”

Tim Cummings, Administrative Services Director “It's my understanding that all the prior property cards
have been uploaded. However, they've been locked down and secured until the redacting process has
taken place.”

Laurie Ortolano “I’m unaware that a property record card gets redacted. It doesn't. I mean I've never
seen that.”

Tim Cummings, Administrative Services Director “Sorry, just to clarify. I said property record card
because I meant all the additional paperwork that would be included in that file. As I understand it,
there's additional miscellaneous assessing paperwork that would go along with that property card or
that file and those individual documents need to be reviewed and redacted.”




                                                                                                        394

                                                                                          NPD-LO-4092
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 395 of 424



Laurie Ortolano “Let's talk about redacting. We've complained a lot as a City about redacting. It's
expensive. It’s difficult to do. It's costly.”

Chairman Dowd If it’s not in the ‘24 budget, I'd rather the questions be specific to FY24 budget.”

Laurie Ortolano “It’s in this budget. I want to know if anyone looked into purchasing redacting software
that is widely available to minimize the staff time used for redacting. Did we investigate that, or budget
for that, or attempted to get it? We complain a lot.”

Chairman Dowd “Do we have redacting software?”

Tim Cummings, Administrative Services Director “I'm not aware of any redacting software. We certainly
haven't looked into it but I would happy to do so.”

Laurie Ortolano “I think it's something you should look into. Also Risk Management. I'm really concerned
about what's over there under Risk Management. We are putting all of the legal office stuff, the
consultants, additional services, fixing elevators in a parking garage $100,000-$125,000, all of that is
falling under Risk Management. I think that has become a massive slush fund. It is not just litigation
stuff. It's grown. It’s $6 million and it’s not just Risk Management. I think the Board should be looking
closely at that Risk Management account and looking at what's sliding in there. Because when we do get
to Legal, we're going to see Legal hasn't grown at all. That's ridiculous given what's going on in this City
because it's all in Risk Management. I also have a really big concern when we’re paying for the attorneys
that are being, you know, that a citizen, an elected Board member who gets sued not in his capacity as a
Board member is now being paid for by City funds to be represented to the tune of $20,000 or $25,000
so far. I'm sorry, we should not be – taxpayers...”

Mayor Donchess “Which Board member are we talking about?”

Laurie Ortolano “Mr. Moran.”

Mayor Donchess “Oh and who brought that lawsuit?”

Laurie Ortolano “I did. But so what? So if he wasn't acting, he went on a radio show and decided to
make defaming statements outside his capacity as an Alderman. Why should the taxpayers pay his legal
bill? You know what it shows me, birds of a dark feather flock together. You take care of your people
and the taxpayers are going to pay for it when their conduct is poor. I think that is not appropriate.
That's actually shocking to me that we cover the cost of those types of lawsuits. I think that's just wrong.
Back to Purchasing. What do we do? Where are the safeguards in purchasing to address when contracts
are or we don't comply with the rules because the NRO’s the purchasing manual’s state it's unlawful, it’s
unethical. They don't cite the RSA although there is an RSA for purchasing that does give you some
language but what happens when we don't comply? When somebody turns around and just cuts a PO,
or pays for something with no instructions like I saw happen with Neil Cannon coming back to the City.
What do you do with that? When I addressed the Board, it was rather shocking to me that no one on the
Board said this is very concerning. You know how did this happen? We didn't have a requisition. We
didn't have three bids for something between, you know, $10,000 and $25,000. We didn't have a
proposal. We didn't have a contract. We had a non-PO signed invoice which it didn't fall under the
qualifications to be a non-PO service. Here I've been talking about transparency. I've had litigation in the
courts that stands there on this art center New Market Tax Credit funding program because I don't want


                                                                                                        395

                                                                                          NPD-LO-4093
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 396 of 424



to see it used again because all the records were locked up. If you're gonna build downtown out using
those types of special financing mechanisms, you're denying citizens the right to have any construction
records, any costs, all of that stuff is gone and so I think it's wrong. I think it's just wrong and I think the
City should have defined that originally when you took that on but, you know…”

Mayor Donchess “My understanding was that 6,000 pages virtually every piece of paper generated by
the Performing Arts Center has been produced - checks, bank records, change orders, 6,000 pages isn't
it?”

Laurie Ortolano “No. You're thinking of the closing binder. That’s 6,000 pages. You know what, that was
a public document that was never made public. I got that within…”

Chairman Dowd “Again, I think we're going astray from the FY24 budget because that’s certainly not
part of the FY24 budget. Do you have specific questions for this area of the FY24 budget?”

Laurie Ortolano “I'm expressing, you know, a lack of performance in our Purchasing Department, a lack
of performance with our COO, a lack of performance with our Right-to-Know Coordinator, a lack of
performance in our Risk Management Department. I'm concerned with all of those and I think the
lockdown of City Hall is exactly where we shouldn't be. That is not a public building anymore.”

Chairman Dowd “All right, so you’ve expressed your opinions. Thank you.”

Laurie Ortolano “Thank you.”

02:21:57

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. With regard to the Legal office, I think we're not
carrying the accounting the way it should be carried. First of all, the overlay account for abatements
contains all the consulting fees that are used by legal to help settle the appeals and work on the cases.
In Manchester and other cities, those are part of the legal budget. I think it should be part of the legal
budget so we see what we're paying consultants to assist us on appeals. I also think that the Board
should push much more to try and get these appeals settled quickly. Other communities tried to settle
those appeal issues or abatements that go to appeal out within 12 months because we have to pay
interest on those. If you lose, there's a penalty. It was 6%. It went down to four. We are letting our
appeals run out three and four years and we're paying the penalty on that and we pay the consultants in
a budget we never see. Secondly, I think all of the various consultants that are being or additional legal
services that are being hired to assist the Legal Department ought to be within the legal budget. It
shouldn't show that there's no increase at all. I generally feel that that legal office is a mess. I think
there's been a total lack of policy and procedure in the codifying on how things should be done with
those records are available to the public and they help safeguard the City. I feel that not enough has
been done in that area to address that. The legal office has been a major part of the problem in creating
a lot of this litigation because they like litigation. I guess they're not so into mediating or trying to
address situations and resolve them in a more peaceable manner. That was never more true to me than
my property appeal. It's still a stunning thing to me to look at a property assessment that was as off as
far as mine was and we couldn't come to a resolution that had to go all the way to the BTLA. Could not
mediate that. So I am not happy with your legal office. I think your Corporation Counsel needs to be
replaced. I think you need to do a much better job in creating policy and procedure up there. I think you
got to get your accounting in order and put your consultants where they belong in that office. Moving

                                                                                                             396

                                                                                               NPD-LO-4094
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 397 of 424



on. Let's go to Economic Development. When did the Economic Development Office move to the Hunt
Building?”

Mayor Donchess “It didn't.”

Laurie Ortolano “So I was told by your office that Economic Development was no longer next door. That
I had to go to the Hunt Building. That's not the case?”

Mayor Donchess “I mean I'd have to check that but I mean I don't know what you were actually told but
no they did not move.”

Laurie Ortolano “So okay. I think your Economic Development office should be an open public office. I
know in other cities it is. I've talked to the Economic Development Directors, I've been able to go into an
Economic Development office. Your Economic Development office here at City Hall, I've never seen the
door open. I've been in City Hall numerous times where people have come up to me saying gee I'm
trying to get into the Economic Development office. I knock. No one answers. How do I get to them? I
say you gotta go through the Mayor's office. Nobody answers. I don't understand that. I really don't. I've
been to City Hall a good bit. I've never seen the door open. I personally have never knocked on the door
where anyone has ever answered and they're not a phone call kind of group either. They don't answer.
So I think that's a real problem when it comes to customer service and public business. If you want to
run your office that way, go work someplace else because that's not an open public government. I do
not support Economic Development taking on the role that it does in this City. It's quite different from
other cities in that there are a lot of big projects going through Economic Development and I don't think
its right. I think there's too many irons in the fire. I think there is not a lot of transparency. The records
are not available to the public and it's done under a lot of secrecy. I don't think that's been to the
benefit of the public. That department passes a lot of money through it and they may say they're
advisory but based on minutes I was looking at of the art center construction meetings, your Economic
Development Director was a lot more than advisory taking on tasks. Also City Clerk's Office. I want to say
that I've been really happy with the change in your City Clerk's Office and I feel like the records are
becoming more available. Customer service is very good over there. The shades are up most of the time.
They have quite a few people at the window. I think it's been a real shift, and I think it's been really
positive, and I hope they continue to work in that direction. I do think you need to get your Municipal
Records Committee reformed and meeting again because I think a lot of the problems with the litigation
on Right-to-Know has come from the fact that we don't have a Municipal Records Committee within the
City. I don't know and a lot of people don't know what records are public. The City has always taken a
position we're not going to tell you. Well your Municipal Records Committee would be the perfect place
to go to which Sue Lovering held one meeting. It was great. It was a good meeting. They were going to
meet again within after the election in 2021 and they never met again. I kept going over to the Clerk's
Office trying to meet with her on that Municipal Records Committee and she would not speak to me.
The reason I wanted to meet with her was to try and find out what art center records are public. Help
me figure out what's public over there. Instead of trying to work with me, I received an email that I'd be
under arrest if I came back into the office again. They’d call the police and have me arrested. Now I've
never had a letter like that come from our new Clerk and I'm really appreciative of that and I hope that
continues but I think if you got your Municipal Records Committee together, we'd start to understand
what's available to us. TIFs. Do we still have the same number of TIFs? We have the School Street TIF,
the Riverfront TIF. Have we added any more TIFs?”

                                                                                                          397

                                                                                            NPD-LO-4095
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 398 of 424



Mayor Donchess “No.”

Laurie Ortolano “Okay. Were we able to pay out the bond? The bond costs, the principle and interest on
the $5.5 million out of the School Street TIF account? Do we have enough money in it?”

John Griffin, CFO/Treasurer/Tax Collector “Mr. Chairman, we have the School Street. Principle and
interest is in the School Street TIF accounting.

Laurie Ortolano “And so we just paying that fully out of there?”

John Griffin, CFO/Treasurer/Tax Collector “Correct.”

Laurie Ortolano “Awesome. Thank you.”



Regular Meeting of the Board of Aldermen, Tuesday, 6/27/23

https://www.youtube.com/watch?v=hqtZmPGAkNU

21:15

Laurie Ortolano “Laurie Ortolano - 41 Berkeley Street. I'm here to speak in opposition to the budget. You
know the 4.4% increase doesn't seem like much but it's every year we are taking this budget up when
the biggest issue is our student enrollments are going down. What we're not being told is that once you
apply additional escrow money that usually roll in in September, that budget goes up a couple more
percent and it's easy to become a 7% budget which is what happened last year. I'm not a proponent of
using significant amounts of escrow money to fund the budget. I think that should go back to the
taxpayers. I'm very concerned about what's happening and Risk Management being used like a slush
fund to roll expenses over there that really are not property casualty expenses. I think the report that
the consultant provided on the school was very eye opening and while it helped me put us as number
three but the devils in the detail and you really have to look at the comparable cities that are used in
that WalletHub analysis to determine if it makes much sense that Nashua is in it. I think we all know
what these studies and reports can say and your ability to sort of throw yourself in those lists. I think
that we have a lot of work to do in the public education system here in Nashua and I think we have a lot
of nonpartisan work to do. I don't think parents care what party affiliation you are when they're trying
to educate their children. They just want their children to have a good education and I don't think we're
delivering that through the Nashua Public School system. Our reading proficiency level throughout the
District is about 20% and that is simply far too low for budgets of 59 million that keep going up every
year. I hope that this Board takes seriously the consolidation of the building plans. Consolidating
buildings will do a lot for a specific group of students, especially special needs students who require
services…”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “…that are being split up between facilities taking specialized people making them travel
building to building to deliver those services where the buildings are substantially underutilized. So I
hope we give some serious thought to our property management for our school buildings and our
performance in a very nonpartisan manner. When it comes to the legal office, no one is surprised when I
tell you I think you need an overhaul.”

                                                                                                     398

                                                                                        NPD-LO-4096
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 399 of 424



Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “There's been a big liability issue that I think is caused by the legal office itself and the
competency of that office. I'm going to be addressing that at the next public input and I think that it's
unfortunate it's been allowed to go there but I think our lawyers need to understand what municipal law
is about and how to serve a community as municipal lawyers. This sue us, see us one, raise us one
mentality has to change. Thank you.”

01:08:52

Laurie Ortolano “Laurie Orlando - 41, Berkeley Street. I've started my stopwatch here. Wanted to ask if
the Board will be doing a final review on the art center - the close out or the cost for the project and
whether there would be any kind of public comment allowed to that? I think it's important. That was a
very closed book project compared to other construction projects that the city has taken on. There
wasn't a lot of public involvement because of the nature of accepting the New Market Tax Credit money.
I have pretty much strongly disagreed with that type of funding being used in a municipal project. I'm
very concerned with Director Cummings initiating more of these types of projects with New Market Tax
Credit money in Nashua as he indicated he might do for the Elm Street Middle School. I want to let you
know that the corporations that were formed there were three. The 201 corporations were supposed to
be nonprofit public corporations. I challenged Attorney Leonard on this when the By-Laws were written
and I read them but they were written as private corporations. Their meetings were essentially being
done private and all of their records were being maintained private. I could not get Attorney Leonard to
address why the By-Laws were done this way. We hired a consultant out of Drummond Woodson and
paid him $65,000 to do the work on the paperwork for that New Market Tax Credit and he did the By-
Laws wrong. Because I couldn't get Attorney Leonard to work with me, I filed the 201 corporations into
the lawsuit in Superior Court challenging those records and essentially I won. I've been in settlement
with, which was announced in court. This is not revealing anything that is private. McLean Middleton
joined representation for the 201 corporations which we are paying - the taxpayers are paying the legal
bill for McLean Middleton.”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “And they immediately when they joined on, they contacted me and said we don't know
why these By-Laws are done this way. They don't make any sense. So they wanted to settle out quickly. I
said no. I want to do discovery. They stayed on but essentially, they've completely written the By-Laws,
have made them a public corporation, they're going to be adopted by the Board in August. My question
to you is why did you allow me to have to waste my money and time to go to court - not my money…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano …but we're going to pay McLean Middleton out of the taxpayer dollars, probably 60
grand, to represent this issue that Attorney Leonard would not correct when I tried to speak to her. I
think that's ridiculous. I mean there's a lot of questions of fraud in that Art Center project and why it was
done the way it was done and that's going to be taken through the court. But honestly, I think she was a
terrible municipal attorney in doing what she did to hide the misrepresentation of those corporations
and forced me into court. Thank you.”



                                                                                                         399

                                                                                           NPD-LO-4097
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 400 of 424



Special Board of Aldermen, Tuesday, 6/28/24

https://www.youtube.com/watch?v=CrVz84ALDko

6:26

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple things. This is going to be money coming
in from Spectacle based on sales of items and other type things. Did we determine a contract or make
an arrangement on getting a dollar off of ticket sales which is one of the items that’s part of this? What
is the deal for getting that arrangement done? Does anyone know because that’s a big one? That’s
where you’re going to get some money. That was, I believe, presented when Director Cummings
presented it to us that that was something that could happen. As I read through this, I’ll find the part
that will tell you that it’s something that has to be negotiated and I’m wondering if it has been
negotiated. It probably has not yet been negotiated. Okay. The Spectacle agreement that I’m looking at
has a term of seven years from the occupancy date. Do you know why we expired after seven years?
Will this fund disappear after seven years? What’s the purpose of having this term with Spectacle? Do
we intend on no longer having Spectacle manager it after seven years? Why did we pick seven years?”

Chairman Dowd “I don’t think there’s anyone here that can answer that question other than maybe
Director Cummings but it’s not part of this legislation.”

Laurie Ortolano “Well it is because the expendable trust fund is set up under this Spectacle contract. So
I’m looking at the fact that this contract expires in seven years and I’m wondering why.”

Chairman Dowd “Unless somebody on the Board knows.”

Alderman Klee “I do not know why the seven years were chosen but I think the intent has always been
that the city would never run this. So whether it’s Spectacle, or ABC management, or something I think
Director Cummings probably can answer it better. I think the intent has always been to have someone
else run this not the city. I think that was almost kind of a promise to the people that the city is not in
the business of necessarily running this. So whether it be Spectacle, or ABC management, or whoever it
to be I believe that’s what it is. Why seven years? I believe they negotiated that seven years per what
Spectacle wanted and so on. I don’t think any of the residents in the City of Nashua would have been
really thrilled if we did this in perpetuity. I think we had to have and seven years is a really good
timeframe for them to get started, understand, and I believe that there is if I’m not mistaken, there’s
somewhere in the contract that kind of gives them the ability to continue with this and so on. I think
that’s just part of the negotiations.”

Tim Cummings, Administrative Services Director “Thank you Mr. Chairman. The seven year question is
one relative to actually falling into compliance with the New Market Tax Credits. So that seven years
goes with the New Market Tax Credit compliance period. Honestly, I wanted it to be the shortest period
of time. I wanted something like three to five years. We’re creating a new market and so we essentially
wanted to make sure we knew what the market was doing. We wanted to see it stabilize. Spectacle
would obviously like a longer contract. They wanted something more than seven years. We ultimately
agreed to have seven years. I thought that would be a reasonable amount of time to have enough data
and then we could reassess and renegotiate the contract with Spectacle or any other operator or
management group that we may entertain at that point in time.”


                                                                                                        400

                                                                                          NPD-LO-4098
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 401 of 424



Laurie Ortolano “Okay. Thank you. I thought it might be New Market Tax Credit. Another part of this –
let’s see – have we had expenditures above the $1,500 that have required us to draw on the money that
has been raised so far do you know?”

Chairman Dowd “I don’t believe that has anything to do with this particular resolution. We’re just
establishing a capital reserve fund with no funding being talked about at this meeting. It’s coming from
Spectacle in accordance with the contract. Anything beyond that is not specifically related to this
resolution.”

Laurie Ortolano “Okay. I want to know there’s another part in here that I think is relative and that is
“Spectacle shall make its books, records, and files relative to the facility available for inspection and
copying by the city upon written request within five business days of the request and maintain the
records and the term of the agreement plus three years.” How are those – this would be records that
you could obtain relative to this contract or this money going in there. Who is the city to make that
request? When it says the city can make the request who is that? It’s not really a citizen is it?”

Chairman Dowd “I would assume it’s the Board of Directors.”

Alderman Klee “Board of Trustees.”

Laurie Ortolano “It’s the Board of Trustees?”

Alderman Klee “To be honest with you, I’m not sure whether the contract says that. I’m going to assume
that it’s the Board of Trustees. You were at the last meeting. They report to us everything that they have
that is costed as well as the funds that have been received.”

Laurie Ortolano “Okay so I would like an answer to that just to be certain what that is under 91-A. I did
attend the Trustees meeting and I was happy to do so but I was disappointed there was no public
comment allowed. Okay the advanced reserve fund. Let’s see. This is where there’s a ticket thing in
here. Merchandising. One quick question just so I understand this. The contract that we have for the
operating manual which gives us all the pieces of the utilities. I notice that’s not done yet and that kind
of feeds into this fund. Do we know when the operating manual is going to be completed? It was
supposed to be completed three months before the opening. It’s now five months past so we’re eight
months out. I’m just wondering where we stand on that operating manual.”

Alderman Klee “Again, that’s not part of what this resolution is but I’ll do my best to answer it. We had
discussed this at the Board of Trustees and it was even discussed, I believe, at the last Board of Trustees.
The outline of it will be coming. They ran into some issues with the – just as we were doing the opening
including finishing that night before. They were kind of given a - we know that it’s coming and we will
get it done. They are working on the manual so that the reason for the operational manual is if someone
isn’t there or doesn’t have to they can just pick up this manual and continue to make sure that
everything is running. It was discussed at the Board of Trustees meeting that you were at. So it’s not
something that’s being ignored. While yes we did discuss the fact that it was supposed to be done prior
to that, there were circumstances beyond their control.”

Laurie Ortolano “Okay the utilities that the city is paying, those will not be paid out of this fund correct?
That’s a whole separate area? Okay. They did provide in the meeting a first quarter report and honestly
it was good. Concession sales raised $5,000. Sponsorship sales raised almost $5,000. So for the quarter,


                                                                                                          401

                                                                                            NPD-LO-4099
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 402 of 424



they raised about $10,000. It doesn’t include any ticket money so that comes in that would be great. I
would love to see where it said the ticket thing.”

Chairman Dowd “The first thing we have to do by this resolution is give it some place to put it.”

Laurie Ortolano “Okay. I can’t find my little spot that I had it in here. That’s okay. I would like to get an
answer though to find out what we’re doing with coming up with an arrangement where we do collect
the dollar on the ticket sales because that would make a big difference I think in this fund if there are
even some. Whatever they want to negotiate but if we could get something out of some of those events
it would be a lot of money I think to help. Thank you.”



Finance Committee, July 19, 2023

https://www.youtube.com/watch?v=obwKOP4YnsQ

2:04

Laurie Ortolano “Laurie Ortolano, 41, Berkeley Street. I happen to notice that we have a purchase order
for the hiring of a it looks like one employee from Vision who's going to be here each year. Maybe it was
a five year contract I noticed to do assistance with the assessors downstairs. My question is the contract
called out a certain number of building permits they were going to cover maybe it was 7,500. Do we
know what capacity that is that they're going to cover for the total number?”

Chairman Donchess “I think we will learn more about the contract when that item comes up on the
agenda.”

Laurie Ortolano “Okay. Well I'm glad to see that position being done. I think that maintaining our data
quality is a good thing. It was always difficult even particularly for residential properties with just two
assessors. They just didn't have the time to get out and cover all of the sales and permit work that was
done in the city and that this service would be pretty helpful in maintaining our data integrity. So thank
you.”

38:14

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I'm hoping I might be able to get some answers
tonight. I'm trying to understand when a contract is necessary when we hire somebody, particularly the
hiring of Neil Cannon to do some professional contract work for economic development. I addressed this
with the Board of Aldermen and I showed you that invoices were submitted for three months -
December, January and February with no detail provided and these were given out as non PO invoices I
discovered. I don't think it's correct or proper that a citizen can't tell what a contractor is doing because
there's no proposal, nothing in writing, or no information of what they're up to. I had to file a Right to
Know to get the emails to try and find out what they were doing because the city wouldn't answer basic
questions to allow me to have it. When I got the response, there were I'm guessing 150 emails. They
batched out one batch of them. Mr. Cannon is doing primarily work for the Performing Arts Center. I
don't know why that's not billed to the Performing Arts Center and why it's coming through economic
development contracts.



                                                                                                         402

                                                                                           NPD-LO-4100
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 403 of 424



“But I'm also extremely concerned about the records provided. It took a month to get them and the
records were heavily redacted. 78 pages with probably 500 redactions. We have battled this redaction
issue citizens against the city for three years and in particular, against this new Right to Know
Administrator. Every one of these redactions was wrong. It went back into legal and they unredacted
these documents completely. These documents are now - they took Mr. Cannon’s name off and they
required no redactions. So I hear leaders in the city like you Mr. Mayor complaining to the public that
citizens are wasting so much money when we ask for emails and redactions take so much time. You're
breaking the law when you redact and one classic example is this one. Here's a page of redactions
heavily redacted. What's redacted is the address of a for profit sign company - business address. What
the Right to Know Administrator put on that was that the address of the company at 125 Front Street,
Bridgeport, Connecticut, was redacted as confidential commercial or financial information pursuant to
RSA 91:A IV. That is 100% incorrect.”

Alderman Klee “One minute.”

Laurie Ortolano “And after the court order from the court on July 7th after the court order issued by
Judge Temple, I wrote to Russ Hilliard that you've hired to represent these cases and said I've had it. I've
had it with what you're doing wasting our money and running us around. He contacted the legal office
to take a look and all of these redactions were wrong. Every one of them and we waited a month for
those records. Didn't even need it. So, you know, I want to know why we hired Mr. Cannon. I think
citizens ought to know how our money is being spent and I'd like answers on why these non PO
contracts are being awarded. $15,000 has been paid. It's like he's getting a backdoor payment of $5,000
a month and these emails show that he continues to do work in March, April and May. I couldn't even
ask the city when his contract ends. They wouldn't answer that. They said we're not going to answer
that. Is that more Right to Knows I have to file?”

Alderman Klee “Time is up.”

Laurie Ortolano “So I think I'm owed some answers instead of filing Right to Knows.”



Finance Committee, August 2, 2023

https://www.youtube.com/watch?v=-u--MI-91eQ&t=573s

4:13

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I want to address with the Committee the fees
associated with the New Market Tax Credit that we took on for the art center. As you know, I’ve been
involved with litigation on that building over records issues. Recently there was a filing that noted that
the reason we did the New Market Tax Credit was because it was so cost effective. It was a way of
saving money. I feel that that could not be more opposite to what had occurred. That New Market Tax
Credit to get $2.4 million of financing cost us almost $2 million in fees. Had we bonded that money $2.5
million back in 2020 at a 2 percent interest rate across 25 years, a bond calculator would put the interest
payment at somewhere around $650,000 to $700,000. That bond schedule would most likely yield a
premium back. If I recall correctly when John Griffin has come to the meetings, he points out when



                                                                                                        403

                                                                                           NPD-LO-4101
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 404 of 424



bonds are sold the city typically receives a premium back because people look to buy our bonds and we
pay up on our debt. So we get some money back on that to offset it.

“The fees for the New Market Tax Credit when we started off, the investment fee was $146,000. The
investment fund fee was $97,000. Baker Tilly which was a consulting firm tied to this was $97,000. The
ongoing CDE fee was $339,000. There was $102,000 loan servicing fee. Compliance fee was $68,000.
Neil Cannon that we hired initially was $68k by the city but we’re probably adding another 30 to it
because he’s doing work right now on FF&E. That will push $110k. John Kaminski was hired by us for
$55k in writing but I think he came in around $65k. The city time for two years for our city staff
members officials like Celia Leonard, Attorney Bolton, Tim Cummings, the Mayor, John Griffin, Dave
Fredette would have certainly come up with salary and benefits around $150k. We had to ensure all of
these businesses paid for out of the city insurance. Jen Deshaies had to get a quote to get all the
insurance costs for all of these businesses set up. When we went and did closing to resell the business to
the NPAC Corporation, it was $55,000 in closing costs. The structuring and closing costs were $199,000.
The estimated New Market Tax Credit legal fees which were billed by Lanthram GMP was $212,000. The
fee list – this was a feeding at the troth and everyone came for the fee grab. This was a horrible program
for such an small amount of money particularly when the city was outlaying all the money for it. This
should have been bonded. It is why I am very opposed to these types of intricate and sophisticated
financing schemes to roll into municipal projects. We’re going to end up with over $2 million of costs to
get $2.4 million.

“If my kid came to me and said Mom I’m buying a car for $35,000. I’m taking a 7 year loan and I’m going
pay 60. I’d say don’t do it. Don’t do it. Go look at that again. You can do way better than that. That’s
what we did here. That was the biggest ripoff…”

Alderman Klee “30 seconds.”

Laurie Ortolano “…you could have done to us. I think the city has to be much more mindful and it starts
here with the Finance Committee to make certain that these sophisticated programs do not come into
this city anymore. That New Market Tax Credit was not made from municipal businesses. It’s really a
private entity. It was a mistake to employ it and we paid dearly for it. Thank you.”



Budget Public Hearing, August 28, 2023

https://www.youtube.com/watch?v=CrVz84ALDko

6:23

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. A couple things. This is going to be money coming
in from Spectacle based on sales of items and other type things. Did we determine a contract or make
an arrangement on getting a dollar off of ticket sales which is one of the items that’s part of this? What
is the deal for getting that arrangement done? Does anyone know because that’s a big one? That’s
where you’re going to get some money. That was, I believe, presented when Director Cummings
presented it to us that that was something that could happen. As I read through this, I’ll find the part
that will tell you that it’s something that has to be negotiated and I’m wondering if it has been
negotiated. It probably has not yet been negotiated. Okay.


                                                                                                       404

                                                                                         NPD-LO-4102
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 405 of 424



“The Spectacle agreement that I’m looking at has a term of seven years from the occupancy date. Do
you know why we expired after seven years? Will this fund disappear after seven years? What’s the
purpose of having this term with Spectacle? Do we intend on no longer having Spectacle manager it
after seven years? Why did we pick seven years?”

Chairman Dowd “I don’t think there’s anyone here that can answer that question other than maybe
Director Cummings but it’s not part of this legislation.”

Laurie Ortolano “Well it is because the expendable trust fund is set up under this Spectacle contract. So
I’m looking at the fact that this contract expires in seven years and I’m wondering why.”

Chairman Dowd “Unless somebody on the Board knows.”

Alderman Klee “I do not know why the seven years were chosen but I think the intent has always been
that the city would never run this. So whether it’s Spectacle, or ABC management, or something I think
Director Cummings probably can answer it better. I think the intent has always been to have someone
else run this not the city. I think that was almost kind of a promise to the people that the city is not in
the business of necessarily running this. So whether it be Spectacle, or ABC management, or whoever it
to be I believe that’s what it is. Why seven years? I believe they negotiated that seven years per what
Spectacle wanted and so on. I don’t think any of the residents in the City of Nashua would have been
really thrilled if we did this in perpetuity. I think we had to have and seven years is a really good
timeframe for them to get started, understand, and I believe that there is if I’m not mistaken, there’s
somewhere in the contract that kind of gives them the ability to continue with this and so on. I think
that’s just part of the negotiations.”

Tim Cummings, Administrative Services Director “Thank you Mr. Chairman. The seven year question is
one relative to actually falling into compliance with the New Market Tax Credits. So that seven years
goes with the New Market Tax Credit compliance period. Honestly, I wanted it to be the shortest period
of time. I wanted something like three to five years. We’re creating a new market and so we essentially
wanted to make sure we knew what the market was doing. We wanted to see it stabilize. Spectacle
would obviously like a longer contract. They wanted something more than seven years. We ultimately
agreed to have seven years. I thought that would be a reasonable amount of time to have enough data
and then we could reassess and renegotiate the contract with Spectacle or any other operator or
management group that we may entertain at that point in time.”

Laurie Ortolano “Okay. Thank you. I thought it might be New Market Tax Credit.

“Another part of this – let’s see – have we had expenditures above the $1,500 that have required us to
draw on the money that has been raised so far do you know?”

Chairman Dowd “I don’t believe that has anything to do with this particular resolution. We’re just
establishing a capital reserve fund with no funding being talked about at this meeting. It’s coming from
Spectacle in accordance with the contract. Anything beyond that is not specifically related to this
resolution.”

Laurie Ortolano “Okay. I want to know there’s another part in here that I think is relative and that is
“Spectacle shall make its books, records, and files relative to the facility available for inspection and
copying by the city upon written request within five business days of the request and maintain the


                                                                                                            405

                                                                                            NPD-LO-4103
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 406 of 424



records and the term of the agreement plus three years.” How are those – this would be records that
you could obtain relative to this contract or this money going in there. Who is the city to make that
request? When it says the city can make the request who is that? It’s not really a citizen is it?”

Chairman Dowd “I would assume it’s the Board of Directors.”

Alderman Klee “Board of Trustees.”

Laurie Ortolano “It’s the Board of Trustees?”

Alderman Klee “To be honest with you, I’m not sure whether the contract says that. I’m going to assume
that it’s the Board of Trustees. You were at the last meeting. They report to us everything that they have
that is costed as well as the funds that have been received.”

Laurie Ortolano “Okay so I would like an answer to that just to be certain what that is under 91-A. I did
attend the Trustees meeting and I was happy to do so but I was disappointed there was no public
comment allowed.

“Okay the advanced reserve fund. Let’s see. This is where there’s a ticket thing in here. Merchandising.
One quick question just so I understand this. The contract that we have for the operating manual which
gives us all the pieces of the utilities. I notice that’s not done yet and that kind of feeds into this fund. Do
we know when the operating manual is going to be completed? It was supposed to be completed three
months before the opening. It’s now five months past so we’re eight months out. I’m just wondering
where we stand on that operating manual.”

Alderman Klee “Again, that’s not part of what this resolution is but I’ll do my best to answer it. We had
discussed this at the Board of Trustees and it was even discussed, I believe, at the last Board of Trustees.
The outline of it will be coming. They ran into some issues with the – just as we were doing the opening
including finishing that night before. They were kind of given a - we know that it’s coming and we will
get it done. They are working on the manual so that the reason for the operational manual is if someone
isn’t there or doesn’t have to they can just pick up this manual and continue to make sure that
everything is running. It was discussed at the Board of Trustees meeting that you were at. So it’s not
something that’s being ignored. While yes we did discuss the fact that it was supposed to be done prior
to that, there were circumstances beyond their control.”

Laurie Ortolano “Okay the utilities that the city is paying, those will not be paid out of this fund correct?
That’s a whole separate area? Okay.

“They did provide in the meeting a first quarter report and honestly it was good. Concession sales raised
$5,000. Sponsorship sales raised almost $5,000. So for the quarter, they raised about $10,000. It doesn’t
include any ticket money so that comes in that would be great. I would love to see where it said the
ticket thing.”

Chairman Dowd “The first thing we have to do by this resolution is give it some place to put it.”

Laurie Ortolano “Okay. I can’t find my little spot that I had it in here. That’s okay. I would like to get an
answer though to find out what we’re doing with coming up with an arrangement where we do collect
the dollar on the ticket sales because that would make a big difference I think in this fund if there are



                                                                                                            406

                                                                                              NPD-LO-4104
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 407 of 424



even some. Whatever they want to negotiate but if we could get something out of some of those events
it would be a lot of money I think to help. Thank you.”



Finance Committee, September 6, 2023

https://www.youtube.com/watch?v=BPpH-j8dvdQ&t=2378s

33:43

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I was over at the debate today and had an
opportunity to listen to the candidates speak. There were some interesting comments that came up on
the Performing Arts Center, and the cost of that, and the commitment of that, and I wanted to clarify
some of the information stated. The reason I'm addressing this is because that Center is done, it’s our
building, it's not our building we don't own it but we rent it, and it's here to stay, and we should all make
the most of what we have. But I think there were mistakes made in that project and I want to make
certain we never go back and do that again and I'm concerned that we will do that again if we don't
acknowledge what we did.

“I'm concerned with some of the downtown projects right now, particularly the Mohawk Tannery and
the Riverwalk Project because of cost overruns. The uniqueness in the Mohawk Tannery of that project
and the complexity of the Nashua public city/public money piece and with the Riverwalk Project just
general cost overruns. It was stated today by a candidate that we had given a $7.1 million loan, the City
of Nashua to 201 Main Street financing to build that Art Center. Mr. Mayor you stated that there was no
loan given. I'm here to tell you that there was a loan given and here's the loan agreement, here's the
security pledge agreement dated December 17, 2020, ad here's the promissory note for $7.1 million
given from the City of Nashua to 201 Main Street Financing Corp. with a 1% interest rate to be paid on
an interest only basis which was $71,089 per year for seven years and it has a maturity date of 2050
with interest and principle starting thereafter. You signed this loan. It's your name on it with Mr. Lannan.
So to state that there was no loan given was absurd to me and the mystery of that loan is very
concerning to some of us who've tried to follow what's going on because this loan was never put on the
City books. It was never accounted for. We don't even know how a public accounting firm would that
does an audit of the books would not recognize that a $7.1 million loan wasn't recorded when interest
payments were coming in to the City and those were on the books. So and the reason…”

Alderman Comeau “30 seconds.”

Laurie Ortolano “The reason we're paying that rent for this art center is to cover the cost of these loans
not just the City loan but Mascoma’s $9.55 million loan has an interest only payment of $130,000 a year.
Our rental money of $500,000 a year up to $670,000 a year for 25 years is picking up the cost of all the
fees associated with that New Market Tax Credit and the loans. This was a very complex…”

Alderman Comeau “Time.”

Laurie Ortolano “…project that we should not have undertaken and I'm going to be in here talking about
this a good bit more because I think there was mismanagement of public funds here. Thank you.”




                                                                                                         407

                                                                                           NPD-LO-4105
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 408 of 424



Mayor Donchess So what I explained, again, about all of these inaccuracies and false statements that are
being made repeatedly what I disagreed with was the accusation that we spent $7 million and loaned $7
million more than we were authorized by the Board of Aldermen. Board of Aldermen authorized $21
million. That's what we spent, period. That's it. No extra $7 million, no extra $9 million, no extra $16
million. All of these, and I explained, that all of these expenditures checks get written by the Finance
Department and that they would never sign a check for $7 million, or $9 million, or $16 million more
than authorized by the Board of Aldermen. That would never survive an audit. We would never have a
AAA bond rating if they were doing things like that. So it is these accusations that have been made for a
long time now are just totally inaccurate. The other inaccurate observation that's been made many
times is that somehow the City is paying $500,000 annually. No, this is a breakeven transaction. There is
a “so called” rent in the amount of approximately $500,000 but there's a distribution back to the City in
approximately the same amount. So this is a net zero situation which is what I said today, and what I've
said many times, and I wish the people who keep making these statements would listen to the Finance
Committee, to the CFO, and to common sense, and stop making these false accusations.”

Laurie Ortolano (From her seat) “You don't allow us to meet with you.”

Mayor Donchess “Remarks by Aldermen.”

Laurie Ortolano “You don’t allow us to have those comments. Your doors are locked so we can't speak
to anyone. That's the problem with your administration. There’s no transparency here. You want this
communication to stop, open the doors at City Hall.”



Regular Meeting of the Board of Aldermen, Wednesday, September 13, 2023

https://www.youtube.com/watch?v=swR-pn-NV2Q

03:06:18

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I noticed on August 8th that you folks approved
the provision to change the bylaws for the 201 corporations to make them RSA 91-A compliant. I’m a
little bit concerned that what you approved is not RSA 91-A complaint and that the posting of the
minutes doesn’t have to be done for two weeks. I really don’t understand why that is because I’ve
worked hard to try and make them compliant. When I read Attorney Bolton’s statements that the whole
reason this is being done is just because it’s easy enough to do. We’ll just take care of what she wants. I
have to wonder why I had to file a lawsuit to do this because for ten months before filing the lawsuit, I
was asking the city and the Board of Directors why the bylaws were wrong, why the 201 corps. weren’t
public, and no one would respond to me. So you forced my hand to provide a lawsuit then the 201
corps. have to lawyer up. You’re going to pay McLane Middleton a couple hundred grand to represent
this and you gave me a win right off the back because they called right away and said hey we agree with
you. They’re wrong. So I’m really concerned with how Attorney Bolton portrayed this to the Board. It’s
easy to do. Why didn’t you take care of it when it wouldn’t cost the taxpayers a couple hundred grand?
Of course the whole purpose of this was for me to get access to information that is from the inception of
those companies. Attorney Bolton mentioned that that’s not the deal. That’s not the deal I had with
McLane Middleton. I was unaware that he believes Attorney Bolton that this is all going to come after.
So it really surprises me. I’m disappointed you approved those. As you all know, I have filed a disciplinary

                                                                                                        408

                                                                                          NPD-LO-4106
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 409 of 424



complaint against Attorney Bolton with the Attorney Discipline office and it’s now up before the
disciplinary council. I am very proud of my work to get those complaints there – those two complaints –
because citizens have such a difficult time moving them. Attorney Bolton seems to think…”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “…he’s entitled to some form of confidentiality. I think he waived that when my
treatment in this chamber was anything but protected of my rights. I heard Attorney Bolton call me out
as somebody who doesn’t tell the truth, a liar, somebody who omits information. I’ve been called out as
a child predator. Somebody who does oppositional research. Ms. Klee is somebody who insights
violence. I’ve heard it all. Ms. Kleiner coming in and saying I was a criminal. I’ve had my…

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…reputation trampled on here and the last thing I’m going to afford Attorney Bolton is
confidentiality on an attorney discipline complaint. That can result in a six-month license suspension. I
think it should hit him hard. I think he’s been a terrible municipal attorney for the city. The property
casualty account has gone up from a half a million dollars when he started here to upwards of $7 million
and that’s where we’re tucking all of his…”

Donna Graham, Legislative Affairs Manager “Time.”

Laurie Ortolano “…lawsuits because this guy likes a fight and he doesn’t settle. Thank you.”



Regular Board of Aldermen Meeting, Tuesday, September 26, 2023

https://www.youtube.com/watch?v=OK3cvdh1qsQ

10:31

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I wanted to talk a little bit about the use of escrow
money to offset the tax rate. I expressed some concerns last year with this and I think my issue is, you
know, I just heard Derek say we do such a terrific job with the budget and it’s also low but what we’re
doing is creating a lot of escrow accounts in this City. We have many, many of them and we’re talking
money in these escrow accounts and we’re leaving it in there unspent - millions of dollars. There’s
another account that we just looked at, Miss Colquhoun and I that has $12 million sitting in it. So I don’t
think we should be patting ourselves on the back because we have strong fiscal management and tight
budget controls that are keeping our tax rate low. I think we’re misusing public funds by allowing these
escrow accounts to exist and all of that money to stay stuffed in there. If you look at that last year, we
gave - this is the graph for six years of our escrows and money back. We gave $4,000 back and kept over
$7,000 in there to use for some pet projects and have you vote on things you wanted to do. Last year
was the tough year when we should have given the $8,000 or $9,000 back but we didn’t do that and I
think we didn’t do it because it wasn’t an election year. So I think what we see going on here is partisan
politics at its best. The Mayor is going to do what he needs to do to look good to keep that tax rate low.”

President Wilshire “That’s not part of our discussion what the Mayor’s doing.”



                                                                                                       409

                                                                                         NPD-LO-4107
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 410 of 424



Laurie Ortolano “Excuse me. This is open public comment for me to speak. You are violating my
constitutional rights. I want my time back. Do not interrupt me if I offer a criticism to this Mayor. It is
wrong. Now what the Mayor is doing is partisan politics here and you can see that all of a sudden the
blue line of what we’re giving back is huge this year.”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “In 2019 when he was running, we didn’t give that much back because there was no one
running against him. There was no incentive to do it. So I think we need to manage our escrow accounts
much better and I think we have to stop having 11, 12, 15, $20 million in these accounts that we can
play with to give little tidbits back at the end of the budget season to make ourselves look good. Other
seasons are doing this. Other towns are not doing this because they don’t hold that kind of money. So I
think it’s really important that we manage our finances better because what I think it represents is a real
misuse of public funds and I hope this Board starts addressing those escrow accounts, and what’s in
them, and how we’re moving the money through them. Thank you very much for your time.”

27:35

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. You know I’ve raised some concerns with
Aldermen about our accounting systems and how we handle our money in our escrow accounts but I
want to raise another concern tonight regarding a $7.1 million loan that we gave from the City of
Nashua to one of the 201 Corps that we formed to do the art center. It was the Financing Corp. and it
was a very secretive kind of loan. The documentation on it was not well noted on the drawings and what
was done with this money and it took some of us a long time to figure out what was going on but it
turned out it was a loan with loan documents that was kept outside of the closing binder when we did
the art center project and it was given from the City to 201 Main Street Financing I think on a 30-year
term, maturity 2050, with a 1% interest rate, so interest only payment for 70 years of $71,000. The loan
for unknown reasons was never recorded in the City books and that is a case of financial fraud and
mismanagement. Where it really glares out is that the comprehensive annual financial report which is
done yearly except we have not done the report for 2022 and there is no reasons given why we haven’t
done that audit but if you look at the report for year ‘19, ‘20 and ’21, there is on page 51 a section that
said loans. “The Economic Development Office administers loan programs that provide working capital
and capital asset financing for startup and existing businesses in the Nashua area. The City records a
receivable for the principal amount of the loan issued.” We did not do that and that loan was passed
right through the Economic Development Project page. It was in the Economic Development account
when it was moved out. So the question is why didn’t we do it?”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “Well Mr. Griffin was sending emails right after the December closing and in March
asking Celia Leonard and Director Cummings do we have any loans that need to be recorded on the City
financials and it doesn’t appear that they provided him with the loan documents. There is no record of
it. They did a Zoom meeting instead and after a lot of investigation primarily with Miss Colquhoun
because she has an extensive finance background, she determined that the…”

Donna Graham, Legislative Affairs Manager “Thirty seconds.”



                                                                                                          410

                                                                                            NPD-LO-4108
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 411 of 424



Laurie Ortolano “…loan wasn’t there and after 29 months in August, they recorded the loan on the
books in the May trial balance which is on the sheets that we have here. I’m going to encourage this
Board to really pay attention to our documentation in our finance office and I’d like somebody to find
out for me why we haven’t done the annual audit for 2022. We’re going on six quarters behind with no
audit of our books. Thank you.”



Regular Meeting of the Board of Aldermen, Tuesday, October 10, 2023

https://www.youtube.com/watch?v=jSWF-e2mRco

13:56

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I'm just here to do a quick comment on our R-23-
154 which is the transfer of money from the assigned fund balance for $425,000 over to property
casualty self-insured and this, I believe, had to do with the public hearing you had for the ransomware
issue. I would like to ask if the Board would be or the administration would be so kind is when you list
these appropriations if you would tell us what account they're coming out of. The assigned fund balance
account is not something I was familiar with on where you’d find that and I did have to write an e-mail
to CFO Griffin and he did answer me but that's not always the case. I know that the City would prefer I
ask fewer questions than more. I will ask fewer questions if you would put the accounts on it where it's
coming from because the assigned fund balance is technically it's an account called “assigned for future
liabilities” and it has $11,455,000. Actually Miss Colquhoun and I were looking at that account trying to
figure out what that was. We didn't realize that was the assigned fund balance because it's not actually
called that. So you know I'd ask when you do these large movements of money that you actually specify
the amount and the account it came from if possible because then it prevents me from having to ask
questions. Also, I listened to the budget hearing where there was some discussion from Aldermen
wanting to get more details on the spending on this ransomware attack. I think to me there was a
legitimate question in there from a citizen standpoint and I would be interested in tracking how much
money we've spent. We have Charles River Consulting services which we've given I don't know maybe
close to half a million dollars to no more probably three quarters of a million dollars to. We have these
large transfers that we've done and I think the money transfers ought to be public. I would agree that
your discussions in non-public about the strategies…”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “…and how you're addressing that are closed issues, and confidential, and can maintain
that way but I actually think the spending, and the authorization of that spending, and since that
spending is in the expenditure report, I think we ought to be able to get an accounting of that so that if I
put in a request and said how much money has been spent so far on this ransomware attack, you could
give me the data on just the spending. So I'd like you to consider that and maybe somebody will let me
know why that's not possible. Thank you.”

44:30

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I wanted to address the audit report that was
given out and I have some real concerns with it and I hope the auditor will come back and present it


                                                                                                        411

                                                                                           NPD-LO-4109
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 412 of 424



again to the Budget Committee once it's a final report. It was really never announced in the Budget
Committee that that was a draft copy. It's not marked draft anywhere. It's not online because it's not
done and at the very end Mr. McIntyre said when we submit the final copy and it's formatted correctly,
you'll see a lot of this fixed. When is the final copy coming out because people have asked me that and it
isn't online? I think it's reasonable for us to have that answer. Also, I think that it was a shame that all of
you were given a 200+ page book that night and you were asked to speak on it when it was placed in
your hand two minutes before the discussion happened. Nobody even cracked the binder and there
wasn't a single intelligent question from any of these Budget Committee, excuse me, Finance Committee
members to speak on it because no one knew what they were even looking at. I would encourage you to
take a really close look at the letters submitted by Melanson this year or Marcum, LLC. It's a different
letter than what's been in your book in the past. It is not the same letter. Very much they use a form
letter three pages long. This letter is four pages. I am particularly concerned about a statement in here
that says that's changed now. We are required to communicate with those charged with governance
regarding among other matters, the planned scope and timing of the audit, significant audit findings,
and certain internal controlled related matters that we have identified during the audit. Well there's
been a lot of public interest about the $7.1 million loan how the Art Center is actually accounted for in
the budget because it was a complex transaction. Is it a public/private partnership? Is it on books? Is it
off books? No one will answer those questions. That's not transparency. But when they say we are
required to communicate with those charged, I have a big problem with that. What does that mean?
They can have a private meeting with the CFO Griffin and the Mayor and share the communications on
what they think might be wrong with our internal controls because I think it ought to be disclosed and
documented and part of the governing body would be the Board of Aldermen. I think it should be
disclosed. An auditor should disclose that as the public record. This is municipal government. These
aren't private meetings to have.”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “So I would encourage you to look very closely at these letters and also the Gasby 87
issue for causing lateness and this is really bogus. Manchester had the same thing they had to institute
and their audit was out by April. What caused us to not have an audit out even now? It's not done.
There was another story here and I believe Miss Colquhoun’s digging into that loan as part of that story
and there's been a lot of communications between the Finance Office…”

Donna Graham, Legislative Affairs Manager “Time.”

Laurie Ortolano “… and the accounting office on that loan and I think it should be made public. Thank
you.”



Special Board of Aldermen, Thursday, October 19, 2023

https://www.youtube.com/watch?v=W2RLBuENhCU&t=2s

12:18




                                                                                                           412

                                                                                            NPD-LO-4110
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 413 of 424



Laurie Ortolano “Good evening. Laurie Ortolano, 41 Berkeley Street. I have a couple questions. How
many different escrow accounts do we have within our city budget that require us to move money and
track? Does anyone know how many we have?”

Chairman Dowd “It’s not relevant to this.”

Laurie Ortolano “Yes because this is about the movement of escrow money. It’s being moved because
we have these escrow accounts. What I’m wondering is how many different escrow accounts do we
have? Do we know? Is it trackable? Is there a place in the budget or a financial place I can go and find
these escrow accounts, specifically escrow accounts?”

John Griffin, CFO/Treasurer/Tax Collector “These are brand new escrows. Essentially what this is taking
monies that were previously appropriated and move it into a new escrow for these purposes. We can
only spend on these purposes. With regard to prior escrows that are carried over, those are on the
monthly financial statements.”

Laurie Ortolano “They’re on the monthly. Have we done anything to reduce the number of those escrow
funds or do we escrow accounts separate accounts? Do we change them or do we still maintain quite a
few of those escrow accounts?”

John Griffin, CFO/Treasurer/Tax Collector “Generally speaking, anything that is capital related, project
related where the project hasn’t been completed those are carried forward. With regard to coming out
of the COVID pandemic where we tried to provide funding on a continuing basis for the different
operating divisions, we’re going to eliminate several of those.”

Laurie Ortolano “Okay. I’m opposed to spending this money and not returning it to the taxpayers for a
number of reasons. I feel that the city has not been transparent with myself when I requested
information regarding finances. The first one was the audit. I feel that the Mayor lied to me. He did not
respond to my Right to Know request and he got to do that. That audit was not done.”

Chairman Dowd “Again, this is getting off track from this public hearing.”

Laurie Ortolano “I’m here to speak on why I don’t support anyone against it is supposed to come up.
Now you’re telling me I can’t speak why I’m against it. All I can say is I’m against it…”

Chairman Dowd “I’m just saying you need to be more specific relative to the item on the agenda.”

Laurie Ortolano “Okay. So I’m telling you why. I don’t support any of these nine items because I feel
there’s been no transparency in the city when it has come to spending money and accountability. I am
still waiting for the final finances for the arts center. We have been strung along for ten months and we
don’t have the accounting on that. We keep being told they’re waiting for another bill. We had the
financial report from December of 2022 and it is now October of 2023 and we don’t have accounting.
I’m opposed to this spending because as a citizen I can’t track the money at all. It’s not trackable. It’s not
right. The audit – we violated RSA 21J:19 and that we didn’t get it done for 12 months. Instead of just
acknowledging we didn’t get our work done to assure that our finances are managed correctly, we beat
up on the citizen who points out that why did it take so long. I don’t feel we have the access to our
financial office that citizens should have. You have to write and write, and write to try to get
information. Laura Colquhoun wrote at least 15 emails to try and understand the loan. Why not have
her come in and talk to her? This is why I’m opposed to you taking our money in escrow and using it for

                                                                                                          413

                                                                                            NPD-LO-4111
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 414 of 424



anything else except to give it back to us. You haven’t shown me your responsible with our money. You
love to kick me constantly for questioning it and calling me out as a liar but you do not put the facts on
the table, or open the doors, or give the information which is why you do have a whistleblower. People
get frustrated.”

Chairman Dowd “Again you’re drifting of course here so. Mr. Griffin did you want to address any of that
or just let it go? All right. You’re entitled to your opinion.”

Laurie Ortolano “Of course.”

Chairman Dowd “But let’s stick to the item that’s on the agenda.”

Laurie Ortolano “I’m concerned about the creation of new escrows in the existing escrows. A year ago,
Rosemary Evans called me very upset about these escrow accounts. I am concerned…”

Chairman Dowd “Now you’re bringing personal names into this discussion.”

Laurie Ortolano “I have every right. It’s a city employee who called me.”

Chairman Dowd “You have every right to follow the rules of a public hearing which is to talk on the
subject at hand…”

Laurie Ortolano “I am speaking.”

Chairman Dowd “…not bringing up other people’s names on other matters that aren’t directly addressed
by this escrow account.”

Laurie Ortolano “I think you’re completely insane.”

Chairman Dowd “Well.”

Laurie Ortolano “I have a right to address what – Rosemary Evans is the Comptroller and she’s got 23
years of finance experience. When Ms. Evans calls me and spends an hour on the phone talking about
these accounts and expresses the concerns and her inability to do her job, I feel like I have the right to
address it in a meeting about escrow accounts.”

Chairman Dowd “You have the right to state your opinion. This Board will determine whether or not we
pass this legislation.”

Laurie Ortolano “Of course. I’m only giving my opinion.”

Chairman Dowd “All right.”

Laurie Ortolano “You’re going to go make your vote.”

Chairman Dowd “Giving your opinion.”

Laurie Ortolano “So I don’t want to see more escrow accounts added that become the burden in the
finance office that have to be tracked when you haven’t closed down and really cleaned up the escrow
accounts that are running over there. According to her, they’re out of control.”




                                                                                                         414

                                                                                           NPD-LO-4112
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 415 of 424



Chairman Dowd “So at the Budget hearing, we’re going to be talking about each one of these and I think
that we’ll see which ones if not all of them are critical to the running of the City of Nashua and aren’t
just a frill of spending money.”

Laurie Ortolano “It’s not that I’m saying they’re a frill of spending money, it’s that nothing ever comes
off the table. Nothing ever gets cleaned up in these escrow accounts on the other ones. That was my
concern. So I’m just expressing that you seem to create a lot of accounts, tuck a lot of money into it
instead of emptying the accounts yearly and coming in with a supplemental appropriation when you
need extra money. You hold it and squirrel it away. I’m opposed to the squirreling away of money
because the Mayor lies to us about audits. Because the financial office…”

Chairman Dowd “Now you’re drifting off.”

Laurie Ortolano “…lies to us about our loans and because the NPAC company has lied to us about our art
center. I’m tired of that. Thank you.”



Regular Meeting of the Board of Aldermen, Tuesday, October 24, 2023

https://www.youtube.com/watch?v=xUj-JrO9mAs

12:16

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. First I'd like to address the escrow money. I came
out for the hearing and I talked about the large number of escrow accounts we have in this City. I think it
would be prudent for the Board when you look at creating these escrow accounts with extra money that
you're doing yearly to get a report from the City on all of the escrow accounts and take a look at them. I
think there's a lot of overlap. There's a lot of overlap in Building, Parks & Rec., and I think that it should
be consolidated, and I think it should be cleaned up because those escrow accounts do put a burden on
the Finance office to maintain all of them. So I think it would be good for everyone to just know that
when it comes. Let's see. The other thing I wanted to address was the cyber security money and the
transfer of money. I'm hoping and wondering if there's a way that a citizen can track the spending that's
been done on that. Like if I put an information request in or didn't have to for change if I could say what
was spent so far and I could get an answer for that. I'd like to think that we have that ability with our
projects and I'm concerned with some of them that we don't and things that happen. The third item is
going to be the ordinance that has to do with amending the Land Use Code notice provision table. I
don't know exactly what this applies to but I'm hoping at some point the Board will address some of
these noticing provision Land Use Code for parcels that have maintained a code that allow them not to
require noticing but they're in very residential areas. Like what happened to that condo development
over by an NHTI where the crematorium is going in right next to it.”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “So it's a whole lot of people and families tightly packed, very middle income. They're
not going to be able to move and a ranch sold right on the end and the ranch was zoned for the type of
zoning that didn't require a public hearing. It was bought by a funeral home to do a crematorium. So you
know 50 feet out people's doors will be this crematorium because it was allowed to go in and by the
time that people knew it…”

                                                                                                          415

                                                                                            NPD-LO-4113
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 416 of 424



Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…it was too late. I think we should look at some of those areas and carefully consider
whether we need to change them and we should do it also with our Downtown Improvement Plan in
some of the areas as well because there's a lot of residential now going in. That’s what we're building.
Thanks.”

1:01:44

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I've come out tonight to address the remarks of
the Aldermen at the last meeting on October 10th and I'm particularly concerned about the comments
made by Mr. Thibeault. You know he brought up the fact that a citizen put in a Right-To-Know request
looking at the costs associated with alcohol purchase on a grant. He said it turned out it was - he said
this citizen has been taking all these Right-To-Knows was actually wound up about some alcohol that
was purchased that had to do with the Right-To-Know on it. It turned out to be Black Heritage Trail with
Mrs. Newman at Holman Stadium. Nothing nefarious, nothing fraudulent nobody's drinking upstairs.
The Mayor doesn't have a case of champagne under his desk. No one's drunk right now I think you
know. Just because someone says it in public it's not true. I wrote a Right-To-Know very respectful, very
respectfully. It had nothing to do with people drinking under their desk or being drunk Derek. What you
do is dress the public down who comes out here to speak by insulting them over and over again and why
this Board doesn't say no to that is beyond me. You have a code of conduct. My Right-To-Know said that
there was an expenditure for five - please provide me with the grant fund document used to credit the
$514 expenditure for the New Hampshire Liquor Store purchase in the expenditure report up to 6-29-
23. Please provide me with any records that will show what this purchase was used for and who
authorized the purchase and what department it came from. Do you know I put that in? Because
Rosemary Evans who had been calling me at home in September contacted me and told me about that
alcohol purchase. She also told me about the City using a limousine to take Mr. Cummings on a travel
thing. She was very concerned about how…”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “…the Citizen Bank credit cards are being used by the City. She had seen the charges go
way up. She thought it was out of control. The Mayor was being irresponsible and Donnalee Lozeau
would have never done that. She recommended that Laura Colquhoun put in for those expenditures and
try to get as much as she could on them and I know my documentation to the authorities and the date
on that combined with when we did this would probably match up pretty well. We had never ever
myself or Laura put in for a request on those cards.”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “When you diminish us and you speak like we wrote something about people being
drunks, you are a disgrace. We are citizens that does - and you're laughing the whole time. You think it's
hilarious.”

Alderman Thibeault “I do.”




                                                                                                       416

                                                                                         NPD-LO-4114
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 417 of 424



Laurie Ortolano “Yeah it's pretty - and somebody here ought to call that out because we have a right to
make those requests respectfully. The City's response to me was very respectful. They offered an
explanation.”

Donna Graham, Legislative Affairs Manager “Time.”

Laurie Ortolano “They made no assumptions like Mr. Thibeault. They didn't say how dare you infer we're
drunk in our offices. They treated it respectfully and I expect you Aldermen to do the same.”

President Wilshire “Time.”

Laurie Ortolano “A pox on you Mr. Thibeault.”

REMARKS BY THE MEMBERS OF THE BOARD OF ALDERMEN

Alderman Thibeault “Yeah well I got extra stuff to talk about I guess. You know for her to come in here
and bring up City Hall employees and drag them through the mud and bring up their names. That’s
disgraceful. To constantly attack everyone here or almost everyone - I should say everybody but three is
disgraceful and to not listen to us speak back to you is disgraceful.”

Laurie Ortolano “I only got 3 minutes.”

Alderman Thibeault “The people have to know out there what she is doing to this City.”

President Wilshire “All right.”

Laurie Ortolano “I get 3 minutes Mr. Thibeault. You get 10 minutes.”

President Wilshire “Enough.”



Regular Meeting of the Board of Aldermen, Tuesday, December 12, 2023

https://www.youtube.com/watch?v=obdNYHYbrtQ

1:14:15

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I want to talk a little bit about transparency. As
some of you know I'm going into a Right-to-Know trial Monday, Tuesday and Wednesday with some
challenges to the city on how records have been handled primarily through the Economic Development
office. One of the big challenges I have is how the Capital Campaign Committee handled fundraising for
this Art Center Project. It was a subcommittee, the Performing Arts Center Steering Committee formed
three subcommittees. None of the subcommittee's complied with RSA 91-A. Subcommittees of a
committee are supposed to be public and do notices and minutes, they did not. They all waived that and
for various reasons that I think are worth a court challenge, I thought it was wrong and I feel a lot of
information given from Director Cummings and the Legal office to push this into the darkness was not
correct. The city pointed out what went on in Keene to us with their new market tax credit program
repeatedly. So I reached out to Keene really by looking on their website because they used the new
market tax credit to do a library annex expansion that completed in 2019 and part of their expansion
was a $5 million capital campaign drive. We did the $1.5 million drive. Well their drive was all public.


                                                                                                     417

                                                                                         NPD-LO-4115
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 418 of 424



You know their records and what I've given you here is their accounting. Every dollar raised was sent to
their Corporation Counsel Tim Mullen. He approved it and reviewed it. They opened a bank account. The
bank statements were sent to the Finance Committee and every donation from a nickel too you know
$100,000 or $250,000 were documented with the donors and all $5 million is accountable for after 4.5
years - a little over 4.5 years. We had no accountability in our project at all.”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “Citizens were told we couldn't get the numbers. That February 6, 2020 meeting where
so many people came out and Corporation Counsel wasn't there. Ben Clemons raised a good question
about transparency. Ernie Jette raised a good question about transparency and no one had answers. I'd
like to know why Keene could make their project 100% transparent in their New Market Tax Credit
Program for capital campaign and we did nothing. You know just yesterday a friend called me and
said…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…she was having a conversation with somebody who said they don't believe that the
money was ever raised. That the city never raised $1.5 million or more for the Art Center. Well the truth
of the matter is you can't say anything to counter that because we have no proof or records. We were
never allowed to have any records. So the people who sit out there and believe money wasn't raised,
there's nothing you can show them but in Keene, I wanted you to see these records. I pulled them right
offline myself. I spoke to a number of different people but they're all publicly available and I think you
should look at how we handled ours. This is a big claim for the court. Thank you.”



Finance Committee, Wednesday, January 17, 2024

https://www.youtube.com/watch?v=nB7KTVittmg

20:58

Laurie Ortolano “Good evening. Laurie Ortolano, 41 Berkeley Street. I wanted to talk to you folks on the
Finance Committee about doing more in the city to address what’s happening with changes in our Right-
to-Know process in this city. You know there’s been a lot of issues regarding litigation on Right-to-Knows
since 2020 and the city has gone very quiet on addressing what’s being done for improvements. When
Kim Kleiner was here and we had issues with the Assessing Office, she came forward to the Board of
Aldermen which is the governing body and she did four or five presentations to address what was being
changed in the Assessing Office. What that afforded the public was the opportunity to hear publicly
what was going on and to respond to it if we didn’t agree because it was out there. After she left and
these issues have evolved regarding other projects within the city and what’s going on with Right-to-
Know, there has not been a single public discussion about changes being made to improve the process,
be more transparent, nothing.

“In order for me to find out what’s changed in the Right-to-Know process in Nashua, I have to file a
Right-to-Know and most likely it’s going to be determined to be attorney-client privilege which is what
they did in 2021 when we tried to find out what changes were going on. The Town of Hudson and the
Town of Milford have redone their Right-to-Know policies in their towns. They were sued by citizens

                                                                                                      418

                                                                                         NPD-LO-4116
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 419 of 424



over issues that had to do with record compliance. In those towns, the citizens lost across the board
pretty much. Ruled as mute in Milford and in Hudson it was the big Amazon logistics facility being built
that stirred up a neighborhood to get active. They pretty much lost in court rulings with Judge Colburn
on trying to go after the developer to shut that down. Even though they lost, both municipalities and
towns formed Right-to-Know Committees with their citizens and their Selectmen and worked on
policies…”

Alderman Gouveia “One minute.”

Laurie Ortolano “…and came up with new policies and procedures to address those issues. What they
tried to do was open communication, and prove transparency, and just create a calmness when it came
to addressing matters. What I liked about the Selectmen is they recognized the publics frustration but
they also recognized their city employee or their town employee frustrations. We have not done that.
We refuse to do that. We put a veil up and say we don’t have any problems here because our citizens
don’t win. Well citizens in Nashua have won more than any of those other towns. Hands down we’ve
done better and yet we can’t get a single change made in this town to improve that process. I was up
giving testimony today on Right-to-Know legislation that I don’t think is good for this city and testified
why and one reason specifically because this city will not address a process change. You know if you
want to improve transparency, you have to talk about it, and you have to talk about it through the…”

Alderman Gouveia “That’s time.”

Laurie Ortolano “…governing body, the Board of Aldermen. I would encourage you to think about that
because a lot of money is being spent on this. Thank you.”



Board of Aldermen Regular Meeting, Tuesday, February 13, 2024

https://www.youtube.com/watch?v=Wtichbw-BUI

19:24

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Thank you for the Mayor producing a memo to
send this back to committee or do whatever you need to do to engage in a little more discussion on
that. I think it’s the right thing to do and I’m glad to see that happening. I came here in October of ’22
and spoke against that money to bond to do the two schools and match it with the ESSER funds. I was
pretty harshly treated by Chairman Dowd and criticized for my lack of support of the schools and one of
my criticisms was we don’t have good accounting and we don’t have good control of the money. He put
it on me to say how do you suggest we do it, which a citizen coming here to participate and give a
viewpoint shouldn’t be the one in the hot seat to tell you how to do your job. I was treated very poorly.
Now I’m back to see that we have this $4.5 million of money that wasn’t there and was used for
something else. I think that there’s – I want to know when it became known that this shortage of money
existed because the project was done over the summer. I think that’s a reasonable question for all you
Board members to know. I did not appreciate how Alderman Dowd conducted himself at that meeting
and I wish he was here tonight. I feel the Board should have called a point of order and admonished him
for his conduct because he made a demand that you all have to deal with this right now. We have bills to
pay. We have to deal with this right now. It was an ambush on a very serious issue involving $4.5 million


                                                                                                       419

                                                                                         NPD-LO-4117
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 420 of 424



of accounting. Clearly as soon as he found out from the School District that $4.5 million wasn’t
accounted for as soon as he knew, come to the Board to disclose it and certainly not make a demand on
Thursday night that you all had to give a vote of support on this right now because we got bills to pay.
You know Laura’s right. I think if that extra money sits in the bottom line with $5.1 million use some of
it. Regarding the roof…”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “…you know a good contractor knows if there’s two membranes down and you’re going
to have to peel them off. I’m sorry, that is just unacceptable and I’m an engineer. There is just no
reasonable way that they didn’t understand the work that was going to be done on the roof. We’ve had
a long-term relationship with Harvey and that’s fine but I’m encouraging you to start thinking about
developing a new relationship with a contractor or introducing other people. Maybe it shouldn’t be 100
percent Harvey…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…maybe we should look to expand and not put all our eggs in one basket so heavily on
$100, $150, $200 million of projects. I think that’s the proper thing to do. I’m anxious. I put in a Right-to-
Know to get the accounting because of course I have to. I want to know what’s going on with the money
and I will pay attention. Thank you for taking this back and engaging in discussion to figure out what the
right thing to do is.”

01:40:26

Laurie Ortolano “Laurie Orlando, 41 Berkeley Street. I wanted to talk to you. I sent an email to the Board
about putting Right-to-Knows on the city website that are being done by the Right-to-Know
Administrator. I think that would be helpful. I'd appreciate that. I'm not embarrassed by my work at all,
and the others that are coming in, and I hope you'd make that available so other people don't have to
file Right-to-Knows to see what Right-to-Knows have been filed and other towns do that. So I kind of
thought it was interesting and it would be worthwhile. I spoke to the Finance Committee a couple
months ago about engaging the Board of Aldermen in having a discussion about our Right-to-Know
policies and processes and I was hit with a bucket of cold water on that. You know when Kim Kleiner was
here, she came to the Board and addressed what was going on in the Assessing office three or four
times and had these quarterly meetings and updates which her presentation of the problems in the
Assessing office allowed the public to use the governing body to put something out publicly that we
could listen to and gather information. All of the Right-to-Know issues that have gone on since she left
have never been addressed by the Board of Aldermen, there was no discussion up here by the governing
body, and I think there should be. I pointed out that the towns of Hudson and Milford had their citizens
sue them on Right-to-Know issues. Their citizens didn't do well at all but even though they did do well,
both towns formed committees, worked with the public to try and create a uniform process within their
town governments to handle it. Now Melbourne Moran pointed out that I had done a disservice by
using the Town of Hudson as an example and he discussed this issue that had happened in the Police
Department and honestly it was so garbled, I really couldn't understand it. So I took the video and I sent
it to the Hudson Board of Selectmen and they forwarded to the Police Department who called me and
explained what had gone on in this situation. It was really interesting because I wondered how


                                                                                                          420

                                                                                            NPD-LO-4118
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 421 of 424



Alderman Moran knew about that and it turns out William Dolan our representative from Nashua, I
think Ward Five…”

Donna Graham, Legislative Affairs Manager “One minute.”

Laurie Ortolano “…was involved in a dispute with Hudson and on a Right-to-Know request through the
Police Department and the Hudson Police Department gave me all those records and I don't think
Alderman Dolan's Right-to-Know was handled correctly. He had to go to the ombudsman. It wasn't
handled correctly. He did get his records. He had to fight for them. It took two or three months. It was
resolved but Alderman Dolan or House Rep. Dolan now has become a supporter of not charging fees
because of his experience in what happened in Hudson and I think you should know…”

Donna Graham, Legislative Affairs Manager “30 seconds.”

Laurie Ortolano “…that police departments function with their Right-to-Knows completely different
from City Hall. I don't think we should dis Hudson's process on how they are handling Right-to-Knows
through their Selectmen office and with their citizens. I think we shouldn't dis any other town around us
who's tried to make an effort. I think it was an honest effort and it's good. The person who rejected
House Rep. Dolan's Right to Know was Nicole Clay who came from here and was trained here. So you
know…”

Donna Graham, Legislative Affairs Manager “Time.”

Laurie Ortolano “Let's consider it and I would like the Board to consider trying to do something to offer
Right-to-Know information to the public. I had to file a Right to Know request after two months to find
out what's going on with Right to Know policy and procedure last week which is really frustrating to me
because I wanted to get it without having to file a Right to Know and I've been looking for it for months.
Thank you.”



Budget Review Committee Meeting, Febraury 26, 2024

https://www.youtube.com/watch?v=erMVFlHks24

02:30

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. I think I'm going to focus on the process on how
this all went down. You know it wasn't long ago at a budget meeting or a special hearing that you came
out Alderman Dowd running it saying, hey board members you got to vote for this tonight. We have a
shortfall $4.5 million. We need to pay the bills and we need your approval right now. This city has
perfected the art of the ambush and surprise tactics. You do it beautifully and it's done and played out
over and over again. I see it with Director Cummings frequently coming in here the night of something
and saying here we are, I need you guys to vote tonight, we’ve got to make a decision right now. It's not
fair. It's not reasonable particularly when there was a major mismanagement or miscue of the money. I
would like to know and hope that I'm here tonight to find out when you or anyone became aware of this
because the school renovations I believe were done over the summer. So when were the renovations
done? When did we figure out we had this shortfall of money? Who was contacted in City Hall about
this shortfall and when? Why did we wait until three weeks ago or a month ago to hold the hearing to

                                                                                                       421

                                                                                         NPD-LO-4119
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 422 of 424



say, oh, oh you know four-alarm fire? Four-alarm fire we need to bond some money, serious money and
carry this debt. I mean an Alderman described this as a bail-out bond and I agree. It is a bailout bond but
we should have some answers and we should have some accountability on what happened. I'm not a big
believer on taking on more debt and I'm happy to see that there's a committee an Ad Hoc Committee
being formed to address projects and planning over the long-term. I think that's a good thing. I'm not
certain I approve the makeup of the committee. I don't know if we have enough voices of opposition or
voices that will challenge what's going on there so and I can't remember who all is on the committee but
when that happens, we'll see how that plays out. I think you owe us a lot of answers. I think you owe us
some accountability of the numbers. I don't know if this actually is going to get voted on tonight. I
couldn't really tell. It's just a one thing. So I look forward to hearing the discussion and understanding
what went on here. Thank you.”

01:41:32

Laurie Ortolano “Laurie Ortolano, 41 Berkeley Street. Laura takes no prisoners. I think everyone in this
room does have the best interest of the students at heart - everyone behind me and in front of me and
the debate is about funding. For me, the important thing was about process. I heard some things here
that really piqued my interest. You know when the Board of Aldermen discussed this, there was a lot of
beat down on the School District for not handling things right and they showed up here tonight to put
themselves in the hot seat and answer the questions which is great. But Alderman Jette pointed out that
it's not just the School District, it's the JSSBC and in-part the Aldermen who have played a role. I did hear
Mr. Donovan say that May/June timeframe there were a group of small group of people, four people
including he believed Alderman Dowd that became aware of this. Now it doesn't appear between that
summer timeframe it took until the last meeting of the JSSBC December for this to come out. Mr.
Donovan mentioned that he wasn't certain there was anything ever put in writing it was just done
verbally. Why wasn't there something put in writing when they figured this out in the early summer?
This should have been a memorandum that said priority high, documented, and sent to everybody. This
wasn't a quiet phone call that shouldn't be documented anywhere, and given to everybody, and given to
the JSSBC immediately and I am very interested Aldermen Dowd on when you exactly did know and why
it took that gap because you're the leader. I have a very specific interest based on some questions I was
asking about spending in the fall that were not answered I don’t think properly now. But I know the
answer to my question. It was political year. It was political season. Would it have been appropriate?
Would the parties in power have wanted a letter coming out saying $4.5 million was not accounted for
properly, and we need to bond another, and the roofs aren't right, and we need to bond another $8.5
million in August or September as people are filing for seats? I don't think so. I think this waited until
December to come out until after the election and then it was safe. I didn't fall off the turnip truck
yesterday and I don't think any of you did either. This was a political issue which prevented the
documentation from being done and the letter from being written that should have gone to all of you
and the JSSBC in writing with priority high, here’s what’s going on…”

Alderman O’Brien “30 seconds.”

Laurie Ortolano “…with the money. So I would encourage all of you to point a finger at yourselves and
your process in this chamber because you definitely pointed a finger at the school leaders behind me
and they stood in the hot seat and took it.”

Alderman O’Brien “Time.”

                                                                                                         422

                                                                                           NPD-LO-4120
       Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 423 of 424



Laurie Ortolano “Now it's time for you to stand in the hot seat and take it too. Thank you.”



Board of Aldermen, February 27, 2024

https://www.youtube.com/watch?v=EBLT1f77oJ8

1:34:44

Laurie Ortolano “Laurie Orlando, 41, Berkeley Street. I'd like to address a little bit on the Mohawk
property development. I would like to see this Board embrace an understanding of what information on
that project will be public. It is my opinion that this is going to be a public/private partnership similar to
what happened with the Art Center Project and we never had records to find on that project. However
this develops, I would like to see those records to find or an understanding of what we have access to so
that we don't engage in these fights and arguments between citizens and government on what's really
public and what isn't. I want to highlight to you on the Art Center project, that was a public/private
partnership but really not called out by the Board of Aldermen and not really told to the public that
that’s what it was. Black's Law Dictionary describes a public private partnership where the public and
the private entity both have a controlling interest. We were told as the Art Center was being developed
that we had no controlling interest in the city. The two nonprofit corporations formed were not under
the city's control, or management, or representation and then there was never a public hearing where
the formation of the private company NPAC was disclosed.

“All of a sudden in an omnibus resolution three weeks before the closing documents were signed, the
city comes in with a 25 pieces of legislation that you approve in an hour which never specifies that NPAC
Corp. is a private corporation is taking over, and that all the records are going to go dark, and that the
money is going to be managed by a private company, and you won't be able to see or get anything. You
won't even see construction reports. You know this is before the courts and there's a lot of interesting
stuff going on regarding the constitutionality of what was done in that Art Center and I don't want to see
this repeated again. I want to see transparency on these records. Tim Cummings mentioned that hey for
the public's perspective, things change. He's right. As you develop this project, things are going to
change…”

Dan Healey, City Clerk “One minute.”

Laurie Ortolano “…but let's make certain that the change isn't like the change for the Performing Arts
Center where a private company comes in and scoops up all the public money and goes dark. You know
Director Cummings called that “a little nuance of the deal”. That wasn't a nuance, that was like a fart in
church. That was massive. That was a big deal and we none of us in the public, and I don't think the
Board understood what you were doing and what are you giving away.”

Dan Healey, City Clerk “30 seconds.”

Laurie Ortolano “…so please, let's not do that again. As we engage in these partnerships with projects,
let's make certain the public understands what's available to us. It's okay that some of it isn't available
to us. It's fine but let's not have citizens digging around fishing trying to figure out what it is. Thank you.”




                                                                                                            423

                                                                                              NPD-LO-4121
        Case 1:22-cv-00326-LM Document 87-4 Filed 05/30/24 Page 424 of 424



Board of Aldermen, March 12, 2024

https://www.youtube.com/watch?v=7NXlstZKgiQ

19:36



2:06:25




                                                                             424

                                                                  NPD-LO-4122
